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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


EAST KENTUCKY POWER                    )      Case No. 24-1267
COOPERATIVE, INC.,                     )
                                       )
             Petitioner,               )
                                       )
     v.
                                       )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY and                  )
MICHAEL S. REGAN, Administrator,       )
United States Environmental Protection )
Agency,                                )
                                       )
             Respondents.


                      PETITION FOR REVIEW

      Pursuant to 42 U.S.C. § 6976(a), 5 U.S.C. §§ 702 and 706, Rule 15

 of the Federal Rules of Appellate Procedure, and Rule 15 of the Circuit

 Rules of the United States Court of Appeals for the District of Columbia

 Circuit, East Kentucky Power Cooperative, Inc., hereby petitions this

 Court for review of the final agency action taken by Respondents United

 States Environmental Protection Agency and Michael S. Regan,

 Administrator, United States Environmental Protection Agency,

 entitled “Hazardous and Solid Waste Management System: Disposal of

 Coal Combustion Residuals From Electric Utilities; Legacy CCR Surface



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 Impoundments,” and published at 89 Fed. Reg. 38950 (May 8, 2024). A

 copy of that final rule is attached.


Dated: August 2, 2024                   Respectfully submitted,

                                        /s/ S. Chad Meredith
                                        S. Chad Meredith
                                        G. Luke Burton
                                        SQUIRE PATTON BOGGS (US) LLP
                                        201 E. Fourth St., Suite 1900
                                        Cincinnati, Ohio 45202
                                        Telephone: +1 513 361 1200
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                                                 luke.burton@squirepb.com

                                        Attorneys for Petitioner




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COOPERATIVE, INC.,                     )
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             Petitioner,               )
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     v.
                                       )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY and                  )
MICHAEL S. REGAN, Administrator,       )
United States Environmental Protection )
Agency,                                )
                                       )
             Respondents.


      RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

and Rule 26.1 of the Circuit Rules of the United States Court of Appeals

for the District of Columbia Circuit, Petitioner East Kentucky Power

Cooperative, Inc. (“East Kentucky”), submits the following statement:

      East Kentucky is a corporation organized under the laws of the

Commonwealth of Kentucky, and its corporate headquarters are located

at 4775 Lexington Road, Winchester, Kentucky 40392. East Kentucky

is owned by 16 rural electric cooperatives: Big Sandy Rural Electric

Cooperative, Blue Grass Energy Cooperative, Clark Energy Cooperative,



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Cumberland Valley Electric, Farmers Rural Electric Cooperative,

Fleming-Mason        Energy   Cooperative,   Grayson      Rural     Electric

Cooperative, Inter-County Energy, Jackson Energy Cooperative, Licking

Valley Rural Electric Cooperative, Nolin Rural Electric Cooperative,

Owen Rural Electric Cooperative, Salt River Electric Cooperative, Shelby

Energy Cooperative, South Kentucky Rural Electric Cooperative, and

Taylor County Rural Electric Cooperative. No publicly held corporation

owns 10% or more of East Kentucky’s stock.




Dated: August 2, 2024              Respectfully submitted,

                                  /s/S. Chad Meredith
                                  S. Chad Meredith
                                  G. Luke Burton
                                  SQUIRE PATTON BOGGS (US) LLP
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                                  Cincinnati, Ohio 45202
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                                           luke.burton@squirepb.com

                                   Attorneys for Petitioner




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                     CERTIFICATE OF SERVICE

      I certify that I have caused a true and correct copy of the foregoing

Petition for Review and Corporate Disclosure Statement to be served on

the following by First Class U. S. Mail on August 2, 2024:

Hon. Michael S. Regan
Office of the Administrator (1101A)
United States Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

Correspondence Control Unit
Office of General Counsel (2311)
United States Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

Hon. Merrick Garland
Attorney General of the United States
United States Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530-0001

Todd Kim
Assistant Attorney General
U.S. Department of Justice
Environment and Natural Resources Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530-00001

                                         /s/ S. Chad Meredith
                                         S. Chad Meredith




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                         EXHIBIT A
                                                   USCA Case #24-1267                          Document #2068257                               Filed: 08/02/2024            Page 7 of 179
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                                            ENVIRONMENTAL PROTECTION                                Resource Conservation and Recovery,                     D. Costs and Benefits of the Final Rule
                                            AGENCY                                                  Materials Recovery and Waste                            VI. Statutory and Executive Order Reviews
                                                                                                    Management Division, Environmental                      Regulatory Text
                                            40 CFR Parts 9 and 257                                  Protection Agency, 1200 Pennsylvania                  List of Acronyms
                                            [EPA–HQ–OLEM–2020–0107; FRL–7814–
                                                                                                    Avenue NW, MC: 5304T, Washington,
                                                                                                                                                          ACM Assessment of Corrective Measures
                                            04–OLEM]                                                DC 20460; telephone number: (202)
                                                                                                                                                          ANPRM Advance Notice of Proposed
                                                                                                    566–0560; email address:                                  Rulemaking
                                            RIN 2050–AH14                                           Lloyd.Michelle@epa.gov, or Taylor Holt,               ARAR applicable or relevant and
                                                                                                    Office of Resource Conservation and                       appropriate requirements
                                            Hazardous and Solid Waste                               Recovery, Materials Recovery and Waste                ASD alternative source demonstration
                                            Management System: Disposal of Coal                     Management Division, Environmental                    CAA Clean Air Act
                                            Combustion Residuals From Electric                      Protection Agency, 1200 Pennsylvania                  CBI Confidential Business Information
                                            Utilities; Legacy CCR Surface                           Avenue NW, MC: 5304T, Washington,                     CBR closure by removal
                                            Impoundments                                                                                                  CCR coal combustion residuals
                                                                                                    DC 20460; telephone number: (202)
                                                                                                                                                          CCRMU coal combustion residuals
                                            AGENCY: Environmental Protection                        566–1439; email address: Holt.Taylor@                     management unit
                                            Agency (EPA).                                           epa.gov. For more information on this                 CERCLA Comprehensive Environmental
                                                                                                    rulemaking, please visit https://                         Response, Compensation, and Liability
                                            ACTION: Final rule.
                                                                                                    www.epa.gov/coalash.                                      Act
                                            SUMMARY: On April 17, 2015, the                         SUPPLEMENTARY INFORMATION:                            CIP closure in place
                                                                                                                                                          CFR Code of Federal Regulations
                                            Environmental Protection Agency (EPA                    Table of Contents                                     COALQUAL U.S. Geological Survey coal
                                            or the Agency) promulgated national                                                                               quality database
                                            minimum criteria for existing and new                   I. General Information
                                                                                                       A. Does this action apply to me?                   CWA Clean Water Act
                                            coal combustion residuals (CCR)                                                                               DOE Department of Energy
                                                                                                       B. What action is the Agency taking?
                                            landfills and existing and new CCR                         C. What is the Agency’s authority for              EAP Emergency Action Plan
                                            surface impoundments. On August 21,                           taking this action?                             EIA Energy Information Administration
                                            2018, the United States Court of                           D. What are the incremental costs and              EIP Environmental Integrity Project
                                            Appeals for the District of Columbia                          benefits of this action?                        EJ environmental justice
                                            Circuit vacated the exemption for                       II. Background                                        ELG Effluent Limitation Guidelines
                                                                                                       A. 2015 CCR Rule                                   EPA Environmental Protection Agency
                                            inactive surface impoundments at                                                                              EPACMTP EPA Composite Model for
                                            inactive facilities (legacy CCR surface                    B. 2018 USWAG Decision
                                                                                                       C. 2020 Part B Proposed Rule                           Leachate Migration with Transformation
                                            impoundments) and remanded the issue                                                                              Products
                                                                                                       D. 2020 Advance Notice of Proposed
                                            back to EPA to take further action                            Rulemaking                                      EPRI Electric Power Research Institute
                                            consistent with its opinion in Utility                     E. 2023 Proposed Rule and Comments                 FER Facility Evaluation Report
                                            Solid Waste Activities Group, et al. v.                    F. 2023 Notice of Data Availability                FERC Federal Energy Regulatory
                                            EPA. This action responds to that order                 III. What is EPA finalizing?                              Commission
                                            and establishes regulatory requirements                    A. Risks From Legacy CCR Surface                   FGD flue gas desulfurization
                                                                                                          Impoundments and CCR Management                 FR Federal Register
                                            for legacy CCR surface impoundments.                                                                          GWMCA groundwater monitoring and
                                            EPA is also establishing requirements                         Units
                                                                                                       1. Summary of May 2023 Proposal                        corrective action
                                            for CCR management units at active CCR                                                                        GWPS groundwater protection standard
                                                                                                       2. 2023 Draft Risk Assessment
                                            facilities and at inactive CCR facilities                  3. Response to Comments on the Proposal            HQ hazard quotient
                                            with a legacy CCR surface                                     and the NODA                                    HSWA Hazardous and Solid Waste
                                            impoundment. Finally, EPA is making                        4. 2024 Final Risk Assessment                          Amendments
                                            several technical corrections to the                       B. Legacy CCR Surface Impoundment                  ICR Information Collection Request
                                            existing regulations, such as correcting                      Requirements                                    IRIS Integrated Risk Information System
                                                                                                       1. Definition of a ‘‘Legacy CCR Surface            LEAF Leaching Environmental Assessment
                                            certain citations and harmonizing
                                                                                                          Impoundment’’                                       Framework
                                            definitions.                                                                                                  MCL maximum contaminant level
                                                                                                       2. Applicable Requirements for Legacy
                                            DATES: This final rule is effective on                        CCR Surface Impoundments and                    MDE Maryland Department of the
                                            November 4, 2024.                                             Compliance Deadlines                                Environment
                                                                                                       C. CCR Management Unit Requirements                MNA monitored natural attenuation
                                            ADDRESSES: EPA has established a
                                                                                                       1. Damage Cases                                    MODFLOW–USG Modular Three-
                                            docket for this action under Docket ID                                                                            Dimension Finite-Difference Ground-
                                                                                                       2. Applicability and Definitions Related to
                                            No. EPA–HQ–OLEM–2020–0107. All                                CCR Management Units                                Water Flow Model
                                            documents in the docket are listed on                      3. Facility Evaluation for Identifying CCR         MSW Municipal Solid Waste
                                            the http://www.regulations.gov website.                       Management Units                                MW Megawatts
                                            Although listed in the index, some                         4. Applicable Requirements for CCR                 NAICS North American Industry
                                            information is not publicly available,                        Management Units and Compliance                     Classification System
                                            e.g., CBI or other information whose                          Deadlines                                       NERC North American Electric Reliability
                                                                                                       D. Closure of CCR Units by Removal of                  Corporation
                                            disclosure is restricted by statute.
                                                                                                          CCR                                             NODA notice of data availability
                                            Certain other material, such as                                                                               NPDES National Pollution Discharge
                                                                                                       1. Background
                                            copyrighted material, is not placed on                     2. March 2020 Proposed Rule                            Elimination System
                                            the internet and will be publicly                          3. What is EPA Finalizing Related to the           NPL National Priorities List
                                            available only in hard copy form.                             March 2020 Proposed Rule                        NTTAA National Technology Transfer and
lotter on DSK11XQN23PROD with RULES2




                                            Publicly available docket materials are                    E. Technical Corrections                               Advancement Act
                                            available electronically through http://                IV. Effect on State CCR Permit Programs               OAFU Other Active Facilities
                                            www.regulations.gov.                                    V. The Projected Economic Impact of This              OLEM Office of Land and Emergency
                                                                                                          Action                                              Management
                                            FOR FURTHER INFORMATION CONTACT: For                       A. Introduction                                    OMB Office of Management and Budget
                                            questions concerning this proposal,                        B. Affected Universe                               OSHA Occupational Safety and Health
                                            contact Michelle Lloyd, Office of                          C. Baseline Costs                                      Administration



                                       VerDate Sep<11>2014   18:01 May 07, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\08MYR2.SGM   08MYR2
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                                            P.E. Professional Engineer                              Group v. EPA, 901 F.3d 414 (D.C. 2018)                rule will help EPA further ensure that
                                            PM particulate matter                                   (‘‘USWAG decision’’ or ‘‘USWAG’’) that                the communities and ecosystems closest
                                            PRA Paperwork Reduction Act                             vacated and remanded the provision                    to coal facilities are sufficiently
                                            PRG preliminary remediation goal                                                                              protected from harm from groundwater
                                                                                                    exempting legacy impoundments from
                                            PUC Public Utility Commission
                                            QA/QC quality assurance/quality control                 the CCR regulations. This action                      contamination, surface water
                                            RCRA Resource Conservation and Recovery                 includes adding a definition for legacy               contamination, fugitive dust, floods and
                                                Act                                                 CCR surface impoundments and other                    impoundment overflows, and threats to
                                            RIA Regulatory Impact Analysis                          terms relevant to this rulemaking. It also            wildlife.
                                            RME reasonable maximum exposure                         requires that legacy CCR surface                         EPA is also establishing requirements
                                            RTO Regional Transmission Organizations                 impoundments comply with certain                      to address the risks from currently
                                            SMCL secondary maximum contaminant                      existing CCR regulations with tailored                exempt solid waste management that
                                                level                                                                                                     involves the direct placement of CCR on
                                                                                                    compliance deadlines.
                                            SSI statistically significant increase                                                                        the land. EPA is extending a subset of
                                            SSL statistically significant level                        While this action is responsive to the
                                            TDS total dissolved solids                              D.C. Circuit’s order, it is also driven by            the existing requirements in 40 CFR part
                                            TSCA Toxic Substances Control Act                       the record, which clearly demonstrates                257, subpart D to CCR surface
                                            TSDF Transportation Storage and Disposal                that regulating legacy CCR surface                    impoundments and landfills that closed
                                                Facility                                            impoundments will have significant                    prior to the effective date of the 2015
                                            TVA Tennessee Valley Authority                          quantified and unquantified public                    CCR Rule, inactive CCR landfills, and
                                            UMRA Unfunded Mandates Reform Act                                                                             other areas where CCR is managed
                                            USGS U.S. Geological Survey                             health and environmental benefits. As
                                                                                                                                                          directly on the land. In this action, EPA
                                            USWAG Utility Solid Waste Activities                    EPA concluded in 2015, the risks posed
                                                                                                                                                          refers to these as CCR management
                                                Group                                               by unlined CCR surface impoundments
                                                                                                                                                          units, or CCRMU. The final rule
                                            WIIN Water Infrastructure Improvements                  are substantial, and the risks from
                                                                                                                                                          expands the CCRMU requirements to a
                                                for the Nation                                      legacy impoundments are at least as
                                            WQC water quality criteria                                                                                    set of active facilities that were not
                                                                                                    significant. EPA’s 2014 Risk Assessment
                                                                                                                                                          regulated by the 2015 CCR rule because
                                            I. General Information                                  concluded that the cancer risks from
                                                                                                                                                          they had ceased disposing of CCR in
                                                                                                    unlined surface impoundments ranged
                                                                                                                                                          their on-site disposal units, and they did
                                            A. Does this action apply to me?                        from 3 × 10¥4 for trivalent arsenic to 4
                                                                                                                                                          not have an inactive surface
                                               This rule applies to and may affect all              × 10¥5 for pentavalent arsenic. Non-                  impoundment. Accordingly, this rule
                                            CCR generated by electric utilities and                 cancer risks from these same units also               applies to all CCRMU at active CCR
                                            independent power producers that fall                   significantly exceeded EPA’s level of                 facilities and inactive facilities with a
                                            within the North American Industry                      concern, with estimated Hazard                        legacy CCR surface impoundment.
                                            Classification System (NAICS) code                      Quotients (HQ) of two for thallium,                      EPA is also finalizing alternative
                                            221112. The reference to NAICS code                     three for lithium, four for molybdenum                closure provisions to allow a facility to
                                            221112 is not intended to be exhaustive,                and eight for trivalent arsenic. In                   complete the closure by removal in two
                                            but rather provides a guide for readers                 addition, as described in Unit III.A.1 of             stages: first, by completing all removal
                                            regarding entities likely to be regulated               this preamble, information obtained                   and decontamination procedures; and
                                            by this action. This discussion lists the               since 2015 indicates that the risks for               second, by completing all groundwater
                                            types of entities that EPA is now aware                 legacy CCR surface impoundments are                   remediation in a separate post closure
                                            could potentially be regulated by this                  likely to be greater than EPA originally              care period.
                                            action. Other types of entities not                     estimated. Finally, based on the                         Finally, EPA is making a number of
                                            described here could also be regulated.                 demographic composition and                           technical corrections to the existing
                                            To determine whether your entity is                     environmental conditions of                           regulations, such as correcting certain
                                            regulated by this action, you should                    communities within one and three miles                citations and harmonizing definitions.
                                            carefully examine the applicability                     of legacy CCR surface impoundments,                      EPA intends the provisions of the rule
                                            criteria found in 40 CFR 257.50 of title                this final rule will reduce existing                  to be severable. In the event that any
                                            40 of the Code of Federal Regulations.                  disproportionate and adverse effects on               individual provision or part of the rule
                                            If you have questions regarding the                     economically vulnerable communities,                  is invalidated, EPA intends that this
                                            applicability of this action to a                       as well as those that currently face                  would not render the entire rule invalid,
                                            particular entity, consult the person                   environmental burdens. For example, in                and that any individual provisions that
                                            listed in the FOR FURTHER INFORMATION                   Illinois the population living within one             can continue to operate will be left in
                                            CONTACT section.                                        mile of legacy CCR surface                            place. For example, EPA intends that
                                                                                                    impoundment sites is over three times                 the provisions governing each class of
                                            B. What action is the Agency taking?                    as likely compared to the State average               facilities—legacy CCR inactive surface
                                               EPA is amending the regulations                      to have less than a high school                       impoundments, CCR management units,
                                            governing the disposal of CCR in                        education (35.66% compared to                         other active facility units, and regulated
                                            landfills and surface impoundments,                     10.10%, see Regulatory Impact Analysis                CCR landfills containing waste in
                                            codified in subpart D of part 257 of Title              (RIA) exhibit ES.14), and that                        contact with groundwater—to be
                                            40 of the Code of Federal Regulations                   population already experiences higher                 independently severable from one
                                            (CFR) (CCR regulations). Specifically,                  than average exposures to particulate                 another as each set of requirements
                                            the Agency is establishing regulatory                   matter, ozone, diesel emissions, lifetime             operates independently from the other.
                                            requirements for inactive CCR surface                   air toxics cancer risks, and proximity to                Likewise, the provisions regulating
                                            impoundments at inactive utilities                      traffic, Superfund sites, Risk                        existing units at active facilities,
lotter on DSK11XQN23PROD with RULES2




                                            (‘‘legacy CCR surface impoundment’’ or                  Management Plan sites, and hazardous                  including those units at non-fossil-fuel-
                                            ‘‘legacy impoundment’’). This action is                 waste facilities (see RIA exhibit ES.15).             fired facilities generating energy, are
                                            being taken in response to the August                   Consistent with the directive in section              severable from the other substantive
                                            21, 2018, opinion by the U.S. Court of                  4004(a) to ensure that the statutory                  requirements—each provision may
                                            Appeals for the District of Columbia                    standard is met at all regulated sites,               continue operating even if one of the
                                            Circuit in Utility Solid Waste Activities               including the most vulnerable, this final             others is invalidated. EPA also intends


                                       VerDate Sep<11>2014   18:01 May 07, 2024   Jkt 262001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\08MYR2.SGM   08MYR2
                                                   USCA Case #24-1267                          Document #2068257                               Filed: 08/02/2024            Page 9 of 179
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                                            that, within each set of provisions for                 section 1008(a)(3) are enforceable under              subtitle D. Subtitle D of RCRA
                                            legacy CCR surface impoundments and                     section 7002 of RCRA.                                 establishes a framework for Federal,
                                            for CCR management units, the                              RCRA section 4004(a) generally                     State, and local government cooperation
                                            substantive requirements be severable                   requires EPA to promulgate regulations                in controlling the management of
                                            from each other. For example, if any of                 containing criteria distinguishing                    nonhazardous solid waste. The Federal
                                            the closure requirements were to be set                 ‘‘sanitary landfills,’’ which may                     role is to establish the overall regulatory
                                            aside (e.g., the requirement that CCRMU                 continue to operate, from ‘‘open                      direction by providing minimum
                                            initiate closure within 48 months of                    dumps,’’ which are prohibited. 42                     nationwide standards that will protect
                                            publication), the groundwater                           U.S.C. 6944(a); see id. 6903(14), (26);               human health and the environment.
                                            monitoring and corrective action                        6945(a). The statute directs that, ‘‘at a             States may, but are not required to,
                                            requirements can continue to fully and                  minimum, the criteria are to ensure that              adopt these requirements into their
                                            effectively operate. These requirements                 units are classified as sanitary landfills            State programs.
                                            function independently from each other,                 only if there is no reasonable probability               Under RCRA section 4005(a), upon
                                            address environmental concerns                          of adverse effects on health or the                   promulgation of criteria under section
                                            through different means, and are not                    environment from disposal of solid                    1008(a)(3), any solid waste management
                                            dependent on the others; they are                       wastes at such facility.’’ 42 U.S.C.                  practice or disposal of solid waste that
                                            therefore severable from each other.                    6944(a).                                              constitutes the ‘‘open dumping’’ of solid
                                            Lastly, as set forth below, EPA has                        RCRA section 4005(a), entitled                     waste is prohibited. The Federal
                                            deferred the dates by when some units                   ‘‘Closing or upgrading of existing open               standards apply directly to the facility
                                            in some circumstances must comply                       dumps,’’ prohibits any solid waste                    (are self-implementing) and facilities are
                                            with the substantive standards                          management practices or disposal of                   directly responsible for ensuring that
                                            governing legacy CCR surface                            solid waste that does not comply with                 their operations comply with these
                                            impoundments and CCR management                         EPA regulations issued under RCRA                     requirements.
                                            units. If any of the deferrals were to be               section 1008(a) and 4004(a). 42 U.S.C.                   RCRA section 4005(d) establishes an
                                            set aside, EPA intends that the                         6945(a). See also 42 U.S.C. 6903(14)                  additional regulatory structure,
                                            substantive standards would remain in                   (definition of ‘‘open dump’’). This                   applicable exclusively to the solid waste
                                            place because the rationale for and                     prohibition takes effect ‘‘upon                       management of CCR, that builds on the
                                            effectiveness of each set of substantive                promulgation’’ of any rules issued under              provisions in sections 1008(a)(3), 4004,
                                            standards is not dependent on any of                    section 1008(a)(3) and is enforceable                 and 4005(a), without restricting the
                                            the deferrals.                                          either through a citizen suit brought                 scope of EPA’s authority under those
                                               For the reader’s convenience, EPA has                pursuant to section 7002, or through an               sections. See, 42 U.S.C. 6945 (d)(7).
                                            provided a background description of                    EPA enforcement action brought                        Under 4005(d), States may seek EPA
                                            existing requirements in several places                 pursuant to section 4005(d)(4)(A). See                approval of a State permitting program
                                            throughout this preamble.                               42 U.S.C. 6945(a), (d)(4)(A) (authorizing             under which individualized facility
                                                                                                    EPA to use the authority under RCRA                   permits would ‘‘operate in lieu of [EPA]
                                            C. What is the Agency’s authority for                                                                         regulation of coal combustion residuals
                                            taking this action?                                     section 3008(a) to enforce the open
                                                                                                    dumping prohibition for CCR). RCRA                    units in the State.’’ 42 U.S.C.
                                               EPA is publishing this notice under                  section 4005(a) also directs that open                6945(d)(1)(A). EPA is also directed to
                                            the authority of sections 1008(a),                                                                            ‘‘implement a permit program,’’ which
                                                                                                    dumps (i.e., facilities out of compliance
                                            2002(a), 3007, 4004, and 4005(a) and (d)                                                                      would operate in absence of an
                                                                                                    with EPA’s criteria), must be closed or
                                            of the Solid Waste Disposal Act of 1970,                                                                      approved State program. 42 U.S.C.
                                                                                                    upgraded. See 42 U.S.C. 6945(a).
                                            as amended by the Resource                                 RCRA section 4005(d)(3) specifies that             6945(d)(2). However, the statute makes
                                            Conservation and Recovery Act of 1976                   the regulations in 40 CFR part 257,                   clear that facilities must continue to
                                            (RCRA), as amended by the Hazardous                     subpart D ‘‘(or successor regulations                 comply with the Federal regulations
                                            and Solid Waste Amendments of 1984                      promulgated pursuant to sections                      until a permit issued by either EPA or
                                            (HSWA) and the Water Infrastructure                     6907(a)(3) and 6944(a) of this title), shall          an approved State is in effect. 42 U.S.C.
                                            Improvements for the Nation (WIIN) Act                  apply to each CCR unit’’ unless a permit              6945(d)(3), (6).
                                            of 2016, 42 U.S.C. 6907(a), 6912(a),                    issued by an approved State or by EPA                    RCRA sections 1008(a)(3) and 4004(a)
                                            6927, 6944, 6945(a) and (d).                            is in effect. Similarly, section                      delegate broad authority to EPA to
                                               RCRA section 1008(a) authorizes EPA                                                                        establish regulations governing the
                                                                                                    4005(d)(6) 1 provides that:
                                            to publish ‘‘suggested guidelines for                                                                         management of solid waste. Under
                                            solid waste management.’’ 42 U.S.C.                     a CCR unit shall be considered to be a                section 4004(a) EPA is charged with
                                            6907(a). RCRA defines solid waste                       sanitary landfill for purposes of this chapter,       establishing requirements to ensure that
                                                                                                    including subsection (a), only if the coal
                                            management as ‘‘the systematic                                                                                facilities will be classified as sanitary
                                                                                                    combustion residuals unit is operating in
                                            administration of activities which                      accordance with [a permit issued by EPA or            landfills and not an open dump ‘‘only
                                            provide for the collection, source                      an approved State] or the applicable criteria         if there is no reasonable probability of
                                            separation, storage, transportation,                    for coal combustion residuals units under             adverse effects on health or the
                                            transfer, processing, treatment, and                    part 257 of title 40, Code of Federal                 environment from the disposal of solid
                                            disposal of solid waste.’’ 42 U.S.C.                    Regulations (or successor regulations                 waste’’ at the facility. Or in other words,
                                            6903(28).                                               promulgated pursuant to sections 6907(a)(3)           under section 4004(a) EPA is charged
                                               Pursuant to section 1008(a)(3), the                  and 6944(a) of this title).                           with issuing regulations to address all
                                            guidelines are to include the minimum                                                                         ‘‘reasonable probabilities of adverse
                                            criteria to be used by the States to define             1. Regulation of Solid Wastes Under                   effects’’ (i.e., all reasonably anticipated
lotter on DSK11XQN23PROD with RULES2




                                            the solid waste management practices                    RCRA Subtitle D                                       risks) to health and the environment
                                            that constitute the open dumping of                        Solid wastes that are neither a listed             from the disposal of solid waste. Section
                                            solid waste or hazardous waste and are                  nor characteristic hazardous waste are                1008(a)(3) expands EPA’s authority to
                                            prohibited as ‘‘open dumping’’ under                    subject to the requirements of RCRA                   address the risks from any of the
                                            section 4005. Only those requirements                                                                         activities identified as ‘‘solid waste
                                            promulgated under the authority of                        1 42 U.S.C. 6945(d)(6).                             management’’ in RCRA section


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                                            1004(28). Specifically, EPA is                          U.S.C. 6945(d)(3), (6), (7). By                            The RIA estimates that the annualized
                                            authorized to establish requirements                    incorporating the rule into the statute                 monetized costs of this action will be
                                            applicable to ‘‘storage, transportation,                without modification, Congress has                      approximately $214–$240 million per
                                            transfer, processing, treatment, and                    affirmed the Agency’s authority to                      year when discounting at 2%. Of this,
                                            disposal of solid waste.’’ (42 U.S.C.                   impose the kind of requirements                         $123–$135 million is attributable to the
                                            6907(a), 6903(28)). Under RCRA, EPA                     established in part 257 (e.g., corrective               requirements for legacy CCR surface
                                            sets these requirements without taking                  action to remediate groundwater                         impoundments, which are subject to the
                                            cost into account as a factor. See                      contamination). Moreover, Congress                      D.C. Circuit’s order in USWAG, $79–$92
                                            USWAG et al. v. EPA, 901 F.3d at 448–                   made clear that EPA retains the                         million is attributable to the
                                            49 (citing RCRA section 4004(a)).                       authority to modify or expand these                     requirements for CCRMU, an additional
                                               The statute is clear that EPA is                     requirements as necessary to ensure that                $8–$9 million is attributable to the
                                            authorized to issue regulations to                      the standard in section 4004(a) will                    requirements for CCRMU at Other
                                            address the current risks from previous                 continue to be met. See, e.g., 42 U.S.C.                Active Facilities (OAFUs) (a term used
                                            solid waste management activities. EPA                  6945(d)(1)(A)(i), (3), (6) (referencing ‘‘or
                                            explained at length the basis for this                                                                          in the RIA) that are discussed in Unit
                                                                                                    successor regulations promulgated                       III.C.2.e of the preamble, and $4 million
                                            conclusion as part of the Agency’s                      pursuant to sections 6907(a)(3) and
                                            rationale for regulating inactive                                                                               is attributable to requirements for
                                                                                                    6944(a) of this title’’).                               landfills. The costs of this final rule are
                                            impoundments. See, 80 FR 21344—                            EPA interprets the standard in section
                                            21347. See also USWAG, 901 F.3d at                                                                              discussed further in the RIA and
                                                                                                    4004(a) to apply equally to criteria
                                            440. Among other provisions, the                        issued under sections 1008(a)(3) and                    include the costs of unit closure,
                                            statutory definition of an ‘‘open dump’’                4004(a); namely that the criteria must                  corrective action, fugitive dust controls,
                                            conclusively resolves the question.                     ensure that a facility is to be classified              structural integrity inspections, and
                                            RCRA defines an ‘‘open dump’’ as ‘‘any                  as a sanitary landfill, and thus allowed                recordkeeping and reporting.
                                            facility or site where solid waste is                   to continue to operate, ‘‘only if there is                 The RIA estimates that the annualized
                                            disposed of . . . .’’ 42 U.S.C. 6903(14).               no reasonable probability of adverse                    monetized benefits attributable to this
                                            As the D.C. Circuit explained,                          effects on health or the environment’’                  action will be approximately $53–$80
                                               Importantly, while the ‘‘is’’ retains its            from either the disposal or other solid                 million per year when discounting at
                                            active present tense, the ‘‘disposal’’ takes the        waste management practices at the                       2%. Of this, $43–$57 million is
                                            form of a past participle (‘‘disposed’’). In this       facility. Thus, under the combined                      attributable to the requirements for
                                            way, the disposal itself can exist (it ‘‘is’’),         authority conferred by sections                         legacy CCR surface impoundments, $9–
                                            even if the act of disposal took place at some
                                                                                                    1008(a)(3) and 4004(a), a facility is an                $21 million is attributable to the
                                            prior time . . . . Properly translated then, an
                                            open dump includes any facility (other than             ‘‘open dump’’ if it engages in any                      requirements for CCRMU, $1–$2 million
                                            a sanitary landfill or hazardous waste                  activity involving the management of                    is attributable to the requirements for
                                            disposal facility), where solid waste still ‘‘is        solid waste that does not meet the                      CCRMU at ‘‘other active facilities,’’ or
                                            deposited,’’ ‘‘is dumped,’’ ‘‘is spilled,’’ ‘‘is        standard in section 4004(a); or in other                OAFUs. Requirements for landfills
                                            leaked,’’ or ‘‘is placed,’’ regardless of when          words, any activity involved with the                   account for a de minimis amount of
                                            it might have originally been dropped off.              management of solid waste that presents
                                            See 42 U.S.C. 6903(3), (14). In other words,
                                                                                                                                                            benefits.
                                                                                                    a reasonable probability of causing
                                            the waste in inactive impoundments ‘‘is                                                                            In addition to monetized benefits, the
                                            disposed of’’ at a site no longer receiving new         adverse effects on health or the
                                                                                                                                                            RIA describes ten categories of non-
                                            waste in just the same way that it ‘‘is                 environment. EPA also interprets these
                                                                                                    provisions to authorize the                             monetized benefits. These include
                                            disposed of’’ at a site that is still operating.
                                                                                                    establishment of criteria that define the               human health effects from lead
                                            901 F.3d at 440. See also In re                                                                                 exposure such as ADHD, cardiovascular
                                                                                                    manner in which facilities upgrade or
                                            Consolidated Consol. Land Disposal                                                                              mortality, and increased cancer risk.
                                            Regulation Litig., 938 F.2d 1386, 1389                  close, consistent with the standard in
                                                                                                    section 4004(a), to ensure there will be                They also include ecosystem benefits
                                            (D.C. Cir. 1991) (EPA’s reading of the                                                                          from avoided exposure to the heavy
                                            term ‘‘disposal’’ in RCRA’s subtitle C, 42              no reasonable probability of adverse
                                                                                                    effects on health or the environment.                   metals in CCR effluent. The RIA
                                            U.S.C. 6924, to include ‘‘the continuing                                                                        describes several property-related
                                            presence of waste’’ was reasonable);                    D. What are the incremental costs and                   benefits including increased property
                                            USWAG, 901 F.3d at 453–54                               benefits of this action?                                values near closed and remediated CCR
                                            (Henderson, J., concurring) (same). By                    As noted previously, EPA establishes                  units, and option values for remediated
                                            the same logic, these provisions would                  the requirements under RCRA sections                    land. The RIA also contextualizes the
                                            authorize EPA to regulate closed units                  1008(a)(3) and 4004(a) without taking                   final rule within EPA’s broader efforts to
                                            that continue to pose risks to health or                cost into account. See, USWAG, 901                      regulate air and surface water pollution
                                            the environment, for example by                         F.3d at 448–49. The following cost                      from coal fired power plants.
                                            requiring the owners or operators of                    estimates are presented in the RIA and
                                            such units to remediate any                                                                                        Further information on the economic
                                                                                                    summarized in this preamble for                         effects of this action can be found in
                                            contamination from these units, or to                   compliance with OMB Circular A–4,
                                            take action to prevent such                                                                                     Unit V of this preamble.
                                                                                                    E.O. 12866, and E.O. 14094. The
                                            contamination.                                          requirements in this rule do not rely on
                                              The 2016 amendments further                                                                                   that single constituent in a sensitivity analysis and
                                                                                                    these cost estimates.2                                  estimated an additional $19 million per year when
                                            confirm EPA’s authority over these
                                                                                                                                                            discounting at 2% from that single contaminant.
                                            activities. In section 4005, Congress
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                                                                                                      2 Although EPA did not consider costs in              The RIA also describes a number of important
                                            referenced the 2015 regulations in the                  developing this rule, if the Agency had considered      benefits that cannot currently be quantified or
                                            statute, and expressly stated that the                  costs, the final rule would not have been different.    monetized due to data limitations or limitations in
                                            amendments in 4005(d) were not                          As discussed in greater detail later in this preamble   current methodologies. Based on these estimates
                                                                                                    and in the RIA, the monetized benefits are based on     EPA believes that after considering all unquantified
                                            intended to limit or restrict the                       only a subset of adverse health effects from a single   and distributional effects, the public health and
                                            authority already provided under                        constituent. EPA monetized the benefit from two         welfare gains that will result from the proposed
                                            sections 1008(a)(3) and 4004(a). See, 42                additional human health endpoints associated with       alternative would justify the rule’s costs.



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                                            II. Background                                          B. 2018 USWAG Decision                                 greatest disposal risks are ‘‘primarily driven
                                                                                                                                                           by the older existing units, which are
                                            A. 2015 CCR Rule                                           The 2015 CCR Rule was challenged by
                                                                                                                                                           generally unlined’’). Notably, this very Rule
                                                                                                    several parties, including coalitions of               was prompted by a catastrophic legacy pond
                                               On April 17, 2015, EPA finalized
                                                                                                    regulated entities and environmental                   failure that resulted in a ‘‘massive’’ spill of
                                            national minimum criteria for the
                                                                                                    organizations (‘‘Environmental                         39,000 tons of coal ash and 27 million
                                            disposal of CCR as solid waste under
                                                                                                    Petitioners’’). See USWAG et al. v. EPA,               gallons of wastewater into North Carolina’s
                                            Subtitle D of RCRA titled, ‘‘Hazardous
                                            and Solid Waste Management System;                      901 F.3d 414 (D.C. Cir. 2018).                         Dan River. . . .
                                            Disposal of Coal Combustion Residuals                   Environmental Petitioners raised two                      [T]here is no gainsaying the dangers that
                                            from Electric Utilities’’ (80 FR 21302)                 challenges that are relevant to this final             unregulated legacy ponds present. The EPA
                                            (2015 CCR Rule). The 2015 CCR Rule,                     rule. First, they challenged the                       itself acknowledges the vital importance of
                                                                                                    provision at § 257.101(a)(1) that allowed              regulating inactive impoundments at active
                                            codified in 40 CFR part 257, subpart D,
                                                                                                    existing, unlined surface impoundments                 facilities. That is because, if not properly
                                            established regulations for existing and                                                                       closed, those impoundments will
                                            new CCR landfills, as well as existing                  to continue to operate until they
                                                                                                    exceeded the groundwater protection                    ‘‘significant[ly]’’ threaten ‘‘human health and
                                            and new CCR surface impoundments                                                                               the environment through catastrophic
                                            (including all lateral expansions of CCR                standard. They contended that EPA
                                                                                                    failed to show how continued operation                 failure’’ for many years to come. 75 FR at
                                            units). The criteria consist of location                                                                       35,177; see also 80 FR at 21,344 n. 40.
                                            restrictions, design and operating                      of unlined impoundments met RCRA’s
                                                                                                                                                              The risks posed by legacy ponds are at
                                            criteria, groundwater monitoring and                    baseline requirement that any solid                    least as substantial as inactive
                                            corrective action requirements, closure                 waste disposal site pose ‘‘no reasonable               impoundments at active facilities. See 80 FR
                                            and post-closure care requirements,                     probability of adverse effects on health               at 21,343–21, 344 (finding ‘‘no [ ]
                                            recordkeeping, notification, and internet               or the environment.’’ 42 U.S.C. 6944(a).               measurabl[e] differen[ce]’’ in risk of
                                            posting requirements.                                   Second, Environmental Petitioners                      catastrophic events between active and
                                               The 2015 CCR Rule also imposed                       challenged the exemption at § 257.50(e)                inactive impoundments). And the threat is
                                            requirements on inactive surface                        for inactive surface impoundments at                   very real. Legacy ponds caused multiple
                                            impoundments at active facilities. A                    inactive power plants (i.e., ‘‘legacy                  human and environmental disasters in the
                                            CCR surface impoundment is a natural                    ponds’’). Environmental Petitioners                    years leading up to the Rule’s promulgation.
                                            topographic depression, man-made                        argued that legacy ponds are at risk of                See 75 FR at 35,147 (proposed rule discusses
                                            excavation, or diked area, which is                     unmonitored leaks and catastrophic                     multiple serious incidents). For example, a
                                            designed to hold an accumulation of                     structural failures.                                   pipe break at a legacy pond at the Widows
                                                                                                       On August 21, 2018, the U.S. Court of               Creek plant in Alabama caused 6.1 million
                                            CCR and liquids, and the unit treats,
                                                                                                    Appeals for the D.C. Circuit upheld                    gallons of toxic slurry to deluge local
                                            stores, or disposes of CCR. The 2015
                                                                                                    most of the 2015 CCR Rule but decided                  waterways. Id. Another legacy pond in
                                            CCR Rule defined an ‘‘inactive CCR                                                                             Gambrills, Maryland caused the heavy metal
                                            surface impoundment’’ as ‘‘a CCR                        in favor of Environmental Petitioners on
                                                                                                                                                           contamination of local drinking water. Id.
                                            surface impoundment that no longer                      these two claims. The Court held that
                                                                                                                                                           And the preamble to the Rule itself
                                            receives CCR on or after October 19,                    EPA acted ‘‘arbitrarily and capriciously               specifically points to the catastrophic spill at
                                            2015, and still contains both CCR and                   and contrary to RCRA’’ in failing to                   the Dan River legacy pond in North Carolina.
                                            liquids on or after October 19, 2015.’’ 40              require the closure of unlined surface                 80 FR at 21,393–21,394.
                                            CFR 257.53. The rule defined ‘‘active                   impoundments 3 and in exempting
                                            facility or active electric utilities or                inactive surface impoundments at                       Id. at 432–433. Relying on this evidence,
                                            independent power producers’’ as ‘‘any                  inactive power plants from regulation.                 the Court concluded there was no
                                            facility subject to the requirements of                 The Court vacated these provisions and                 logical basis for distinguishing between
                                            this subpart that is in operation on                    remanded the matter back to the Agency                 the inactive impoundments at active
                                            October 19, 2015. An electric utility or                for further action consistent with its                 facilities that were regulated and the
                                            independent power producer is in                        opinion.                                               legacy impoundments that were exempt.
                                            operation if it is generating electricity                  In overturning the exemption for                    Id. at 434. Consequently, the Court
                                            that is provided to electric power                      legacy ponds, the Court evaluated the                  vacated the provision of the 2015 CCR
                                            transmission systems or to electric                     evidence in the rulemaking record and                  Rule (§ 257.50(e)) that specifically
                                            power distribution systems on or after                  reached specific conclusions about the                 exempted inactive impoundments at
                                            October 19, 2015. An off-site disposal                  risks that legacy ponds pose based on                  inactive facilities from regulation and
                                            facility is in operation if it is accepting             the record for the 2015 CCR Rule. The                  remanded the matter back to EPA for
                                            or managing CCR on or after October 19,                 Court pointed to evidence that legacy                  further action consistent with its
                                            2015.’’ 40 CFR 257.53.                                  ponds are most likely to be unlined and                opinion. Notwithstanding the vacatur of
                                               The 2015 CCR Rule did not impose                     unmonitored and that such units have                   § 257.50(e), until EPA amended the
                                            any requirements on inactive facilities.                been shown to be more likely to leak                   regulations to effectuate the Court’s
                                            EPA explained that this was consistent                  than units at utilities still in operation.            order, facilities were not legally obliged
                                            with past decisions under RCRA subtitle                 901 F.3d at 432. The Court also                        to take any action to comply with the
                                            C. See, 80 FR 21344 (April 17, 2015).                   determined that legacy ponds:                          Federal CCR regulations. This is
                                            EPA further raised concerns that it                     . . . pose the same substantial threats to             because, as originally drafted, legacy
                                            would be difficult to identify the owners               human health and the environment as the                CCR surface impoundments did not fall
                                            or other parties responsible for such                   riskiest Coal Residuals disposal methods,              within the scope of the rule, as defined
                                            facilities, as well as concerns that the                compounded by diminished preventative and              in § 257.50. The specific provision in
                                            present owner of the land on which an                   remediation oversight due to the absence of            § 257.50(e) exempting legacy
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                                            inactive facility was located might have                an onsite owner and daily monitoring. See 80           impoundments merely identified the
                                            no connection (other than present                       FR at 21343 through 21344 (finding that the            units that were not covered by
                                            ownership of the land) with the prior                     3 After the Court’s ruling, the closure of unlined
                                                                                                                                                           § 257.50(b). Because the vacatur of
                                            disposal activities. Id. Consequently,                  CCR surface impoundments was addressed in a
                                                                                                                                                           § 257.50(e) did not amend § 257.50(b),
                                            EPA exempted those units at                             separate regulatory action that was published on       legacy impoundments remained
                                            § 257.50(e).                                            August 28, 2020 (85 FR 53516).                         exempt.


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                                            C. 2020 Part B Proposed Rule                            impoundment, EPA’s regulatory                         definition of wetlands at § 257.61(a); (3)
                                               In the March 3, 2020 proposed rule,                  authority, the scope and applicability of             To correct a reference in the
                                            Hazardous and Solid Waste                               the legacy impoundment rule, and                      groundwater monitoring scope section;
                                            Management System: Disposal of CCR;                     regulatory requirements to propose.                   (4) To standardize the references to CCR
                                            A Holistic Approach to Closure Part B:                  Moreover, the comments generally                      websites throughout the CCR
                                            Alternate Demonstration for Unlined                     agreed that EPA must prescribe                        regulations; and (5) EPA requested
                                            Surface Impoundments; Implementation                    timeframes for coming into compliance                 comment on extending the period for
                                            of Closure (85 FR 12456), EPA proposed                  with the regulations and they                         document retention and posting.
                                                                                                    recommended timeframes that are                          The Agency received over 33,500
                                            revisions to the 2015 CCR Rule,
                                                                                                    shorter than compliance timeframes in                 comments on the proposed rule, with
                                            including: procedures to allow facilities
                                                                                                    the 2015 CCR Rule.                                    over 600 unique comments.
                                            to request approval to use an alternate
                                                                                                       As noted in the ANPRM, EPA took                    Commenters included individual
                                            liner for CCR surface impoundments;                     comment on whether, in light of the                   electric utilities and independent power
                                            two alternative proposed options to                     Court’s opinion in USWAG, the Agency                  producers, national trade associations,
                                            allow the use of CCR during unit                        could reconsider whether it has the                   State agencies, public interest and
                                            closure; an additional closure option for               authority to regulate inactive                        environmental groups, private citizens,
                                            CCR units being closed by removal of                    impoundments under RCRA subtitle D.                   and entities involved with the beneficial
                                            CCR; and requirements for annual                        85 FR 65017–65018 (October 14, 2020).                 use of CCR. All public comments
                                            closure progress reports. On November                   The general consensus from                            submitted in response to the proposal
                                            12, 2020, EPA finalized the procedures                  commenters on the ANPRM was that,                     can be found in the docket for this
                                            to allow facilities to request approval to              because the Court resolved the question               action. Most commenters focused on the
                                            use an alternate liner for CCR surface                  based on the plain meaning of the                     scope of the proposed rule, definitions,
                                            impoundments. 85 FR 72506. In this                      statute, EPA does not have the                        compliance deadlines, and EPA’s
                                            final rule, the Agency is taking final                  discretion to reinterpret its authority. In           statutory authority to regulate CCRMU.
                                            action on the proposed closure option                   addition, no commenter identified a                   Most commenters also requested that
                                            for units being closed by removal of                    factual basis for not regulating legacy               EPA adopt additional requirements to
                                            CCR, which action is discussed in Unit                  CCR surface impoundments that                         address the risks from CCR units. EPA’s
                                            III.D of this preamble. EPA is still                    addressed the Court’s concern about the               responses to the comments on the
                                            considering provisions from the                         risks these units pose. Id. at 65018.                 proposed rule are addressed either in
                                            proposed rule that are not addressed in                 Consequently, EPA is not revisiting the               this preamble or in a response to
                                            this rule and may be addressed in a                     question of whether it may regulate                   comment document available in the
                                            subsequent action.                                      inactive or legacy CCR surface                        docket to this final rule.
                                            D. 2020 Advance Notice of Proposed                      impoundments.                                            EPA conducted two public hearings
                                            Rulemaking                                                                                                    on the proposed rule. EPA held an in-
                                                                                                    E. 2023 Proposed Rule and Comments                    person public hearing in Chicago,
                                              On October 14, 2020, EPA published                       On May 18, 2023, EPA proposed                      Illinois on June 28, 2023. At this hearing
                                            an Advance Notice of Proposed                           revisions to the CCR regulations (88 FR               there were 87 speakers and a total of 150
                                            Rulemaking (ANPRM) (85 FR 65015). In                    31982) (‘‘the proposed rule’’ or ‘‘2023               registered attendees. EPA also held a
                                            that action, EPA requested information                  proposed rule’’). These revisions                     virtual public hearing on July 12, 2023,
                                            related to legacy CCR surface                           included establishing regulations                     using an internet-based software
                                            impoundments to inform a future                         specifying that legacy CCR surface                    platform. The platform allowed the
                                            rulemaking. The Agency requested                        impoundments are subject to 40 CFR                    public hearing participants to provide
                                            input on its regulatory authority, input                part 257, subpart D and specifying that               oral testimony using a microphone and
                                            on a potential definition of a legacy CCR               owners or operators of legacy CCR                     speakers connected to their computers
                                            surface impoundment and specific                        surface impoundments comply with all                  or using a phone. It provided the ability
                                            information on the types of inactive                    the appropriate requirements applicable               for any person to listen to the public
                                            surface impoundments at inactive                        to inactive CCR surface impoundments                  hearing via their computer. At the
                                            facilities that might be considered                     at active facilities. In addition, EPA                virtual hearing, there were 93 speakers
                                            legacy CCR surface impoundments.                        proposed to establish requirements to                 and a total of 353 registered attendees.
                                            Specifically, EPA requested information                 address the risks from currently exempt               Testimony at both public hearings
                                            on how many of these units exist, the                   solid waste management that involves                  focused generally on EPA’s proposed
                                            current status of these units (e.g.,                    the direct placement of CCR on the land.              amendments, and on the following
                                            capped, dry, closed according to State                  EPA proposed to extend a subset of the                topics: whether to further expand
                                            requirements, still holding water), and                 existing requirements in part 257,                    regulation to all CCR, regardless if it was
                                            the names, locations, and closure dates                 subpart D to CCRMU, which was                         onsite of a regulated facility; whether to
                                            of former power plants that may have                    proposed to include CCR surface                       regulate structural fill and other
                                            these units. Finally, the Agency took                   impoundments and landfills that closed                beneficial uses; enforcement of the CCR
                                            comment on which CCR regulations                        prior to the effective date of the 2015               regulations; requests for more
                                            should apply to legacy CCR surface                      CCR Rule, inactive CCR landfills, and                 engagement with communities; and
                                            impoundments and on suggestions for                     other areas where CCR is managed                      requests for EPA to amend other
                                            compliance deadlines.                                   directly on the land. This proposal                   regulations to strengthen corrective
                                              During the 60-day public comment                      would apply to all active CCR facilities              action and limit the use of alternative
                                            period, the Agency received over 15,000                 and all inactive facilities with legacy               source demonstrations (ASD). Finally,
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                                            comments from environmental groups,                     CCR surface impoundments. Lastly,                     some commenters discussed site-
                                            four States, one Tribe, individual                      EPA proposed to make several technical                specific concerns of facilities near their
                                            utilities, and industry trade                           corrections to the CCR regulations.                   homes, or health effects witnessed in
                                            associations. The topics raised in                      These are: (1) To clarify the definitions             communities close to CCR sites, and
                                            comments included a potential                           of ‘‘feasible’’ and ‘‘technically feasible’’;         general concerns about the health and
                                            definition of a legacy CCR surface                      (2) To correct the CFR reference in the               environmental risks from CCR.


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                                            Transcripts for both public hearings are                independent power producers, national                 CCR in onsite CCR units prior to the
                                            included in the docket for this action.                 trade associations, State agencies, public            effective date of the 2015 CCR Rule.
                                                                                                    interest and environmental groups,                       EPA is also finalizing alternative
                                            F. 2023 Notice of Data Availability                                                                           closure provisions to allow a facility to
                                                                                                    private citizens, and entities involved
                                              On November 14, 2023, EPA                             with the beneficial use of CCR. All                   complete the closure by removal in two
                                            published a notice of data availability                 public comments submitted in response                 stages: first, by completing all removal
                                            (NODA), to solicit comments on                          to the NODA can be found in the docket                and decontamination procedures; and
                                            additional information and statistics                   for this action. The majority of                      second, by completing all groundwater
                                            developed in response to comments on                    commenters focused on the                             remediation in a separate post closure
                                            the Agency’s May 18, 2023 proposed                      supplemental risk assessment; some                    care period.
                                            rule. 88 FR 77941. Some of the                          focused on the request for additional                    Lastly, EPA is finalizing several
                                            information contains data or analysis                   information on the universe of legacy                 technical corrections to the CCR
                                            obtained directly from comments                         CCR surface impoundments and                          regulations. These are: (1) to clarify the
                                            submitted during the May 18, 2023                       CCRMU. EPA’s responses to comments                    definitions of ‘‘feasible’’ and
                                            proposed rule’s comment period, which                   received on the NODA are addressed                    ‘‘technically feasible’’; (2) to correct the
                                            might aid in the formulation of the final               either in an updated risk assessment                  CFR reference in the definition of
                                            rule. EPA also solicited comments on a                  (the 2024 Risk Assessment), this                      wetlands at § 257.61(a); (3) to correct a
                                            supplemental risk assessment EPA                        preamble, or in the response to                       reference in the groundwater monitoring
                                            conducted in response to comments                       comment document available in the                     scope section; (4) to standardize the
                                            raised on the proposed rule. This risk                  docket to this final rule.                            references to CCR websites throughout
                                            assessment builds on the findings of the                                                                      the CCR regulations; and (5) to extend
                                                                                                    III. What final action is the Agency                  the period for document retention and
                                            previous Human and Ecological Risk                      taking?
                                            Assessment of Coal Combustion                                                                                 posting.
                                            Residuals (2014 Risk Assessment) 4 and                     In response to the USWAG decision,
                                                                                                                                                          A. Risks From Legacy CCR Surface
                                            better quantifies the specific risks that               EPA is finalizing a provision at
                                                                                                                                                          Impoundments and CCR Management
                                            may result from placement of CCR in                     § 257.50(e), specifying that legacy CCR
                                                                                                    surface impoundments are subject to 40                Units
                                            legacy CCR surface impoundments and
                                            CCRMU. EPA requested comment on all                     CFR part 257, subpart D. EPA is also                  1. Summary of May 2023 Proposal
                                            aspects of the assessment including the                 requiring owners or operators of legacy                  The proposal largely relied on the
                                            validity and propriety of relying on the                CCR surface impoundments to comply                    model results from the 2014 Risk
                                            new information, data, and analyses                     with the following existing                           Assessment, as EPA considered the
                                            contained in the updated risk                           requirements in the CCR regulations:                  results were equally applicable to legacy
                                            assessment to inform the final rule.                    installation of a permanent marker,                   CCR surface impoundments and
                                              EPA also sought further information                   history of construction, hazard potential             CCRMU.5 This determination was based
                                            on legacy CCR surface impoundments                      classification, structural stability and              on the fact that many of these
                                            and CCRMU, including information on                     factors of safety assessments, emergency
                                                                                                                                                          unregulated units are similarly
                                            the location, presence, condition,                      action plan (EAP), air criteria,
                                                                                                                                                          constructed, manage the same types of
                                            history, and risk associated with any of                inspections, groundwater monitoring
                                                                                                                                                          ash, and are frequently located either at
                                                                                                    and corrective action, closure and post-
                                            the potential legacy CCR surface                                                                              the same or nearby facilities as their
                                                                                                    closure care, recordkeeping, and
                                            impoundments or any of the potential                                                                          regulated counterparts. In particular,
                                                                                                    notification and CCR website
                                            CCRMU within the docket. EPA also                                                                             some unregulated units are known to be
                                                                                                    requirements. EPA further is
                                            requested any information regarding the                                                                       located directly adjacent to or beneath
                                                                                                    establishing new compliance deadlines
                                            presence of water, distance to surface                                                                        currently regulated units.
                                                                                                    for these newly applicable regulatory
                                            water bodies, proximity to floodplains,                                                                          The 2014 Risk Assessment concluded
                                                                                                    requirements to ensure the owners or
                                            unit size, CCR volume, depth to                                                                               that the management practices that EPA
                                                                                                    operators of these units have time to
                                            groundwater, date of CCR placement,                                                                           believed were generally in use in 2014
                                                                                                    come into compliance.
                                            closure status, any corrective action                      In addition to the revisions EPA                   at surface impoundments and landfills
                                            associated with the unit, and any                       proposed to address the USWAG                         were likely to pose risks to human
                                            groundwater monitoring data. EPA also                   decision, EPA is establishing                         health through groundwater exposure
                                            requested comment on the accuracy of                    requirements to address the risks from                within the range that EPA typically
                                            the information that was submitted                      currently exempt solid waste                          considers warrants regulation. For
                                            regarding potential legacy CCR surface                  management that involves the direct                   highly exposed individuals, the cancer
                                            impoundments or potential CCRMU.                        placement of CCR on the land. EPA is                  risks from arsenic due to the operation
                                            Furthermore, EPA sought similar                         extending a subset of the existing                    of surface impoundments were as high
                                            information on any other potential                      requirements in 40 CFR part 257,                      as 2 × 10¥4, while noncancer risks were
                                            legacy CCR surface impoundments or                      subpart D to CCRMU, which are CCR                     as high as an HQ of 5 for arsenic, 2 for
                                            potential CCRMU of which EPA may                        surface impoundments and landfills                    lithium, and 2 for molybdenum. Cancer
                                            not be aware or for which we may have                   that closed prior to the effective date of            risks associated with the operation of
                                            incomplete information.                                 the 2015 CCR Rule, inactive CCR                       landfills were estimated to be as high as
                                              EPA accepted public comment on the                    landfills, and other areas where CCR is               5 × 10¥6 from the ingestion of arsenic-
                                            NODA until December 11, 2023. The                       managed directly on the land. These                   contaminated drinking water. In 2015,
                                            Agency received over 70 comments on                     additional requirements apply to all                  EPA relied on this risk assessment to
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                                            the NODA. Commenters included                           active CCR facilities, all inactive                   support the regulation of both active
                                            individual electric utilities and                       facilities with legacy CCR surface                    CCR units and inactive CCR surface
                                              4 U.S. EPA. 2014. ‘‘Human and Ecological Risk
                                                                                                    impoundments subject to this final rule,                5 U.S. EPA. 2014. ‘‘Human and Ecological Risk

                                            Assessment of Coal Combustion Residuals.’’ RIN
                                                                                                    and those active facilities (i.e., facilities         Assessment of Coal Combustion Residuals.’’ RIN
                                            2050–AE81. Office of Solid Waste and Emergency          producing electricity for the grid as of              2050–AE81. Office of Solid Waste and Emergency
                                            Response. Washington, DC. December.                     October 19, 2015) that ceased placing                 Response. Washington, DC. December.



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                                            impoundments at active facilities. The                  assessment to determine the potential                 3. Response to Comments on the
                                            2014 Risk Assessment reported risks for                 for some of these factors to affect                   Proposal and the NODA
                                            the units that were anticipated to be                   national risks. This risk assessment built               The following subsection provides a
                                            subject to the 2015 CCR Rule and                        on the findings of the 2014 Risk                      summary of comments received on
                                            therefore drew no conclusions about the                 Assessment and better quantified the                  either the proposed rule or NODA that
                                            older units excluded from the scope of                  specific risks that may result from                   are germane to the risk record for legacy
                                            that rule. Nevertheless, information                    placement of CCR in legacy CCR surface                impoundments and CCRMU. EPA
                                            available in the record supports the                    impoundments and CCRMU.                               considered these comments as it worked
                                            conclusion that these older units can                                                                         to finalize the supplemental risk
                                                                                                       The 2023 draft supplemental
                                            pose risks at least as high as reported in                                                                    assessment (‘‘2024 Risk Assessment’’).
                                                                                                    assessment consisted of: (1) Additional
                                            the 2014 Risk Assessment.
                                                                                                    modeling of inactive and closed CCR                   The Agency also received a number of
                                               EPA further proposed to find that the
                                                                                                    landfills and surface impoundments                    general comments, which were either
                                            risks associated with legacy
                                            impoundments and CCRMU may be                           that was actually conducted in 2014                   editorial in nature or expressed general
                                            even higher than EPA modeled on a                       using the same methodology and data.                  support or disapproval for the risk
                                            national scale in the 2014 Risk                         These results were ultimately not                     assessment methodology, data, or
                                            Assessment for active units. First, the                 included in the original 2014 Risk                    results. However, these comments did
                                            proposal explained that these units have                Assessment because the units were not                 not provide any specific technical
                                            been present onsite for longer and had                  regulated under the final 2015 rule, and              recommendations or data that could
                                            more time to leak. In addition, EPA                     (2) Some further model runs relying on                otherwise be used to update the risk
                                            explained that there are several                        some updated data. In addition, EPA                   assessment. These general comments
                                            management practices that have the                      modeled the placement of CCR in                       did not provide EPA with a basis to alter
                                            potential to result in higher leakage, but              smaller quantities than would typically               or otherwise re-evaluate the risk
                                            that were previously modeled either less                be found in a CCR surface                             assessment in response.
                                            frequently for active units—based on a                  impoundments or landfill (i.e., smaller               a. Comments Related to Applicability of
                                            belief that the practices had declined                  CCRMU placements or CCRMU fills) to                   2014 Risk Assessment
                                            over time—or not at all—due to data                     determine the potential for these smaller
                                            constraints on a national scale. These                  CCRMU placements to contaminate                          Comment: Several commenters
                                            include: (1) The greater prevalence of                  groundwater. Through this modeling,                   generally affirmed the Agency’s risk
                                            unlined units; (2) The greater likelihood               EPA identified potential for these fills to           basis for regulating historical and
                                            of co-management of CCR with coal                       contaminate onsite groundwater. Model                 inactive disposal units. However, other
                                            refuse and other wastes in surface                      results indicated potential for                       commenters argued the Agency’s risk
                                            impoundments, making the overall                        exceedance of groundwater protection                  record is inadequate to support
                                            waste pH far more acidic and (3) The                    standards (GWPS) at the fill boundary                 regulation of certain legacy
                                            potential for the units to be constructed               under both high-end and moderate                      impoundments or any CCRMU. Others
                                            below the water table or to have become                 conditions. These results also showed                 contended that because the 2014 Risk
                                            inundated with groundwater after                        potential for substantial spread of the               Assessment supported regulation of
                                            construction. The proposal estimated                    resulting groundwater plume. Under                    active landfills and surface
                                            that the solid waste management                         high-end conditions, these plumes are                 impoundments, it is not appropriate to
                                            practices associated with legacy                        large and persistent enough to sustain                apply that record to disposal units that
                                            impoundments and CCRMU could pose                       exposures for over a century or more at               previously ceased receipt of waste. In
                                            lifetime cancer risks from arsenic as                   average risks of 2 × 10¥5 or higher.                  particular, commenters pointed to the
                                            high as 2 × 10¥5 to 1 × 10¥3 (i.e., 2 to                                                                      current lack of ponded water and/or the
                                                                                                       Finally, EPA assessed the potential for            presence of a cap and vegetative cover
                                            100 cases of cancer for every 100,000                   exposure to radiation from CCR
                                            individuals exposed), and non-cancer                                                                          that would reduce infiltration through
                                                                                                    remaining in the soil (subsurface). EPA               certain units. Some commenters noted
                                            risks for cobalt as high as an HQ of 13,                found the amount of radon emitted by
                                            mercury up to an HQ of 13, lithium up                                                                         that State programs may include
                                                                                                    CCR is not distinguishable from                       requirements for unit design,
                                            to an HQ of 3, molybdenum up to an HQ                   background soil and so did not retain
                                            of 4, and thallium up to an HQ of 2,                                                                          monitoring, and closure that ensure a
                                                                                                    this pathway for further consideration.               cover is present. Commenters stated
                                            depending on the specific management                    EPA also found greater potential for risk
                                            practice. Finally, EPA explained that                                                                         these factors must be accounted for
                                                                                                    from gamma radiation as CCR comes to                  through an updated risk assessment.
                                            each of these practices individually can
                                                                                                    be located closer to the ground surface                  EPA Response: Claims that the results
                                            pose greater risks than those previously
                                                                                                    due to a reduction in shielding. An                   of the 2014 Risk Assessment are
                                            modeled for the currently regulated
                                                                                                    additional sensitivity analysis identified            applicable only to active units represent
                                            universe of CCR units, and a
                                                                                                    potential for further risk if CCR becomes             a fundamental misunderstanding of
                                            combination of these practices could
                                                                                                    mixed with surface soil. Accumulation                 scope of the 2014 Risk Assessment. EPA
                                            push risks even higher.
                                                                                                    of CCR can result in elevated cancer risk             did not only model units during
                                            2. 2023 Draft Risk Assessment                           from incidental ingestion of arsenic and              operation. Instead, the risk assessment
                                               A number of commenters claimed that                  radium, in addition to direct exposure                modeled the specific stage of the unit
                                            the 2014 Risk Assessment did not                        to gamma radiation from radium. For                   lifecycle anticipated to contribute the
                                            adequately capture various factors                      high-end waste concentrations, an eight               most to long-term risk. For surface
                                            associated with legacy CCR surface                      percent mixture of CCR in surface soil                impoundments this was during
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                                            impoundments and CCRMU that the                         was found to result in risk on the order              operation, but for landfills it was after
                                            commenters believed will result in                      of 1 × 10¥4.                                          closure. EPA modeled the leakage that
                                            significantly different risks than those                  The 2023 draft risk assessment was                  occurred over this one lifecycle stage
                                            posed by currently regulated units. In                  made available for public comment as                  and tracked the subsequent migration
                                            response to these comments, EPA                         part of a NODA released on November                   through groundwater over time. The
                                            conducted a supplemental risk                           14, 2023.                                             risks to downgradient receptors


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                                            resulting from the modeled leakage were                 statutes and regulations, with a more                 performing as designed. Thus, the 2014
                                            used to represent risk over the entire                  detailed focus on the 16 States                       Risk Assessment accurately describes
                                            unit lifecycle. Consideration of a single               responsible for approximately 74% of                  the risks that can result if these units are
                                            lifecycle stage was necessary because of                the CCR generated in 2009. See 80 FR                  not adequately maintained and
                                            model constraints and the high                          21324. The Agency’s review of State                   monitored in line with regulatory
                                            computational burden of tracking                        programs prior to 2015 found that                     requirements.
                                            shifting configurations for every single                oversight of these wastes and the overall                Comment: Multiple commenters
                                            unit.                                                   protectiveness of particular programs                 argued that historical and inactive
                                               Both landfills and surface                           varied widely. For example, EPA                       disposal units will generally have a
                                            impoundments progress through similar                   estimated that in 2015, approximately                 smaller footprint than those modeled in
                                            lifecycle stages from construction to                   20% of the net disposable CCR was                     the 2014 Risk Assessment. For example,
                                            closure. Thus, the fact that some                       entirely exempt from State regulatory                 some commenters noted the average
                                            historical and inactive units may no                    oversight. Similarly, a 2006 joint                    sizes of landfills and surface
                                            longer contain ponded water or may                      Department of Energy (DOE) and EPA                    impoundments modeled in the 2014
                                            have installed a soil cover only places                 study reported that only 19% (three out               Risk Assessment were around 120 acres
                                            these units in a different stage of that                of 19) of the surveyed surface                        and 50 acres, respectively, while the
                                            lifecycle. That does not differentiate the              impoundment permits included                          estimated average sizes of CCRMU and
                                            long-term risks of those units from those               requirements addressing GWPS (i.e.,                   legacy impoundments in the proposed
                                            previously modeled. In particular,                      contaminant concentrations that cannot                rule were both closer to 30 acres. Others
                                            existing groundwater contamination                      be exceeded) or closure/post-closure                  cited to the sizes of individual units that
                                            does not vanish once a unit ceases                      care. Furthermore, some of the                        at their facilities to contend that these
                                            operation. As one State commenter                       photographs and descriptions of these                 units are much smaller than average.
                                            noted, ‘‘[g]roundwater contamination is                 older units provided by commenters                    These commenters contended that a
                                            an important aspect to legacy                           indicate extensive growth of trees and                smaller footprint would result in a
                                            impoundment closure and should not                      other woody vegetation that can                       lower mass loading of groundwater and
                                            be overlooked simply because the                        compromise the integrity of any cap                   lower associated risk.
                                            impoundment does not contain liquid                     present and increase the rate of                         EPA Response: EPA disagrees that the
                                            or CCR at the date of the final rule.’’                 infiltration into the unit. For these                 referenced data indicate that older
                                               By contrast, the 2014 Risk Assessment                reasons, the 2014 Risk Assessment is                  disposal units are significantly smaller
                                            only modeled landfills after closure; in                equally representative of the national                in size than the units EPA modeled in
                                            other words, EPA assumed that no                        risks from historical and inactive                    2014. The 2014 Risk Assessment relied
                                            leakage occurred prior to closure, while                landfills.                                            on data submitted by facilities in the
                                            the landfill was operating. EPA only                       The 2014 Risk Assessment modeled                   EPA Surveys to estimate an average
                                            modeled landfills after closure because                 all surface impoundments during the                   active landfill size of around 120 acres
                                            based on the assumption that this stage                 active stage of their lifecycle. This was             from over 310 landfills and an average
                                            of the landfill lifecycle would have the                based on the presumption that the                     active impoundment size of around 50
                                            greatest contribution to long-term risk                 highest rates of leakage would occur                  acres from over 735 impoundments. The
                                            for offsite receptors because the unit                  while wastewater is ponded above the                  RIA summary referenced by
                                            would be filled to capacity and the post                ash, because this water creates a large               commenters relies only on data that
                                            closure stage represented the greater                   and sustained hydraulic head that                     could be independently verified by data
                                            period of time over which leakage can                   serves to drive leachate into the                     from posted facility reports and recent
                                            occur. EPA modeled unlined units with                   subsurface. Although the current                      public comments. From the final list of
                                            a soil cap and vegetative cover                         configuration of historical and legacy                195 CCRMU and 194 legacy
                                            equivalent to the surrounding native                    impoundments may vary, all these units                impoundments, EPA identified data for
                                            soils and found risks from arsenic as                   previously held ponded water during                   only one landfill with a size of 90 acres
                                            high as 2 × 10¥5 for receptors up to a                  the active stage of their lifecycle. And,             and 47 historical or legacy
                                            mile away. Even assuming some                           in the case of legacy impoundments,                   impoundments with an average size of
                                            landfills have been closed in a manner                  ponded water may still be present. As                 44 acres. Thus, when CCRMU are
                                            more consistent with the existing CCR                   a result, the current configuration of the            separately grouped as landfills and
                                            regulations (i.e., with some kind of                    unit is immaterial to the releases that               impoundments, the differences in size
                                            composite cover system), this is                        occurred during operation. For this                   are not as substantial as indicated by
                                            unlikely to change the overall                          reason, the modeling approach relied                  commenters.
                                            conclusions of the risk assessment. This                upon in the 2014 Risk Assessment is                      EPA also disagrees that any
                                            is because, regardless of the cover that                equally applicable to historical and                  differences that do exist would result in
                                            is ultimately installed, higher leakage                 legacy impoundments.                                  substantially lower risks than
                                            can occur throughout the active life of                    The 2014 Risk Assessment also                      previously modeled. As part of the 2014
                                            the unit when the landfill face is open                 accurately represents the potential risks             Risk Assessment, EPA modeled 122
                                            and able to intercept more precipitation.               that remains for units that were closed               landfills and 163 impoundments that
                                            This conclusion is reinforced by the fact               consistent with the 2015 CCR Rule. If                 were excluded from the reported risk
                                            that facility monitoring reports                        the cover system is not adequately                    results because these units were
                                            document that around 20% of currently                   maintained after closure, degradation                 determined to not be subject to that rule.
                                            active landfills have triggered corrective              over time from human or animal                        These excluded units represent some
                                            action. Additionally, EPA has seen no                   activity, natural settling, freeze-thaw               combination of legacy impoundments,
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                                            evidence to suggest that the closure of                 cycles, flooding and other extreme                    inactive landfills, and historical
                                            older units has been consistently more                  weather events, and other factors can                 disposal units. The average sizes of
                                            protective than EPA modeled in 2014.                    result in greater leakage from the unit               these previously excluded units are 77
                                            As discussed in Unit III.B.2.g.iii(a) of                than designed. In some cases,                         acres for the landfills and 28 acres for
                                            the preamble, as part of developing the                 groundwater monitoring may provide                    the impoundments. These sizes are
                                            2015 CCR Rule, EPA reviewed State                       the only clear evidence the cap is not                approximately half the size of the units


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                                            identified in the 2014 Risk Assessment                  available porewater data show the                     2014 and 2024 Risk Assessments were
                                            or more recent data collection efforts.                 potential for certain constituents, such              not able to adequately model, such as
                                            However, as discussed in Section 3 of                   as molybdenum, to leach from bottom                   waste below the water table. However,
                                            the 2024 Risk Assessment, the risks                     ash at levels as high as from fly ash.                this is why the Agency separately relied
                                            associated with these older units are                      Additionally, available monitoring                 on damage cases to identify additional
                                            substantially the same as those for                     reports for currently regulated units                 constituents of potential concern for
                                            currently regulated units. Therefore,                   posted on facility websites document                  groundwater monitoring.
                                            there is no evidence that these                         that these units have a similar potential                Comment: One commenter stated that
                                            differences in size have a meaningful                   to contaminate groundwater as units                   EPA should not rely on the findings of
                                            impact on national risks, or that the                   containing other types of CCR. Of the                 the Environmental Integrity Project’s
                                            results of the 2014 Risk Assessment are                 units designated as managing bottom                   report, ‘‘Poisonous Coverup: The
                                            nor equally applicable to legacy                        ash, 32% of surface impoundments and                  Widespread Failure of the Power
                                            impoundments and CCRMU. While                           38% of landfills have triggered                       Industry to Clean Up Coal Ash Dumps’’
                                            there may be individual disposal units                  corrective action. Of the units                       without independently validating the
                                            at these sites that are smaller than                    designated as managing slag, 38% of                   quality of analyses conducted for each
                                            average, the model results summarized                   surface impoundments have triggered                   site.
                                            in the 2024 Risk Assessment model                       corrective action. No landfills were                     EPA Response: EPA recognizes that
                                            include landfills as small as 2 acres and               identified as dedicated to slag. For                  the method used in the cited report to
                                            impoundments as small as 0.01 acres.                    comparison, 48% of remaining surface                  identify potential exceedances of GWPS
                                            Therefore, there is no indication based                 impoundments and 21% of remaining                     is not the same as the regulatory
                                            on the data provided that the overall                   landfills have triggered corrective                   standard for triggering corrective action.
                                            distribution of unit sizes has not been                 action. Therefore, there is no indication             For this and other reasons, the Agency
                                            adequately reflected in the national                    that these types of units are overall less            does not rely on the report as a primary
                                            model.                                                  likely to result in groundwater                       basis for the current rulemaking or to
                                               Finally, EPA notes that individual                   contamination.                                        draw any conclusions about the
                                            unit size is not necessarily a reliable                    Comment: One commenter claimed                     monitoring status of any individual
                                            metric to draw conclusions about the                    that a nationwide assessment should not               unit. Instead, EPA previously referenced
                                            overall risk from CCR disposal at                       be used to make determinations about                  the report as a supplementary source of
                                            electric utilities. The 2014 Risk                       the risks at individual sites or to support           information that further supports the
                                            Assessment modeled the risks from each                  national requirements. This commenter                 findings of the 2014 Risk Assessment.
                                            landfill and impoundment separately                     stated that, unlike individual damage                 Specifically, the fact that the
                                            because it was difficult to confirm the                 cases, the Agency’s groundwater model                 constituents identified as risk drivers in
                                            relative locations and orientations of                  does not adequately represent the                     the 2014 Risk Assessment are the same
                                            different units with data from the EPA                  specific conditions at each individual                ones detected most frequently above
                                            Surveys. However, the Agency is now                     unit. However, this commenter                         GWPS indicates that the fate and
                                            aware of many sites where multiple                      provided no data to support their broad               transport modeling conducted by EPA
                                            units, both landfills and impoundments,                 claims. One other commenter pointed to                was able to correctly identify the
                                            are located immediately adjacent to one                 data they had identified to contend that              constituents most likely to be released
                                            another. As a result, there is potential                the model does not reflect the specific               and migrate at environmentally
                                            the 2014 Risk Assessment                                environmental conditions at their                     significant concentrations. While high
                                            underestimated site risk to some degree                 facility.                                             background concentrations may be
                                            by not evaluating the combined leakage                     EPA Response: The modeling                         present at some of these sites, many
                                            over the full contributing area of these                conducted for both the 2014 and 2024                  have already triggered corrective action
                                            adjacent disposal units.                                Risk Assessments utilized a                           and the Agency believes that number
                                               Comment: One commenter stated the                    probabilistic, site-based approach that               will increase as more facilities come
                                            2014 Risk Assessment did not                            combined site-specific data with more                 into compliance with the rule
                                            specifically characterize the risks from                regional and national data sources. The               requirements. Because this report does
                                            impoundments that do not contain fly                    model incorporated data about the                     not form a basis for the rule, it is not
                                            ash. This commenter argued that                         specific location, dimensions, and liner              discussed further in the preamble to the
                                            historical and legacy impoundments are                  status of individual disposal units                   rule or the 2024 Risk Assessment
                                            more likely to only contain bottom ash                  where available. The aim of this                      outside of responses to other comments
                                            or boiler slag, as the process of                       approach is not to assign an exact risk               that cite to the same or similar reports.
                                            capturing fly ash was not common prior                  to each individual unit, but to provide
                                            to the 1970s. Therefore, this commenter                 an overall accurate picture of the                    b. Comments Related to Draft 2023
                                            concluded that the 2014 Risk                            potential risks posed by these types of               Supplemental Risk Assessment
                                            Assessment does not adequately                          units on a national scale. Indeed, many               Conceptual Model
                                            characterize the risks for these older                  of the findings from the 2014 Risk                       Comment: Multiple commenters
                                            units.                                                  Assessment were supported by available                broadly argued that the draft 2023 risk
                                               EPA Response: EPA disagrees that the                 damage cases. The commenters did not                  assessment relied on data and
                                            2014 Risk Assessment does not address                   articulate why they believe the risks                 assumptions that represent maximum
                                            the risks associated with these                         associated with individual units fall far             values or otherwise reflect worst-case
                                            impoundments. The risk assessment                       outside the broader distribution of                   scenarios that could never occur, and
                                            incorporated porewater data from                        modeled units. But as acknowledged by                 therefore do not represent a ‘‘reasonable
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                                            impoundments that contained only                        the one commenter who did submit                      probability’’ of adverse impacts and so
                                            bottom ash, but EPA did not separately                  data, there is overlap between the range              is not an appropriate basis for regulatory
                                            break out risks for this subset of units                of conditions modeled and those they                  action.
                                            because the amount of data available                    identified as present at their particular                EPA Response: EPA disagrees that the
                                            was inconsistent across the set of                      facility. EPA does acknowledge that                   design of the risk assessment is
                                            modeled constituents. However,                          there are some site conditions that the               inappropriately conservative. Consistent


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                                            with EPA’s long-standing practice under                 already living near many facilities and               wildlife if ash becomes intermingled
                                            RCRA (as well as other agency                           the generally higher property value of                with surface soil.
                                            programs), an individual with                           land near water bodies are two                          Comment: Commenters asserted that
                                            reasonable maximum exposure (RME)                       indicators of the potential for land to be            consideration of residential land use is
                                            provides the principal basis for                        attractive for future residential land use.           inconsistent with various EPA guidance
                                            evaluating potential human health risks.                Facilities do not dictate the ultimate use            documents 9 10 11 and Agency cleanup
                                            An RME scenario is intended to be                       of a property after the land has been                 programs. These commenters argued
                                            conservative, while remaining within                    sold for redevelopment. These types of                such guidance instructs EPA to assume
                                            the range of possible high-end                          facilities can include considerable tracts            that facilities surrounded by operating
                                            exposures.6 Specifically, ‘‘high end’’ has              of land beyond that dedicated to waste                industrial facilities will remain
                                            been defined as the part of the exposure                disposal that may be considered for a                 industrial unless there is clear evidence
                                            distribution that falls above the 90th                  range of different uses. EPA is currently             otherwise. These commenters further
                                            percentile, but below the 99.9th                        aware of 22 examples in which former                  argued that guidance instructs EPA to
                                            percentile.7 Reliance on this type of                   electric utilities have been proposed for             account for institutional controls, such
                                            scenario is intended to protect sensitive               residential development, 19 of which                  as State or local zoning laws, that would
                                            populations. Selection of the data and                  are known to have burned coal.8 Thus,                 make residential development or
                                            assumptions incorporated in the 2024                    there is evidence of community interest               resulting exposures at individual sites
                                            Risk Assessment is in line with this                    in residential land use at these types of             unlikely. Some commenters cited to
                                            objective. Further critiques about the                  facilities.                                           specific State requirements they assert
                                            potential for the specific data and                                                                           would prevent residential land use or
                                                                                                       Although future residential use is
                                            assumptions to overestimate risk are                                                                          prohibit future use of site groundwater
                                                                                                    considered as the RME scenario in the
                                            addressed in subsequent responses.                                                                            as a source of drinking water. Others
                                                                                                    2024 Risk Assessment, that does not
                                               Comment: Multiple commenters                                                                               claimed that due diligence reviews
                                                                                                    mean it is the only scenario EPA
                                            argued that it was inappropriate for EPA                                                                      would be adequate to identify and
                                                                                                    considered or on which this final rule                address any remaining sources of
                                            to consider future onsite residential                   is based. Depending on their location,
                                            exposures as a basis for evaluating the                                                                       contamination before exposures could
                                                                                                    leakage of Appendix IV constituents                   occur.
                                            potential risks associated with onsite                  from individual CCRMU fill may
                                            CCR disposal. One commenter claimed                                                                             EPA Response: EPA disagrees that
                                                                                                    migrate off-site at levels of concern. In             consideration of future residential land
                                            that the estimates of existing                          addition, even if the constituents from
                                            populations living near these facilities                                                                      use at these facilities is inconsistent
                                                                                                    a single CCRMU do not migrate off-site,               with applicable guidance and cleanup
                                            used in the 2024 Risk Assessment was                    the modeling conducted in 2024
                                            both overestimated and inconsistent                                                                           programs. First, the risk assessment was
                                                                                                    confirms that smaller CCRMU fills can                 conducted to establish minimum
                                            with estimates from the Agency’s RIA.                   meaningfully contribute to groundwater
                                            One commenter acknowledged that                                                                               national criteria rather than to clean up
                                                                                                    contamination across a facility.                      an individual site. To determine
                                            older units tend to be located closer to                Concentrations from a single CCRMU
                                            population centers. However, others                                                                           whether the section 4004(a) standard
                                                                                                    can combine with contamination from                   will be met at all sites nationwide, as
                                            argued that this proximity to existing                  other CCRMU, currently regulated CCR
                                            populations or water bodies would not                                                                         the statute requires, the Agency needs to
                                                                                                    units, or legacy CCR surface                          evaluate the risks associated with full
                                            make them overall more likely to                        impoundments that are also present on
                                            become residential in the future. One                                                                         range of reasonable scenarios. As
                                                                                                    the same site. Although EPA did not                   discussed in the previous response,
                                            commenter stated that EPA should have                   model the aggregate or cumulative risk
                                            surveyed the intended land use for                                                                            there are numerous examples in the
                                                                                                    associated with these potential sources               record of instances in which these kinds
                                            facilities or otherwise directly assessed               of co-located contamination, at a
                                            the likelihood of residential land use.                                                                       of sites have been redeveloped for
                                                                                                    minimum, EPA expects that the                         residential use.
                                               EPA Response: EPA disagrees that
                                                                                                    presence of multiple sources of                         Moreover, as the commenters have
                                            consideration of a population within a
                                                                                                    potential contamination at the same                   acknowledged, the Comprehensive
                                            five-mile radius overstates the
                                                                                                    facility would increase the likelihood of             Environmental Response,
                                            likelihood of residential development.
                                                                                                    a contaminant plume that could migrate                Compensation, and Liability Act
                                            Five miles away from a population
                                                                                                    off-site at levels of concern.                        (CERCLA) and other cleanup programs
                                            center is a small distance for residential
                                                                                                       Nor is residential use the only                    only address contamination that has
                                            development to expand, even in the
                                                                                                    scenario where exposures present                      already occurred. In contrast, national
                                            near future. Nevertheless, the Agency
                                                                                                    concern. One commenter described                      standards for waste management
                                            has updated the population estimates in
                                                                                                    donating property to a local government               developed under RCRA section 4004(a)
                                            the 2024 Risk Assessment to more
                                                                                                    for recreational uses. Several other                  are to prevent environmental releases
                                            closely align with reporting in the RIA
                                            and to include both one- and three-mile                 commenters described redeveloping
                                                                                                                                                            9 U.S. EPA. 1989. ‘‘Risk Assessment Guidance for
                                            radii. EPA also disagrees that                          sites as nature preserves. Even under
                                                                                                                                                          Superfund Volume I Human Health Evaluation
                                            consideration of a future residential                   these non-residential land uses, the is a             Manual (Part A).’’ EPA/540/1–89/002. Prepared by
                                            land use scenario is inappropriate or                   reasonable potential for exposure (and                the Office of Emergency and Remedial Response,
                                                                                                    consequently risk) to human and                       Washington, DC. December.
                                            unrealistic. The substantial populations                                                                        10 U.S. EPA. 1991. ‘‘Risk Assessment Guidance for
                                                                                                    ecological receptors if the ash is
                                                                                                                                                          Superfund Volume I Human Health Evaluation
                                              6 U.S. EPA. 1989. ‘‘Risk Assessment Guidance for      subsequently disturbed. For example, as               Manual (Part B, Development of Risk-based
                                            Superfund Volume I—Part A, Human Health                 discussed in Section 6 the 2024 Risk
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                                                                                                                                                          Preliminary Remediation Goals).’’ Publication
                                            Evaluation Manual.’’ EPA/540/1–89/002. Prepared         Assessment, concentrations of certain                 9285.7–01B. Prepared by the Office of Emergency
                                            by the Office of Emergency and Remedial Response,                                                             and Remedial Response, Washington, DC.
                                            Washington, DC. December.
                                                                                                    contaminants may also pose risk to                    December.
                                              7 U.S. EPA. 2004. ‘‘An Examination of EPA Risk                                                                11 U.S. EPA. 1995. ‘‘Land Use in the CERCLA

                                            Assessment Principles and Practices.’’ EPA/100/B–         8 Memorandum to the Docket: Compilation of          Remedy Selection Process.’’ OSWER Directive No.
                                            04/00. Prepared by the Office of the Science            News Articles on Future Land Uses for Electric        9355.7–04. Prepared by the Office of Solid Waste
                                            Advisor. Washington, DC. March.                         Utilities.                                            and Emergency Response. Washington, DC. May.



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                                            before they occur. See, USWAG, 901                      21324. As a result, EPA currently lacks               and/or formation of strongly reducing
                                            F.3d at 429–431. As EPA has previously                  a record to conclude that currently                   conditions.
                                            explained, groundwater contamination                    unidentified CCRMU fills located across                 EPA acknowledges the rates of
                                            is a concern, even if the aquifer is not                a facility would be subject to the same               leakage from surface impoundments
                                            currently used as a source of drinking                  institutional controls that are required              will generally decrease after ponded
                                            water. Sources of drinking water are                    for the disposal units the commenters                 wastewater has been allowed to drain,
                                            finite, and future users’ interests must                reference. Given the current absence of               reducing the overall hydraulic head
                                            also be protected. See, 44 FR 53445–                    national requirements, and that                       across the unit. As such, discussion in
                                            53448.                                                  commenters have generally                             the 2024 Risk Assessment has been
                                               EPA further disagrees that the risk                  acknowledged that they have not                       updated to clarify the distinction
                                            assessment failed to appropriately                      reliably kept records of the existence of             between water ponded above the ash
                                            account for existing State and local                    CCRMU, it is appropriate to evaluate the              and porewater within an impoundment.
                                            requirements for institutional controls                 risks that can reasonably arise in the                However, any free liquids that remain
                                            that would limit residential exposure.                  absence of institutional controls.                    within the unit can still result in higher
                                            The purpose of a baseline risk                             Comment: One commenter argued                      leakage than would occur if the unit
                                            assessment is to provide ‘‘. . . an                     that EPA had already considered the                   were fully dewatered. And the amount
                                            analysis of the potential adverse health                practice of disposal below the water                  of ‘‘residual water remaining’’ can
                                            effects (current or future) caused by                   table because it had been discussed in                sometimes be substantial; in some cases,
                                            hazardous substance releases from a site                previous risk assessments. Another                    closed impoundments remain saturated
                                            in the absence of any actions to control                commenter asserted the Agency’s                       by 20–54 feet of groundwater. See, e.g.,
                                            or mitigate these releases (i.e., under an              conceptual model assumed all legacy                   88 FR 31982–319873, 55236.
                                            assumption of no action).’’ 12 Thus, the                                                                        In addition, regardless of the current
                                                                                                    impoundments were in contact with the
                                            intent of the risk assessment is to                                                                           configuration of an impoundment, it is
                                                                                                    water table. Another commenter stated
                                            characterize the harm that could result                                                                       appropriate for the conceptual models
                                                                                                    that EPA cannot use information about
                                            if institutional and other controls are                                                                       in the 2024 Risk Assessment to consider
                                                                                                    active units to make assumptions about
                                            not implemented. This provides a                                                                              the stage of the unit lifecycle anticipated
                                                                                                    which historical and inactive units at
                                            consistent basis to understand the risks                                                                      to contribute the most to long-term risk.
                                                                                                    the same sites are in contact with the
                                            to be controlled and define appropriate                                                                       For surface impoundments, this is when
                                                                                                    water table, due to differences in unit
                                            national requirements such as a national                                                                      the units are in operation due to the
                                                                                                    construction and location. By contrast, a
                                            requirement for deed restrictions at all                                                                      presence of wastewater ponded above
                                                                                                    number of other commenters agreed that
                                            sites at which CCRMU fills will remain                                                                        the ash. Subsequent draining of the unit
                                                                                                    because EPA cannot model the effects of               does nothing to remediate any adverse
                                            in place. The Agency did not assume
                                                                                                    waste below the water table, EPA had                  impacts that occurred during operation.
                                            that all facilities will ultimately be used
                                                                                                    previously underestimated the risks                   Furthermore, to the extent that
                                            for residential purposes as a
                                                                                                    associated with CCR units. Other                      impoundments leak at rates more
                                            consequence of these factors in
                                                                                                    commenters argued the conceptual                      similar to landfills after ponded
                                            developing this final rule.
                                               Furthermore, as several commenters                   model for surface impoundments did                    wastewater has been drained, EPA notes
                                            have acknowledged, facilities have not                  not adequately distinguish between the                the 2014 Risk Assessment previously
                                            historically been required to identify                  types of water that may be present in an              modeled the risks from dry management
                                            smaller placements of ash as a form of                  impoundment. These commenters                         in landfills and found the potential for
                                            disposal and consequently have not                      asserted that any residual water                      unacceptable risk from these units.
                                            maintained reliable records of where                    remaining after the unit has been                     Therefore, continued leakage from
                                            such placements are located. Indeed,                    initially drained would not exert the                 drained units still has the potential to
                                            most commenters have acknowledged                       same hydraulic head within the unit                   sustain releases.
                                            that they are currently unable to identify              that would drive leachate into the                      Comment: One commenter affirmed
                                            all CCRMU at their existing facilities.                 subsurface during unit operation, and so              that ‘‘EPA is likely correct in its
                                            These commenters do not explain how                     leakage would more closely resemble a                 observations and assumptions that
                                            due diligence assessments would                         landfill.                                             CCRMU fills ‘will remain in place when
                                            reliably identify such placements in the                   EPA Response: The conceptual                       ownership of the property changes,’ and
                                            absence of such records, as such                        models for landfills and surface                      that, ‘in the absence of land use
                                            assessments typically rely on available                 impoundments in the 2014 and 2024                     restrictions, there is no guarantee [that]
                                            site records to guide further                           Risk Assessments did not evaluate                     engineering controls will remain in
                                            investigation. Nor do commenters                        contact with groundwater. Although                    place when the property is
                                            explain how existing State programs                     these assessments both acknowledged                   redeveloped.’ ’’ However, multiple
                                            would reliably identify such placements                 that this could occur, the scenario could             commenters argued the conceptual
                                            or otherwise prevent exposures, when                    not be incorporated into groundwater                  model for CCRMU fills does not
                                            the facilities themselves cannot identify               fate and transport modeling as a result               adequately account for the full diversity
                                            the presence of the ash on-site. This is                of data and model constraints. Because                of CCRMU that may be present onsite.
                                            reinforced by EPA’s review of State                     the 2014 and 2024 Risk Assessments did                Various commenters stated that a
                                            programs, which found that the specific                 not directly model the effects of                     conceptual model for fills does not
                                            requirements, level of oversight over                   disposal below the water table, neither               adequately address specific types of
                                            these wastes, and the overall                           assessment incorporates any                           placements, such as use in the
                                            protectiveness of individual programs                   assumptions about the prevalence of                   construction or closure of CCR disposal
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                                            varied widely among States. See, 80 FR                  this practice in the conceptual model.                units, storage in waste piles,
                                                                                                    EPA has acknowledged that its inability               construction of roadways and railroads,
                                              12 U.S. EPA. 1989. ‘‘Risk Assessment Guidance for
                                                                                                    to reliably model the effects of this                 or spreading on roadways for snow and
                                            Superfund Volume I Human Health Evaluation              practice means that its risk estimates on             ice control. Another asserted that
                                            Manual (Part A).’’ EPA/540/1–89/002. Prepared by
                                            the Office of Emergency and Remedial Response,          a national scale underestimate the risks              reliance on the similar conceptual
                                            Washington, DC. December.                               associated with higher rates of leaching              models in the 2014 Risk Assessment to


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                                            evaluate the disposal units and CCRMU                   characterize environmental parameters,                estimating the field leaching behavior
                                            fills is inappropriate because the                      claiming these data are outdated.                     for a wide range of materials under both
                                            CCRMU fills will tend to be smaller                     Another argued that the conceptual                    disposal and use conditions.’’ 15 The
                                            than the disposal units modeled in                      model does not adequately account for                 two studies cited by commenters do not
                                            2014.                                                   the presence of alternative liners, such              contradict these findings. Indeed, one of
                                               EPA Response: EPA disagrees that the                 as thick natural clay beneath the units.              the cited reports concludes that LEAF
                                            conceptual model for CCRMU fills does                      EPA Response: First, EPA notes that                Method 1313 measurements tended to
                                            not adequately address the                              the 2024 Risk Assessment does                         only underestimate porewater
                                            configurations of these units. The                      incorporate more recent weather data                  concentrations of lithium and
                                            majority of the units described by                      available from the most recent version                molybdenum and did not consistently
                                            commenters have a concentrated                          of the Hydrologic Evaluation of Landfill              overestimate or underestimate
                                            footprint, such as placement beneath a                  Performance Model, updated in 2020.                   porewater concentrations of arsenic and
                                            parking lot. Some of the specific                       As explained in the 2014 Risk                         thallium. These conclusions are
                                            alternate examples raised by                            Assessment, EPA found the remaining                   consistent with previous Agency
                                            commenters are either already regulated                 data sources provide the most recent                  findings that LEAF Method 1313
                                            under the existing regulations (e.g.,                   and representative data to characterize               measurements (1) can underestimate
                                            waste piles) or are outside the scope of                environmental conditions on a national                leakage of highly soluble constituents,
                                            the current rulemaking. For others, there               basis. Commenters provide no                          such as lithium and molybdenum, if not
                                            is little to no information available                   explanation why these data should be                  adjusted to properly account for the
                                            about the manner or frequency of such                   considered outdated. For example, why                 sample liquid to solid ratio and (2) can
                                            placements that could be used to                        the soil type present at a site would                 over or underestimate leakage of redox
                                            characterize the units. Therefore, these                have changed substantially since 2014.                sensitive contaminants, such as arsenic,
                                            types of placements are not considered                  EPA notes that to the extent that there               if not further adjusted with geochemical
                                            as part of the conceptual model for                     is natural clay soil present in the                   speciation modeling. In response to
                                            CCRMU fills in the 2024 Risk                            vicinity of a facility, that would already            these findings, the Agency has
                                            Assessment.                                             be reflected through the environmental                established general recommendations
                                               The commenters do not explain how                    data.                                                 for how to address these issues.16
                                            placement of CCR in a landfill or                                                                             Modeling of highly soluble constituents
                                            impoundment in service of construction                  c. Comments Related to Supplemental                   in both the 2014 and 2024 Risk
                                            or closure of that unit would be                        Risk Assessment Groundwater Model                     Assessment are consistent with these
                                            substantially different than the disposal                  Comment: Some commenters asserted                  recommendations. Sufficient data are
                                            scenarios previously modeled and                        that modeled leachate concentrations                  not yet available on the prevalence or
                                            found to pose risk. Finally, EPA has                    are unrealistically high. One commenter               magnitude of reducing conditions to
                                            proposed and is finalizing the definition               specifically argued that the LEAF data is             allow EPA to adequately model the
                                            of CCRMU to exclude CCR used in                         unable to accurately reflect field                    effects of these conditions on leaching
                                            roadbed and associated embankments.                     leaching concentrations, citing two EPRI              behavior at a national scale. However,
                                               There is little data that could be used              reports comparing LEAF and field                      given that the 2024 Risk Assessment
                                            to develop a conceptual model for                       leachate data both collected from the                 identified potential for extensive
                                            diffuse placements, which may occur on                  same units.13 14 They separately                      groundwater contamination with overall
                                            a periodic basis. Nor do commenters                     compared the leachate concentrations                  risks as high as 1 × 10¥4 for the less
                                            provide any data on the manner or                       modeled in the risk assessment to field               mobile pentavalent speciation of
                                            frequency of such placements. As a                      samples collected from around a                       arsenic, this uncertainty is unlikely to
                                            result, the 2024 Risk Assessment did not                number of different landfills. Based on               affect the conclusions of the risk
                                            model these types of placements. This                   this comparison, the commenter                        assessment.
                                            represents a source of uncertainty in the               asserted that the high-end                               EPA also disagrees that the field data
                                            assessment. However, EPA notes that                     concentrations modeled in the risk                    presented by commenters demonstrates
                                            even small placements of CCR can                        assessment were substantially higher                  that the modeled concentrations are
                                            contribute to broader leakage and have                  than measured in the field and so                     unrealistic. As a general matter, these
                                            the potential to leak Appendix III                      unrepresentative of actual leaching                   commenters did not make available the
                                            constituents and influence nearby                       behavior. For these reasons, this                     underlying data for the graphs presented
                                            groundwater monitoring. Therefore, it is                commenter concluded that porewater                    or the reports from which the graphs
                                            still necessary to identify where these                 data provide better representation of                 were drawn. Therefore, it is not possible
                                            types of onsite placements have                         leaching in the field and so EPA should               to fully evaluate these graphs, as EPA
                                            occurred.                                               rely on that type of data to model                    cannot determine how and where these
                                               EPA also disagrees that applying a                   leakage from CCRMU fills.                             data were collected, how many
                                            similar conceptual model for CCR                           EPA Reponse: EPA disagrees that                    individual samples are represented, and
                                            landfills and CCRMU fills is                            leachate concentrations modeled in the                how the data were compiled. Based on
                                            inappropriate. Specifically, the                        2024 Risk Assessment are
                                            conceptual model does not make any                      unrealistically high. EPA has previously                15 U.S. EPA. 2014. ‘‘Leaching Test Relationships,

                                            upfront assumptions regarding the sizes                 demonstrated that the LEAF laboratory                 Laboratory-to-Field Comparisons and
                                            of these fills. As described in Section 4                                                                     Recommendations for Leaching Evaluation using
                                                                                                    leaching tests are ‘‘effective for                    the Leaching Environmental Assessment
                                            of the 2024 Risk Assessment, EPA                                                                              Framework.’’ EPA 600/R–14/061. EPA Office of
                                            considered a range of potential sizes for                 13 EPRI. 2020. ‘‘Leaching, Geotechnical, and        Research and Development. Research Triangle Park,
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                                            these fills that were smaller than                      Hydrologic Characterization of Coal Combustion        NC. October.
                                            landfills reported in the EPA Surveys.                  Products from a Closed Coal Ash Impoundment.’’          16 U.S. EPA. 2019. ‘‘Leaching Environmental

                                               Comment: One commenter stated that                   Palo Alto, CA. June.                                  Assessment Framework (LEAF) How-To Guide:
                                                                                                      14 EPRI. 2021. ‘‘Leaching, Geotechnical, and        Understanding the LEAF Approach and How and
                                            it is inappropriate for the 2024 Risk                   Hydrologic Characterization of Coal Combustion        When to Use It.’’ SW–846 Update VII. Prepared by
                                            Assessment to rely on similar data                      Products from an Active Coal Ash Management           the EPA Office of Land and Emergency
                                            sources as the 2014 Risk Assessment to                  Unit.’’ Palo Alto, CA. February.                      Management. Washington, DC. May.



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                                            the limited description provided, it                       EPA maintains that LEAF leachate                      Comment: One commenter stated that
                                            appears that the graphs summarize data                  provides the most realistic estimate of               use of a five-mile radius to draw
                                            on the average leachate concentrations                  long-term leaching potential from CCR                 environmental data for purposes of
                                            collected from around different                         placed in fills. There is little field                groundwater modeling is not adequately
                                            landfills. Thus, the cited median values                leachate data for dry-managed CCR                     justified and inconsistent with both the
                                            would represent a median of the average                 available in the record, as it can be                 2014 Risk Assessment and Draft 2023
                                            measurements from each landfill. This                   difficult to collect representative                   RIA.
                                            type of summary does not provide a                      samples from landfills. Additionally,                    EPA Reponse: EPA has reviewed and
                                            meaningful understanding of the                         field samples would reflect the specific              updated the sampling radius for
                                            leaching potential of CCR. For example,                 waste mixtures and chemistry of these                 environmental and population data.
                                            landfills can contain mixtures of                       disposal units. Instead, LEAF provides                Based on this review, EPA established
                                            different CCR types and other wastes,                   data on the leaching behavior of                      the sampling radius for environmental
                                            which may result in variable leaching                   individual CCR under a range of                       data at two kilometers (1.2 miles). This
                                            profiles over the footprint of the unit.                relevant environmental conditions. EPA                is consistent with the methodology
                                            An average of measured leachate                         did consider using impoundment                        applied in the 2014 Risk Assessment,
                                            concentrations can mask regions of                      porewater data to supplement the data                 which the Agency previously found
                                            higher leaching potential over many                     on leaching of lithium because of the                 adequately represented the
                                            acres. This potential for variable                      lack of LEAF data for this contaminant,               environmental conditions near units for
                                            leaching is one reason why groundwater                  and because lithium is a highly soluble,              which a more precise location at the
                                            monitoring wells are required to be                     monovalent ion expected to be less                    facility property could not be
                                            spaced along the entire downgradient                    influenced by specific impoundment                    determined. EPA established the
                                            boundary of these units. In contrast,                   chemistry. However, this constituent                  sampling radii for population data to be
                                            CCRMU fills are smaller in size and                     was not modeled in the 2024 Risk                      consistent with the rationale outlined in
                                            more likely to be constructed with a                    Assessment due to other data                          the 2024 RIA.
                                            single source of ash. Additionally, there               limitations. The uncertainties associated                Comment: Multiple commenters
                                            is no indication of how long the waste                  with exclusion of lithium are discussed               criticized the Agency’s use of soil-water
                                            has been present in these landfills prior               in Section 6 of the 2024 Risk                         partitioning coefficients (i.e., Kd values)
                                            to sampling. More soluble constituents                  Assessment.                                           to model contaminant sorption in the
                                            can become depleted over time. For                                                                            subsurface. These commenters argued
                                                                                                       Comment: One commenter asserted
                                            example, Modular Three-Dimension                                                                              that use of individual Kd values was
                                                                                                    that the distribution of leachate pH
                                                                                                                                                          inappropriate and unable to reflect the
                                            Finite-Difference Ground-Water Flow                     values used to represent CCRMU fills is               variability of subsurface transport
                                            Model (MODFLOW) runs conducted for                      unrepresentative. In particular, the                  conditions. They also stated that the Kd
                                            the 2024 Risk Assessment showed that                    commenter took issue with the                         values used in the risk assessment for
                                            molybdenum can deplete from the ash                     prevalence at which acidic conditions                 arsenic were biased low and likely to
                                            anywhere from several years to a few                    were modeled within CCR fills. This                   underestimate retention on soil. These
                                            decades after leaching first began. Thus,               commenter pointed to field data                       commenters cited field measurements
                                            these graphs could understate the full                  collected from CCR landfills to assert                collected at various locations to assert
                                            leaching potential of CCR.                              that leachate from fills would rarely be              that actual values for arsenic are likely
                                               Commenters also mischaracterize the                  acidic.                                               to be higher. One commenter cited an
                                            results of the probabilistic analysis. The                 EPA Response: EPA disagrees that the               alternative set of Kd values they had
                                            90th percentile of all model inputs for                 modeled leachate pH is                                calculated to contend that actual values
                                            leachate concentration is not the same                  unrepresentative of conditions at                     for arsenic would be orders-of-
                                            as the 90th percentile of modeled risks.                smaller CCRMU fills. Modeled leachate                 magnitude different than used in the
                                            There are a number of other model                       pH is based on the natural pH (or ‘‘own               risk assessment.
                                            parameters that will influence                          pH’’) of the ash sample measured with                    EPA Response: These commenters are
                                            contaminant release and subsurface                      LEAF. Thus, these data represent the                  incorrect; EPA did not rely only on
                                            transport. As a result, the model runs                  properties of real ash samples. Landfills             individual Kd values for the risk
                                            with the highest initial leachate                       can contain a mixture of different CCR                assessment. As part of the 2014 Risk
                                            concentrations are not always the same                  types and other related waste streams                 Assessment, EPA previously developed
                                            as those with the highest downgradient                  and so it is reasonable that the average              sorption isotherms for each modeled
                                            concentrations. EPA reviewed a subset                   pH of larger landfills may differ from                constituent, which represent the
                                            of model runs around the 90th                           that of individual CCR. At the same                   distribution of individual Kd values
                                            percentile risk result reported in the                  time, regions of individual landfills can             calculated and reflect the range of
                                            2024 Risk Assessment, representing 1%                   be more acidic than average, which can                anticipated subsurface conditions and
                                            of all model runs at 1,000 feet from the                be masked by consideration of only                    specific CCR waste characteristics. Each
                                            waste boundary. This review found the                   average values. The potential for such                individual model run in the EPA
                                            median leachate concentration                           variations is part of the reason that                 Composite Model for Leachate
                                            representative of these runs was closer                 placement of monitoring wells is                      Migration with Transformation Products
                                            to 0.31 mg/L for arsenic and 35 mg/L for                required across the full downgradient                 (EPACMTP) samples from that
                                            molybdenum. There are multiple                          boundary of these landfills. Smaller                  distribution based on the key factors for
                                            samples in the record of porewater or                   CCRMU fills are more likely to be                     that run (e.g., leachate concentration,
                                            leaching tests with concentrations of the               constructed with a single ash type and                pH, ionic strength). No individual
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                                            same order-of magnitude or higher than                  so it is most appropriate to consider the             model run will precisely represent
                                            these concentrations. Therefore, EPA                    pH of individual ash samples, rather                  conditions at a particular site. Instead,
                                            concludes that the methods used to                      than broader landfill conditions. The                 the model runs collectively capture the
                                            generate model inputs do not result in                  uncertainties associated with the                     variability of conditions that can occur
                                            unrealistically high leachate                           modeling of pH are discussed in Section               across sites. Thus, EPA relies on the
                                            concentrations.                                         6 of the 2024 Risk Assessment.                        model runs in aggregate to draw


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                                            conclusions about the potential for risk                that would indicate how common it is                  additional constituents raised by
                                            nationwide.                                             for this type of ash, which can be                    commenters lack health benchmarks
                                               EPA also disagrees that the specific                 marketed for use in concrete, to be                   within the Office of Land and
                                            Kd values used in MODFLOW are                           placed in CCRMU fills. EPA is also not                Emergency Management (OLEM)
                                            unrepresentative. The limited number of                 aware of any information that could be                hierarchy and so could not be
                                            MODFLOW runs are intended to further                    used to represent the long-term                       quantitatively evaluated. See, 85 FR
                                            characterize the subset of high-end                     conductivity of this ash when left in the             72526. Uncertainties associated with the
                                            scenarios modeled in EPACMTP. Thus,                     field and exposed to the elements.                    selection constituents for modeling is
                                            it is entirely reasonable that these model                 Comment: One commenter contended                   further discussed in Section 6 of the
                                            runs are those more likely to reflect                   that EPA had not adequately                           2024 Risk Assessment.
                                            scenarios where pentavalent arsenic is                  demonstrated that consideration of more                  Comment: Several commenters argued
                                            more mobile in the environment.                         recent weather data drawn from the                    that a modeling horizon of up to 10,000
                                               The field data shared by commenters                  latest version of the Hydrologic                      years was unrealistic. These
                                            for specific CERCLA sites or agricultural               Evaluation of Landfill Performance                    commenters stated that such a long time
                                            fields are not representative of                        model would result in consistently                    frame is not consistent with identifying
                                            conditions at CCR disposal units. As                    higher infiltration rates than previously             a reasonable probability of adverse
                                            previously noted, the calculated                        modeled in 2014 for CCR landfills.                    effects because there is no reliable way
                                            sorption isotherms reflect the properties                  EPA Response: The 2023 Draft Risk                  to predict whether any receptors will
                                            of CCR leachate, which can be vastly                    Assessment proposed that the higher                   exist that far in the future.
                                            different from precipitation infiltrating               rates of infiltration modeled for certain                EPA Response: EPA ran the
                                            through soil. In particular, both the high              soil types with the new HELP data                     groundwater model until either the
                                            ionic strength and variable pH of this                  indicates the potential for higher                    observed groundwater concentration at
                                            leachate are expected to result in                      leaching and risk to groundwater than                 the receptor point reached a peak and
                                            different sorption behavior. EPA is also                previously modeled in 2014. However,                  then fell below a model-specified
                                            unable to fully review the Kd values                    because EPA found that the model                      minimum concentration (1 × 10¥16 mg/
                                            calculated by commenters or compare                     results from the 2014 Risk Assessment                 L), or the model had been run for a time
                                            them with Agency values because the                     are sufficient to support the current                 period of 10,000 years. This is the same
                                            commenters provided insufficient                        rulemaking, the Agency did not conduct                modeling horizon applied in the 2014
                                            information regarding whether and how                   the additional modeling that would be                 Risk Assessment. The text in the 2024
                                            specific key environmental factors were                 necessary to refine this draft analysis.              Risk Assessment has been updated to
                                            considered. Nevertheless, EPA notes                     As a result, EPA does not rely on this                make it clear that the selection of a
                                            that the range of values presented by                   particular analysis to support the final              maximum 10,000-year time horizon
                                            commenters falls within the full                        rule and so it is not included in the 2024            does not mean that it typically took that
                                            distribution of Kd values developed for                 Risk Assessment.                                      long for contamination be identified or
                                            arsenic in 2014. The full distribution of                  Comment: Several commenters stated                 that all model simulations continue for
                                            values is summarized in Appendix H of                   that consideration of a limited subset of             the full 10,000 years. EPA also notes
                                            the 2014 Risk Assessment, and is the                    contaminants for groundwater modeling                 that the time to first exceedance of
                                            full range of values EPA sampled from                   would result in an underestimation of                 selected risk criteria is typically
                                            to model groundwater transport in the                   risk. These commenters further assert                 considerably less than the time to the
                                            2024 Risk Assessment.                                   that EPA further underestimated risk by               greatest exceedance.
                                               Comment: One commenter stated that                   not accounting for the effects of                        EPA acknowledges that future
                                            any CCR material placed beneath the                     cumulative exposure to multiple                       groundwater use patterns may shift over
                                            soil would become naturally compacted.                  contaminants.                                         time as the number and location of
                                            Another commenter asserted that the                        EPA Response: EPA disagrees that the               receptors changes, and that it is
                                            pozzolanic nature of some ash would                     selection of constituents for                         unknown whether or how future shifts
                                            result in far lower hydraulic                           groundwater modeling resulted in lower                in receptor locations and other surface
                                            conductivity than EPA modeled.                          risks than would have otherwise been                  conditions might affect risk. However,
                                               EPA Response: In the absence of                      identified. The constituents selected for             EPA notes that all the contaminants
                                            periodic inspections and a well-                        groundwater modeling were those found                 associated with CCR are inorganic and
                                            maintained cap, there is no guarantee                   to be risk drivers for unlined surface                so will remain present in the
                                            that any ash placed in the ground will                  impoundments in the 2014 Risk                         environment over the full modeling
                                            remain undisturbed by human or animal                   Assessment, as these are considered the               horizon. As such, a longer modeling
                                            activity, natural settling or freeze-thaw               most likely to also result in the greatest            horizon can provide useful information
                                            cycles, flooding and other extreme                      risks for unlined landfills and                       about the potential duration of
                                            weather events, or other unforeseen                     comparable management units. EPA                      groundwater contamination in the
                                            factors. Given that such disturbances                   notes that some of the additional                     absence of regulation. EPA found that
                                            can result in increased permeability, it                constituents raised by commenters had                 contaminant plumes modeled in
                                            was not possible to develop a fixed                     been previously identified as risk                    MODFLOW did not fully dissipate for
                                            probabilistic distribution of                           drivers only for specific CCR types, such             around 2,300 years for arsenic V and
                                            conductivities. Instead, EPA modeled                    as flue gas desulfurization (FGD) wastes,             100 years for molybdenum.
                                            conductivity based on the dominant soil                 which are considered far less likely to                  Comment: Multiple commenters
                                            megatexture as described in Appendix B                  be used in CCRMU fills. The                           argued that EPA was inconsistent with
                                            of the 2014 Risk Assessment. As such,                   commenters presented no new                           the 2014 Risk Assessment and
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                                            the model assumes the ash has been                      information that could alter the                      overestimated risks for CCRMU fills by
                                            subjected to a similar degree of                        previous model results and so there is                not evaluating the interception of
                                            compaction as the surrounding soil.                     no expectation that inclusion of these                groundwater by surface water.
                                            EPA acknowledges that some fly ash is                   additional constituents would identify                   EPA Response: EPA did not explicitly
                                            pozzolanic in nature. Yet, the                          risks higher than those already modeled               evaluate interception by surface water
                                            commenter provided no information                       for the relevant CCR types. Some other                on groundwater fate and transport in the


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                                            2024 Risk Assessment. As                                impoundments were modeled as having                   it is not particularly surprising that the
                                            acknowledged by commenters                              no engineered liner system. Of the                    final requirements are driven by the
                                            elsewhere, facilities have generally not                previously excluded units summarized                  higher end risks associated with unlined
                                            maintained reliable records about the                   in the 2024 Risk Assessment,                          units—especially as the overwhelming
                                            location or construction of all CCRMU                   approximately 71% of landfills and                    majority of legacy impoundments and
                                            fills. As a result, it is not possible for              57% of surface impoundments were                      CCRMU are expected to lack the
                                            EPA to develop a representative,                        modeled as having no engineered liner                 composite liner that would largely
                                            probabilistic distribution of the distance              system. EPA has updated the discussion                mitigate the risks of CCR units. But that
                                            from these fills to downgradient water                  of this issue in the 2024 Risk                        does not mean that the national
                                            bodies or offsite receptors. However,                   Assessment to better distinguish the                  regulations are not based on the risks for
                                            given the diversity of reasons for such                 specific liner status modeled for these               all units.
                                            placements listed by commenters, there                  different units. Differences in the                      Comment: One commenter argued
                                            are few limitations as to where these                   national risks reported in 2014 and 2024              that modeled groundwater
                                            fills might be located onsite. As a result,             are largely attributed to the relative                concentrations and associated risk
                                            there is greater potential for these fills              prevalence of engineered liners modeled               downgradient of smaller CCRMU fills
                                            to be located further away from water                   for each. Modeled risks in both                       are unrealistic because they are higher
                                            bodies than disposal units, allowing for                assessments are nearly the same for the               than previously modeled for landfills
                                            further contaminant spread prior to any                 subset of units with no engineered liner.             and surface impoundments. Other
                                            interception. Therefore, the 2024 Risk                     Far from being an isolated practice, a             commenters contended that modeled
                                            Assessment evaluated the potential                      substantial fraction of the currently                 groundwater concentrations were
                                            magnitude and extent of onsite                          operating landfills across the country                unrealistic, citing comparisons to
                                            groundwater contamination that could                    have no engineered liner. Although the                monitoring data for all regulated units
                                            occur in the absence of interception. It                2014 Risk Assessment did model a                      in a report by the Environmental
                                            is considered unlikely that further                     majority of landfills as having some                  Integrity Project (EIP) 17 or for some
                                            quantitative evaluation of interception                 form of engineered liner, data that has               smaller subset of units. These
                                            would affect the conclusions of the 2024                become available since then indicates a               commenters calculated summary
                                            Risk Assessment. The reductions in                      greater proportion of operating units                 statistics from concentrations reported
                                            modeled risks attributed interception in                lack an engineered liner than EPA                     for site groundwater monitoring wells to
                                            the 2014 Risk Assessment were                           previously understood. Furthermore,                   assert that modeled concentrations were
                                            predominantly for median risks.                         the 2014 Risk Assessment modeled the                  an order of magnitude higher or more
                                            However, the 2014 Risk Assessment still                 performance of both clay and composite                than the concentrations that have
                                            identified high-end risks to offsite                    liners based on the assumption of good                occurred in the field.
                                            receptors, and it was these risks that                  construction practices. However, it has                  EPA Response: The 2014 Risk
                                            formed the basis for the 2015 CCR Rule.                 become clear since then that some liner               Assessment modeled risks from landfills
                                            Thus, it is similarly unlikely that                     systems do not perform as modeled. For                and surface impoundments to receptors
                                            quantitative evaluation of surface water                example, facility reporting shows that                located up to a mile away from these
                                            interception would affect the high-end                  around 10% of composite and alternate-                units. The 2024 Risk Assessment
                                            risks reported in the 2024 Risk                         lined units have already entered into                 modeled the magnitude and extent of
                                            Assessment, especially because the                      corrective action. Therefore, it is                   contamination extending from smaller
                                            current assessment considers onsite                     considered likely that national risks for             CCRMU fills, including the likelihood of
                                            groundwater quality prior to discharge                  both landfills and surface                            exceedance of GWPS at the waste
                                            to a water body. Furthermore, as                        impoundments (including the inactive                  boundary of the unit. It is entirely
                                            discussed in the 2024 Risk Assessment                   landfills and legacy impoundments                     reasonable that concentrations and risk
                                            and in response to comments elsewhere,                  subject to this final rule) are more                  closer to the waste boundary are higher
                                            the fact that a contaminant plume that                  similar to those unlined units than                   than EPA modeled in 2015 up to a mile
                                            has migrated off-site is intercepted by                 previously modeled.                                   away from a unit.
                                            surface water does not mean that there                     Nevertheless, the 2014 and 2024 Risk                  EPA disagrees that the modeled
                                            is no potential for risk or no need for                 Assessments, which provided much of                   groundwater concentrations are
                                            further action to address the presence of               the basis for this final rule, modeled the            contradicted by available monitoring
                                            groundwater contamination onsite.                       risks associated with both lined and                  data. First and foremost, EPA modeled
                                               Comment: Some commenters                             unlined units. Under RCRA sections                    the long-term potential for groundwater
                                            requested clarification on the                          1008(a)(3) and 4004(a), EPA establishes               contamination that may occur in the
                                            prevalence of different types of liners                 national criteria; because the criteria are           absence of regulatory action. Thus,
                                            modeled for the landfills and surface                   national in scope EPA must evaluate the               monitoring data from units of variable
                                            impoundments previously excluded                        full range of conditions. In addition,                age and operational status do not
                                            from the 2014 Risk Assessment. Citing                   EPA must establish requirements that                  represent a one-to-one comparison.
                                            to data relied upon in the 2014 Risk                    will achieve the statutory standard at all            Second, field monitoring data can
                                            Assessment, one commenter asserted                      sties subject to the criteria—including               diverge from model results as a result of
                                            that a majority of modeled landfills had                those that pose the greatest risk. Under              improper well installation. As just one
                                            some form of liner and that national                    these provisions, the criteria may                    example, EPA is aware of multiple
                                            regulations should be based on the risks                authorize a CCR unit to continue                      instances where monitoring wells are
                                            for all units, rather than those that are               operating ‘‘only if there is no reasonable            located far from the waste boundary, in
                                            unlined.                                                probability of adverse effects on health
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                                                                                                                                                          some cases, hundreds of feet away. See,
                                               EPA Response: The handling of liner                  and the environment from the disposal                 for example, 88 FR 55239. Third, EPA
                                            status for these units was described in                 [or other solid waste management] of                  used EPACMTP to model
                                            Section 5 of the 2014 Risk Assessment.                  solid waste at such facility.’’ 42 U.S.C.
                                            Of the units evaluated in the 2014 Risk                 6903(a)(3), 6944(a). Given the                         17 EIP. 2022. ‘‘Poisonous Coverup: The
                                            Assessment, approximately 42% of                        requirement that the standard be met at               Widespread Failure of the Power Industry to Clean
                                            landfills and 65% of surface                            each facility covered by the regulation,              Up Coal Ash Dumps.’’



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                                            concentrations along the centerline of                  that the underlying model runs for the                been provided to allow for evaluation of
                                            the plume and to provide a best estimate                2014 Risk Assessment were not made                    the design of MODFLOW model runs.
                                            of contaminant transport potential to                   available alongside the graph and so its              Finally, the commenter identified a
                                            inform further modeling with                            validity could not be confirmed.                      potential discrepancy in the reported
                                            MODFLOW. Even if all wells in a                            EPA Response: One purpose of the                   model inputs for EPACMTP and
                                            network were properly installed and                     referenced graph was to demonstrate                   MODFLOW.
                                            spaced, there is no guarantee that any                  that risks remain above levels of                        EPA Response: MODFLOW–USG was
                                            individual well will intersect with the                 concern over a broad range of unit sizes              selected for its ability to: (1) Simulate
                                            exact point of highest concentration;                   modeled in the 2014 Risk Assessment.                  flow and transport in both the
                                            some wells may not intersect with the                   However, upon further review, EPA has                 unsaturated and saturated zones
                                            plume at all. Finally, the 90th percentile              determined that the graph incorrectly                 without the need for additional
                                            concentration modeled is not intended                   summarized model results for receptors                modeling packages and (2) Simulate
                                            to correspond precisely to a 90th                       of all age cohorts into one figure. This              groundwater flow and transport
                                            percentile of well concentrations.                      has the potential to bias the plotted risks           sequentially without the need for
                                            Instead, it reflects an RME scenario that               low. However, filtering the model runs                reading cell by cell flow and transport.
                                            is conservative, while remaining within                 for only (1) unlined landfills, (2) where             Steady state simulations were not used
                                            the range of possible high-end                          drinking wells are located closer than                because they do not provide a time
                                            exposures. The EIP dataset cited by                     surface water bodies, and (3) where an                series representation of plume
                                            commenters do show multiple instances                   adult was exposed results in a relatively             evolution. EPA has reviewed the model
                                            of well concentrations at individual                    small number of model runs. EPA is                    documentation to ensure that this and
                                            landfills of the same order of magnitude                concerned that this number of runs is                 other relevant information raised by
                                            as modeled in the 2024 Risk Assessment                  not sufficient to reflect national                    commenters was made clear in the 2024
                                            or even higher. Further, in the case of                 variability or support broader                        Risk Assessment. However, EPA notes
                                            arsenic, modeled GWPS exceedances                       conclusions about risk. As such, EPA                  that this and much of the other specific
                                            between 26 and 19 for arsenic III and V                 does not rely on this line of evidence to             information raised by commenters was
                                            are of a similar magnitude as the                       support the final rule and so it is not               previously described in the 2023 Draft
                                            exceedance of 16 estimated by one                       included in the 2024 Risk Assessment.                 Risk Assessment. EPA did not
                                            commenter based on the EIP report.                         EPA cautions the data presented in                 incorporate the full output files for all
                                            Therefore, EPA maintains that the                       the graph was for landfills and so use of             MODFLOW model runs because the file
                                            magnitude of modeled groundwater                        this graph to draw conclusions about                  size would become prohibitively large
                                            concentrations is realistic.                            the risks from surface impoundments is                to manage. The level of documentation
                                               Comment: Some commenters claimed                     not appropriate. EPA further cautions                 of model inputs and outputs is
                                            that EPA had not justified modeling                     that it is not appropriate to use the                 consistent with that provided for
                                            groundwater concentrations at fixed                     referenced graph to identify a specific               EPACMTP. The identified discrepancy
                                            distances along the centerline of the                   unit size below which landfill risks are              between EPACMTP and MODFLOW
                                            plume or within the upper five feet of                  not possible. The graph summarized the                inputs were the result of a typo, which
                                            the aquifer and had not demonstrated                    results of the 2014 Risk Assessment,                  has been corrected.
                                            how this approach compares with the                     which modeled risks to offsite receptors                 Comment: One commenter stated that
                                            2014 Risk Assessment, which modeled                     up to a mile away from the waste                      EPA had not provided sufficient
                                            concentrations within the top 30 feet of                boundary. The risks identified based on               evidence to support its conclusion that
                                            the aquifer.                                            these receptors provided a robust basis               the location of legacy facilities that were
                                               EPA Response: The goal of modeling                   for the 2015 CCR Rule. Yet, this does                 not modeled in 2014 could result in
                                            with EPACMTP was to identify the                        not mean these are the only relevant                  somewhat higher risks for this subset of
                                            potential magnitude of GWPS                             risks. EPA’s longstanding and consistent              units compared to those previously
                                            exceedances at the waste boundary and                   policy (across numerous regulatory                    modeled units.
                                            potential for contaminant spread to                     programs) has been that groundwater                      EPA Response: EPA previously found
                                            support further modeling with                           contamination is a significant concern                that the locations of legacy facilities
                                            MODFLOW. For both goals, a sampling                     that merits regulatory action in its own              were clustered in the eastern half of the
                                            along the centerline of the plume and to                right, whether or not the aquifer is                  country. As a result, the rates of
                                            a depth of five feet was determined to                  currently used as a source of drinking                precipitation at these facilities will tend
                                            be most relevant portion of the aquifer                 water. The 2024 Risk Assessment                       to be higher than modeled for the nation
                                            for consideration for the reasons                       identifies the potential for CCRMU fills              as a whole. Higher precipitation can
                                            documented in the 2024 Risk                             to contaminate groundwater above                      result in greater vertical infiltration and
                                            Assessment. Because different scenarios                 levels of concern. Where CCR landfills                subsequent leakage down to
                                            were modeled in the two risk                            and surface impoundments are located                  groundwater. The Agency has not
                                            assessments, a comparison with the                      at the same sites even more extensive                 conducted further sensitivity analyses to
                                            results of 2014 Risk Assessment is not                  contamination can occur as a result of                support this contention, as this
                                            relevant here.                                          their larger size. As such, these disposal            argument is not central to the findings
                                               Comment: EPA received several                        units warrant regulation to protect                   of either the risk assessment or the
                                            comments regarding a graph from the                     groundwater resources, regardless of                  rulemaking. Instead, discussion in the
                                            2023 Draft Risk Assessment, which                       their size.                                           2024 Risk Assessment has been updated
                                            summarized modeled risks from the                          Comment: One commenter questioned                  to clarify that the primary finding is that
                                            2014 Risk Assessment for unlined                        why MODFLOW—Unstructured Grid                         there is no indication based on
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                                            landfills as a function of unit size.                   (USG) was used to model groundwater                   geography that these additional units
                                            Commenters stated that it demonstrated                  transport, stating that MODFLOW 6 is                  would be exposed to substantially
                                            that risks consistently decline below a                 more commonly used. This commenter                    different environmental conditions than
                                            certain acreage and that smaller units do               also inquired why the model was not                   EPA modeled in 2014.
                                            not warrant regulation because they                     run in steady-state mode. They further                   Comment: Multiple industry
                                            pose less risk. One commenter stated                    argued that insufficient information had              commenters argued that modeled


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                                            arsenic risks do not warrant regulation                 release to the point of exposure.                     Uncertainties associated with umulative
                                            because the associated concentrations                   Therefore, no additional steps required               risk is further discussed in Section 6 of
                                            often fall below the current maximum                    to confirm that an identified exceedance              the 2024 Risk Assessment.
                                            contaminant limit (MCL). One                            of GWPS resulted from leakage from the                   Comment: EPA received comments
                                            commenter noted that 70 percent of                      modeled unit.                                         that argued the U.S. Geological Survey
                                            runs identified peak arsenic                               Comment: Several commenters stated
                                                                                                                                                          coal quality (COALQUAL) database
                                            concentrations below the MCL at the                     that the toxicity value used for arsenic
                                            unit boundary. In contrast,                             underestimated risks from groundwater,                does not adequately account for several
                                            environmental advocacy groups stated                    citing draft values they assert would                 factors that may affect bulk content of
                                            that cancer risks within the OLEM risk                  increase modeled arsenic risks by an                  the resulting ash, such as: CCR type,
                                            range can occur at even lower levels.                   order of magnitude or more.                           regional variability, coal rank, mining
                                            Another asserted it was inappropriate                      EPA Response: The Agency’s current                 practices, coal preparation prior to
                                            for EPA to identify risk based on                       risk estimates are based on the same                  combustion, and the presence of
                                            modeled concentrations above GWPS                       cancer slope factor of 1.5 mg/kg/d¥1 for              unburnt carbon remaining after
                                            because corrective action requires ‘‘a                  arsenic in EPA’s Integrated Risk                      combustion. Another commenter stated
                                            statistically significant level exceeding               Information System (IRIS). EPA is                     that because the risk assessment
                                            the groundwater protection standard.’’                  currently in the process of reviewing                 addresses historical disposal of CCR,
                                               EPA Response: First, EPA notes that                  this slope factor and has released a draft            sampling of the COALQUAL database
                                            arsenic is only one of the contaminants                 toxicological review, which, if finalized             should be updated to reflect production
                                            modeled. Molybdenum was found to be                     without revision, would increase the                  over time, rather than current
                                            above the associated GWPS on a more                     individual risk estimates for arsenic by              production. Finally, one commenter
                                            frequent basis. Indeed, EPA identified                  a factor of approximately 35. See, 88 FR              argued that differences identified
                                            exceedances for this contaminant at                     71360. However, the Agency has not yet                between activity calculated from
                                            both the 90th and 50th percentile                       finalized this updated IRIS                           COALQUAL data and measured
                                            results. EPA disagrees that risks                       reassessment, and EPA cannot base a                   elsewhere in the literature demonstrates
                                            identified below MCLs do not pose a                     final decision on a draft IRIS value that
                                            concern. MCLs are not purely risk-based                                                                       that handling of COALQUAL data is
                                                                                                    is subject to revision. Nor did EPA                   likely to overestimate concentrations in
                                            and can incorporate other                               receive any other information during the
                                            considerations, such as the technical                                                                         the ash.
                                                                                                    development of this final rule that
                                            feasibility of reliably achieving even                  would help to resolve this uncertainty.                  EPA Response: The Agency
                                            lower levels. As environmental                          The current IRIS values thus represent                acknowledges that the bulk contaminant
                                            commenters have pointed out, the                        the best data available to the Agency                 content of specific CCR samples can be
                                            arsenic MCL in particular represents a                  until the IRIS reassessment is complete.              influenced by a range of factors, such as
                                            concentration that can fall outside the                                                                       the manner in which a coal sample is
                                            OLEM risk range. As such, these                         d. Comments Related to Supplemental                   prepared and combusted. As detailed in
                                            standards should be understood as                       Risk Assessment Soil Model
                                                                                                                                                          Section 6 of the 2024 Risk Assessment,
                                            values that corrective action must                         Comment: One commenter contended                   EPA considered the information
                                            achieve and not levels that never                       that radionuclides and non-                           provided by commenters on the
                                            warrant concern. Indeed, EPA                            radionuclides have different health                   potential for mining practices, residual
                                            established GWPS at the unit boundary                   endpoints and so it is not appropriate to             unburnt carbon, and coal washing to
                                            with the intent to limit downgradient                   treat the resulting risks as additive.
                                            transport of contamination above this                                                                         affect estimated ash concentrations and
                                                                                                       EPA Response: EPA disagrees that it                concluded these factors are likely to
                                            level and prevent the same magnitude of                 is inappropriate to consider the
                                            risk identified in the risk assessment.                                                                       have a minimal or inconsistent effect on
                                                                                                    cumulative risk from chemical and
                                               EPA also disagrees that a statistically                                                                    overall distribution of concentrations.
                                                                                                    radiological contaminants. EPA policy
                                            significant increase above GWPS is an                                                                         EPA did determine that concentrations
                                                                                                    is to treat the risk resulting from
                                            appropriate standard for risk modeling.                                                                       of some contaminants are sensitive to
                                                                                                    exposure to multiple carcinogens as
                                            It is not clear, nor do commenters                      additive.18 Agency policy is also to                  differences in region and coal rank and
                                            articulate, how such a statistical                      evaluate the risks from exposure to                   so reviewed the Energy Information
                                            analysis would be conducted as part of                  radionuclides in the same manner as                   Administration (EIA) coal production
                                            the model. Thus, EPA believes this                      chemical contaminants.19 Therefore, it                reports referenced by commenters when
                                            comment represents a general                            is appropriate to evaluate the                        updating the weighting of available
                                            misunderstanding of both groundwater                    cumulative cancer risk from chemical                  samples.
                                            monitoring programs and probabilistic                   and radiation contaminants. However,                     For purposes of modeling
                                            analysis. Statistical analysis is used in               EPA notes that considering chemical
                                            groundwater monitoring programs                                                                               groundwater exposure, EPA did not use
                                                                                                    and radiological risks separately would               the COALQUAL database to estimate
                                            because factors, such as natural                        not alter the overall conclusions of the
                                            fluctuations in groundwater and                                                                               the leachable content of CCR in the 2024
                                                                                                    analysis, as each have demonstrated                   Risk Assessment. Previous reviews of
                                            uncertainty from sampling or laboratory
                                                                                                    potential to individually result in risk              EPACMTP summarized in the 2014 Risk
                                            analysis procedures, can introduce
                                                                                                    exceeding EPA’s levels of concern.                    Assessment did not identify leachable
                                            variability into the broader dataset. In
                                            this context, statistical analysis allows                 18 U.S. EPA. 1989. ‘‘Risk Assessment Guidance for
                                                                                                                                                          content as among the sensitive model
                                            evaluation of the broader data and                      Superfund Volume I Human Health Evaluation            parameters. Even at lower bulk
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                                            identification of an exceedance of                      Manual (Part A).’’ EPA/540/1–89/002. Prepared by      concentrations, there is often sufficient
                                            GWPS with a specified level of                          the Office of Emergency and Remedial Response,        soluble mass present to support
                                            certainty. However, numerical models                    Washington, DC. December.
                                                                                                      19 U.S. EPA. 2014. ‘‘Radiation Risk Assessment at
                                                                                                                                                          sustained leaching. Instead, EPA
                                            are not subject to the same constraints.                CERCLA Sites: Q&A.’’ OSWER 9285.6–20. Prepared        represented leachable content using
                                            A model tracks the fate and transport of                by the Office of Land and Emergency Response.         available LEAF data in a manner
                                            all contaminant mass from the point of                  Washington, DC. June.



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                                            consistent with the 2014 Risk                           dataset toward individual facilities that             CCR is not distinguishable from
                                            Assessment and Agency guidance.20                       reported a greater number of samples.                 background soil and so the Agency did
                                               For purposes of modeling soil                        This had resulted in more samples being               not develop this RME scenario or draw
                                            exposure, EPA retained use of the                       averaged together than was intended.                  final conclusions about risk from radon
                                            COALQUAL database in the 2024 Risk                      The database presented as part of the                 exposure. For this same reason, EPA did
                                            Assessment to calculate the bulk                        2024 Risk Assessment has been updated                 not retain the quantitative evaluation of
                                            content of thorium and uranium of CCR.                  along with a summary of these updates.                radon in the 2024 Risk Assessment.
                                            In this instance, use of COALQUAL                       Following these corrections, the                         Some CCRMU fills may currently be
                                            provides information about the relative                 updated summary statistics for thorium                uncovered, but EPA was not able to
                                            levels of each contaminant, which                       align more closely with those calculated              confirm the status of the specific unit
                                            allowed for a more refined estimate of                  with COALQUAL. Therefore, there is                    identified by the commenter based on
                                            cumulative exposure that provides a                     general agreement between these two                   the information provided. Nevertheless,
                                            more direct comparison with relevant                    datasets. It is inevitable there will be              EPA maintains it is unlikely that future
                                            benchmarks. As discussed in Section 6                   some differences between datasets                     residential construction would occur in
                                            of the 2024 Risk Assessment, EPA also                   developed through different                           the absence of some initial soil cover. It
                                            considered available EIA data when                      methodologies. In particular, any                     is generally anticipated residential
                                            updating the calculation of bulk content                individual study may not reflect the full             construction sites will cover any
                                            for these two contaminants and found                    variability of coal produced over time.               exposed land with topsoil or turf to
                                            that concentrations of both are less                    However, the magnitude of differences                 support uniform lawn growth. However,
                                            sensitive than other contaminants to                    between activities drawn from                         this does not guarantee this soil cover
                                            regional geography. Therefore, further                  COALQUAL and the broader literature                   will be adequately maintained by
                                            efforts to refine these calculations are                are small on an absolute basis and                    residents into the future. As such, EPA
                                            considered unlikely to result in changes                consequently would not affect the                     agrees it is appropriate to evaluate a
                                            that would affect the overall                           overall conclusions of the risk                       scenario of CCR without any soil cover
                                            conclusions of the evaluation.                          assessment. Therefore, EPA concludes                  to provide a bounding estimate of
                                               The bulk contaminant content                         that COALQUAL can provide a                           potential risk and a more direct link
                                            calculated from COALQUAL represents                     reasonable estimate of both median and                between the primary and sensitivity
                                            a mixture of fly ash and either bottom                  high-end ash activity.                                analyses. This updated scenario is
                                            ash or boiler slag, collectively referred                  Comment: One commenter critiqued                   discussed in Section 6 of the 2024 Risk
                                            to in the 2024 Risk Assessment as the                   multiple individual model inputs used                 Assessment.
                                            ‘‘whole ash.’’ Because fly ash is                       in RESRAD as likely to overestimate                      Comment: Some commenters raised
                                            generated in the greatest volumes during                potential for radon exposure. They also               concerns about the sensitivity analysis
                                            coal combustion, the calculated bulk                    stated that the risk assessment should                conducted with the PRG calculator. One
                                            content primarily reflects this type of                 consider an additional scenario with                  commenter asserted that the PRG
                                            CCR. However, other available data                      RESRAD of CCR disposed at the ground                  calculator is intended for use with
                                            sources indicate that the activity of fly               surface to provide a consistent frame of              contaminated soils and is inappropriate
                                            ash and bottom ash are not substantially                reference to compare risk results                     for comparison against undiluted CCR.
                                            different. EPA has seen no indication                   obtained from RESRAD and the                          This commenter further argued that the
                                            that the activity of boiler slag would                  preliminary remediation goal (PRG)                    sensitivity analysis conducted with the
                                            differ markedly from that of bottom ash.                calculator. Other commenters separately               PRG calculator is overly generic and did
                                            The whole ash does not include any                      commented that the assumed presence                   not incorporate scenario-specific inputs,
                                            CCR generated by scrubber systems and                   of some soil cover is inappropriate,                  such as the potential for greater soil
                                            similar pollution control technologies.                 referencing one CCRMU purported to                    cover, shorter exposure duration, and
                                            However, these CCR types are not                        have been placed with the intent to                   ability of radon to emanate from CCR.
                                            considered relevant to the evaluation of                level out the ground surface and                      Finally, this commenter stated that the
                                            CCRMU fills. EPA further discusses the                  without any additional soil cover.                    degree of mixing of soil with CCR would
                                            uncertainties associated with these                        EPA Response: EPA has not                          not result in activities higher than either
                                            different types of CCR in Section 6 of                  established default parameters for                    background or applicable or relevant
                                            the 2024 Risk Assessment.                               modeling of radon fate and transport.                 and appropriate requirements (ARARs),
                                               Based on the comments received, EPA                  Nor is there currently enough                         concluding that the evaluation of
                                            reviewed the available data on                          information available on a national scale             radiation risk should consider
                                            radioactivity drawn from the literature.                to develop distributions that could be                contributions from background soils
                                            This review led to the removal of                       sampled probabilistically. Instead, EPA               when presenting risk results. Another
                                            several samples that were determined to                 previously conducted a deterministic                  commenter stated that the ARAR was
                                            be duplicative and removed all the data                 analysis for radon exposure by                        only exceeded around the 90th
                                            for one study because it was determined                 specifying high, moderate, and/or low                 percentile concentrations and that
                                            to not be representative of the broader                 values for model inputs to capture the                regulation based on 90th percentile
                                            ash generated at the facility. Altogether,              range of potential exposure. EPA first                concentrations is not appropriate.
                                            the data removed represent a small                      modeled risk with all inputs set to                      EPA Response: EPA disagrees that the
                                            fraction of the overall dataset. This                   moderate values to identify a baseline                PRG calculator is not applicable to the
                                            review also identified some inaccuracies                risk more representative of the central               modeled scenario of CCR intermixed
                                            in how samples were described and                       tendency. From this baseline, EPA                     with soil. The commenters provide no
                                            averaged to avoid biasing the overall                   adjusted each individual input to lower               rationale for this assertion beyond the
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                                                                                                    or higher values to better understand                 fact that the PRG calculator nominally
                                              20 U.S. EPA. 2019. ‘‘Leaching Environmental           which inputs exert the greatest                       identifies soil as an environmental
                                            Assessment Framework (LEAF) How-To Guide:               influence on modeled risks and support                media of interest. This is reasonable as
                                            Understanding the LEAF Approach and How and
                                            When to Use It.’’ SW–846 Update VII. Prepared by
                                                                                                    development of an RME scenario.                       it would quickly become overwhelming
                                            the EPA Office of Land and Emergency                    However, EPA ultimately concluded                     to identify a comprehensive list of
                                            Management. Washington, DC. May.                        that the rate of radon emanation from                 sludges, sediments, and other soil-like


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                                            materials that might be encountered at                  have no impact on the overall                         direct contact to trace elements in coal
                                            cleanup sites. EPA notes that the                       conclusions of a national risk                        ash would not pose a significant risk to
                                            exposure assumptions incorporated into                  assessment. Therefore, consideration of               human health.’’
                                            the PRG calculator are equally relevant                 background concentrations is more                        EPA Response: EPA did not evaluate
                                            for CCR intermixed with soil. CCR                       appropriate on a site-specific basis                  the potential soil risks for human health
                                            consist of small particulates that can be               when risk managers are determining the                associated with many of the
                                            readily intermixed with the soil and                    need for and scope of corrective action.              constituents considered in the cited
                                            result in exposures through the exact                   EPA recognizes that a focus on                        analysis. The Agency believes that any
                                            same routes, specifically incidental                    background is more common for                         risk from additional constituents would
                                            ingestion and direct exposure to gamma                  discussion of radioactivity, particularly             be mitigated by the rule requirements
                                            radiation.                                              when providing context for the                        that address the risks identified for
                                               EPA also disagrees that the analysis of              associated risks to the broader public.               radionuclides. However, EPA notes that
                                            exposure to CCR mixed with soil is                      However, as one point of reference, EPA               the cited analysis is not sufficient to
                                            overly simplistic. First, the presence of               has found that the median activities of               demonstrate a lack of risk for these
                                            additional cover soil is already                        fly and bottom ashes already fall close               additional constituents on a national
                                            considered in the main analysis and is                  to the standard of 5 pCi/g radium-                    scale. The ash concentrations reported
                                            not relevant to the types of exposures                  226+228 above background soil, which                  for some constituents are already near or
                                            explicitly considered in the sensitivity                has been adopted as an ARAR for some                  above the health benchmarks, indicating
                                            analysis. Second, because EPA                           cleanups under Superfund and State                    some potential for risk. Further, the
                                            concluded the rate of radon emanation                   programs (i.e., around 4.3 pCi/g                      reported ash concentrations are based
                                            from CCR and soil were not                              higher).24 Additionally, EPA has found                on samples from a limited number of
                                            distinguishable, the sensitivity analysis               that high-end radium-226+228 activity                 geographically constrained facilities. As
                                            explicitly does not incorporate risk from               in CCR has the potential to be nearly 10              a result, the reported concentrations
                                            inhalation of radon gas. Only a                         pCi/g higher than typical background                  may not reflect the broader variability of
                                            relatively small fraction of the radon                  soil. Thus, there is real potential for               potential concentrations from across the
                                            generated from fly and bottom ash is                    mixing of CCR with soil to further                    region or country. In particular, EPA
                                            expected to escape into the ambient air                 increase any risk already associated                  notes there is evidence in the regulatory
                                            and these losses can be counteracted by                 with background.                                      record of arsenic concentrations
                                            upward migration from deeper ash.                          Commenters are correct that mixing                 approaching an order of magnitude
                                            Therefore, it is unlikely that further                  small quantities of CCR with soil may                 higher than considered in this analysis.
                                            consideration of radon emanation                        not result in a surface soil activity above              Comment: Several commenters argued
                                            would have substantial impacts on                       the ARAR. For high-end CCR activity,                  that EPA underestimated risk by not
                                            exposures through incidental ingestion                  this would require a roughly equal                    considering other potential exposure
                                            or direct gamma exposure. Third, the                    mixture of soil and ash. However, risks               pathways, specifically inhalation of
                                            model parameters used to characterize                   are still possible at activities below the            loose CCR.
                                            exposure to gamma radiation in the PRG                  ARAR. The PRG calculator estimates                       EPA Response: EPA selected direct
                                            calculation are generally the same as in                that an increase of only 1.13 pCi/g of the            exposure gamma radiation and
                                            RESRAD and other available models.                      thorium-232 decay chain or 1.45 pCi/g                 incidental ingestion of soil as the
                                            Finally, exposure factors selected for                  of the uranium-238 decay chain in                     pathways for evaluation because these
                                            use in the PRG calculator are consistent                surface soils could increase cancer risk              represent the most direct routes of
                                            with Agency policy for characterizing                   for residential receptors by 1 × 10¥4.                exposure to contamination in the soil.
                                            an RME scenario and many of the                         Such risks can result from relatively low             EPA agrees that inhalation is another
                                            remaining parameters are based on                       mixtures of CCR and soil, which are                   pathway through which future receptors
                                            extensive modeling.21 22 23                             possible if ash beneath the soil surface              could be exposed if CCR becomes
                                               EPA generally only considers                         is disturbed. As a result, EPA has                    intermixed with surface soil.
                                            contributions from disposed wastes to                   identified ARAR of 5 pCi/g above                      Quantitative evaluation of this pathway
                                            risk when conducting national risk                      background as equally applicable to                   would require additional model inputs
                                            assessments under RCRA. Background                      subsurface contamination that may be                  that could further increase the
                                            concentrations may contribute to risk                   disturbed in the future and concluded                 uncertainty of results on a national
                                            when present and can sometimes be                       ‘‘it would not generally be appropriate               scale, such as the degree of vegetative
                                            higher than concentrations modeled in                   to allow backfilling with material with               cover and mean wind speed. However,
                                            a risk assessment. Although constituent                 concentration higher than 5 pCi/g.’’                  EPA notes the default PRGs for
                                            concentrations in undisturbed                           Uncertainties associated with                         inhalation of the uranium-238 decay
                                            environmental media can be highly                       background concentrations are further                 chain in secular equilibrium is nearly
                                            variable, they are often relatively low in              discussed in Section 6 of the 2024 Risk               three orders of magnitude higher than
                                            concentration. As a result, consideration               Assessment.                                           for external exposure to gamma
                                            of these concentrations would generally                    Comment: One industry commenter                    radiation and two orders of magnitude
                                                                                                    presented an analysis they had                        higher than for incidental ingestion of
                                               21 Oak Ridge National Laboratory. 2014. ‘‘Area       conducted comparing the                               soil. As a result, it is unlikely
                                            Correction Factors for Contaminated Soil for Use in     concentrations of certain inorganic                   consideration of this pathway would
                                            Risk And Dose Assessment Models.’’ ORNL/TM–             constituents in CCR to soil screening                 substantially increase calculated risk.
                                            2013/00. Oak Ridge, TN. September.
                                               22 Oak Ridge National Laboratory. 2014. ‘‘Gamma
                                                                                                    levels. The commenter contended this                  Therefore, this pathway does not
                                            Shielding Factors for Soil Covered Contamination        analysis demonstrated that ‘‘even daily               represent a major source of uncertainty
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                                            for Use in Risk and Dose Assessment Models.’’                                                                 in the evaluation. EPA acknowledges
                                            ORNL/TM–2013/00. Oak Ridge, TN. September.                24 U.S. EPA. 1998. ‘‘Use of Soil Cleanup Criteria   that there may be other exposure
                                               23 Oak Ridge National Laboratory. 2020.              in 40 CFR part 192 as Remediation Goals for           pathways that could occur if CCR is
                                            ‘‘Bateman Equation Adaptation for Solving and           CERCLA Sites.’’ OSWER Directive 9200.4–25.
                                            Integrating Peak Activity into EPA ELCR and Dose        Office of Emergency and Remedial Response and
                                                                                                                                                          mixed with surface soil. These are
                                            Models.’’ ORNL/TM–2020/1780. Oak Ridge, TN.             Office of Radiation and Indoor Air. Washington,       further discussed in Section 6 of the
                                            September.                                              DC. February.                                         2024 Risk Assessment.


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                                            e. Comments Related to Site Monitoring                  data sources is believed to provide the               potential for environmental release and
                                            Data                                                    most reliable means to capture the                    subsequent contaminant fate and
                                               Comment: Some commenters stated                      potential variability of conditions across            transport.
                                            that, as part of any further risk                       different facilities and represent
                                                                                                                                                          f. Comments Related to Additional Risk
                                            assessment efforts, EPA should                          contaminant fate and transport on a
                                                                                                                                                          Drivers
                                            incorporate data that have been                         national scale. Furthermore, EPA notes
                                                                                                    that consideration of more site-specific                 Comment: Multiple commenters
                                            collected as part of the monitoring                                                                           asserted that risks higher than those
                                            programs required by either the 2015                    data would not be expected to change
                                                                                                    the fact many units are known to be                   modeled in the 2014 Risk Assessment
                                            CCR Rule or prior State programs. Such                                                                        are unlikely for landfills. One
                                            data might include site hydrogeology                    constructed on relatively permeable
                                                                                                    soils. As a result, further refinements on            commenter stated that the previous risks
                                            from borings around the units and                                                                             modeled for unlined landfills are ‘‘only
                                            groundwater quality sampled from                        the hydrogeology modeled at each
                                                                                                    individual site is unlikely to alter                  slightly above’’ the point of departure at
                                            monitoring wells. These commenters                                                                            2 × 10¥5 and so, even if most CCRMU
                                                                                                    overall model results, which show
                                            claimed these data are more recent and                                                                        landfills are unlined, it would not result
                                                                                                    contaminants can escape from these
                                            more relevant to characterizing the                                                                           in risks higher than this value.
                                                                                                    units and spread considerable distances
                                            actual nature and extent of contaminant                                                                          EPA Response: The national risks
                                                                                                    through groundwater.
                                            release at individual sites.                               Third, groundwater monitoring only                 reported in the 2014 Risk Assessment
                                               EPA Response: There are multiple                                                                           were based on the understanding of
                                                                                                    provides a snapshot in time of
                                            reasons why it is neither practical nor                                                                       relative liner prevalence at the time of
                                                                                                    groundwater concentrations at each well
                                            prudent to incorporate site-specific                                                                          that assessment. However, it has since
                                                                                                    location. It is not obvious, nor do
                                            monitoring data into national fate and                                                                        become clear that an even greater
                                                                                                    commenters articulate, how these data
                                            transport modeling. First, there are                    would be applied to model long-term                   proportion of regulated unit have no
                                            documented concerns about the quality                   unit leakage. Factors such as natural                 engineered liner and there is no
                                            and reliability of these data. For                      fluctuations in background groundwater                evidence that CCRMU landfills are lined
                                            example, EPA has identified significant                 concentrations make it difficult to                   to any greater degree. Additionally, EPA
                                            deficiencies in the monitoring networks                 apportion measured concentrations                     notes that the 2014 Risk Assessment
                                            at each facility for which the Agency                   from individual sampling events into                  modeled both clay-lined and composite-
                                            has completed reviews under the Part A                  the specific contributions from                       lined units under the assumption of
                                            (85 FR 53516, August 28, 2020) and Part                 background and unit leakage. That is                  good construction practices that
                                            B (85 FR 72506, November 12, 2020)                      why groundwater monitoring programs                   achieved the regulatory performance
                                            Rules. It is unlikely such deficiencies                 rely on statistical analysis of data across           standard. However, it has become clear
                                            are isolated to this specific subset of                 numerous sampling events to make a                    since then that some liner systems do
                                            facilities. Monitoring wells that are                   binary determination whether or not                   not achieve this standard. For example,
                                            located too far apart, installed in the                 contaminant concentrations                            facility reporting shows that around
                                            wrong aquifer, or otherwise                             downgradient of a unit have increased                 10% of regulated units with composite
                                            inadequately installed would result in                  above background and GWPS. Even if it                 or alternate liners have already entered
                                            data that are incomplete or                             were practical to utilize these                       into corrective action. Therefore, even
                                            unrepresentative of relevant site                       monitoring data, groundwater samples                  for those units that do have some form
                                            conditions. Thus, use of these data                     do not provide broader information                    of engineered liner, there is potential for
                                            would require thorough review prior to                  about the progression of leakage over                 national risks to be higher than
                                            use. Much of the site characterization                  time. Specifically, groundwater samples               previously modeled. For all these
                                            data are not required to be posted on                   do not provide information on the                     reasons, national risks for both currently
                                            facility websites and so would take                     magnitude of source leachate                          regulated and CCRMU landfills are only
                                            substantial time to compile and review                  concentrations, how long the unit has                 expected to be more similar to those
                                            for the over 1,000 individual landfills                 been leaking, or any indication of the                previously modeled for unlined
                                            and surface impoundments. Further, it                   potential magnitude and extent of                     landfills. Furthermore, EPA has
                                            is highly unlikely that any identified                  contamination in the future. EPA                      identified additional factors that have
                                            deficiencies could be remedied within a                 modeling previously showed that the                   the potential to result in even higher
                                            reasonable timeframe.                                   magnitude and extent of a plume may                   risks than modeled, but that could not
                                               Second, the hydrogeologic data that                  not peak until decades or centuries after             be fully quantified as part of either the
                                            have been collected in support of well                  the unit first beings to leak. As a result,           2014 or 2024 Risk Assessment. These
                                            installation can provide an incomplete                  incorporation of groundwater                          include co-disposal with coal refuse and
                                            or erroneous picture of site conditions                 monitoring samples into a model would                 disposal in contact with the water table.
                                            for the purpose of fate and transport                   require a number of additional                        The greater prevalence of unlined units
                                            modeling. For example, at sites with                    assumptions about the site                            makes it even more likely these
                                            lower conductivity soils, EPA has                       characteristics and conditions that                   additional factors will occur at unlined
                                            previously raised concerns that                         could substantially increase the overall              units. The combination of these factors
                                            collection of hydrogeologic data with a                 uncertainty of model results.                         has the potential to result in national
                                            focus on characterizing the predominant                    Finally, EPA is not aware of similar               risks even higher than previously
                                            soil type can underestimate the                         site-specific data available for the subset           modeled.
                                            prevalence of more localized deposits of                of smaller CCRMU intended for                            Comment: One commenter
                                            higher conductivity soil and other                      purposes other than disposal. As several              acknowledged that the 2014 Risk
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                                            discontinuities that can serve as                       commenters have acknowledged,                         Assessment had demonstrated the
                                            preferential flow pathways to                           facilities have not typically maintained              potential for co-disposal with coal
                                            groundwater. See, 85 FR 72519.                          reliable records of the locations of all              refuse to increase risk from surface
                                            Therefore, the current approach to                      these smaller units. Thus, any modeling               impoundments. However, multiple
                                            probabilistic characterization of soil and              of these units must, by necessity, draw               others argued that the same assessment
                                            aquifer characteristics using more local                on other datasets to characterize the                 shows that neither co-disposal with coal


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                                            refuse nor extreme pH conditions                        surface impoundments in 2014, which                   concentrations of boron to decrease over
                                            increase risks for landfills. Specifically,             included samples co-disposed with coal                time after the impoundments were taken
                                            commenters pointed to one sensitivity                   refuse. As acknowledged by some                       out of service, though that pattern was
                                            analysis summarized in Table 5–6 of the                 commenters, these data supported                      not universal. Some commenters went
                                            2014 Risk Assessment that concluded                     identification of higher risks from these             further, concluding that eliminating the
                                            modeled risks did not exceed the point                  co-disposed wastes in impoundments.                   hydraulic head in the unit would allow
                                            of departure for any subset of the                      Corresponding pH data are not available               any prior groundwater contamination to
                                            modeled pH conditions. One                              for every porewater sample, but                       naturally attenuate. Conversely, other
                                            commenter argued the Agency’s                           available data do show the potential for              commenters pointed to a documented
                                            conclusions are not based on actual                     highly acidic pH around 1, roughly                    case study where groundwater
                                            observations of CCR porewater and                       equivalent to stomach acid. The cited                 concentrations increased after ponded
                                            groundwater quality at sites where coal                 EPRI reports do not contradict the                    water was drained to contend that
                                            refuse is managed. This commenter                       finding that co-disposal can affect CCR               contact with the water table can result
                                            stated that not all units that accepted                 leaching behavior. As summarized by                   in higher releases.25
                                            coal refuse will contain enough to affect               the commenter, these reports found that                  EPA Response: A number of the
                                            the broader chemistry of the unit and                   a third of units had impacts to unit pH               commenters misconstrue the findings of
                                            not all coal refuse will contain enough                 and porewater chemistry. Individual                   the 2014 Risk Assessment, which did
                                            pyrite to influence pH. This commenter                  units had potential or confirmed                      not include any assessment of the
                                            further argued that, where acidic                       impacts on groundwater quality,                       effects of CCR disposal within the water
                                            conditions and higher leachate                          causing at least one to trigger remedial              table. EPA was unable to quantitatively
                                            concentrations do occur, it will not                    measures by the facility. EPA further                 model the risks associated with this
                                            necessarily result in higher                            notes that these reports provide only a               management practice because there was
                                            downgradient groundwater                                snapshot in time of the environmental                 little data on how common the practice
                                            concentrations due to other site-specific               impacts associated with disposal in this              was or the extent to which it would
                                            factors. To support this argument, the                  subset of disposal units. As a result,                affect groundwater chemistry. Instead,
                                            commenter summarized findings from                      there remains potential for future                    these commenters are referring to a
                                            multiple EPRI reports that analyzed                     releases beyond the waste boundary if                 comparison of the risks resulting from
                                            field samples from around several                       these conditions persist.                             surface impoundments during operation
                                            landfills and surface impoundments                         Comment: Multiple commenters                       and post-closure (i.e., after free liquids
                                            believed to have accepted coal refuse.                  asserted that waste disposed below the                had been eliminated consistent with
                                               Response: These commenters                           water table would not result in higher                § 257.102(d)(2)(i)) that was undertaken
                                            misrepresent the findings of the                        risks from surface impoundments than                  to understand if only modeling these
                                            referenced sensitivity analysis. This                   previously modeled in the 2014 Risk                   units only during operation might
                                            analysis represents a parsing of                        Assessment. These commenters                          underestimate peak risks. EPA only
                                            groundwater model runs conducted in                     generally argued the hydraulic head                   concluded that continued leakage after
                                            2014 as a function of leachate pH. This                 present in an operating impoundment                   elimination of free liquids and closure
                                            analysis incorporates model results for a               from ponded wastewater will result in                 would rarely result in higher peak risks.
                                            substantial number of lined units,                      greater leakage than groundwater                      Thus, this assessment did not consider
                                            which can mask the effects of leachate                  flowing through a unit. One commenter                 the effects of disposal below the water
                                            pH due to the low overall leakage rates                 presented a hypothetical comparison of                table or draw any conclusions about the
                                            from these units. As such, this                         the relative hydraulic flux from a unit               risks associated with this practice.
                                            sensitivity analysis does not support                   due to ponded water, infiltrating                        When waste is managed above the
                                            any conclusions about the impacts of                    precipitation, and contact with                       water table, any leakage out of the unit
                                            pH on risks from unlined units. Further,                groundwater to argue that the presence                must first infiltrate down through
                                            very few model runs were conducted at                   of a ponded water would result in                     unsaturated subsurface soils and then
                                            highly acidic pH; the sensitivity                       higher leakage. Others pointed to                     mix with groundwater before it can flow
                                            analysis did not summarize any results                  analyses from the 2014 Risk                           beyond the waste boundary. As a result,
                                            for a pH lower than around 4. Thus, this                Assessment, which compared leakage                    downgradient groundwater
                                            analysis also does not support any                      from surface impoundments before and                  concentrations can end up substantially
                                            conclusions about the risks associated                  after dewatering, to argue that risks from            lower than the original leachate
                                            with highly acidic conditions.                          impoundments remaining in                             concentration. In contrast, when waste
                                               Available LEAF leachate data used to                 groundwater would be lower. Others                    is disposed below the water table, the
                                            model landfills show that many                          further argued that the lower hydraulic               entire volume of groundwater in contact
                                            constituents, including arsenic, can                    conductivity of some ash would limit                  with the CCR and all water infiltrating
                                            leach at highest concentrations near one                flow through the impoundment and                      from above would become undiluted
                                            or both extremes of the pH scale. The                   cause groundwater to preferentially flow              leachate. As the thickness of CCR below
                                            effects of these higher concentrations                  around the unit.                                      the water table increases, the volume of
                                            are reflected in the sensitivity analysis,                 Several commenters presented data                  leachate generated can increase
                                            with higher risks observed around a                     from groundwater monitoring                           substantially based on the sheer size of
                                            highly basic pH of 13. Therefore, this                  conducted at individual units to assert               these disposal units. There is no
                                            sensitivity analysis is consistent with                 that risks are more likely to result from             evidence the properties of CCR would
                                            the broader risk record and shows that                  the hydraulic head in active                          reliably limit transport of this leachate
                                            extreme pH conditions can result in                     impoundments than the intersection of
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                                                                                                                                                          away from the unit. Rather, the
                                            higher risk.                                            waste with the water table. The                       hydraulic gradient of the aquifer will
                                               The commenters are also incorrect                    presented data depict concentrations of               continue to drive continued flow
                                            that the risk record is not based on                    boron, a highly soluble constituent that
                                            observations of CCR porewater. EPA                      one commenter noted was selected for                    25 EPRI. 2001. ‘‘Evaluation and Modeling of Cap
                                            relied on empirical measurements of                     its ‘‘insensitivity to redox conditions.’’            Alternative at Three Unlined Coal Ash
                                            porewater to support modeling of                        These plots generally show                            Impoundments.’’



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                                            through the unit. The hydraulic                         reduce the effectiveness of any cap                   and other wastes managed under
                                            conductivity of different CCR overlaps                  design when the facility is underlain by              consistently saturated conditions. EPA
                                            with that of common aquifer materials.                  geologic materials with high hydraulic                also acknowledges there can be
                                            Even in instances where the average                     conductivity, because groundwater will                uncertainties associated with field data
                                            conductivity within a unit is lower than                continue to leach ash constituents.’’ 26              submitted to the Agency, which might
                                            the surrounding aquifer, these units                    Thus, removal of ash from groundwater                 lead to an underestimation of
                                            often contain different ash types and                   may be the only reliable means of                     concentrations in the field. One
                                            other wastes. This can lead to                          source control for these units.                       example is the potential for stronger
                                            stratification within the unit that creates                Comment: Several commenters agreed                 reducing conditions to form after a unit
                                            regions of higher conductivity and                      that use of porewater to represent                    has been closed as a result of less
                                            allows for greater flow. For all these                  leakage from impoundments is                          oxygenated water infiltrating through
                                            reasons, there is potential for sustained               appropriate. However, these                           the unit. As acknowledged by
                                            leakage from units when waste is                        commenters also raised concerns that                  commenters, however, there is not
                                            disposed below the water table.                         available porewater data collected                    sufficient data to characterize the
                                            Whether or not the magnitude of this                    during the active life of an                          magnitude or extent of such conditions
                                            continued leakage is greater than from                  impoundment may underestimate the                     on a national basis. Therefore, the
                                            water ponded in an impoundment does                     risks associated with legacy                          impact of this uncertainty is not known.
                                            not address the potential for such                      impoundments because it may not                          EPA disagrees that the arsenic
                                            leakage to cause a release or sustain one               accurately reflect leachate                           concentrations identified in the
                                            that began when water was still ponded                  concentrations after the unit has ceased              referenced studies should be considered
                                            in the unit. Such comparisons also                      operation. As one example, they cited                 an isolated occurrence. These studies
                                            ignore that the waste would also be in                  potential for reducing conditions to                  clearly demonstrate that: (1) Sustained
                                            contact with groundwater while the unit                 form through prolonged contact                        contact with groundwater can result in
                                            operates, greatly increasing the                        between waste and groundwater.                        stronger reducing conditions than dry
                                            likelihood of groundwater mounding                         By contrast, one commenter asserted                management, (2) Reducing conditions
                                            around the impoundment and increased                    that elevated arsenic concentrations                  can cause higher leaching of arsenic,
                                            contaminant transport in all directions.                identified in the two journal articles                and (3) LEAF methods can
                                               It is not feasible to draw conclusions               EPA referenced in the proposal are only               underestimate actual leaching from CCR
                                            based on the small and curated sample                   representative of that one site and that              under reducing conditions by as much
                                            of units presented by commenters.                       the majority of available impoundment                 as an order of magnitude. Given that
                                            Various factors can complicate any                      porewater data have lower                             disposal beneath the water table is a
                                            interpretation of the presented graphs.                 concentrations than reported in those                 more common practice than previously
                                            First, boron is a highly soluble                        articles.27 28 The commenter also noted               understood, there exists the real
                                            constituent that can washout at high                    the data presented in the journal articles            potential for higher leachate
                                            concentrations into small amounts of                    were collected in support of an EPRI                  concentrations in the field than
                                            water. Thus, the extent to which                        report, which found these                             previously modeled, particularly at
                                            decreases in concentration over                         concentrations had not translated to                  landfills modeled with LEAF data.
                                            timeframes of a long as a decade or more                exceedances of GWPS in downgradient
                                            simply represent the depletion of this                                                                           EPA does agree that initial leachate
                                                                                                    wells.29 Based on this finding, the                   concentrations are not the sole
                                            highly soluble constituent from the ash                 commenter concluded leachate
                                            is unclear. Second, unit geometry may                                                                         determining factor for contaminant fate
                                                                                                    concentrations alone are not a reliable               and transport. As discussed in response
                                            not be uniform and consistently                         indicator of which units will cause
                                            intersect with the groundwater table,                                                                         to previous comments, this fact is
                                                                                                    groundwater contamination due to                      reflected in Agency modeling.
                                            resulting in more spatially isolated                    variable site geochemistry and
                                            releases that cause higher                                                                                    Individual model runs with the highest
                                                                                                    hydrogeology.                                         leachate concentrations are not always
                                            concentrations in some wells and not                       EPA Response: EPA agrees that
                                            others. Third, at sites with intermittent                                                                     those with the highest risk. However,
                                                                                                    porewater samples remain the best                     factors that will tend to push the overall
                                            contact with groundwater, predefined                    available data to represent leakage from
                                            sampling dates may not align with                                                                             distribution of leachate concentrations
                                                                                                    operating surface impoundments. These                 higher will also tend to push modeled
                                            periods when contact with groundwater                   field samples provide empirical data on
                                            occurs. Therefore, it is not possible to                                                                      nationwide risks higher because of the
                                                                                                    leakage from various mixtures of CCR                  greater likelihood that higher leachate
                                            draw meaningful conclusions, either at
                                            these sites or more broadly, based on the                 26 EPRI. 2001. ‘‘Evaluation and Modeling of Cap
                                                                                                                                                          concentrations will occur at sites where
                                            data provided. As pointed out by other                  Alternative at Three Unlined Coal Ash
                                                                                                                                                          these concentrations can more readily
                                            commenters, there are also examples                     Impoundments.’’                                       spread. Thus, the greater prevalence of
                                            available where sustained contract with                   27 Wang, X., A.C. Garrabrants, Z. Chen, H.A. van    units in contact with groundwater has
                                            groundwater after a unit is drained                     der Sloot, K.G. Brown, Q. Qiu, R.C. Delapp, B.        the potential to result in higher risks on
                                                                                                    Hensel, and D.S. Kosson. 2022. ‘‘The Influence of     a national scale than previously
                                            resulted in increased groundwater                       Redox Conditions on Aqueous-Solid Partitioning of
                                            concentrations of other Appendix III                    Arsenic and Selenium in a Closed Coal Ash             modeled.
                                            constituents.                                           Impoundment.’’ Journal of Hazardous Materials.           Finally, EPA notes that groundwater
                                               The fact that downgradient                           428:128255.                                           monitoring only represents a snapshot
                                                                                                      28 Wang, X., H.A. van der Sloot, K.G. Brown, A.C.
                                            concentrations have decreased at some                                                                         in time and does not necessarily provide
                                                                                                    Garrabrants, Z. Chen, B. Hensel, and D.S. Kosson.
                                            impoundments after the unit was                         2022. ‘‘Application and Uncertainty of a              any indication of the potential for future
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                                            drained despite ongoing contact with                    Geochemical Speciation Model for Predicting           contamination. In the case of the
                                            groundwater does not prove such                         Oxyanion Leaching from Coal Fly Ash under             studied unit, it is not known whether
                                            reductions will be sustained or further                 Different Controlling Mechanisms.’’ Journal of        reducing conditions formed during or
                                                                                                    Hazardous Materials. 438:129518.
                                            groundwater releases will not occur. As                   29 EPRI. 2020. ‘‘Leaching, Geotechnical, and        after operation. As such, there remains
                                            one EPRI report concluded, ‘‘the                        Hydrologic Characterization of Coal Combustion        potential for future releases if the unit
                                            existence of saturated ash will greatly                 Products from a Closed Coal Ash Impoundment.’’        remains in contact with groundwater


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                                            and continues to leak such elevated                     preamble to the original 1979 subtitle D              water bodies and human receptors who
                                            arsenic concentrations.                                 criteria, EPA is concerned with                       fish from those water bodies, as well as
                                                                                                    groundwater contamination even if the                 associated damage cases, which is why
                                            g. Comments Related to Complete
                                                                                                    aquifer is not currently used as a source             constituents, such as cadmium and
                                            Exposure Pathways
                                                                                                    of drinking water. Sources of drinking                mercury, were added to the Appendix
                                               Comment: Multiple commenters                         water are finite, and future users’                   IV list of constituents. Additionally,
                                            asserted that EPA must demonstrate the                  interests must also be protected. See, 44             surface water bodies are large and
                                            existence of a complete exposure                        FR 53445–53448. (‘‘The Act and its                    highly interconnected systems that are
                                            pathway to justify regulatory action,                   legislative history clearly reflect                   likely to have multiple electric utilities,
                                            which some defined as exposures that                    Congressional intent that protection of               as well any number of other industrial
                                            have already occurred. Specifically,                    groundwater is to be a prime concern of               sources, located along their banks. If all
                                            commenters stated that ‘‘the presence of                the criterion. . . . EPA believes that                these facilities were allowed to freely
                                            groundwater contamination alone does                    solid waste activities should not be                  discharge to a water body solely because
                                            not constitute a risk’’ and ‘‘in many                   allowed to contaminate underground                    no individual release posed risk, the
                                            cases no one is drinking the water or                   drinking water sources to exceed                      cumulative impacts can result in risk to
                                            contacting the CCR materials.’’ One                     established drinking water standards.                 surface water resources and nearby
                                            commenter presented a summary of                        Future users of the aquifer will not be               receptors. The 2015 CCR Rule addresses
                                            analyses that had been conducted across                 protected unless such an approach is                  the potential for such risk by specifying
                                            27 sites, which concluded that                          taken.’’). See also, 80 FR 21453.                     corrective action must ‘‘remove from the
                                            groundwater risks do not exist at most                     The commenters’ approach is also                   environment as much of the
                                            sites because no drinking water wells                   inconsistent with Agency guidance,                    contaminated material that was released
                                            are currently present. Another                          which states that a ‘‘. . . pathway is                from the CCR unit as is feasible.’’ 40
                                            commenter asserted that the high-end                    complete if there is (1) a source or                  CFR 257.97(b)(3). Thus, dilution of a
                                            risks identified in the 2014 Risk                       chemical release from a source, (2) an                groundwater plume into surface water
                                            Assessment assumed that receptors                       exposure point where contact can occur,               could not be considered a presumptive
                                            were exposed immediately                                and (3) an exposure route by which                    remedy. This requirement is consistent
                                            downgradient of the disposal units. This                contact can occur.’’ 30 The guidance                  with guidance for OLEM programs that
                                            commenter went on to state that                         goes on to state that ‘‘. . . exposure                specify the need to prevent groundwater
                                            complete exposures would not occur at                   assessments are concerned with current                contamination above GWPS from
                                            the many sites adjacent to water bodies                 and future exposures.’’ Thus, a key                   contaminating other aquifers or
                                            because groundwater contamination                       consideration in evaluating risk is the               environmental media.31
                                            would be intercepted by surface water                   potential for future exposure. If it were                EPA also disagrees that a point of
                                            first and that the 2014 Risk Assessment                 necessary to wait for exposures to occur              compliance at the facility boundary
                                            found no risks warranting regulation for                as a prerequisite for action, an untold               would provide a better estimate of
                                            surface water. Several other commenters                 number of receptors could be subject to               actual risk than the waste boundary.
                                            also claimed that groundwater quality                   potential harm. Further, implementation               Again, the commenter disregards that
                                            should be measured at the facility                      of corrective action is not instantaneous             the contamination of the aquifer is an
                                            boundary because that would be more                     and so this harm could persist for some               adverse effect on the environment, not
                                            representative of a complete exposure                   time after receptor exposures are first
                                            pathway.                                                                                                      simply a potential risk to subsequent
                                                                                                    identified. Commenters do not explain
                                               EPA Response: Section 4004(a) of                                                                           receptors. Consequently, the regulations
                                                                                                    how such delayed action could be
                                            RCRA requires EPA to establish                                                                                require facilities to address the
                                                                                                    considered protective of human health
                                            requirements that will ensure no                                                                              contamination at the first available
                                                                                                    and the environment, and so meet
                                            reasonable probability of adverse effects                                                                     point, that is, when it first leaves the
                                                                                                    RCRA’s standard. See, USWAG, 901 F3d
                                            both to human health and the                                                                                  unit. There are several additional
                                                                                                    at 429–431.
                                            environment. See, 42 U.S.C. 6944(a).                       Commenters also misrepresent the                   reasons that the waste boundary is the
                                            EPA therefore disagrees that only the                   findings of the 2014 Risk Assessment                  appropriate point of compliance. First, a
                                            presence of receptors within the impact                 regarding surface water interception.                 point of compliance at the facility
                                            sphere of a contaminating facility merits               EPA modeled a distribution of distances               boundary would result in greater
                                            consideration. EPA’s longstanding and                   for both groundwater wells and surface                potential for current residences or water
                                            consistent policy (across numerous                      water bodies, accounting for                          bodies immediately adjacent to the
                                            regulatory programs) has been that                      interception whenever a water body was                facility boundary to be exposed before
                                            groundwater contamination is a                          located closer than a well. Thus,                     the presence of contamination can be
                                            significant concern that merits                         reported high-end risks do not include                confirmed. Second, the facility
                                            regulatory action in its own right,                     any assumptions about the proximity of                boundary may be a significant distance
                                            whether or not the aquifer is not                       receptors to the units. Even if direct                away from the waste boundary, which
                                            currently used as a source of drinking                  exposure to groundwater from use as a                 would allow contamination to increase
                                            water.                                                  drinking water source is considered                   and spread for some time before
                                               Once a potentially harmful                           unlikely due to the potential for                     triggering corrective action. The further
                                            constituent has leached from a disposal                 interception by nearby surface water,                 contamination is allowed to increase
                                            unit into groundwater, whether the                      that does not justify no further action.              and spread, the more difficult it may
                                            constituent ultimately causes further                   EPA did identify the potential risks                  become to clean it up due to factors
                                            damage by migrating into drinking                       from individual disposal units to                     such as complex contaminant chemistry
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                                            water wells does not diminish the                       ecological receptors present in these                 and site hydrogeology. This may render
                                            significance of the environmental
                                                                                                                                                            31 U.S. EPA. 2009. ‘‘Summary of Key Existing
                                            damage caused to the groundwater                          30 U.S. EPA. 1989. ‘‘Risk Assessment Guidance for

                                                                                                    Superfund Volume I: Human Health Evaluation           EPA CERCLA Policies for Groundwater
                                            under the site, even where it is only a                 Manual (Part A).’’ EPA/540/1–89/002. Prepared by      Restoration.’’ OSWER Directive 9283.1–33.
                                            potential future source of drinking                     the Office of Emergency and Remedial Response.        Prepared by the Office of Solid Waste and
                                            water. As EPA explained in the                          Washington, DC. December.                             Emergency Response. Washington, DC. June.



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                                            large volumes of groundwater unusable                   management practices, environmental                   which provides a snapshot in time of
                                            for drinking water or other purposes.                   conditions, and receptor behavior. EPA                potential risks across the country. This
                                            Finally, EPA has previously                             reported risks for both highly exposed                was accomplished by weighting risks
                                            documented numerous instances where,                    individuals and more moderately                       from individual management practices
                                            once the contaminant plume has                          exposed individuals. Risks to highly                  in proportion to the anticipated
                                            migrated off-site and impacted private                  exposed individuals represent a                       prevalence of those practices. National-
                                            water wells, a utility has purchased                    reasonable maximum estimate that                      scale risks provide important context as
                                            these properties, thereby rendering the                 members of the general population                     to whether risks are a systemic issue
                                            off-site contamination, ‘‘on-site,’’ further            might be exposed to, which were                       that warrant national regulations or are
                                            delaying corrective action. See, 80 FR                  calculated as the 90th percentiles of all             limited in scope and better addressed
                                            21456. For all these reasons, EPA                       probabilistic model results. Risks to                 through more targeted actions. The
                                            considers the waste boundary to provide                 moderately exposed individuals                        Agency’s evaluation found that the
                                            the most consistent and protective basis                represent a more typical estimate that                management practices that EPA
                                            on which to establish evidence of a                     members of the general population                     believed were generally in use in 2014
                                            release.                                                might be exposed to, which were                       at surface impoundments and landfills
                                                                                                    calculated as the 50th percentiles of all             were likely to pose risks to human
                                            4. 2024 Final Risk Assessment
                                                                                                    probabilistic model results.                          health through groundwater exposure
                                               EPA identified risks to groundwater                     Under RCRA, EPA typically relies on                within the range that EPA typically
                                            from active CCR landfills and surface                   a risk range to determine the point at                considers warrants regulation. For
                                            impoundments, as well as to inactive                    which regulation is appropriate. This                 highly exposed individuals, the cancer
                                            CCR surface impoundments at active                      policy was first developed in the                     risks from arsenic due to the operation
                                            utilities in the 2014 Risk Assessment,                  context of determining whether to                     of surface impoundments were as high
                                            which are now regulated under the 2015                  regulate (or ‘‘list’’) wastes as hazardous            as 2 × 10¥4, while noncancer risks were
                                            CCR Rule. The results of EPA’s further                  under subtitle C of RCRA. See 80 FR                   as high as an HQ of 5 for arsenic, 2 for
                                            analyses in the final 2024 Supplemental                 21449; 59 FR 66075–66077, December                    lithium, and 2 for molybdenum. Cancer
                                            Risk Analysis confirm that the findings                 22, 1994. However, over the years EPA                 risks associated with the operation of
                                            on the risk from active units from the                  has relied on this risk range more                    landfills were estimated to be as high as
                                            2014 Risk Assessment are equally                        broadly to determine whether regulation               5 × 10¥6 from the ingestion of arsenic-
                                            applicable to units that ceased receipt of              is warranted under both subtitles C and               contaminated drinking water. In
                                            waste prior to 2015 and either closed or                D of RCRA. See 75 FR 35193 (‘‘Although                contrast, all risks for moderately
                                            became inactive. This final rule                        the statutory standards under                         exposed individuals fell below EPA’s
                                            therefore relies upon the 2014 Risk                     subsections C and D differ, EPA has                   risk range. This was largely attributed to
                                            Assessment, the additional data and                     historically interpreted both statutory               the fact that many facilities are located
                                            analysis presented in the March 2023                    provisions to establish a comparable                  next to major water bodies and so
                                            proposal indicating that the legacy CCR                 level of protection, corresponding to an              contaminant plumes were frequently
                                            surface impoundments and CCRMU                          acceptable risk level ranging between                 intercepted by these water bodies before
                                            would be expected to have risks even                    1 × 10¥4 and 1 × 10¥6.’’).                            they could reach private wells.
                                            higher than previously modeled, and                        Thus, to determine whether there is a                 EPA next evaluated the risks
                                            the 2024 Supplemental Risk                              reasonable probability of adverse effects             associated with individual management
                                            Assessment. Each of these is discussed                  on health or the environment from the                 practices at surface impoundments and
                                            in turn below.                                          disposal or other solid waste                         landfills. This was accomplished by
                                                                                                    management of solid waste, EPA                        filtering the national-scale model runs
                                            a. Summary of 2014 Risk Record
                                                                                                    typically uses as an initial cancer risk              to focus only on those that included the
                                               In the 2014 Risk Assessment EPA                      ‘‘level of concern’’ a calculated risk                practice of interest and using the filtered
                                            conducted a national-scale, probabilistic               level of 1 × 10¥5 (one in one hundred                 set of runs to calculate risks associated
                                            analysis that characterized potential                   thousand) or an HQ above 1.0 for any                  with that specific practice. These
                                            risks to human and ecological receptors                 noncarcinogenic risks. See, 80 FR                     individual risks provide important
                                            associated with leakage from CCR                        21,449. For example, wastestreams or                  context about the range of contaminants
                                            surface impoundments and landfills in                   activities for which the calculated high              and practices that could pose risk at
                                            operation at that time. A combination of                end individual cancer-risk level is 1 ×               individual sites. The Agency’s
                                            models was used to predict fate and                     10¥5 or higher generally are considered               evaluation identified two specific
                                            transport of contaminants through the                   candidates for regulation. Wastestreams               management practices that could lead to
                                            environment, receptor exposures, and                    or activities with risks calculated to be             risks higher than those identified in the
                                            the resulting risks to human and                        1 × 10¥4 (one in ten thousand) or higher              national risk estimates.
                                            ecological receptors. The specific                      generally will be considered to pose a                   The first practice EPA evaluated was
                                            exposure routes evaluated were: (1)                     reasonable probability of adverse effects             the disposal of CCR in unlined and clay-
                                            Human inhalation of particulate matter                  on health or the environment and                      lined units. Management in unlined
                                            blown from open management units, (2)                   generally will be regulated.                          surface impoundments resulted in
                                            Human ingestion of crops and livestock                  Wastestreams or activities for which                  cancer risks for arsenic up to 3 × 10¥4,
                                            raised on nearby fields, (3) Human                      these risks are calculated to be 1 × 10¥6             as well as noncancer risks for lithium
                                            ingestion of groundwater used as a                      (one in one million) or lower, and lower              up to an HQ of 3, molybdenum up to an
                                            source of drinking water, (4) Human                     than 1.0 HQ or environmental risk                     HQ of 4, and thallium up to an HQ of
                                            ingestion of fish caught from freshwater                quotients for any noncarcinogens,                     2. Management in unlined landfills
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                                            streams, and (5) Ecological contact with                generally will be considered not to pose              resulted in cancer risks for arsenic up to
                                            and ingestion of surface water and                      a reasonable probability of adverse                   2 × 10¥5. The larger increase in arsenic
                                            sediment. Site-specific data were used                  effects on health or the environment,                 risks identified for unlined landfills
                                            where available, supplemented by                        and generally will not be regulated. Id.              above those for national-scale landfills
                                            regional and national data to fill data                    EPA first evaluated national-scale                 (2 × 10¥5 vs. 5 × 10¥6) compared to
                                            gaps, to capture the variability of waste               risks in the 2014 Risk Assessment,                    unlined and national-scale


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                                            impoundments (3 × 10¥4 vs. 2 × 10¥4)                    more basic conditions. Thus, to the                   unit. Furthermore, if a unit is not closed
                                            is because a larger proportion of                       extent that conditions at either extreme              with an effective cover system or
                                            landfills nationwide were initially                     of the pH scale are more prevalent than               remains in contact with the
                                            modeled as having a liner. Since                        previously estimated, it is likely that               groundwater table, the higher rates of
                                            promulgation of the 2015 CCR Rule, it                   overall risks from disposal in both                   leakage that can result could sustain
                                            has become clear that more units are                    surface impoundments and landfills                    releases long after the unit has ceased
                                            unlined than originally estimated. Thus,                would be even higher than modeled.                    operation. It is expected that legacy
                                            it is anticipated that national-scale risks                EPA acknowledged in the 2014 Risk                  impoundments and CCRMU have been
                                            for landfills would actually be closer to               Assessment that there were some                       present for longer than currently
                                            those for unlined landfills (2 × 10¥5),                 additional management practices that                  operating units and so would have had
                                            rather than the lower nation-wide                       could result in higher risk at individual             more time to leak. As a result, previous
                                            estimates reported in the 2014 Risk                     sites, but that could not be                          and ongoing releases from these units
                                            Assessment.                                             quantitatively modeled with the data                  have the potential to be greater and to
                                               Although clay-lined units tended to                  available at the time. One specific                   have migrated further than those from
                                            have lower risks than unlined units,                    example provided was of CCR disposal                  the currently regulated universe of
                                            they still had potential to result in risks             below the water table. EPA was unable                 units.
                                            within the range that EPA considers for                 to quantitatively model the associated                   The risks associated with legacy
                                            regulation under RCRA. Management in                    risks as there was little data on how                 impoundments and CCRMU may be
                                            clay-lined impoundments with a liner                    common this practice was or the extent                even higher than EPA modeled on a
                                            thickness of three feet resulted in cancer              to which it could affect groundwater                  national scale in the 2014 Risk
                                            risks for arsenic of up to 7 × 10¥6 and                 chemistry. Because EPA could not                      Assessment. The 2014 Risk Assessment
                                            noncancer risks for lithium up to an HQ                 quantitatively model these management                 aimed to provide a static snapshot of
                                            of 2, while management in similarly                     practices (and because the Agency had                 waste management practices at that time
                                            unlined landfills resulted in cancer risks              no information to indicate that it was a              based on the available data. As such, it
                                            for arsenic up to the 1 × 10¥5. The larger              current, widespread management                        did not reflect the greater prevalence of
                                            increase in arsenic risks for unlined                   practice), EPA noted only that, based on              some practices at older closed and
                                            impoundments above those for clay-                      its review of damage cases, the damage                inactive units based on the
                                            lined impoundments (1 × 10¥5 vs. 7 ×                    from the placement of CCR in sand and                 understanding those practices had
                                            10¥6) compared to unlined and clay-                     gravel pits was almost always associated              declined over time. Nor did it reflect
                                            lined landfills (2 × 10¥5 vs. 1 × 10¥5)                 with CCR being placed in contact with                 some ongoing practices for which there
                                            is because the layer of low conductivity                water, which indicated that the                       was not enough data to characterize
                                            clay counteracts the hydraulic head in                  placement of CCR in contact with water                prevalence on a national scale. The
                                            impoundments that would otherwise                       can lead to higher risks than from dry                Agency is now aware of several
                                            freely drive greater volumes of leachate                disposal. 80 FR 21352. EPA further                    practices that are more common than
                                            into the subsurface.32 In contrast,                     explained that ‘‘in this situation, the               were modeled in 2014 and have the
                                            leachate generation in both types of                    sorption that occurs in the unsaturated               potential to result in higher leakage.
                                            landfills is limited far more by the rate               zone of the risk assessment model does                However, because the 2014 Risk
                                            of precipitation. As a result, EPA further              not occur in the field. This and other                Assessment identified baseline risks
                                            considered how reducing the modeled                     site-specific risk factors could lead to              that warrant regulation, the national risk
                                            clay liner thickness of impoundments to                 additional contamination beyond what                  record does not depend on the greater
                                            the minimum allowable standard of two                   was modeled nationwide.’’ 2014 Risk                   prevalence of these practices to justify
                                            feet would affect arsenic risk and found                Assessment at pages 5–48. As a                        the need for regulation of closed and
                                            it would increase to as high as 2 × 10¥5.               consequence, EPA specifically included                inactive units. Instead, the potential for
                                               The second practice evaluated was                    sand and gravel pits that received CCR                even higher risk from these practices at
                                            the management of wastes with an                        in the definition of CCR landfills                    individual units, which are discussed
                                            extreme pH. In particular, empirical                    covered by the regulations. 80 FR 21354.              below, only reinforces the basis for
                                            porewater data revealed that co-disposal                   The above model results from the
                                                                                                                                                          regulation.
                                            of CCR with other wastes in surface                     2014 Risk Assessment are equally
                                                                                                                                                             First, a greater number of units lack
                                            impoundments had the potential to                       applicable to legacy CCR surface
                                                                                                                                                          an adequate liner system than EPA
                                            result in a highly acidic pH, cancer risks              impoundments and CCRMU. Many of
                                                                                                                                                          previously understood. For example, in
                                            for arsenic up to 1 × 10¥3, and                         these unregulated units are similarly
                                                                                                                                                          the 2014 Risk Assessment, EPA
                                            noncancer risks for cobalt and mercury                  constructed, manage the same types of
                                                                                                                                                          estimated that 65% of impoundments
                                            up to an HQ of 13 and 5, respectively.                  ash, and are frequently located either at
                                                                                                                                                          had no engineered liner (i.e., do not
                                            Laboratory leaching test data also                      the same or nearby facilities as their
                                                                                                                                                          meet the regulatory standard for either
                                            indicated that highly acidic and basic                  regulated counterparts. In particular,
                                                                                                                                                          a clay or composite liner) based on
                                            CCR wastes have the potential to leach                  some unregulated units are known to be
                                                                                                                                                          surveys conducted by EPA between
                                            similarly high arsenic concentrations,                  located directly adjacent to or beneath
                                            up to an order of magnitude higher than                 currently regulated units. The fact that              2009 and 2010 (‘‘EPA Surveys’’).33 It has
                                            under more neutral conditions. Only a                   some of these unregulated units no                    since become clear that even fewer
                                            small number of previous landfill model                 longer contain water ponded above the                 impoundments are actually lined. EPA’s
                                            runs considered acidic conditions based                 ash surface or have installed some form               review of available liner demonstration
                                            on the information available about                      of cover system does not meaningfully                 documents posted on facilities’ CCR
                                            conditions in active units; identified                  distinguish the long-term risks of these              websites indicates closer to 83% of
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                                            risks for these units were driven by                    units from those previously modeled.                  impoundments have no engineered
                                                                                                    This is because all landfills and surface             liner. Similar reporting is not available
                                               32 The somewhat higher risks identified for clay-
                                                                                                    impoundments progress through similar                   33 U.S. EPA. 2014. ‘‘Human and Ecological Risk
                                            lined landfills compared to similarly lined
                                            impoundments are likely related to site-specific
                                                                                                    lifecycle stages. Progression toward                  Assessment of Coal Combustion Residuals.’’ RIN
                                            conditions, such as where in the country these units    closure does not remediate any releases               2050–AE81. Office of Solid Waste and Emergency
                                            are located.                                            that occurred during operation of the                 Response. Washington, DC. December.



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                                            on the liner prevalence for older units.                disposal of ash and coal refuse in                       Disposal beneath the water table,
                                            However, EPA is also not aware of any                   surface impoundments ranged between                   either continuously or intermittently,
                                            evidence that these older units have                    1 × 10¥3 for trivalent arsenic to 4 × 10¥4            will result in conditions that mirror
                                            been lined at higher rates, particularly                for pentavalent arsenic. Non-cancer                   those previously found to drive risk
                                            those constructed prior to the                          risks were similarly high, ranging                    from active surface impoundments.
                                            promulgation of minimum standards for                   between and an HQ of 13 for cobalt and                Specifically, saturation of disposed CCR
                                            disposal in RCRA subtitle D landfills in                HQ of 14 for pentavalent arsenic to 26                provides a larger reservoir of leachate
                                            1991. See, 40 CFR part 257, subpart A                   for trivalent arsenic, based on the                   and the hydraulic gradient across the
                                            and part 258. Indeed, most coal-fired                   ingestion of contaminated drinking                    aquifer maintains a hydraulic head that
                                            utilities in the United States were                     water.                                                serves to drive this leachate away from
                                            constructed before 1990.34 Even when                       The practice of co-disposal with coal              the unit. The implications for landfills
                                            units do report having an engineered                    refuse has declined over time. A survey               are particularly significant, as the
                                            liner, they may not perform as well as                  conducted by Electric Power Research                  potential for greater contaminant
                                            previously modeled. The 2014 Risk                       Institute (EPRI) in 1995 showed 34% of                transport from these units can result in
                                            Assessment modeled both clay and                        unlined landfills and 68% of unlined                  higher risks to groundwater than
                                            composite liners based on the                           surface impoundments actively                         previously modeled under dry
                                            presumption both would achieve                          managed CCR with coal refuse.35 In                    conditions. Further, because these
                                            regulatory performance standards. Yet,                  contrast, EPA Surveys indicated that, by              landfills leak directly to groundwater,
                                            facility reports show that around 10% of                2014 this management practice had                     there is potential for these risks to
                                            landfills and surface impoundments                      declined to around 5% of active units.                remain long after the unit has ceased
                                            with a composite liner have already                     EPA’s 2014 national-scale modeling was                operation. This is equally true for
                                            entered into corrective action. Thus,                   based on the 5% reported in the EPA                   impoundments. Even if the hydraulic
                                            many units previously modeled as lined                  Surveys, and as a consequence, this                   head within the aquifer is not as great
                                            are now believed to either have no                      practice had minimal influence on the                 as from ponded water, it can still
                                            engineered liner or to perform more like                overall nationwide risk estimates in the              sustain higher rates of leakage than if
                                            an unlined unit. For these reasons, EPA                 2014 Risk Assessment. However, it is                  the unit were fully dewatered. As a
                                            anticipates that national risks for both                clear from the EPRI data that                         result, removal of the saturated ash may
                                            currently regulated units and those                     management of CCR with coal refuse                    be the only reliable means to control the
                                            newly covered under this rulemaking                     used to be far more common prior to                   source of contamination.
                                            will be closer to those previously                      1995. Of the 283 disposal units that
                                                                                                                                                             Since promulgation of the 2015 CCR
                                            modeled for unlined units. For landfills,               were previously excluded from the 2014
                                                                                                                                                          Rule, EPA has identified evidence of
                                            this could increase national risks by up                Risk Assessment and that reported a
                                                                                                                                                          another way in which disposal below
                                            to an order of magnitude, as high as 2                  start year in the EPA Surveys, around
                                                                                                                                                          the water table could result in greater
                                            × 10¥5 for arsenic. That risk is twice the              91% had already begun operation by
                                                                                                                                                          risk. This disposal practice has the
                                            level that EPA typically considers for                  1995. Therefore, the risks associated
                                                                                                                                                          potential to alter groundwater chemistry
                                            regulation and is the same level of risk                with these older disposal units are
                                                                                                                                                          in ways that increase either the
                                            as those associated with the clay-lined                 likely to be higher than the national
                                                                                                                                                          solubility or mobility of some CCR
                                            CCR surface impoundments that the                       scale risks reported in the 2014 Risk
                                                                                                                                                          contaminants. This is due to the
                                            D.C. Circuit required to close.                         Assessment.
                                                                                                                                                          residual, unburnt organic matter in CCR
                                               Second, a greater number of older                       Finally, it has become apparent since
                                                                                                                                                          serving as a carbon source (i.e.,
                                            units co-disposed CCR with the wastes                   promulgation of the 2015 CCR Rule that
                                                                                                                                                          substrate, electron donor) for bacteria in
                                            generated from coal preparation                         the practice of disposing of CCR below
                                                                                                                                                          the soil. Bacteria preferentially use any
                                            activities, collectively referred to as                 the water table is more common than
                                                                                                                                                          dissolved oxygen (O2) for oxidation of
                                            ‘‘coal refuse.’’ These activities may have              EPA previously understood. EPA was
                                                                                                    aware of this practice in 2014 and raised             organic matter (i.e., electron transfer
                                            included coal handling by conveyor                                                                            from the organic matter to oxygen)
                                            systems, coal washing for removing                      it as an uncertainty in the risk
                                                                                                    assessment, but had little information                because this yields the greatest energy
                                            mineral matter, and coal ‘‘sizing’’ to                                                                        returns for the bacteria. With a sufficient
                                            reduce the average particle size of coal.               about the frequency of this practice.
                                                                                                    EPA’s review of the location restriction              source of biodegradable organic matter,
                                            Co-disposal with coal refuse can have a                                                                       bacterial consumption of oxygen can
                                            pronounced effect on the leaching                       demonstrations posted on facilities’ CCR
                                                                                                    websites found that approximately 31%                 outpace replenishment of dissolved
                                            behavior of CCR because of the potential                                                                      oxygen that occurs through diffusion
                                            for the refuse to make the overall waste                of active CCR surface impoundments
                                                                                                    had waste below the water table. Similar              from the atmosphere and infiltration of
                                            pH far more acidic. Available Leaching                                                                        precipitation. Depletion of oxygen is
                                            Environmental Assessment Framework                      statistics are not currently available for
                                                                                                    landfills, though it is clear from                    more likely to occur in saturated soils
                                            (LEAF) leaching data considered in the                                                                        because the constant presence of water
                                            2014 Risk Assessment show that                          previously identified damage cases that
                                                                                                    this practice is not unique to                        allows biological activity to proceed
                                            multiple Appendix IV constituents are                                                                         unimpeded by periods of drying, the
                                            most soluble under extreme pH                           impoundments. Nor is EPA aware of
                                                                                                    any evidence that would indicate older                relatively slow flow rate of groundwater
                                            conditions and thus able to leak at                                                                           does not transport dissolved oxygen
                                            higher rates. EPA found modeled risks                   units are less likely on the whole to
                                                                                                    have been constructed within the water                from the upgradient side of the unit fast
                                            are highest when CCR was disposed in                                                                          enough to outpace consumption across
                                            surface impoundments with coal refuse.                  table. EPA was unable to model the
                                                                                                                                                          the footprint of the unit, and sustained
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                                            The modeled cancer risks for the co-                    effects of disposal in the water table in
                                                                                                    2014 due to constraints on data                       saturation of the soil limits oxygen
                                                                                                    availability and modeling capabilities.               exchange with the atmosphere. In the
                                              34 United States Energy Information
                                                                                                                                                          absence of oxygen, bacteria will instead
                                            Administration. 2017. ‘‘Most Coal Plants in the
                                            United States were Built Before 1990.’’ Accessed          35 EPRI. 1997. ‘‘Coal Combustion By-Products and    use nitrate, manganese, iron, sulfate,
                                            online at: https://www.eia.gov/todayinenergy/detail.    Low-Volume Wastes Comanagement Survey.’’ Palo         and other compounds for reduction of
                                            php?id=30812.                                           Alto, CA. June.                                       organic matter (i.e., electron transfer to


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                                            organic matter from other compounds).                   geochemical speciation models may be                  i. Problem Formulation
                                            Such reducing conditions will not affect                warranted when field conditions                          EPA first developed conceptual
                                            all constituents equally, serving to                    diverge from those present in the                     models to illustrate a generalized layout
                                            mobilize some and immobilize others.                    laboratory setting (e.g., reducing                    of legacy impoundments and CCRMU,
                                            However, reducing conditions can                        conditions).38 Therefore, there is clear              the different pathways through which
                                            mobilize arsenic, the primary source of                 potential for significantly higher                    constituents may be released from CCR
                                            risks identified in the 2014 Risk                       leachate concentrations than modeled if               and migrate through the environment,
                                            Assessment.                                             a landfill is in contact with                         and the risks to human health and the
                                               Research conducted since the 2014                    groundwater.                                          environment that could result. The
                                            Risk Assessment has better documented
                                                                                                    b. 2024 Risk Assessment and Results                   conceptual models for landfills and
                                            the potential effects of disposal below
                                                                                                       As noted above, a number of                        impoundments were the same as used
                                            the water table on leakage from CCR
                                                                                                    commenters argued the 2014 Risk                       in the 2014 Risk Assessment/EPA
                                            units. Studies published in 2022
                                                                                                    Assessment does not adequately capture                determined that a second model was
                                            examined, among other things, the
                                                                                                    various factors associated with legacy                warranted for CCRMU because some
                                            degree to which environmental
                                                                                                    impoundments and CCRMU that the                       smaller placements have not historically
                                            conditions can differ within the same
                                                                                                    commenters believe will result in                     been regarded as disposal by facilities
                                            closed impoundment, both above and
                                                                                                    significantly different risks than those              and so have not been reliably tracked or
                                            below the water table.36 37 Specifically,
                                                                                                    posed by currently regulated units. In                maintained over time. These smaller
                                            arsenic concentrations measured in the
                                                                                                    response, EPA prepared a supplemental                 placements may be disturbed after land
                                            water intermingled with CCR beneath
                                                                                                    risk assessment to determine the                      use changes, which can result in
                                            the water table were as high as 4,100
                                                                                                    potential for some of these factors to                additional release pathways. Therefore,
                                            mg/L due to the presence of reducing
                                                                                                    affect national risks (‘‘2023 Draft Risk              EPA prepared a second conceptual
                                            conditions and a near neutral pH of 8.
                                                                                                    Assessment’’). EPA began by reviewing                 model for smaller units (i.e., CCRMU
                                            That concentration is substantially
                                                                                                    available information about the                       fills). These conceptual models provide
                                            higher than 20 mg/L, measured from the
                                                                                                    characteristics and locations of legacy               the basis for subsequent modeling
                                            same ash with LEAF Method 1313 at a
                                                                                                    impoundments and CCRMU to                             efforts.
                                            similar pH, or 780 mg/L, which is the                                                                            When CCR are placed on the ground
                                            90th percentile of all impoundment                      determine whether there was any
                                                                                                    potential for the risks from these units              for any purpose, they may leach metals
                                            porewater measurements previously                                                                             and other inorganic contaminants to
                                            compiled by EPA. This indicates that                    to be meaningfully different from
                                                                                                    currently regulated units. This included              groundwater. Once mixed with
                                            the porewater and LEAF data relied on                                                                         groundwater, contamination may
                                            the 2014 Risk Assessment may                            a review of groundwater model results
                                                                                                    previously excluded from the 2014 Risk                migrate downgradient to private wells
                                            significantly underestimate the                                                                               where it is ingested by receptors who
                                            magnitude of leakage from CCR units                     Assessment because the units were
                                                                                                    ultimately not covered by the 2015 CCR                rely on groundwater as their primary
                                            under reducing conditions.                                                                                    source of drinking water. But a receptor
                                               The extent to which the porewater                    Rule.
                                                                                                       As part of this review, EPA grouped                does not need to be presently exposed
                                            data EPA used to model surface
                                                                                                    legacy impoundments and CCRMU                         for there to be a reasonable probability
                                            impoundments in 2014 reflect strong
                                                                                                    disposal units into different categories              of adverse effects on health or the
                                            reducing conditions is not known, as
                                                                                                    based on unit type: (1) Historical and                environment. EPA evaluated this
                                            this information was not commonly
                                                                                                    inactive landfills and (2) Historical and             exposure pathway in the 2014 Risk
                                            reported. Such conditions might occur
                                                                                                    legacy impoundments. The 2024 Risk                    Assessment and identified a set of
                                            during operation as a result of sustained
                                                                                                    Assessment defines historical units as                constituents most likely to pose risk to
                                            saturation or might evolve after an
                                                                                                    those that have steps taken toward                    offsite receptors living up to a mile
                                            impoundment has been drained of
                                                                                                    closure, but that may or may not meet                 away. The 2024 assessment builds on
                                            ponded water and capped, thereby
                                                                                                    all the requirements of § 257.102(d).                 those model results and identifies
                                            decreasing mixing of oxygen within the
                                                                                                    Additionally, EPA further considered                  arsenic, lithium, molybdenum, and
                                            unit. However, it is known that the
                                                                                                    the influence of unit size on risk and                thallium as constituents that warranted
                                            LEAF data used to model landfills does
                                                                                                    conducted additional modeling for the                 further evaluation. These are the
                                            not reflect reducing conditions. All
                                                                                                    subset of CCRMU that is smallest in                   constituents found in the 2014 Risk
                                            standardized leaching tests tend to
                                                                                                    size, those used as fill or for similar               Assessment to pose the greatest risk for
                                            reflect oxidizing conditions due to
                                                                                                    purposes (hereafter ‘‘CCRMU fills’’).                 unlined surface impoundments and
                                            contact between the sample and the
                                                                                                    Because facilities have not historically              have the greatest demonstrated potential
                                            atmosphere during sample collection
                                                                                                    regarded such placement as disposal                   to spread and pose risk on a national
                                            and laboratory analysis. As such, it has
                                                                                                    units or necessarily maintained                       scale. These 2014 model results
                                            since been recognized that further
                                                                                                    associated records, EPA believes there is             therefore also provide a reasonable
                                            analysis of leachate data with
                                                                                                    potential for exposures different than                screen to identify the most likely risk
                                              36 Wang, X., A.C. Garrabrants, Z. Chen, H.A. van
                                                                                                    those previously considered for landfills             drivers for receptors living even closer
                                            der Sloot, K.G. Brown, Q. Qiu, R.C. Delapp, B.          and surface impoundments.                             to these types of units.
                                            Hensel, and D.S. Kosson. 2022. ‘‘The Influence of       Specifically, EPA evaluated the                          When CCR is placed in fills and left
                                            Redox Conditions on Aqueous-Solid Partitioning of       potential for risk from onsite exposure               unmonitored, the ash can be disturbed
                                            Arsenic and Selenium in a Closed Coal Ash               to contaminated groundwater or CCR                    in the future when land use changes. In
                                            Impoundment.’’ Journal of Hazardous Materials.
                                            428:128255.
                                                                                                    accumulations in the soil under a future              the absence of records of the presence
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                                              37 Wang, X, H.A. van der Sloot, K.G. Brown, A.C.      residential land use scenario.                        of CCR, and in the absence of inspection
                                            Garrabrants, Z. Chen, B. Hensel, and D.S. Kosson.                                                             and maintenance, any engineering
                                            2022. ‘‘Application and Uncertainty of a                  38 U.S. EPA. 2019. ‘‘Leaching Environmental
                                                                                                                                                          controls currently present that might
                                            Geochemical Speciation Model for Predicting             Assessment Framework (LEAF) How-To Guide:
                                            Oxyanion Leaching from Coal Fly Ash under               Understanding the LEAF Approach and How and
                                                                                                                                                          serve to limit exposure cannot
                                            Different Controlling Mechanisms.’’ Journal of          When to Use It.’’ Office of Land and Emergency        reasonably be assumed to remain in
                                            Hazardous Materials. 438:129518.                        Management. Washington, DC. May.                      place in perpetuity. For this reason, EPA


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                                            considered the potential for additional                 as 2 for arsenic III, 2 for lithium, and 1               Commenters stated that the smaller
                                            exposure pathways that could occur                      for molybdenum.                                       size of historical and inactive disposal
                                            under a future residential land use                        Differences between these risks and                units would result in lower volumes of
                                            scenario. The 2014 Risk Assessment did                  those for currently regulated units are               leakage and could not sustain plumes of
                                            not evaluate risks from direct placement                attributed primarily to differences in the            the same magnitude as from larger
                                            of CCR in the soil. However, EPA                        prevalence of engineered liners modeled               regulated units. EPA reviewed data from
                                            previously identified radium as a                       for the two sets of units. The previously             the EPA Surveys to determine whether
                                            constituent of concern in the 2015 CCR                  excluded units were modeled as having                 the sizes of previously excluded units
                                            Rule and included two radioisotopes on                  no engineered liner at 71% of landfills               are substantially different than EPA
                                            the Appendix IV list for groundwater                    and 57% of impoundments, compared                     modeled for currently regulated units.
                                            monitoring, radium-226 and radium-                      to 42% of landfills and 65% of                        This comparison indicates that
                                            228. These radioisotopes are part of                    impoundments for currently regulated                  excluded units do tend to be somewhat
                                            larger, naturally occurring decay chains                units. For unlined units, the arsenic III             smaller. The average size modeled for
                                            that begin with uranium-238 and                         risk from previously excluded units was               excluded units was 77 acres for landfills
                                            thorium-232, respectively. Even if some                 1 × 10¥5 for landfills and 2 × 10¥4 for               and 28 acres for impoundments. The
                                            form of cover remains over the ash,                     surface impoundments, while                           average size modeled for regulated units
                                            future receptors who live on or around                  corresponding risk from regulated units               was 107 acres for landfills and 47 acres
                                            a fill may be exposed to radiation                      were 2 × 10¥5 for landfills and 3 × 10¥4              for impoundments. Despite these
                                            through direct exposure to gamma                        for surface impoundments. Since all of                differences, there remains a great deal of
                                            radiation or inhalation of radon gas.                   this modeling was completed in 2014, it               overlap in the range of sizes for both
                                            Therefore, EPA considered potential for                 has been discovered through facility                  sets of units. Further, as described
                                            exposure to the full decay chains of                    reporting that a greater percentage of                above, similar risks were identified for
                                            these radium isotopes as the primary                    regulated units has no engineered liner               both sets of units. Thus, there is no
                                            risk driver for this pathway.                           than EPA previously modeled. For                      indication that size differences of this
                                                                                                    example, in the 2014 Risk Assessment,                 magnitude have any notable effect on
                                            ii. Disposal Unit Groundwater Risk
                                                                                                    EPA estimated that 65% of                             national risk. Nor is there any
                                               All disposal units pass through the                  impoundments had no engineered liner                  information available about the units
                                            same lifecycle stages, ranging from                     based on the EPA Surveys.39 It has since              not captured in the EPA Surveys that
                                            initial construction to final closure. As               become clear that even fewer                          would indicate these remaining units
                                            a result, there is potential for historical             impoundments are actually lined. EPA’s                are significantly smaller. Therefore, EPA
                                            and inactive disposal units to result in                review of available liner demonstration               concludes that the 2014 Risk
                                            the same types of environmental                         documents posted on facilities’ CCR                   Assessment adequately captures the
                                            releases as currently regulated units                   websites indicates closer to 83% of have              effects of unit size on national risk.
                                            over the course of their lifecycle. The                 no engineered liner. EPA has seen no
                                            fact some historical and inactive units                                                                       iii. CCRMU Fill Groundwater Risk
                                                                                                    evidence that would indicate older
                                            may have since drained ponded                           historical and inactive units would be                   EPA conducted national-scale
                                            wastewater or installed some form of                                                                          modeling of CCRMU fills to understand
                                                                                                    lined at any greater frequency. Thus,
                                            cover system does nothing to remediate                                                                        the potential groundwater risks that
                                                                                                    EPA concludes that the national risks
                                            any prior releases. EPA conducted a                                                                           could result from these smaller
                                                                                                    for regulated and previously excluded
                                            review of the available data on these                                                                         placements of CCR. The exposure route
                                                                                                    units will fall closer to those modeled
                                            historical and inactive units to                                                                              evaluated for was human ingestion of
                                                                                                    for unlined units.
                                            understand whether the associated risks                    EPA reviewed available data on                     groundwater used as a source of
                                            would be expected to differ from those                  facility location to understand whether               drinking water. The evaluation
                                            previously modeled for regulated units.                                                                       incorporated many of the same data
                                                                                                    environmental conditions (e.g.,
                                               The 2014 Risk Assessment modeled                                                                           sources used in the 2014 Risk
                                                                                                    precipitation, soil type) at inactive and
                                            risks for a total of 122 landfills and 163                                                                    Assessment to characterize the
                                                                                                    active facilities could be substantially
                                            impoundments that were ultimately                                                                             variability of site conditions. Two
                                            excluded from the final summary of                      different than previously modeled. Such
                                                                                                                                                          models were used to evaluate
                                            national risks because it was determined                conditions can affect the rate of leakage
                                                                                                                                                          contaminant fate and transport,
                                            that these units fell outside the scope of              from a unit and subsequent transport of
                                                                                                                                                          EPACMTP and MODFLOW–USG.
                                            the 2015 CCR Rule. These units were                     that leachate through the subsurface.
                                                                                                                                                          EPACMTP was run first at specified
                                            excluded because they were anticipated                  This review found that around 80% of
                                                                                                                                                          distances along the centerline of the
                                            to cease receipt of waste prior to the                  the active and inactive facilities that
                                                                                                                                                          plume to understand the potential for
                                            effective date of the rule. Therefore,                  were not subject to the 2015 CCR Rule                 releases to occur and spread further
                                            model results for these previously                      had already been modeled as part of the               downgradient. MODFLOW–USG was
                                            excluded units directly address the                     2014 Risk Assessment and so are                       then run for a subset of the conditions
                                            historical and inactive units subject to                already reflected in the risk results for             to understand the broader magnitude
                                            the current rulemaking. EPA reviewed                    those previously excluded units. The                  and extent of these plumes.
                                            model results for these previously                      remaining 20% of facilities are located                  Groundwater concentrations modeled
                                            excluded units to better understand                     an average distance of 26 miles from the              with EPACMTP at the waste boundary
                                            whether the associated risks were any                   nearest modeled facility. Therefore, EPA              were first compared to respective GWPS
                                            different from those of currently                       concludes that the 2014 Risk                          to understand the potential for fills to
                                            regulated units. For highly exposed                     Assessment adequately captures the                    impact groundwater quality to an extent
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                                            individuals, landfills were estimated to                effects of facility location on national              that would trigger corrective action at
                                            pose cancer risks as high as 7 × 10¥6                   risk.                                                 regulated landfills. The 90th percentile
                                            from arsenic III, while surface                           39 U.S. EPA. 2014. ‘‘Human and Ecological Risk
                                                                                                                                                          concentrations exceeded GWPS by
                                            impoundments were estimated to pose                     Assessment of Coal Combustion Residuals.’’ RIN
                                                                                                                                                          factors of 26 for arsenic III, 19 for
                                            cancer risks as high as 8 × 10¥5 from                   2050–AE81. Office of Solid Waste and Emergency        arsenic V, 156 for molybdenum, and 19
                                            arsenic III and noncancer HQs as high                   Response. Washington, DC. December.                   for thallium. The 50th percentile


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                                            concentrations exceeded GWPS by a                       average exceedance of 4 times GWPS. It                possible, quantitatively analyzed these
                                            factor of two for molybdenum. Based on                  would take around 100 years from the                  sources to understand the potential
                                            these results, EPA finds that CCRMU                     time of first exceedance for the plume                effects each may have on modeled risks.
                                            fills can meaningfully contribute to                    to fully dissipate. Plumes of these size              EPA also conducted further sensitivity
                                            groundwater contamination across a                      and duration could readily sustain                    analyses to understand how the
                                            facility.                                               exposures for typical residential                     modeled national risks vary in response
                                               Groundwater concentrations modeled                   receptors that are anticipated to use                 to changes in sensitive parameters and
                                            with EPACMTP at 500 and 1,000 feet                      around 80 gallons of water a day for all              to evaluate the potential for risks
                                            away from the waste boundary were                       indoor household needs, resulting in                  through exposure pathways that could
                                            used calculate risks to individual RME                  less than 0.8 Mgal of use over 26 years               not be fully modeled on a national scale.
                                            receptors exposed to these                              of exposure.                                             The major source of uncertainty
                                            concentrations. The 90th percentile                                                                           identified for the groundwater model is
                                            concentration of each modeled                           iv. CCRMU Fill Soil Risk
                                                                                                                                                          the potential for greater risk from
                                            constituent exceeded at least one risk                     EPA modeled of CCRMU fills to                      multiple units located in close
                                            benchmark at 1,000 feet. This indicates                 understand the potential risks that                   proximity. The EPA Surveys did not
                                            potential for leakage from fills to spread              could result from CCR present in the                  provide information on the relative
                                            at environmentally significant                          soil. Exposure routes initially                       location or orientation of different
                                            concentrations. However, because these                  considered for evaluation were human                  landfills and impoundments at any
                                            model runs represent concentrations at                  inhalation of radon gas and direct                    given facility and so the 2014 Risk
                                            a fixed location, they do not provide                   exposure to gamma radiation emitted
                                                                                                                                                          Assessment modeled risks from each
                                            broader information about the                           from the CCR. However, based on a
                                                                                                                                                          unit individually. However, the Agency
                                            magnitude and extent of the plume. As                   preliminary review of available data,
                                                                                                                                                          is now aware of many instances where
                                            a result, EPA does not rely primarily on                EPA determined that radon emanation
                                                                                                                                                          multiple units are located directly
                                            these results to draw direct conclusions                from CCR (i.e., fraction of radon able to
                                                                                                                                                          adjacent to one another, resulting in a
                                            about overall risk. Instead, the Agency                 escape into the surrounding air) is
                                                                                                                                                          larger total area over which leakage can
                                            retained a subset of these model runs for               generally lower than from most soils.
                                                                                                                                                          occur. This could result in greater
                                            both arsenic V and molybdenum from                      Despite the higher overall activity of
                                                                                                                                                          cumulative risk to offsite receptors than
                                            around the 90th percentile                              CCR, the resulting radon emanation
                                                                                                                                                          predicted based on contributions from
                                            concentrations modeled at 1,000 ft. EPA                 from the ash is not distinguishable from
                                                                                                    that of most surface soils. Therefore,                each individual unit. Furthermore, there
                                            selected pentavalent arsenic because it
                                                                                                    EPA did not retain exposure to radon for              is potential for legacy impoundments
                                            is the less mobile species and so
                                                                                                    further consideration.                                and CCRMU (disposal units and fill) to
                                            provides a reasonable bounding on the
                                                                                                       Modeling of exposure to gamma                      confound groundwater monitoring
                                            high-end concentrations that can result
                                                                                                    radiation was conducted with the EPA                  programs when located upgradient of a
                                            for this contaminant. These runs were
                                                                                                    PRG calculator. EPA evaluated the                     regulated unit. Ongoing leakage from
                                            retained for further modeling with
                                                                                                    potential for direct exposure to gamma                these unregulated units has the
                                            MODFLOW–USG to characterize the
                                                                                                    radiation from CCR under a soil cover                 potential to skew the characterization of
                                            full magnitude and extent of each plume
                                                                                                    ranging in thickness from 60 to 20 cm                 background groundwater quality. Under
                                            over time.
                                               The MODFLOW–USG runs were                            (2 to 0.66 feet). EPA compared the                    these circumstances, any leakage from a
                                            designed with the same inputs as                        combined activity of the uranium-238                  regulated unit would need to progress
                                            corresponding EPAMCTP runs.                             and thorium-232 decay chains in the                   even further and faster to be
                                            Altogether, these model runs reflect a                  CCR to the health benchmarks for each                 distinguishable from that skewed
                                            range of conditions that collectively                   cover thickness to calculate the risks                background. This could delay or
                                            resulted in high-end groundwater                        that could result from receptors living               entirely prevent a regulated unit from
                                            concentrations 1,000 feet from the fill.                on or near the fill. Both 90th and 50th               entering into corrective action, resulting
                                            These corresponding placements of CCR                   percentile activities have potential to               in risk to downgradient receptors.
                                            range from around 3,500 to 70,000 tons                  result in cancer risks at or above 1 ×                   EPA conducted a sensitivity analysis
                                            placed over areas between 0.15 to 2.0                   10¥5 with a cover of 40 cm. The 90th                  to determine whether there is a unit size
                                            acres. EPA calculated the midpoint                      percentile activity resulted in a cancer              below which adverse impacts to
                                            across these runs to define values                      risk of 1 × 10¥4 with a cover of 20 cm.               groundwater quality are unlikely and
                                            representative of the 90th percentile                   This indicated the potential for even                 monitoring is not warranted. This
                                            model runs. For arsenic V, the model                    higher risk if the cover were to be                   analysis found exceedances of GWPS
                                            identified a peak risk of 1 × 10¥4                      disturbed and the CCR brought to the                  are possible for placements below 1,000
                                            averaged over 32 million gallons (Mgal)                 ground surface. However, evaluation of                tons. Thus, such placements can
                                            of groundwater and a peak volume of                     this scenario would require additional                meaningfully contribute to groundwater
                                            147 Mgal with an average risk of 7 ×                    assumptions about the degree of mixing,               contamination at these facilities. It was
                                            10¥5. The same leakage of arsenic V                     which could be a major source of                      not possible to identify a limit much
                                            would result in a peak GWPS                             uncertainty on a national scale.                      lower than this tonnage because of the
                                            exceedance of three averaged over a                     Therefore, EPA retained this scenario                 few model runs conducted at smaller
                                            plume volume of 1.2 Mgal and a peak                     for further consideration as part of a                amounts. Extrapolation beyond
                                            plume volume of 8 Mgal with an                          separate sensitivity analysis.                        available model runs could introduce a
                                            average exceedance of 2 times GWPS. It                                                                        great deal of uncertainty into any
                                            would take around 2,300 years from the                  v. Uncertainty and Sensitivity Analyses               specific limit identified. The extent to
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                                            time of first exceedance for the plume                     EPA reviewed the models used, as                   which any identified limit could shift
                                            to fully dissipate. For molybdenum, the                 well as the data and assumptions input                higher or lower in response to further
                                            peak exceedance of both risk benchmark                  into the models, to better understand                 modeling around these lowest tonnages
                                            and GWPS was 10 averaged over a                         the potential sources of uncertainty                  is not known. Therefore, the Agency
                                            plume volume of 27 Mgal and a peak                      inherent in the model results. The                    could not identify a lower limit based
                                            plume volume of 80 Mgal with an                         Agency qualitatively and, to the extent               on the current modeling.


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                                               EPA conducted further sensitivity                    incremental increase above background                 with the soil and direct exposure to
                                            analyses to better characterize the risks               does not alter overall results. Therefore,            gamma radiation from radium and its
                                            to human health that may result from                    the potential for risk from accumulation              associated decay chains. Health effects
                                            mixing of CCR with the soil. There is                   of CCR within the soil column remains                 attributed to radium exposure include
                                            little data available to predict the                    even if future residential land use is not            increased risk of several types of cancer,
                                            likelihood of different degrees of mixing               anticipated.                                          particularly lung and bone cancer.
                                            that could occur across the country.                                                                          Potential ecological risks are driven by
                                                                                                    vi. Final Conclusions
                                            Instead, EPA considered the                                                                                   exposure to antimony for mammals,
                                            incremental contributions from CCR                         Based on the analyses summarized in                selenium for plants and mammals, and
                                            through increased mixing with soil to                   the current risk assessment, EPA                      vanadium for birds from ash mixed with
                                            identify the point at which                             concludes that there is a reasonable                  the soil. Health effects attributed to
                                            accumulation would raise concern. This                  probability of adverse effects on health              these exposures are decreased
                                            analysis focused on radionuclides                       and the environment due to leakage                    reproduction, growth, or survival. EPA
                                            previously identified as potential risk                 from legacy CCR surface impoundments                  did not seek to identify a
                                            drivers for soil, but also considered                   and CCRMU. EPA’s assessment                           comprehensive list of other
                                            contributions from arsenic that may                     estimates that the risks that leakage from            contaminants that might also contribute
                                            further contribute to cancer risk. The                  these units would adversely impact                    to risk as part of the current assessment;
                                            exposure pathways considered were                       groundwater quality and pose risk to                  however, any further risk would be
                                            incidental ingestion of the CCR and soil                future receptors fall within the range                equally addressed by controls put in
                                            mixture and direct exposure to gamma                    EPA typically considers warrants                      place to mitigate the identified soil
                                            radiation. For radionuclides, cancer                    regulation under section 4004(a) (i.e.,               risks.
                                            risks above 1 × 10¥4 are possible for                   cancer risks greater than 1 × 10¥5 and
                                                                                                    non-cancer risks exceeding an HQ of 1).               B. Legacy CCR Surface Impoundment
                                            residential receptors at mixing of more                                                                       Requirements
                                            than 11% for 90th percentile activity                   Older historical and inactive disposal
                                            and 21% for 50th percentile activity.                   units can pose risks to offsite receptors               The Agency is amending the CCR
                                            For arsenic, cancer risks above 1 × 10¥4                substantially the same as previously                  regulations in 40 CFR part 257, subpart
                                            are possible at mixing of more than 33%                 reported for currently regulated units.               D to require legacy CCR surface
                                            for 90th percentile concentration, but                  Smaller CCRMU fills can pose risk to                  impoundments to comply with the same
                                                                                                    onsite receptors and materially                       regulations that apply to inactive CCR
                                            would not occur at any degree of mixing
                                                                                                    contribute to broader groundwater                     impoundments at active facilities,
                                            for 50th percentile concentration. Both
                                                                                                    contamination across the facility.                    except for the location restrictions (at
                                            radionuclides and arsenic also occur
                                                                                                    Depending on the location of these fills,             §§ 257.60–257.64) and liner design
                                            naturally in soil; however, levels in CCR
                                                                                                    they can also pose risk to offsite                    criteria (at § 257.71). EPA is also
                                            can be markedly higher than typical
                                                                                                    receptors. The risks identified for                   establishing new requirements to
                                            background levels. In particular, EPA
                                                                                                    CCRMU fills are also believed to                      address issues specific to legacy CCR
                                            has identified the potential for CCR to
                                                                                                    provide a bounding estimate on the                    surface impoundments. Finally, EPA is
                                            have a combined radium activity nearly
                                                                                                    risks posed by disposal units, as leakage             establishing new compliance deadlines
                                            10 pCi/g above typical background soils.
                                                                                                    from these larger units would generally               for legacy CCR surface impoundments.
                                            This is greater than the ARAR that has
                                                                                                    be expected to result in more extensive
                                            been applied at some cleanups for                                                                             1. Definition of a ‘‘Legacy CCR Surface
                                                                                                    releases than modeled for fills. Risks to
                                            surface and subsurface soils under                                                                            Impoundment’’
                                                                                                    human health from groundwater are
                                            Superfund and State programs. As such,                  anticipated to be driven by ingestion of                 EPA is finalizing the proposed
                                            consideration of the incremental                        arsenic, lithium, molybdenum, and/or                  definition of a ‘‘legacy CCR surface
                                            increase above background does not                      thallium. Health effects associated with              impoundment’’ without revision. A
                                            alter the overall results of this analysis.             arsenic ingestion are an increase in the              legacy CCR surface impoundment must
                                            Therefore, EPA concludes that                           risk of cancer in the skin, liver, bladder,           meet three criteria: (1) The unit meets
                                            accumulation of CCR within the soil                     and lungs, as well as nausea, vomiting,               the definition of a CCR surface
                                            column can result in risks within the                   abnormal heart rhythm, and damage to                  impoundment; (2) The unit contains
                                            range that EPA considers or regulation.                 blood vessels. Health effects associated              both CCR and liquids on or after
                                               EPA separately considered the                        with ingestion of lithium are                         October 19, 2015; and (3) The unit is
                                            potential for risk to ecological receptors              neurological and psychiatric effects,                 located at an inactive electric utility or
                                            that may result from mixing of CCR with                 decreased thyroid function, renal                     independent power producer. An
                                            the soil based on comments received                     effects, cardiovascular effects, skin                 inactive impoundment must meet all
                                            that a future use for these facilities                  eruptions, and gastrointestinal effects               three criteria to be a legacy CCR surface
                                            could be as a nature preserve. EPA                      Health effects associated with                        impoundment. This definition is
                                            calculated the incremental contributions                molybdenum ingestion are higher levels                codified in § 257.53.
                                            from CCR as described above and                         of uric acid in the blood, gout-like                     EPA estimates there are 194 legacy
                                            compared the resulting concentrations                   symptoms, and anemia. Health effects                  CCR surface impoundments located at
                                            to available ecological benchmarks. This                associated with thallium ingestion are                85 facilities that will be subject to the
                                            analysis focused on constituents for                    hair loss, ocular effects, and behavioral             requirements of this final rule.40 This
                                            which ecological soil screening levels                  changes.                                              estimate also takes into account the
                                            are available. This comparison indicates                   EPA also concludes the unmonitored                 information received in response to the
                                            that antimony, selenium, and vanadium                   accumulation of CCR in surface and                    Agency’s lists of potential legacy CCR
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                                            are most likely to drive risk and require               subsurface soils has the potential to                 surface impoundments published in the
                                            further evaluation at both high-end and                 result in risk to future human and                    dockets with the proposed rule and
                                            median ash concentrations. In some                      ecological receptors in the range OLEM
                                                                                                                                                            40 An updated list of potential legacy CCR surface
                                            cases, ecological benchmarks are lower                  typically considers for regulation.                   impoundments can be found in the docket for this
                                            than typical background soil levels.                    Potential human health risks are driven               action. See document titled ‘‘Universe of Legacy
                                            However, consideration of the                           by incidental ingestion of ash mixed                  CCR Surface Impoundments. April 2024.’’



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                                            subsequent notice of data availability.                 Second, an October 19, 2015                           impoundments that are in the process of
                                            This estimate is an increase from the                   applicability date would restore the                  closing or have completed closure.
                                            127 legacy CCR surface impoundments                     status quo, as intended by court’s                       Several commenters similarly raised
                                            located at 59 facilities identified in the              decision to vacate the exemption. EPA                 concern that the proposal ignores that
                                            proposed rule. 88 FR 32028.                             also concluded that this was the most                 there have been numerous changes
                                              The sections below briefly explain                    protective option. 88 FR 31990–31991.                 since the court issued its decision in
                                            what EPA proposed, summarize the                        However, as an alternative, the Agency                2018. For example, some commenters
                                            public comments received, and provide                   also solicited comment on defining a                  stated that facilities have proactively
                                            the Agency’s responses.41 The Agency                    legacy impoundment as a unit that                     worked with their States to close these
                                            addresses several aspects of the                        contains both CCR and liquids on or                   impoundments and have invested
                                            definition in the following order: (1)                  after the effective date of this final rule           substantial resources to close these units
                                            Date for determining applicability; (2)                 in 2024. 88 FR 31991–92.42                            in compliance with existing regulatory
                                            The requirement to contain both CCR                        Several commenters opposed the                     requirements and thus these units
                                            and liquids; and (3) The requirement to                 proposed applicability date of October                should not be considered legacy
                                            be located at an inactive facility.                     19, 2015, stating that the only legally               impoundments. According to these
                                                                                                    defensible and workable approach is to                commenters, the final rule should take
                                            a. Legacy CCR Surface Impoundment—                      establish an applicability date based on              into account the significant closure and
                                            Date for Determining Applicability                      the effective date of this final rule. Some           corrective action work that has been
                                               EPA explained in the proposed rule                   of these commenters argued that an                    undertaken since the 2015 CCR Rule
                                            that the 2015 CCR Rule exempted                         applicability date of October 19, 2015,               was promulgated, rather than assuming
                                            ‘‘inactive surface impoundments at an                   would constitute a retroactive rule,                  the landscape has not changed over
                                            inactive facility’’ and codified                        which they considered to be both legally              subsequent years.
                                            definitions of an ‘‘inactive CCR surface                impermissible and unreasonable. These                    In addition, a number of commenters
                                            impoundment’’ and an ‘‘active facility                  commenters stated that establishing an                noted that the proposed definition
                                            or active electric utility.’’ The Agency                applicability date based on the effective             would capture numerous sites where
                                            further stated that in developing a                     date of this final rule would honor the               former legacy CCR surface
                                            definition of a ‘‘legacy CCR surface                    bedrock administrative principle that                 impoundments were closed by removal
                                            impoundment’’ two separate                              ‘‘rules should apply prospectively                    under then-applicable State regulations
                                            components need to be addressed: (1)                    absent express statutory grant’’                      and where no CCR remains. These
                                            The definition of an ‘‘inactive CCR                     consistent with Bowen v. Georgetown                   commenters raised concern that EPA
                                            surface impoundment’’; and (2) The                      Univ. Hosp., 488 U.S. 204, 208–09                     lacks jurisdiction under RCRA to
                                            definition of an ‘‘inactive facility or                 (1988).                                               impose requirements at a site once all
                                            electric utility.’’ 88 FR 31989.                           Other commenters stated that EPA                   CCR has been removed. Many of these
                                               At proposal, the Agency relied on the                was overreading the USWAG decision                    commenters further asserted that EPA
                                            existing definitions of an ‘‘inactive CCR               and inappropriately interpreting the                  should accept such closure as sufficient
                                            surface impoundment’’ and ‘‘active                      court’s decision. These commenters                    to protect the environment and not seek
                                            facility or active electric utilities or                stated that the court did not specify how             to impose an unnecessary set of
                                            independent power producers,’’ as well                  legacy impoundments should be                         requirements. Finally, some
                                            as the 2018 USWAG decision to inform                    regulated, or the appropriate                         commenters explained that some of
                                            the options discussed. Specifically, EPA                applicability date and regulatory                     these sites have subsequently been
                                            explained that both terms establish                     controls that should apply to the units               restored and are now home to
                                            applicability based in part on the                      but remanded those issues to EPA to                   established natural ecosystems, and
                                            effective date of the 2015 CCR Rule—a                   address through rulemaking. These                     thus it would be counterproductive to
                                            unit is an ‘‘inactive CCR surface                       commenters further stated that the                    require them to be disturbed.
                                            impoundment’’ if it does not receive                    court’s ruling was based on the                          By contrast, a number of commenters
                                            CCR on or after October 19, 2015, and                   administrative record for the 2015 CCR                asserted that the record has not
                                            still contains both CCR and liquids on                  Rule, which they claimed is very                      significantly changed since the court
                                            or after October 19, 2015, and an ‘‘active              different than the current record for the             issued its opinion. These commenters
                                            facility or active electric utilities or                facilities that would be covered by the               stated that all legacy impoundments,
                                            independent power producers’’ is only                   proposal. According to these                          including those that have been
                                            active if it was in operation on or after               commenters, the court was focused only                dewatered or completed closure, pose
                                            October 19, 2015. 40 CFR 257.53.                        on those legacy impoundments for                      significant risks to human health and
                                               The Agency proposed to define a                      which significant risks remained, which               the environment that warrant regulation
                                            legacy CCR surface impoundment, in                      they characterized as exclusively CCR                 under RCRA. Citing the USWAG
                                            part, as a surface impoundment that                     surface impoundments with a hydraulic                 decision and EPA’s findings from the
                                            contained both CCR and liquids on or                    head. These commenters argue that, by                 2015 CCR Rule and the proposal, these
                                            after October 19, 2015. EPA explained                   contrast, the proposal will also apply to             commenters stated that the risks
                                            in the proposed rule, that using October                CCR surface impoundments for which                    associated with legacy impoundments
                                            19, 2015 as the date to determine                       EPA has failed to demonstrate any                     are greater than currently regulated
                                            applicability was most consistent with                  significant level of risk, which they                 units because they are more likely than
                                            the USWAG decision; first because                       characterized as (1) CCR impoundments                 regulated ponds to be unlined, more
                                            legacy CCR surface impoundments                         that contain ‘‘any amount of water,’’ but             likely not to have been designed by a
                                                                                                    no hydraulic head; and (2) CCR                        professional engineer, and more likely
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                                            would be regulated the same as the
                                            currently regulated inactive                                                                                  to contain a mix of ash and coal refuse,
                                            impoundments at active facilities.
                                                                                                      42 EPA also published an ANPRM on October 14,       all of which increase the potential for
                                                                                                    2020 (85 FR 65015). The Agency solicited input on     groundwater contamination. The
                                                                                                    a potential definition of a legacy CCR surface
                                              41 EPA’s responses to public comments can be          impoundment in the ANPRM and addressed
                                                                                                                                                          commenters further noted that harm
                                            found either in this preamble or the Response to        comments to the ANPRM in the subsequent               from contaminant releases from legacy
                                            Comments document available in the docket.              proposal. 88 FR 31989–91.                             ponds worsens as time passes, citing the


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                                            finding in EPA’s 2014 Risk Assessment                   Indiana, leaking ash pits at the plant are               Several commenters also supported
                                            that peak contaminant releases from                     contaminating groundwater with high                   EPA’s proposal to regulate units at sites
                                            CCR surface impoundments will not                       levels of boron within 500 feet of public             that are heavily vegetated or
                                            occur until 70 years after waste                        drinking water wells and the Ohio                     redeveloped on the surface with
                                            placement.                                              River.                                                established natural ecosystems, stating
                                               These commenters also estimated that                    • At Georgia Power’s retired Plant                 that the possibility that conducting a
                                            close to half a million people live                     Arkwright, the unlined abandoned ash                  proper closure might disrupt the current
                                            within 1 mile of the 417 active and                     ponds have been leaking chemicals,                    land use is outweighed by the fact that
                                            inactive coal-fired power plants in 44                  such as boron, at levels above health                 inadequately closed units pose ongoing
                                            States and Puerto Rico that have                        standards into the groundwater and                    threats to health and the environment.
                                            reported coal ash units. Using the                      nearby Ocmulgee River for nearly 20                   These commenters also supported
                                            Council on Environmental Quality’s                      years, according to a peer-reviewed                   coverage of legacy impoundments that
                                            (CEQ) Climate and Economic Justice                      study.43                                              had completed or were undergoing
                                            Screening Tool (CEJST), the commentor                                                                         closure pursuant to State programs,
                                            estimated that approximately half (213)                    According to these commenters,                     citing EPA’s review of State programs as
                                            of the facilities are located within a mile             substantial risks to human health and                 part of the 2015 CCR Rule, which
                                            of a disadvantaged community, while                     the environment remain even where the                 concluded that significant gaps remain
                                            over 70% of the facilities (297 of 417)                 impoundment has been dewatered or                     in many State programs, and discussing
                                            are located near a community that has                   closed. In support of this conclusion,                specific examples of problematic State
                                            higher-than-State average levels of low-                the commenters pointed to EPA’s                       permits.
                                            income populations or populations of                    explanation in the proposal that even if                 Some commenters also stated that the
                                            color. These commenters also estimated                  impoundments have been at least                       proposed applicability date of October
                                            that many of the communities living                     partially dewatered or have undergone                 19, 2015, presents serious practical
                                            nearby may experience cumulative                        some type of closure, the current risks               challenges to implementation because it
                                            impacts from other threats. CEJST offers                to human health and the environment                   requires facilities to look back more
                                            data at the census tract-level on PM2.5                 can still be significant, due to                      than eight years to determine the
                                            exposure, diesel particulate matter,                    contamination remaining at the site                   historical status of legacy
                                            traffic proximity, abandoned mine land,                 from releases that occurred while the                 impoundments. Commenters explained
                                            formerly used defense sites, hazardous                  unit was operating. Referencing data                  that this extended look-back period
                                            waste site proximity, Superfund site                    that legacy impoundments are, on                      could prove to be an impossible task for
                                            proximity, underground storage tanks                    average, 55 years old, the commenters                 sites where power plant operations
                                            and releases, wastewater discharge, and                 also pointed to the proposal’s                        ceased decades ago. Furthermore, the
                                            Risk Management Plan site proximity.                    explanation that the potential                        proposed applicability date illegally
                                            According to the commentor, using                       magnitude of releases from older units                requires actions by facilities that are
                                            CEJST, more than half of the 417 power                  are greater than for currently regulated              physically impossible. For example,
                                            plants with historic or active ash units                CCR units due to a number of factors,                 operating records, construction and
                                            (214) are within one mile of a census                   including (1) the likely absence of a                 inspection reports, groundwater
                                            tract that experiences pollution from at                liner in older impoundments; (2) the                  monitoring data, and employee
                                            least two of these additional sources to                mixture of coal ash with coal refuse,                 testimonials may not exist for some
                                            a degree higher than that of 75% of all                 which was a common disposal practice                  facilities that ceased generating power
                                            census tracts in the United States.                     in older units; and (3) the older a CCR               decades ago. In addition, commenters
                                               The commenters also discussed                        unit is, the longer it has had to leak and            pointed out that historic aerial
                                            several individual legacy                               for hazardous constituents to migrate                 photography will not inform whether
                                            impoundments with longstanding                          further from the unit. The commenters                 liquids are present beneath the surface
                                            groundwater contamination, noting that                  also discussed the results of a report,               of the inactive impoundments. Finally,
                                            for several plants, due to lack of Federal              ‘‘Assessment of Legacy Surface                        some commenters stated that EPA’s
                                            regulation and oversight, little or no                  Impoundments’’ by Gordon Johnson,                     proposed approach is particularly
                                            action has been taken to remediate                      M.Sc., P.Eng., which examined ten CCR                 challenging to small public power
                                            clearly documented contamination.                       surface impoundments at inactive                      utilities given their size, staffing levels,
                                            Among those they highlighted were:                      facilities that were not on EPA’s list of             and record retention policies once a
                                               • At the Muskingum River Power                       potential legacy ponds and do not                     facility is closed.
                                            Plant, where onsite groundwater has                     appear to contain standing water, and                    After considering the comments and
                                            exceeded the primary EPA MCLs for                       concludes that all posed significant                  all of the information in the record, this
                                            barium and gross alpha as well as EPA                   risks to health and the environment.                  final rule adopts the proposed date of
                                            secondary MCLs (SMCLs) for iron,                           As a consequence, these commenters                 October 19, 2015, for determining
                                            sulfate, and Total Dissolved Solids.                    criticized EPA’s proposed definition of               applicability for legacy CCR surface
                                            According to the commenter no                           a legacy impoundment as one that                      impoundments. This applicability date
                                            remediation has occurred to date.                       contains liquid on or after October 19,               is justified for two independently
                                               • At the retired Dynegy Vermilion                    2015. These commenters argue that this                sufficient reasons. First, it most
                                            Power Station in Oakwood, Illinois, 70-                 would exclude surface impoundments                    effectively targets the risks to human
                                            year-old unstable pits with more than 3                 at inactive plants that pose a reasonable             health and environment posed by legacy
                                            million tons of CCR are leaking CCR                                                                           impoundments. Second, it is consistent
                                                                                                    probability of adverse effects on health
                                            constituents into Illinois’ only National                                                                     with the USWAG decision. Accordingly,
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                                                                                                    and environment, whether or not they
                                            Scenic River. The pits run along the                                                                          this final rule specifies that an inactive
                                                                                                    contain liquid.
                                            river for a half-mile where kayaking and                                                                      impoundment at an inactive facility that
                                            other recreational activities are                         43 J.S. Harkness et al., Evidence for Coal Ash
                                                                                                                                                          contained both CCR and liquids on or
                                            common.                                                 Ponds Leaking in the Southeastern United States.
                                                                                                                                                          after October 19, 2015, is a legacy CCR
                                               • At American Electric Power’s                       Environmental Science & Technology, 50(12):           surface impoundment subject to the
                                            retired Tanners Creek in Lawrenceburg,                  6583–6592 (2016).                                     requirements of this final rule. The


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                                            definition of a legacy CCR surface                      or CCR have been entirely removed                     grounds, liquids continue to drain into
                                            impoundment is codified in § 257.53.                    there will be no appreciable risk of                  the cup below.
                                               This option best addresses the risks                 structural failure. But these units                      In a diked impoundment located
                                            legacy impoundments pose to human                       nevertheless continue to present                      above the water table, after the removal
                                            health and the environment. EPA’s                       significant risk to human health and the              of free standing (or ‘‘ponded’’) water,
                                            record for this rule, which includes the                environment as a consequence of                       the CCR in the unit would still remain
                                            2015 rulemaking record, supplemented                    existing—and in some cases,                           saturated with liquids (i.e., the free
                                            by new information, establishes that                    continuing—groundwater                                liquid 44 and/or porewater). Once the
                                            that the environmental risks posed by                   contamination. This contamination can                 CCR material is saturated, some liquids
                                            legacy impoundments are greater than                    exist even where CCR has been entirely                may remain bound within the CCR due
                                            or similar to those posed by operating                  removed from the disposal unit. First, in             to retention forces. However, the
                                            impoundments. EPA acknowledges that                     many cases facilities have only removed               remaining (free) liquids will drain in
                                            it is not bound by the 2015 rulemaking                  some of the free liquids in the                       response to gravity and hydraulic head.
                                            record that the court reviewed in                       impoundment; that is, have only                       Because the saturated waste is at a
                                            USWAG—and, as just stated, in fact has                  partially dewatered. As described in                  higher elevation than the normal water
                                            supplemented that record with new                       Unit III.B.2.g of this preamble, many                 table, the free liquids within the
                                            information for this rulemaking. EPA                    commenters claimed that under the                     saturated waste would continue to drain
                                            further acknowledges that since the                     existing closure regulations they are                 toward the normal water table (‘‘exert
                                            2015 CCR Rule and the USWAG                             only required to eliminate free liquids to            downward pressure’’) even if the unit
                                            decision some units have closed or have                 the extent necessary to support heavy                 no longer contained ponded water on
                                            begun to close in accordance with State                 machinery or other construction                       top of the CCR. Until the water is
                                            permits, or on their own initiative in                  activities (i.e., to the extent necessary to          eliminated from the CCR, gravity will
                                            response to the D.C. Circuit’s ruling. But              support the cover system), rather than to             continue to exert downward pressure on
                                            EPA disagrees that the record shows                     eliminate free liquids without                        the water in the saturated waste, but at
                                            that the risks to human health and the                  qualification, as the regulation requires.            some point, gravity will be insufficient
                                            environment posed by the legacy                         Such units present essentially the same               to overcome the retention forces in the
                                            impoundments regulated under this                       environmental and human health risks                  CCR. Until that point, free liquids will
                                            final rule are significantly or                         the USWAG court was concerned with.                   continue to drain until they reach the
                                            meaningfully lower than the risks the                   Second, to the extent a unit intersects               water table. Continued contact with free
                                            court found to be unacceptable in                       with groundwater, free liquids will                   liquids causes the metals and other
                                            USWAG. In fact, as described in III.A.4                 remain (because the groundwater is                    constituents to leach out of the CCR,
                                            of this preamble, the record instead                    continually saturating the CCR), and the              and the downward pressure of the
                                            demonstrates that the totality of the                   unit will continue to present significant             hydraulic head drives the resulting
                                            risks is potentially greater than EPA                   risks, because the same conditions that               leachate toward the bottom and sides of
                                            estimated in 2014.                                      promote the rapid leaching of                         the unit. In an unlined unit, which the
                                               A subset of legacy impoundments is                   contaminants in operating units are                   overwhelming majority of legacy
                                            identical to those described in USWAG;                  present, and will persist indefinitely.               impoundments are likely to be, any
                                            the impoundments are structurally                       Finally, at many of these sites the                   remaining free liquids saturating the
                                            unstable and pose significant risk of                   existing contamination resulting from                 CCR in the impoundment will
                                            contaminating groundwater because                       when the unlined impoundment was                      eventually leak out of the unit into the
                                            they are unlined, with a hydraulic head                 operating has not been addressed. Each                surrounding soil and/or into the aquifer,
                                            promotes the continual leaching of                      of these are discussed further below.                 along with any CCR constituents that
                                            contaminants from the CCR and drives                       Contrary to the commenters’ claims,                have leached from the waste in the
                                            the resulting leachate into underlying                  the partial dewatering they describe                  interim. As mentioned previously, it is
                                            soils and potentially into the underlying               does not, as they claim, ‘‘eliminate’’                important to note that after this draining
                                            aquifer. No commenter disagreed that                    either the hydraulic head from a unit or              occurs, some liquids will remain bound
                                            these legacy impoundments warrant                       the risk of groundwater contamination.                within the pore spaces of the CCR
                                            regulation under part 257.                              Until the water (liquid) is fully                     material and will not readily drain
                                               Another subset, on which many of the                 removed, gravity will continue to exert               under ambient temperature and
                                            commenters largely focused, have been                   downward pressure on the water in the                 pressure. Consequently, these residual
                                            fully or partially dewatered, or have                   saturated waste until it reaches                      liquids are not free liquids. Because any
                                            completed some form of closure. In                      equilibrium with the water table. Thus,               remaining residual liquids (e.g., bound
                                            response to the proposal, EPA received                  although reducing the water in the unit               porewater or potential leachate) will not
                                            information that since October 19, 2015,                also reduces hydraulic head, hydraulic                continue to drain from the unit absent
                                            22 surface impoundments at inactive                     head will be present as long as water                 other forces, further releases of these
                                            facilities have closed by removal or are                remains in the unit.                                  residual liquids are not likely.
                                            in the process of closing by removal,                      Hydraulic head represents the energy                  By contrast, when some portion of the
                                            and 10 surface impoundments have                        to move a liquid. Liquid flows from                   unit has been constructed in or below
                                            closed with waste in place, either with                 locations of higher hydraulic head to                 the water table, even if the hydraulic
                                            oversight from a State agency or on their               locations of lower hydraulic head. A                  head is reduced by the removal of free-
                                            own initiative in response to the                       simple illustration of hydraulic head is              standing or ponded water, hydraulic
                                            USWAG decision. These commenters                        the water percolating through (i.e.,                  head remains present as long as
                                            claimed that, as a consequence of                       exerting downward pressure on) coffee                 groundwater flows through the unit
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                                            dewatering their units, the units no                    grounds into the cup below. As the
                                            longer pose any appreciable risk.                       water moves through the solids,                          44 Free liquids are any liquids that readily

                                               EPA agrees that once the water in the                particles of the solids combine with the              separate from the solid portion of a waste at
                                                                                                                                                          ambient temperature and pressure. § 257.53. In the
                                            impoundment has been reduced the                        water (create leachate) and drain                     example described above, free liquids are the
                                            likelihood of structural failure will also              downward. Even after the water is no                  liquids that drain from the coffee into the cup
                                            have been reduced; and if the liquid and                longer visible above or among the coffee              below.



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                                            from higher groundwater elevations to                   older the impoundment the greater the                 respect to others. See, 80 FR 21326–
                                            lower groundwater elevations. And even                  likelihood it is unlined; and (2) The                 21327, 21456 and Unit III.B.g.iii. EPA is
                                            where the CCR above the water table in                  more time the unlined unit would have                 aware that some State programs have
                                            such a unit has been partially or fully                 to leak and for hazardous constituents to             been substantially revised since 2015,
                                            dewatered, the ‘‘conditions that promote                migrate further from the unit.                        and some individual States provided
                                            rapid leaching of contaminants’’ still                  Consequently, previous and ongoing                    additional information regarding their
                                            remain as a consequence of the                          releases could potentially be greater and             programs in their comments, but again
                                            continued saturation of CCR in the unit                 have migrated further from the unit than              this is not universal. For example, some
                                            from groundwater infiltrating the unit.                 releases from the universe of currently               commenters documented recent State
                                               As EPA explained in Unit III.A.2 of                  regulated units. In this regard, it is                approved closures that were deemed
                                            this preamble, a CCR landfill saturated                 notable that EPA estimated in its 2014                complete despite the absence of any
                                            with water during operation, either                     Risk Assessment that peak contaminant                 groundwater monitoring to determine
                                            continuously or intermittently, would                   releases from CCR surface                             whether groundwater contamination
                                            behave more like an operating CCR                       impoundments will not occur until 70                  remained at the site. The absence of a
                                            surface impoundment even though such                    years after waste placement. This is                  consistent, sufficiently protective
                                            a unit would not have the level of                      further confirmed by the modeling                     approach among all State programs
                                            hydraulic head from ponded water                        originally conducted in 2014 for legacy               reinforces the need for a single,
                                            present in an operating impoundment.                    impoundments.                                         protective Federal standard.
                                            The same is true of a dewatered legacy                     Furthermore, as described in Unit                     EPA also continues to believe that an
                                            impoundment constructed in or below                     III.A there are a number of additional                applicability date of October 19, 2015, is
                                            the water table. See also 88 FR 32011.                  reasons to believe that the potential                 the most consistent with the USWAG
                                            The hydraulic head from the ponded                      magnitude of releases is even greater                 decision. See, 88 FR 31991. The Court
                                            water in an operating impoundment                       than EPA originally estimated in 2014.                expressly found that EPA’s record for
                                            unit allows for continual leaching of                   These include: (1) The likely absence of              the 2015 CCR Rule demonstrated that
                                            contaminants from CCR and drives the                    a liner at older impoundments; and (2)                legacy ponds ‘‘pose the same substantial
                                            resulting leachate into the underlying                  The greater likelihood that coal ash was              threats to human health and the
                                            soils and potentially into the underlying               managed with coal refuse, which was a                 environment as the riskiest Coal
                                            aquifer. However, where any part of the                 common disposal practice in older                     Residuals disposal methods,
                                            unit is actually constructed below the                  units.                                                compounded by diminished
                                            water table, the conditions caused by                      Finally, defining a legacy                         preventative and remediation oversight
                                            the continuous saturation of the CCR by                 impoundment as one that contains both                 due to the absence of an on-site owner
                                            the groundwater flowing in and out of                   CCR and liquid on or after October 19,                and daily monitoring.’’ 901 F.3d at 432.
                                            the unit allow the contaminants to                      2015, retains oversight of units that may             EPA agrees with this conclusion that
                                            continuously leach directly into the                    have been dewatered but have not yet                  legacy ponds ‘‘pose substantial risk to
                                            nearby ground and surface waters even                   completed closure. In any unit without                human health and the environment.’’ Id.
                                            without any downward pressure from                      an effective cover system, precipitation              Consistent with that determination, the
                                            hydraulic head pushing leachate out of                  can continue to freely migrate into the               final rule imposes essentially the same
                                            the unit. Id.                                           unit, and any leachate generated as a                 requirements on legacy CCR surface
                                               The record shows that significant                    result would be a potential ongoing                   impoundments that currently apply to
                                            numbers of the currently regulated CCR                  source of contamination, particularly                 inactive impoundments at active
                                            surface impoundments were                               where the unit is already leaking or in               facilities. In addition, as EPA explained
                                            constructed such that the base of the                   contact with groundwater. Further,                    in the proposed rule, D.C. Circuit’s
                                            unit intersects with groundwater,45 and                 significant risks can remain if a unit is             decision setting aside the exemption for
                                            that many inactive, or even ‘‘closed,’’                 not closed properly; for example, a                   inactive impoundments meant that
                                            impoundments continue to impound                        closure that leaves that millions of tons             these impoundments were similarly
                                            water below the water table (i.e., contain              of CCR saturated with groundwater and                 situated to the impoundments regulated
                                            liquids).                                               only a cover system to control                        by the 2015 CCR Rule. EPA thus had an
                                               In any event, even if an impoundment                 downward infiltration of precipitation                obligation to address the substantial
                                            has been completely dewatered, the                      will not protect human health and the                 environmental risks from those
                                            current absence of impounded water                      environment. And, as discussed in                     impoundments through regulation. By
                                            does not remediate the releases that                    further detail in the next section, even              setting aside, rather than simply
                                            occurred during operation of the unit. In               at sites where the CCR has been                       remanding the exemption back to the
                                            general, legacy impoundments are likely                 completely removed from the                           Agency for further explanation, the
                                            to have been present for longer than the                impoundment it is possible that, in                   Court made clear that the existing
                                            currently operating units: For example,                 addition to the likely significant                    record was sufficient for these units to
                                            one commenter presented information                     groundwater contamination present at                  be regulated.
                                            to demonstrate that legacy                              the site, contaminated soil remains,                     Nor is EPA persuaded by the
                                            impoundments are, on average, 55 years                  which can serve as a source of further                commenters’ remaining objections to the
                                            old; by comparison, EPA estimated in                    contamination. See, Unit III.B.1.b.ii.(a).            applicability date of October 19, 2015.
                                            2015 that most currently operating                         EPA acknowledges that some of these                EPA disagrees that reliance on the
                                            surface impoundments were between 20                    units may be closing pursuant to State                effective date of the 2015 CCR Rule
                                            and 40 years old. See 80 FR 21327. This                 laws that provide for a significant                   would constitute a retroactive
                                            is significant in two regards: (1) The                  degree of State involvement and                       application of law. A regulation is
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                                                                                                    oversight, but that is not universally the            impermissibly retroactive where, absent
                                               45 EPA’s review of the location restrictions         case. As EPA concluded in 2015, there                 clear Congressional intent, the rule
                                            demonstrations posted on facilities’ CCR websites       is a wide range of protectiveness in                  changes the past legal consequences of
                                            found that approximately 31% of operating
                                            impoundments have waste below the water table.
                                                                                                    State programs. Clear deficiencies were               past conduct. See Bowen v. Georgetown
                                            There is no reason to believe that this percentage      present in some State regulatory                      Univ. Hosp., 488 U.S. 204, 208 (1988).
                                            is not also representative of legacy impoundments.      programs, and questions remained with                 This is generally referred to as primary


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                                            retroactivity. See Bergerco Canada, a                   was therefore necessary to ensure                     the standard for closure by removal in
                                            Div. of Conagra, Ltd. v. U.S. Treasury                  adequate protection of human health                   § 257.102(c). Accordingly, the final rule
                                            Dep’t, Off. of Foreign Assets Control,                  and the environment. To be sure, EPA                  retains the provision specifying that any
                                            129 F.3d 189, 192 (D.C. Cir. 1997). Rules               recognizes that it is possible that some              facility that documents that this
                                            can also affect the legal rights flowing                legacy impoundments, for example, may                 standard has been met will not be
                                            from past acts. See Bergerco, 129 F.3d at               have been closed in a manner that is                  subject to any further requirements. See
                                            192. This is referred to a secondary                    protective. But, due to the absence of                Units III.B.2.b.iii and III.B.2.g of this
                                            retroactivity. Id. Such effects are                     adequate groundwater monitoring and                   preamble for further discussion.
                                            common, and permissible so long as                      other data, the adequacy of such                         The Agency disagrees that adopting
                                            they are not arbitrary or capricious. The               closures cannot be verified. EPA has                  an applicability date of October 19,
                                            D.C. Circuit in Bergerco noted that a rule              also accounted for other reliance                     2015, requires actions that are
                                            may be arbitrary or capricious if it                    interests, including renewable facilities’            physically impossible or that the
                                            ‘‘makes worthless substantial past                      use of land containing CCRMU, in                      implementation challenges cannot be
                                            investment incurred in reliance upon                    establishing compliance deadlines, and                addressed. The final rule does not
                                            the prior rule.’’ Id.                                   allowing for deferrals of additional                  require owners and operators to acquire
                                               Here EPA is merely relying on a past                 closure measure where appropriate.                    historical operating records,
                                            fact to support the future application of               EPA also notes that regulated entities                construction and inspection reports,
                                            regulations. And because EPA has                        have been on notice since the D.C.                    groundwater monitoring data, and
                                            established future compliance dates, no                 Circuit’s 2018 decision in USWAG that                 employee testimonials where they no
                                            facility would be subject to penalties                  Federal regulation of legacy CCR surface              longer exist, or where they have never
                                            solely because one of its legacy CCR                    impoundments was forthcoming, 901                     existed. EPA acknowledges that such
                                            surface impoundments was out of                         F.3d at 414.                                          information will not be available in
                                            compliance with the regulatory                             A number of commenters also                        some situations. Rather, EPA expects
                                            requirements prior to the effective date                claimed that their units are heavily                  owners and operators of inactive
                                            of this final rule. Thus, the rule is not               vegetated or developed and that                       impoundments at inactive facilities to
                                            primarily retroactive.                                  reopening or other removal/remediation                develop a strategy to gather readily
                                               To the extent the rule has secondary                 activities may disrupt the current use of             available and reliable information to
                                            retroactive effects in upsetting parties’               the site. EPA acknowledges some old                   determine whether the unit meets the
                                            expectations of regulation of legacy CCR                units may be heavily vegetated.                       definition of a legacy CCR surface
                                            surface impoundments and CCMRU,                         However, no commenter submitted any                   impoundment. If, after making a good
                                            such effects are permissible. First, the                data or analysis to demonstrate that,                 faith effort a facility is genuinely unable
                                            D.C. Circuit considered and rejected this               over the short or long term, removal or               to obtain information to document that
                                            same argument in Util. Solid Waste                      remediation activities would be more                  the impoundment contained both CCR
                                            Activities Grp. v. Env’t Prot. Agency, 901              detrimental to health and the                         and liquids on October 19, 2015, the
                                            F.3d 414 (D.C. Cir. 2018). There,                       environment than either cleaning up the               unit would not be regulated as a legacy
                                            industry petitioners argued that EPA                    contaminated groundwater or taking                    impoundment. See Unit III.B.2.b.i of the
                                            lacked statutory authority to regulated                 measures to prevent the legacy CCR                    preamble for an explanation of the
                                            legacy CCR surface impoundments                         surface impoundment from                              actions the Agency expects owners and
                                            because such regulation would be                        contaminating groundwater.                            operators to take to determine whether
                                            retroactive. The D.C. Circuit held that                    Moreover, the fact that some                       the inactive impoundment meets the
                                            ‘‘straightforward reading of the statute’s              impoundments have become heavily                      definition of a legacy CCR surface
                                            language allows for the regulation of                   vegetated or redeveloped does not                     impoundment.
                                            inactive sites.’’ Id. at 439. In short, as              resolve the risks these unlined legacy                   Nevertheless, EPA agrees that the
                                            facilities ‘‘where solid waste is disposed              CCR surface impoundments continue to                  final rule should account for the
                                            of,’’ 42 U.S.C. 6903(14), inactive                      pose. As discussed above, the risks                   significant closure work that has taken
                                            impoundments are ‘‘open dumps,’’ And                    associated with such units can be                     place at some legacy CCR surface
                                            no one denies that the EPA has                          substantial. See Unit III.A of this                   impoundments between October 19,
                                            authority to regulate (and to prohibit)                 preamble for more information.                        2015, and the effective date of this final
                                            ‘‘open dumps.’’ Id. at 441.                             Consequently, the current record does                 rule. For example, as noted, commenters
                                               Moreover, as explained in detail                     not support an exemption for units that               provided several examples of closures
                                            below, EPA rationally explained why                     still contain both liquid and CCR even                that were completed prior to the
                                            regulation was necessary and                            if the closure or remediation may                     effective date of this final rule. The final
                                            appropriate here notwithstanding                        disrupt the current use of the land.                  rule accounts for this not by exempting
                                            facilities’ reliance interests. EPA                        As discussed in more detail in the                 these units but by modifying the
                                            understands that facilities may have                    subsequent section, EPA also disagrees                applicable requirements. A facility that
                                            closed legacy impoundments and                          that the removal of CCR from a disposal               can document that it has met the criteria
                                            treated CCMRU in compliance with                        unit necessarily demonstrates that EPA                in § 257.102(c) would be subject only to
                                            State law requirements, or otherwise                    lacks jurisdiction over the site. EPA’s               the requirement to document that they
                                            made business decisions premised on                     jurisdiction rests on the presence of                 had met those standards. Similarly, a
                                            the absence of Federal regulation. EPA                  solid waste that ‘‘is disposed of’’ at the            facility that completed closure with
                                            has taken these reliance interests into                 site, not solely the presence of CCR. To              waste in place before the effective date
                                            account in developing the regulations                   the extent any CCR leachate or CCR                    of this final rule would only be subject
                                            here. As explained below, EPA surveyed                  constituents remain in the soil or in the             to the closure performance standards in
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                                            State regulation of legacy                              aquifer at the site, solid waste remains              § 257.102(d), and the post-closure care
                                            impoundments and CCMRU and                              at the site and EPA retains jurisdiction.             requirements (i.e., groundwater
                                            concluded that, on the whole, such                      However, as EPA stated in the proposal,               monitoring and corrective action, if
                                            regulations were not sufficiently                       the Agency agrees that it lacks                       necessary). In addition, a facility that
                                            protective, and did not meet RCRA’s                     jurisdiction over a site where the owner              completed closure under a regulatory
                                            standard. Uniform, national regulation                  or operator can document that it meets                authority’s oversight and approval, such


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                                            as pursuant to a Federal or State                       comments previously raised in response                closing on the effective date of this rule;
                                            cleanup order could be subject to even                  to the ANPRM, alleging that the phrase                or (3) The unit is only fully dewatered
                                            fewer requirements. Provided certain                    ‘‘contains both CCR and liquids’’ was                 and can no longer impound liquid after
                                            conditions have been met EPA is                         impermissibly vague. These                            October 19, 2015.
                                            deferring a decision on the adequacy of                 commenters were concerned that the                       EPA further explained that to
                                            such closures to a subsequent                           definition might not include those units              determine whether an impoundment
                                            permitting authority to determine on an                 whose bases are in contact with                       has been dewatered, EPA relies on the
                                            individual site-specific basis, whether                 groundwater or that no longer have                    existing requirements in
                                            the completed closure meets the Federal                 visible, standing water at the surface.               § 257.102(d)(2)(i) (‘‘Free liquids must be
                                            performance standards in § 257.102 or is                EPA further responded to questions                    eliminated by removing liquid wastes or
                                            equivalent to (i.e., is as protective as)               whether, based on the existing                        solidifying the remaining wastes and
                                            such a closure. In the interim, these                   definition of an inactive CCR surface                 waste residues’’). EPA explained that
                                            units would be subject only to the                      impoundment, the following would be                   this provision requires a facility to
                                            requirements of a post closure care                     considered a legacy CCR surface                       eliminate both the standing liquid in the
                                            permit (i.e., groundwater monitoring                    impoundment: (1) Where, prior to                      surface of the impoundment and the
                                            and corrective action, if necessary). See               October 19, 2015, the facility has                    separable porewater in any sediment
                                            Unit III.B.2 of the preamble for further                decanted the surface water, but, because              located in the base of the impoundment,
                                            explanations of these provisions. As                    the base of the impoundment intersects                regardless of the source of the standing
                                            EPA stated in the proposal, units that                  with the groundwater, water continues                 water or porewater (i.e., whether it was
                                            contain liquid present different risks                  to flow through the impoundment and                   present in the impoundment due to
                                            than those that do not, and the                         permeate the waste in the base of the                 surface water infiltration, intentionally
                                            applicable requirements should                          unit; (2) Impoundments that contained                 added sluice water, or groundwater
                                            differentiate among them accordingly on                 both CCR and liquids in the past but are              intrusion).
                                            that basis. See 88 FR 31993.Consistent                  now closed; (3) Impoundments that                        EPA also solicited comment on
                                            with that logic, while EPA agrees that                  contained CCR and liquids in the past                 whether to adopt a regulatory definition
                                            legacy impoundments that were                           but are in the process of closing on the              of the term ‘‘liquids’’ to clarify that the
                                            dewatered or closed prior to October 19,                effective date of the legacy rulemaking;              term includes free water, porewater,
                                            2015 can still pose significant risks to                and (4) Impoundments that once                        standing water, and groundwater.
                                            human health and the environment, as                    contained CCR and liquids but have                       Finally, the Agency explained that
                                            discussed in the next section, the final                been fully dewatered and are now                      under the existing regulations, an
                                            rule retains the approach described in                  maintained so as to not contain liquid.               impoundment that did not contain
                                            the proposal, and requires that an                         EPA explained that the answers to                  liquids prior to October 19, 2015,
                                            impoundment contain both liquid and                     these questions turn on the meaning of                whether because it was closed in
                                            CCR on or after October 19, 2015 to be                  the terms ‘‘contain’’ and ‘‘liquids’’ in the          accordance with existing State
                                            regulated as a legacy impoundment.                      definition of an inactive impoundment                 requirements or for other reasons, is not
                                                                                                    in § 257.53. Relying on dictionary                    an inactive impoundment. Similarly, a
                                            b. Legacy CCR Surface Impoundment—                      definitions, EPA explained that the term
                                            Definition of an Inactive                                                                                     unit that still contains both CCR and
                                                                                                    ‘‘liquids’’ includes the free water,                  liquid after that date would still be
                                            Impoundment—Contains Both Liquid                        porewater, standing water, and
                                            and CCR                                                                                                       considered an inactive unit even if it
                                                                                                    groundwater in the unit, because once
                                               The final rule requires that to be                                                                         was closed in accordance with the
                                                                                                    any are present in the unit, they have
                                            considered a ‘‘legacy CCR surface                                                                             requirements in effect at the time (e.g.,
                                                                                                    the same potential to create leachate, as
                                            impoundment’’ a CCR surface                                                                                   has a cover). Consistent with this
                                                                                                    well as to contribute to hydraulic head
                                            impoundment must have contained                                                                               definition, EPA proposed not to expand
                                                                                                    and drive flows propelled by hydraulic
                                            both CCR and liquids on or after                                                                              the definition of a legacy CCR surface
                                                                                                    gradients. 88 FR 31992. EPA also
                                            October 19, 2015. In addition, the final                                                                      impoundment to include units that no
                                                                                                    explained that based on dictionary
                                            rule further defines what it means to                                                                         longer contained any liquid on October
                                                                                                    definitions an impoundment ‘‘contains’’
                                            contain both CCR and liquid by                                                                                19, 2015. 88 FR 31993.
                                                                                                    liquid if there is liquid in the
                                            reference to § 257.102(d)(2)(i). In this                impoundment, that is, it has water                    (a) Pending Litigation Over EPA’s
                                            Unit of the preamble, the Agency briefly                within it, even if water continues to leak            Regulatory Interpretations
                                            explains what was proposed,                             from the unit. EPA also stated that as a
                                                                                                                                                            A number of commenters claimed that
                                            summarizes the public comments                          factual matter, a surface impoundment
                                                                                                                                                          the interpretation of ‘‘liquids’’ presented
                                            received, and provides EPA’s responses.                 that has only decanted the surface water
                                                                                                                                                          in the preamble was first announced in
                                            EPA first discusses what it means for an                would normally still contain liquid if
                                                                                                                                                          connection with proposed Part A
                                            impoundment to ‘‘contain liquids’’                      the CCR was still saturated with water.
                                                                                                       Accordingly, EPA explained that to                 determinations in January 2022, and is
                                            followed by what it means to ‘‘contain
                                                                                                    the extent the unit still contains liquids            currently being litigated in the D.C.
                                            CCR.’’
                                                                                                    on or after October 19, 2015, it is                   Circuit Court of Appeals in multiple
                                            i. What does it mean to contain liquid?                 considered an inactive impoundment                    cases combined under the name,
                                               Consistent with the definition of an                 under the existing definition in                      Electric Energy, Inc., et al. v. EPA, Case
                                            inactive CCR surface impoundment at                     § 257.53. EPA proposed that such units                Nos. 22–1056 and 23–1035.46 These
                                            active facilities under the existing                    would also be considered legacy CCR                     46 On January 11, 2022, EPA issued
                                            regulations, EPA proposed in the May                    surface impoundments, when located at
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                                                                                                                                                          determinations on demonstrations submitted by
                                            2023 proposed rule that a legacy                        inactive facilities. EPA also explained               facilities for extensions to the cease receipt of waste
                                            impoundment would be required to                        that under the proposal, such an                      deadline per 40 CFR 257.103(f)(1) and 257.103(f)(2),
                                            have contained liquids on or after                      impoundment would be considered a                     which the Agency refers to as ‘‘Part A
                                                                                                                                                          determinations’’ or ‘‘Part A’’. The CCR Part A Final
                                            October 19, 2015, in order to be subject                legacy CCR surface impoundment: (1)                   Rule (85 FR 53516, August 28, 2020), grants
                                            to the requirements of this rule. In the                Even if it is considered ‘‘closed’’ under             facilities the option to submit a demonstration to
                                            proposed rule, EPA also responded to                    State law; (2) It is in the process of                EPA for an extension to the deadline for unlined



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                                            commenters complained that EPA                          unconvinced by the commenters’                        commenters further claimed that the
                                            makes no mention of this litigation in                  alternative interpretations, and without              existing definition of an ‘‘inactive
                                            the proposed rule, even as it claims that               exception, considers that they are                    impoundment’’ does not include: (1)
                                            its interpretation is ‘‘sufficiently clear              inconsistent with the plain language of               Units ‘‘with any amount of water;’’ (2)
                                            that a definition is not necessary.’’                   the provisions at issue, EPA has                      Impoundments that closed prior to the
                                            According to these commenters, EPA                      responded to them by incorporating                    effective date of the 2015 CCR Rule; and
                                            must acknowledge (and make a good                       definitions of ‘‘liquids’’ and                        (3) ‘‘Dewatered’’ impoundments. These
                                            faith attempt to reconcile) the                         ‘‘infiltration’’ that reflect EPA’s existing          commenters contend therefore, that
                                            competing interpretations of key terms                  construction of the regulations. Neither              none of these units should be
                                            of art in the 2015 CCR Rule before                      RCRA nor the APA requires anything                    considered legacy CCR surface
                                            extending them into this final rule. One                further.                                              impoundments either. Second, a
                                            commenter further stated that if EPA                                                                          number of commenters raised concerns
                                                                                                    (b) Comments on the Definition of an
                                            ultimately elects to adopt regulatory                                                                         about the merits or wisdom of the
                                                                                                    ‘‘Inactive CCR Surface Impoundment’’
                                            definitions of those terms, it should wait                                                                    approach. Many of these commenters
                                                                                                    and the Meaning of ‘‘Contains Liquids’’
                                            until the court rules so that the                                                                             also offered alternative definitions.
                                            definitions are informed by and                            All commenters agreed that,
                                                                                                                                                             In addition, as discussed in the
                                            consistent with any such ruling.                        consistent with the existing definition of
                                                                                                                                                          preceding section, a number of
                                               EPA disagrees that it is necessary to                an inactive surface impoundment, any
                                                                                                                                                          commenters objected to EPA’s proposal
                                            wait until the court issues its decision                impoundment that ‘‘contains both
                                                                                                                                                          not to expand the definition of a legacy
                                            in the pending litigation (Electric                     liquids and CCR’’ at an inactive facility
                                                                                                                                                          CCR surface impoundment to include
                                            Energy, Inc., et al. v. EPA, Case Nos. 22–              should be classified as a legacy CCR
                                                                                                                                                          units that no longer contained any
                                            1056 and 23–1035). The central issue                    Surface impoundment. However,
                                                                                                                                                          liquid on October 19, 2015. These
                                            Petitioners raised in that case was                     commenters disagreed on the correct
                                                                                                                                                          commenters argued that the proposed
                                            exclusively procedural—whether EPA                      interpretation of the phrase
                                                                                                    ‘‘contains. . .liquids.’’ Several                     definition failed to address the full
                                            effectively amended the 2015 CCR Rule                                                                         universe of surface impoundments at
                                            without going through notice and                        commenters agreed with EPA’s
                                                                                                    explanation in the proposal that to the               inactive plants that pose a reasonable
                                            comment. Even if the D.C. Circuit                                                                             probability of adverse effects on health
                                            addresses this procedural question, it                  extent an impoundment still contains
                                                                                                    liquids on or after October 19, 2015, it              and environment. In support of their
                                            would not resolve the substantive                                                                             contention, these commenters
                                            question EPA posed in the proposal, of                  is properly considered an inactive
                                                                                                    impoundment under the existing                        referenced EPA damage cases
                                            whether the inclusion of a definition for                                                                     documenting harm to groundwater and/
                                            the term ‘‘liquids’’ would provide                      definition in § 257.53, even if (1) The
                                                                                                    unit had ‘‘closed’’ under State law; (2)              or surface water from impoundments
                                            further clarity.                                                                                              that may not have contained liquid on
                                               Finally, EPA considers that it has                   The unit is in the process of closing on
                                                                                                    the effective date of this rule; or (3)               or after 2015. The commenters also
                                            more than met any obligation to
                                                                                                    After October 19, 2015 the unit is fully              referenced a report, ‘‘Assessment of
                                            ‘‘acknowledge (and make a good faith
                                                                                                    dewatered and can no longer impound                   Legacy Surface Impoundments’’ by
                                            attempt to reconcile) the competing
                                                                                                    liquid. These commenters also agreed                  Gordon Johnson, M.Sc., P.Eng., that
                                            interpretations of key terms of art in the
                                                                                                    that such units should also be                        examines ten CCR surface
                                            2015 regulation,’’ in the proposal and
                                                                                                    considered legacy CCR surface                         impoundments at inactive facilities that
                                            again in this final rule. EPA has
                                                                                                    impoundments when located at inactive                 were not on EPA’s list of potential
                                            repeatedly explained its construction of
                                                                                                    facilities.                                           legacy impoundments and do not
                                            the regulations in documents held out
                                                                                                       But other commenters objected to                   appear to contain standing water.
                                            for public comment, including in the
                                                                                                    proposal’s construction of the                        According to the commenter, the report
                                            May 2023 proposal, and most recently,
                                                                                                    regulation. These objections fell                     shows that unacceptable levels of risk
                                            in the proposal to deny Alabama’s
                                                                                                    generally into two categories. First, a               may still be present for historical
                                            application for approval of its CCR
                                                                                                    number of commenters argued that the                  impoundments that have been
                                            permit program. See, e.g., 88 FR 31992–
                                                                                                    discussion in the proposed rule                       dewatered and/or capped.
                                            31993, 32025–32026, 55236–55238. EPA
                                            has also repeatedly responded to public                 reflected a ‘‘new’’ interpretation that               (1) What is a ‘‘liquid’’?
                                            comments, addressing each of the                        expanded the meaning of the terms
                                                                                                    ‘‘CCR surface impoundment’’ and                          The May 2023 proposed rule
                                            commenters’ alternative interpretations,
                                                                                                    ‘‘inactive surface impoundment’’ by                   explained that free water, porewater,
                                            and explaining in detail the reasons for
                                                                                                    interpreting the phrase ‘‘contains                    standing water, and groundwater are
                                            the Agency’s disagreement. See, e.g., 88
                                                                                                    liquids’’ to reach units that the                     liquids under the existing regulation.
                                            FR 55237; U.S. EPA. Denial of
                                                                                                    commenters believe EPA never intended                 The source of the liquid does not impact
                                            Alternative Closure Deadline for
                                                                                                    to cover in 2015. In support of this                  its basic and fundamental designation as
                                            General James M. Gavin Plant, Cheshire,
                                                                                                    argument, these commenters objected to                a liquid and its contribution to the risk
                                            Ohio. November 18, 2022. pp 14–42,
                                                                                                    the statement in the proposal that free               posed by an impoundment. It therefore
                                            Response to Comments on Proposed
                                                                                                    water, porewater, standing water, and                 does not matter whether the liquid in
                                            Denial (Docket ID No. EPA–HQ–OLEM–
                                                                                                    groundwater are liquids under the                     the surface impoundment comes from
                                            2021–0590). November 2022. EPA has
                                                                                                    existing regulation defining inactive                 the rain, waters the facility deliberately
                                            again responded to the commenters’
                                                                                                    CCR surface impoundments, arguing                     places in the unit, floodwaters from an
                                            alternative interpretations throughout
                                                                                                    that this expands the existing definition             adjacent river, or from groundwater—all
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                                            this preamble and in the Response to
                                                                                                    of liquids to sources of water that the               are liquids, and once present in the unit,
                                            Comments document in the docket. And
                                                                                                    commenters assert ‘‘are not                           they have the same potential to create
                                            even though EPA remains entirely
                                                                                                    demonstrated to be contributing to                    leachate (another type of liquid), and to
                                            CCR surface impoundments to stop receiving waste.
                                                                                                    hydraulic head creating the potential for             contribute to hydraulic head and drive
                                            Facilities had until November 30, 2020 to submit        impoundment failure and spread of                     flows driven by hydraulic gradients. 88
                                            demonstration to EPA for approval.                      contaminated water.’’ These                           FR 31992.


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                                               Several commenters agreed that the                   This reflects EPA’s existing construction             appears both in the existing definitions
                                            final rule should reflect EPA’s existing                of the current regulations. As discussed              of an inactive CCR surface
                                            interpretation that an impoundment                      in greater detail in Unit III.B.1.b.i.(b)(4),         impoundment and free liquids, is broad
                                            containing any of the following types of                the final rule incorporates this                      enough that it can encompass
                                            liquid would be considered to contain                   definition into § 257.53.                             groundwater, which has been defined in
                                            liquid: free water, porewater, standing                    The dictionary definition                          § 257.53 since 2015. Not all liquids are
                                            water, and groundwater without regard                   encompasses all of the various types of               groundwaters, but all groundwater
                                            to their source.                                        liquid that may be present in a CCR                   (water) is a liquid. And, where the water
                                               However other commenters disagreed                   unit, including water that was sluiced                in the surface impoundment sits ‘‘below
                                            that under the existing regulations the                 into the impoundment along with the                   the land surface in a zone of saturation,’’
                                            term ‘‘liquids’’ includes free water,                   CCR, precipitation, surface water, and                the water in the unit meets the
                                            porewater, standing water, and                          groundwater that has migrated into the                regulatory definition of groundwater. 40
                                            groundwater in CCR units, and                           impoundment, which may be found as                    CFR 257.53. Moreover, nothing in the
                                            disagreed that EPA should adopt such a                  free liquids, free water or standing water            definition of free liquids restricts the
                                            definition. Many of these commenters                    ponded above the CCR or porewater                     source of the liquid. It therefore does
                                            argued that EPA should not focus on                     intermingled with the CCR. These                      not matter whether the liquid in the
                                            ‘‘liquids’’ but on ‘‘free liquids,’’ which              definitions are consistent with the                   surface impoundment comes from rain,
                                            they interpret to exclude groundwater.                  surrounding regulatory text and                       waters that the facility deliberately
                                            For example, one commenter asserted                     structure of the regulation as a whole, as            places in the unit, floodwaters from an
                                            that ‘‘the term liquids, which is used in               well as the wider context in which the                adjacent river, or from groundwater—all
                                            the definition of ‘‘free liquids,’’ is not              terms are employed. As a consequence,                 are liquids. The only test the regulation
                                            defined in the CCR Rule, and that the                   the term functions effectively in all of              establishes for free liquids is whether
                                            term ‘‘free liquids’’ was never used in                 the various contexts in which it is used              the liquid readily separates from the
                                            relation to groundwater.’’ Another                      in part 257. This is particularly true of             solid portion of the wastes under
                                            commenter objected that the existing                    the term ‘‘liquids,’’ which plays a                   ambient temperature and pressure. Id.
                                            regulations establish two separate                      critical role in determining both                        However, EPA generally agrees that
                                            definitions of free liquids and                         whether a unit is subject to the                      regulating based on the presence of free
                                            groundwater, which they claim do not                    regulations and in the performance                    liquids, albeit not based on the
                                            reference each other or refer to                        standards that apply to impoundments                  commenters’ misinterpretation of the
                                            overlapping concepts. The commenter                     closing with waste remaining on-site at               term, would be consistent with the
                                            further argued that free liquids are                    § 257.102(d).                                         existing regulations and the risks
                                            ‘‘liquids that readily separate from the                   Further, reliance on this definition               associated with CCR surface
                                            solid portion of a waste under ambient                  best achieves the statutory purpose of                impoundments. As described in Unit
                                            temperature and pressure,’’ but                         protecting human health and the                       III.A above, the risks are largely driven
                                            ‘‘groundwater’’ is ‘‘water below the land               environment. By accounting for all                    by the presence of free liquids in the
                                            surface in a zone of saturation,’’ and that             liquids, regardless of the source, the                unit, as these are the liquids that causes
                                            these are different things from a                       regulation ensures that the risks that                the metals and other constituents to
                                            technical perspective.                                  legacy CCR surface impoundments pose                  leach out of the CCR, and that will
                                               These commenters urged that                          will be addressed—both by focusing on                 eventually leak out of the unit into the
                                            regulating based on the presence of free                the impoundments that pose the greatest               surrounding soil and/or into the aquifer,
                                            liquids would be consistent with EPA’s                  risks and by ensuring that all sources of             along with any CCR constituents that
                                            philosophy for regulating CCR surface                   risk are addressed in closing an                      have leached from the waste in the
                                            impoundments because free liquids                       impoundment. As explained in the                      interim. Although some liquids will
                                            contribute to hydraulic head and                        proposal, the source of the liquid does               remain bound within the pore spaces of
                                            hydraulic gradients regardless of their                 not determine its basic and fundamental               the CCR material and will not readily
                                            origin and impounded water must be                      properties. It therefore does not matter              drain under ambient temperature and
                                            removed from the impoundment to                         whether the liquid in the surface                     pressure, these residual liquids (e.g.,
                                            create a stable subgrade for the final                  impoundment comes from the rain,                      bound porewater or potential leachate)
                                            cover system. Another commenter                         waters the facility deliberately places in            will not continue to drain from the unit,
                                            stated that this would be consistent with               the unit, floodwaters from an adjacent                absent other forces, and exposure to
                                            the 2015 CCR Rule, because even a unit                  river, or from groundwater. All liquids,              these residual liquids is therefore not
                                            closed under the existing regulatory                    once present in the impoundment have                  likely.
                                            criteria may contain some liquids after                 the same potential to become free                        As discussed in the next section, EPA
                                            closure, so long as they are not free                   liquids and promote contaminant                       has adopted an approach based on
                                            liquids.                                                leaching and contribute to structural                 whether free liquids are present in the
                                               The final rule continues to define                   instability or failure, by contributing to            impoundment.
                                            ‘‘liquids’’ in accordance with its plain                the creation of leachate (another type of
                                            language meaning, consistent with the                   liquid), and hydraulic head.                          (2) What does it mean to contain liquid?
                                            ordinary dictionary definition. Reliance                   Contrary to the commenters’                           The proposal explained that under the
                                            on the ordinary meaning here is the                     contentions there is no inconsistency                 existing regulations, EPA determined
                                            default, as neither RCRA nor the                        between the regulatory definitions of                 whether an impoundment ‘‘contains
                                            existing part 257 regulations include a                 groundwater and free liquids. By their                liquids’’ by reference to a combination
                                            definition of the term ‘‘liquids.’’ FTC v.              terms the definitions of free liquids and             of the dictionary definition of
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                                            Tarriff, 584 F.3d 1088, 1090 (D.C. Cir.                 groundwater are not mutually exclusive;               ‘‘contains,’’ and the dewatering standard
                                            2009) (quoting Williams v. Taylor, 529                  rather, the term ‘‘free liquids’’                     in § 257.102(d)(2)(i). In essence, if
                                            U.S. 420, 431 (2000)) (‘‘It is fixed law                encompasses the term ‘‘groundwater.’’                 liquids are present in an impoundment,
                                            that words of statutes or regulations                   Nor is there any inconsistency in                     the unit ‘‘contains liquid.’’ However,
                                            must be given their ‘ordinary,                          applying both of these terms in this                  EPA considers a unit that met the
                                            contemporary, common meaning.’ ’’).                     context. First, the word ‘‘liquid,’’ which            performance standard in


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                                            § 257.102(d)(2)(i) to have been                         impoundment ‘‘contains liquids.’’ The                 language meaning of the phrase and the
                                            dewatered. Several commenters                           commenter believed these questions                    performance standard in
                                            supported this proposal.                                need to be resolved in the numerous                   § 257.102(d)(2)(i) to determine whether
                                               However, numerous other                              situations in which a formerly closed                 an impoundment ‘‘contains liquid.’’
                                            commenters raised concerns about                        impoundment may contain some                          Under the ordinary meaning, an
                                            relying on the plain language meaning                   porewater as a result of periodic rainfall            impoundment ‘‘contains liquid’’ if
                                            of the phrase. For example, some                        infiltration but is not in contact with the           liquid is present in the impoundment,
                                            commenters stated that all units contain                uppermost aquifer.                                    even if the impoundment does not
                                            some liquid, explaining that a landfill                    By contrast commenters generally                   prevent the liquid from migrating out of
                                            ‘‘contains’’ rain after a heavy rainfall                supported reliance on § 257.102(d)(2)(i)              the impoundment. In other words, it
                                            event. Similarly, a commenter argued                    to determine whether a unit contains                  ‘‘contains’’ water if it has water within
                                            that that under EPA’s interpretation, a                 liquid; although they disagreed over                  it. See, USWAG, supra at 454 n. 23
                                            fully closed unit with ponded water on                  what that provision requires. Several                 (‘‘The EPA’s regulatory definition of
                                            the cover resulting from precipitation or               commenters agreed with the proposal’s                 ‘‘impoundment’’ is consistent with the
                                            from fugitive dust control activities, and              explanation of these existing closure                 dictionary definition of the verb
                                            closed units with an engineered                         requirements, stating that the discussion             ‘‘impound,’’ which manifests
                                            capability to impound water atop their                  was fully consistent with EPA’s long-                 continuing action,’’ citing Impound,
                                            covers would potentially be subject to                  held position under the largely identical             Webster’s Third New International
                                            the CCR regulations. The commenter                      hazardous waste regulations, citing to                Dictionary 1136 (3d ed. 1993) (‘‘[T]o
                                            stated that in all of these cases, the                  EPA documents from 1982 and 1988.                     confine or store (water)[.]’’)).
                                            ponded water would seem to pose no                         But numerous other commenters                      Accordingly, under the final rule, if
                                            risk.                                                   argued that EPA had misinterpreted                    liquids are present in the unit, it will be
                                               Commenters also separately                           § 257.102(d)(2)(i), and consequently was              considered to contain liquids, unless the
                                            questioned whether EPA had real risk                    proposing to regulate impoundments                    facility can demonstrate that free liquids
                                            concerns from units that contained ‘‘any                that the commenters believed had been                 have been eliminated. Simply put, if a
                                            amount’’ of liquid. For example, one                    dewatered, and therefore posed little                 facility can document that free liquids
                                            commenter asserted that EPA has not                     risk. According to these commenters,                  were permanently eliminated prior to
                                            demonstrated that units with any                        § 257.102(d)(2)(i) does not require the               October 19, 2015, the unit will not be
                                            amount of water, no matter how small                    elimination of all liquids, or even all               considered a legacy impoundment.
                                            an amount or without regard to whether                  free liquids, but only requires the                      Relying on § 257.102(d)(2)(i) in this
                                            the liquid is separable from the CCR                    removal of liquid wastes to the extent                context is reasonable and protective.
                                            will present sufficient risks to warrant                necessary to support the cover system.                Both the definition of an inactive CCR
                                            regulation under RCRA section 4004(a).                  These commenters also contended that                  surface impoundment and the closure
                                            This commenter contended that EPA                       ‘‘the plain language of the 2015 CCR                  performance standard are designed to
                                            cannot rely on the 2014 Risk                            Rule does not require facilities to                   address the same issues (the presence or
                                            Assessment to support regulating such                   address groundwater as part of the                    removal of liquid wastes) and are
                                            units because the assessment showed                     closure performance standards under 40                designed for the same purpose (to
                                            only that surface impoundments with a                   CFR 257.102(d),’’ based in part on the                ensure the risks from the co-
                                            hydraulic head exceed that risk                         claim that regulatory definition of free              management of CCR and liquid are
                                            threshold. Several of these commenters                  liquids does not encompass                            adequately addressed). Once the free
                                            recommended that EPA regulate based                     groundwater. These commenters urged                   liquids have been eliminated from the
                                            on whether the impoundment contains                     EPA adopt the same approach to                        impoundment, any remaining liquids do
                                            free liquids rather than liquids.                       determining whether an impoundment                    not present a reasonable probability of
                                               Another commenter raised concern                     contains liquid.                                      contaminating the aquifer. Thus, EPA
                                            that relying on the plain language                         Several commenters also raised                     does not intend an operator to removal
                                            meaning would present a number of                       concern that the proposal failed to                   all moisture from an impoundment, but
                                            technical challenges. These included                    explain or provide clear guidance on                  only the free liquids required under
                                            how owners can determine whether a                      how much water an impoundment must                    § 257.102(d)(2)(i), because of free
                                            previously closed and dewatered                         contain to be regulated as a legacy                   liquids’ contribution to risk.
                                            surface impoundment at an active (or                    impoundment under the 2023 proposed                      Contrary to some commenters’ claims,
                                            inactive) facility still contains ‘‘liquids.’’          rule. Many of these commenters                        the existing text in § 257.102(d)(2)(i)
                                            The commenter explained that in some                    requested EPA to clearly define a                     requires a facility to eliminate both the
                                            cases, State regulators confirmed that a                reasonable threshold associated with                  standing liquid in the surface of the
                                            site no longer had the capacity to                      what it means to ‘‘contain liquids,’’ to              impoundment and all readily separable
                                            impound water and therefore indicated                   aid the regulated community in                        porewater in any sediment located in
                                            that the site was no longer subject to the              determining when the performance                      the base of the impoundment. Free
                                            State’s dam safety and impoundment                      standard has been met. One commenter                  liquids are currently defined at § 257.53
                                            rules. The commenter also asked                         noted that the Agency had attempted to                to mean ‘‘liquids that readily separate
                                            whether EPA would accept use of the                     fix this problem by relying on the                    from the solid portion of a waste under
                                            paint filter test, the detection of water in            closure standard in § 257.102(d)(2)(i),               ambient temperature and pressure.’’
                                            piezometers, or some other method to                    which requires the elimination of ‘‘free              This definition encompasses both
                                            determine whether sufficient separable                  liquids,’’ but the commenter considered               standing liquids in the impoundment as
                                            porewater is present for an                             this approach to be insufficient because              well as any readily separable porewater
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                                            impoundment to be considered to                         EPA had not articulated how to                        (i.e., porewater that readily separates
                                            ‘‘contain liquids.’’ The commenter also                 determine whether free liquids have                   under ambient temperature and
                                            asked what kinds of samples would be                    been eliminated.                                      pressure) in any sediment or CCR. As
                                            required—individual or composite—as                        The final rule largely adopts the                  EPA explained in the proposal, the
                                            well as how many and at what                            approach laid out in the proposal,                    existing regulation does not differentiate
                                            locations, to determine if an                           relying on a combination of the plain                 between the sources of the liquid in the


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                                            impoundment (e.g., surface water                        decanted the surface water would                       intended to also clarify that contrary to
                                            infiltration, sluice water intentionally                normally still contain free liquids if the             the commenters’ contention, a unit
                                            added, groundwater intrusion). This is                  waste in the unit was still saturated                  whose periodic rainfall does not result
                                            further supported by the fact that the                  with water. Neither of these examples—                 in free liquids (e.g., is readily absorbed
                                            performance standard at                                 which in actuality, likely represent the               into the CCR) would not be regulated as
                                            § 257.102(d)(2)(i) was modeled on the                   overwhelming majority of legacy                        a legacy CCR surface impoundment.
                                            regulations that apply to interim status                impoundments subject to the final                         Finally, with respect to the small
                                            hazardous waste surface                                 rule—have eliminated free liquids or                   number of units that may have been
                                            impoundments, which are codified at                     involve trivial amounts of water. As                   completely dewatered after October 19,
                                            § 265.228(a)(2)(i). EPA’s guidance on                   explained in the preceding sections,                   2015, these units likely pose significant
                                            these interim status regulations clarifies              such impoundments still contain                        (and unacceptable) risks to human
                                            that these regulations require both the                 hydraulic head and are otherwise                       health and the environment that warrant
                                            removal of standing liquids in the                      essentially indistinguishable from the                 regulation under RCRA section 4004(a),
                                            impoundment and sediment                                impoundments described in the 2015                     based solely on the expected presence of
                                            dewatering. See, ‘‘Closure of Hazardous                 CCR Rule preamble and modeled in the                   contamination that occurred while the
                                            Waste Surface Impoundments,’’                           2014 Risk Assessment. And as EPA                       impoundment was operating. See Unit
                                            publication number SW–873, September                    explained in the proposal, these units                 III.A.2 of this preamble.
                                            1982. EPA previously discussed the                      retain the conditions that cause a                        This approach also largely addresses
                                            subtitle C regulations at length                        heightened risk of contaminating the                   commenters’ request for a clear
                                            beginning on page 29 in the Final                       aquifer. That is true even if the unit is              standard, and many of their technical
                                            Decision on Request For Extension of                    considered ‘‘closed’’ under State law, is              concerns. For example, the clarification
                                            Closure Date Submitted by Gavin                         in the process of closing, or at some                  that EPA is concerned with the presence
                                            Power, LLC, 87 FR 72989 (November 15,                   subsequent point, the unit is fully                    of readily separable porewater, (that is,
                                            2022), as well as in the associated                     dewatered and no longer contains                       free liquids), which can be easily
                                            Response to Comments document                           liquid.                                                verified by technical equipment such as
                                            located in the docket.47 And the                           Moreover, as several commenters                     piezometers, thus resolves the
                                            definition of liquid included in this                   confirmed, it has apparently been a                    commenters’ concern that that
                                            final rule removes any                                  common practice to maintain CCR                        porewater may be difficult to measure as
                                            misunderstanding.                                       impoundments in a dewatered state.                     it is held in the interstices or pore
                                               The commenters are also mistaken                     Even assuming these commenters meant                   spaces between particles of soil,
                                            that the existing regulation only requires              that they had done more than merely                    sediment, and/or CCR material and may
                                            the elimination of free liquids to the                  remove the standing water, which seems                 not flow readily or be easily quantified
                                            extent necessary to support the unit’s                  unlikely given their comments on                       using field or laboratory methods. EPA
                                            final cover system, The provision does                  § 257.102(d)(2)(i), without an effective               has also developed a memorandum
                                            not state that the facility must                        cover system many ‘‘dewatered’’                        describing the current methods and
                                            ‘‘eliminate free liquids to the extent                  impoundments can nevertheless contain                  tools that are available to determine
                                            necessary to support the final cover                    significant volumes of water simply as                 whether free liquids have been
                                            system,’’ or anything comparable. Given                 a consequence of the amount of                         eliminated, which is available in the
                                            that § 257.102(d)(2)(ii) does specify that              precipitation that continually percolates              docket for this rulemaking. EPA has
                                            ‘‘waste must be stabilized sufficient to                through the unit. Based on an online                   provided a brief summary of the
                                            support the final cover system,’’ the                   USGS Rainfall Calculator Tool,48 the                   memorandum in the next four
                                            absence of any similar text in paragraph                example unit will receive a total of                   paragraphs below.
                                            (d)(2)(i) is dispositive. Compare                       27,154 gallons of water per acre during                   Many of the tools and methods to
                                            § 257.102(d)(2)(i) and (ii).                            a single 1-inch rainfall event. Taking                 identify and eliminate free liquids are
                                               EPA disagrees that it is not taking into             that a step further, a 50-acre                         already widely used by industry to
                                            account whether the water in the unit                   impoundment in Atlanta, Georgia                        investigate and close surface
                                            poses risk. And for the same reasons                    typically receives an average of 50                    impoundments. For example, tools
                                            EPA disagrees that it has failed to                     inches of rain a year, which equates, on               currently used to identify free liquids
                                            demonstrate that the units subject to                   a yearly average, to 67,885,000 gallons                include soil borings and cone
                                            regulation under this rule warrant                      of water per year.49 In the absence of                 penetrometers to map the stratigraphy of
                                            regulation under RCRA section 4004(a).                  any action taken to remove the water,                  the CCR unit and characterize the
                                               Impoundments with free liquids do in                                                                        geotechnical and hydraulic properties of
                                                                                                    over time it will continue to accumulate
                                            fact pose significant risk for the reasons                                                                     the various CCR layers, as well as the
                                                                                                    in the unit.
                                            discussed above. In the proposal, EPA                      Thus, in many areas of the country                  installation of traditional piezometers,
                                            discussed two examples of units that                    (e.g., the Southeast), CCR surface                     monitoring wells and vibrating wire
                                            still ‘‘contain liquids’’: (1) A unit                                                                          piezometers to monitor pore pressures
                                                                                                    impoundments without an effective
                                            constructed such that the CCR in the                                                                           and water levels. Properly constructed
                                                                                                    cover system may contain free liquids
                                            unit was continually saturated by water
                                                                                                    and meet the definition of a legacy
                                            flowing freely through the unlined
                                                                                                    impoundment due to the amount of                       CCR surface impoundments, which may further
                                            impoundment; and (2) Where the                                                                                 increase the risk of these units contaminating their
                                                                                                    annual rainfall.50 But this approach is
                                            facility has removed only the standing                                                                         underlying aquifers. More frequent and more severe
                                            water from the impoundment. As EPA                                                                             rainfall events may also increase the risk that legacy
                                                                                                      48 Found at https://www.usgs.gov/tools/usgs-
                                                                                                                                                           CCR impoundments flood, overtop, and experience
                                            explained, as a purely factual matter, a                rainfall-calculator. Found at https://www.usgs.gov/
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                                                                                                                                                           structural failures leading to potentially
                                            surface impoundment that has only                       tools/usgs-rainfall-calculator.                        catastrophic releases of CCR into the surrounding
                                                                                                      49 Based on 30-year average rainfall from National
                                                                                                                                                           environment. Many legacy CCR surface
                                              47 The Final Decision and Response to Comments        Weather Service data.                                  impoundments are located in 100-year floodplains
                                                                                                      50 The frequency and severity of future rainfall     which suggests that they are particularly vulnerable
                                            documents can be found in the docket for that
                                            action. See docket items EPA–HQ–OLEM–2021–              events may be amplified by the effects of climate      to rainfall driven flooding. Unit V of this preamble
                                            0590–0100 and EPA–HQ–OLEM–2021–0590–0099,               change. On average this would result in more water     and the RIA accompanying this final rule describe
                                            respectively.                                           percolating through, and accumulating in, legacy       this scenario in more detail.



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                                            wells and piezometers screened in the                   protective because all liquids have the               so as not to impound liquids is no
                                            appropriate locations and depths have a                 potential to become the free liquids that             longer ‘‘designed to hold an
                                            prominent role in networks of                           create leachate and contribute to                     accumulation of CCR and liquids,’’ and
                                            instruments used to assess free liquids,                hydraulic head. This approach also                    therefore, cannot be considered an
                                            as their design directly measures water                 maintains consistency with the existing               inactive or legacy impoundment.
                                            levels under ambient conditions.                        definition of an inactive CCR surface                 Several commenters also claimed that
                                            Fundamentally, water levels in properly                 impoundment.                                          the 2015 CCR Rule preamble, explained
                                            constructed and developed wells and                        At the same time, EPA acknowledges                 that the phrase, ‘‘designed to hold an
                                            piezometers are indicative of free                      that once the free liquids have been                  accumulation of CCR and liquids,’’
                                            liquids at that location. Conversely,                   eliminated from the impoundment, any                  means only units that ‘‘contain a large
                                            networks of spatially discretized wells                 remaining liquids typically do not                    amount of CCR managed with water,
                                            and piezometers can be used as part of                  present a reasonable probability of                   under a hydraulic head that promotes
                                            a program to determine or confirm that                  contaminating the aquifer. EPA is also                the rapid leaching of contaminants.’’
                                            free liquids no longer exist.                           mindful of not establishing criteria that             According to these commenters,
                                               Similarly, tools and methods to                      blur the lines between landfills and                  although a dewatered or closed
                                            eliminate free liquids within the CCR,                  impoundments, EPA agrees with                         impoundment may ‘‘contain liquid’’ as
                                            such as rim ditches, underdrain                         commenters that it would not be                       EPA defined it in the May 2023
                                            systems, pumping wells, manifolded                      appropriate to designate a CCR landfill               proposal, no hydraulic head would be
                                            extraction wellpoints, etc., are also                   as a CCR surface impoundment based                    present. Or as one commenter stated,
                                            currently widely employed by industry.                  solely on periodic rainfall that is readily           ‘‘The Proposed Rule definition of
                                            These elimination technologies can also                 absorbed into the CCR and does not                    liquids was expanded to include
                                            provide diagnostic and confirmatory                     result in free liquids.                               sources of water that are not
                                            insights into the presence and nature of                   The regulation reflects this balance by            demonstrated to be contributing to
                                            free liquids at a given CCR unit, e.g., rim             placing the burden on the owner or                    hydraulic head, or creating the potential
                                            ditches and open excavations enable                     operator to demonstrate that the                      for impoundment failure and spread of
                                            direct observation of free liquids.                     standard in in § 257.102(d)(2)(i) has                 contaminated water.’’ These
                                               EPA recommends that a                                been met. In other words, the absence of              commenters argue that facilities had
                                            demonstration of whether free liquids                   free liquids is an affirmative defense,               relied on this guidance in good faith,
                                            are present rely on a holistic evaluation               and therefore any uncertainty as to                   and that ‘‘simply citing the dictionary
                                            of all information collected from site-                 whether the standard in                               definitions of a ‘liquid’ and ’contains’
                                            wide monitoring networks (e.g.,                         § 257.102(d)(2)(i) has been met is to be              eight years after the 2015 CCR Rule
                                            piezometers and vibrating wire                          construed in favor of regulation because              published and without context is not a
                                            piezometers), as well as data collected                 of the risks of environmental harm from
                                                                                                                                                          sufficient rationale or appropriate.’’
                                            from actual dewatering efforts. EPA                     free liquids in contact with CCR.
                                                                                                                                                             Several of these same commenters
                                            further recommends that monitoring                         Although, consistent with the 2015
                                                                                                    CCR Rule, EPA is not requiring facilities             raised concern that EPA was proposing
                                            networks include points of sufficient
                                                                                                    to post documentation to demonstrate                  to regulate units that do not present the
                                            density to independently verify
                                                                                                    that no legacy impoundment is present                 same risks on which the original rule
                                            dewatering performance determined
                                                                                                    at the site, EPA recommends that                      was based. These commenters stated
                                            from implementation of elimination
                                                                                                    facilities develop and retain records to              that in 2015 EPA did not strictly
                                            technologies.
                                               The memorandum also provides                         support any determination that a                      interpret ‘‘liquids’’ as precipitation,
                                            general guidance on considerations for                  particular unit meets this exception.                 porewater, or groundwater without
                                            developing successful site-specific                     Finally, as discussed in Unit III.B.2.b.i             considering the associated force of
                                            strategies and approaches to identify,                  of this preamble, EPA has provided                    liquids on the unit’s embankment.
                                            measure, monitor and eliminate free                     additional time to allow a facility to                According to the commenters, the 2015
                                            liquids. The elimination of free liquids                determine that it has eliminated free                 CCR Rule was based on—and the
                                            relies on a well resolved understanding                 liquids as part of its applicability report.          current rulemaking should continue to
                                            of the character and variability of the                                                                       be concerned with only—‘‘the risk of
                                            site-specific geology and hydrology, as                 (3) Whether the Proposal Reflected a                  excessive hydraulic head and the
                                            well as the CCR materials themselves.                   ‘‘New’’ Interpretation                                potential for structural failure of
                                            Such information is frequently                             To support their claim that EPA had                embankments from impounded water.’’
                                            compiled into a Site Conceptual Model                   adopted new definitions of ‘‘liquid’’,                The commenters further stated that the
                                            (CSM), and the memorandum also                          ‘‘CCR surface impoundment’’ and                       maintenance of CCR impoundments in
                                            discusses some considerations related to                ‘‘inactive CCR surface impoundment,’’ a               a dewatered state significantly reduces
                                            the elements needed to construct a CSM                  number of the commenters identified                   the risk of structural failure, reduces the
                                            if one does not already exist, or to                    aspects of the 2015 CCR Rule or                       contact time with larger quantities of
                                            augment a weak or poorly resolved                       preamble that they believe to be                      CCR, and reduces constituent
                                            CSM.                                                    inconsistent with the May 2023                        concentrations and overall risk of
                                               EPA has adopted this approach rather                 proposed rule preamble. First, several of             impact to groundwater.
                                            than the commenters’ suggestion to                      these commenters claimed that                            Other commenters pointed to
                                            define a legacy CCR surface                             statements in the proposed rule are                   statements in the 2015 CCR Rule
                                            impoundment as a CCR surface                            inconsistent with the requirement in the              preamble that EPA did not intend the
                                            impoundment that ‘‘contains CCR and                     existing definition of a CCR surface                  term ‘‘inactive impoundments’’ to
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                                            free liquids’’—even though EPA expects                  impoundment that the unit must be                     include units that are closed, or to
                                            the effect will be the same in almost all               ‘‘designed to hold an accumulation of                 require closed units to reclose. Several
                                            cases—because it represents the best                    CCR and liquids.’’ 40 CFR 257.53. For                 of these commenters quoted the
                                            balance of several competing                            example, some commenters stated that                  following discussion:
                                            considerations. First reliance on the                   an impoundment that was dewatered                     EPA did not propose to require ‘‘closed’’
                                            broad dictionary definition is the most                 and closed or is otherwise maintained                 surface impoundments to ‘‘reclose.’’ Nor did



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                                            EPA intend, as the same commenters claim,               discussed that phrase in the proposal.                not ‘‘designed to hold an accumulation
                                            that ‘‘literally hundreds of previously                 EPA continues to believe that the                     of both CCR and liquid.’’ EPA agrees
                                            closed. . .surface impoundments—many of                 appropriate construction of the phrase is             that a unit that meets the definition of
                                            which were properly closed decades ago                  to rely on its plain language meaning,                a CCR landfill would not become a CCR
                                            under state solid waste programs, have
                                            changed owners, and now have structures
                                                                                                    consistent with the ordinary dictionary               surface impoundment merely because it
                                            built on top of them—would be considered                definitions those terms, in combination               contained liquid; as the commenter
                                            active CCR units.’’ Accordingly, the final rule         with the dewatering standard in                       noted, such a unit would not have been
                                            does not impose any requirements on any                 § 257.102(d)(2)(i). EPA is also                       ‘‘designed to hold an accumulation of
                                            CCR surface impoundments that have in fact              promulgating a definition of this term in             both CCR and liquid.’’ Ordinarily there
                                            ‘‘closed’’ before the rule’s effective date—i.e.,       this final rule. As discussed above, some             should be clear indications that the unit
                                            those that no longer contain water and can              commenters have asserted that this                    was not intended or designed to
                                            no longer impound liquid.                               definition is ‘‘new.’’ EPA disagrees.                 function as an impoundment; for
                                            80 FR 21343.                                            Regardless, even if it were new, it is                example, if the facility placed only dry
                                               Another commenter asserted that                      permissible for EPA to define the term                CCR into a unit, or had designed or
                                            based on the proposal’s ‘‘strict                        here in this rulemaking—EPA is not                    constructed the unit as a CCR landfill
                                            interpretation,’’ all CCR landfills and all             bound to any prior definition, and fully              (e.g., it was constructed or operated
                                            CCRMU would (inappropriately) be                        explained its rationale for the definition            with a leachate collection and removal
                                            considered inactive or legacy CCR                       herein. In addition, the definition of                system that meets the requirements of
                                            surface impoundments. As the                            liquids is not in any way inconsistent                § 257.70(d)). It was for this reason that
                                                                                                    with other definitions in § 257.53 or any             EPA included sand and gravel pits
                                            commenter explained, a CCR landfill
                                                                                                    other provisions from the 2015 CCR                    within the definition of a CCR landfill;
                                            could contain liquids, especially after
                                                                                                    Rule.                                                 all of those instances involve the
                                            heavy rainfall, but as it was not                          EPA agrees that a legacy CCR surface               placement of exclusively dry CCR into
                                            designed to hold an accumulation of                     impoundment must meet the existing                    the sand and gravel pits with no
                                            CCR and liquid it is not a CCR surface                  definition of a CCR surface                           indication that they were designed to
                                            impoundment.                                            impoundment in § 257.53. That                         hold liquids.
                                               A number of commenters also argued                   definition contains three criteria: (1)                  For the same reason, EPA disagrees
                                            that the interpretation in the proposal of              The unit must be ‘‘a natural topographic              that an impoundment that has been
                                            ‘‘contains liquids’’ is inconsistent with               depression, manmade excavation or                     dewatered and closed or is otherwise
                                            the decision in 2015 to define sand and                 diked area;’’ (2) The unit must be                    now maintained so as not to impound
                                            gravel pits as a CCR landfill. According                ‘‘designed to hold an accumulation of                 liquids should no longer be considered
                                            to the commenters, if EPA intended                      CCR and liquid;’’ and (3) The unit                    ‘‘designed to hold an accumulation of
                                            inactive CCR surface impoundments to                    ‘‘treats, stores or disposes of CCR.’’ 40             CCR and liquids,’’ and therefore, should
                                            broadly encompass CCR in contact with                   CFR 257.53. None of these require the                 not be considered an inactive or legacy
                                            groundwater, without hydraulic head,                    presence of a particular amount of water              impoundment. Just as a landfill would
                                            sand and gravel pits would have instead                 or hydraulic head—or indeed any.                      not suddenly become ‘‘designed to hold
                                            been added to the definition of CCR                     Rather, the unit must be ‘‘designed’’—                an accumulation of both CCR and
                                            surface impoundment. The commenters                     that is, intended to—hold an                          liquids’’ based on the temporary
                                            base this on EPA’s statement in the                     accumulation of CCR and liquid.                       presence of precipitation, removing
                                            proposed rule that ‘‘the damage from the                Although EPA expected that, based on                  liquids from a unit that was constructed
                                            placement of CCR in sand and gravel                     its understanding of the utilities’ current           as a surface impoundment and that
                                            pits was almost always associated with                  management practices, water would be                  operated as a surface impoundment by
                                            CCR being placed in contact with water,                 present as a consequence of the                       managing both CCR and liquids for
                                            which indicated that the placement of                   treatment, storage, or disposal occurring             decades, does not suddenly mean that
                                            CCR in contact with water can lead to                   in the unit, nothing in the text of the               the unit is no longer ‘‘designed to hold
                                            higher risks than from dry disposal.’’                  definition requires it, let alone requires            an accumulation of CCR and liquids.’’
                                            See, 80 FR 32010.                                       a minimum amount. The requirement                     Even assuming all free liquids had been
                                               Finally, a commenter raised concern                  that liquid actually be present in the                removed from the unit, which as
                                            that owners of inactive facilities that                 unit appears in the definition of an                  discussed below is unlikely, the
                                            dewatered a CCR surface impoundment                     ‘‘inactive surface impoundment’’ (or                  subsequent removal of liquids as part of
                                            before October 19, 2015, but completed                  ‘‘legacy CCR surface impoundment’’),                  closing the unit does not change either
                                            the removal of CCR at some time after                   which as discussed, requires that the                 the original design or use of the unit; the
                                            October 19, 2015, could be subject to the               unit ‘‘contains both CCR and liquids.’’               commenters do not intend to retrofit the
                                            CCR legacy rules because of what the                    40 CFR 257.53.                                        unit for subsequent use as a landfill, but
                                            commenter characterizes as the                             With this understanding, EPA                       are merely in the process of complying
                                            modification to the definitions of liquid               disagrees with the commenter who                      with the requirements applicable to the
                                            and contains. This commenter also                       asserted that based on the proposal’s                 closure of CCR surface impoundments.
                                            raised concern that some former coal-                   ‘‘strict interpretation,’’ all CCR landfills          Nor does the subsequent dewatering
                                            fired power plant properties were sold                  and all CCRMU would be considered                     change the present risks arising from the
                                            based on EPA’s prior guidance that                      inactive or legacy CCR surface                        original design and long-term operation
                                            dewatered surface impoundments were                     impoundments. The commenter                           of the unit as an impoundment. To
                                            not regulated, and asked whether these                  explained that, for example, a CCR                    avoid any confusion on this point, EPA
                                            non-utilities will be required to comply                landfill could contain liquids, especially            has deleted the phrase ‘‘which is’’ from
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                                            with the documentation requirements.                    after heavy rainfall, and the commenter               the existing definition of a CCR surface
                                               As discussed above, this final rule                  believed that the construction of the                 impoundment.
                                            defines a legacy CCR surface                            regulation outlined in the proposal                      EPA also disagrees that the proposed
                                            impoundment as a CCR surface                            would mean that this unit would be                    (and now final rule) expanded the
                                            impoundment at an inactive facility that                classified as a CCR surface                           existing definition of a CCR surface
                                            ‘‘contains both CCR and liquid,’’ as EPA                impoundment even though the unit was                  impoundment—either by regulating


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                                            different kinds of units as surface                        will contain substantial amounts of CCR               pressure on the saturated waste.
                                            impoundments than are currently                            and consequently are a potentially                    Continued contact with free liquids will
                                            regulated as surface impoundments, or                      significant source of contaminants.’’ Id.             continue to cause metals and other
                                            by regulating units that present                           (Emphasis added).                                     constituents to leach from the CCR, and
                                            substantially different kinds or level of                     These points are best illustrated by               the downward pressure of the hydraulic
                                            risks. These commenters have                               the specific examples discussed in the                head will continue to drive the leachate
                                            misunderstood the 2015 CCR Rule and                        preamble of the 2015 CCR Rule. First, in              toward the bottom of the unit into the
                                            preamble.                                                  each example EPA explained whether                    surrounding soil and/or into the aquifer,
                                               EPA did not limit surface                               the units would be considered CCR                     along with any CCR constituents that
                                            impoundments to units ‘‘containing a                       surface impoundments exclusively by                   have leached from the waste.
                                            large amount of CCR managed with                           reference to the criteria in the                         It is clear from the 2015 preamble that
                                            water, under a hydraulic head that                         regulation. 80 FR 21357. Second, the                  the situation described by the
                                            promotes the rapid leaching of                             units in each of the examples contained               commenters is not what EPA intended
                                            contaminants.’’ The definition of a CCR                    varying degrees of water and therefore                when it explained that the regulations
                                            impoundment is discussed in the 2015                       hydraulic head. The final example was                 did not apply to ‘‘closed’’ units. In the
                                            preamble at 80 FR 21357–21358.                             a diked area in which wet CCR is placed               paragraphs preceding the commenters’
                                            Reading the discussion as a whole,                         in order to remove the water for future               selective quotation, EPA defined
                                            rather than the single sentence from the                   transport to a CCR landfill or beneficial             inactive surface impoundments as
                                            preamble that the commenters                               use. EPA explained that:                              ‘‘those that contain both CCR and water,
                                            reference, clearly demonstrates that the                                                                         but no longer receive additional
                                                                                                       [t]he unit is accumulating CCR, while
                                            2015 CCR Rule was concerned with                           allowing for the evaporation or removal of            wastes.’’ 80 FR 21343. EPA further
                                            more than the risks associated with the                    liquid (no free liquids) to facilitate transport      explained that ‘‘By contrast, a ‘closed’
                                            force of impounded water on the                            to a CCR landfill or for beneficial use. In this      surface impoundment would no longer
                                            embankment structure and included the                      instance, the unit again meets all three              contain water, although it may continue
                                            risks of contamination when water                          definition criteria, it is a diked area (i.e.,        to contain CCR (or other wastes), and
                                            travels from the impoundment to the                        there is an embankment), it is accumulating           would be capped or otherwise
                                            surrounding are, and that EPA did not                      CCR for ultimate disposal or beneficial use;          maintained.’’ Id. (emphasis added). See
                                                                                                       and it is removing any free liquids, (i.e.,           also, Id. (3d col) (‘‘Accordingly, the final
                                            limit the CCR surface impoundments
                                                                                                       treatment). As such, this unit would meet the
                                            regulated under the 2015 CCR Rule to                       definition of CCR surface impoundment.                rule does not impose any requirements
                                            those that contain a particular amount                                                                           on any CCR surface impoundments that
                                            of water or degree of hydraulic head.                      80 FR 21357. The impoundment in this                  have in fact ‘closed’ before the rule’s
                                               It is clear from the complete                           example contains far lower amounts of                 effective date—i.e., those that no longer
                                            discussion that what determines                            liquid than would be found in an                      contain water and can no longer
                                            whether a unit is considered a CCR                         operating impoundment because it is                   impound liquid.’’) (emphasis added).
                                            surface impoundment are the three                          used to remove liquid from CCR. In                    Note that EPA stated that a closed unit
                                            criteria 51 (discussed above) actually in                  essence such units would likely not                   would not contain ‘‘water,’’ without
                                            § 257.53, rather than a finding that the                   contain significantly more liquid than                qualification or limitation. Nowhere in
                                            particular unit ‘‘contain[s] a large                       the partially dewatered impoundments                  this discussion (or the rest of the
                                            amount of CCR managed with water,                          that the commenters now claim are                     preamble) did EPA distinguish between
                                            under a hydraulic head that promotes                       exempt based on their supposed lack of                water, free water, porewater, or
                                            the rapid leaching of contaminants.’’                      a hydraulic head. 80 FR 21357–21358.                  groundwater, or expressly suggest that
                                               In addition, the critical issue in                         More to the point, the units that the              any of those might appropriately remain
                                            crafting the definition was the quantity                   commenters argue should be exempt do                  in the unit after closure.
                                            of CCR in the unit, not the quantity of                    still contain a hydraulic head ‘‘that                    EPA thus agrees that, as in the 2015
                                            water. Thus EPA explained that it was                      promotes the rapid leaching of                        CCR Rule, ‘‘an impoundment that no
                                            modifying the proposed definition to                       contaminants’’ and the consequent                     longer contains liquid prior to October
                                            address concerns that it would capture                     increased risks of leachate                           19, 2015’’ would not be considered
                                            ponds that contain only de minimis                         contaminating groundwater.                            either an inactive impoundment or a
                                            levels of CCR, because it agreed with                         Based on their comments on the                     legacy impoundment.52 EPA
                                            commenters that the rule as proposed                       closure performance standards, what                   acknowledges that CCR surface
                                            could inadvertently capture units that                     these commenters mean by ‘‘dewatered’’                impoundments that contained liquids
                                            present significantly lower risks, such as                 is merely the removal of: (1) Only the                prior to October 19, 2015, can still be
                                            process water or cooling water ponds                       standing liquid or the free liquid visible            associated with significant
                                            that ‘‘although they will accumulate any                   at the surface of the impoundment; or                 environmental and human health risks.
                                            trace amounts of CCR that are present,                     (2) Free liquids in the CCR only to the               As discussed in Unit III.A.1 of this
                                            they will not contain the significant                      depth needed to safely work with heavy                preamble, many if not all of these
                                            quantities that give rise to the risks                     machinery and to expedite the closure                 impoundments lacked a composite liner
                                            modeled in EPA’s assessment.’’ 80 FR                       process. Properly characterized, this is              system, and therefore likely leached
                                            21357. EPA then stated that by contrast,                   merely partial dewatering. As                         contaminants into the soil and
                                            ‘‘units that are designed to hold an                       previously discussed, because they are                underlying aquifer during operation.
                                            accumulation of CCR and in which                           not removing free liquids beyond this                 Eliminating the liquid from the
                                            treatment, storage, or disposal occurs                     depth, this eliminates neither the                    impoundment will not remediate these
                                                                                                       ‘‘liquid,’’ the hydraulic head in the unit,           releases—which at some sites may be
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                                              51 The existing definition of a CCR surface              or the conditions that create the                     significant—although it may
                                            impoundment contains three criteria: (1) The unit          heightened risk of leachate                           substantially reduce or eliminate a
                                            must be ‘‘a natural topographic depression,                contaminating ground or surface water.
                                            manmade excavation or diked area;’’ (2) The unit                                                                 source of additional or continuing
                                            must be ‘‘designed to hold an accumulation of CCR
                                                                                                       Although this will reduce the hydraulic
                                            and liquid;’’ and (3) The unit must ‘‘treat[ ], store[ ]   head, until the water is eliminated,                     52 EPA also discusses its interpretation of

                                            or dispose[ ] of CCR.’’ 40 CFR 257.53.                     gravity will continue to exert downward               ‘‘impound liquid’’ in Unit III.B.2.g of this preamble.



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                                            contamination. And to the extent the                    these unregulated sites may present. 42               ponds, EPA should codify its
                                            unit lacks an effective cover system, the               U.S.C. 6873 and 9606.                                 longstanding, plain meaning definitions
                                            unit may still be leaching contaminants,                   EPA also agrees that as a consequence              of key terms in the hope of avoiding
                                            albeit at a reduced rate. Consequently,                 of the plain language meaning of the                  unnecessary and costly future litigation
                                            although such units would not be                        phrase ‘‘contains liquid,’’ the owners of             and ensuring timely, proper closure.’’
                                            considered inactive or legacy                           inactive facilities that dewatered a CCR                 By contrast several commenters
                                            impoundments, some will be regulated                    surface impoundment before October                    opposed including a definition in the
                                            as a CCR management unit, as described                  19, 2015, but completed the removal of                regulations, suggesting that EPA should
                                            in the next section.                                    CCR at some time after October 19,                    instead continue to rely on how the
                                               However, the proposal by some                        2015, would be subject to this final rule             commenters believed those terms have
                                            commenters to regulate any                              if only the standing water had been                   been used in the 2015 CCR Rule and
                                            impoundment that has ever contained                     removed from the impoundment by this                  historically applied in implementing
                                            CCR and liquids would represent a                       date. As EPA explained in the proposal,               RCRA requirements. Some of these
                                            significant expansion of the regulations,               as a purely factual matter, a surface                 commenters stated that EPA has not
                                            in that it would essentially capture                    impoundment that has only removed                     provided adequate notice to the public
                                            every CCR surface impoundment that                      visible surface water would normally                  of a new regulatory definition of
                                            ever operated in the United States. To                  still contain liquids if the waste lower              ‘‘liquids,’’ and claimed that EPA
                                            illustrate the potential implications of                in the unit was still saturated with                  therefore could not adopt a regulatory
                                            such a revision: approximately 533                      water. However, this issue is also                    definition of ‘‘liquids’’ in a final rule.
                                            surface impoundments and 239 landfills                  discussed further in the next section.                Finally, a commenter opposed adding a
                                            are regulated under the 2015 Rule. EPA                  Because the regulation applies                        definition of ‘‘liquids’’ to the
                                            estimates that as a consequence of this                 exclusively to the current owners and                 regulations, arguing that it would not
                                            final rule, an additional 194 (legacy)                  operators, if such a facility had been                change the definition of ‘‘free liquids,’’
                                            surface impoundments will be                            sold to a non-utility, the new owner,                 which the commenter believes is a
                                            regulated. By contrast, as one                          rather than the previous owner, will be               distinct, technical regulatory term that
                                            commenter calculated, approximately                     required to comply with the any                       does not encompass groundwater, or the
                                            2,170 surface impoundments were                         applicable requirements.                              performance standard in
                                            operating in 1973 alone.53 EPA,                                                                               § 257.102(d)(2)(i), which, according to
                                                                                                    (4) Adding a Definition to the
                                            however, is not prepared at this juncture                                                                     the commenter, only requires the
                                                                                                    Regulations
                                            to expand the regulation so dramatically                                                                      removal of liquid wastes and
                                            without first obtaining at least some                      As noted previously, EPA solicited                 stabilization of remaining wastes to
                                            basic information about the kinds of                    comments on whether adopting a                        support the cover system.
                                            sites that would be regulated. Instead,                 definition of ‘‘liquids’’ into part 257                  Several commenters recommended
                                            EPA is proceeding to address the effects                would provide greater clarity. The                    that in the absence of a statutory
                                            of past CCR management one step at a                    preamble discussed various possible                   definition of ‘‘liquid(s)’’ and consistent
                                            time, and is focusing here on a narrower                definitions, including from Merriam-                  with the CCR regulatory definition of
                                            universe of regulated units.                            Webster and a technical definition. The               ‘‘free liquids’’ and EPA’s longstanding
                                               The Agency is not required to address                proposal also explained that the term                 implementation of the predecessor
                                            every aspect of a problem immediately;                  ‘‘liquids’’ encompasses all the various               hazardous waste closure regulations,
                                            courts have long recognized that it can                 types of liquid that may be present in a              EPA should codify a definition of
                                            be appropriate to address complex                       CCR unit, including water that was                    ‘‘liquid’’ based on the dictionary
                                            problems in stages. This final rule                     sluiced into the impoundment along                    definitions as set forth in the Proposed
                                            expands oversight to approximately 194                  with the CCR, precipitation, surface                  Rule. They also suggested that the
                                            legacy CCR surface impoundments, and                    water, and groundwater that has                       definition should make clear that the
                                            as discussed in Unit III.C, closes gaps in              migrated into the impoundment due to                  term encompasses free water, porewater,
                                            the existing regulations that currently                 the construction of the unit, which may               standing water, and groundwater
                                            fail to require facilities to remediate                 be found as free water or standing water              without regard to their source.
                                            known contamination resulting from the                  ponded above the CCR or porewater                        Commenters also offered numerous
                                            operation of their CCR units. EPA                       intermingled with the CCR. 88 FR                      alternatives. For example, several
                                            expects to shortly publish a final permit               31992. Although there was widespread                  commenters offered technical
                                            rule and to begin issuing permits to                    disagreement about what the definition                definitions from various sources. One of
                                            bring facilities into full compliance.                  should be, most commenters appeared                   those commenters raised concern that
                                            While the Agency works to address the                   to support including a definition in the              the technical definition discussed in the
                                            risks from this current universe, EPA                   regulations. Several commenters                       proposal had the potential to be
                                            will also continue to collect information               supported including a definition of                   confusing. According to this
                                            to better understand the full extent of                 ‘‘liquids’’ in the final rule to prevent              commenter, bulk particulate solids,
                                            the potential problem posed by the                      future disputes over the meaning of the               such as fly ash, exhibit the physical
                                            universe of abandoned sites that remain                 term. Some of these commenters stated                 properties of a liquid identified in the
                                            unregulated. In the interim, authority                  that ‘‘given the clear, plain language of             technical definition: specifically, dry fly
                                            under RCRA section 7003 and CERCLA                      the CCR Rule’s closure provisions and                 ash flows when poured from container
                                            section 106 remains available to address                EPA’s longstanding implementation of                  to container and conforms to the shape
                                            any imminent and substantial threats to                 the regulations, codifying a regulatory               of a container—retaining its volume but
                                            human health or the environment that                    definitions [sic] of the plain term                   not its shape. Instead, this commenter
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                                                                                                    ‘liquid(s)’ should be unnecessary.’’                  suggested that soil mechanics might
                                              53 GenOn Comments at 5–6. Estimate based on the       However, the commenters also stated                   provide useful information on which to
                                            number of coal-fired generating units operating in      that ‘‘in light of industry’s apparent                base a definition.
                                            1973 according to the U.S. Energy Information
                                            Administration (1,839) and assuming 1.2 surface
                                                                                                    preference to litigate the reality that                  As noted above, numerous
                                            impoundments per plant, consistent with                 groundwater is liquid in favor of                     commenters also suggested that EPA
                                            operations in 2010.                                     properly closing its leaking, unlined                 should focus on ‘‘free liquids’’ rather


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                                            than ‘‘liquids.’’ Several of these                      at § 257.53, provides that ‘‘Liquids                  technical concerns about relying on this
                                            commenters recommended that the final                   means any fluid (such as water) that has              test in this context. In addition, EPA
                                            rule adopt the definition in 40 CFR                     no independent shape but has a definite               would not generally recommend using
                                            258.28(c)(1), which relies on the Paint                 volume and does not expand                            the Paint Filter Liquids Test in this
                                            Filter Liquids Test to determine whether                indefinitely and that is only slightly                context. There can be physical effects
                                            liquids are present. The commenters                     compressible. This encompasses all of                 from obtaining the sample that could
                                            recommended that the CCR and MSW                        the various types of liquids that may be              affect the representativeness of the
                                            landfill programs be consistent as both                 present in a CCR unit, including water                sample (vibration, heat from the drilling
                                            reside under RCRA subtitle D. However,                  that was sluiced into an impoundment                  bit, etc.) and that can result in false
                                            one of these commenters also raised                     along with CCR, precipitation, surface                negatives. Consequently, although it
                                            concern that it is unclear how far back                 water, groundwater, and any other form                might provide relevant information to
                                            in time this would reach and how EPA                    of water that has migrated into the                   confirm the presence of water in a
                                            or the States would be expected to                      impoundment, which may be found as                    sample, EPA does not generally
                                            regulate inactive utilities that no longer              free water or standing water ponded                   consider the results to be sufficiently
                                            exist but may have closed units that                    above CCR or porewater intermingled                   reliable to confirm the absence of free
                                            meet the definition. By contrast, other                 with CCR.                                             liquids.
                                            commenters raised concern about a                          In addition, the final rule includes in               EPA disagrees that the public had
                                            definition that relied on the Paint Filter              § 257.53 a definition of the phrase                   insufficient notice of a potential
                                            Liquids Test, stating that facilities had               ‘‘contains both CCR and liquids,’’                    definition. EPA explained the subjects
                                            experienced difficulties implementing                   consistent with the discussion above                  and issues the agency would consider in
                                            the test in the field.                                  and in the proposal. The definition                   reaching its decision, and provided
                                               Another commenter explained that                     reflects both the dictionary definition of            examples of possible definitions. In
                                            focusing on porewater, rather than the                  ‘‘contains’’ and EPA’s explanation that               general, to provide adequate notice an
                                            separable porewater covered by the                      it relies upon the closure standard in                agency must ‘‘provide sufficient factual
                                            definition of free liquids would cause                  § 257.102(d)(2)(i) to determine whether               detail and rationale for the rule to
                                            technical difficulties. According to this               a unit contains liquids.                              permit interested parties to comment
                                            commenter, porewater may be difficult                      The definition states that ‘‘Contains
                                                                                                                                                          meaningfully.’’ Florida Power & Light
                                            to measure as it is held in the interstices             both CCR and liquids means that both
                                                                                                                                                          Co. v. United States, 846 F.2d 765, 771
                                            or pore spaces between particles of soil,               CCR and liquids are present in a CCR
                                                                                                                                                          (D.C. Cir. 1988). As demonstrated in the
                                            sediment, and/or CCR material and may                   surface impoundment, except where the
                                                                                                                                                          preceding section, numerous other
                                            not flow readily or be easily quantified                owner or operator demonstrates that the
                                                                                                                                                          entities were able to effectively provide
                                            using field or laboratory methods.                      standard in § 257.102(d)(2)(i) has been
                                                                                                                                                          comments, for example raising concerns
                                            Consequently, the commenter believed                    met.’’
                                                                                                       These definitions reflect EPA’s                    about the definitions discussed in the
                                            that it would not be feasible to identify
                                                                                                    construction of the existing regulations.             preamble, and offering potential
                                            whether liquids inclusive of all
                                                                                                    In addition, codifying these definitions              alternatives. No commenter has
                                            porewater (whether separable or not)
                                                                                                    definitively confirms that an                         indicated what further information is
                                            were present in an impoundment or
                                                                                                    impoundment saturated by groundwater                  necessary to be able to comment
                                            landfill closed prior to October 19, 2015,
                                                                                                    or continually inundated by surface                   effectively on the issue.
                                            or in other words, to demonstrate the
                                            absence of liquids eight years ago.                     water is an inactive or legacy                           EPA agrees that adopting these
                                               Similarly, one commenter stated that                 impoundment. It also provides greater                 definitions will not change the
                                            EPA should adopt a definition in the                    clarity that all kinds of liquid are                  performance standard in
                                            context of material in the ‘‘liquid state’’             relevant to determining whether an                    § 257.102(d)(2)(i), but for very different
                                            such as free liquids and materials that                 impoundment is subject to part 257 and                reasons than those proffered by the
                                            behave as liquids and can be readily                    has properly closed.                                  commenters. Incorporating these
                                            separated from the ‘‘solid’’ matrix and                    Consequently, EPA decided not to                   definitions into the part 257 regulations
                                            should not include those materials that                 adopt either the technical definition of              merely reaffirms the plain language
                                            are bound within the matrix and not                     liquid discussed in the proposal or any               meaning of the term ‘‘liquids,’’ which,
                                            readily separable. And another                          of the suggested alternatives. EPA                    as previously explained, is the status
                                            commenter recommended that EPA                          agreed that the technical definition in               quo. But because the term ‘‘liquids’’ is
                                            define a legacy impoundment based on                    the proposal had the potential to be                  used in the definition of ‘‘free liquids,’’
                                            the presence of free liquids and data to                confusing given that fly ash can                      defining liquids to expressly encompass
                                            support that the free liquids have                      sometimes exhibit the physical                        all of the various types that may be
                                            impacted groundwater.                                   properties of a liquid identified in the              present in a CCR unit, including
                                               EPA continues to strongly believe that               technical definition. While EPA also                  groundwater, removes any
                                            the plain text of the regulation clearly                agrees that CCR is a porous material                  misunderstanding that such liquids
                                            communicates the Agency’s positions                     similar to soil, EPA did not adopt the                cannot be considered to be free liquids
                                            laid out above, and that in light of the                commenter’s suggestion to rely on soil                when they otherwise meet the
                                            dictionary definition a regulatory                      physics to craft an alternative. CCR is               definition, that is, they readily separate
                                            definition is not strictly necessary.                   not a soil, and EPA is concerned more                 from the solid potion of CCR at ambient
                                            However, in light of the different                      with the hydraulic characterization of                temperature and pressure.
                                            understanding of the regulations among                  CCR that involves other considerations                   However, the commenters are correct
                                            commenters, EPA is incorporating the                    in addition to soil physics.                          that it will not address their
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                                            existing requirements into the                             EPA also chose not to adopt the                    misconstruction of § 257.102(d)(2)(i),
                                            definitions in § 257.53. Accordingly, the               definition in 40 CFR 258.28(c)(1), which              which attempts to limit the requirement
                                            final rule includes a definition of                     relies on the Paint Filter Liquids Test,              based on text that does not appear in the
                                            ‘‘liquids’’ based on the definition from                or to otherwise mandate reliance on the               provision. Further discussion of
                                            Merriam-Webster discussed in the                        Paint Filter Liquids Test. First, a                   § 257.102(d)(2)(i) can be found in Unit
                                            proposal. The new definition, codified                  number of other commenters raised                     III.B.2.g.


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                                               In conclusion, under this final rule                 factual basis to conclude that a legacy               a reasonable probability of adverse
                                            the surface impoundments discussed in                   CCR surface impoundment that was in                   impact from historical CCR units that
                                            the proposal would still be considered                  the process of closing posed no risk.                 have been closed by removing the CCR,
                                            legacy impoundments, as all would still                 However, EPA explained that                           and as a consequence, EPA cannot
                                            contain free liquids. Specifically this                 depending on when the impoundment                     regulate such units.
                                            includes (1) Any impoundment where,                     completed closure, some individual                       By contrast, a number of commenters
                                            on or after October 19, 2015, water                     requirements may no longer be                         requested that EPA clarify that its
                                            flowed or continues to flow through the                 applicable to the legacy CCR surface                  statement in the Proposed Rule that EPA
                                            impoundment, permeating the waste in                    impoundment (i.e., when the                           ‘‘no longer has jurisdiction over a
                                            the unit, such as where the base of the                 compliance date in the final rule falls               former unit that has closed by removal
                                            impoundment intersects with the                         after the date closure is completed for               in accordance with § 257.102(c)’’—is
                                            groundwater; (2) A surface                              the impoundment).                                     based on the complete absence of CCR,
                                            impoundment where only the surface                         No commenter opposed the proposal                  and requires not only removal of CCR
                                            water has been decanted; here too the                   to exclude impoundments that did not                  from and decontamination of the unit
                                            impoundment would normally still                        contain any CCR prior to the effective                but completing all groundwater cleanup
                                            contain free liquids if the waste in the                date of the 2015 CCR Rule, although                   and other remedial measures and then
                                            unit was still saturated with water; and                several commenters believe that                       adequately documenting, with at least
                                            (3) Any impoundment that still contains                 additional impoundments should also                   two years of post-removal or
                                            free liquids: (a) even if it is considered              be excluded. For example, many                        decontamination groundwater
                                            ‘‘closed’’ under State law; (b) it is in the            commenters stated that EPA does not                   monitoring, that GWPS are reliably
                                            process of closing on the effective date                have jurisdiction under RCRA over                     achieved by removal prior to the
                                            of this rule; or (c) the unit has been fully            impoundments from which all CCR was                   effective date of the final rule.
                                            dewatered and can no longer impound                     removed between October 19, 2015, and                    EPA disagrees that it lacks
                                            liquid only after October 19, 2015 (i.e.,               the effective date of this final rule. As             jurisdiction over a site at which the
                                            it contained free liquids on October 19,                one of these commenters explained:                    owner has removed CCR from the
                                            2015).                                                                                                        impoundment after October 19, 2015.
                                                                                                      As proposed, a closed unit would still be           Many of the commenters misunderstand
                                            ii. What does it mean to ‘‘contain’’ CCR?               regulated under the final rule if all CCR has
                                                                                                    been removed but groundwater monitoring               the USWAG decision, as well as the
                                               In the proposal, EPA explained that                  shows exceedances of the groundwater                  legal structure applicable to these units.
                                            under the existing regulation, an                       protection standard constituents listed in               First, the USWAG decision did not
                                            inactive CCR surface impoundment                        Appendix IV. RCRA’s juridical boundaries              limit EPA’s authority to sites where CCR
                                            must contain CCR to be subject to the                   are exceeded under this interpretation. The           remains, but to sites where solid waste
                                            rule. 40 CFR 257.53. EPA further                        USWAG decision explained that RCRA gives              is present. See, USWAG, 901 F.3d at
                                            explained that it was not proposing to                  EPA the authority to regulate past disposal of        440–441 (‘‘Properly translated then, an
                                            revise that aspect of the legacy                        CCR based on the continued presence of                open dump includes any facility (other
                                                                                                    CCR. Once the CCR is removed, CCR is no
                                            impoundment definition. EPA proposed                    longer disposed of, and EPA does not have
                                                                                                                                                          than a sanitary landfill or hazardous
                                            that, consequently, a legacy                            the ability to regulate based on the previous         waste disposal facility), where solid
                                            impoundment that had closed by                          existence of CCRs.                                    waste still ‘‘is deposited,’’ ‘‘is dumped,’’
                                            removal in accordance with the                                                                                ‘‘is spilled,’’ ‘‘is leaked,’’ or ‘‘is placed,’’
                                                                                                    Commenters also provided examples of                  regardless of when it might have
                                            performance standards in § 257.102(c)
                                                                                                    the type of facility they believe that EPA            originally been dropped off.’’) (emphasis
                                            before October 19, 2015, would not be
                                                                                                    cannot regulate. For example, one                     added).
                                            considered an inactive (and therefore
                                                                                                    commenter described a closure of three                   Second, in the example EPA
                                            not a legacy) CCR surface
                                            impoundment.                                            interconnected CCR surface                            presented in the proposal, even though
                                               EPA also proposed that an                            impoundments associated with the                      the facility may have removed all CCR
                                            impoundment at an inactive facility that                Richard H Gorsuch Power Plant.                        from the surface impoundment, solid
                                            was still in the process of closing by                  According to the commenter,                           waste still remains on site because
                                            removal on October 19, 2015, would be                   the closure was permitted by the state of             groundwater monitoring continues to
                                            considered a legacy CCR surface                         Ohio, along with a redesign of one of the             detect statistically significant levels of
                                            impoundment subject to the final rule                   impoundments to control stormwater runoff             one or more Appendix IV constituents.
                                            requirements. EPA proposed that                         post-closure. The closure of these                    These monitoring results demonstrate
                                                                                                    impoundments included dewatering and
                                            facilities with such a unit would be                    removal of all CCR materials to clean soil
                                                                                                                                                          the continued presence of CCR
                                            required to certify and post                            prior to filling with clean soil and grading.         leachate 54—which is a solid waste
                                            documentation that they have met the                    All CCR was transported to the associated             under the definition in 42 U.S.C.
                                            existing standard for closure by removal                off-site fly ash landfill. No groundwater             6903(27)—in groundwater, and,
                                            in § 257.102(c) on their CCR website                    monitoring was required, all the CCR was              potentially, in soil at the site. As
                                            (i.e., ‘‘certification requirement’’).                  removed, and the site is adjacent to an               discussed in greater detail below, this is
                                            However, if a facility could not                        existing RCRA corrective action (Union                sufficient to demonstrate that EPA
                                            demonstrate that the closed                             Carbide) with known groundwater impacts.              retains jurisdiction over the site, under
                                            impoundment meets the existing                            Some of these commenters further                    the plain language of the statutory
                                            performance standards in § 257.102(c),                  stated that EPA cannot rely on any                    definitions of solid waste and disposal.
                                            the unit would be considered a legacy                   residual contamination left in                           EPA also considers that it has
                                            impoundment subject to the rule. EPA                    groundwater to support jurisdiction                   authority to regulate as part of this rule,
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                                            further explained that because the                      because EPA has made clear that                       sites similar to the one presented by the
                                            impoundment contained liquid and                        groundwater (as well as other
                                                                                                                                                            54 Leachate is produced when liquids, such as
                                            CCR on October 19, 2015, it would meet                  environmental media containing
                                                                                                                                                          rainwater or groundwater, percolate through wastes
                                            the definition of a legacy CCR surface                  contaminants) is not a solid waste.                   stored in a disposal unit. The resulting fluid will
                                            impoundment, and that EPA had no                        Finally, some commenters asserted that                contain suspended components drawn from the
                                            basis to exempt it, because EPA had no                  EPA has no data showing that there is                 original waste.



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                                            commenter above. As discussed in more                   33, or source, special nuclear, or byproduct          any . . . leachate . . . is a hazardous
                                            detail below, the rulemaking record                     material as defined by the Atomic Energy Act          waste.’’). 45 FR 33096 (May 19, 1980)
                                            supports a presumption that solid waste                 of 1954, as amended (68 Stat. 923) [42 U.S.C.         (‘‘As a practical matter, this means that
                                                                                                    2011 et seq.].                                        facilities which store, dispose of or treat
                                            remains at the site, even assuming the
                                            facility had removed all CCR from the                   42 U.S.C. 6903(27). The plain meaning                 hazardous waste must be considered
                                            impoundment. The rulemaking record                      of the word ‘‘discarded’’ in this                     hazardous waste management facilities
                                            demonstrates the high likelihood that                   definition is ‘‘disposed of,’’ ‘‘thrown               for as long as they continue to contain
                                            the impoundment will have leaked                        away,’’ or ‘‘abandoned.’’ See, e.g.,                  hazardous waste and that any wastes
                                            during its operation. As a consequence,                 American Mining Congress v. U.S. EPA,                 removed from such facilities—including
                                            at any site that closed without                         824 F.2d 1177, 1184 (D.C. Cir. 1987)                  spills, discharges or leaks—must be
                                            groundwater monitoring, such as the                     (citations omitted) (‘‘AMC I’’); American             managed as hazardous
                                            one described in the comment above, or                  Petroleum Institute v. EPA, 906 F.2d                  wastes.’’)(emphasis added). See, also,
                                            that has not undertaken any                             729, 740–741 (D.C. Cir. 1990) (per                    Chemical Waste Management, 869 F.2d
                                            remediation, there is every reason to                   curiam). Such materials are ‘‘part of the             at 1539.
                                            believe that leachate (and, therefore,                  waste disposal problem’’ that Congress                   Moreover, as discussed above, one
                                            solid waste) will remain on site. In                    enacted RCRA to address. AMC I, 824                   factor the D.C. Circuit has considered in
                                            addition, the measures that facilities                  F.2d at 1193. In other words, under the               determining whether a substance is
                                            have described taking to remove all CCR                 statute if something has been disposed                properly considered a waste is whether
                                            from the impoundment would in fact                      of, as that term is defined in the statute,           ‘‘the materials are ‘part of the waste
                                            leave CCR leachate remaining in soils at                it is a solid waste.55                                disposal problem’ Congress intended to
                                            many sites.                                                Any CCR leachate left behind as soil               address in enacting RCRA.’’ AMC I,
                                                                                                    and groundwater contamination after                   quoting House Committee Report, H.R.
                                            (a) Definition of Solid Waste                           CCR removal would clearly constitute                  Rep. No. 1491, 94th Cong., 2d Sess. at
                                               EPA’s jurisdiction over sites at which               material that has been ‘‘abandoned’’ or               2, U.S. Code Cong. & Admin. News
                                            CCR leachate remains is clear from the                  ‘‘discarded’’ and is thus subject to                  1976, p. 6240. If so, it falls under EPA’s
                                            plain language of the statutory                         regulation under subtitle D without                   authority in RCRA to address. See,
                                            definitions of solid waste and disposal.                further activity. EPA has long                        American Mining Congress v. EPA, 907
                                               Under the CCR regulations, the                       considered material that has spilled or               F.2d 1179, 1186–87 (D.C. Cir. 1990)
                                            statutory definition of solid waste                     leaked onto the soil and not been                     (deferring to EPA’s focus on potential
                                            applies, rather than any of the various                 cleaned up to have been ‘‘abandoned’’                 environmental harm in determining
                                            narrower subtitle C regulatory                          or ‘‘discarded.’’ See, e.g., Chemical                 whether material is discarded) (AMC II).
                                            definitions in 40 CFR part 261. Section                 Waste Management v. EPA, 869 F.2d                     The contamination from legacy
                                            257.53 specifically provides that ‘‘Terms               1526, 1539 (D.C. Cir. 1989); Connecticut              impoundments (even when the CCR has
                                            not defined by this section have the                    Coastal Fishermen Ass’n v. Remington                  been removed from the impoundment)
                                            meaning given by RCRA.’’ Part 257 does                  Arms Co., 989 F. 2d 1305, (2d Cir 1993).              remains a threat to human health and
                                            not include a definition of ‘‘solid waste’’                The conclusion that the CCR leachate               the environment that stemmed from
                                            or ‘‘waste,’’ which therefore takes the                 contaminating soil and groundwater is a               discarded materials, and thus is ‘‘part of
                                            broader statutory definition of the term.               solid waste is also consistent with EPA’s             the waste disposal problem’’ RCRA was
                                            See also the § 257.53 definition of                     long-held interpretation (discussed at                enacted to address.
                                            disposal, which references ‘‘solid waste                length in the 2015 CCR rule preamble)                    As discussed in more detail in Unit
                                            as defined in section 1004 (27) of the                  that leaking or passive migration of                  III.A.3, EPA estimates that groundwater
                                            Resource Conservation and Recovery                      leachate constitutes the disposal of solid            contamination at sites with legacy
                                            Act.’’                                                  waste. 80 FR 21342–21347, quoting 43                  impoundments could pose lifetime
                                               The subtitle C regulations are equally               FR 58954 (‘‘This is an important issue,               cancer risks from arsenic as high as 2 ×
                                            clear that they do not apply to subtitle                however, because some, and perhaps                    10¥5 to 1 × 10¥5 (i.e., 2 to 100 cases of
                                            D wastes. See, e.g., 40 CFR 260.1(a)                    most, inactive facilities may still be                cancer for every 100,000 individuals
                                            (‘‘This part provides definitions of                    ‘disposing of waste’ within the meaning               exposed), depending on the specific
                                            terms, general standards, and overview                  of that term in Section 1004(3) of                    management practices and site
                                            information applicable to parts 260                     RCRA. . . . Many inactive facilities                  conditions. In addition, EPA estimated
                                            through 265 and 268 of this chapter.’’);                may well be leaking solid or hazardous                noncancer risks well in excess of an HQ
                                            § 261.1 (a) (‘‘This part identifies those               waste into groundwater and thus be                    of one for a wide variety of CCR
                                            solid wastes which are subject to                       ‘disposing’ under RCRA.’’). See also,                 constituents, depending on the
                                            regulation as hazardous wastes under                    e.g., In re Consolidated Land Disposal                management practices and site
                                            parts 262 through 265, 268, and parts                   Litigation, 938 F2d 1386, 1388–1389                   conditions; for example, the high-end of
                                            270, 271, and 124 of this chapter and                   (D.C. Cir. 1991).                                     noncancer risks for lithium ranged
                                            which are subject to the notification                      And even under the narrower                        between two to three; for molybdenum
                                            requirements of section 3010 of                         regulatory definition of solid waste in               up to an HQ of four; thallium up to an
                                                                                                    subtitle C, EPA has long considered                   HQ of two, and for cobalt and mercury
                                            RCRA.’’).
                                               Under RCRA the term ‘‘solid waste’’                  leachate (i.e., the leaked constituents)              up to an HQ of 13 and five, respectively.
                                            means:                                                  from previously disposed hazardous                    Moreover, in the absence of any
                                                                                                    wastes to be a hazardous (and therefore,              groundwater remediation, there is no
                                            any garbage, refuse, sludge from a waste                                                                      reason to believe that the removal of
                                            treatment plant, water supply treatment                 solid) waste. See, e.g., 40 CFR
                                                                                                                                                          CCR from the impoundment mitigates
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                                            plant, or air pollution control facility and            261.3(c)(2)(i) (‘‘any solid waste
                                                                                                    generated from the treatment, storage, or             these risks. Although the unit may no
                                            other discarded materials, but does not
                                            include solid or dissolved material in                  disposal of a hazardous waste, including              longer continue to contribute additional
                                            domestic sewage, or solid or dissolved                                                                        contamination, removal of the CCR does
                                            materials in irrigation return flows or                    55 As EPA explained in the 2015 preamble,          not address the release of and risk from
                                            industrial discharges which are point sources           ‘‘placement in a landfill or surface impoundment is   the metals or other CCR constituents in
                                            subject to permits under section 1342 of title          prima facie evidence of discard.’’ 80 FR 21348.       any contaminant plume.


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                                               The leachate from a CCR surface                      required to monitor groundwater off-                  significant and can also result in
                                            impoundment or landfill is therefore                    site, so whether the contamination had                formation of mineral species that
                                            unquestionably a solid waste under the                  migrated off-site was unknown.                        become temporarily immobilized at or
                                            broader statutory definition in 42 U.S.C.               Similarly, North Carolina required                    beneath the water table as solid mineral
                                            6903(27). And to the extent the leachate                facilities to install additional down                 phases by formation of mineral
                                            remains in soil or groundwater, that is                 gradient wells. In January 2012, officials            precipitates or simply adsorbed to the
                                            sufficient to support jurisdiction over                 from the North Carolina Department of                 aquifer matrices by retardation
                                            that site, even though all CCR may have                 Environment and Natural Resources                     processes. These intermediate
                                            been removed from the disposal unit.                    disclosed that elevated levels of metals              transformation products may contain
                                            The risks from the leachate-                            were found in groundwater near surface                CCR constituents of concern as either
                                            contaminated groundwater also clearly                   impoundments at all the State’s 14 coal-              major, minor or trace components of
                                            establish a reasonable probability of                   fired power plants. 80 FR 21455.                      newly formed compounds. Depending
                                            adverse impacts on health and the                          It is also highly unlikely that removal            on the aquifer chemistry, including
                                            environment from legacy                                 of CCR would also have removed all                    redox state, pH, salinity, alkalinity, etc.,
                                            impoundments that have been closed by                   areas affected by releases at many (if not            some CCR constituents may remain
                                            removing only the CCR.                                  most) sites. In their comments, facilities            mobile in groundwater and may
                                               EPA disagrees with the commenters                    have described relying on visual                      continue to migrate downgradient of the
                                            who stated that the Agency should not                   inspection or in some cases microscopic               unit. Consequently, in situations where
                                            presume that there have been impacts to                 inspection of soil material to determine              the waste is below the water table,
                                            groundwater from an area where the ash                  whether all CCR have been removed                     assessment efforts would generally need
                                            has been fully removed, absent specific                 from the impoundment. In such cases,                  to penetrate a sufficient depth below the
                                            evidence to the contrary. The record                    the practical depth limit of such                     base of the waste or the lowest water
                                            from both the 2015 CCR Rule and the                     investigations is generally just beneath              levels in the aquifer, whichever is
                                            current rulemaking supports a strong                    (e.g., a foot or less) the visually observed          greater, to ensure that potential releases
                                            presumption that solid waste remains                    maximum depth of CCR. However, it is                  of leachate to the soil have been
                                            on-site at these facilities. As the D.C.                not likely this practice would be                     evaluated.
                                            Circuit noted, legacy impoundments                      sufficient at many legacy sites to remove                Consequently, based on the practices
                                            have been shown to be even more likely                  all areas affected by releases of CCR                 that facilities have stated that they use
                                            to leak than units at utilities still in                leachate.                                             to confirm that they have removed all
                                            operation. 901 F.3d at 432.                                At a minimum, for units with bases
                                                                                                                                                          CCR from a site, both leachate
                                               Data collected as part of the 2015                   above the groundwater, the soil column
                                                                                                                                                          contaminated soil and groundwater
                                            rulemaking shows that the majority of                   beneath the unit from the base of the
                                            the older operating (pre-1994) waste                    unit to at least the depth of the lowest              would frequently be expected to remain
                                            units lack liners; 63% and 24% of older                 water levels recorded in the aquifer,                 on site even after CCR may have been
                                            surface impoundments have either no                     would typically need to determine                     entirely removed from the
                                            liners or clay liners, respectively. 80 FR              whether the zone of water table                       impoundment. The totality of the
                                            21326. Thus far, no commenter has                       fluctuation constitutes a residual source             information in the record thus supports
                                            identified a legacy impoundment with a                  and may be in need of corrective action.              a presumption that solid waste remains
                                            composite liner.                                        Concentrations of contaminants at this                on-site. Demonstrating compliance with
                                               Analysis of the information from the                 horizon could be significantly elevated.              § 257.102(c) rebuts that presumption
                                            damage cases also demonstrates that                     In a case where prior site assessment                 and documents that the site is no longer
                                            unlined surface impoundments                            and groundwater monitoring activities                 under RCRA’s jurisdiction.
                                            typically operate for 20 years before                   have not resulted in a preexisting well                  EPA also disagrees that reliance on
                                            they begin to leak. Id. at 21326–21327.                 network capable of making this                        the residual contamination left in
                                            As discussed previously, commenters                     determination it may be necessary to                  groundwater to support jurisdiction is
                                            submitted data indicating that on                       install additional wells or to assess                 precluded by EPA’s prior statements
                                            average legacy impoundments are 55                      groundwater.                                          that contaminated media are not solid
                                            years old. The following examples                          Moreover, in a unit constructed with               wastes. These commenters are referring
                                            discussed in the 2015 CCR rule                          CCR below the ambient groundwater,                    to EPA statements made in connection
                                            preamble further demonstrate the high                   after decades of groundwater infiltration             with the ‘‘contained in’’ policy under
                                            probability that legacy impoundments                    through the waste, the leachate                       the RCRA hazardous waste regulatory
                                            will have leaked, and that in the                       generated would be expected to show                   program. As an initial matter, the
                                            absence of remediation measures                         elevated levels of CCR constituents of                commenters have misunderstood the
                                            leachate is highly likely.                              concern. This chemically altered                      policy. The policy states only that with
                                               In the wake of the 2008 TVA Kingston                 leachate can interact with unsaturated                respect to contaminated soil or
                                            CCR spill, Illinois and North Carolina                  or partially saturated soils beneath the              groundwater, the media itself–the soil or
                                            for the first time required utilities to                CCR and can react with aquifer solids                 groundwater–is not a solid waste–even
                                            install groundwater monitoring. Illinois                beneath the unit to form intermediate                 though it contains a hazardous waste. In
                                            required facilities to install groundwater              chemical compounds, some of which                     other words, the contamination itself
                                            monitoring downgradient from their                      may be bound to the aquifer matrix in                 remains a solid waste, and therefore
                                            surface impoundments. As a result,                      solid phases. Also, depending on the                  subject to EPA’s jurisdiction. See,
                                            within only about two years, Illinois                   amount of groundwater recharge and                    Chemical Waste Management v. EPA,
                                            reported that seven facilities had                      infiltration directed through the unit,               869 F.2d at 1539 (upholding EPA
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                                            detected instances of primary MCL                       some downwardly infiltrating leachate                 interpretation that hazardous waste
                                            exceedances, and five additional                        is likely to reach the saturated zone                 restrictions continue to apply to waste
                                            facilities had reported exceedances of                  where additional chemical reactions                   ‘‘contained in soil or groundwater’’ as
                                            secondary MCLs. The data for all 12                     occur. Depending on the degree of                     ‘‘consistent with the derived-from and
                                            sites were gathered from onsite; it                     disequilibrium with the ‘‘ambient’’                   mixture rules,’’ even though the rules by
                                            appears none of these facilities had been               conditions such reactions can be                      their terms do not apply to


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                                            contaminated soil or groundwater                        CCR used as structural fill is generally              requirements, asserting that it was
                                            because they are not solid wastes).                     safe. Therefore, the commenter                        inconsistent with EPA’s treatment of
                                               In any event, as discussed above,                    recommended that inactive                             similar facilities in 2015, who were not
                                            none of the regulations in 40 CFR parts                 impoundments with 75,000 tons or less,                required to provide any compliance
                                            260–268, or 270 apply, except to the                    be exempt from regulation. Other                      documentation of closure requirements.
                                            extent EPA incorporated them into part                  commenters urged EPA to clearly define                These commenters requested EPA to
                                            257, subpart D. This also means that any                what is meant by de minimis amounts                   remove the requirements under
                                            Agency interpretations or policies                      of CCR in the context of legacy                       § 257.100(f)(1)(ii) and allow owners to
                                            adopted under those regulations, no                     impoundments.                                         make the closure determination.
                                            matter how long-standing, do not                          Other commenters requested that EPA
                                            automatically apply to CCR, which are                   exempt any legacy CCR surface                         (c) Final Requirements
                                            regulated under part 257, subpart D.                    impoundments that met State                              Consistent with the proposal, this
                                            Moreover, the policies and/or                           requirements for clean closure. These                 final rule provides that an
                                            interpretations the commenters identify                 commenters argue that EPA cannot                      impoundment that contained CCR (and
                                            were developed based on the text of                     expect utilities who have closed legacy               liquids) on or after October 19, 2015 is
                                            particular statutory or regulatory                      impoundments under State guidelines                   subject to this rule. This means that if
                                            provisions under subtitle C, as well as                 prior to this rulemaking to meet a                    a facility closed a legacy CCR surface
                                            the larger statutory context in which                   standard that did not exist at the time               impoundment by removal before
                                            those particular statutory or regulatory                of closure. These commenters also                     October 19, 2015, that site is not subject
                                            requirements operate (for example,                      asserted that by regulating such units                to this final rule. However, the final rule
                                            corrective action obligations at                        EPA is effectively disregarding a                     does not require such facilities to
                                            hazardous waste treatment, storage, and                 qualified State’s regulatory authority to             demonstrate that these units were
                                            disposal facilities). RCRA subtitles C                  approve closure under the regulations                 closed ‘‘in accordance with the
                                            and subtitle D differ greatly. For                      and programs available to them at the                 performance standards in § 257.102(c).’’
                                            example, only under subtitle C did                      time.                                                 Under § 257.102(c) closure is complete
                                            Congress expressly prohibit land                          Other commenters suggested that EPA                 when all CCR has been removed from
                                            disposal of hazardous wastes that do not                should allow facilities to certify that               the CCR unit, any areas affected by
                                            meet treatment standards established in                 they had completed closure by removal                 releases from the CCR unit have been
                                            EPA regulations. 42 U.S.C. 6924(d), (g),                in two additional situations. The first               removed, and groundwater monitoring
                                            (h), (m). Similarly, there is no analog                 suggestion was to allow a facility to                 concentrations do not exceed the
                                            under subtitle D to section 6925(j),                    certify that it had complied with                     groundwater protection standard in
                                            which imposes detailed requirements                     § 257.102(c) based solely on                          § 257.95(h) for Appendix IV
                                            on hazardous waste surface                              documentation that the facility had                   constituents. The proposed rule
                                            impoundments. It would therefore be                     removed all ash by the effective date of              incorrectly stated that EPA was
                                            inappropriate to simply adopt a                         the 2015 CCR Rule, unless EPA or the                  proposing to impose a documentation
                                            particular interpretation or policy                     facility also had evidence (e.g., from                requirement on these facilities. That
                                            developed under the particular                          existing monitoring networks) of                      statement was made in error; EPA did
                                            provisions of the RCRA subtitle C                       groundwater impacts that could impact                 not intend to propose such a
                                            hazardous waste regulatory program                      human health or the environment.                      requirement. EPA did not propose to
                                            into the CCR program without                            These commenters stated that EPA                      require a facility to document that an
                                            evaluating whether the policy or                        should not presume that there have                    impoundment did not contain liquids
                                            interpretation is consistent the statutory              been impacts to groundwater from an                   prior to October 19, 2015. Nor did the
                                            language in subtitle D or would achieve                 area where the ash has been fully                     2015 CCR Rule require any facilities to
                                            Congress’s purposes or direction. Note                  removed years or even decades ago,                    document that they were not subject to
                                            that EPA explains above how its                         absent specific evidence to the contrary.             regulation. These facilities were never
                                            approach is consistent with subtitle D                  The second suggestion was that EPA                    subject to the exemption for inactive
                                            and the congressional scheme.                           exclude facilities that could certify and             impoundments at inactive facilities that
                                               Finally, it is important to note that                document that they have met the                       was vacated in the USWAG decision
                                            EPA is not suggesting that the                          closure-in-place performance standards                and therefore should not be regulated as
                                            management of CCR leachate is now                       in § 257.102(d) by the effective date of              part of EPA’s action to implement the
                                            subject to the CCR regulations. EPA has                 this final rule. To support their                     Court’s order. Accordingly—and
                                            jurisdiction over CCR leachate because                  proposal, the commenter noted that EPA                consistent with the 2015 CCR Rule—if
                                            the material is solid waste not because                 has made it clear that the owner or                   all CCR and liquids have been removed
                                            it is CCR. Under the existing regulations               operator of a CCR facility can close a                from the impoundment prior to October
                                            the definition of CCR does not include                  CCR unit under either § 257.102 (c) or                19, 2015, nothing further is required.
                                            leachate. See, 40 CFR 257.53. EPA did                   (d) and be in compliance with the                        Under the definition in the final rule,
                                            not propose to amend this regulation                    Federal CCR regulations.                              a facility that initiated closure by
                                            and does not currently intend to do so.                   Finally, EPA received a number of                   removal prior to October 19, 2015, but
                                                                                                    comments on the kind of documentation                 whose impoundment still contained
                                            (b) Exclusions                                          that a facility needed to support a                   CCR and liquids on or after October 19,
                                              Several commenters suggested a                        determination that it had closed a legacy             2015 is considered a legacy CCR surface
                                            number of other exemptions. For                         impoundment by removal in accordance                  impoundment and regulated under this
                                            example, one commenter suggested that                   with the standards in § 257.102(c) prior              final rule, even if the facility has
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                                            the final rule exclude legacy                           to October 19, 2015. Some commenters                  removed all CCR prior to the effective
                                            impoundments that only contain de                       requested that the final rule require                 date of this final rule. Depending on
                                            minimis quantities of CCR. According to                 facilities to post detailed documentation             when the impoundment completes
                                            the commenter, EPA’s risk analysis from                 demonstrating compliance with                         closure, some individual requirements
                                            the 2015 CCR Rule supports the                          § 257.102(c). Other commenters,                       may no longer be applicable to the
                                            conclusion that up to 75,000 tons of                    however, objected to any documentation                legacy CCR surface impoundment (e.g.,


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                                            when the compliance date in the final                   action throughout the post-closure care               of this date would mean that the same
                                            rule falls after the date closure is                    period (in addition to recordkeeping                  universe of units that were subject to the
                                            completed for the impoundment); but as                  and posting).                                         original exemption would be regulated
                                            EPA explained in the proposal, the                         The documentation requirements,                    and that this is consistent with the
                                            Agency has no basis for concluding that                 procedures, and compliance deadlines                  Court’s vacatur, as vacatur is intended
                                            all legacy CCR surface impoundments                     for these various options are discussed               to restore the status quo ante, as though
                                            that are still in the process of closing                further in Unit III.B.2.g of this preamble.           the vacated provision never existed. 88
                                            pose no risk.                                              EPA also disagrees with the                        FR 31994, 32034.
                                               The final rule retains the provision                 commenter that 75,000 tons is a de                       Commenters supported October 19,
                                            under which a facility with a CCR                       minimis amount of CCR. The                            2015, as the operative date to be used
                                            surface impoundment that contained                      commenter has misunderstood EPA’s                     in the definition of an inactive facility
                                            CCR and liquids on October 19, 2015,                    findings in 2015; EPA did not conclude                because any other date would be
                                            but that completed closure by removal                   that quantities of CCR lower than 75,000              inconsistent with the existing definition
                                            before the effective date of this rule,                 tons used as fill does not pose any risk              of an ‘‘active facility.’’ However, many
                                            would only be required to post                          to human health or the environment.                   commenters opposed the proposed
                                            documentation on the facility’s CCR                     Rather EPA concluded that, while the                  substitution of the phrase ‘‘regardless of
                                            website that it has met the standards in                agency has sufficient information to                  the fuel currently used to produce
                                            § 257.102(c) for that unit (i.e., the                   document that unencapsulated uses can                 electricity’’ with ‘‘regardless of how
                                            certification of closure by removal for                 present a hazard, based on the                        electricity is currently being produced
                                            legacy CCR surface impoundments). To                    rulemaking record EPA lacked the                      at the facility.’’ According to these
                                            be eligible for the closure certification,              information necessary to demonstrate                  commenters, the existing definition of
                                            the facility must document that it meets                that unencapsulated uses in amounts                   ‘‘active facility’’ does not extend to
                                            the criteria laid out in Unit III.B.2.b.iii.            lower than 12,400 tons are likely to                  facilities that do not use fuel, including,
                                            Namely, the facility must demonstrate                   present a risk. 80 FR 21352. In any                   for example, facilities that produce solar
                                            that consistent with the existing                       event, as discussed in Unit III.A.4,                  power, because the plain language of
                                            standards, all CCR has been removed                     recent EPA modeling demonstrates that                 § 257.50(c) makes clear that, to be
                                            from the unit, any areas affected by                    far lower quantities of CCR (1,000 tons)              active, a facility must use a fuel to
                                            releases from the CCR unit have been                    can pose significant risks to human                   produce electricity. These commenters
                                            removed, and must have groundwater                      health and the environment.                           cite two preamble statements in the
                                            monitoring data demonstrating that the                     In the 2015 CCR Rule, EPA provided
                                                                                                                                                          2015 CCR Rule to support their
                                            concentrations of each Appendix IV                      guidance on which impoundments
                                                                                                                                                          allegation. The first is the applicability
                                            constituent do not exceed the relevant                  would not meet the definition of a CCR
                                                                                                                                                          section of 2015 CCR Rule, which only
                                            groundwater protection standard, which                  impoundment because they generally do
                                                                                                                                                          references the NAICS 221112 (Fossil
                                            would be either the MCL or background                   not contain significant levels of CCR. 80
                                                                                                                                                          Fuel Power Generation). These
                                            concentration, for two consecutive                      FR 21357. Specifically, EPA explained
                                                                                                    that CCR surface impoundments do not                  commenters speculate that if EPA had
                                            sampling events.                                                                                              intended for the term ‘‘active facility’’ to
                                               If a facility certifies all of the legacy            include units generally referred to as
                                                                                                    cooling water ponds, process water                    extend to facilities that do not use fuel
                                            CCR surface impoundments on-site have
                                                                                                    ponds, wastewater treatment ponds,                    to produce electricity, EPA would have
                                            met the requirements in § 257.102(c) for
                                                                                                    storm water holding ponds, or aeration                included other NAICS codes. The
                                            closure by removal before the effective
                                                                                                    ponds. These units do not meet the                    second statement appears in the
                                            date of this rule, the facility would not
                                                                                                    definition of a CCR surface                           executive summary and explains that
                                            be subject to any further requirements
                                            under this final rule (i.e., neither legacy             impoundment, that is, they are not                    the rule applies to:
                                            CCR surface impoundment                                 designed to hold an accumulation of                   Certain inactive CCR surface impoundments
                                            requirements or CCRMU requirements).                    CCR and treatment storage or disposal of              (i.e., units not receiving CCR after the
                                               For similar reasons as explained                     accumulated CCR does not occur in                     effective date of the rule) at active electric
                                            above, EPA cannot accept the                            these units. Accordingly, EPA considers               utilities or independent power producers’
                                                                                                                                                          facilities, regardless of the fuel currently used
                                            commenter’s suggestion that EPA                         that such units would also not be legacy              at the facility to produce electricity (e.g.,
                                            establish the same provision for                        impoundments. EPA acknowledges that                   coal, natural gas, oil), if the CCR unit still
                                            facilities that closed a legacy                         it mistakenly referred to one of these                contains CCR and liquids.
                                            impoundment prior to the effective date                 units as a CCR surface impoundment in
                                            of this final rule in accordance with                   the proposal, but that was an error.                  80 FR 21303.
                                            § 257.102(d) (closure when leaving CCR                                                                           The commenters contended that
                                            in place) and allow facilities to simply                c. Legacy CCR Surface Impoundment—                    EPA’s proposal represents a significant
                                            demonstrate that the closure meets the                  Requirement To Be Located at an                       change that will subject renewable
                                            performance standards in § 257.102(d).                  ‘‘Inactive Facility’’                                 generation to the CCR regulations (e.g.,
                                            The commenters appear to be requesting                     EPA proposed to define an ‘‘inactive               a former coal-fired power plant that was
                                            an exemption from post closure                          facility’’ (or inactive electric utility or           retired, closed and dismantled well in
                                            groundwater monitoring and corrective                   independent power producer) as one                    advance of the 2015 CCR Rule that had
                                            action requirements, but provided no                    that ceased producing electricity prior               new renewable generation built at the
                                            factual basis for such an exemption.                    to October 19, 2015, which is the                     facility), creating strong disincentives to
                                            Nevertheless, as discussed in Unit                      effective date of the 2015 CCR Rule.                  renewable repowering at those sites.
                                            III.B.2.g.iii of this preamble, if a facility           EPA explained that this date is also the              These commenters further added that
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                                            can document that the closure of its unit               same date currently used in the                       such a change in position requires EPA
                                            meets the performance standards in                      regulation to define ‘‘active facility’’              to take reliance interests into account.
                                            § 257.102(d), all that would be required                under § 257.53, and that EPA originally               To address this, the commenters made
                                            is compliance with the groundwater                      used this date to define the exempted                 two suggestions. The first was that EPA
                                            monitoring requirements in §§ 257.90–                   inactive units in the 2015 CCR Rule.                  should establish an exemption from
                                            257.95, and any necessary corrective                    The proposal further explained that use               regulation for inactive facilities that


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                                            generate 50 megawatt (MW) or less to                      Consequently, EPA disagrees that                    rule. Some of these stated that there is
                                            the grid (all from renewable energy).                   facilities have any reliance interest in a            no statutory basis for uniformly
                                            The 50 MW threshold is consistent with                  less expansive definition. Generally, a               excluding existing owners and operators
                                            the small generating units subcategory                  reliance interest may be implicated if an             from any RCRA regulations applicable
                                            under the Federal effluent limitations                  agency issues a policy, a party takes an              to legacy impoundments. According to
                                            guidelines and standards (ELG)                          action based on that policy, and the                  these commenters, the concept of an
                                            regulations.56 In addition, the                         agency subsequently changes its policy.               ‘‘innocent owner’’ does not apply to
                                            commenters believed that this would                     DHS v. Regents of the Univ. of Cal., 140              legacy impoundments because only the
                                            also account for sites that have utilized               S. Ct. 1891, 1913 (2020). Here, EPA                   owner of the regulated unit can fulfill
                                            renewable energy (e.g., solar panels) for               never changed its position, and there                 obligations involving affirmative
                                            the primary purpose of powering the                     can be no legitimate reliance on a non-               regulatory controls.
                                            remaining infrastructure, but may                       existent past position.                                  Other commenters stated that relevant
                                            potentially supply very limited amounts                    Even if the regulatory amendment                   parties may allocate liability among
                                            to the grid on occasion.                                reflected a changed in policy, EPA                    themselves through various agreements
                                               The second suggestion was that EPA                   issued a proposal and solicited                       and arrangements. These commenters
                                            confirm that this is a prospective change               comment from affected entities on the                 explained that liability should not be
                                            and provide a pathway for compliance                    substance of the policy that would be in              rigidly limited only to the current
                                            for facilities that would be newly                      place in the final action. The                        owner, that liability should honor
                                            subject to the CCR Rule. According to                   commenters had an opportunity to                      existing agreements (e.g., purchase and
                                            those facilities relied in good faith on                provide EPA with information detailing                sale agreement), and that it may be
                                            the explanatory statements in the 2015                  their reliance interests, although they               appropriate under some circumstances
                                            CCR Rule preamble and the plain                         failed to do more than allege that they               for shared responsibility between the
                                            meaning of the term ‘‘fuel,’’ believed                  had reliance interests in remaining                   current owner and the utility. Another
                                            they were inactive facilities and did not               exempt. EPA has explained why,                        commenter stated that each of the
                                            have units subject to requirements of the               notwithstanding those interests, the                  utilities and each transferee should
                                            CCR Rule, and accordingly should be                     agency believes that this is the better               remain responsible for rule compliance
                                            allotted a separate new compliance                      policy. No more is required. DHS v.                   regardless of how responsibility is
                                            timeframe.                                              Regents of the Univ. of Cal., supra at                currently allocated.
                                               EPA disagrees that the phrase                        1913.                                                    Other commenters supported
                                            ‘‘regardless of the fuel currently used to                 Nevertheless, EPA is sensitive to not              adoption of an innocent owner
                                            produce electricity’’ under § 257.50(c)                 creating disincentives to renewable                   provision in the regulations. These
                                            indicates that EPA meant to limit the                   repowering at those sites. In addition,               commenters claimed that EPA is
                                            rule to facilities that combust fossil                  EPA acknowledges that although                        responsible for creating a new class of
                                            fuels. As EPA stated in the proposed                    commenters’ interpretation is not the                 innocent owner when it changed the
                                            rule, the definition of an active facility              best reading of the provision, it is a                2015 CCR regulations. Consequently,
                                            at § 257.53 does not include any                        plausible one. Accordingly, EPA has                   these commenters urged EPA to develop
                                            limitation related to how the facility                  adopted the commenters’ suggestion                    an innocent landowner provision that
                                            generates electricity. The clause,                      that the Agency provide a pathway to                  would allow both the utilities and
                                            ‘‘regardless of the fuel currently used to              compliance for facilities that believed               developers to come to a mutual
                                            produce electricity’’ in § 257.50(c) does               they were inactive facilities and did not             agreement as to who has the
                                            not limit coverage only to facilities that              have units subject to the requirements of             environmental and financial
                                            use fuel to generate electricity. The                   the 2015 CCR Rule. This final rule                    responsibility of these newly regulated
                                            plain language of the clause actually                   provides that facilities producing                    units. Finally, another commenter
                                            states the opposite; that coverage                      electricity through renewables (i.e., non-            suggested EPA take time to evaluate the
                                            applies without regard to the fuel used                 fuels) are subject to the same applicable             different types of innocent property
                                            to produce electricity. Or in other                     compliance deadlines for these units.                 owners and then consider adding an
                                            words, without regard to the type of fuel               See § 257.100(a)(1).                                  innocent owner provision to the
                                            used or indeed whether any fuel is used                    EPA is rejecting the commenters’                   regulations.
                                            to produce electricity.                                 suggestion that EPA exempt inactive                      EPA has not included an innocent
                                               EPA also disagrees that either of the                facilities that generate 50 megawatt                  owner provision in the final rule. EPA
                                            cited preamble statements demonstrate                   (MW) or less to the grid. This is because             explained in the proposal that its
                                            a contrary intent. As the commenters                    an exemption for small generating units               analysis of inactive facilities found that
                                            themselves acknowledge, the discussion                  based on current operations, such as                  most inactive facilities are owned by
                                            of affected entities expressly states that              renewable generation with a capacity of               companies that are already regulated by
                                            it ‘‘may not be exhaustive; other types                 50 MW or less, do not necessarily                     the CCR regulations. The analysis
                                            of entities not listed could also be                    correlate to the current risks resulting              presented in the proposed rule
                                            affected.’’ 80 FR 21302. In addition, EPA               from past coal-fired generation                       indicated that approximately 80% of
                                            expressly stated that ‘‘[t]o determine                  operations.                                           potential legacy impoundments (i.e.,
                                            whether your facility, company,                                                                               126 of the 156 identified potential units)
                                            business, organization, etc., is affected               d. Innocent Owners                                    are owned by companies the Agency
                                            by this action, you should refer to the                    EPA proposed not to establish an                   knows as already having units subject to
                                            applicability criteria discussed in Unit                ‘‘innocent owner’’ provision in the CCR               the CCR regulations. 88 FR 31994. As a
                                            VI.A of this document.’’ Id. Similarly,                 regulations, in part because EPA had no               consequence, EPA proposed it had no
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                                            the parenthetical description ‘‘(e.g.,                  factual basis to establish one. 88 FR                 factual basis to establish an innocent
                                            coal, natural gas, oil)’’ uses the                      31994–95. The Agency received                         owner provision. 88 FR 31995. EPA has
                                            abbreviation e.g., which indicates that it              comments both opposing and                            updated the ownership analysis based
                                            is not comprehensive.                                   supporting such a provision. Most                     on an updated list of potential legacy
                                                                                                    commenters opposed the inclusion of an                impoundments. The revised analysis
                                              56 80 FR 67838 (November 3, 2015).                    innocent owner provision in the final                 continues to indicate that most inactive


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                                            facilities are owned by companies that                  requirement; a new security                           inactive impoundments, including by
                                            are already regulated by the CCR                        requirement to restrict public access to              adding requirements to the fugitive
                                            regulations. The 194 potential legacy                   these sites; and a closure certification.             dust, closure, and post-closure care
                                            impoundments identified in the final                    As explained in the proposed rule, EPA                requirements; further revising the
                                            rule are associated with 52 different                   proposed to exclude the location                      groundwater monitoring requirements
                                            unique corporate parents. Of the 194                    restrictions and the liner design criteria            to ban intrawell data comparisons;
                                            impoundments, 142 units (or 73%), are                   requirements because EPA believed they                mandating closure by removal; and
                                            owned by 28 companies the Agency                        would not be necessary if EPA took final              using a risk-based approach for
                                            knows own facilities currently subject to               action on the proposed requirement that               corrective action and closure
                                            the CCR regulations. The remaining 52                   all legacy CCR surface impoundments                   requirements.
                                            impoundments are owned by 24                            initiate closure no later than 12 months                 EPA still considers that based on the
                                            different companies, with each                          after the effective date of the final rule.           record (as described in III.A of this
                                            company generally having just one                       Furthermore, the proposed rule                        preamble), EPA has limited discretion to
                                            location/site with legacy CCR surface                   explained that the record for the 2015                establish requirements for legacy CCR
                                            impoundments (with two exceptions,                      CCR Rule demonstrated that ‘‘there is                 surface impoundments that are
                                            that each own two sites).                               little difference between the potential
                                                                                                                                                          significantly different than those
                                               EPA is also aware of a number of                     risks of an active and inactive surface
                                                                                                                                                          currently applicable to inactive CCR
                                            instances in which parties have                         impoundment; both can leak into
                                                                                                                                                          impoundments. For that reason and
                                            allocated liability among themselves                    groundwater, and both are subject to
                                                                                                                                                          those laid out in the preamble of the
                                            through various agreements and                          structural failures that release the
                                                                                                                                                          proposed rule, EPA did not adopt any
                                            arrangements. EPA infers from this that                 wastes into the environment, including
                                                                                                                                                          of the new requirements, such as zero
                                            an innocent landowner provision is not                  catastrophic failures leading to massive
                                                                                                                                                          discharge limits, new reporting
                                            necessary to allow utilities and                        releases that threaten both human
                                                                                                                                                          requirements, financial assurance
                                            developers to come to a mutual                          health and the environment.’’ 80 FR
                                                                                                                                                          measures, or new beneficial use
                                            agreement on how best to allocate                       21343. As discussed in Unit II.B of this
                                                                                                                                                          restrictions suggested by commenters.
                                            environmental and financial                             preamble, the D.C. Circuit came to the
                                                                                                    same conclusion, and on that basis,                   The final rule contains only one
                                            responsibility. EPA has no interest in
                                                                                                    vacated the exemption for legacy CCR                  additional revision of the existing
                                            taking actions that could potentially
                                                                                                    surface impoundments. See, USWAG at                   requirements for inactive CCR surface
                                            inhibit or interfere with these private
                                                                                                    901 F.3d at 434. Based on the record,                 impoundments beyond the four
                                            arrangements. For all these reasons EPA
                                                                                                    EPA considered that it has limited                    included in the proposed rule: the
                                            continues to believe that an innocent
                                                                                                    discretion to establish requirements for              deferral to permitting of certain closure
                                            owner provision is not currently needed
                                                                                                    legacy CCR surface impoundments that                  activities. The rationale for the final
                                            and has not included such a provision
                                                                                                    are significantly different than those                requirements is detailed in subsequent
                                            in the final rule.
                                                                                                    currently applicable to inactive CCR                  sections in this Unit.
                                            2. Applicable Requirements for Legacy                                                                            For the reasons detailed in the
                                                                                                    impoundments. This is also consistent
                                            CCR Surface Impoundments and                                                                                  proposed rule, except for certain legacy
                                                                                                    with how the USWAG court viewed the
                                            Compliance Deadlines                                                                                          impoundments, EPA is finalizing the
                                                                                                    2015 record. Accordingly, EPA
                                              This Unit of the preamble first                       proposed that in most cases the existing              requirement for legacy CCR surface
                                            provides a general overview of how EPA                  requirements in 40 CFR part 257,                      impoundments to comply with the
                                            determined the applicable requirements                  subpart D applicable to inactive CCR                  existing regulations in 40 CFR part 257,
                                            and compliance deadlines for legacy                     surface impoundments would apply to                   subpart D applicable to inactive CCR
                                            CCR surface impoundments. Then, EPA                     legacy CCR surface impoundments.                      surface impoundments except for the
                                            discusses each of the existing                             EPA received numerous comments on                  location restrictions at §§ 257.60
                                            requirements for CCR surface                            the proposed rule regarding the                       through 257.64, and the liner design
                                            impoundments and explains: (1) Why                      requirements applicable to legacy CCR                 criteria at § 257.71. EPA is also
                                            EPA is (or is not) applying them to                     surface impoundments. Several                         finalizing the revision to the existing
                                            legacy CCR surface impoundments; and                    commenters generally supported the                    groundwater monitoring requirements,
                                            (2) The rationale for the compliance                    regulatory approach, although some                    combining detection and assessment
                                            deadline EPA is finalizing for each                     suggested that legacy CCR surface                     monitoring for legacy CCR surface
                                            requirement.                                            impoundments be subject to all the                    impoundments and the two new
                                                                                                    existing CCR regulations, including the               requirements specific to legacy CCR
                                            a. General Overview
                                                                                                    location restrictions at §§ 257.60                    surface impoundments: the applicability
                                            i. Applicable Requirements for Legacy                   through 257.64 and the liner design                   documentation (§ 257.100(f)(1)(i)) and
                                            CCR Surface Impoundments                                criteria at § 257.71. Other commenters                the site security requirement
                                              EPA proposed to apply all of the                      stated that the inspections at § 257.83               (§ 257.100(f)(3)(iii)).
                                            existing requirements in 40 CFR part                    were only relevant for operating CCR                     The final rule also establishes a
                                            257, subpart D that are currently                       units and therefore should not be                     tailored subset of requirements
                                            applicable to inactive CCR surface                      applied to legacy CCR surface                         applicable to legacy CCR surface
                                            impoundments to legacy CCR surface                      impoundments. A few commenters                        impoundments that were closed prior to
                                            impoundments, except for the location                   suggested EPA create additional                       the effective date of this rule, including
                                            restrictions at §§ 257.60 through 257.64,               requirements for legacy CCR surface                   those impoundments whose closures
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                                            and the liner design criteria at § 257.71.              impoundments such as zero discharge                   qualify for deferral because they were
                                            EPA also proposed one revision to the                   limits, new reporting requirements,                   conducted in accordance with
                                            existing groundwater monitoring                         financial assurance measures, and                     substantially equivalent State or Federal
                                            requirements and three new                              beneficial reuse restrictions. Other                  requirements. See Unit III.B.2.g.iii.(b) of
                                            requirements specific to legacy CCR                     commenters suggested that EPA revise                  this preamble for further discussion of
                                            surface impoundments: a reporting                       the existing requirements applicable to               the deferral.


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                                            (a) Applicable Requirements for Legacy                  and the fugitive dust requirements, as                becoming subject to these
                                            CCR Surface Impoundments Closed by                      noted above. EPA has determined that                  requirements).
                                            Removal                                                 the other design and operating criteria                  EPA is also finalizing the requirement
                                                                                                    are not applicable to units that have                 for this subset of legacy CCR surface
                                               EPA is finalizing a tailored subset
                                                                                                    closed by removal and therefore no                    impoundments to comply with the site
                                            requirements for legacy CCR surface
                                                                                                    longer contain CCR in the unit on the                 security requirements applicable to
                                            impoundments that have completed
                                                                                                    effective date of this final rule. For                other legacy CCR surface
                                            closure by removal before the effective
                                                                                                    example, the requirement to prepare                   impoundments. EPA determined that
                                            date of this final rule but are not able
                                                                                                    and maintain an EAP is not relevant                   the site security requirements are
                                            to complete the certification of closure
                                                                                                    when CCR is no longer present in the                  needed to minimize the potential for the
                                            by removal (see, Unit III.B.2.b.iii). For
                                                                                                    unit nor is the requirement to conduct                unauthorized entry of people or animals
                                            the reasons detailed in this Unit and in
                                                                                                    weekly inspections of the legacy                      to disturb the final cover system, as
                                            the following Units of the preamble
                                                                                                    impoundment.                                          these units are unlikely to be monitored.
                                            (Units III.B.2.b–III.B.2.h), the owner or                                                                     EPA also expects facilities that closed
                                            operator of such units must comply                      (b) Applicable Requirements for Legacy                legacy CCR surface impoundments with
                                            with the following requirements: the                    CCR Surface Impoundments That                         waste in place to protect the monitoring
                                            applicability report, installation of a                 Closed With Waste in Place                            equipment and monitoring wells,
                                            permanent marker, all groundwater                          EPA is finalizing a tailored subset of             similar to other legacy CCR surface
                                            monitoring and corrective action                        requirements for legacy CCR surface                   impoundments.
                                            (including combined detection                           impoundments that, by the effective                      This final rule also requires the
                                            monitoring and assessment monitoring),                  date of this final rule, have completed:              owners and operators of these units to
                                            recordkeeping, notification, and website                (1) closure with waste in place or (2) a              complete the history of construction in
                                            posting. In addition, if a CCRMU is                     closure eligible for deferral to permitting           accordance with § 257.73(c). The history
                                            discovered onsite during the course of                  as described in Unit III.2.g.iii(b). For the          of construction provides information
                                            complying with the Facility Evaluation                  reasons detailed in this Unit and in the              regarding the original site conditions, as
                                            Report (FER), the owner or operator of                  following sections (Units III.B.2.b–                  well as the unit’s original design and
                                            these units must develop a fugitive dust                III.B.2.h), the owner or operator of such             construction, such as cross sections of
                                            control plan (see Unit III.C.3).                        units must comply with the following                  the length and width of the CCR unit.
                                               While EPA acknowledges that these                    requirements: applicability report, site              It would also include information on
                                            closed units are unlikely to have any                   security, installation of the permanent               subsequent revisions, such as the design
                                            ongoing activities that would create                    marker, history of construction, fugitive             and construction of any lateral
                                            fugitive dust, EPA determined that                      dust control plan, annual fugitive dust               expansions. This information is relevant
                                            requiring these units to comply with the                control report, all groundwater                       to designing (and evaluating) the
                                            fugitive dust requirement was                           monitoring and corrective action                      groundwater monitoring system, unit
                                            appropriate because these units are                     (including combined detection                         closures, and corrective actions. For
                                            subject to the CCRMU requirements and                   monitoring and assessment monitoring),                example, the history of construction
                                            there is a reasonable likelihood that CCR               written post-closure care plan, post-                 would normally include the elevations
                                            fugitive dust would be generated as part                closure care, recordkeeping,                          of the unit base and the CCR in the unit
                                            of the actions required to comply with                  notification, and website posting. In                 (i.e., the ground elevation contours
                                            those requirements (e.g., field work to                 addition, the final rule requires the                 within the footprint prior to unit
                                            determine the presence or absence of                    facility to provide information on the                construction); this information, in
                                            CCRMU, CCRMU closure). As such, if a                    completed closure of the legacy CCR                   conjunction with the site
                                            CCRMU is discovered onsite of a facility                surface impoundment, along with                       characterization developed under
                                            with a legacy CCR surface                               supporting documentation to                           § 257.90 to design the groundwater
                                            impoundment that has closed by                          demonstrate that the closure meets the                monitoring system can be used to
                                            removal, the owner or operator must                     performance standards in § 257.102(d)                 determine whether the unit intersects
                                            complete a fugitive dust plan no later                  or the standards specified in                         with the groundwater (i.e., the unit’s
                                            than six months after the FER is due                    § 257.101(g).                                         ability to sufficiently contain CCR and
                                            (i.e., no later than 33 months after                       While EPA acknowledges that these                  contaminants that may leach from CCR).
                                            becoming subject to these                               closed units are unlikely to have any                 This information remains relevant in
                                            requirements).                                          ongoing activity that would create                    evaluating closure, when addressing any
                                               EPA determined that the site security                fugitive dust, EPA determined that                    contamination coming from the unit,
                                            requirements applicable to other legacy                 requiring these units to comply with the              and throughout the post-closure care
                                            CCR surface impoundments would not                      fugitive dust requirement was                         period. Therefore, EPA is requiring this
                                            be relevant for this subset of units as the             appropriate because these units are                   subset of legacy CCR surface
                                            CCR has been removed from the unit                      subject to the CCRMU requirements and                 impoundments to comply with the
                                            and the land may be being used for                      there is a reasonable likelihood that CCR             history of construction requirement.
                                            another purpose (e.g., nature preserve,                 fugitive dust would be generated as part                 EPA has determined that the other
                                            agricultural land, redevelopment).                      of the actions required to comply with                design and operating criteria (all those
                                            However, EPA expects legacy CCR                         those requirements (e.g., field work to               besides the permanent marker, site
                                            surface impoundments that closed by                     determine the presence or absence of                  security, history of construction, and
                                            removal to protect the monitoring                       CCRMU, CCRMU closure). As such, if a                  fugitive dust requirements) are not
                                            equipment and monitoring wells,                         CCRMU is discovered onsite of a facility              applicable to units that have completed
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                                            similar to other legacy CCR surface                     with a legacy CCR surface                             closure in accordance with § 257.102(d)
                                            impoundments.                                           impoundment that has closed by                        by the effective date of this final rule.
                                               EPA is also not requiring these units                removal, the owner or operator must                   For example, the requirement to prepare
                                            to comply with any other design criteria                complete a fugitive dust plan no later                an inflow design flood control system
                                            or operating criteria, aside from the                   than six months after the FER is due                  plan is not relevant for units that have
                                            installation of the permanent marker                    (i.e., no later than 33 months after                  installed a final cover system, as post-


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                                            closure care requires a final cover                     familiarity with the existing                         commenters expressed the belief that
                                            system to be maintained and                             requirements, along with the fact that                the proposed deadlines would result in
                                            groundwater monitoring to continue.                     these units are no longer in use and                  unintentional non-compliance despite
                                            Additionally, periodic assessments,                     therefore would not need time to cease                facilities’ best efforts to comply due to
                                            such as the hazard potential                            receipt of waste, further justified the               the constraints listed above. Finally, a
                                            classification assessment and the                       expedited deadlines.                                  few commenters suggested EPA create
                                            structural stability assessments, are                      Many other commenters stated the                   alternative deadlines or mechanisms for
                                            intended to address risks from unclosed                 proposed compliance deadlines were                    extensions based on site-specific
                                            unit and therefore, consistent with the                 infeasible and should, at a minimum,                  characteristics.
                                            requirements for units that have                        allow as much time for compliance as                     In response to comments, EPA
                                            completed closure under the 2015 CCR                    the 2015 CCR Rule deadlines, although                 reevaluated the compliance deadlines
                                            Rule, are not applicable to units that                  several commenters expressed that even                for legacy CCR surface impoundments.
                                            have closed with waste in place.                        the 2015 CCR Rule deadlines were                      EPA reconsidered the impact of the
                                            ii. Compliance Deadlines for Legacy                     inadequate, and that the insufficient                 following on the amount of time
                                            CCR Surface Impoundments                                timeframes were likely a factor in the                facilities needed to complete the
                                                                                                    gap between EPA’s expectations and                    activities involved in meeting the
                                               EPA proposed to establish new
                                                                                                    facilities’ good faith efforts and                    requirements: accessibility and
                                            compliance dates for legacy CCR surface
                                                                                                    utilization of best practices in                      abundance, or lack thereof, of historical
                                            impoundments. The proposed rule
                                                                                                    developing groundwater monitoring                     documentation; seasonality; clearing
                                            explained that the 2015 CCR Rule
                                            compliance deadlines were based on the                  networks, sampling and analysis plans,                restrictions and required local and State
                                            amount of time determined to be                         corrective action programs, and closure               approvals to clear vegetation or drill
                                            necessary to implement the                              plans. Commenters pointed to several                  wells; existing disposal options; impact
                                            requirements and the proposed                           factors that they believed EPA did not                of the national labor shortage and
                                            compliance dates for legacy CCR surface                 fully incorporate into the proposed                   contractor and laboratory backlogs; and
                                            impoundments were determined using                      deadline calculations that make                       overlapping compliance deadlines for
                                            the same approach. The proposed rule                    compliance with the proposed                          CCRMU, existing units (i.e.,
                                            further explained that some factors                     deadlines infeasible: the large number of             groundwater monitoring, closure, and
                                            considered in determining the 2015 CCR                  CCR units (i.e., existing CCR units,                  post-closure care), and legacy CCR
                                            Rule compliance deadlines were not                      legacy CCR surface impoundments,                      surface impoundments. Overall, EPA
                                            relevant for legacy CCR surface                         CCRMU) competing for limited                          found the information provided
                                            impoundments, such as the need                          resources to meet overlapping                         regarding the infeasibility of the
                                            coordinate compliance deadlines with                    compliance deadlines; the limited                     proposed deadlines convincing.
                                            the then recently promulgated ELG rule.                 number of qualified contractors                       Specifically, EPA agrees that the
                                            In addition, EPA anticipated most                       available to conduct necessary activities             shortage of qualified contractors and
                                            facilities would already be familiar with               to reach the compliance deadlines; the                laboratory resources has persisted, if not
                                            the existing regulations, and therefore                 nationwide labor shortage exacerbated                 increased, since the 2015 CCR Rule and
                                            the proposed requirements for legacy                    by impacts from the COVID–19                          that the increasing demand on these
                                            CCR surface impoundments, and fewer                     pandemic; limited existing alternative                finite resources from new and existing
                                            facilities and units would need to come                 disposal options; overlapping regulatory              CCR units, legacy CCR surface
                                            into compliance, as compared to the                     requirements (e.g., State drilling                    impoundments, and CCRMU complying
                                            2015 CCR Rule. Consequently, EPA                        permits, timing restrictions related to               with overlapping requirement deadlines
                                            proposed generally expedited deadlines                  protected habitats, State CCR permits,                will likely increase the time needed to
                                            based on the expected shortest average                  Consent Decrees/Orders); seasonality                  come into compliance. EPA
                                            amount of time needed to complete the                   impacts in different regions across the               acknowledges that the proposed
                                            necessary activities to meet the                        nation; and accessibility and                         deadlines did not adequately account
                                            requirements. In the proposed rule, EPA                 completeness, or lack thereof, of                     for those nationwide impacts of
                                            requested comment on the proposed                       historical documentation and                          seasonality and extreme weather events;
                                            compliance deadlines and the feasibility                information. One commenter provided                   necessary coordination with outside
                                            to meet the proposed compliance                         specific information regarding typical                parties (e.g., State agencies, local
                                            timeframes for legacy CCR surface                       delays experienced during the                         governments); locating disposal capacity
                                            impoundments.                                           implementation of the 2015 CCR Rule                   for those units closing by removal; the
                                               EPA received numerous comments                       caused by third-party availability and                need to comply with overlapping
                                            regarding the proposed compliance                       backlogs: two to four weeks for                       regulatory requirements, such as State
                                            deadlines. Several commenters                           contractor mobilization; two to six                   drilling permits or timing restrictions
                                            expressed support for the proposed                      weeks for site clearing; two to three                 related to protected habitats; or
                                            compliance deadlines for legacy CCR                     weeks for surveys; three to 12 weeks for              necessary quality assurance and quality
                                            surface impoundments. Generally, these                  environmental drillers; and three to four             control in calculating the proposed
                                            commenters stated that expedited                        weeks for laboratory analyses. These                  deadlines. Therefore, as detailed in
                                            compliance was appropriate due to the                   commenters also said EPA grossly                      Units III.B.2.b through h, EPA extended
                                            increased risk posed by these units, the                underestimated the amount of time                     the deadlines for legacy CCR surface
                                            likelihood that these units are actively                needed to hire a contractor, locate and               impoundments to provide at least as
                                            contaminating groundwater, and the                      review historical information, access a               much time facilities had to come into
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                                            urgent need for corrective action to                    legacy CCR surface impoundment site,                  compliance with the 2015 CCR Rule. In
                                            address that contamination for the                      characterize and delineate a site,                    some cases, EPA extended the deadlines
                                            protection of human health and the                      comply with the groundwater                           for legacy CCR surface impoundments
                                            environment. Some of these                              monitoring requirements, and conduct                  even further to mitigate factors
                                            commenters echoed the proposed rule,                    quality control or quality assurance on               mentioned by commenters that
                                            stating that owner’s or operator’s                      data and reports. Several of these                    convinced EPA the 2015 compliance


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                                            deadlines would be infeasible for legacy                    able to come into compliance before the                                 the final rule. Accordingly, facilities
                                            impoundments. Overall, most of the                          2015 deadlines, the majority of units                                   will have an additional six months
                                            comments EPA received supported                             used all the time allowed by the 2015                                   beyond the deadlines to come into
                                            deadlines that allowed at least as much                     CCR Rule.                                                               compliance. The Agency has included a
                                            time as EPA originally provided in the                         Note that all deadlines herein are                                   document in the docket for this rule that
                                            2015 CCR Rule. While some units                             framed by reference to the effective date                               summarizes the finalized compliance
                                            regulated by the 2015 CCR Rule were                         of the rule; the final rule will be                                     deadlines.57
                                                                                                        effective six months after publication of
                                                                  TABLE 1—FINAL COMPLIANCE TIME FRAMES FOR LEGACY CCR SURFACE IMPOUNDMENTS
                                                                                                                                                      Deadline
                                                40 CFR Part 257, Subpart D               Description of requirement to be                 (months after effective date of this                                   Date
                                                       requirement                                  completed                                         final rule)

                                            Applicability Report (§ 257.100) .....      Complete applicability report ........            0 ....................................................   Friday, November 8, 2024.
                                            Internet Posting (§ 257.107) ..........     Establish CCR website .................           0 ....................................................   Friday, November 8, 2024.
                                            Site Security (§ 257.100(f)(3)(iii)) ...    Implement site security measures                  0 ....................................................   Friday, November 8, 2024.
                                            Operating Criteria (§ 257.80) .........     Prepare fugitive dust control plan                0 ....................................................   Friday, November 8, 2024.
                                            Operating      Criteria    (§ 257.80,       Initiate weekly inspections of the                0 ....................................................   Friday, November 8, 2024.
                                               257.82, 257.83).                            CCR unit.
                                            Operating      Criteria    (§ 257.80,       Initiate monthly monitoring of                    0 ....................................................   Friday, November 8, 2024.
                                               257.82, 257.83).                            CCR unit instrumentation.
                                            Design Criteria (§ 257.73) ..............   Install permanent marker ..............           2 ....................................................   Wednesday, January 8, 2025.
                                            Operating      Criteria    (§ 257.80,       Complete initial annual inspection                3 ....................................................   Monday, February, 10, 2025.
                                               257.82, 257.83).                            of the CCR unit.
                                            Operating Criteria (§ 257.80) .........     Complete initial annual fugitive                  14 ..................................................    Thursday, January 8, 2026.
                                                                                           dust report.
                                            Design Criteria (§ 257.73) ..............   Compile history of construction ....              15 ..................................................    Monday, February 9, 2026.
                                            Design Criteria (§ 257.73) ..............   Complete initial hazard potential                 18 ..................................................    Friday, May 8, 2026.
                                                                                           classification assessment.
                                            Design Criteria (§ 257.73) ..............   Complete initial structural stability             18 ..................................................    Friday, May 8, 2026.
                                                                                           assessment.
                                            Design Criteria (§ 257.73) ..............   Complete initial safety factor as-                18 ..................................................    Friday, May 8, 2026.
                                                                                           sessment.
                                            Design Criteria (§ 257.73) ..............   Prepare emergency action plan ...                 18 ..................................................    Friday, May 8, 2026.
                                            Operating Criteria (§ 257.82) .........     Complete initial inflow design                    18 ..................................................    Friday, May 8, 2026.
                                                                                           flood control system plan.
                                            GWMCA (§§ 257.90–257.95) .........          Install the groundwater monitoring                30 ..................................................    Monday, May 10, 2027.
                                                                                           system, develop the ground-
                                                                                           water sampling and analysis
                                                                                           program, initiate the detection
                                                                                           monitoring and assessment
                                                                                           monitoring. Begin evaluating
                                                                                           the groundwater monitoring
                                                                                           data for SSIs over background
                                                                                           levels and SSLs over GWPS.
                                            GWMCA (§ 257.90(e)) ...................     Complete initial annual GWMCA                     January 31, 2027 ..........................              January 31, 2027.
                                                                                           report.
                                            Closure (§§ 257.100–257.101) ......         Prepare written closure plan ........             36 ..................................................    Monday, November 8, 2027.
                                            Post-Closure Care (§ 257.104) ......        Prepare written post-closure care                 36 ..................................................    Monday, November 8, 2027.
                                                                                           plan.
                                            Closure and Post-Closure Care               Initiate closure ..............................   42 ..................................................    Monday, May 8, 2028.
                                              (§ 257.101).



                                            b. New Requirements Specific to Legacy                      including incised impoundments and                                      latitude and longitude, and contact
                                            CCR Surface Impoundments                                    impoundments that do not meet the                                       information of the owner and/or
                                            i. Applicability Report for Legacy CCR                      height and storage volume cutoffs                                       operator of the legacy CCR surface
                                            Surface Impoundments                                        specified in § 257.73(b). EPA proposed                                  impoundment with their business
                                                                                                        that this applicability report would                                    phone number and email address. EPA
                                               EPA proposed to require the owner or                     include information to identify the unit,                               proposed that the report should
                                            operator of a legacy CCR surface                            delineate the unit boundaries, include a                                document whether the legacy CCR
                                            impoundment to prepare an                                   figure of the facility and where the unit                               surface impoundments are incised and
                                            applicability report for any legacy CCR                     is located at the facility, the size of the                             whether the units meet the height and
                                            surface impoundment at that facility no                     unit, its proximity to surface water                                    storage volume thresholds specified in
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                                            later than the effective date of the final                  bodies, and the current site conditions.                                § 257.73(b). EPA also proposed that the
                                            rule. This requirement would apply to                       EPA also proposed that the applicability                                owner or operator of the legacy CCR
                                            all legacy CCR surface impoundments,                        report include the facility address,                                    surface impoundment notify the Agency


                                              57 A document ‘‘Final Rule Compliance Deadlines

                                            for Legacy CCR Surface Impoundments. April
                                            2024.’’ is available in the docket for this action.

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                                            after a legacy impoundment is identified                identification number can be for a                    publication of the report on a CCR
                                            and the facility’s CCR website is                       previously issued solid waste, water, or              website.
                                            established, using the procedures                       other permit under State program, but                    EPA considered these comments and
                                            currently in § 257.107(a) via the                       does not have to be as part of an EPA-                decided not to require additional
                                            ‘‘contact us’’ form on EPA’s CCR                        approved State CCR permit program.                    information since the recommended
                                            website. 88 FR 31998.                                      EPA addressed the term ‘‘reasonably                information would not be feasible to
                                               EPA received a few comments on the                   and readily available’’ at 80 FR 21380,               collect by the effective date of the final
                                            applicability report. Several                           ‘‘[t]herefore, in this rule, EPA is using             rule, especially given the limitations
                                            commenters said the deadline to                         the phrase ‘to the extent available’ and              discussed in Unit III.B.2.a.i of this
                                            complete requirements of the                            clarifying that the term requires the                 preamble. As stated previously,
                                            applicability report could not be                       owner or operator to provide                          commenters discussed how delineating
                                            achieved. One commenter requested 24                    information on the history of                         the unit boundaries and determining the
                                            months to complete the report. Another                  construction only to the extent that such             exact location of the legacy CCR surface
                                            commenter presented several clarifying                  information is reasonably and readily                 impoundment could not feasibly be
                                            questions and said they could not                       available. EPA intends facilities to                  completed by the deadline.
                                            estimate a compliance deadline without                  provide relevant design and                              EPA is finalizing with revisions the
                                            understanding these clarifications. This                construction information only if factual              proposed requirement for the owner or
                                            commenter asked if EPA will allow                       documentation exists. EPA does not                    operator of a legacy CCR surface
                                            affected utilities to rely on information               expect owners or operators to generate                impoundment to prepare applicability
                                            previously submitted to State regulatory                new information or provide anecdotal or               reports for all legacy CCR surface
                                            authorities to satisfy the facility                     speculative information regarding the                 impoundments at that facility no later
                                            description requirements; what does                     CCR surface impoundment’s design and                  than the effective date of the final rule.
                                            EPA mean by the term ‘‘current site                     construction history.’’                               This requirement applies to all legacy
                                            conditions’’ in the context of facility site               Based on the comments about the                    CCR surface impoundments, including
                                            descriptions; when EPA refers to                        infeasibility to complete the proposed                incised impoundments and
                                            providing a site identification number                  requirements by the effective date of the             impoundments that do not meet the
                                            as previously provided to the State, is                 final rule, EPA is not requiring that the             height and storage volume cutoffs
                                            this intended only to apply in States                   applicability report include the size of              specified in § 257.73(b). This is codified
                                            that have achieved CCR Rule delegation,                 the unit, its proximity to surface water              in the regulatory text at
                                            or in all States in which there is some                 bodies, or delineation of the unit                    § 257.100(f)(1)(i). The applicability
                                            level of State oversight over a legacy                  boundaries. The size of the unit and                  report must include information to
                                            CCR surface impoundment; and if EPA                     delineation of the unit boundaries will               identify the unit, a figure of the facility
                                            can further determine what it considers                 be determined through the history of                  and where the unit is located at the
                                            to be ‘‘reasonably and readily available                construction and groundwater                          facility, and the current site conditions.
                                            information’’ concerning history of                     monitoring requirements. Proximity to                 The applicability documentation must
                                            construction. The commenter                             surface water bodies is not required by               also include the facility address,
                                            appreciates EPA’s recognition that most                 the 2015 CCR Rule, and EPA                            latitude and longitude, and contact
                                            of this information is likely ‘‘unknown                 determined it is not feasible to                      information of the owner and/or
                                            or lost to time,’’ but seeks additional                 determine the distance to surface water               operator of the legacy CCR surface
                                            guidance on the scope of investigation                  bodies before the unit boundaries are                 impoundment with their phone number
                                            that should be conducted to meet the                    delineated, which would not be done by                and email address. EPA is also
                                            ‘‘reasonably and readily available’’                    the effective date of the final rule.                 finalizing the requirement that the
                                            standard.                                               Therefore, EPA is not requiring                       owner or operator of the legacy CCR
                                               EPA believes that as part of the                     proximity to surface water bodies to be               surface impoundment notify the Agency
                                            applicability report, an owner or                       completed in the applicability report.                of the establishment of the facility’s CCR
                                            operator of an inactive CCR facility can                   Some commenters agreed with the                    website using the procedures currently
                                            include information previously                          proposed requirements on the                          in § 257.107(a) via the ‘‘contact us’’ form
                                            submitted to State regulatory authorities               applicability report and urged EPA to                 on EPA’s CCR website.
                                            to describe the facility conditions. If,                require additional information,                          Further, EPA is finalizing a
                                            however, any changes have been made                     including an EPA identification                       requirement that a certification of the
                                            since the owner or operator last                        number, determination and public                      applicability report must be signed by
                                            prepared that information or that                       disclosure of whether legacy CCR                      the owner or operator or an authorized
                                            information does not address all the                    surface impoundments contained both                   representative similar to the
                                            issues inherent in an applicability                     CCR and liquids, location and elevation               certification that is required at
                                            determination, then updated or                          of any 100-year floodplain within one                 § 257.102(e) and § 257.102(f) for existing
                                            additional information should be                        mile, elevation and depth of CCR waste                units undergoing closure. EPA proposed
                                            included. The current site conditions                   in the impoundment, proximity to                      this requirement in § 257.75(c) for the
                                            should include, for example, when the                   public water supply wells or private                  FER and determined after reviewing the
                                            facility operated, when it ceased                       water wells within two miles, proximity               comments that a similar requirement
                                            generating electricity, the size of the                 to wetlands, results of all environmental             should apply to the applicability report.
                                            facility property, a visual description of              sampling, and owner/operator                          This requirement is codified in the
                                            how the legacy impoundment looks on                     certification of the documentation. A                 regulatory text at § 257.100(f)(1)(ii)(C).
                                            the effective date of the final rule (e.g.,             commenter also said the applicability                    For any legacy impoundments that
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                                            ponded water, approximate size,                         report should include a full                          have completed closure by removal or
                                            vegetation, incised), a description of any              investigation including the use of                    closure in place of the unit pursuant to
                                            nearby geological or hydrologic features                appropriate instrumentation to                        a State permit or order that meets the
                                            (i.e., rivers, lakes, streams, karst                    determine water levels, a report                      requirements of § 257.101(g) prior to the
                                            topography), and any other relevant                     documenting the results certified by a                effective date of this final rule, EPA is
                                            information about the facility. The State               qualified professional engineer, and the              requiring the owner or operator to attach


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                                            such documentation to the applicability                 elements of the applicability report                  stormwater drainage, infiltration and
                                            report required by § 257.100(f)(1) and                  under § 257.100(f)(1)(i)(A) through (C).              related processes.
                                            post this documentation to its CCR                         Second, the extension report must                     • An estimated timeline to complete
                                            website. This information will be                       include a statement by the owner or                   the workplan and make a determination
                                            evaluated by EPA permitting authorities                 operator that available information does              if the CCR unit contains free liquids.
                                            at a future time to determine what                      not provide a sufficient basis to                        • A narrative discussion of how the
                                            further action, if any, is needed with the              determine that the inactive                           results from implementing the workplan
                                            unit.                                                   impoundment contained free liquids on                 will determine whether the unit
                                               As discussed in Unit III.B.1.b.i.(b)(4)              or after October 19, 2015. Owners or                  contains free liquids specified.
                                            of this preamble, EPA is establishing a                 operators that cannot make this                          • A narrative discussion describing
                                            new definition of the phrase ‘‘contains                 statement are not eligible for this                   any anticipated problems that may be
                                            both CCR and liquids’’ in the final rule.               extension and must comply with the                    encountered during implementation of
                                            Under this definition CCR and liquids                   applicable requirements for legacy                    the workplan and what actions will be
                                                                                                    impoundments. For example, an owner                   taken to resolve the problems, and
                                            are present in a CCR surface
                                                                                                    or operator who knows that the unit                   anticipated timeframes necessary for
                                            impoundment except where the owner
                                                                                                    currently contains liquids, or has aerial             such a contingency.
                                            or operator has demonstrated that free                                                                           The final rule allows an owner to
                                            liquids have been eliminated from the                   photographs from 2018 showing that the
                                                                                                                                                          operator to obtain as many as three 6-
                                            unit consistent with the performance                    inactive impoundment contained
                                                                                                                                                          month extensions (or 18 months from
                                            standard in § 257.102(d)(2)(i). EPA                     standing or free water would not be
                                                                                                                                                          the effective date of the final rule) to
                                            recognizes that some owners and                         eligible to make use of these extension
                                                                                                                                                          complete the field investigation. Each
                                            operators of inactive impoundments                      provisions because the unit contained
                                                                                                                                                          six-month time extension must be
                                            may not currently have records to                       free liquids since October 19, 2015.
                                                                                                                                                          supported by an updated extension
                                            demonstrate whether their inactive                         Finally, the extension report must                 report to justify the need for additional
                                            impoundment contained both CCR and                      contain a written field investigation                 time. If the owner or operator needs
                                            liquids on or after October 19, 2015. In                workplan. The purpose of this plan is to              either of the additional 6-month
                                            such cases, one option would be for the                 describe the approach the owner or                    extensions, the subsequent extension
                                            facility to conduct a field investigation               operator intends to follow to determine               report must be prepared no later than
                                            to assess whether free liquids are                      whether the inactive impoundment                      six months after completing the
                                            currently present in the unit. To                       contains free liquids. The written field              preceding extension report. Each
                                            facilitate such investigations, the final               investigation workplan must contain the               prepared extension report must be
                                            rule establishes procedures to provide                  following elements:                                   placed in the facility’s operating record
                                            owners or operators with additional                        • A detailed description of the                    as required § 257.105(k)(2) and posted to
                                            time to complete the legacy                             approach to characterize the physical,                the owner or operator’s CCR website.
                                            impoundment applicability report,                       topographic, geologic, hydrogeologic,                    Once the owner or operator
                                            should the owner or operator elect to                   and hydraulic properties of the CCR in                determines that an inactive
                                            conduct a field inspection to assess the                the unit and native geologic materials                impoundment contains CCR and liquids
                                            unit for the presence or absence of free                beneath and surrounding the unit, and                 the applicability report required by
                                            liquids. See § 257.100(f)(1)(v). To be                  how those properties will be used to                  § 257.100(f)(1) must be completed
                                            clear, facilities are not required to                   investigate for the presence of free                  within 14 days of the determination.
                                            conduct field testing to determine                      liquids in the CCR unit.                              EPA believes 14 days is a sufficient
                                            whether their unit is a legacy CCR                         • A detailed description of the                    amount of time to complete the
                                            surface impoundment. If records are                     methods and tools that will be                        applicability report because the
                                            available to allow the owner or operator                employed to determine whether the                     information will be known to owners or
                                            to make that determination, this final                  inactive impoundment contains free                    operators at this point. Following
                                            rule does not require them to conduct                   liquids, the rationale for choosing these             preparation of the applicability report,
                                            field testing to confirm that information.              methods and tools, and how these                      the inactive impoundment is subject to
                                            However, to the extent facilities would                 methods and tools will be implemented,                the requirements for legacy
                                            prefer to rely on field investigations to               and at what level of spatial resolution at            impoundments under § 257.100(f)(2)
                                            supplement, or lieu of, a purely record-                the CCR unit to identify and monitor the              through (5), but with compliance
                                            based investigation this final rule                     presence of free liquids.                             deadlines adjusted by the length of the
                                            provides that option.                                      • A detailed description of how                    extension. These new timeframes are
                                               In order to obtain additional time to                groundwater elevations will be                        calculated on a unit-by-unit basis
                                            complete the legacy impoundment                         determined, and at what level of spatial              because the date the applicability report
                                            applicability report required under                     resolution, in relation to the sides and              was prepared can vary by unit.
                                            § 257.100(f)(1), an owner or operator                   bottom of the CCR unit and how any                       This following example illustrates
                                            must prepare an ‘‘applicability                         interaction of the groundwater table                  how the new compliance timeframes are
                                            extension report’’ by the effective date                with the CCR unit will be evaluated,                  calculated for one of the design criteria
                                            of the final rule. The extension report                 and at what level of spatial resolution.              for legacy impoundments. Section
                                            consists of three parts. First, the                        • A plan for evaluating stormwater                 257.100(f)(2)(i) requires that the
                                            extension report must include general                   flow over the surface of the unit,                    permanent identification marker must
                                            identifying information about the                       stormwater drainage from the unit, and                be placed on or immediately adjacent to
                                            potential legacy impoundment,                           stormwater infiltration into the unit and             the legacy impoundment no later than 2
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                                            including, the name associated with the                 how those processes may result in the                 months after the effective date of the
                                            unit, the identification number of the                  formation of free liquids in the CCR                  rule. If the owner or operator determines
                                            unit if one has been assigned by the                    unit. This plan must include a current                10.5 months after the effective date of
                                            State, and information about the                        topographic map showing surface water                 the rule that free liquids are present in
                                            location of the unit at the facility. This              flow and any pertinent natural or man-                the inactive impoundment, the owner or
                                            information is same as the first three                  made features present relevant to                     operator must prepare the legacy


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                                            impoundment applicability report with                   intentionally or unknowingly—entering                 closure by removal standards in
                                            14 days of that date. The new deadline                  the site and taking actions (such as all-             § 257.102(c). EPA further proposed to
                                            for the owner or operator to install the                terrain vehicle driving, dirt biking, or              require that the closure certification be
                                            permanent marker is 11 months after the                 similar activities) that endanger the                 certified by a qualified P.E. Finally, EPA
                                            original deadline (or in this case, 13                  integrity of the impoundment or expose                proposed to require that the certified
                                            months from the effective date of the                   trespassers to health risks. Some                     demonstration be completed and placed
                                            final rule (2+ 10.5 + 0.5 months)).                     commenters added that EPA should                      in the operating record no later than the
                                               Finally, if the owner or operator                    consider that some sites may not need                 effective date of this final rule.
                                            determines that the unit does not                       security measures, for example, sites                    A number of commenters requested
                                            contain liquids, the owner or operator                  with closed legacy impoundments that                  that EPA expand the certification to
                                            must prepare a notification stating that                closed under State programs, especially               cover all State-approved closures by
                                            the field investigation has concluded                   where CCR have been removed. EPA did                  removal—including those in which all
                                            and that the owner or operator has                      not receive comments about the                        CCR was removed from the unit or site,
                                            determined that the inactive                            deadline to complete the site security                but the State approved the closure
                                            impoundment does not contain CCR                        requirements and is therefore finalizing              without requiring any groundwater
                                            and liquids. This notification informs                  as proposed.                                          monitoring. The only factual basis these
                                            the public, States and EPA that the unit                   EPA is adopting the proposed site                  commenters offered to support their
                                            is not a legacy CCR surface                             security performance standard without                 request was that EPA should rely on the
                                            impoundment. The final rule also                        revision from the proposal. Accordingly,              State’s determination that the closure
                                            provides that if the owner or operator                  the site security performance standard                was protective.
                                            does not complete the field                             in the final rule requires the owner or                  Other commenters raised concern that
                                            investigation work within the                           operator to prevent the unknowing entry               the information needed to support a
                                            timeframes specified in                                 of people onto the legacy CCR surface                 certification may not be readily
                                            § 257.100(f)(1)(iv)(B), the inactive                    impoundment and to minimize the                       available, and as a consequence these
                                            impoundment shall be considered a                       potential for the unauthorized entry of               units would be subject to all of the other
                                            legacy CCR surface impoundment and                      people or livestock onto the                          requirements of the final rule, including
                                            must comply with all applicable                         impoundment. This is codified in the                  groundwater monitoring, preparation of
                                            requirements under the new timeframes                   regulatory text in § 257.100(f)(3)(ii). The           plans, filing of reports, and closure and
                                            specified under § 257.100(f)(1)(iv)(E).                 Agency generally modeled the                          post-closure activities. These
                                                                                                    requirements on the existing regulations              commenters stated such an outcome is
                                            ii. Site Security for Legacy CCR Surface
                                                                                                    that apply to interim status hazardous                not necessary to protect human health
                                            Impoundments
                                                                                                    waste surface impoundments, which are                 and the environment.
                                               Active facilities generally have guards              codified at § 265.14(a). EPA recognizes                  Other commenters stated that the
                                            and fencing to control access to the                    that some facilities may already have                 proposed closure certification under
                                            facility, but inactive CCR facilities may               facility-wide access controls in place,               § 257.100(f)(1)(ii) was not sufficient to
                                            not have such security controls in place                and in this case, the facility-wide                   allow EPA, States, and the public to
                                            at the facility. To minimize that risk,                 controls would satisfy the requirement                determine whether the facility has
                                            EPA proposed that owners or operators                   to limit public access to the legacy CCR              actually complied with the closure
                                            establish security controls to restrict                 surface impoundment. The Agency is                    performance standards under
                                            access to legacy CCR surface                            finalizing the requirement for the                    § 257.102(c). These commenters
                                            impoundments. The proposed security                     facility to restrict access to the area               requested that the final rule require
                                            requirements are written in terms of a                  containing the legacy CCR surface                     owners/operators certifying closure by
                                            performance standard, as opposed to a                   impoundment no later than the effective               removal to specify, with supporting
                                            prescriptive set of technical standards,                date of the final rule.                               documentation all of the following:
                                            such as specific signage, barriers and                                                                           • The nature and volume of CCR and
                                            fencing, or surveillance techniques. EPA                iii. Certification of Closure by Removal
                                                                                                    for Legacy CCR Surface Impoundments                   all other materials in the unit prior to
                                            chose this approach because it would                                                                          closure;
                                            allow the owner or operator to identify                    EPA proposed that legacy CCR surface                  • All releases from the unit to the
                                            the most appropriate means of                           impoundments that completed closure                   soil, surface water, groundwater, and
                                            providing site security for the                         by removal of CCR in accordance with                  atmosphere during the operation of the
                                            impoundment based on site-specific                      the performance standards in                          unit, during its inactive period(s), and
                                            circumstances.                                          § 257.102(c) after October 19, 2015, but              prior to completion of closure activities;
                                               Commenters generally supported                       before the effective date of the final rule              • The nature and extent of all soil,
                                            performance-based site security                         would be subject to no further                        groundwater, surface water, and other
                                            measures rather than having EPA                         requirements under 40 CFR part 257,                   contamination associated with releases
                                            prescribe specific technical standards.                 subpart D, provided the owner or                      from the unit throughout its history,
                                            Some commenters agreed that such                        operator completed certain actions.58 88              including active and inactive periods;
                                            requirements are necessary because                      FR 31998 and proposed                                    • The methods to be employed (in
                                            legacy CCR impoundments are located                     § 257.100(f)(1)(ii). Specifically, EPA                closure plans) and actually employed
                                            at inactive power plants, and unlike                    proposed that the owner or operator                   (in closure completeness certifications)
                                            impoundments at operating power                         would be required to post                             to ensure complete removal of all CCR
                                            plants, they almost certainly lack the                  documentation on their CCR website                    and other contaminated materials from
                                            oversight and protection afforded by                    showing that the legacy impoundment                   the unit, including but not limited to
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                                            significant numbers of on-site                          was closed in accordance with the                     post-removal sampling and analysis;
                                            personnel. These commenters stated                                                                               • Documentation that all CCR and
                                            that the integrity of impoundments and                     58 These impoundments contained both CCR and
                                                                                                                                                          other contaminated materials were in
                                            berms and the safety of nearby residents                liquids on or after October 19, 2015, and             fact removed from the unit, including
                                                                                                    subsequently completed closure of the
                                            depend on robust security measures to                   impoundment before the effective date of this final   but not limited to post-removal
                                            ensure that people are not—whether                      rule.                                                 sampling and analysis;


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                                               • The methods to be employed (in                     the unit; either because the information              groundwater monitoring system that
                                            closure plans) and actually employed                    is routinely required by State permit                 complied with all of the requirements in
                                            (in closure completeness certifications)                authorities or because the facility would             §§ 257.90 through 257.95. Nevertheless,
                                            to ensure complete decontamination of                   have developed the information as part                the data supporting the certification
                                            all areas affected by releases from the                 of the normal construction processes.                 must be scientifically valid and must
                                            unit, including but not limited to post-                Specifically, the final rule requires                 credibly support a determination that
                                            decontamination sampling and analysis;                  facilities to include the following                   the monitoring system would reliably
                                            and                                                     supporting information with their                     detect any releases from the
                                               • Documentation that all areas                       certification:                                        impoundment. Therefore, the final rule
                                            affected by releases from the unit were                    (1) The type and volume of CCR and                 requires that owner or operator
                                            in fact decontaminated and that all                     all other materials in the unit prior to              demonstrate that the groundwater
                                            groundwater affected by releases has                    closure;                                              monitoring system used to document
                                            achieved groundwater protection                            (2) The methods used to verify                     the concentrations of Appendix IV
                                            standards, including but not limited to                 complete removal of all CCR and other                 constituents met a subset of the
                                            a minimum of two years of post-                         contaminated materials from the unit,                 performance standards found in
                                            removal/decontamination detection and                   including any post-removal sampling                   §§ 257.91(a) through (e), 257.93(a)
                                            assessment groundwater monitoring                       and analysis;                                         through (d), and 257.93(i). Specifically,
                                            data collected pursuant to the CCR                         (3) Documentation that all CCR and                 the facility needs to demonstrate that
                                            Rule’s groundwater monitoring                           other contaminated materials were                     the groundwater monitoring system met
                                            performance standards and analyzed                      removed from the unit, including, the                 the following criteria:
                                            pursuant to its sampling and analysis                   results of any post-removal sampling                     (1) Accurately represented
                                            requirements, 40 CFR 257.91 and                         and analysis that was conducted;                      background water quality unaffected by
                                            257.93, to reliably demonstrate                            (4) The methods used to verify                     a CCR unit;
                                            compliance with groundwater                             complete decontamination of all areas                    (2) Accurately represented the quality
                                            protection standards in order to certify                affected by releases from the unit,                   of water passing the waste boundary of
                                            the completion of closure in accordance                 including but not limited to post-                    the unit;
                                            with 40 CFR 257.102(c).                                 decontamination sampling and analysis;                   (3) Was capable of detecting
                                               EPA is unable to adopt the                           and                                                   contamination in the uppermost aquifer;
                                            commenters’ suggestion to expand the                       (5) Documentation that all areas                      (4) Monitored all potential
                                            certification to all State-approved                     affected by releases from the unit were               contaminant pathways;
                                            closures by removal. Without any record                 decontaminated and that all                              (5) Established groundwater
                                            of the factual and legal bases for the                  groundwater affected by releases has                  background concentrations for
                                            States’ decisions, EPA cannot conclude                  achieved groundwater protection                       Appendix IV constituents and compared
                                            that all State-approved closures by                     standards.                                            samples to those background
                                            removal pose no reasonable probability                     The final rule identifies the minimum              concentrations; and
                                            of adverse effects on health or the                     information needed to support a                          (6) Utilized wells that are (a) cased
                                            environment, as it is required to do                    certification, but, for the most part does            and maintained in a manner that
                                            under RCRA section 4004(a). This is                     not substantially restrict the analyses or            protects the integrity of the monitoring
                                            particularly true with respect to closures              factual information that can be used.                 well borehole, (b) screened or perforated
                                            that were approved without any                          This is because these units closed before             and packed with gravel or sand, where
                                            groundwater monitoring or other                         they were subject to the Federal CCR                  necessary, to enable collection of
                                            information to demonstrate that                         regulations, or knew that they would be               groundwater samples, and (c) sealed
                                            ‘‘groundwater . . . concentrations do                   subject to the regulations, and EPA                   between the borehole and the well
                                            not exceed the groundwater protection                   expects it is unlikely that facilities                casing to prevent contamination of the
                                            standard established pursuant to                        would necessarily have the same                       sample and groundwater.
                                            § 257.95(h),’’ 40 CFR 257.102(c). Given                 documentation as a currently regulated                   Finally, the last sample used to
                                            the high probability that these                         entity. State requirements specifying the             demonstrate that no constituent in
                                            impoundments were unlined and                           information and analyses necessary to                 Appendix IV was detected in
                                            leaked, the most likely conclusion is                   obtain approvals or permits can vary                  concentrations above the established
                                            that contamination remains at the site.                 significantly. However, the final rule                groundwater protection standards must
                                            In the absence of any further                           specifies that the facility must have                 have been collected no earlier than one
                                            information, it is not apparent how EPA                 groundwater monitoring data                           year prior to the initiation of closure.
                                            could support approving such closures                   demonstrating that the concentrations of                 If a facility can certify that all legacy
                                            in a nationwide rulemaking. See also                    each Appendix IV constituent do not                   CCR surface impoundments on-site met
                                            Unit III.B.2.g.iii of this preamble for                 exceed the relevant groundwater                       the standards in § 257.102(c) prior to the
                                            further discussion of State programs.                   protection standard, which would be                   effective date of this rule, the facility
                                               EPA agrees that certifications under                 either the MCL or background                          would not be subject to any further
                                            this paragraph need to include sufficient               concentration, for two consecutive                    requirements under this final rule (i.e.,
                                            supporting data so that EPA, States, and                sampling events, consistent with                      neither legacy CCR surface
                                            the public can determine whether the                    § 257.95(e). The final rule identifies the            impoundment requirements or CCRMU
                                            facility has actually complied with the                 minimum information needed to                         requirements). For these units, the
                                            performance standards in § 257.102(c).                  support a certification, but does not                 certification of closure by removal
                                            However, EPA disagrees that all of the                  substantially restrict the analyses or                would be due no later than the effective
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                                            information the commenters suggest is                   factual information that can be used.                 date of this final rule and must be
                                            necessary to achieve that goal. As                      Because the facility was not subject to               placed in the facility operating record
                                            described below, the final rule requires                part 257 groundwater monitoring when                  then posted on their public CCR
                                            that a facility support its certification               the monitoring was conducted, the final               website. See § 257.100(g).
                                            with information that would have been                   rule does not require a facility to                      EPA agrees that if a facility has
                                            routinely developed as part of closing                  demonstrate that it had installed a                   actually met the performance standards


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                                            in § 257.102(c), there is no health or                  later than 42 months after the effective              certifications. See Unit III.D of this
                                            environmental benefit in requiring                      date of the final rule. This will provide             preamble for further discussion.
                                            compliance with all of subpart D simply                 the owner or operators of these units                 c. Location Restrictions and Liner
                                            because the facility lacks the                          with the same amount of time as other                 Design Criteria
                                            information to support the certification.               legacy CCR surface impoundments to
                                            Accordingly, the final rule provides an                 comply with the requirements to design                   Under the existing CCR regulations,
                                            option that allows such a facility to                   and install a groundwater monitoring                  existing CCR surface impoundments
                                            obtain the information necessary to                     network, develop a sampling and                       that cannot demonstrate compliance
                                            support a certification. If a facility has              analysis plan, collect eight baseline                 with the location restrictions for
                                            removed all CCR from a legacy CCR                                                                             placement of CCR above the uppermost
                                                                                                    samples, and initiate combined
                                            surface impoundment before the                                                                                aquifer, in wetlands, within fault areas,
                                                                                                    detection and assessment monitoring
                                            effective date of this final rule but never                                                                   in seismic impact zones, or in unstable
                                                                                                    (i.e., 30 months after the effective date
                                            conducted groundwater monitoring (or                                                                          areas (specified in §§ 257.60 through
                                                                                                    of the final rule) and an additional 12               257.64) must retrofit or close. The
                                            had a groundwater monitoring system                     months to perform at least two sampling               purpose of these requirements is to
                                            that does not meet the criteria laid out                rounds.                                               ensure that units located in particularly
                                            above), the facility would initially only                  If, however, groundwater monitoring                problematic areas cease operation. EPA
                                            be required to install a groundwater                    detects an SSL above the established                  explained in the proposed rule that
                                            monitoring system and initiate
                                                                                                    GWPS of any Appendix IV constituent,                  because, by definition, legacy CCR
                                            groundwater monitoring in accordance                                                                          surface impoundments are not
                                                                                                    the legacy CCR surface impoundment
                                            with the requirements in §§ 257.90                                                                            operating, and because it appears that
                                                                                                    described above becomes subject to the
                                            through 257.95, as well as the                                                                                all legacy CCR surface impoundments
                                                                                                    corrective action requirements in
                                            recordkeeping, notification, and website                                                                      are unlined and will therefore be
                                                                                                    §§ 257.96 through 257.98 and is no
                                            posting requirements described in Units                                                                       required to close, EPA believed that
                                                                                                    longer eligible to certify closure by
                                            III.B.2.f and III.B.2.h. If the owner or                                                                      requiring compliance with the location
                                                                                                    removal under this provision. The
                                            operator of one of these units elects to                                                                      restrictions would be largely redundant.
                                            pursue a closure certification, the owner               owner or operator of the legacy
                                                                                                    impoundment must then prepare the                        Commenters largely supported not
                                            or operator must prepare a notification                                                                       requiring location restrictions or liner
                                            of intent to certify closure by the                     applicability report no later than six
                                                                                                    months from the date of receiving the                 demonstrations on the grounds that
                                            effective date of this final rule and place                                                                   location restrictions and design criteria
                                            it in the operating record, post it on                  laboratory analysis documenting the
                                                                                                    SSL. No later than eight months from                  are not relevant to this class of units, as
                                            their CCR website, and submit a                                                                               these requirements primarily seek to
                                            notification to EPA or the State or Tribal              the date of receiving the laboratory
                                                                                                    analysis documenting the exceedance of                ensure active units operate safely. Other
                                            Authority. The notification must state                                                                        commenters believed that legacy CCR
                                            that the facility has removed all CCR                   the GWPS, the owner or operator must
                                                                                                                                                          surface impoundments should not be
                                            from the unit and will be installing a                  install the permanent marker.
                                                                                                                                                          exempted from liner and structural
                                            groundwater monitoring system                           Furthermore, the facility must comply
                                                                                                                                                          stability requirements out of concern
                                            compliant with §§ 257.90 through                        with the CCRMU requirements in Unit
                                                                                                                                                          that requiring compliance with one or
                                            257.95 to determine whether there is                    III.C. However, the compliance
                                                                                                                                                          more location restrictions would
                                            contamination coming from the unit. If                  deadlines for the CCRMU requirements
                                                                                                                                                          provide information that would be
                                            no SSL above the GWPS is detected for                   will be delayed by the number of                      ‘‘critical’’ to designing unit closure and
                                            all Appendix IV constituent in at least                 months between the publication date of                any necessary corrective action.
                                            the first two consecutive sampling                      the rule and the date of receiving the                   EPA disagrees that applying location
                                            events, consistent with the existing                    laboratory analysis documenting the                   restrictions and the liner design criteria
                                            provisions of § 257.95(e), the facility                 exceedance of the groundwater                         to legacy CCR surface impoundments
                                            could at that time complete the closure                 protection standard. For example, if a                would be appropriate. First, as
                                            certification, and document compliance                  facility receives the laboratory analysis             explained in the proposed rule, these
                                            with § 257.102(c). EPA anticipates that                 documenting an exceedance of the                      criteria are more appropriate for
                                            the requirement to conduct two                          GWPS for any Appendix IV constituent                  operational units or units at active
                                            consecutive sampling events will result                 36 months after the effective date, the               facilities. Second the consequence of
                                            in one sample being taken during the                    facility would add 42 months to all the               failing to comply with the location
                                            dry season and one in the wet season                    CCRMU compliance deadlines.                           restrictions and liner design criteria
                                            and thus capture groundwater                            Additionally, if a CCRMU is discovered                requirements is closure by a specific
                                            fluctuations. If the required sampling                  onsite, the owner or operator must                    date. 40 CFR 257.101(a) through (b)(1).
                                            demonstrates no exceedances of                          prepare a fugitive dust plan no later                 Because legacy CCR surface
                                            Appendix IV constituents, the owner or                  than 6 months after the completion of                 impoundments are not operational and
                                            operator of the unit must place the                     the FER. For such units that are unable               will in any event be required to close,
                                            closure certification in the operating                  to certify, the final rule also includes a            the consequence for failure to comply
                                            record, and submit a notification to the                provision that allows a facility closing a            with location restrictions or the liner
                                            State or Tribal Authority, and post the                 unit by removal to complete any                       design criteria (i.e., ceased receipt of
                                            certification documentation on their                    necessary corrective action during a                  waste and closure) is moot.
                                            public CCR website. At that time, the                   post closure care period. Assuming the                Additionally, the commenter failed to
                                            facility would not be subject to any                    criteria in Unit III.B.2.g.iii are met, the           identify any information necessary for
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                                            further requirements under this final                   facility can also elect to defer closure to           conducting corrective action or closure
                                            rule (i.e., neither legacy CCR surface                  permitting. However, given that the                   uniquely gained by complying with the
                                            impoundment requirements or CCRMU                       facility must comply with the                         location restrictions or liner design
                                            requirements). The deadline for the                     groundwater monitoring and corrective                 criteria. Therefore, EPA continues to
                                            completion of the certification of                      actions under both options, EPA expects               conclude that, as stated in the proposed
                                            closure by removal for these units is no                that most facilities will prefer to pursue            rule, information useful for corrective


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                                            action or closure that would be obtained                operational since before the 2015 CCR                 experiences of engineering firms,
                                            by complying with the location                          Rule took effect, it is highly unlikely               consultants, and owners or operators.
                                            restrictions will be captured by                        that owners or operators will have the                   No commenters raised concern about
                                            compliance with the history of                          required historical documentation or                  requiring legacy impoundments to
                                            construction requirement, the closure                   data readily available and that, for most             comply with the existing requirements
                                            plan, or in the development of the                      of these facilities, documentation is                 in § 257.73. Therefore, EPA is finalizing
                                            groundwater monitoring system.                          likely in storage or lost to time.                    the application of the structural
                                               EPA also continues to believe that the               Commenters have stated that more time                 integrity requirements in § 257.73 to
                                            requirement to document whether the                     is needed for owners or operators to do               legacy CCR surface impoundments.
                                            impoundment was constructed with a                      their due diligence in locating and                      As mentioned in Unit III.B.2.a.ii of
                                            composite liner or alternative composite                                                                      this preamble, based on the information
                                                                                                    reviewing the necessary data and
                                            liner under § 257.71(a)(1) is not                                                                             provided by commenters regarding the
                                                                                                    information.
                                            warranted for legacy CCR surface                                                                              impacts of third-party availability,
                                            impoundments. The original purpose of                      Furthermore, these commenters stated               national labor shortage, seasonality, and
                                            this provision was to determine whether                 that due to the likely lack of historical             accessibility and completeness of
                                            the unit was unlined, and consequently                  information, additional analyses will                 historical documentation, EPA has
                                            subject to closure. However, the                        more than likely be necessary to collect              extended the deadlines for the design
                                            available information indicates that                    information essential to meeting the                  criteria located at § 257.73 as described
                                            legacy CCR surface impoundments were                    standards in the CCR rule for each                    below. This is at least as much time as
                                            largely constructed well before                         report. Additionally, these commenters                facilities were granted to reach
                                            composite liners systems were typically                 said that EPA was incorrect in                        compliance in the 2015 CCR Rule
                                            installed. Indeed, no commenter                         characterizing these additional analyses              deadlines. As detailed below in Units
                                            identified a legacy impoundment with a                  as minor and capable of being                         III.B.d.i through III.B.d.v, EPA calculates
                                            composite liner. For these reasons, EPA                 performed within the proposed deadline                that this additional time as compared to
                                            expects legacy CCR surface                              (i.e., three months from the effective                the proposed deadlines mitigates the
                                            impoundment to be unlined and,                          date of the final rule) and that some of              seasonality concerns associated with
                                            therefore, the final rule requires all                  these analyses (e.g., site visits,                    performing any necessary analyses
                                            legacy CCR surface impoundments to                      geotechnical investigations) could be                 involving field work; accommodates for
                                            close. As a consequence, requiring                      impacted by both contractor availability              the unavoidable delays caused by
                                            facilities to compile the information                   and seasonality. Several commenters                   backlogs and shortages currently being
                                            required by § 257.71(a)(1) would not                    also pointed out that Professional                    faced by necessary third parties;
                                            provide useful information or otherwise                 Engineer (P.E.) certification or approval             provides owners or operators time to
                                            be necessary. Therefore, EPA is not                     by the Participating State Director or                locate and compile the relevant
                                            finalizing such requirement.                            EPA was required for these reports (i.e.,             historical documentation that was more
                                                                                                    hazard potential classification                       readily available and accessible for
                                            d. Design Criteria for Structural Integrity                                                                   facilities complying with the 2015 CCR
                                            for Legacy CCR Surface Impoundments                     assessments, structural stability
                                                                                                    assessments, and safety factor                        Rule; and ensures a compliance
                                               EPA proposed that legacy CCR surface                                                                       deadline feasible for facility nationwide.
                                                                                                    assessments). These commenters said
                                            impoundments be subject only to the
                                                                                                    that the proposed deadline did not                    i. Installation of a Permanent Marker for
                                            existing design criteria requirements in
                                                                                                    provide adequate time to collect and                  Legacy CCR Surface Impoundments
                                            § 257.73, in order to help prevent
                                            damages associated with structural                      review historical information, acquire                   EPA proposed that owners or
                                            failures of CCR surface impoundments.                   any necessary new information (i.e.,                  operators of legacy CCR surface
                                               EPA received numerous comments on                    perform additional analyses), and                     impoundments, except for ‘‘incised CCR
                                            application of the design criteria                      conduct sufficient quality control and                surface impoundments’’ as defined in
                                            requirements to legacy CCR surface                      quality assurance of said information to              § 257.53, comply with § 257.73(a)(1),
                                            impoundments. Most commenters on                        ensure the report would be certifiable by             which requires the placement of a
                                            the design criteria specifically                        a P.E. or capable of being approved by                permanent identification marker, at
                                            commented on the reporting/assessment                   a State Director, Tribal authority, or                least six feet high on or immediately
                                            requirements in § 257.73 (i.e., history of              EPA. Commenters also highlighted that                 adjacent to the CCR unit. EPA also
                                            construction, initial hazard potential                  the information required by § 257.73                  proposed that placement of the
                                            classification, initial structural stability            will also be important in complying                   permanent marker be completed by the
                                            assessment, initial safety factor                       with concurrent and subsequent                        effective date of the final rule.
                                            assessment). Some of these commenters                   requirements, such as the design of the                  Overall, commenters stated this
                                            supported the expedited deadline for                    groundwater monitoring network and                    deadline should align with the 2015
                                            the reports. However, most of these                     the closure plan. These commenters                    CCR Rule deadline (i.e., two months
                                            commenters echoed the concerns                          stated that providing inadequate time to              from the effective date) to accommodate
                                            mentioned in Unit III.B.2.a.ii of this                  generate reports under § 257.73 that                  for site access issues, seasonality, and
                                            preamble, characterizing the proposed                   meet the standards set out in the rule                the time needed to hire necessary third
                                            deadlines as infeasible, citing third-                  has an adverse ripple effect on the                   parties to conduct the work. EPA
                                            party availability, national labor                      inputs of other requirements,                         acknowledges that the proposal had not
                                            shortage, seasonality, the need to                      undermining the adequacy of those                     accounted for the national labor
                                            conduct quality control and quality                     analyses and plans. Lastly, commenters                shortage of contractors, or the need to
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                                            assurance, and the accessibility and                    stated the estimates in the proposed rule             factor in seasonality for site access and
                                            completeness, or lack thereof, of                       of the amount of time needed to                       the installation of the permanent
                                            historical documentation and data.                      complete actions necessary to achieve                 marker. Therefore, EPA agrees with the
                                            These commenters stated that because                    compliance (e.g., hire a contractor;                  commenters that extending the deadline
                                            legacy CCR surface impoundments are                     generate a report) were grossly                       for the installation of the permanent
                                            not operational and have not been                       underestimated, based on the                          marker to no later than two months from


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                                            the effective date of the final rule                    these commenters further emphasized                   historical documentation, based on
                                            provides owners or operators of legacy                  the direct impacts of the quality of the              information provided by commenters
                                            CCR surface impoundments would                          history of construction on the quality of             regarding the unknown whereabouts of
                                            provide the necessary time to comply                    subsequent (i.e., groundwater                         the necessary records, the age and
                                            with the requirement at § 257.73(a)(1)                  monitoring network design, closure                    inactivity of these facilities, and the
                                            while still being protective of human                   plan) and interrelated requirements (i.e.,            labor shortages, EPA expects it will be
                                            health and the environment.                             hazard potential classification,                      slightly more difficult to access and
                                               Therefore, EPA is finalizing the                     structural stability and safety factor                assess historical documentation for the
                                            requirement to install the permanent                    assessments, inflow design flood control              older legacy CCR surface impoundments
                                            marker no later than Wednesday,                         system plan, EAP). These commenters                   than it was for the units regulated by the
                                            January 8, 2025, which is two months                    said that, although EPA acknowledged                  2015 CCR Rule. Because of the
                                            after the effective date of the final rule.             in the proposed rule that EPA would                   increased difficulty in locating and
                                            This is codified in the regulatory text at              only require information that is                      accessing records, the importance of the
                                            § 257.100(f)(2)(i).                                     reasonably and readily available,                     history of construction as an input into
                                               To complete the installation of the                  owners or operators would still likely                other requirements, and the high
                                            permanent marker, owners or operators                   need to conduct surveys and other                     likelihood of additional analyses being
                                            must ensure the marker is at least six                  analyses to ensure the report would                   needed, EPA is finalizing a deadline of
                                            feet high and displays the name of the                  meet the requirements in § 257.73(a)(2)               no later than Monday, February 9, 2026,
                                            legacy CCR surface impoundment, the                     and to provide sufficient information for             which is 15 months from the effective
                                            name of the owner or operator of the                    the completion of subsequent and                      date. This deadline is an extension of
                                            unit, and the identification number of                  interrelated requirements. These                      three months longer than the 2015 CCR
                                            the CCR unit, if one has been assigned                  commenters also stated that locating the              Rule deadline and is sufficient to
                                            by the State.                                           necessary documentation to complete                   accommodate the slight increase in
                                            ii. History of Construction for the                     the history of construction would take                difficulty in accessing legacy
                                            Legacy CCR Surface Impoundments                         considerable time and effort due to the               impoundment records. This is codified
                                                                                                    age of the units, the inactivity of the               in the regulatory text at
                                               Consistent with the existing                         facility, and the likelihood of records               § 257.100(f)(2)(ii).
                                            regulations, EPA proposed that owners                   being located at currently unknown                       Finally, as explained in Unit
                                            or operators of legacy CCR surface                      offsite locations. Furthermore, some of               III.B.2.b.i, EPA addressed the term
                                            impoundments that either have: (1) A                    these commenters requested                            ‘‘reasonably and readily available’’ at 80
                                            height of five feet or more and a storage               clarification of what EPA means by                    FR 21380. When using this term, EPA
                                            volume of 20 acre-feet or more; or (2)                  ‘‘reasonably and readily available.’’                 intends facilities to provide relevant
                                            Have a height of 20 feet or more, would                 Finally, commenters’ suggested                        design and construction information
                                            be required to comply with the existing                 deadlines for the completion of the                   only if factual documentation exists and
                                            requirements to compile the history of                  history of construction requirement                   does not expect owners or operators to
                                            construction of the legacy CCR surface                  ranged from three to 30 months.                       generate new information or provide
                                            impoundment. In the proposed rule,                         As stated in Unit III.B.2.d of this                anecdotal or speculative information.
                                            EPA acknowledged that information                       preamble, EPA has reviewed the                           Compliance with the history of
                                            regarding construction materials,                       information provided by commenters                    construction requirement at § 257.73(c)
                                            expansions or contractions of units,                    citing the shortages and backlogs of                  requires owners or operators of a CCR
                                            operational history, and history of                     qualified contractors, increased strain               unit to compile a report that documents
                                            events may be difficult for owners or                   on those contractors related to the                   identifying characteristics of the unit,
                                            operators to obtain. Therefore, EPA                     number of CCR units complying with                    the history of how the CCR unit was
                                            proposed that owners or operators                       the CCR rule simultaneously, difficulty               used, specifics related to the unit’s
                                            would only need to provide information                  accessing and reviewing historical                    design and construction, and the unit’s
                                            on the history of construction to the                   documentation, and needed time to                     instrumentation. Once compiled, the
                                            extent that such information is                         perform quality control and quality                   report must be placed into the facility’s
                                            reasonably and readily available. EPA                   assurance, and considers it to be                     operating record as required by
                                            proposed a deadline of no later than                    persuasive. EPA also acknowledges that                § 257.105(f)(9). If the information
                                            three months after the effective date for               the history of construction report ties               included in the history of construction
                                            owners or operators to comply with this                 into several subsequent requirements,                 report needs to be changed at any point
                                            requirement.                                            including the other design criteria                   in time, the owner or operator must
                                               Overall, commenters on the proposed                  assessments and plan, the groundwater                 update the history of construction report
                                            rule stated the proposed deadline for the               monitoring and corrective action                      and place the updated report into the
                                            history of construction was infeasible                  requirements, and the closure and post-               operating record. A comprehensive list
                                            for the reasons listed in Unit III.B.2.d of             closure care requirements and therefore,              of information required in the history of
                                            this preamble; namely the limited                       agrees that providing sufficient time for             construction is in § 257.73(c)(1).
                                            availability of contractors, exacerbated                the completion of a thorough history of
                                            by the number of CCR units competing                                                                          iii. Initial Hazard Potential
                                                                                                    construction report is important for the
                                            for the same resources; seasonality                                                                           Classification for Legacy CCR Surface
                                                                                                    protection of human health and the
                                            impacts on necessary analyses; and                                                                            Impoundments
                                                                                                    environment.
                                            accessibility and completeness of                          Furthermore, as stated in Unit                        EPA proposed that owners or
                                            historical information. Some of these                   III.B.2.a.ii, EPA extended most                       operators of legacy CCR surface
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                                            commenters also highlighted the                         deadlines to allow for as much time to                impoundments, except for incised CCR
                                            importance of the history of                            come into compliance as was granted in                surface impoundments as defined in
                                            construction requirement as an input                    the 2015 CCR Rule. While EPA                          § 257.53, must complete the initial and
                                            into the design of the groundwater                      recognizes that when coming into                      periodic hazard potential classification
                                            monitoring system, closure decisions,                   compliance with the 2015 CCR Rule,                    assessments required under
                                            and other design criteria assessments;                  owners and operators had to locate                    § 257.73(a)(2) without revision. EPA


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                                            proposed a deadline of no later than                    much time to come into compliance as                  EPA explained that these two
                                            three months after the effective date for               was granted in the 2015 CCR Rule (i.e.,               assessments could be conducted
                                            the completion of the initial hazard                    18 months after the effective date) is                concurrently and therefore, a deadline
                                            potential classification assessment.                    necessary to ensure the compliance                    of no later than three months from the
                                               No commenters raised concern about                   deadlines are nationally feasible.                    effective date of the final rule was
                                            requiring legacy impoundments to                        Because owners or operators will be                   proposed for both requirements.
                                            comply with the existing requirements                   locating and compiling historical                        No commenters raised concern about
                                            in § 257.73(a)(2). EPA is therefore                     documents and information as part of                  requiring legacy impoundments to
                                            finalizing this provision without                       the history of construction requirement,              comply with the existing requirements
                                            revision. This is codified in the                       EPA assumes that historical                           in § 257.73(b) and (c). EPA is therefore
                                            regulatory text at § 257.100(f)(2)(iii).                documentation necessary for the initial               finalizing this provision without
                                               However, EPA received numerous                       hazard potential classification                       revision. This is codified in the
                                            comments on the proposed deadline.                      assessment can be located and compiled                regulatory text at § 257.100(f)(2)(iv).
                                            Overall, commenters on the proposed                     concurrently. Additionally, EPA expects                  However, EPA received numerous
                                            rule stated the proposed deadline for the               necessary historical information (e.g.,               comments on the proposed deadline.
                                            initial hazard potential classification                 engineering design drawings,                          Overall, commenters on the proposed
                                            was infeasible for the reasons listed in                geotechnical studies, dam hazard                      rule stated the proposed deadlines for
                                            Unit III.B.2.d of this preamble, namely                 potential classification documents,                   the initial structural stability and safety
                                            the limited availability of contractors                 stability assessments) and new analyses               factor assessments were infeasible for
                                            exacerbated by the number of CCR units                  (e.g., surveys or geotechnical                        the reasons outlined in Units III.B.2.a.ii
                                            competing for the same resources;                       investigations) needed for the history of             and III.B.2.d of this preamble, namely,
                                            seasonality impacts on necessary                        construction and the initial hazard                   seasonality, third-party availability,
                                            analyses; accessibility and completeness                potential classification to overlap to                national labor shortage, the need to
                                            of historical information, and the need                 some degree. Therefore, EPA has                       conduct quality control and quality
                                            for quality assurance and quality                       determined that additional time beyond                assurance, and the accessibility and
                                            control. As mentioned in Unit                           that granted to come into compliance                  completeness, or lack thereof, of
                                            III.B.2.d.ii, a few commenters noted the                with the 2015 CCR Rule is not needed                  historical documentation and data. As
                                            interrelationship and overlapping                       for this requirement. As such, EPA is                 mentioned in Unit III.B.2.d.ii, a few
                                            activities (e.g., historical documentation              finalizing a deadline of no later than                commenters noted the interrelationship
                                            review, site visit, geotechnical                        Friday, May 8, 2026, which is 18                      and overlapping activities (e.g.,
                                            investigations, unit modeling) between                  months from the effective date of this                historical documentation review, site
                                            the initial hazard potential classification             final rule.                                           visit, geotechnical investigations, unit
                                            and the history of construction, initial                   To comply with the hazard potential                modeling) between the initial structural
                                            safety factor assessment, and the initial               classification requirement at                         stability and safety factor assessments
                                            structural stability assessment.                        § 257.73(a)(2), owners or operators of                and the history of construction, initial
                                            Specifically, commenters stated that the                legacy CCR surface impoundments must                  hazard potential classification, and the
                                            history of construction is done first and               determine the hazard potential                        inflow flood control system plan.
                                            used to complete the initial hazard                     classification of the CCR unit and justify            Furthermore, commenters highlighted
                                            potential classification. Furthermore,                  the determination in a report. The CCR                the need to have quality information
                                            commenters highlighted the direct                       unit can be classified as a low hazard                within the structural stability and safety
                                            dependence on the hazard potential                      potential CCR surface impoundment, a                  factor assessments to inform the EAP
                                            classification for determining the design               significant hazard potential CCR surface              and to make sound closure decisions.
                                            flood to use in inflow design flood                     impoundment, or a high hazard                         Commenters’ suggested deadlines for
                                            control plan (§ 257.82(c)) and the trigger              potential CCR surface impoundment.                    the completion of the initial structural
                                            for the EAP requirement (§ 257.73(a)(3)).               The report must be certified by a P.E.                stability assessment and the initial
                                            Commenters’ suggested deadlines for                     stating the hazard potential                          safety factor assessment ranged from six
                                            the completion of the hazard potential                  classification was conducted in                       to 24 months.
                                            classification requirement ranged from                  accordance with the CCR regulations.                     As explained in Units III.B.2.a.ii and
                                            three to 24 months.                                     Subsequent periodic hazard potential                  III.B.2.d, EPA acknowledges the need to
                                               As explained in Units III.B.2.a.ii and               classifications are required every five               extend the compliance deadline in
                                            III.B.2.d of this preamble, EPA                         years after the completion of the                     consideration of the impacts of labor
                                            acknowledges the need to extend the                     previous hazard potential classification              shortage, contractor backlogs,
                                            compliance deadline in consideration of                 as described at § 257.73(f)(3).                       seasonality, accessibility and
                                            the impacts of labor shortage, contractor                                                                     completeness of historical information,
                                            backlogs, seasonality, accessibility and                iv. Initial Structural Stability                      and the need for quality assurance and
                                            completeness of historical information,                 Assessment and Initial Safety Factor                  control. EPA further acknowledges the
                                            and the need for quality assurance and                  Assessment for Legacy CCR Surface                     interrelationship of the design criteria
                                            control. EPA further acknowledges the                   Impoundments                                          reports and the value of using the
                                            interrelationship of the design criteria                  Consistent with the existing                        structural stability and safety factor
                                            reports and the direct dependence of the                regulations and EPA’s findings from the               assessment to develop the EAP and the
                                            initial inflow design plan and EAP                      2009–2014 Assessment Program as                       closure plan for the legacy CCR surface
                                            requirements on the completion of                       described in the proposed rule, EPA                   impoundment. As explained in Unit
                                            hazard potential classification. As                     proposed that owners or operators of                  III.B.2.d of this preamble, based on the
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                                            explained in Unit III.B.2.d of this                     legacy CCR surface impoundments that                  information provided by commenters,
                                            preamble, based on the information                      meet the size thresholds in § 257.73(b)               EPA determined that extending the
                                            provided by commenters, EPA                             and (c), must conduct two types of                    deadline for the initial structural
                                            determined that extending the deadline                  technical assessments: (1) Structural                 stability and safety factor assessments to
                                            for the initial hazard potential                        stability assessments; and (2) Safety                 allow for at least as much time to come
                                            classification to allow for at least as                 factor assessments. In the proposed rule,             into compliance as was granted in the


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                                            2015 CCR Rule is necessary to ensure                      The periodic assessments are required               final rule for the initial hazard potential
                                            the compliance deadlines are nationally                 every five years after the completion of              classification assessment. Furthermore,
                                            feasible. Because owners or operators                   the previous assessment described at                  the deadlines for the initial safety factor
                                            will be locating and compiling historical               § 257.73(f)(3). Each assessment must be               and structural stability assessments are
                                            documents and information as part of                    certified by a P.E. stating that the                  being finalized at no later than Friday,
                                            developing the history of construction,                 assessment was conducted in                           May 8, 2026, which is 18 months from
                                            EPA assumes that historical                             accordance with the CCR regulations.                  the effective date of the final rule. This
                                            documentation necessary for the initial                                                                       deadline also provides owners or
                                                                                                    v. Preparation of an Emergency Action
                                            structural stability and safety factor                                                                        operators the same amount of time for
                                                                                                    Plan for Legacy CCR Surface
                                            assessments can be located and                                                                                legacy CCR surface impoundments to
                                                                                                    Impoundments
                                            compiled concurrently. Additionally,                                                                          comply with the requirements as was
                                            the historical information (e.g.,                          EPA proposed that the owners or                    granted for existing units in the 2015
                                            engineering design drawings,                            operators of legacy CCR surface                       CCR Rule. Therefore, EPA is finalizing
                                            operational records) and new analyses                   impoundments that have been                           a deadline of no later than Friday, May
                                            (e.g., surveys, geotechnical                            identified as having either a high hazard             8, 2026, which is 18 months from the
                                            investigations) needed for the history of               potential or a significant hazard                     effective date of the final rule for legacy
                                            construction, initial hazard potential                  potential would be required to comply                 CCR surface impoundment to develop
                                            classification, and the initial structural              with the same requirement as existing                 an EAP in accordance with
                                            stability and safety factor assessments                 CCR surface impoundments under                        § 257.73(a)(3).
                                            overlap to some degree. Therefore, EPA                  § 257.73 to prepare and maintain a                       As described above, an EAP specifies
                                            has determined that additional time                     written EAP. An EAP is a document that                the actions to take during potential
                                            beyond that granted to come into                        identifies potential emergency                        emergency conditions at a CCR surface
                                            compliance with the 2015 CCR Rule is                    conditions at a CCR surface                           impoundment. To prepare an EAP, the
                                            not needed for this requirement. As                     impoundment and specifies actions to                  owner or operator must accurately and
                                            such, EPA is finalizing a deadline of no                be followed to minimize loss of life and              comprehensively identify potential
                                            later than Friday, May 8, 2026, which is                property damage.                                      failure modes and at-risk developments.
                                                                                                       No commenters raised concern about                 See also 80 FR 21377–21379, April 17,
                                            18 months from the effective date of this
                                                                                                    requiring legacy impoundments to                      2015. To comply with the EAP
                                            final rule.
                                                                                                    comply with the existing requirements                 requirement, the EAP must, at a
                                               To comply with the structural                        in § 257.73(a)(3). EPA is therefore                   minimum, define the events or
                                            stability assessment and safety factor                  finalizing this provision without                     circumstances involving the CCR unit
                                            assessment requirements at § 257.73(d)                  revision. This is codified in the                     that represent a safety emergency;
                                            and § 257.73(e), owners or operators of                 regulatory text at § 257.100(f)(2)(v).                describe the procedures that will be
                                            legacy CCR surface impoundments must                       However, EPA received numerous                     followed to detect a safety emergency in
                                            conduct initial and periodic structural                 comments on the proposed deadline.                    a timely manner; define responsible
                                            stability and safety factor assessments.                Overall, most commenters on the                       persons, each person’s responsibilities,
                                            The structural stability assessment must                proposed rule stated that at a minimum,               and notification procedures in the event
                                            document whether the design,                            EPA should allow as much time for                     of an emergency; provide contact
                                            construction, operation, and                            legacy CCR surface impoundment to                     information for emergency responders;
                                            maintenance of the unit is consistent                   come into compliance as granted                       include a map that delineates the
                                            with recognized and generally accepted                  existing units the 2015 CCR Rule                      downstream area that would be
                                            good engineering practices for the                      deadlines. Several commenters pointed                 impacted by a CCR unit failure; a
                                            maximum volume of CCR and CCR                           out the direct reliance of the EAP on the             physical description of the CCR unit;
                                            wastewater capable of being contained                   hazard potential classification                       and provisions for an annual face-to-
                                            within the unit. Accepted good                          assessment and noted that the history of              face meeting between representatives of
                                            engineering practices includes, but are                 construction, safety factor assessment,               the owner or operator and the local
                                            not limited to, stable foundations and                  and structural stability assessment                   emergency responders.
                                            abutments, adequate slope protection,                   provided critical information as well.
                                            sufficiently compacted dikes, slope                     These commenters noted that if the                    e. Operating Criteria for Legacy CCR
                                            protections, spillways capable of                       deadlines for any of those prerequisite               Surface Impoundments
                                            managing flow during and following                      requirements were extended beyond the                    The operating criteria in §§ 257.80,
                                            peak discharge events, structurally                     proposed compliance deadline, the EAP                 257.82, and 257.83 include air criteria
                                            sound and operational hydraulic                         deadline should be extended as well.                  for all CCR units, hydrologic and
                                            structures, and structurally sound                      Commenters’ suggestions for the                       hydraulic capacity requirements for
                                            downstream slopes capable of                            deadline for the completion of the EAP                CCR surface impoundments, and
                                            withstanding sudden drawdown of                         ranged from 11 to 18 months.                          periodic inspection requirements for
                                            adjacent water bodies. See 40 CFR                          EPA acknowledges that the EAP relies               CCR surface impoundments. These
                                            257.73(d).                                              on the hazard potential classification                criteria address the potential risks from
                                               The safety factor assessment must                    assessment and agrees with the                        the day-to-day operations of CCR units
                                            document whether the calculated                         commenters who stated that if the                     and are established to prevent health
                                            factors of safety for the legacy CCR                    deadline for the hazard potential                     and environmental impacts from CCR
                                            surface impoundment achieves the                        classification assessment was extended,               units. CCR surface impoundments are
                                            minimum safety factor specified in                      the deadline for the development of the               subject to hydrologic and hydraulic
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                                            §§ 257.73(e)(1)(i) through (iv) for the                 EAP should be extended to no earlier                  capacity requirements to ensure the unit
                                            cross section of the embankment most                    than the deadline for the initial hazard              can safely handle flood flows, which
                                            susceptible to structural failure                       potential classification assessment. As               will help prevent uncontrolled
                                            determined by loading conditions and                    stated in Unit III.B.2.d.iv, EPA is                   overtopping of the unit or erosion of the
                                            other appropriate engineering                           finalizing a deadline of no later than 18             materials used to construct the surface
                                            considerations. See 40 CFR 257.73(e).                   months from the effective date of this                impoundment. The existing CCR


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                                            regulations also require periodic                       operator of a CCR unit to adopt                       November 8, 2024, which is the
                                            inspections of CCR units to identify any                measures that will effectively minimize               effective date of this final rule. This is
                                            appearance of structural weakness or                    CCR from becoming airborne at the                     codified in the regulatory text at
                                            other conditions that are not consistent                facility, including CCR fugitive dust                 § 257.100(f)(3)(i).
                                            with recognized and generally accepted                  originating from CCR units, roads, and
                                                                                                                                                          ii. Initial Fugitive Dust Control Report
                                            good engineering standards. EPA                         other CCR management and material
                                                                                                                                                          for Legacy CCR Surface Impoundments
                                            proposed that legacy CCR surface                        handling activities. 40 CFR 257.80(b).
                                            impoundments comply with these                          To meet this requirement, the owner or                   EPA proposed to require the initial
                                            existing requirements without revision.                 operator of the CCR unit must prepare                 annual fugitive dust report to be due 12
                                               Several commenters recommended                       and operate in accordance with a                      months after the effective date of the
                                            that EPA provide relief from these                      fugitive dust control plan. Id. See also              final rule. Consistent with the existing
                                            operating requirements for legacy                       80 FR 21386–21388. EPA considers that                 regulations, the report must document
                                            impoundments that have closed prior to                  fugitive dust controls are warranted                  all actions taken to control CCR fugitive
                                            the effective date of this rule, since                  because closure activities can produce                dust, a record of all citizen complaints,
                                            these operating requirements do not                     significant quantities of dust.                       and a summary of any corrective
                                            make sense for units that are no longer                    EPA received few comments on the                   measures taken in the previous year. As
                                            operating. These commenters also state                  fugitive dust control plan. One                       this report is primarily a summary of
                                            that the proposed rule includes relief                  commenter requested that EPA amend                    owner or operator activities related to
                                            from many requirements for legacy                       § 257.80 to include additional                        fugitive dust control and does not
                                            impoundments that have closed by                        requirements to protect those who work                require a P.E. certification, the report
                                            removal of CCR, but does not include                    or live near CCR facilities from the risks            may be completed by the owner or
                                            similar flexibility for legacy                          of fugitive dust. EPA disagrees that                  operator without the need for a
                                            impoundments that have closed in                        additional fugitive dust controls are                 contractor. The owner or operator has
                                            place. Commenters said requiring an                     needed as EPA has no data to prove that               completed the annual CCR fugitive dust
                                            owner or operator to meet operating                     the existing requirements are                         control report when the plan has been
                                            requirements for units that no longer                   inadequate.                                           placed in the facility’s operating record.
                                            contain both CCR and liquids, and                          EPA received some comments on the                     EPA did not receive comments on the
                                            therefore do not pose the same operating                compliance deadline to complete the                   annual fugitive dust control report
                                            risks as existing CCR units, is illogical.              fugitive dust control plan. Overall,                  requirements. As described in Unit
                                            They contended these requirements are                   commenters supported the proposed                     III.B.2.a.ii of this preamble, commenters
                                            more applicable for legacy                              deadline. However, a couple                           requested that deadlines provide at least
                                            impoundments that continue to contain                   commenters requested more time. One                   as much time as was granted for 2015
                                            both CCR and liquids as of the effective                commenter requested three additional                  CCR Rule requirements. Therefore, EPA
                                            date of this final rule. They further said              months for all requirements due on the                is extending the deadline from 12
                                            EPA should therefore reconsider its                     effective date, including the fugitive                months to 14 months to allow for a full
                                            position and account for prior closure                  dust plan. This commenter provided no                 year to be reported in the first report (12
                                            activities and afford flexibility to those              evidence or factual basis to support this             months plus two months for report
                                            units that have undergone, or are                       suggested deadline. Another commenter                 generation).
                                            undergoing, State-led closure activities.               requested a deadline of 30 months for                    EPA is finalizing the requirement that
                                               EPA disagrees that applying the                      all requirements with proposed                        the initial annual fugitive dust report be
                                            operating criteria to legacy CCR surface                deadlines of the effective date to allow              completed no later than Thursday,
                                            impoundments is inappropriate even if                   owners or operators 24 months to                      January 8, 2026, which is 14 months
                                            these units are no longer receiving                     determine if the unit is eligible for the             after the effective date of this final rule.
                                            waste. EPA believes that applying the                   closure certification and prepare the                 This is codified in the regulatory text at
                                            fugitive dust requirements reduces the                  certification report and then an                      § 257.100(f)(3)(vi).
                                            risk from airborne dust and requiring                   additional 6 months to comply with
                                                                                                                                                          iii. Weekly Inspections of the Legacy
                                            inspections and inflow design flood                     other requirements, such as the dust
                                                                                                                                                          CCR Surface Impoundment and
                                            control plan for legacy impoundments                    plan and creation of a CCR website, if
                                                                                                                                                          Monthly Monitoring of the CCR Unit’s
                                            that contain both CCR and liquids will                  the unit is not eligible for the closure
                                                                                                                                                          Instrumentation
                                            reduce the risks from structural stability              certification. EPA finds the requests for
                                            concerns. EPA further addresses legacy                  a deadline extension for the fugitive                    EPA proposed that owners or
                                            impoundments that closed by removal                     dust control plan to be unfounded.                    operators of legacy CCR surface
                                            or closed with waste in place under a                      The primary activities associated with             impoundments must initiate the
                                            State or Federal authority in Unit                      this requirement are hiring a contractor              inspection requirements set forth in
                                            III.B.2.g of this preamble. Accordingly,                who is a qualified P.E., having the                   § 257.83(a) no later than the effective
                                            EPA is finalizing the requirement that                  contractor develop a plan based on daily              date of the final rule. Under § 257.83(a),
                                            legacy CCR surface impoundments                         operations at the unit and site                       all CCR surface impoundments must be
                                            comply with these existing operating                    conditions, and certification of the plan             examined by a qualified person at least
                                            criteria requirements in §§ 257.80,                     by a P.E. Little to no field-based                    once every seven days for any
                                            257.82, and 257.83 without revision.                    activities are required to complete the               appearance of actual or potential
                                                                                                    fugitive dust control plan. Furthermore,              structural weakness or other conditions
                                            i. Fugitive Dust Control Plan for Legacy                this provides the same amount of time                 that are disrupting or that have the
                                            CCR Surface Impoundments                                that EPA provided in the 2015 CCR Rule                potential to disrupt the operation or
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                                               EPA proposed that owners or                          for facilities to develop their fugitive              safety of the CCR unit. The results of the
                                            operators of legacy CCR surface                         dust control plans. Therefore, EPA is                 inspection by a qualified person must be
                                            impoundments must complete a fugitive                   finalizing the requirement that owners                recorded in the facility’s operating
                                            dust control plan by the effective date                 or operators of legacy CCR surface                    record. Weekly inspections are intended
                                            of the final rule. The existing                         impoundments must complete a fugitive                 to detect, as early as practicable, signs
                                            regulations require the owner or                        dust control plan no later than Friday,               of distress in a CCR surface


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                                            impoundment that may result in larger,                  legacy impoundments, in addition to                   See 80 FR 21395. EPA did not receive
                                            more severe conditions. Inspections are                 the other operating criteria. However,                any comments objecting to this time
                                            also designed to identify potential                     one commenter opposed applying the                    frame.
                                            issues with hydraulic structures that                   inspection requirements to legacy CCR                    EPA is finalizing the requirement
                                            may affect the structural safety of the                 surface impoundment, stating these                    without revision that owners or
                                            unit and impact its hydraulic and                       requirements are intended for                         operators of legacy CCR surface
                                            hydrologic capacity. Section 257.83(a)                  operational units and therefore are                   impoundments must conduct the initial
                                            also requires the monitoring of all                     inappropriate for units that no longer                annual inspection no later than
                                            instrumentation supporting the                          receive waste. EPA continues to                       Monday, February 10, 2025, which is
                                            operation of the CCR unit to be                         conclude that the annual inspections                  three months after the effective date of
                                            conducted by a qualified person no less                 required by § 257.83 are relevant for                 the final rule. This is codified in the
                                            than once per month. See also 80 FR                     legacy CCR surface impoundments even                  regulatory text at § 257.100(f)(3)(iv).
                                            21394–21395.                                            if these units are no longer receiving                v. Initial Inflow Design Flood Control
                                               One commenter opposed applying the                   waste. EPA believes that applying the                 System Plan for Legacy CCR Surface
                                            inspection requirements to legacy CCR                   annual inspection requirement to legacy               Impoundments
                                            surface impoundment, stating these                      CCR surface impoundments that contain
                                            requirements are intended for                           both CCR and liquids reduces the risks                   EPA proposed that owners or
                                            operational units and therefore are                     associated with structural stability                  operators of legacy CCR surface
                                            inappropriate for units that no longer                  concerns. Furthermore, the commenter                  impoundments must prepare the inflow
                                            receive waste. EPA disagrees that                       provided no factual basis for the                     design flood control system plan nine
                                            applying the inspection requirements to                 exclusion of legacy CCR surface                       months after the effective date of the
                                            legacy CCR surface impoundments is                      impoundments from these                               final rule. Owners or operators of all
                                            inappropriate even if these units are no                requirements.                                         CCR surface impoundments are required
                                            longer receiving waste. EPA believes                       Annual inspections include                         to design, construct, operate, and
                                            that applying the weekly inspection                     documentation review, a visual                        maintain hydraulic and hydrologic
                                            requirements to legacy CCR surface                      inspection of the CCR unit, and a visual              capacity to adequately manage flow
                                            impoundments that contain both CCR                      inspection of any hydraulic structures                both into and from a CCR surface
                                            and liquids reduces the risks associated                underlying the base of the CCR unit or                impoundment during and after the peak
                                            with structural stability concerns.                     passing through the CCR unit’s dike.                  discharge resulting from the inflow
                                            Furthermore, the commenter provided                     Documentation reviewed as part of the                 design flood, which is based on the
                                            no factual basis for the exclusion of                   annual inspection include operating                   Hazard Potential Classification of the
                                            legacy CCR surface impoundments from                    records, previous structural stability                CCR surface impoundment (§ 257.82(a)).
                                            these requirements. EPA did not get any                 assessments, and the results of previous              The regulation also requires the
                                            comments specifically about this                        weekly, monthly, and annual                           preparation of an initial inflow design
                                            deadline, thus, EPA is finalizing                       inspections and can overlap with                      flood control system plan (§ 257.82(c)).
                                            without revision the requirement that                   reviews needed to complete the initial                See also 80 FR 21390–21392.
                                            owners or operators of legacy CCR                       structural stability assessment.                         EPA did not receive any comments
                                            surface impoundments initiate the                          EPA proposed that owners or                        about this requirement. However,
                                            inspection requirements set forth in                    operators of legacy CCR surface                       overall, most commenters believed that
                                            § 257.83(a) no later than Friday,                       impoundments must conduct the initial                 compliance deadlines should not be
                                            November 8, 2024, which is the                          annual inspection no later than three                 accelerated to be shorter than required
                                            effective date of the final rule. This is               months after the effective date of the                for active units. Commenters also
                                            codified in the regulatory text at                      final rule. EPA proposed that owners or               believed that substantial data collection
                                            § 257.100(f)(3)(iii).                                   operators must prepare the initial                    efforts might be required resulting in
                                                                                                    inspection report for legacy CCR surface              situations where it is not feasible to
                                            iv. Initial Annual Inspection for Legacy                impoundments within the same time                     meet the proposed deadline. For
                                            CCR Surface Impoundments                                frame—no later than three months from                 example, there is an ongoing shortage of
                                               EPA proposed that owners or                          the effective date of the final rule—as               contractors (e.g., consultants, drillers,
                                            operators of legacy CCR surface                         was required for existing CCR surface                 laboratories) to complete this work. EPA
                                            impoundments must conduct the initial                   impoundments in the 2015 CCR Rule.                    considered these comments and
                                            annual inspection no later than three                   The Agency believes this time frame to                extended the deadline to 18 months in
                                            months after the effective date of the                  prepare the initial annual inspection is              consideration of third-party availability
                                            final rule. Existing CCR surface                        similarly appropriate for legacy CCR                  and in order to match the 2015 CCR
                                            impoundments exceeding the height                       surface impoundments as for existing                  Rule.
                                            and storage volume thresholds in                        impoundments. As discussed in the                        EPA is finalizing the requirement that
                                            § 257.73(b) and (c), are required to                    preamble to the 2015 CCR Rule, the                    owners or operators of legacy CCR
                                            conduct annual inspections of the CCR                   three-month time frame was based on                   surface impoundments prepare the
                                            unit throughout its operating life                      EPA’s experience with its CCR                         inflow design flood control system plan
                                            (§ 257.83(b)). These inspections are                    Assessment Program to evaluate the                    no later than Friday, May 8, 2026,
                                            focused primarily on the structural                     structural stability and safety of existing           which is 18 months after the effective
                                            stability of the unit and must ensure                   impoundments throughout the nation.                   date of the final rule. This is codified in
                                            that the operation and maintenance of                   Specifically, EPA found that three                    the regulatory text at § 257.100(f)(3)(v).
                                            the unit is in accordance with                          months would be adequate to complete
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                                            recognized and generally accepted good                  the tasks supporting an annual                        f. Groundwater Monitoring and
                                            engineering standards. Each inspection                  inspection, including retaining the                   Corrective Action Criteria for Legacy
                                            must be conducted and certified by a                    services of a P.E., reviewing relevant                CCR Surface Impoundments
                                            P.E. See also 80 FR 21395.                              information in the facility’s operating                  EPA proposed to require legacy CCR
                                               EPA received comments that said the                  record, conducting the field inspection,              surface impoundments to comply with
                                            inspections should be required for                      and completing the inspection report.                 the existing groundwater monitoring


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                                            and corrective action criteria in 40 CFR                and development of the groundwater                    or appropriate. As a general matter EPA
                                            257.90 through 257.98, with one                         sampling and analysis plan and 24                     considers that the corrective action
                                            revision, to require sampling and                       months from the effective date of the                 regulations in §§ 257.95 through 257.98
                                            analysis of constituents listed in                      final rule for the initiation of the                  do currently require facilities to tailor
                                            Appendix IV at the same time as those                   combined detection and assessment                     remedies to address the risks to human
                                            listed in Appendix III. As explained in                 monitoring). A few commenters                         health and the environment, based on
                                            the proposed rule at 88 FR 32003,                       expressed support of the two separate                 the conditions at the site. It is unclear
                                            §§ 257.90 through 257.95 require                        deadlines for groundwater monitoring                  what more the commenters are seeking.
                                            owners or operators of a CCR unit to                    requirements, stating it increased                    Accordingly, EPA is finalizing the
                                            install a system of monitoring wells,                   accountability and ensured owners or                  proposal that legacy CCR surface
                                            specify procedures for sampling these                   operators were not unnecessarily                      impoundments comply with the
                                            wells, and set forth methods for                        delaying the installation of the                      existing groundwater monitoring and
                                            analyzing the groundwater data                          groundwater monitoring system.                        corrective action requirements with one
                                            collected to detect hazardous                           However, overall, commenters stated                   modification, combined detection and
                                            constituents (e.g., toxic metals) and                   that the groundwater monitoring                       assessment monitoring.
                                            other monitoring parameters (e.g., pH,                  requirements should have a single                        However, EPA agrees that having a
                                            total dissolved solids) released from the               deadline as the separate deadlines made               single deadline for groundwater
                                            units. If the groundwater monitoring                    compliance with the rule infeasible.                  monitoring requirements as opposed to
                                            required in § 257.95, demonstrates an                   Several commenters said the proposed                  two deadlines allows flexibility to
                                            exceedance of the groundwater                           split deadlines eliminated the flexibility            complete tasks, such as installing
                                            protection standards for constituents                   necessary for compliance that was                     groundwater wells and collecting
                                            identified in Appendix IV of part 257,                  contained within the 2015 CCR Rule’s                  independent samples, which is
                                            corrective action is required as laid out               single deadline. Those commenters                     necessary for compliance with a
                                            in §§ 257.96 through 257.98. These                      went on to say the single deadline                    nationwide rule. The activities involved
                                            requirements apply throughout the                       allowed facilities to accommodate for                 in achieving compliance with the
                                            active life and post-closure care period                delays associated with factors outside                groundwater monitoring requirements
                                            of the CCR unit.                                        their control, such as third-party                    (i.e., drilling wells, collecting samples,
                                               Several commenters expressed                         availability, weather, and required                   receiving lab results) are more
                                            support for requiring legacy CCR surface                permits or approvals, by making                       susceptible to factors outside a facility’s
                                            impoundments to comply with these                       schedule adjustments necessary to
                                            groundwater monitoring and corrective                                                                         control, such as extreme weather events,
                                                                                                    achieve compliance (e.g., expedite the                shortages of qualified contractors, and
                                            action requirements, stating CCR units                  development of the sampling plan in the
                                            can and have caused groundwater                                                                               permitting or approval delays, and
                                                                                                    case of delays with the well                          therefore, warrant greater flexibility.
                                            contamination. Some commenters                          installation). Other commenters said the
                                            suggested additional requirements be                                                                          Additionally, activities can be restricted
                                                                                                    proposed two deadlines were                           dependent on the time of year and the
                                            added to those in §§ 257.90 through                     unnecessarily prescriptive. One
                                            257.98, including a mandate to test                                                                           location of the facility (e.g., due to
                                                                                                    commenter pointed out that the                        seasonality, protected species, clearing
                                            groundwater quality outside the                         proposed rule contained no deliverables
                                            boundary of the facility and make those                                                                       restrictions). Because the groundwater
                                                                                                    to verify compliance for the installation             monitoring requirements build upon
                                            results public; a report documenting the
                                                                                                    of wells or the development of the                    each other, EPA must ensure that
                                            unit’s proximity to the closest surface
                                                                                                    sampling and analysis plan.                           facilities nationwide are reasonably able
                                            water body and nearest private and
                                            public groundwater wells; a deadline for                   As explained in the proposed rule, the             to achieve regulatory compliance by the
                                            the completion of the selection of                      existing groundwater monitoring and                   deadline. Utilizing a single deadline for
                                            remedy required by § 257.97; and a                      corrective action requirements are                    the groundwater monitoring
                                            prohibition against using intrawell                     essentially the same requirements that                requirements allows facilities to make
                                            groundwater data comparisons at legacy                  have been applied to both hazardous                   reasonable accommodations for regional
                                            CCR surface impoundments. Other                         waste and municipal solid waste                       factors in a way the proposed deadlines
                                            commenters stated that applying the                     disposal units for decades, and with the              do not, while still maintaining the same
                                            existing corrective action requirements                 one exception discussed below, there is               level of protection for human health and
                                            to historic sites, such as legacy CCR                   nothing about legacy CCR surface                      the environment. Furthermore, EPA
                                            surface impoundments, is not                            impoundments that makes them distinct                 agrees that the proposed rule does not
                                            appropriate and suggested that instead                  enough to warrant separate                            have a clear mechanism for facilities to
                                            EPA incorporate site-specific risk-based                requirements from those for other CCR                 prove compliance or for interested
                                            corrective action into the CCR                          surface impoundments. No commenter                    parties to verify compliance with the
                                            regulations.                                            provided any factual basis for treating               separate deadlines for the installation of
                                               EPA further proposed two deadlines                   legacy impoundments differently than                  the groundwater monitoring network
                                            for the groundwater monitoring                          all the other units that currently comply             and the development of the
                                            requirements, as opposed to the single                  with the same groundwater monitoring                  groundwater sampling and analysis
                                            deadline in the 2015 CCR Rule. EPA                      requirements, including other inactive                plan. Finally, based on the information
                                            received numerous comments on EPA’s                     CCR surface impoundments. For those                   provided by commenters, specifically
                                            proposal to split the single deadline for               commenters requesting that EPA adopt                  the information regarding the current
                                            groundwater monitoring requirements                     ‘‘risk-based corrective action’’ into the             labor shortages and backlogs
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                                            contained within the 2015 CCR Rule (24                  requirements, EPA notes that the                      experienced by third parties necessary
                                            months from the effective date of the                   commenters have provided no further                   to accomplish tasks involved in
                                            final 2015 rule) into two separate                      explanation of what requirements in the               complying with the groundwater
                                            deadlines (six months from the effective                existing regulations they wanted EPA to               monitoring requirements (e.g., drillers
                                            date of the final rule for the installation             revise, what the revisions should                     for well installation, laboratories for
                                            of the groundwater monitoring network                   accomplish, or why they are necessary                 sample analysis), time needed to obtain


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                                            necessary approvals (e.g., State permits                compliance. One of these commenters                   unable to conduct all the steps
                                            to drill water wells or clear vegetation),              elaborated by saying that the deadline                necessary to design and install a
                                            and to accommodate for seasonality,                     does not allow facilities to acquire the              groundwater monitoring system capable
                                            EPA has calculated six months as the                    permits that may be required to drill                 of meeting the standards in § 257.91 by
                                            appropriate extension of the 2015 CCR                   wells and precludes the observation of                the proposed deadline, EPA has
                                            Rule groundwater monitoring system                      groundwater levels over time, which is                extended the deadline.
                                            deadlines. Therefore, EPA is finalizing a               needed to properly characterize                          As stated in Unit III.B.2.f, based on
                                            single deadline of no later than 30                     groundwater flow. Other commenters                    information provided by commenters,
                                            months after the effective date of this                 stated meeting the proposed compliance                EPA concluded that a single deadline
                                            final rule for the groundwater                          deadline would prevent a facility from                should be used for the groundwater
                                            monitoring requirements found at                        conducting proper site characterization,              monitoring requirements. In the
                                            §§ 257.90 through 257.95.                               which is needed to inform well                        proposed rule, the latest proposed
                                                                                                    placement and depth and provide                       deadline for groundwater monitoring
                                            i. Design and Installation of the                                                                             requirements was the deadline of 24
                                            Groundwater Monitoring System for                       professional engineers sufficient
                                                                                                    information to certify the groundwater                months from the effective date of this
                                            Legacy CCR Surface Impoundments                                                                               final rule for the initiation of the
                                                                                                    monitoring system. Lastly, commenters
                                               EPA proposed that owners or                          stated that contrary to EPA’s assertion in            combined detection and assessment
                                            operators of legacy CCR surface                         the proposed rule that expediting the                 monitoring and the collection of the
                                            impoundments install the groundwater                    installation of the groundwater                       eight baseline samples. Based on
                                            monitoring system as required by                        monitoring network is protective of                   information provided in response to
                                            § 257.91 no later than six months from                  human health and the environment, to                  comments on the proposed rule and as
                                            the effective date of this final rule. EPA              meet the proposed deadline, facilities                explained in Unit III.B.2.f, EPA
                                            further proposed that existing                          would likely be forced to design                      calculated six months as the appropriate
                                            monitoring wells can be used as a part                  groundwater monitoring systems based                  extension of the groundwater
                                            of the legacy CCR surface impoundment                   on inadequate data resulting in                       monitoring system deadlines. Therefore,
                                            groundwater monitoring systems                          unreliable groundwater monitoring data.               EPA is finalizing a deadline for the
                                            provided the wells meet § 257.91. As                    Commenters provided estimates of time                 completion of the design and
                                            explained in the proposed rule, based                   needed to comply with the design and                  installation of the groundwater
                                            on the amount of time most facilities                   installation of the groundwater                       monitoring system of no later than
                                            needed to complete or to collect                                                                              Monday, May 10, 2027, which is 30
                                                                                                    monitoring system requirements ranging
                                            baseline sampling, EPA calculated that                                                                        months from the effective date of this
                                                                                                    from 12 to 36 months.
                                            facilities would be able to install the                                                                       final rule. This is codified in the
                                            necessary monitoring wells within a                        As stated in Unit III.B.2.a.ii of this             regulatory text at § 257.100(f)(4)(i).
                                            single year.                                            preamble, in response to comments EPA                    To complete the installation of the
                                               As mentioned above, some                             reevaluated the compliance deadline for               groundwater monitoring system, the
                                            commenters supported the expedited                      the design and installation of the                    owner or operator of a legacy CCR
                                            deadlines. However, most commenters                     groundwater monitoring network and                    surface impoundment must ensure the
                                            stated the proposed deadline of six                     found the information provided                        monitoring system consists of sufficient
                                            months from the effective date of the                   regarding the general infeasibility of the            number of wells both upgradient and
                                            final rule for the design and installation              proposed deadline compelling.                         downgradient of the CCR unit, installed
                                            of the groundwater monitoring network                   Specifically, EPA agrees that more time               at appropriate locations and depths, to
                                            was infeasible and should be extended                   is needed to account for limited third-               yield groundwater samples from the
                                            to no less than 24 months from the                      party availability (e.g., contractor                  uppermost aquifer that accurately
                                            effective date to align with the 2015 rule              shortages and laboratory backlogs),                   represent the quality of background
                                            deadline. As explained above, many of                   seasonality and extreme weather events,               groundwater and groundwater passing
                                            these commenters expressed the need                     procuring a contractor, complying with                the downgradient waste boundary of the
                                            for a single deadline for groundwater                   overlapping regulatory requirements,                  CCR unit, monitoring all potential
                                            monitoring requirements. Furthermore,                   and coordinating with outside parties.                contaminant pathways. 40 CFR
                                            as described in Unit III.B.2.a.ii of this               EPA acknowledges the importance of                    257.91(a)(1) through (2). Because
                                            preamble, these commenters cited                        proper site characterization as the                   hydrogeologic conditions vary so widely
                                            seasonality restrictions, the nationwide                foundation for designing a groundwater                from one site to another, the regulations
                                            labor shortages, limited qualified                      monitoring system and is convinced                    do not prescribe the exact number,
                                            contractor availability, the need for                   that although there may be some legacy                location, and depth of monitoring wells
                                            State approvals and permits, and the                    CCR surface impoundments that have                    needed to achieve the general
                                            number of facilities competing for                      sufficient historical documentation for               performance standard. Rather the
                                            limited resources as reasons for why the                site characterization, many of these                  regulation requires installation of a
                                            proposed expedited deadline is                          units may need to conduct more                        minimum of one upgradient and three
                                            infeasible. A few commenters noted that                 extensive site reconnaissance and field               downgradient wells, as well as any
                                            in recent decisions on Part A                           work to obtain the necessary                          additional monitoring wells necessary
                                            demonstrations, EPA cited deficiencies                  information. Lastly, EPA recognizes that              to achieve the general performance
                                            in the groundwater monitoring network                   groundwater monitoring systems                        standard of accurately representing the
                                            as a basis for non-compliance. These                    designed using inadequate data would                  quality of the background groundwater
                                            commenters went on to state that the                    be unable to properly monitor                         and the groundwater passing. See, 80 FR
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                                            proposed deadline does not facilitate                   groundwater quality coming from the                   21399. The number and placement of
                                            the establishment of a monitoring                       unit and therefore would not be                       the monitoring wells is critical to proper
                                            system that would meet the standards                    protective of human health and the                    characterization of the groundwater.
                                            laid out in the CCR rule or the recent                  environment. Therefore, because EPA is                Thus, the specific number, spacing, and
                                            proposed decisions and thus, the                        convinced by information from the                     depth of the monitoring wells must be
                                            proposed deadline creates de facto non-                 commenters that facilities would be                   determined based on site-specific


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                                            information, including but not limited                  requirements that have been applied to                 that the proposed deadlines do not
                                            to the thorough characterization of                     both hazardous waste and municipal                     account for the backlogs already
                                            aquifer thickness, groundwater flow                     solid waste disposal units for decades,                experienced due to the existing CCR
                                            rate, groundwater flow direction                        and with the one exception discussed                   units using the small number of
                                            throughout seasonal and temporal                        below, there is nothing about legacy                   laboratories qualified to conduct the
                                            fluctuations, the unit’s geological                     CCR surface impoundments that makes                    specialized analyses required by the
                                            setting, and the unit’s hydrogeological                 them distinct enough to warrant                        rule, coupled with the national labor
                                            setting.                                                separate or additional requirements.                   shortages. The commenters predicted
                                               The monitoring wells must be cased,                  Furthermore, while EPA expects legacy                  the backlogs with laboratories will only
                                            constructed, operated, and maintained                   CCR surface impoundments to largely                    increase with the regulation of legacy
                                            in a way that preserves the integrity of                be unlined and potentially leaking, the                CCR surface impoundments and
                                            the monitoring well borehole, screened                  commenter did not provide any                          CCRMU, making the proposed deadlines
                                            interval and other components so as to                  evidence that would support creating a                 even more infeasible. Finally, as
                                            ensure the well performs to the design                  prohibition against intrawell data                     mentioned in Unit III.B.2.f, commenters
                                            specifications throughout the life of the               comparisons. Therefore, EPA did not                    emphasized the need for one deadline
                                            monitoring system. EPA expects owners                   adopt a prohibition on intrawell data                  for all groundwater monitoring
                                            or operators to ensure the groundwater                  comparisons at legacy CCR surface                      requirements.
                                            monitoring wells are adequately                         impoundments. However, EPA                                EPA agrees that a sampling and
                                            protected from activities that may                      acknowledges that since the 2015 CCR                   analysis plan cannot reasonably be
                                            damage the wells or otherwise adversely                 Rule went into effect, intrawell                       completed before the collection of
                                            impact their performance, such as                       groundwater data comparisons have                      baseline samples. EPA also
                                            accidental damage caused by livestock,                  been misused to a large degree. No                     acknowledges the adverse impact of too
                                            vehicles, machinery, or other activities                commenters raised concern about                        frequent sampling on the validity of
                                            near the unit.                                          requiring legacy CCR surface                           statistical analysis and the need to
                                               The owner or operator of the unit                    impoundments to comply with the                        account for seasonal variability in
                                            must ensure that the design,                            existing requirements in § 257.93. EPA                 groundwater flow, groundwater levels,
                                            installation, development, and                          is therefore finalizing this provision                 and constituent concentrations. EPA
                                            decommissioning of any aspect of the                    without revision. This is codified in the              further acknowledges that providing
                                            groundwater monitoring system is                        regulatory text at § 257.100(f)(4)(ii).                insufficient time for the collection of
                                            thoroughly documented and included in                      However, EPA received several                       baseline samples or the development of
                                            the operating record. Furthermore, the                  comments on the proposed deadline for                  the sampling and analysis plan would
                                            owner or operator must obtain a P.E.                    the development of the groundwater                     likely result in ineffective groundwater
                                            certification or approval from the                      sampling and analysis plan. As                         monitoring programs that may fail to
                                            Participating State Director or EPA                     mentioned in Unit III.B.2.a.ii, some                   alert facilities to groundwater
                                            stating the groundwater monitoring                      commenters supported the expedited                     contamination coming from CCR units.
                                            system meets the standards set out in                   deadline. However, several other                       As explained in Unit III.B.2.a.ii and
                                            § 257.91.                                               commenters pointed out that the                        Unit III.B.2.f respectively, EPA
                                            ii. Development of the Groundwater                      sampling and analysis plan cannot be                   recognizes the need for more time to
                                            Sampling and Analysis Program for                       completed prior to the collection of the               accommodate third-party availability
                                            Legacy CCR Surface Impoundments                         baseline samples, which had a proposed                 and a single deadline for the
                                                                                                    deadline of 24 months from the effective               groundwater monitoring requirements.
                                               EPA proposed to require owners or                                                                           As stated in Unit III.B.2.f.i, for the
                                            operators of legacy CCR surface                         date. Many of these commenters went
                                                                                                    on to state that the proposed expedited                reasons laid out above, EPA is finalizing
                                            impoundments to comply with the                                                                                a single deadline for the groundwater
                                            existing groundwater sampling and                       deadline for the development of the
                                                                                                    sampling and analysis plan could result                monitoring requirements of no later
                                            analysis program requirements for CCR                                                                          than Monday, May 10, 2027, which is
                                            surface impoundments, including the                     in too frequent sampling leading to non-
                                                                                                    independent, autocorrelated baseline                   30 months from the effective date of this
                                            selection of the statistical procedures                                                                        final rule.
                                            that will be used for evaluating                        samples for a large number of facilities,
                                                                                                    undermining the required statistical                      The owner or operator must develop
                                            groundwater monitoring data. 40 CFR                                                                            the groundwater sampling and analysis
                                            257.93. EPA proposed a deadline of no                   analysis. A few commenters further
                                                                                                    stated that EPA published decisions on                 program that satisfies the requirements
                                            later than six months after the effective                                                                      in § 257.93 and includes a list of
                                            date of the final rule for owners or                    Part A and Part B demonstrations citing
                                                                                                    lack of statistical independence in                    monitoring wells to be sampled (i.e., the
                                            operators to comply with this                                                                                  monitoring network), the schedule for
                                            requirement.                                            sampling as a basis for non-compliance,
                                                                                                    and failure for EPA to extend the                      sampling, sampling procedures and
                                               One commenter suggested EPA                                                                                 techniques, sample preservation and
                                            prohibit use of intrawell groundwater                   deadline for the sampling and analysis
                                                                                                    plan to allow adequate time for facilities             shipping protocols, analytical
                                            data comparisons for legacy CCR surface                                                                        procedures including an appropriate
                                            impoundments. This commenter stated                     nationwide to gather independent
                                                                                                    samples would create de facto non-                     statistical method for analysis, and
                                            that intrawell comparisons are only                                                                            quality assurance and quality control
                                            appropriate when the background                         compliance.59 Commenters also said
                                                                                                                                                           methods. The sampling and analysis
                                            samples are collected before CCR was                       59 On January 25, 2023, EPA proposed                plan must include all analytes listed in
                                            placed in the unit and therefore, since
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                                                                                                    determinations on six Part B applications for          Appendix III and Appendix IV.
                                            these units are likely already leaking,                 alternate liner demonstrations (‘‘Part B’’). All six   Recommendations and information on
                                            they would be ineligible for intrawell                  proposals are proposed denials. The CCR Part B
                                                                                                                                                           how to comply with many of the
                                            data comparisons. As stated in Unit                     Final Rule (85 FR 72506, November 12, 2020),
                                                                                                    allowed a limited number of facilities to
                                            III.B.2.f, the existing groundwater                     demonstrate to EPA or a Participating State Director   will continue to ensure there is no reasonable
                                            monitoring and corrective action                        that, based on groundwater data and the design of      probability of adverse effects to human health and
                                            requirements are essentially the same                   a particular surface impoundment, the unit has and     the environment.



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                                            requirements for the groundwater                        contamination and assessment                          units and the extent of contamination at
                                            sampling and analysis program (e.g.,                    monitoring to determine if releases of                these sites. In light of these
                                            analytical procedures, QA/QC controls,                  CCR constituents of concern did occur.                considerations, EPA’s decision in 2015
                                            sampling protocol) can be found in the                     As explained in the proposed rule, the             to adopt phased monitoring was
                                            following EPA guidance documents                        phased approach in the 2015 CCR Rule                  reasonable.
                                            (e.g., RCRA Groundwater Monitoring:                     is best suited to situations where there                 By contrast, there is good reason to
                                            Draft Technical Guidance, 1992, EPA/                    is little likelihood of pre-existing                  believe that many legacy CCR surface
                                            530/R–93/001; Low-Flow (Minimal                         contamination, such as at a new facility              impoundments are currently
                                            Drawdown) Ground-Water Sampling                         or unit. As EPA explained in 2015,                    contaminating groundwater, based on
                                            Procedures, 1996, EPA/540/S–95/504).                    detection monitoring was designed to                  the record from the 2015 CCR Rule, the
                                                                                                    provide an early warning that a unit                  results of EPA’s recent modeling, and
                                            iii. Detection Monitoring Program and                   might be contaminating the aquifer, by
                                            Assessment Monitoring Program                                                                                 the large number of presently regulated
                                                                                                    first monitoring for constituents that                CCR surface impoundments that have
                                            Combined                                                would rapidly move through the                        been found to be leaking, despite
                                               EPA proposed to require sampling                     subsurface and thus provide early                     frequently inadequate groundwater
                                            and analysis of constituents listed in                  detection of a potential problem before               monitoring networks. In sum, the
                                            Appendix IV at the same time as those                   significant releases of constituents of               totality of this record demonstrates that
                                            listed in Appendix III. The proposed                    concern (i.e., those in Appendix IV) had              it is highly likely that the installation of
                                            rule explained that this would expedite                 occurred. See, 80 FR 21397. At a site                 groundwater monitoring at legacy
                                            groundwater monitoring and initiation                   without an old, unlined impoundment,                  impoundments will identify the
                                            of corrective action by at least six                    or other evidence of pre-existing                     presence of plumes of contaminated
                                            months at sites where units have                        contamination, a graduated response to                groundwater that have persisted or even
                                            potentially been leaking for a time, as is              increasing evidence of leakage and                    expanded over many prior years despite
                                            likely the case at unlined legacy CCR                   potential contamination is easily                     a previous absence of groundwater data.
                                            surface impoundments. The proposed                      justified, as it both allows facilities
                                            rule further explained that expediting                                                                           As a practical matter, EPA expects
                                                                                                    ample time to investigate the source of
                                            Appendix IV constituent detection and                                                                         combining Appendix III and Appendix
                                                                                                    contamination as well as the
                                            any resulting corrective action is                                                                            IV constituents into a unified sampling
                                                                                                    environmental fate and transport
                                            necessary for the protection of human                                                                         and analysis plan and approach will
                                                                                                    characteristics of CCR constituents in
                                            health and the environment. EPA                                                                               likely have only minor effects on
                                                                                                    groundwater, while still protecting
                                            proposed no other revisions to the                                                                            schedules, as this change will not
                                                                                                    human health and the environment. In
                                            existing groundwater monitoring                                                                               require additional field mobilizations or
                                                                                                    essence, this approach rests on a
                                            requirements in §§ 257.90 through                                                                             sampling events and will only require
                                                                                                    presumption that the unit is not already
                                            257.95.                                                                                                       collection of a slightly larger number of
                                                                                                    leaking. At new sites, for example, there
                                               EPA received few comments on its                                                                           sample containers at each monitoring
                                                                                                    is no reason to expect that groundwater
                                            proposal to combine detection and                       will have been contaminated above                     well to allow for analysis for both
                                            assessment monitoring. One commenter                    regulatory levels of concern prior to                 Appendix III and IV constituents. As
                                            pointed out the increased demand on                     detection by the groundwater                          such, no additional shipments of
                                            laboratory services, facility staff and/or              monitoring system.                                    samples to the analytical laboratory will
                                            contractors, and P.E.s that would result                   But that presumption is largely                    be required. However, EPA
                                            from having all legacy CCR surface                      inapposite for a universe consisting                  acknowledges that combining Appendix
                                            impoundments comply with both                           exclusively of historic unlined units,                III and Appendix IV constituents into a
                                            monitoring programs simultaneously.                     many of which have operated for                       unified sampling and analysis plan may
                                            Another commenter stated that by                        decades. And at sites where leakage                   increase the total throughput burden on
                                            combining detection and assessment                      (and therefore, likely groundwater                    analytical laboratories and related
                                            monitoring and assuming groundwater                     contamination) has been occurring for a               services. Similarly, while combined
                                            contamination, EPA has rendered                         sustained period, the need to protect                 monitoring may require additional
                                            detection monitoring superfluous.                       human health and environment                          evaluation (e.g., concentration and trend
                                            Further, the commenter asserted that                    warrants the quick detection of                       analysis of data concerning both
                                            skipping detection monitoring entirely                  constituents of concern and initiation of             Appendix III and Appendix IV
                                            would lose critical data regarding                      any necessary corrective action. Unlike               constituents), this incremental increase
                                            whether there are statistically                         this rule, the 2015 CCR Rule applied                  is unlikely to significantly increase the
                                            significant increases (SSI) in                          both to new facilities, which would be                overall reporting level of effort, as the
                                            groundwater constituents specifically                   expected to have little likelihood of pre-            number of reports will be essentially
                                            due to the unit being monitored.                        existing contamination, and to currently              unchanged.
                                            Another commenter said that the                         operating facilities. Over the long term,                Nevertheless, as discussed in Units
                                            justification in proposed rule regarding                EPA expected that there would                         III.B.2.a.ii and III.B.2.f of this preamble,
                                            phased groundwater monitoring being                     eventually be a greater percentage of                 EPA acknowledges the commenters’
                                            ‘‘best suited to situations where there is              new units than existing units as the                  concerns regarding existing and
                                            little likelihood of pre-existing                       older units reached capacity and closed.              projected labor shortages, backlogs, and
                                            contamination’’ conflicts with EPA’s                    In addition, as discussed in the proposal             third-party availability, and agrees this
                                            position in the 2015 CCR Rule.                          at 88 FR 32010 and in Unit III.A.2 of                 has the potential to affect facilities’
                                            According to the commenter, in the                      this preamble, it is clear from the data              ability to comply with the proposed
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                                            2015 CCR Rule, the Agency was aware                     posted on facilities’ websites that EPA               deadlines for groundwater monitoring
                                            many CCR surface impoundments were                      significantly underestimated the                      requirements. EPA is therefore
                                            decades old and potentially leaking; yet                number of unlined units (both                         extending the deadline, as well as
                                            EPA still adopted a phased approach                     impoundments and landfills), and                      building in flexibility for facilities to
                                            with detection monitoring to monitor                    consequently, significantly                           accommodate for delays, by finalizing a
                                            indicators of potential groundwater                     underestimated the number of leaking                  single deadline for groundwater


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                                            monitoring requirements in lieu of the                  units (both impoundments and                          at sites where there is a strong
                                            proposed split deadlines.                               landfills), and consequently,                         likelihood that groundwater
                                               However, EPA disagrees that                          significantly underestimated the                      contamination has been occurring for a
                                            combining detection and assessment                      number of leaking units and the extent                sustained period, the advantages
                                            monitoring will render detection                        of contamination at these sites.                      provided by a protracted graduated
                                            monitoring redundant, and that critical                    If an alternate source is causing an               response are outweighed by
                                            data would be lost, by sampling for                     exceedance of an Appendix III                         disadvantages of persistent or even
                                            Appendix IV constituents at the same                    constituent, it may also be the source of             increasing contamination that continues
                                            time as Appendix III constituents (i.e.,                any SSL detected for any Appendix IV                  to move downgradient. At these sites,
                                            by collecting more information). The                    constituents; in such a case, a facility              the need to protect human health and
                                            commenters provided no further                          may simply prepare a single ASD that                  the environment necessitates the quick
                                            explanation of what information they                    covers constituents from both                         detection of the constituents of concern
                                            thought would be lost, but under the                    appendices. The sole difference between               in Appendix IV to expedite any
                                            combined monitoring, the facility would                 phased monitoring and combined                        necessary corrective action. See,
                                            collect the same information on                         monitoring is if the alternate source is              USWAG 901 F.3d at 427–30. In this
                                            Appendix III constituents that is                       only responsible for the Appendix III                 case, as highlighted in Unit III.A, the
                                            collected under the detection                           constituent, but the unit actually is                 record provides strong reason to
                                            monitoring in § 257.94. Given that                      releasing one or more Appendix IV                     conclude that many legacy CCR surface
                                            under the existing assessment                           constituents. In such a case, under a                 impoundments are contaminating
                                            monitoring provisions, facilities must                  phased approach detection of the                      groundwater, given the large number of
                                            simultaneously analyze samples for all                  Appendix IV constituent can be delayed                currently regulated CCR surface
                                            parameters in Appendix III and for any                  or even remain undetected, because the                impoundments that have been found to
                                            Appendix IV constituent detected in the                 facility would not trigger assessment                 be leaking.
                                            initial sampling, it is not apparent why                monitoring absent an SSI from another                    Therefore, EPA is finalizing this
                                            the commenter believes that requiring                   Appendix III constituent. In such                     requirement as proposed to be
                                            simultaneous monitoring more broadly                    situations, combined monitoring can                   completed no later than Monday, May
                                            is appreciably different. 40 CFR                        make the monitoring program more                      10, 2027, which is 30 months after the
                                            257.95(d)(1).                                           accurate; it is unclear why the                       effective date of this final rule. This is
                                               As stated in the previous paragraph,                 commenter believes this is                            codified in the regulatory text at
                                            concurrent monitoring for Appendix III                  inappropriate.
                                                                                                                                                          § 257.100(f)(4)(iii)(B) and (C).
                                            and Appendix IV constituents provides                      To avoid unnecessary and potentially
                                            considerably more information and                       inappropriate delays, ASDs should only                iv. Detection Monitoring Program and
                                            enables a more complete understanding                   be considered in cases where there is a               Assessment Monitoring Program—
                                            of the geochemical nature, fate, and                    strong technical case for an alternate                Deadline for Collection and Analyses of
                                            transport of any detected releases.                     source, and technically weak or                       Eight Independent Samples for Legacy
                                            Additionally, simultaneously collecting                 equivocal ASDs should be rejected as                  CCR Surface Impoundments
                                            samples for Appendix III and Appendix                   soon as is appropriate to minimize
                                            IV constituents will still provide the                  delays in corrective action                              EPA proposed that no later than 24
                                            basis for determining SSIs, should they                 implementation. Given the age of most                 months after the effective date of the
                                            exist, so no information will be lost.                  inactive CCR facilities, the potential for            final rule, owners or operators of legacy
                                            Contrary to the commenter’s concern,                    plumes of groundwater contamination                   CCR surface impoundments initiate the
                                            additional information will be gained in                extending for significant distances                   detection monitoring program by
                                            an expedited manner (e.g., the potential                downgradient of the unit boundaries                   completing sampling and analysis of a
                                            spatial and temporal correlation of                     where exceedances are first determined                minimum of eight independent samples
                                            Appendix III SSIs with exceedances of                   should be anticipated. Additional lateral             for each background and downgradient
                                            statistically significant levels (SSLs) for             and vertical delineation of groundwater               well, as required by § 257.94(b). The
                                            Appendix IV constituents).                              exceedances should be conducted in                    proposed rule explained that within 90
                                            Furthermore, EPA disagrees that its                     conjunction with corrective action as                 days after initiation of the detection
                                            explanation that phased groundwater                     needed.                                               monitoring program, owners or
                                            monitoring is ‘‘best suited to situations                  Ultimately, the combined monitoring                operators must identify any SSIs over
                                            where there is little likelihood of pre-                expedites the initiation of assessment                background levels for the constituents
                                            existing contamination’’ fundamentally                  monitoring which in turn, allows for                  listed in Appendix III, as required by
                                            conflicts with EPA’s decision to adopt                  more expeditious identification of                    § 257.94. To expedite the time to initiate
                                            phased monitoring in the 2015 CCR                       statistically relevant exceedances of                 any required corrective action, EPA also
                                            Rule. Unlike this final rule, the 2015                  Appendix IV constituents. This will in                proposed that by this same deadline
                                            CCR Rule applied to both new facilities,                turn expedite ASD development or                      owners or operators initiate the
                                            which would be expected to have little                  corrective action, depending on the                   assessment monitoring program by
                                            likelihood of pre-existing                              circumstances.                                        establishing groundwater protection
                                            contamination, and to existing facilities.                 The phased approach in the 2015 CCR                standards and staring to evaluate the
                                            Over the long-term, EPA expected that                   Rule provides for a graduated response                groundwater monitoring data for an SSL
                                            there would eventually be a greater                     to groundwater contamination as the                   over GWPS for the constituents listed in
                                            percentage of new units than existing                   evidence of contamination increases                   Appendix IV as required by § 257.95.
                                            units as the older units reached capacity               over time. This approach allows                          No commenters raised concern about
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                                            and closed. In addition, as discussed in                facilities ample time to investigate the              requiring legacy impoundments to
                                            the proposal at 88 FR 32010 and in Unit                 source of contamination as well as the                comply with the existing requirements
                                            III.A.2 of this preamble, it is clear from              transport characteristics of CCR                      in § 257.94(b). Therefore, EPA is
                                            the data posted on facilities’ websites                 constituents in groundwater while,                    finalizing this requirement as proposed.
                                            that in 2015 EPA significantly                          usually being protective of human                     This is codified in the regulatory text at
                                            underestimated the number of unlined                    health and the environment. However,                  § 257.100(f)(4)(iii)(A).


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                                               However, EPA received several                        including the installation of                         through 257.98, should be initiated as
                                            comments on the proposed deadline for                   groundwater monitoring wells.                         soon as possible. It is critical that
                                            the collection of the eight baseline                    Additionally, when specific actions are               annual corrective action and monitoring
                                            samples. As mentioned in Unit                           not required by the CCR regulations                   reports provide the basis for selection
                                            III.B.2.a.ii, some commenters supported                 (e.g., a facility has not triggered                   and documentation of corrective actions
                                            the expedited deadline. However,                        corrective action), facilities are not                as early as possible well as graduated
                                            several other commenters requested that                 penalized for not having any activities               data to document initiation of corrective
                                            the groundwater monitoring                              related to that action to discuss in the              action activities and graduated and
                                            requirement deadlines be combined into                  groundwater monitoring and corrective                 ongoing steps and associated data
                                            a single deadline that provided at least                action annual report (e.g., not describing            collected over the course of each year to
                                            as much time to come into compliance                    progress in selecting a remedy when not               document remedial performance,
                                            as was provided in the 2015 CCR Rule                    in corrective action).                                modifications, and other changes or
                                            deadlines (i.e., 24 months after the                       EPA is finalizing the requirement for              improvements.
                                            effective date of the final rule). As stated            owners or operators of legacy CCR                       In addition to documenting
                                            in Unit III.B.2.f, based on information                 surface impoundments to comply with                   compliance, the annual report must be
                                            provided by commenters, EPA                             the requirements in § 257.90(e) which                 posted to the unit’s public CCR website
                                            concluded that a single deadline should                 mandate the preparation of an annual                  which allows the public to review the
                                            be used for the groundwater monitoring                  groundwater monitoring and corrective                 groundwater monitoring results.
                                            requirements. In the proposed rule, the                 action report no later than January 31,               Therefore, it is critical that the annual
                                            latest proposed deadline for                            2027, and annually thereafter. This is                reports contain the basic data that
                                            groundwater monitoring requirements                     codified in the regulatory text at                    informs the positions and status
                                            was the deadline of 24 months from the                  § 257.100(f)(4)(iv).                                  reported in those documents, including
                                            effective date of this final rule for the                  The report documents the activities                but not limited to boring logs,
                                            initiation of the combined detection and                associated with the groundwater                       monitoring well installation diagrams,
                                            assessment monitoring and the                           monitoring program and progress of any                water level data, field sampling data
                                            collection of the eight baseline samples.               corrective action over the past year and              sheets for groundwater sample
                                            Based on information provided in                        must contain specific information                     collection, laboratory analytical data
                                            response to comments on the proposed                    identified in the regulations, including              including QA/QC data, data validation,
                                            rule and as explained in Units III.B.2.a.ii             but not limited to maps; aerial images or             and others. In summary, the annual
                                            and III.B.2.f, EPA calculated six months                diagrams showing the CCR unit and all                 groundwater monitoring and corrective
                                            as the appropriate extension of the                     upgradient (background) and                           action reports should not only contain
                                            groundwater monitoring system                           downgradient wells; identification of                 the information required by the
                                            deadlines. Therefore, EPA is finalizing a               any monitoring wells installed or                     regulations but should be organized in
                                            deadline for the completion of sampling                 decommissioned in the previous year;                  such a way that: (1) Compliance with
                                            and analysis of a minimum of eight                      monitoring data collected under                       the CCR regulations is evident; (2) Data
                                            independent samples for each                            §§ 257.90 through 257.98; and a                       supporting compliance conclusions are
                                            background and downgradient well of                     narrative discussion of any transition                easily located within the document; and
                                            no later than Monday, May 10, 2027,                     between monitoring programs (i.e.,                    (3) The public is readily able to review
                                            which is 30 months from the effective                   detection and assessment monitoring).                 the groundwater monitoring data and
                                            date of this final rule.                                Annual reporting should ensure that                   related information. Lastly, the name of
                                                                                                    groundwater level data collected over                 the document on the public CCR
                                            v. Annual Groundwater Monitoring and                    the reporting period is tabulated,                    website should be such that it is clear
                                            Corrective Action Reports for Legacy                    presented, and analyzed to determine                  what the file is and readily printed and
                                            CCR Surface Impoundments                                groundwater levels relative to any                    downloaded by the public.
                                               EPA proposed to apply the existing                   residual CCR left in place as well as to
                                            requirements in § 257.90(e) to legacy                   confirm or determine groundwater flow                 vi. Corrective Action Requirements for
                                            CCR surface impoundments and that                       directions.                                           Legacy CCR Surface Impoundments
                                            owners or operators of legacy CCR                          Upgradient and downgradient well                      EPA proposed to require owners or
                                            surface impoundments comply no later                    locations and depths should be                        operators of legacy CCR surface
                                            than January 31 of the year following                   validated annually with respect to                    impoundments to comply with the
                                            the calendar year after a groundwater                   measured and mapped flow directions.                  existing corrective action criteria, as
                                            monitoring system has been established                  Groundwater quality sampling data                     applicable in §§ 257.96 through 257.98.
                                            (and annually thereafter).                              should be included in appendices and                  The proposed rule explained that
                                               One commenter suggested that the                     summarized and tabulated in the annual                conducting the sampling
                                            initial groundwater monitoring and                      reports. If appropriate, exceedances                  simultaneously would expedite
                                            corrective action report be due no later                (SSIs and SSLs) of Appendix III and IV                groundwater monitoring and, where
                                            than January 31 of the year following                   constituents should be tabulated and                  necessary, initiation of corrective action
                                            the collection of the eight baseline                    highlighted. As mentioned in some                     by at least six months at sites where
                                            samples and the first semi-annual                       comments, annual reports should                       units have potentially been leaking for
                                            sampling event in order to allow                        identify the nearest downgradient                     a long period, as is likely the case at
                                            facilities to provide all the                           surface water bodies as well as                       many unlined legacy CCR surface
                                            documentation required by § 257.90(e).                  groundwater supply wells in the                       impoundments. The proposed rule
                                            EPA disagrees that the information                      vicinity of the unit.                                 further explained that expediting
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                                            required by § 257.90(e) would not be                       If the groundwater monitoring                      Appendix IV constituent detection,
                                            available to a facility upon completion                 required in § 257.95, demonstrates an                 assessment and any subsequent
                                            of the groundwater monitoring system,                   exceedance of the groundwater                         corrective action would protect human
                                            as the annual report serves as an update                protection standards for constituents                 health and the environment.
                                            on the activities related to the                        identified in Appendix IV of part 257,                   Under the existing regulations, if
                                            groundwater monitoring program,                         corrective action as laid out in §§ 257.96            groundwater monitoring demonstrates


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                                            an exceedance of the groundwater                        Enforcement and Compliance Initiatives                for constituents identified in Appendix
                                            protection standards for constituents                   and expects that enforcement actions                  IV of part 257, corrective action is
                                            identified in Appendix IV of part 257,                  taken as part of the Initiative may                   required as laid out in §§ 257.96 through
                                            corrective action is required, as laid out              address, where relevant and                           257.98. These requirements apply
                                            in §§ 257.96 through 257.98. These                      appropriate, the concern raised by the                throughout the active life and post-
                                            requirements apply throughout the                       commenter.60                                          closure care period of the CCR unit.
                                            active life and any post-closure care                      EPA disagrees with the suggestion                     When corrective action is required, it
                                            period of the CCR unit.                                 that the existing corrective action                   should be initiated as soon as possible.
                                               A commenter suggested EPA create a                   requirements, if triggered, are                       The corrective action program includes
                                            deadline for the completion of the                      inappropriate at legacy CCR surface                   initiating an ACM to prevent further
                                            selection of a remedy required by                       impoundments. As stated in Units                      releases, to remediate any releases, and
                                            § 257.97 of 90 days after the completion                III.B.2.a.i and III.B.2.f, the physical               to restore affected areas to original
                                            of the assessment of corrective measures                characteristics of legacy impoundments                conditions, as specified in § 257.96(a).
                                            (ACM) with the ability to extend the                    are not sufficiently different from                   After the ACM has been completed, the
                                            deadline up to 180 days after the                       currently regulated units to justify                  owner or operator must select a remedy
                                            completion of the ACM. The commenter                    different requirements. For those                     that meets prescribed standards,
                                            pointed to the failure of units regulated               commenters requesting that EPA adopt                  including a requirement that the remedy
                                            by the 2015 CCR Rule to select a remedy                 ‘‘risk-based corrective action’’ into the             attain the groundwater protection
                                            as soon as feasible after the completion                requirements, EPA notes that the                      standards. See § 257.97(a) and (b).
                                            of the ACM as required by the rule and                  commenters have provided no further                   Finally, the corrective action program
                                            the subsequent unnecessary delay in                     explanation of what requirements in the               requires the owner or operator of the
                                            addressing contaminated groundwater.                    existing regulations they wanted EPA to               CCR unit to initiate remedial activities
                                            Other commenters stated that applying                   revise, what the revisions should                     within 90 days of selecting a remedy.
                                            the existing groundwater monitoring                     accomplish, or why they are necessary                 See § 257.98(a). The requirement to
                                            and corrective action requirements to                   or appropriate. As a general matter EPA               address releases under this requirement
                                            historic sites, such as legacy CCR                      considers that the corrective action                  is identical to those requirements for
                                            surface impoundments, is not                            regulations in §§ 257.95 through 257.98               any CCR unit undertaking groundwater
                                            appropriate and suggested that instead                  do currently require facilities to tailor             corrective action with the additional
                                            EPA incorporate site-specific risk-based                remedies to address the risks to human                requirement that implementation of
                                            corrective action into the CCR                          health and the environment, based on                  corrective action begin during the active
                                            regulations. One of these commenters                    the conditions at the site. It is unclear             life of the unit.
                                            further stated that the application of the              what more the commenters are seeking.                    EPA expects that when assessing
                                            existing CCR corrective action                          Furthermore, the commenter that stated                corrective measures and selecting a
                                            requirements conflict with EPA’s                        that the existing corrective action                   remedy, the owner or operator of the
                                            decision-making frameworks in other                     regulations conflict with other EPA                   unit will consider the impact of the
                                            programs such as RCRA and CERCLA                        programs (i.e., RCRA and CERCLA)                      corrective measures on the water quality
                                            due to lack of site-specific risk                       failed to fully explain how the existing              and safety of the nearest surface water
                                            assessments to evaluate risk and drive                  corrective action regulations conflict                bodies and the nearest private and/or
                                            corrective action decisions. This                       with EPA-published RCRA or CERCLA                     public groundwater wells.
                                            commenter suggested that EPA utilize                    guidance documents or how they                           With respect to completion of an
                                            site-specific, risk-based corrective action             preclude corrective action decisions                  ACM and remedy selection, § 257.96(a)
                                            that is consistent with the guidance                    driven by site-specific risks.                        requires an ACM be initiated within 90
                                            documents EPA has developed for                         Accordingly, EPA is finalizing, without               days of determining an SSL has
                                            RCRA and CERCLA programs.                               revision, its proposal that legacy CCR                occurred, and then completed within
                                               EPA acknowledges the widespread                      surface impoundments comply with the                  another 90 days. An extension, not to
                                            non-compliance with the mandate to                      existing corrective action requirements               exceed 60 days, may be warranted due
                                            complete the selection of a remedy as                   at §§ 257.95 through 257.98.                          to site-specific conditions or
                                            soon as feasible after the completion of                   As explained in the proposed rule at               circumstances. This deadline to
                                            the ACM. However, EPA disagrees with                    88 FR 32003, §§ 257.90 through 257.95                 complete an ACM, 180 to 240 days after
                                            the commenter’s suggested deadline.                     require an owner or operator of a CCR                 determining an SSL, was not proposed
                                            The recommended deadline could                          unit to install a system of monitoring                to be changed, so comments suggesting
                                            actually have the effect of extending the               wells, specify procedures for sampling                changes to these provisions are outside
                                            deadline for the completion of the                      these wells, and set forth methods for                the scope of the rulemaking.
                                            selection of a remedy beyond that in                    analyzing the groundwater data                        Additionally, the commenters provided
                                            2015 CCR Rule because ‘‘as soon as                      collected to detect hazardous                         no reason why corrective measures
                                            feasible’’ in many cases would likely be                constituents (e.g., toxic metals) and                 could not be assessed and compared in
                                            before 90 days after the completion of                  other monitoring parameters (e.g., pH,                an ACM and a remedy could not be
                                            the ACM. Granting owners or operators                   total dissolved solids) released from the             selected. Prior to closure of a CCR unit,
                                            more time to select a remedy would be                   units (i.e., all parameters listed in                 the facility has been required to
                                            less protective of human health and the                 Appendices III and IV). If the                        characterize site conditions, including
                                            environment. Regarding noncompliance                    groundwater monitoring required in                    groundwater flow conditions and
                                            with the CCR regulations, EPA has been                  § 257.95, demonstrates an exceedance of               geology. The facility has knowledge of
                                            and will continue to take action to                     the groundwater protection standards                  wastestreams and water volumes it
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                                            address the non-compliance on a                                                                               discharges to a CCR surface
                                            myriad of issues including to the failure                  60 EPA Enforcement Alert, National Enforcement     impoundment. This information can be
                                            of owner or operators to select a remedy                and Compliance Initiative, Protecting Communities     used to develop a groundwater model to
                                                                                                    from Coal Ash Contamination. EPA Document
                                            as soon as feasible. EPA has announced                  #310F23002. December 2023. https://www.epa.gov/
                                                                                                                                                          predict groundwater flow conditions
                                            that enforcing the CCR regulations is                   system/files/documents/2023-12/ccr-enf-alert-         after wastestream disposal ceases and
                                            part of the ongoing set of National                     2023.pdf.                                             closure is initiated. EPA believes this


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                                            would provide sufficient                                impoundments. Overall, most                           legacy CCR surface impoundments.’’ For
                                            characterization of post-closure                        commenters supported or did not                       example, one commenter suggested that
                                            conditions to assess and compare                        contest EPA’s proposal. Some of these                 the risks associated with legacy CCR
                                            groundwater cleanup alternatives to                     commenters agreed that requiring legacy               surface impoundments can be better
                                            complete an ACM. The commenters                         CCR surface impoundments to comply                    managed through corrective action
                                            have provided no reasons or                             with the existing closure requirements                implemented under a permit program,
                                            explanation why this would not be                       is necessary for the long-term protection             which the commenter believed would
                                            achievable.                                             of human health and the environment.                  make the mandate to close these units
                                              Once the ACM is complete, a public                    A few of these commenters also                        unnecessary. The commenter explained
                                            meeting has been held, and community                    suggested that EPA prohibit legacy CCR                that although closure can be useful as
                                            input has been considered, a remedy                     surface impoundments from closing                     source control in remediating
                                            must be selected as soon as feasible.                   with CCR in place under § 257.102(d).                 contamination, as long as the exposure
                                            EPA agrees that a selected remedy may                      Many other commenters however                      pathways are appropriately addressed
                                            include closure by removal to comply                    objected to subjecting legacy                         through corrective action, nearby
                                            with source control requirements, and                   impoundments to § 257.101(a), which                   receptors will not be impacted by the
                                            that this would constitute commencing                   requires CCR surface impoundments                     risks, and the RCRA subtitle D
                                            implementation of a remedy. However,                    constructed without a composite liner to              protectiveness standard would be met
                                            the selected groundwater remediation                    close. These commenters generally                     without closing the impoundment.
                                            portion of the remedy must also be                      argued that a national requirement to                 Similarly, another commenter argued
                                            implemented within a reasonable time,                   close was not appropriate for legacy                  that mandating closure for all legacy
                                            in accordance with the schedule                         CCR surface impoundments and that                     impoundments is inconsistent with
                                            established in the remedy selection                     EPA should instead determine whether                  other RCRA and CERCLA or State
                                            report. 40 CFR 257.97(d).                               closure is warranted at each site based               cleanup programs, which, the
                                            Implementation of the source control                    on a finding that the individual unit at              commenter asserts generally use site-
                                            measure does not negate this                            the particular site poses unacceptable                specific risk assessments to determine
                                            requirement.                                            risks. These commenters largely                       whether closure is warranted. The
                                                                                                    reiterated comments previously made in                commenter suggested that instead, the
                                            g. Closure and Post-Closure Care Criteria
                                                                                                    response to the ANPRM, without                        final rule should rely on the upcoming
                                            for Legacy CCR Surface Impoundments
                                                                                                    addressing EPA’s responses in the                     implementation of EPA’s Federal
                                               EPA proposed to apply all of the                     proposal. For example, some asserted                  permitting rule pursuant to the WIIN
                                            existing closure and post-closure care                  that their particular legacy                          Act and allow a regulated entity to
                                            requirements in §§ 257.101 through                      impoundments are not contaminating                    conduct a site-specific risk assessment
                                            257.104 to legacy CCR surface                           groundwater and do not pose a risk to                 to evaluate whether the historical CCR
                                            impoundments, except for the                            groundwater. One claimed that the                     disposal areas pose ‘‘actual risks’’ and
                                            alternative closure requirements in                     proposal was based on the upper bound                 allow closure and corrective actions to
                                            § 257.103(f). The proposed rule                         of risk pulled from a sensitivity analysis            be tailored to site-specific conditions
                                            explained that based on the data                        of a nationwide risk assessment based                 and risks.
                                            gathered since 2015 from the currently                  on aggregated data unrepresentative of                   Other commenters raised concern that
                                            regulated CCR unit universe, the Agency                 any given facility, and therefore could               some legacy impoundments are now
                                            considered it highly unlikely that any                  not support a finding that any particular             located beneath infrastructure such as
                                            legacy CCR surface impoundment has a                    site poses ‘‘actual risks.’’ This                     pipelines or transmission lines that
                                            composite liner that meets the                          commenter also asserted that a                        cannot be disturbed without disrupting
                                            requirements of § 257.71 and therefore                  nationwide risk assessment should not                 operations, active CCR units, or
                                            EPA expected legacy CCR surface                         be used to impose a ‘‘one-size-fits-all’’             buildings. These commenters explained
                                            impoundments to be unlined as defined                   closure requirement or universal                      that requiring closure of these
                                            by § 257.71(a)(3)(i). Consistent with the               performance standards for closure,                    impoundments could adversely impact
                                            USWAG decision and the existing                         because it could drive closure methods                grid reliability, business operations, or
                                            regulations in § 257.101(a) mandating                   that are not necessary to ensure                      other necessary public services (e.g.,
                                            that all unlined (including clay-lined)                 protection of human health and the                    military infrastructure) and suggested
                                            impoundments must close, EPA                            environment. Other commenters                         that EPA exempt these units or at least
                                            proposed to require that all legacy CCR                 repeated their claims that the closure of             extend the closure time frames to allow
                                            surface impoundments initiate closure                   legacy CCR surface impoundments                       for closure of the impoundment when
                                            within 12 months of the effective date                  would itself present greater risks than               the other unit or structure is closed or
                                            of this final rule. The proposed rule also              leaving the disposal unit in its existing             decommissioned.61
                                            explained that the alternative closure                  state. For example, one commenter
                                            provisions in § 257.103(f) were not                     asserted that closing legacy                            61 EPA also received comments suggesting that it

                                            appropriate for legacy CCR surface                      impoundments could raise                              examine the cumulative impact of several recently
                                            impoundments as these units, by                                                                               or soon-to-be finalized power sector and vehicle
                                                                                                    environmental justice issues associated               rules. EPA performed suggested sensitivity analysis
                                            definition, are inactive impoundments                   with increased traffic and                            which demonstrated 1) the cumulative impact is
                                            at inactive facilities and could not                    (consequently) decreased air quality;                 not expected to adversely impact resource
                                            therefore demonstrate the need to                       could risk potentially destabilizing the              adequacy, and 2) that, considering the power sector
                                            continue to use the disposal unit, which                unit and disturbing native species and                rules together, the cumulative effect of these rules
                                                                                                                                                          in terms of reduction in coal steam electric
                                            is a qualifying component of the                        animal habitats; and would increase air
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                                                                                                                                                          generating capacity is less than the sum of each of
                                            alternative closure provisions.                         emissions, water consumption, and                     these rules individually for 2035. The affected
                                               EPA received numerous comments on                    waste generation.                                     universe of units with significant mitigation
                                            its proposal to apply the existing the                     These commenters asserted that a                   responsibilities among the EPA rules is
                                                                                                                                                          overlapping, not purely additive, as it largely
                                            closure and post-closure care                           ‘‘risk-based’’ closure or corrective action           reflects the same segment of the grid’s generation
                                            requirements §§ 257.100 through                         program was better suited ‘‘to address                portfolio. See Resource Adequacy Analysis: Vehicle
                                            257.104 to legacy CCR surface                           the unique nature and unknown risk of                 Rules, 111 EGU rule, ELG, and MATS Technical



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                                               Several commenters expressed                            EPA continues to believe that                      feature to resolve one of the more
                                            support for the proposed 12-month                       applying the closure and post-closure                 complex legal and factual issues raised
                                            deadline to initiate closure, stating that              requirements in §§ 257.101 through                    in this rulemaking by deferring it to the
                                            the shorter deadlines are necessary to                  257.104 to legacy CCR surface                         subsequent permitting process: how to
                                            address the increased risk from legacy                  impoundments is appropriate and                       address situations where the
                                            CCR surface impoundments and                            necessary to protect human health and                 impoundment contained CCR and
                                            likelihood these units are and have been                the environment. Based on the record                  liquids on October 19, 2015, but prior to
                                            contaminating groundwater. Many other                   compiled for the 2015 CCR Rule, EPA                   the effective date of this final rule, a
                                            commenters characterized the proposed                   concluded that ‘‘there is little difference           facility closed its legacy CCR surface
                                            deadline as infeasible for the reasons                  between the potential risks of an active              impoundment in accordance with
                                            mentioned in Unit III.B.2.a.ii, including               and inactive surface impoundment; both                standards established by a regulatory
                                            seasonality, need to comply with                        can leak into groundwater, and both are               authority that are different than the
                                            overlapping regulatory requirements,                    subject to structural failures that release           performance standards in § 257.102, but
                                            labor shortages, and the strain on the                  the wastes into the environment,                      that are likely to provide equivalent
                                            limited resources necessary to achieve                  including catastrophic failures leading               protection of human health and
                                            compliance (e.g., contractors,                          to massive releases that threaten both                environment. Provided certain criteria
                                            laboratories, P.E.s) caused by the                      human health and the environment.’’ 80                are met, EPA is deferring the
                                            number of CCR units coming into                         FR 21343. As discussed in Unit III.B of               requirement for the closed unit to
                                            compliance at the same time.                            this preamble, the D.C. Circuit                       comply with § 257.102 until a permit
                                            Commenters also stated that compliance                  concurred, and on that basis, vacated                 authority can evaluate the adequacy of
                                            with the closure requirements should                    the exemption for legacy CCR surface                  the previously completed closure, and
                                            not be required until after the                         impoundments. See, USWAG at 901                       determine during permitting whether
                                            groundwater monitoring system was                       F.3d at 434. EPA received no                          (as well as what) additional measures
                                            installed and baseline samples collected                information during this rulemaking that               are necessary to ensure that the closure
                                            so that closure could be informed by the                would support a conclusion that legacy                is as protective as § 257.102. The criteria
                                            groundwater monitoring data. These                      CCR surface impoundments present                      EPA is employing are designed to
                                            commenters pointed to recent EPA Part                   fewer risks than other inactive CCR                   ensure that the regulatory authority
                                            A and Part B decisions as evidence of                   surface impoundments. Indeed, as                      overseeing the closure applied
                                            the gap between EPA’s expectations and                  discussed in Unit III.A, more recent                  standards that were substantially
                                            the closure and post-closure plans                      information continues to indicate that                equivalent to the otherwise-applicable
                                            developed using good faith efforts by                   legacy CCR surface impoundments are                   CCR rules in terms of evaluating and
                                            owners or operators and best practices;                 more likely to contaminate groundwater                mitigating the risks. In such cases, EPA
                                            these commenters further stated that the                and at higher levels, even in cases                   would therefore have reliable evidence
                                            proposed deadline precludes the                         where the unit no longer presents                     that the risks have likely been
                                            incorporation of groundwater                            structural stability concerns. Based on               adequately mitigated and therefore,
                                            monitoring data in developing closure                   this record and on the specificity of the             these are unlikely to pose a reasonable
                                            plans and is likely a contributing factor               D.C. Circuit’s findings in USWAG, EPA                 probability of adverse effects pending
                                            to the gap between EPA’s expectation                    considers that it has limited discretion              later permitting. The final rule also
                                            and closure and post-closure care plans                 to establish requirements for legacy CCR              includes procedures for the closure
                                            submitted by owners or operators of                     surface impoundments that are                         equivalency determination modeled on
                                            currently regulated units. One                          significantly different than those                    similar determinations made for
                                            commenter also claimed that legacy                      currently applicable to inactive CCR                  hazardous waste interim status units
                                            CCR surface impoundments are                            surface impoundments. Accordingly,                    under § 270.1.
                                            potentially still being used to manage                  EPA in most cases instances has                          EPA is currently transitioning from
                                            non-CCR wastestreams, and that EPA                      required legacy CCR surface                           the exclusively rule-based program to a
                                            consequently needed to create a                         impoundments to comply with the                       Federal permitting program. Although
                                            mechanism for facilities to seek                        existing closure and post-closure                     every unit in operation, closure, or
                                            extensions similar to those that had                    requirements in 40 CFR part 257,                      corrective action will ultimately receive
                                            been made available under § 257.103(f).                 subpart D, that are currently applicable              a permit, and EPA expects to shortly
                                            Commenters’ suggestions for alternative                 to inactive CCR surface impoundments.                 begin issuing permits, it will be several
                                            deadlines to initiate closure ranged from               This final rule also adopts the                       years before permits are issued for every
                                            24 to 34 months, or at least after the                  provisions that were originally proposed              unit. This means that, at least in the
                                            collection of the baseline groundwater                  on March 3, 2020, that allow a facility               near term, most facilities will continue
                                            monitoring samples required by                          closing by removal to complete required               to operate under the current self-
                                            § 257.94.                                               groundwater remediation during a post-                implementing regime, similar to units
                                                                                                    closure care period, discussed in Unit                under the subtitle C hazardous waste
                                            MEMO for more information. Also see IPM                 III.D of this preamble.                               program that initially operated under
                                            Sensitivities MEMO. The grid analysis did not
                                            include the proposed or final version of this
                                                                                                       However, in response to comments,                  interim status prior to obtaining a
                                            rulemaking, because this CCR rule primarily             EPA included one additional provision                 permit. While this necessarily limits the
                                            addresses only disposal units that have not received    to account for the inception of Federal               degree to which this final regulation can
                                            CCR since before 2015, that is the disposal units are   permitting. A key feature of a permit                 rely on the permitting process, this is an
                                            not part of ongoing operations at any facility, and
                                                                                                    program is that, through a subsequent                 example of a situation that is better
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                                            consequently this rule is not expected to impact the
                                            generation of electricity. In addition, EPA continues   public process, a regulatory authority                resolved through a combination of a
                                            to believe this final rule will not generally impact    can adjudicate legal and factual issues               national rulemaking and the
                                            current utility operations, particularly due to the     based on the specific facts of an                     individualized decision making
                                            revisions made in the final rule to address
                                            commenters concerns, as discussed in the preamble
                                                                                                    individual site, that would be more                   provided through permitting rather than
                                            to the final rule (e.g., extended deadlines for         complex and challenging to resolve in a               exclusively through a national
                                            CCRMU located under critical infrastructure).           national rule. EPA has relied on this                 rulemaking. EPA agrees that there are


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                                            examples of units closed under                          should the need arise. See, e.g., 42                  environment.’’ It insists that RCRA’s ‘‘no
                                            alternative criteria that appear to be                  U.S.C. 6973.                                          reasonable probability’’ standard is met by
                                            equally as protective as the part 257                                                                         the Rule’s provisions for ‘‘extensive
                                                                                                    i. Requirement for Legacy CCR Surface                 monitoring of groundwater to detect
                                            closure requirements. If EPA were to                    Impoundments To Close                                 constituent leaking,’’ id. at 83, and
                                            require all previously closed units to                                                                        ‘‘immediate action to stop that leak,’’
                                            document compliance with § 257.102                         The final rule continues to require                ‘‘redress that leak,’’ and to close the site as
                                            immediately, several units that have                    legacy CCR surface impoundments to                    soon as a harmful leak is detected.
                                            likely already met the protectiveness                   close. As EPA explained in the
                                                                                                    proposal, the USWAG decision has                      USWAG, supra at 427. The Court
                                            standards would be swept in                                                                                   summarily rejected these arguments.
                                            unnecessarily. Unfortunately, it is not                 effectively resolved this issue. No
                                                                                                    commenter submitted any evidence to                     It is inadequate under RCRA for the EPA
                                            feasible to evaluate these individual                                                                         to conclude that a major category of
                                            closures as part of this national                       demonstrate that the risks associated
                                                                                                    with these units are any lower than they              impoundments that the agency’s own data
                                            rulemaking; these units are all subject to                                                                    show are prone to leak pose ‘‘no reasonable
                                                                                                    were in 2018 when the Court decided                   probability of adverse effects on health or the
                                            different requirements, and commenters
                                                                                                    that closure of all unlined and clay-                 environment,’’ 42 U.S.C. § 6944(a), simply
                                            have provided insufficient information
                                                                                                    lined impoundments was required by                    because they do not already leak.
                                            on each individual unit for the Agency
                                                                                                    RCRA section 4004(a) or that the risks
                                            to conclude that they are in fact as                                                                          Id. This holding largely rests on a legal
                                                                                                    posed by legacy CCR surface
                                            protective as a closure conducted in                                                                          conclusion of what RCRA section
                                                                                                    impoundments are any lower than those
                                            accordance with § 257.102. If EPA were                                                                        4004(a) requires, which Congress did
                                                                                                    at the currently regulated inactive
                                            still limited to issuing minimum                                                                              not alter when it amended the statute in
                                                                                                    impoundments at active facilities. If
                                            national criteria through rulemaking, it                                                                      the WIIN Act.
                                                                                                    anything, more recent information                       The Court similarly rejected
                                            would be reasonable to craft a regulation               indicates that a greater number of legacy
                                            that would regulate over broadly in                                                                           arguments that reliance on the part 257
                                                                                                    CCR surface impoundments are more                     corrective action provisions to clean up
                                            order to ensure that the final rule                     likely to have leaked even higher levels
                                            achieves the statutory standard at each                                                                       releases can effectively substitute for a
                                                                                                    of contaminants than the operating                    national requirement to close
                                            facility subject to the regulation. See 42              impoundments modeled in 2014. See
                                            U.S.C. 6944(a)(‘‘no reasonable                                                                                impoundments, or that corrective action
                                                                                                    Unit III.A.                                           alone is sufficient to meet the RCRA
                                            probability of adverse effects on health                   No commenter has identified any
                                            or the environment . . . at such                                                                              section 4004(a) standard. As the Court
                                                                                                    legacy CCR surface impoundment with
                                            facility’’). As EPA explained in 2015, to                                                                     explained, that argument focuses on the
                                                                                                    a composite liner that meets the
                                            establish criteria under this provision,                                                                      wrong risks and addresses only half of
                                                                                                    requirements of § 257.71. Based on the
                                            EPA must demonstrate, through factual                                                                         the statutory standard. The
                                                                                                    data gathered since 2015 from the
                                            evidence available in the rulemaking                                                                          contamination of a potential source of
                                                                                                    currently regulated CCR unit universe,
                                            record, that the final rule will achieve                                                                      drinking water is itself an adverse effect
                                                                                                    the Agency considers it highly unlikely
                                            the statutory standard at all sites subject                                                                   on the environment, and the statutory
                                                                                                    that any legacy CCR surface
                                            to the standards based exclusively on                                                                         requirement to ensure there will be no
                                                                                                    impoundment has such a liner. EPA
                                            the final rule provisions. This means                                                                         reasonable probability of adverse effects
                                                                                                    analyzed the list of inactive CCR
                                            that the regulations must account for                                                                         on health or the environment requires
                                                                                                    facilities compiled based on comments
                                            and be protective of all sites, including                                                                     the Agency to take measures based on
                                                                                                    received in response to the ANPRM and
                                            those that are highly vulnerable. But                                                                         the risks to prevent this harm from
                                                                                                    this rulemaking and knows that almost
                                            now that Congress has granted the                                                                             occurring in the first place. It is not
                                                                                                    all these facilities were opened prior to
                                                                                                                                                          enough to remediate the contamination
                                            agency broader authority, it is                         1990 (one facility opened in 1996)
                                                                                                                                                          before it reaches an off-site receptor.
                                            reasonable in this case, where EPA can                  before composite liner systems were
                                            craft criteria to identify closures that                typically installed. Unless legacy CCR                   In defending the Rule here, the EPA looks
                                            may be protective and thus warrant a                    surface impoundments are very                         at too narrow a subset of risk information and
                                                                                                                                                          applies the wrong legal test.
                                            closer evaluation, to rely on that broader              different than impoundments at active                    The Final Rule’s approach of relying on
                                            authority.                                              facilities, EPA expects all units of this             leak detection followed by closure is
                                               Under this provision, EPA is not                     age to be unlined as defined by § 257.71.             arbitrary and contrary to RCRA. This
                                            exempting a facility from the                              The D.C. Circuit has also already                  approach does not address the identified
                                            requirement to demonstrate that a unit                  rejected arguments that EPA can avoid                 health and environmental harms
                                                                                                    requiring CCR surface impoundments to                 documented in the record, as RCRA requires.
                                            closure meets the performance                                                                                 . . .
                                            standards in § 257.102, or from agency                  close based on claims that ‘‘all
                                                                                                    impoundments aren’t leaking.’’                           RCRA requires the EPA to set minimum
                                            oversight, but only delaying application                                                                      criteria for sanitary landfills that prevent
                                            of the requirement until the Agency can                    The EPA and Industry Intervenors assert            harm to either ‘‘health or the environment.’’
                                            resolve the outstanding legal and factual               that the composite lining required for new            The EPA’s criteria for unlined surface
                                            issues. EPA is also deferring only the                  units is not needed for existing units because        impoundments, limited as they are to
                                                                                                    most unlined impoundments do not leak,                groundwater monitoring for contaminant
                                            requirement that a closed unit achieve                  and an unlined impoundment that is not                levels keyed to human health, only partially
                                            compliance with the closure                             leaking is not dangerous. Industry                    address the first half of the statutory
                                            performance standards. To mitigate any                  Intervenors emphasize that the record                 requirement.
                                            potential risks, all other applicable                   suggests that ‘‘almost two-thirds of unlined          . . .
                                            requirements, including the                             impoundments do not leak,’’ and they assert              But here, too, the EPA has failed to show
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                                            requirements for groundwater                            that ‘‘appropriate controls on impoundments           how unstaunched leakage while a response is
                                            monitoring and corrective action would                  that do leak’’ suffice to meet RCRA’s ‘‘no            pending comports with the ‘no reasonable
                                                                                                    reasonable probability’’ standard. The EPA            probability’ standard.
                                            continue to apply to these units. Further               underscores that it made no finding of any
                                            EPA’s existing authorities to respond to                ‘‘reasonable probability that each and every          Id. at 429–430, 431 (emphasis added).
                                            urgent threats to human health or the                   unlined impoundment will, in fact, result in          None of this has changed. Nor has any
                                            environment also remain available,                      adverse effects on health and the                     commenter identified any unique


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                                            characteristic of legacy impoundments                   believed that its opinion would remain                commenter referenced documents on
                                            that makes any of the Court’s analysis                  relevant. See, USWAG, 901 F3d at 436–                 the facility’s CCR website which
                                            irrelevant or inapplicable. Although                    437 (denying EPA’s request for                        explained that:
                                            some commenters continue to claim that                  voluntary remand because ‘‘this claim                   Although it has not received sluice water
                                            their units are heavily vegetated or                    involves a question—the scope of EPA’s                since 2008, the CCR in the former Main Pond
                                            developed and that reopening or other                   statutory authority—that is intertwined               continues to receive, store, and discharge
                                            removal/remediation activities may                      with any exercise of agency discretion                water, primarily groundwater entering the
                                            disrupt current use of the land, no                     going forward.’’)                                     CCR through the sides of the filled valley.
                                            commenter submitted any data or                           Accordingly, the final rule requires all            Groundwater flow into the CCR in the former
                                            analysis to demonstrate that removal or                                                                       Main Pond drains downward and outward to
                                                                                                    legacy CCR impoundments to close.
                                                                                                                                                          the east through the toe drain system under
                                            remediation activities would be more                                                                          the dam.
                                            detrimental to health and the                           ii. Deferral for Legacy CCR Surface
                                            environment than not cleaning up the                    Impoundments Under Critical                           The commenters explained that overfills
                                            contaminated groundwater in the                         Infrastructure                                        can increase groundwater
                                            aquifer or taking measures to prevent                     As noted above, several commenters                  contamination from the underlying unit
                                            the legacy CCR surface impoundment                      stated that some inactive facilities have             by reducing the hydraulic gradient and
                                            from continuing to contaminate the                      been redeveloped and that the CCR                     increasing the waste and water contact
                                            aquifer. Moreover, the fact that some                   surface impoundments are now located                  time. They stated that this has been
                                            impoundments have become heavily                        beneath critical infrastructure. These                documented by both an EPRI study and
                                            vegetated or redeveloped does not                       commenters claimed that requiring                     groundwater monitoring at a specific
                                            mitigate the risks these unlined legacy                 closure of units beneath infrastructure               overfill that showed steady to gradually
                                            CCR surface impoundments continue to                    could adversely impact grid reliability,              increasing concentrations of CCR related
                                            pose.                                                   business operations, or other necessary               constituents in the landfill monitoring
                                               The same is true for those                           public services and suggested EPA                     wells, rather than the predicted decline
                                            commenters alleging that the closure of                 create exemptions or extensions for                   in concentrations of CCR-related
                                            legacy CCR surface impoundments                         these units. For example, one                         constituents from the closure of the
                                            would itself present greater risks than                 commenter stated that closure of units                underlying surface impoundment.
                                            leaving the disposal unit in its existing               located under other structures is not                    As an initial matter, under both the
                                            state; none presented any data or                       feasible as EPA has proposed. The                     existing definitions and the definitions
                                            analysis, stating instead that possible                 commenter further explained that:                     in the final rule a legacy CCR surface
                                            effects were self-evident. However, EPA                                                                       impoundment could not be located
                                                                                                    the issue is applicable and even more                 below an active CCR unit. A legacy
                                            notes that most of these comments                       pronounced with respect to legacy
                                            appear to have been premised on the                                                                           impoundment is located at an inactive
                                                                                                    impoundments. By definition legacy CCR
                                            assumption that closure by removal                                                                            facility, and the presence of an active
                                                                                                    surface impoundments are located at inactive
                                            would be required. As discussed in the                  sites that in some instances have been
                                                                                                                                                          CCR unit means that the facility is
                                            next section, EPA is not prohibiting                    partially or completely redeveloped. As a             active, not inactive. See, §§ 257.50(b),
                                            legacy CCR surface impoundments from                    result, former legacy units at this stage may         257.53 (definition of active facility).
                                            closing with waste in place, provided all               be completely inaccessible due to vegetation,         This means that in the example
                                            of the performance standards in                         new infrastructure like pipelines or                  described by the commenter the surface
                                            § 257.102(d) have been met.                             transmission lines that cannot be disturbed           impoundment underneath the active
                                               EPA also cannot, as the commenters                   without disrupting operations, active CCR             landfill is an inactive CCR surface
                                                                                                    units, buildings, or other obstacles to access.       impoundment at an active facility, and
                                            suggest, proceed exclusively on the
                                                                                                    If EPA proceeds to issue the proposal EPA             would be considered a ‘‘regulated unit’’
                                            basis of site-specific assessments and                  must address such accessibility issues.
                                            forego a nationwide risk assessment,                                                                          subject to the existing requirements in
                                            national closure requirement, or                           Other commenters supported the                     part 257, rather than this final rule.
                                            universal performance standards for                     decision not to propose an exemption                     In any event, EPA disagrees that its
                                            closure. When Congress amended the                      from the closure requirements for legacy              proposal did not adequately account for
                                            statute in 2016, it added a permitting                  CCR surface impoundments beneath                      the circumstance in which a legacy CCR
                                            component but retained without                          redevelopments or infrastructure, based               surface impoundment may be
                                            revision the requirements in RCRA                       on the risks that these sites can present,            challenging to access, such as where the
                                            sections 1008(a)(3) and 4004(a) that EPA                and provided specific examples of such                impoundment is located beneath
                                            establish minimum national standards                    sites. Two of the examples related to a               infrastructure or buildings. In contrast
                                            (‘‘criteria’’) by regulation. The statute               situation in which active CCR disposal                to the comments received with respect
                                            relies on these criteria in several                     units were built on top of former CCR                 to CCRMU, no commenter provided a
                                            provisions, including as the standard                   surface impoundments (i.e., overfills).               concrete example in which closure of a
                                            EPA must use to evaluate State                          In one instance, the commenter                        legacy CCR surface impoundment
                                            programs, to issue permits, and to                      described a site where an unlined CCR                 would interfere with critical
                                            determine whether a CCR unit is a                       surface impoundment had been closed                   infrastructure. The overwhelming
                                            sanitary landfill or an open dump. See,                 by partially draining the impoundment                 majority of commenters provided
                                            42 U.S.C. 6945(d)(1)(B), (d)(1)(D), (d)(3),             and constructing a new CCR landfill                   concrete examples of concerns with
                                            (d)(6). The D.C. Circuit has also                       (98.9 acres), two stormwater ponds and                respect to CCRMU and then concluded
                                            effectively confirmed the continued                     a leachate pond (10.8 acres), and a                   that EPA needed to address the issue
                                            necessity of national criteria; if the                  materials handling area (4.4 acres) on                equally for legacy CCR surface
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                                            Court believed that the WIIN Act                        top of the former impoundment.                        impoundments. The most concrete
                                            obviated the need to comply with RCRA                   According to the commenter, the facility              example of potential interference with
                                            section 4004(a) it would have granted                   claimed that the closed impoundment                   critical infrastructure is the reference to
                                            EPA’s request for an abeyance or                        rather than any of the active CCR units,              ‘‘new infrastructure like pipelines or
                                            dismissed the case as moot. That it did                 was responsible for SSIs detected in its              transmission lines that cannot be
                                            neither demonstrates that the Court                     groundwater monitoring. The                           disturbed without disrupting


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                                            operations’’ quoted above. But even in                  the cover system or entirely re-closing               legacy CCR surface impoundments to
                                            that case the commenter provided no                     the whole impoundment.                                comply with the performance standards
                                            explanation of the factual basis for the                                                                      in § 257.102, even if the closure was
                                                                                                    iii. Requirement To Comply With
                                            conclusion that over the five to 15 years                                                                     previously approved by a State
                                                                                                    Performance Standards in § 257.102
                                            the existing regulations provide to                                                                           regulatory agency. These commenters
                                            complete closure the facility could not                    As discussed above, consistent with                pointed to EPA’s conclusions in 2015
                                            schedule the outages necessary to move                  USWAG and the proposed rule, this                     that significant gaps remain in many
                                            pipelines or transmission lines, and                    final rule requires that the closure of               State programs; that some programs
                                            conduct the closure in stages as                        legacy CCR surface impoundments meet                  provide minimal or no regulatory
                                            necessary to accommodate scheduling                     the performance standards in either                   oversight of CCR units; and that most
                                            any necessary outages.62 In addition, as                § 257.102(c) or (d). Under this final rule,           CCR surface impoundments were
                                            discussed in the next Unit of the                       all closures initiated after the effective            permitted exclusively under NPDES or
                                            preamble, EPA has extended the                          date of this rule, as well as those that              other surface water pollution prevention
                                            deadline to initiate closure to 48 months               were not completed prior to the                       programs. See, 80 FR 21324–21325. The
                                            from promulgation. The amount of time                   effective date of this rule, will need to             commenters also included recent
                                            provided by these deadlines is more                     comply with these requirements.                       examples of closures approved by
                                            than adequate to account for any                           And in general, the same is true with              various State agencies that were not
                                            accessibility issues. Further, EPA has                  respect to closures that were completed               consistent with the Federal closure
                                            been regulating utilities under multiple                prior to the effective date of this rule. As          standards including: (1) Ohio’s approval
                                            environmental statutes for decades and                  discussed previously, a facility that can             of the closure of an unlined CCR surface
                                            reliability issues are often raised when                certify that its prior closure meets the              impoundment at the Gavin Plant, which
                                            regulations are promulgated, but EPA is                 performance standards in § 257.102(c)                 EPA subsequently estimated could be
                                            unaware of situations where those                       only needs to post the documentation                  sitting in groundwater as high as 64 feet
                                            reliability concerns have been realized                 that it meets the standard. Similarly, if             deep in some locations post closure and
                                            in the form of electric blackouts caused                a facility can demonstrate that the                   that as much as 8.2 million cubic yards
                                            by compliance with Federal                              closed unit meets the requirements                    (or as much as 40% of the CCR in the
                                            environmental standards. In this case, in               under § 257.102(d), EPA will consider                 Fly Ash Resevoir) could still be
                                            the unlikely event closure of a legacy                  them to be closed and the only                        saturated—and would remain so
                                            CCR surface impoundment cannot occur                    requirements that will be applicable are              indefinitely; (2) Alabama’s issuance of
                                            within the regulatory timeframe without                 those that apply to closed units under                several permits authorizing several
                                            creating a demonstrated reliability                     post-closure care—such as groundwater                 facilities to close unlined CCR surface
                                            concern, the Agency will work with the                  monitoring, and if necessary, corrective              impoundments with large quantities of
                                            facility, the relevant RTO, and other                   action. EPA never intended to require                 free liquids and saturated CCR
                                            relevant Federal agencies to ensure                     facilities that otherwise met the closure             remaining in the closed units; and (3)
                                            proper closure occurs without causing                   standards to go through the process                   Kentucky’s permit authorizing the
                                            the power to go out.                                    again and re-close the unit. In addition,             closure of an unlined CCR surface
                                               Finally, as noted above EPA received                 where the facility was subject to                     impoundment by partially draining the
                                            a substantial number of comments                        standards that are different than the                 impoundment and constructing a new
                                            requesting the agency not require                       Federal CCR closure standards (e.g., if               CCR landfill (98.9 acres), two
                                            facilities to ‘‘re-close’’ any unit that had            the closure were conducted as part of a               stormwater ponds and a leachate pond
                                            already completed closure. This final                   CERCLA cleanup or State order) but are                (10.8 acres), and a materials handling
                                            rule does not mandate that any                          otherwise equivalent in terms of                      area (4.4 acres) on top of the
                                            previously closed unit automatically re-                mitigating the risks, the requirement to              impoundment. The CCR in the
                                            close. But, as described in the next                    meet the § 257.102 standards will be                  underlying closed impoundment
                                            section, the final rule does require all                deferred to permitting, where a closure               continues to receive, store, and
                                            legacy CCR surface impoundments to                      equivalency determination will be                     discharge water, primarily groundwater
                                            meet the performance standards in                       made.                                                 entering the CCR through the sides of
                                            § 257.102, although as discussed above,                    In response to EPA’s proposal that all             the filled valley, drains downward and
                                            some may not be required to do so until                 legacy CCR surface impoundments                       outward to the east through the toe
                                            permitting. EPA does not consider this                  comply with § 257.102, many                           drain system under the dam.
                                            to be equivalent to a requirement to ‘‘re-              commenters again reiterated their                        Finally, several commenters requested
                                            close’’ as, depending on the site                       request that EPA exempt any unit that                 that EPA prohibit legacy CCR surface
                                            conditions, facilities may be able to                   has either completed closure or is in the             impoundments from closing in place
                                            implement engineering measures, such                    process of closing pursuant to State law              under § 257.102(d).
                                            as the installation of slurry walls to                  (e.g., solid waste permit, consent orders                EPA disagrees that legacy CCR surface
                                            prevent groundwater infiltration, to                    or decrees). Commenters also requested                impoundments should be prohibited
                                            address any deficits without removing                   EPA to exempt any site that had closed                from closing with waste in place in
                                                                                                    as part of a cleanup conducted pursuant               accordance with § 257.102(d). The
                                              62 Electric generating facilities are required to     to another Federal requirement, such as               commenters did not demonstrate that
                                            schedule and agree upon boiler shutdown periods         CERCLA or RCRA subtitle C. These                      legacy impoundments could never meet
                                            with their Regional Transmission Organization           commenters stated that EPA had failed                 the performance standards in
                                            (RTO) to ensure grid reliability. Most plants have      to demonstrate that these units posed                 § 257.102(d) or identify unique
                                            regular boiler shutdowns on an annual basis with
                                                                                                    any risk as a consequence of the lack of              characteristics or risks of legacy
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                                            a more substantial one every few years. Since
                                            regular boiler shutdowns are already scheduled, the     ponded water, and that ‘‘re-closure’’ of              impoundments that would not be
                                            facility can plan the closure construction around       these previously closed units is                      adequately addressed by compliance
                                            the already scheduled outage; however, the outage       consequently unnecessary and overly                   with those provisions. Both clean
                                            may need to be extended depending on the work.
                                            The RTOs require various lead times of consultation     burdensome.                                           closure and closure with waste in place
                                            or notice prior to any retirements, outages, or            By contrast, several commenters                    can be equally protective, provided that
                                            extended periods of non-operation.                      supported EPA’s proposal to require all               all of the requisite performance


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                                            standards in § 257.102 are met. The final               operate in lieu of the Federal CCR                    approximately 30% of the net
                                            rule therefore requires legacy                          regulations, and it would be                          disposable CCR generated was
                                            impoundments to comply with the same                    inappropriate for EPA to substitute its               potentially exempt from all State solid
                                            requirements applicable to other                        own process to achieve the same ends.                 waste permitting requirements (EPA/
                                            inactive impoundments, that is, to close                Under the Congressionally mandated                    DOE Report at pp 45–46). For example,
                                            in accordance with either § 257.102(c)                  process, a State must obtain EPA                      at the time of the report, Alabama did
                                            or (d).                                                 approval, in whole or in part, of its CCR             not regulate CCR disposal under any
                                               If all of the performance standards for              permit program, pursuant to RCRA                      State waste authority and did not have
                                            clean closure and the performance                       section 4005(d). 42 U.S.C. 6945(d).                   a dam safety program. Finally, the
                                            standards for closure with waste in                     Those provisions expressly identify the               report found that a number of States
                                            place can be met, an owner or operator                  standard EPA must use to evaluate a                   only regulated surface impoundments
                                            may determine which alternative is                      State program including, where                        under Clean Water Act authorities, and
                                            appropriate for their particular unit. The              applicable, alternative technical criteria            consequently primarily addressed the
                                            regulations do not require an owner or                  that differ from the Federal CCR                      risks from effluent discharges to
                                            operator to use one closure option over                 regulations, along with requirements for              navigable waters, but did not require
                                            the other in such situations. However,                  EPA to review approved programs and,                  liners or groundwater monitoring.
                                            the facility must meet all the                          if necessary, to withdraw approval.                      As part of developing the 2015 CCR
                                            performance standards for the option it                 Finally, the statute expressly provides               Rule, EPA independently reviewed
                                            has selected, and if it cannot meet all of              that in the absence of a permit issued                State statutes and regulations, with a
                                            the performance standards for one                       under an approved State program, the                  more detailed focus on the 16 States
                                            option, then it must meet all of the                    Federal criteria apply to all CCR units.              responsible for approximately 74% of
                                            performance standards for the other                     42 U.S.C. 6945(d)(6). These provisions                the CCR generated in 2009. See 80 FR
                                            option. 40 CFR 257.102(a) (specifying                   reflect Congress’ considered judgment of              21324. This review identified some
                                            that ‘‘[c]losure of a CCR landfill, CCR                 the appropriate legal structure and                   programs that provided minimal or no
                                            surface impoundments . . . [m]ust be                    relationship between State and Federal                regulatory oversight of CCR units. For
                                            completed either by leaving the CCR in                  requirements, and it is not appropriate               example, Arizona, New Mexico, and
                                            place and installing a final cover system               for EPA to effectively establish its own              Utah had no regulations applicable to
                                            or through removal of the CCR and                       alternative.                                          CCR units or entirely exempted CCR
                                            decontamination of the CCR unit, as                        In any event, EPA lacks the record                 from State regulations governing solid
                                            described in paragraphs (b) through (j)                 necessary to support a broad exemption                waste. Similarly, Mississippi, Montana,
                                            of this section.’’). For example, if the                for all closures under any State                      and Texas (the largest coal-ash
                                            facility is unable to meet the                          requirement. As discussed in more                     producer) exempted the on-site disposal
                                            performance standards for closure with                  detail below. the information currently               of CCR (as ‘‘nonhazardous industrial
                                            waste in place for a particular unit (or                available does not demonstrate that all               solid waste’’) from some or all key
                                            portion of a unit), it must close the unit              closures conducted under State                        requirements, such as permits or
                                            by removal (or that portion). Whether                   authority ‘‘ensure there is no reasonable             groundwater monitoring. Such
                                            any particular unit or facility can meet                probability of adverse effects on health              exemptions covered most of the
                                            the performance standards is a fact and                 or the environment.’’ 42 U.S.C. 6944(a).              disposal of CCR within the State, as the
                                            site-specific determination that will                      First, commenters’ arguments appear                majority of utilities dispose of their CCR
                                            ultimately depend on a number of                        to be premised largely on the existence               on-site. Other States, such as Florida,
                                            factual and engineering considerations,                 of a State solid waste program with the               Indiana, Ohio and Pennsylvania,
                                            such as the hydrogeology of the site, the               attributes of the municipal solid waste               exempted CCR landfills or ‘‘monofills’’
                                            engineering of the unit, and the kinds of               landfill requirements adopted and                     from many requirements. For example,
                                            engineering measures available.                         approved well after those dates. But as               Indiana regulations considered surface
                                               As discussed in the preceding section,               some commenters acknowledged, many                    impoundments that are dredged at least
                                            this final rule does not require                        legacy impoundments closed well                       annually to be ‘‘storage units’’ that are
                                            previously closed legacy CCR surface                    before any State had developed such                   exempt from solid waste regulations,
                                            impoundments to automatically ‘‘re-                     regulations—e.g., during 1970s–1990s.63               including from corrective action
                                            close.’’ Rather, consistent with the                    EPA has no evidence demonstrating the                 requirements. Many of these States were
                                            proposal, facilities will be required to                protectiveness of State requirements                  among the leading generators of CCR
                                            ensure that all closed legacy CCR                       during this period. However, the results              wastes at the time. In total, EPA
                                            surface impoundments meet the                           of the joint U.S. Department of Energy                estimated that in 2015, approximately
                                            performance standards in § 257.102(c)                   (DOE) and EPA study completed in                      20% of the net disposable CCR was
                                            or (d). To the extent any deficit can be                2006, ‘‘Coal Combustion Waste                         entirely exempt from State regulatory
                                            remedied by supplementary engineering                   Management at Landfills and Surface                   oversight.
                                            methods, that would be all that is                      Impoundments, 1994–2004,’’ are not                       However, EPA concluded in 2015 that
                                            required.                                               encouraging. Only 19% (three out of 19)               most States regulated the management
                                                                                                    of the surveyed surface impoundment                   of CCR to varying degrees, although the
                                            (a) Closure of Legacy CCR Surface                       permits included requirements                         particular requirements varied
                                            Impoundments Under State Law                            addressing groundwater protection                     significantly. Most CCR surface
                                               EPA continues to disagree that it                    standards (i.e., contaminant                          impoundments were permitted
                                            would be appropriate to exempt any                      concentrations that cannot be exceeded)               exclusively under NPDES or other
                                            legacy CCR surface impoundment that                     or closure/post-closure care. The EPA/                surface water pollution prevention
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                                            has completed closure or is currently in                DOE report also concluded that                        programs. In these States, requirements
                                            the process of closing pursuant to State                                                                      to protect groundwater, such as liners or
                                            requirements. As EPA repeatedly                           63 As discussed previously, if an impoundment
                                                                                                                                                          groundwater monitoring systems, were
                                            explained in the proposal, Congress                     contained CCR and liquids on or after October 19,
                                                                                                    2015, it is considered a legacy impoundment under
                                                                                                                                                          frequently less robust than the
                                            established a specific process that                     these regulations even if the unit is considered to   corresponding requirements applicable
                                            would authorize State requirements to                   have been closed under state law.                     to CCR landfills.


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                                               EPA did not specifically evaluate                    at least two States responsible for a                 substantially equivalent to closures in
                                            State closure requirements in 2015.                     significant percentage of the CCR                     accordance with § 257.102, because they
                                            However, EPA’s findings with respect to                 generated annually, Ohio and Kentucky,                involved substantial regulatory
                                            groundwater monitoring requirements                     recently (i.e., after 2015) allowed                   oversight, a site-specific risk
                                            suggests that it is unlikely States                     facilities to close their impoundments                assessment, and general consistency
                                            considered the extent to which a surface                by removing the CCR from the                          between the programs on the standards
                                            impoundment would remain saturated                      impoundment, but did not require                      to be applied. These included closures
                                            by groundwater after closure. In 2015                   groundwater monitoring to determine                   under CERCLA and an approved State’s
                                            EPA had only limited anecdotal                          whether groundwater contamination                     RCRA subtitle C program. According to
                                            evidence on the status of groundwater                   remained at the site. Under the CCR                   these commenters, it is a near certainty
                                            monitoring in six States, including four                regulations, closure by removal is only               that there will be slight differences in
                                            States that are among the leading CCR                   considered complete with                              the way the closure activities were
                                            generators. After the Kingston TVA spill                documentation that all Appendix IV                    designed or conducted when compared
                                            in December of 2008, groundwater                        constituent concentrations are below the              to § 257.102, but because the closure
                                            monitoring wells were installed at 12 of                GWPS in two consecutive groundwater                   activities accomplish the same
                                            Illinois’s existing surface                             monitoring sampling events.                           environmental goals and meet the same
                                            impoundments, almost doubling the                          More to the point, as EPA explained                ultimate performance standards with
                                            number of monitored surface                             in the proposal, the record clearly                   respect to avoiding groundwater
                                            impoundments in the State. However,                     shows that significant numbers of CCR                 impacts, there is little to be gained by
                                            55 additional surface impoundments,                     surface impoundments were                             duplicative closure activities under the
                                            both active and inactive, still lacked                  constructed with at least some portion                Federal CCR regulations. Another
                                            groundwater monitoring systems. In                      of the unit actually in the aquifer                   commenter provided a copy of a
                                            Ohio, 44 CCR units, out of a total of 57                beneath it, or otherwise consistently                 Consent Order entered in State court
                                            CCR units in the State (42 surface                      saturated by groundwater or surface                   governing the closure of CCR surface
                                            impoundments and 15 landfills) still                    water migrating into the unlined                      impoundments at seven sites across the
                                            lacked groundwater monitoring in 2015,                  impoundment. Many of these units were                 State. The commenter also provided
                                            even though all the surface                             closed without addressing the liquids                 copies of several human health and
                                            impoundments were permitted decades                     that continued to saturate the CCR, and               ecological risk assessments that were
                                            ago under Ohio’s NPDES program. Ohio                    the free liquids that remained or the fact            conducted to support the State’s
                                            acknowledged in their comments that                     that the unit continues to impound                    approval of the closures, along with
                                            the extent of groundwater risks in the                  water—in some cases with full approval                various third-party reports. The
                                            State was poorly documented, as 40 out                  from the State. This is especially likely             commenter concluded that based on this
                                            of 44 unlined CCR units did not have a                  for closures that occurred prior to 2015.             factual record, it is unnecessary to
                                            groundwater monitoring system. Some                     As noted previously, a 2006 DOE/EPA                   subject these units to the existing
                                            State programs also authorized a buffer                 report concluded that only 19% of the                 closure criteria for CCR surface
                                            zone or a ‘‘zone of discharge,’’ which                  surveyed surface impoundment permits                  impoundments in §§ 257.101 and
                                            allows the facility to defer remediation                included requirements addressing                      257.102.
                                            of groundwater contamination for some                   groundwater protection standards (i.e.,                  EPA agrees that closures conducted as
                                            period of time, usually until the                       contaminant concentrations that cannot                part of a CERCLA or RCRA subtitle C
                                            contaminant plume has migrated to the                   be exceeded) or closure/post-closure                  response action would normally be
                                            facility site boundary. Florida, Illinois,              care, and approximately 30% of the net                expected to be consistent with the
                                            North Dakota, and Tennessee were                        disposable CCR generated was                          performance standards in § 257.102; the
                                            among the States with such a regulatory                 potentially exempt. The risks associated              CCR closure regulations were based on
                                            provision.                                              with such closures can be substantial, as             the closure regulations for hazardous
                                               EPA acknowledges that some States                    discussed in Unit III.A of this preamble.             waste facilities, and the CCR regulations
                                            have substantially revised their                        Ultimately, under the Federal CCR                     would normally be considered ARARs
                                            programs since 2015, but this is not                    regulations what determines whether a                 under CERCLA for any closure of a CCR
                                            universal. In addition, although a few                  unit meets the definition of an inactive              facility after 2015. Consequently, these
                                            States provided further information that                CCR impoundment or a closed CCR                       facilities may ultimately be able to
                                            was not available to EPA in 2015 about                  impoundment—and what determines                       support a certification of compliance
                                            their programs in response to the                       whether the unit continues to present a               with § 257.102. But, as the commenters
                                            proposal, most did not. For the most                    reasonable probability of adverse effects             noted, there can be slight variations in
                                            part, commenters offered general                        on health and the environment—are the                 how the standards are applied, and a
                                            assertions that State regulatory                        conditions that remain and the resulting              facility may consequently not be
                                            authorities have considered the site-                   risks, rather than whether a facility or              confident that it can support a
                                            specific conditions and determined that                 even a State regulatory authority has                 certification.
                                            the closure or closure plan meets the                   labeled the unit as ‘‘closed.’’                          Nor are these the only closures that
                                            necessary requirements for addressing                      For all of these reasons, EPA cannot               may be substantially equivalent. As the
                                            risk, and that EPA should not second                    exempt: (1) All units that have closed                commenters’ examples demonstrate,
                                            guess these decisions, but provided                     consistent with State requirements, or                State requirements, even where
                                            little, if any, evidence that would                     (2) All units that have started closure or            different, can result in closures that are
                                            support a wholesale exemption for any                   have had a closure plan approved under                equally as protective as those conducted
                                            closure conducted in accordance with                    State requirements prior to the effective             in accordance with Federal
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                                            State requirements.                                     date of the final rule.                               requirements.
                                               At the same time, as discussed above,                                                                         However, as the commenters noted it
                                            several commenters provided examples                    (b) Deferral of Certain Completed                     is a near certainty that there will be
                                            of recent (post-2015) State-authorized                  Closures to Permitting                                differences in the way the closure
                                            closures that are significantly less                      A few commenters provided examples                  activities were designed or conducted
                                            protective than § 257.102. For example,                 of closure that they believed were                    when compared to § 257.102. EPA does


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                                            not believe that it can craft an                        facility must demonstrate that the                    required in determining the
                                            exemption that could encompass all                      groundwater monitoring system was                     ‘‘equivalency’’ of alternative closures.
                                            these potential variations. Nor does EPA                capable of: (1) Accurately representing                  When the permit application is called
                                            believe that it could develop criteria                  background water quality; (2)                         in, the facility must provide sufficient
                                            that are sufficiently precise that                      Accurately representing the quality of                information, including data on
                                            regulated entities could determine                      water passing the waste boundary; and                 contaminant levels in groundwater, to
                                            whether alternative requirements                        (3) Detecting contamination in the                    demonstrate that the applicable
                                            ultimately accomplish the same                          uppermost aquifer. Finally, the                       § 257.102 standards have been met. EPA
                                            environmental goals and meet the same                   groundwater monitoring system must                    or a Participating State Director will
                                            ultimate performance standards as the                   have monitored all potential                          review the information to determine
                                            Federal requirements. But EPA has                       contaminant pathways. These are the                   whether the ‘‘equivalency’’ of the
                                            detailed criteria to identify whether a                 same subset of standards that apply to                closure has been successfully
                                            closure is potentially as protective as                 a facility certifying that its closure by             demonstrated. If EPA determines that
                                            those conducted in accordance with                      removal completed prior to the effective              the closure has met the appropriate part
                                            § 257.102, and which therefore warrant                  date of this final rule meets the                     257 closure standard, EPA will issue a
                                            a closer evaluation; closures that meet                 performance standards in § 257.102(c).                permit. If EPA or a Participating State
                                            these criteria will be deferred until a                    Fourth, a facility would need to                   Director determines that the closure
                                            permitting authority can evaluate the                   demonstrate that a site-specific risk                 does not meet the part 257 standards,
                                            adequacy of the closure.                                assessment was conducted or approved                  the owner or operator will be required
                                               The closures described above all share               by the regulatory authority prior to (or              to submit a permit application
                                            certain features such as the risks at the               as part of) approving the closure, and                containing all the applicable
                                            site have been fully evaluated by a                     that the closure and any necessary                    information for an operating permit, and
                                            regulatory authority and carefully                      corrective action has been overseen by                EPA or a Participating State Director
                                            addressed with oversight by a regulatory                the regulatory authority, pursuant to an              will issue a permit that contains the
                                            authority. Even though the specific                     enforceable requirement.                              specific requirements necessary for the
                                            requirements may differ from § 257.102,                    These criteria are generally consistent            closed unit to achieve compliance with
                                            there is nevertheless reason to believe                 with the criteria a commenter suggested               § 257.102.
                                            that the closure will be protective, at                 to identify closures under other
                                            least in the interim until a permitting                 authorities that would be equivalent to               iv. Closure Compliance Deadlines for
                                            authority can evaluate the adequacy of                  those conducted in accordance with                    Legacy CCR Surface Impoundments
                                            the closure to the CCR closure                          § 257.102. These included that the                    (a) Initiation of Closure for Legacy CCR
                                            requirements. Based on these                            facility had installed a groundwater                  Surface Impoundments
                                            considerations, EPA is limiting this                    monitoring system and performed
                                            deferral to closures where the facility                 groundwater monitoring and analysis in                   EPA proposed that legacy CCR surface
                                            can document that it meets specific                     accordance with §§ 257.90 through                     impoundments be subject to the existing
                                            conditions. First, the deferral is limited              257.95 and was conducting any                         requirement to initiate closure that are
                                            to circumstances in which a regulatory                  necessary remediation in accordance                   applicable to other unlined CCR surface
                                            authority played an active role in                      with §§ 257.96 through 257.98, pursuant               impoundments because, as discussed in
                                            overseeing and approving the closure                    to an enforceable requirement. Although               the proposed rule and in Unit III.B.2.c
                                            activities. EPA considers a ‘‘regulatory                the commenter proposed these to serve                 of this preamble, the current record
                                            authority’’ to include a State or Federal               as a basis for an exemption, EPA                      indicates that legacy CCR surface
                                            permit, an administrative order, or                     considers they are equally relevant to                impoundments are largely, if not
                                            consent order issued after 2015 under                   identifying decisions that can be                     entirely, unlined. Specifically, EPA
                                            CERCLA or by an EPA-approved RCRA                       deferred for future evaluation.                       proposed that owners or operators of
                                            State program. The permitting or other                     Fifth, the facility would be required to           legacy CCR surface impoundments
                                            authority must have required                            prepare and include documentation in                  initiate closure no later than 12 months
                                            groundwater monitoring to ensure there                  the applicability report and operating                after the effective date of the final rule
                                            was no contamination coming from the                    record, demonstrating that it has met                 because EPA anticipated 12 months
                                            unit that is not addressed by corrective                these criteria and is eligible for deferral.          being sufficient time for owners or
                                            action.                                                 This would include all relevant                       operators to identify and delineate the
                                               Second, to support deferral of                       specifics such as State permit, order,                legacy CCR surface impoundment,
                                            evaluation of a prior closure of a legacy               data, groundwater monitoring results,                 determine relevant engineering
                                            CCR surface impoundment as                              etc. This must be certified by the owner/             information (e.g., structural stability),
                                            substantially equivalent, the facility                  operator or an authorized representative              characterize the site’s hydrogeology and
                                            with a surface impoundment that closed                  using the same language in § 257.102(e).              other characteristics, and determine
                                            with waste in place must document that                     When it comes time for the permit                  whether any of the uppermost aquifer
                                            free liquids have been eliminated,                      authority to evaluate the closure, EPA                has been contaminated. As explained in
                                            consistent with the standard in                         intends to rely on the permit application             the proposed rule, EPA acknowledged
                                            § 257.102(d)(2)(i). This requirement                    process as the primary mechanism to                   that most of this information would be
                                            directly addresses the reason that EPA                  collect the information to allow a                    obtained through compliance with the
                                            has concluded that many previously                      determination to be made as to whether                proposed groundwater monitoring and
                                            completed closures do not meet the                      a legacy CCR surface impoundment that                 corrective action requirements.
                                            standard in RCRA section 4004(a).                       closed under these alternative standards                 In the proposed rule, EPA solicited
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                                               Third, a facility must document that                 did so in compliance with the                         comment on whether the regulations
                                            it had installed a groundwater                          requirements of § 257.102. The permit                 should provide owners and operators
                                            monitoring system and performed                         application process is a well-established             the option to retrofit a legacy CCR
                                            groundwater monitoring that meets a                     system for reviewing the types of                     surface impoundment in accordance
                                            subset of the performance standards                     groundwater, soil and other sampling                  with the retrofit requirements in
                                            found in § 257.91(a). Specifically, the                 and analytical data that will typically be            § 257.102(k) as an alternative to


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                                            requiring the closure of a legacy CCR                   associated with reclosing a facility that             other agency that are a prerequisite to
                                            surface impoundment.                                    is not contaminating groundwater or                   completing closure of a CCR unit.
                                               As stated in Unit III.B.2.g, generally               posing other risk to human health and
                                            commenters on the proposed rule                                                                               (b) Preparation of a Written Closure Plan
                                                                                                    the environment, such as increased
                                            supported requiring legacy CCR surface                                                                        for Legacy CCR Surface Impoundments
                                                                                                    traffic, increased greenhouse gas
                                            impoundments to close in accordance                     emissions, habitat loss, loss of native                  EPA proposed that owners or
                                            with the existing requirements.                         vegetation, water consumption, and                    operators of legacy CCR surface
                                            However, some commenters disagreed                      additional waste generation.                          impoundments comply with the
                                            that closure was appropriate for certain                   When the legacy CCR surface                        existing requirements of § 257.102(b)
                                            legacy CCR surface impoundments,                        impoundment is beneath infrastructure                 requiring the preparation of a written
                                            including those units underneath                        vital to the continuation of activities,              closure plan no later than 12 months
                                            infrastructure needed to support current                such as beneath a substation, the                     after the effective date of the final rule.
                                            activities, those that had completed or                 initiation of closure will be deferred                   As mentioned above, overall
                                            currently undergoing closure, and those                 until the infrastructure is no longer                 commenters on the proposed rule
                                            units that have been demonstrated not                   needed or the closure of the facility,                agreed that closure requirements,
                                            to pose unacceptable risk.                              whichever is sooner. This approach                    including the written closure plan,
                                               Most commenters stated that the                                                                            would generally be appropriate for
                                                                                                    protects human health and the
                                            proposed deadline for the initiation of                                                                       legacy CCR surface impoundments. One
                                                                                                    environment while appropriately
                                            closure was infeasible due to the factors                                                                     commenter suggested additional
                                                                                                    accounting for the need for operational
                                            listed in Units III.B.2.a.ii and III.B.2.g of                                                                 requirements for the content of the
                                                                                                    continuity and reliability.
                                            this preamble (e.g., labor shortages,                                                                         closure plan including the elevation of
                                                                                                       As explained in Unit III.B.2.g, EPA                the base of the unit, groundwater
                                            seasonality, limited contractor                         acknowledges the benefit of allowing
                                            availability, overlapping regulatory                                                                          information, and descriptions of
                                                                                                    owners or operators the time needed to                compliance with § 257.102 will be
                                            requirements) and should be extended
                                                                                                    incorporate groundwater monitoring                    achieved (e.g., how free liquids would
                                            in consideration of those factors as well
                                                                                                    data into the closure plan. Additionally,             be eliminated, how waste will be
                                            as to allow for the incorporation of the
                                                                                                    as stated in the proposed rule, EPA                   stabilized, measures to minimize the
                                            groundwater monitoring data.
                                               No commenters provided feedback on                   acknowledges the importance of using                  need for further maintenance of the CCR
                                            whether the regulations should allow                    information gained by compliance with                 unit). A few commenters supported the
                                            owners and operators to retrofit a legacy               the groundwater monitoring and                        proposed deadline but as summarized
                                            CCR surface impoundment.                                corrective action requirements to inform              in Units III.B.2.a.ii and III.B.2.g of this
                                               For the reasons explained in the                     closure decisions and therefore the                   preamble, other commenters stated the
                                            proposed rule as well as Unit III.B.2.g,                initiation of closure. For the reasons                proposed deadline was infeasible and
                                            EPA continues to conclude that the                      explained in Unit III.B.2.f, EPA is                   inappropriate. One commenter
                                            closure requirements in the existing rule               extending the deadline for the                        suggested the deadline for the closure
                                            are generally appropriate for legacy CCR                groundwater monitoring and corrective                 plan be extended to be concurrent with
                                            surface impoundments. However, as                       action requirements to a single deadline              the initiation of closure. Commenters
                                            explained in Unit III.B.2.g, EPA                        of no later than 30 months from the                   suggestions for the deadline for the
                                            recognizes that in specific situations,                 effective date of the final rule. As such,            completion of the closure plan ranged
                                            mandatory closure of a legacy CCR                       the initiation of closure is being                    from 12 (the 2015 CCR Rule deadline)
                                            surface impoundment by the deadline                     extended as well. To ensure owners or                 to 32 months, or after the collection of
                                            may cause more harm than benefits to                    operators have enough groundwater                     the eight baseline groundwater samples.
                                            human health and the environment.                       monitoring data to draw conclusions                      EPA disagrees with the commenter
                                            Based on information provided by the                    about seasonality impacts on                          that additional requirements regarding
                                            commenters and experience with the                      groundwater levels and flow and the                   the content of the closure plan are
                                            implementation of the 2015 CCR Rule                     source of any potential groundwater                   necessary. The information the
                                            (i.e., regulation of inactive CCR surface               contamination in the area, EPA is                     commenter requested be included in the
                                            impoundments), EPA finds that these                     finalizing a deadline of no later than                closure plan is 1) already required to be
                                            situations are limited to those in which                Monday, May 8, 2028, which is 42                      in the closure plan pursuant to
                                            the legacy CCR surface impoundment                      months from the effective date of the                 §§ 257.102(b) or 2) readily available in
                                            has completed closure under a State                     final rule. This is codified in the                   other required reports (e.g., the annual
                                            authority and those in which the unit is                regulatory text at § 257.101(e)(1).                   groundwater monitoring and corrective
                                            beneath infrastructure necessary for                       EPA is finalizing the application of               action reports). Furthermore, the
                                            current activities.                                     the existing requirements to initiate                 commenter failed to fully explain how
                                               For additional closure requirements of               closure to legacy CCR surface                         compliance with § 257.102(b) does not
                                            a legacy CCR surface impoundment, the                   impoundments as proposed except for                   provide the information needed to
                                            decision to require reclosure will be                   those that fall under the deferral of                 determine if compliance with the
                                            deferred until a permitting authority is                closure described above (i.e., units                  closure performance standards will be
                                            authorized to issue CCR permits to the                  closed under State authority, units                   met.
                                            facility, at which point, the permitting                beneath critical infrastructure).                        Regarding the deadline, as stated
                                            authority will be able to look at site-                    As stated in § 257.102(e), closure has             above, EPA concludes that the deadline
                                            specific factors and evidence to decide                 been initiated once any steps necessary               for the closure plan should be extended
                                            if reclosure is necessary to protect                    to implement the closure plan as                      from the proposed deadline to allow for
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                                            human health and the environment.                       described by Unit III.B.2.g.ii of this                owners or operators to incorporate
                                            EPA concludes that this approach will                   preamble have been taken, including                   information about groundwater quality,
                                            mitigate adverse impacts to local                       submitting an application for any                     groundwater flows, seasonality impacts,
                                            communities and the environment,                        necessary State or agency permits or                  and the migration of contaminants (if
                                            including environmental justice                         permit modifications and taking steps to              any) into the plan. Therefore, EPA is
                                            concerns that may result from activities                comply with standards of any State or                 finalizing a deadline of no later than


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                                            Monday, November 8, 2027, which is 36                   (c) Preparation of a Written Post-Closure             the infeasibility or inappropriateness of
                                            months after the effective date. This is                Care Plan for Legacy CCR Surface                      the deadline to complete closure.
                                            codified in the regulatory text at                      Impoundments                                          Therefore, EPA is finalizing the
                                            § 257.100(f)(5)(i).                                        EPA proposed that owners or                        deadline for the completion of closure
                                                                                                    operators of legacy CCR surface                       of legacy CCR surface impoundments as
                                               Based on comments on the proposed
                                                                                                    impoundments would be required to                     proposed.
                                            rule and experience from the 2015 CCR                                                                           Section 257.102(f) generally requires
                                            Rule, EPA expects the incorporation of                  comply with the existing requirement in
                                                                                                                                                          an owner or operator of existing and
                                            this information into the closure plan                  § 257.104(d) regarding the preparation
                                                                                                                                                          new CCR surface impoundments to
                                            will allow facilities to select a closure               of a written post-closure no later than 12
                                                                                                                                                          complete closure activities within five
                                            method that most appropriately                          months after the effective date of the                years from initiating closure. However,
                                            addresses issues like waste that is in                  final rule.                                           the regulations also establish
                                            contact with groundwater, groundwater                      The comments EPA received on the                   conditions, including documentation
                                            contamination, and long-term structural                 proposed rule regarding the post-closure              requirements, under which owners or
                                            stability concerns. Closure plans that                  plan requirement are described in Units               operators can demonstrate and receive
                                                                                                    III.B.2.g and III.B.2.g.i and can be                  two-year extensions of the deadline. For
                                            adequately address these issues will
                                                                                                    summarized as requests for an extension               CCR surface impoundments of 40 acres
                                            result in more compliant closure plans
                                                                                                    of the post-closure care deadline to                  or less, the deadline can only be
                                            and therefore, be more protective of                    allow for a more feasible deadline and
                                            human health and the environment.                                                                             extended by one two-year extension. For
                                                                                                    the incorporation of groundwater                      CCR surface impoundments larger than
                                               The closure plan describes the steps                 monitoring data. For the reasons stated               40 acres, the deadline can be extended
                                            necessary to close a CCR unit at any                    in Units III.B.2.g and III.B.2.g.i, EPA is            in increments of two years for no more
                                            point during the active life of the unit                finalizing a deadline of no later than                than five times.
                                            based on recognized and generally                       Monday, November 8, 2027, which is 36
                                            accepted good engineering practices. 40                 months from the effective date of the                 (e) Post-Closure Care for Legacy CCR
                                            CFR 257.102(b)(1). The plan must set                    final rule to comply with the post-                   Surface Impoundments
                                            out whether the closure of the CCR unit                 closure care requirement in                              EPA proposed to apply the existing
                                            will be accomplished by leaving CCR in                  § 257.104(d). This is codified in the                 post-closure care requirements at
                                            place or through closure by removal and                 regulatory text at § 257.100(f)(5)(ii).               § 257.104 to legacy CCR surface
                                            include a written narrative describing                     Section 257.104(d) requires that an                impoundments without revision. These
                                            how the unit will be closed in                          owner or operator of a CCR unit prepare               criteria are essential to ensuring the
                                            accordance with the section, or in other                a written post-closure plan. The                      long-term safety of legacy CCR surface
                                            words, how the closure will meet all the                contents of the P.E.-certified plan are               impoundments.
                                                                                                    stated in the rule at § 257.104(d)(1)(i)                 No commenters raised specific
                                            performance standards in the
                                                                                                    through (iii) and can be summarized as                concern about requiring legacy
                                            regulations. 40 CFR 257.102(b)(1)(i). The
                                                                                                    a description of the monitoring and                   impoundments to comply with the
                                            written closure plan must also provide
                                                                                                    maintenance activities required for the               existing requirements in § 257.104. EPA
                                            a schedule for completing all activities                unit, the frequency that these activities             is therefore finalizing this provision
                                            necessary to satisfy the closure criteria               will be performed, information for the                without revision.
                                            of the rule. See also 80 FR 21410–21425.                point-of-contact during the post-closure                 The existing post-closure care criteria
                                               If the CCR is left in place, the closure             care period, and planned uses of the                  require the monitoring and maintenance
                                            plan must include a description of the                  property.                                             of units that have closed with CCR in
                                            final cover system and how the final                    (d) Deadline To Complete Closure for                  place for at least 30 years after closure
                                            cover system will achieve the regulatory                Legacy CCR Surface Impoundments                       has been completed. 40 CFR 257.104.
                                            performance standards. If the base of the                                                                     During this post-closure period, the
                                            impoundment intersects with                               EPA proposed that owners or                         facility would be required to continue
                                            groundwater, the closure plan would                     operators of legacy CCR surface                       groundwater monitoring and corrective
                                            need to discuss the engineering                         impoundment comply with the existing                  action, where necessary.
                                            measures taken to ensure that the                       closure completion time frames in
                                                                                                    § 257.102(f).                                         h. Recordkeeping, Notification, and
                                            groundwater had been removed from                                                                             Internet Posting Criteria for Legacy CCR
                                                                                                      As stated in Unit III.B.2.g of this
                                            the unit prior to the start of installing                                                                     Surface Impoundments
                                                                                                    preamble, some commenters on the
                                            the final cover system, as required by
                                                                                                    proposed rule supported the proposed                    EPA proposed that owners or
                                            § 257.102(d)(2)(i). The closure plan                    deadline, however, overall commenters                 operators of legacy CCR surface
                                            would also need to describe how the                     supported applying the existing closure               impoundments be subject to the existing
                                            facility plans to meet the requirements                 completion time frames as long as the                 recordkeeping, notification, and website
                                            in § 257.102(d)(1) to ‘‘control, minimize               proposed deadline for the initiation of               reporting requirements in the CCR
                                            or eliminate, to the maximum extent                     closure was extended. For the reasons                 regulations found at §§ 257.105 through
                                            feasible, post-closure infiltration of                  described throughout this section, EPA                257.107. For reasons specified in the
                                            liquids into the waste and releases of                  has extended the deadline for the                     2015 CCR Rule, the CCR regulations
                                            CCR, leachate, or contaminated run-off                  initiation of closure. EPA expects the                require the owner or operator of a new
                                            to the ground or surface waters.’’ This                 extension to the deadlines for the                    or existing CCR unit to record specific
                                            could include, for example, the                         closure plan and initiation of closure, as            information in the facility’s operating
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                                            installation of engineering controls that               well as the options to defer closure                  record, maintain files of all required
                                            would address the post-closure                          requirements for legacy CCR surface                   information (e.g., demonstrations, plans,
                                            infiltration of liquids into the waste                  impoundments that have completed                      notifications, reports) that supports
                                            from all directions, as well as any post-               closure under a regulatory authority (see             implementation and compliance with
                                            closure releases to the groundwater from                Unit III.B.2.g.iii.b), to address the                 the rule, notify State Director and Tribal
                                            the sides and bottom of the unit.                       concerns commenters expressed with                    authorities, and maintain a public CCR


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                                            website that hosts this information. 80                 no factual basis to support the                       information so that it may be viewed by
                                            FR 21427.                                               suggestion that requiring owner or                    the public. Unless provided otherwise
                                               A commenter on the proposed rule                     operator certifications would improve                 in the rule (see, Unit III.E.5),
                                            supported applying recordkeeping,                       compliance with the regulations beyond                information posted to the publicly
                                            notification, and internet posting                      the certifications currently required by              accessible internet site must be available
                                            requirements to legacy CCR surface                      professional engineers. When justifying               for a period of no less than five years
                                            impoundments but stated that the                        the request for standardized reporting                from the initial posting date for each
                                            existing requirements were ineffective at               and website layout requirements, the                  submission. Posting of information must
                                            ensuring compliance with the CCR                        commenter failed to explain how                       be completed no later than 30 days from
                                            regulations or allowing for meaningful                  compliance with the public website                    the submittal of the information to the
                                            public awareness or participation. The                  posting requirements in § 257.107,                    operating record. Owners or operators of
                                            commenter suggested that EPA create                     including the requirement to ensure all               legacy CCR surface impoundments have
                                            mechanisms within the rule to ensure                    information is ‘‘clearly identifiable and             30 days from the effective date of this
                                            the public has the opportunity to                       must be able to be immediately printed                rule to establish a CCR website and post
                                            participate in the decision-making                      and downloaded by anyone accessing                    the required applicable information.
                                            processes at regulated CCR units;                       the site’’ is inadequate or a hinderance
                                            standardize reporting to make the report                                                                      C. CCR Management Unit Requirements
                                                                                                    to the public accessing the required
                                            more easily understood by the public;                   information. Therefore, EPA does not                     EPA is establishing requirements to
                                            establish organizational requirements                   believe additional notification,                      address the risks from previously
                                            for the CCR websites; require public                    certification, or public engagement                   unregulated solid waste management of
                                            notice and engagement when notifying                    requirements for legacy CCR surface                   CCR that involves the direct placement
                                            the State Director and/or appropriate                   impoundments would be appropriate.                    of CCR on the land at CCR facilities.
                                            Tribal authority as required by the CCR                    EPA agrees with the commenter on                   Information obtained since 2015
                                            rule; extend the period of time the files               the need to extend the period of time                 demonstrates that these exempt solid
                                            required by the CCR rule must be                        files required by the CCR rule must be                waste management practices are
                                            maintained in the operating record; and                 maintained on the facilities’ public                  currently contaminating groundwater at
                                            require owners or operators to certify                  websites and in the operating records.                many sites, and at others, have the
                                            compliance documentation for the CCR                    As described in Unit III.D.5, EPA is                  potential to pose risks commensurate
                                            units. This commenter also suggested                    extending how long files must be                      with the risks associated with currently
                                            EPA clarify what records owners or                      maintained in the operating record and                regulated activities.
                                            operators are required to retain and to                 on the public website. While EPA                         The closure of CCRMU of 1,000 tons
                                            publish.                                                believes the regulations at §§ 257.105                or greater also provides significant risk
                                               EPA agrees with the commenter on                     and 257.107 clearly lay out what records              mitigation. As laid out in Unit III.A of
                                            the importance of meaningful public                     must be retained and published, EPA                   this preamble, CCRMU at both active
                                            participation. The current regulations                  has included in Unit III.D.5 a table that             facilities and inactive facilities with
                                            allow for public participation by                       details what records are required to be               legacy impoundments pose risks to
                                            requiring owner or operators to hold a                  maintained in the operating record and                human health and the environment that
                                            public meeting as part of the assessment                on the public website as well as the                  are at least as significant as the risks
                                            of corrective measures in § 257.96,                     corresponding retention periods.                      presented by legacy CCR surface
                                            creating a mechanism for the public to                     EPA is finalizing the requirement that             impoundments and the units currently
                                            file dust complaints in § 257.80(b), and                owners or operators of legacy CCR                     regulated under the 2015 CCR Rule. In
                                            the ‘‘contact us’’ form or specific email               surface impoundments comply with                      particular, for highly exposed
                                            address on facilities’ public CCR                       recordkeeping, notification, and internet             individuals off site, landfill CCRMU
                                            websites for questions or issues from the               posting requirements at §§ 257.105                    were estimated to pose cancer risks as
                                            public as required by § 257.107(a). EPA                 through 257.107. Owners or operators                  high as 7 × 10¥6 from arsenic III, while
                                            does not have evidence to support the                   must document implementation and                      surface impoundment CCRMU were
                                            claim by the commenter that these                       compliance with the rule and must                     estimated to pose cancer risks as high as
                                            opportunities for public participation                  place these files into the facility’s                 8 × 10¥5 from arsenic III and noncancer
                                            are ineffective. Furthermore, EPA does                  operating record. Each required file                  HQs as high as 2 for arsenic III, two for
                                            not find other decision-making points in                must be maintained in the operating                   lithium, and one for molybdenum.
                                            the rule appropriate for mandatory                      record for the entirety of the retention              Differences in national risks between
                                            public meetings although facilities are                 period specified in § 257.105 following               currently regulated units and these
                                            encouraged to engage with the public                    submittal of the file into the operating              older units are attributed largely to the
                                            and to both solicit and incorporate                     record. Each file must also indicate the              proportion of units that were modeled at
                                            public input into decisions, such as                    date the file was placed in the operating             the time as lined. However, the risks
                                            closure methods, as able and                            record. Files are required to be                      associated with these older units may be
                                            appropriate.                                            submitted into the operating record at                even higher than EPA modeled in the
                                               With respect to the commenter’s                      the time the documentation becomes                    2014 Risk Assessment for active units.
                                            suggestions that EPA require the owners                 available or by the compliance deadline               These units have been present onsite
                                            or operators of CCR units to certify                    specified in the CCR regulations.                     longer and had more time to leak. In
                                            compliance documentation and create                     Section 257.105 contains a                            addition, there are several management
                                            standardized reporting and website                      comprehensive listing of each                         practices that have the potential to
                                            layout requirements, as explained in the                recordkeeping requirement and                         result in higher leakage, but that were
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                                            proposed rule, EPA does not have                        corresponding record retention periods.               previously modeled either less
                                            evidence that legacy CCR surface                           Furthermore, the owner or operator of              frequently for active units—based on a
                                            impoundments are sufficiently different                 a legacy CCR surface impoundment                      belief that the practices had declined
                                            than currently regulated facilities to                  must maintain a CCR website titled,                   over time—or not at all—due to data
                                            necessitate substantially different                     ‘‘CCR Rule Compliance Data and                        constraints on a national scale. These
                                            requirements. The commenter provided                    Information’’ that hosts the compliance               include: (1) The greater prevalence of


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                                            unlined units; (2) The greater likelihood               necessary), and in certain cases, closure,            management practices, in order to
                                            of co-management of CCR with coal                       and post-closure care requirements.                   develop appropriate requirements. EPA
                                            refuse and other wastes in surface                      These issues are discussed in more                    reviewed information received in
                                            impoundments, making the overall                        detail in this Unit of the preamble.                  response to the ANPRM as well as the
                                            waste pH far more acidic and (3) The                       EPA estimates that there are 179                   documents posted on facilities’ CCR
                                            potential for the units to be constructed               CCRMU at 92 active facilities and 16                  websites for compliance with CCR
                                            below the water table or to have become                 CCRMU at 12 inactive facilities that will             regulations. See, 88 FR 32012.
                                            inundated with groundwater after the                    be subject to the requirements of this                Specifically, EPA reviewed groundwater
                                            time of construction. As discussed in                   final rule.64 These areas include inactive            monitoring reports, assessment of
                                            Unit III.A, each of these practices                     CCR landfills, closed CCR landfills,                  corrective measures reports, corrective
                                            individually have the potential to result               closed CCR surface impoundments, and                  measures progress reports, remedy
                                            in nationwide risks higher than                         other solid waste management areas of                 selection reports, history of construction
                                            previously reported on a national basis                 CCR. EPA also identified 20 CCRMU at                  reports, closure plans and reports, and
                                            for the currently operating universe of                 eight other active facilities. This                   fugitive dust control plans for facilities
                                            CCR units. For example, unlined                         estimate of CCRMU is an increase from                 with CCR websites from 2018, 2019,
                                            landfill CCRMU were estimated to pose                   the 134 CCRMU located at 82 facilities                2020, and 2021. Through review of the
                                            cancer risks as high as 1 × 10¥5 from                   identified in the proposed rule. 88 FR                groundwater monitoring and corrective
                                            arsenic III, while unlined surface                      32028.                                                action reports, EPA found many
                                            impoundment CCRMU were estimated                                                                              instances where the owners or operators
                                            to pose cancer risks ranging from 2 ×                   1. Damage Cases                                       of CCR facilities claimed that the
                                            10¥4 from arsenic III and noncancer                        EPA has a long history of considering              detection of an SSI or SSL in
                                            HQs as high as 5 for arsenic III, 3 for                 damage cases in its regulatory decisions              concentrations of Appendix III or IV
                                            lithium, 2 for molybdenum, and 1 for                    under RCRA. RCRA specifically directs                 constituents in groundwater came from
                                            thallium. A combination of these                        EPA, when making a Regulatory                         a CCRMU rather than the monitored
                                            practices could push risks even higher                  Determination for CCR, to consider                    regulated CCR unit.
                                            than modeled.                                           ‘‘documented cases in which danger to                    Whenever a facility determines that
                                               Based on these data, EPA is finalizing               human health and the environment                      there is an SSI over background levels
                                            the addition of a new category of CCR                   from surface run-off or leachate has                  for one or more of the constituents in
                                            units that would be subject to a set of                 been proved,’’ demonstrating that such                Appendix III at a monitoring well at the
                                            requirements tailored to the                            information is to carry great weight in               downgradient waste boundary, the
                                            characteristics of such units and the                   decisions of whether and how to                       existing CCR regulations allow the
                                            risks that they present. This new                       regulate such wastes. 42 U.S.C.                       facility an opportunity to complete an
                                            category of CCR units, called ‘‘CCR                     6982(n)(4). See also 42 U.S.C.                        ASD showing that a source other than
                                            management units’’ or CCRMU, consists                   6982(n)(3). In addition, damage cases                 the unit (i.e., an alternative source) was
                                            of CCR surface impoundments and                         are among the criteria EPA must                       the cause of the SSI. 40 CFR
                                            landfills that were closed prior to the                 consider under its regulations for                    257.94(e)(2). The existing CCR
                                            effective date of the 2015 CCR Rule, and                determining whether to list a waste as                regulations provide a similar
                                            inactive CCR landfills, which include                   a ‘‘hazardous waste.’’ See 40 CFR                     opportunity whenever assessment
                                            inactive CCR piles. Under this final rule,              261.11(a)(3)(ix). EPA also relied on                  monitoring results indicate that an SSL
                                            CCR management units are subject to                     damage cases to develop the specific                  exceeding the GWPS has been detected
                                            the regulations when they are located at:               requirements for CCR in part 257,                     at a downgradient well for any of the
                                            (1) A facility currently regulated under                subpart D. See, 80 FR 21452–21459.                    Appendix IV constituents. 40 CFR
                                            the 2015 CCR Rule; (2) Inactive facilities                 Damage cases generally provide direct              257.95(g)(3). If a successful ASD for an
                                            with a legacy CCR surface                               evidence of both the extent and nature                SSL is not completed within 90 days,
                                            impoundment; and (3) Facilities that, on                of the potential risks to human health                corrective action must be initiated.
                                            or after October 19, 2015, produced                                                                              In reviewing groundwater monitoring
                                                                                                    and the environment that have resulted
                                            electricity for the grid but were not                                                                         and corrective action reports EPA found
                                                                                                    from actual waste management practice.
                                            regulated under the 2015 CCR Rule                                                                             that 42 ASDs or ACMs concluded that
                                                                                                    For example, in the 2015 CCR Rule, EPA
                                            because they had ceased placement of                                                                          a Federally unregulated CCR source was
                                                                                                    relied on damage cases to identify actual
                                            CCR in onsite CCR units and did not                                                                           responsible for the SSI or SSL. The
                                                                                                    management practices that resulted in
                                            have an inactive CCR surface                                                                                  proposed rule included ten examples
                                                                                                    harm above and beyond that already                    (i.e., damage cases) where owners or
                                            impoundment (the inclusion of these
                                                                                                    identified through modeling. Based on                 operators of CCR facilities claimed that
                                            facilities are discussed in Unit III.C.2.f).
                                                                                                    the damage cases, EPA identified                      an SSI or SSL is attributable to a CCR
                                            EPA refers to the facilities in the above
                                                                                                    several additional constituents                       source rather than the Federally
                                            three categories in this preamble as
                                                                                                    (antimony, barium, beryllium,                         regulated CCR unit.
                                            ‘‘covered CCR facilities.’’
                                               Owners or operators of any of covered                chromium, selenium, and lead) that                       In addition to reviewing the
                                            CCR facilities are required to conduct a                were added to the Appendix IV list for                groundwater monitoring and corrective
                                            facility evaluation to identify and                     groundwater monitoring.                               action reports, EPA reviewed the history
                                            delineate any CCRMU containing one                         For CCRMU, EPA proposed to rely on                 of construction reports, closure plans
                                            ton (or more) at the facility and                       ten potential damage cases to further                 and reports, and fugitive dust control
                                            document the findings in two reports. In                support the results of the modeling and               plans for facilities with CCR websites
                                            addition, owners or operators of a                      2014 Risk Assessment, and to better                   from 2018, 2019, 2020, and 2021. These
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                                            covered CCR facility are required to                    understand the characteristics of the                 documents contained either site maps,
                                            ensure that all identified CCRMU                        sites and units, as well as the                       which identified currently regulated
                                            containing 1,000 tons or more comply                      64 An updated list of known potential CCRMU
                                                                                                                                                          units, and in some cases, inactive or
                                            with the existing requirements in 40                    can be found in the docket for this action. See
                                                                                                                                                          closed units at the facility, or narrative
                                            CFR part 257, subpart D for groundwater                 document titled ‘‘Universe of CCR Management          discussions of the site history, which
                                            monitoring, corrective action (where                    Units. April 2024.’’                                  included identification of where CCR


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                                            were previously disposed or managed at                  regulation of CCRMU. The commenter                    only potential damage cases, are also
                                            the facility.                                           complained that ‘‘EPA’s damage cases                  relevant under the third Bevill factor:
                                               EPA received numerous comments                       are not based on information collected                ‘‘potential danger, if any, to human
                                            about the damage cases provided in the                  by EPA, but rather are based on                       health and the environment from the
                                            proposed rule. Some commenters                          information compiled by advocacy                      disposal and reuse of such materials.’’
                                            provided information to demonstrate                     groups using data collected from CCR                  42 U.S.C. 6982(n)(4). In addition,
                                            that many of EPA’s listed damage cases                  websites, [and t]here is no indication                damage cases are among the criteria
                                            did not meet EPA’s criteria for a damage                EPA has conducted its own data                        EPA must consider under its regulations
                                            case to be considered ‘‘a proven damage                 collection, or verified the data that was             for determining whether to list a waste
                                            case,’’ that had been developed for                     collected.’’ The commenter went on to                 as a ‘‘hazardous waste.’’ See 40 CFR
                                            purposes of the Bevill Regulatory                       say,                                                  261.11(a)(3)(ix). Damage cases generally
                                            Determinations described in 65 FR                         Much of the data refers to alternative              provide extremely potent evidence in
                                            32214, 32224 (May 22, 2000). One                        source analyses conducted for regulated CCR           hazardous waste listings.
                                            commenter mischaracterized these                        units, suggesting that the discussed ‘CCRMU’             As with the 2015 CCR Rule, EPA
                                            criteria as ‘‘EPA’s criteria for identifying            may be the source of groundwater                      considers that both proven and potential
                                            damage cases in RCRA rulemakings,’’                     contamination; however, EPA makes no                  damage cases provide information
                                            and claimed that groundwater                            statements regarding whether, and conducts            directly relevant to this rulemaking.
                                            exceedances are not sufficient to prove                 no analysis to determine whether, it agrees           Damage cases—whether proven or
                                                                                                    with those analyses. This is highlighted by
                                            that there is any risk to human health.                                                                       potential—provide evidence of both the
                                                                                                    the carefulness of EPA’s declaration that its
                                            The commenter stated that                               review of the third-party compiled                    extent and nature of the potential risks
                                            ‘‘exceedances [must be] measured in                     information identified 42 areas ‘‘potentially         to human health and the environment.
                                            ground water at a sufficient distance                   contaminating groundwater.’’ . Potential              The primary difference between a
                                            from the waste management unit to                       groundwater impacts does not rise to the              proven and a potential damage case is
                                            indicate that hazardous constituents had                RCRA protectiveness level of ‘‘reasonable             whether the contamination has migrated
                                            migrated to the extent that they could                  probability of adverse effects on health or the       off-site of the facility. But the mere fact
                                            cause human health concerns’’ citing                    environment from disposal of solid waste at           that groundwater contamination has not
                                                                                                    such facility.
                                            the 2000 Regulatory Determination (65                                                                         yet migrated off-site does not change the
                                            FR 32224, May 22, 2000), and the 2010                      Finally, one commenter complained                  fact that a potentially harmful
                                            proposed CCR Rule (75 FR 35131, June                    that of the 134 areas EPA identified                  constituent has leached from the unit
                                            21, 2010). The commenter asserted that                  where the management of CCR remain                    into groundwater. Whether the
                                            without such information, none of the                   exempt, less than one third were found                constituent ultimately causes further
                                            cases can be used to justify EPA’s                      to potentially have groundwater                       damage by migrating into drinking
                                            proposed regulation of CCR                              impacts, yet EPA seeks to regulate the                water wells does not diminish the
                                            management units.                                       entire universe of 134 areas and more.                significance of the environmental
                                               Another commenter argued that ‘‘the                  According to this commenter, even                     damage caused to the groundwater
                                            damage cases are not representative of                  assuming the potential groundwater                    under the site, even where it is only a
                                            all CCRMUs, and, consequently, cannot                   impacts are real, they are not necessarily            future source of drinking water. As
                                            legitimately be relied upon to develop                  an indication that the CCR management                 explained in the original 1979 subtitle D
                                            national standards and requirements for                 practice creates a reasonable probability             criteria, EPA is concerned with
                                            all CCRMUs.’’ The commenter claims                      of an adverse effect on human health or               groundwater contamination even if the
                                            that a report generated by Gradient                     the environment, as the commenter                     aquifer is not currently used as a source
                                            documents ‘‘many examples of CCRMUs                     believes there are several other factors,             of drinking water. Sources of drinking
                                            that are not causing any GWPS                           such as the nature and extent of the CCR              water are finite, and future users’
                                            exceedances, are not associated with                    management practice, whether a                        interests must also be protected. (See 44
                                            any undue risk, and are being effectively               hydraulic head is present, the hydraulic              FR 53445–53448.) (‘‘The Act and its
                                            regulated under state purview.’’                        conductivity of surrounding soils, and                legislative history clearly reflect
                                            Additionally, the commenter claims that                 the proximity of the material to water                Congressional intent that protection of
                                            the ‘‘damage cases cited by US EPA do                   and the likelihood of contact with                    groundwater is to be a prime concern of
                                            not demonstrate that CCRMUs are                         water, that must be considered before                 the criterion. . . . EPA believes that
                                            currently impacting groundwater                         concluding a CCR management practice                  solid waste activities should not be
                                            quality and causing an unacceptable                     creates a reasonable probability of an                allowed to contaminate underground
                                            risk because EPA has not addressed                      adverse effect.                                       drinking water sources to exceed
                                            whether the groundwater impacts that                       EPA disagrees that it is inappropriate             established drinking water standards.
                                            they have attributed to CCRMUs result                   to characterize the cited SSIs and SSLs               Future users of the aquifer will not be
                                            from the current condition of each                      as damage cases. As explained in the                  protected unless such an approach is
                                            CCRMU or its historical operating                       2015 CCR Rule preamble, EPA has a                     taken.’’). EPA is therefore presenting its
                                            condition.’’ The commenter concludes                    long history of considering damage                    findings with regard to damage cases
                                            that because EPA has provided no                        cases in its regulatory decisions under               because this information further
                                            evidence to determine whether the                       RCRA. 80 FR 21452. The statute                        supports the results of EPA’s 2014 and
                                            impacts are being caused by the current                 specifically directs EPA to consider                  2024 Risk Assessments, which together
                                            condition of each CCRMU (potentially                    ‘‘documented cases in which danger to                 provide the factual bases for the actions
                                            closed, inactive, and/or dewatered),                    human health and the environment                      taken in this final rule.
                                            EPA’s conclusions that the damage                       from surface runoff or leachate has been                 EPA also disagrees with the
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                                            cases provide evidence of potential risks               proved,’’ in reaching its Regulatory                  arguments that attempt to minimize the
                                            associated with CCRMU is misguided                      Determination for these wastes,                       significance of the damage case record.
                                            and unsupported.                                        demonstrating that such information is                EPA is relying on the damage cases to
                                               One commenter also took issue with                   to carry great weight in determining                  evaluate the extent and nature of the
                                            EPA’s inclusion of ‘‘only’’ ten ‘‘hand-                 whether to regulate these wastes. 42                  risks associated with particular CCR
                                            picked’’ damage cases to justify                        U.S.C. 6982(n)(4). Damage cases, even if              management practices. Facts


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                                            demonstrating the consequences from                     remediated (or is in the process of being                The same commenter also disagreed
                                            particular activities therefore remain                  remediated) under State oversight. For                with EPA’s inclusion of Huntington as
                                            relevant, particularly (although not                    example, one commenter noted that                     an example of a CCRMU with identified
                                            solely) where the management practices                  they are ‘‘aware of situations where over             SSLs. They said EPA’s statement that
                                            continue to occur. In other words, what                 the years CCR was intermittently                      the plant’s remedy selection report
                                            matters in this regard are facts that                   dispersed within fill to facilitate facility          ‘‘does not appear to address releases
                                            provide information on the reasons that                 expansions (commonly referred to as                   from the Old Landfill,’’ is incorrect, as
                                            unit leaked, the particular contaminants                ‘‘made land’’), which was a common                    the selected remedy—a groundwater
                                            that were present, the levels of those                  practice along heavily industrialized                 capture system—has been placed to
                                            contaminants, and the nature of any                     shores of the Great Lakes.’’ The                      capture groundwater from both the
                                            impacts caused by that contamination.                   commenter further stated that, the                    regulated landfill and the Old Landfill.
                                            This is entirely consistent with RCRA                   ‘‘Phases I and II of the Landfill at                  In addition, the commenter said the Old
                                            section 8002(n), which requires EPA to                  NIPSCO’s R.M. Schahfer Generating                     Landfill is subject to separate State
                                            evaluate the ‘‘potential danger, if any, to             Station, is an example of how the                     oversight and corrective action,
                                            human health and the environment                        Proposed Rule mischaracterizes the risk               including elimination of infiltration,
                                            from the disposal and reuse of such                     associated with CCRMU.’’ According to                 capping of closed sections and capture
                                            materials’’ in addition to ‘‘documented’’               the commenter Phases I and II have                    of any seepage. As a result, they
                                            damage cases. 42 U.S.C. 6982(n)(3)–(4).                 been closed in a manner that is                       disagreed with EPA’s characterization of
                                               EPA further disagrees that only the                  protective of groundwater, and the data               Huntington as a damage case and stated
                                            presence of receptors within the impact                 demonstrates that the groundwater                     it should be removed from the final rule.
                                            sphere of a contaminating facility merits               plume resulting from Phases I and II is                  One commenter claimed that the
                                            consideration of a particular damage                    stable, with concentrations of                        damage case example concerning East
                                            case. EPA’s longstanding and consistent                 constituents declining.                               Kentucky Power Cooperative’s Cooper
                                            policy across numerous regulatory                                                                             Station does not support the conclusion
                                                                                                       Another commenter similarly
                                            programs has been that groundwater                                                                            EPA draws from it. Specifically, EPA’s
                                                                                                    objected to EPA’s inclusion of Reid
                                            contamination is a significant concern                                                                        proposal refers to a former surface
                                                                                                    Gardner as an example of CCRMU with
                                            that merits regulatory action in its own                                                                      impoundment below the current landfill
                                                                                                    identified SSIs. The commenter said
                                            right, whether or not the aquifer is                                                                          at the facility, but, as the proposal
                                                                                                    EPA mistakenly assumed the historical                 recognizes, the facility conducted an
                                            currently used as a source of drinking
                                            water. Sources of drinking water are                    ponds under the regulated units may be                ASD that did not identify the former
                                            finite, and future users’ interests must                a cause of SSIs. They said these                      impoundment as an alternate source of
                                            also be protected. The absence of                       historical ponds were excavated and                   groundwater impact and the unit
                                            current receptors is therefore also not an              removed prior to 2015 so these units                  therefore remains in detection
                                            appropriate basis on which to discount                  cannot be deemed to be a CCRMU. As                    monitoring, with no conclusion having
                                            damage cases. And for all the reasons                   a result, they said EPA’s                             been drawn. As such, the commenter
                                            discussed above, EPA also disagrees that                characterization of Reid Gardner as a                 said, ‘‘EPA is relying on an ASD which
                                            only exceedances of health-based                        damage case is inaccurate and                         did not identify the impoundment as an
                                            standards of contaminants that have                     inappropriate and should be removed                   alternative source to justify more
                                            migrated off-site (i.e., only proven                    from the final rule. In addition, they                stringent regulation of CCRMU with
                                            damage cases) should be accounted for                   disagreed with EPA’s reliance on                      respect to groundwater impacts that
                                            as part of this rulemaking.                             ‘‘standard GWPS’’ equivalent to MCLs,                 have not been found to have resulted
                                               EPA further disagrees with                           stating that by doing so, EPA fails to                from the unit.’’ EPA agrees that this
                                            commenters’ assertions about the                        consider site-specific factors such as                facility should not be included in the
                                            sources of information that EPA                         pre-existing groundwater                              final list of damage case examples based
                                            included in the proposed rule and that                  contamination, natural variation in                   on this comment.
                                            EPA is relying upon in this final rule.                 groundwater, and the site conceptual                     Other commenters provided
                                            In the proposal EPA discussed                           model, as well as EPA guidance for                    information about EPA’s Damage Case
                                            information that the Agency obtained                    statistical analysis. Finally, the                    Compendiums developed for the 2015
                                            from comments submitted in response                     commenter said that corrective actions                CCR Rule to show some of those include
                                            to the ANPRM, and from other sources                    at Reid Gardner are comprehensively                   potential CCRMU. They also provided
                                            provided by environmental groups.                       regulated under the State, which                      additional damage cases and lists of
                                            However, EPA conducted an                               governs the performance and/or                        potential CCRMU for EPA to include in
                                            independent review of information                       completion of Environmental                           the record.
                                            posted on facility websites, including                  Contaminant characterization, the                        Except as noted above, EPA disagrees
                                            groundwater monitoring reports,                         screening and selection of Corrective                 that the damage cases are not
                                            assessment of corrective measures                       Action, and the implementation and                    representative of CCRMU, even if the
                                            reports, corrective measures progress                   long-term Operation and Maintenance                   units are regulated under State
                                            reports, remedy selection reports,                      of [NDEP] approved Corrective Action                  programs. The data from these units
                                            history of construction reports, closure                concerning Pollution Conditions at the                shows these CCRMU are contributing to
                                            plans and reports, and fugitive dust                    Site (Nevada Division of Environmental                groundwater contamination,
                                            control plans for facilities with CCR                   Protection Administrative Order on                    irrespective of any prior State oversight.
                                            websites from 2018, 2019, 2020, and                     Consent Reid Gardner Generating                          EPA also continues to believe that, as
                                            2021 to develop the record for the                      Station, I.4, page 2). According to the               EPA explained in the 2015 CCR Rule,
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                                            proposed rule. 88 FR 32012–32013.                       commenter, interim corrective actions                 cases where contamination has been
                                               Several commenters disagreed with                    completed under the Administrative                    remediated remain relevant to this
                                            EPA’s characterization in the proposed                  Order have already resulted in the                    rulemaking. EPA is relying on the
                                            rule of certain sites as damage cases                   removal of over 2.5 million cubic yards               damage cases to evaluate the extent and
                                            because the units have now been closed                  of CCR and associated materials from                  nature of the risks associated with
                                            or the contamination has been                           the site.                                             particular CCR management practices.


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                                            Facts demonstrating the consequences                    which such areas have been identified                  Consent Agreement WMRPD No. 115–
                                            from particular activities therefore                    as the source of an SSL and therefore                  01–2018. A [remedial action plan] for
                                            remain relevant, particularly (although                 support EPA’s determination that such                  these units was submitted to
                                            not solely) where the management                        areas warrant regulation under RCRA                    [Michigan’s Department of
                                            practices continue to occur. In other                   section 4004(a).                                       Environment, Great Lakes, and Energy]
                                            words, what matters in this regard are                                                                         on September 30, 2021.’’ During the
                                            facts that provide information on the                   James H Campbell Power Plant, West                     2021 groundwater monitoring period for
                                            reasons that unit leaked, the particular                Olive, Michigan                                        Bottom Ash Ponds 1–2, which closed by
                                            contaminants that were present, the                        The JH Campbell Power Plant, owned                  removal in 2018, SSIs were identified
                                            levels of those contaminants, and the                   and operated by Consumers Energy                       for boron, calcium, chloride, pH, sulfate,
                                            nature of any impacts caused by that                    Company, is located within a mile of                   and total dissolved solids (TDS); also,
                                            contamination. None of these facts are                  Lake Michigan. The facility has five                   one SSL was identified for arsenic (38
                                            affected by whether the damage is                       regulated CCR units, including three                   mg/L [MCL of 10 mg/L]).67 An assessment
                                            ultimately mitigated or remedied. This                  CCR surface impoundments (Pond A,                      of corrective measures has been
                                            is entirely consistent with RCRA section                Bottom Ash Ponds 1–2, and Bottom Ash                   completed for the CCR unit and the
                                            8002(n), which requires EPA to evaluate                 Pond 3) and two CCR landfills. The                     primary selected remedy is source
                                            the ‘‘potential danger, if any, to human                ‘‘wet ash ponds area’’ is approximately                removal and final cover. Consumers
                                            health and the environment from the                     267 acres and is bounded by perimeter                  Energy also said in the 2022 semiannual
                                            disposal and reuse of such materials’’ in               dikes with a system of internal dikes                  progress report that the facility is
                                            addition to ‘‘documented’’ damage                       separating the individual ash ponds. In                reevaluating the groundwater
                                            cases. 42 U.S.C. 6982(n)(3)–(4).                        addition to the five regulated CCR units,              ‘‘monitoring system for [Bottom Ash]
                                            Accordingly, the fact that any                          there are at least seven other                         Ponds 1–2 to more accurately account
                                            contamination has subsequently been                     unregulated, unlined ‘‘closed’’                        for the influence from the closed, pre-
                                            remediated is not a basis for                           impoundments 65 that ceased placement                  existing units.’’
                                            disregarding a damage case. See 80 FR                   of waste prior to October 19, 2015, do                 New Castle Generating Station,
                                            21455.                                                  not have an engineered cap nor
                                               In summary, EPA continues to believe                                                                        Pennsylvania
                                                                                                    vegetative cap, and have a closure plan
                                            the damage cases provide extremely                      that was approved by the State. Based                    GenOn Power Midwest LP (GenOn)
                                            valuable evidence that is directly                      on the groundwater monitoring report                   operates the New Castle Generating
                                            relevant to the question of whether and                 reviews, there were SSIs over                          Station located in West Pittsburg,
                                            how to regulate CCR. For example, the                   background at many wells at all units                  Pennsylvania. The New Castle
                                            damage cases provide ‘‘real world’’                     and some had an SSL for arsenic and                    Generating Station has two CCR units
                                            evidence against which to compare                       selenium. At Pond A, which closed with                 subject to the regulations—an
                                            EPA’s risk modeling estimates, such as                  waste in place in 2019, there are SSIs for             impoundment (North Bottom Ash Pond)
                                            evidence regarding the frequency with                   boron and sulfate, and SSLs were                       and a landfill (New Castle Plant Ash
                                            which particular constituents leach into                identified for arsenic (13 mg/L [MCL of                Landfill). Each of these CCR units has
                                            groundwater. 80 FR 21326. They also                     10 mg/L]) and selenium 66 (143 mg/L                    relevance to this proposal due to other
                                            provide direct evidence regarding                       [MCL of 50 mg/L]) for which an                         unregulated disposal units located
                                            specific waste management practices at                  assessment of corrective measures was                  adjacent to the regulated CCR units.
                                            electric utilities, along with the                                                                               The North Bottom Ash Pond was used
                                                                                                    completed, and the selected remedy is
                                            potential consequences of those                                                                                for the management of bottom ash until
                                                                                                    source removal and final cover as the
                                            practices. Accordingly, EPA has                                                                                2016 when the facility transitioned from
                                                                                                    primary corrective action. In the 2021
                                            sufficient confidence in the veracity of                                                                       coal to natural gas. After the transition
                                                                                                    Annual Groundwater Monitoring and
                                            the collected information to rely on it in                                                                     to natural gas, GenOn initiated closure
                                                                                                    Corrective Action Report posted in
                                            making decisions in this rule. EPA                                                                             of the North Bottom Ash Pond by
                                                                                                    January 2022, Consumers Energy
                                            expects that additional damage cases                                                                           removing all waste from the
                                                                                                    concluded there was an ASD for Pond
                                            will be discovered in response to the                                                                          impoundment. Closure of the
                                                                                                    A and said, ‘‘Increases in Appendix III
                                            installation of the groundwater                                                                                impoundment was certified in 2019.68
                                                                                                    constituents (e.g. boron) and direct
                                            monitoring systems required by the final                exceedances of the selenium GWPS in                    Groundwater monitoring associated
                                            rule.                                                                                                          with the impoundment while the unit
                                                                                                    JHC–MW–15011, JHC–MW–15010, JHC–
                                                                                                    MW–15009, and JHC–MW–15008R that                       was operating detected arsenic at SSL
                                            a. Examples of CCRMU With Identified
                                                                                                    have not yet resulted in a statistically               above the GWPS in all downgradient
                                            SSLs
                                                                                                    significant exceedance suggest a                       monitoring wells.69 In accordance with
                                               Under the existing CCR regulations,                                                                         the procedures in the regulations for
                                            when a facility determines there is an                  detectable influence from the
                                                                                                    immediately adjacent, upgradient,                      CCR units in 40 CFR 257.94(e)(2),
                                            SSL for one or more Appendix IV                                                                                GenOn determined that an alternative
                                            constituents and completes a successful                 closed, pre-existing CCR units on-site.
                                                                                                    The closed, preexisting units are not                  source was responsible for these SSLs of
                                            ASD showing that a source other than                                                                           arsenic. Specifically, the ASD found
                                            the regulated unit is the cause of the                  regulated under the RCRA CCR Rule,
                                                                                                    but remedial action is being taken under               that a 120-acre unlined CCR surface
                                            SSL(s), the facility is not required to                                                                        impoundment located immediately
                                            initiate corrective action for that                                                                            adjacent to the North Bottom Ash Pond
                                                                                                      65 These ‘‘closed’’ impoundments (Pond B, Pond
                                            particular constituent. Through
                                                                                                    C, Pond D, Pond F, Pond G (G1 and G2), Pond H,
                                            reviewing the ASD posted on facility                    and Pond K) are listed in a figure on page 12 of the     67 Annual Groundwater Monitoring and
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                                            websites, EPA identified several areas at               2021 Annual Groundwater Monitoring and                 Corrective Action Report, JH Campbell Power Plant
                                            active facilities where CCR is managed                  Corrective Action Report, JH Campbell Power Plant      Ponds 1–2 North and 1–2 South, January 2022,
                                                                                                    Pond A, January 2022, Prepared for Consumer’s          Prepared for Consumers Energy. Page 23.
                                            outside of a regulated unit and is
                                                                                                    Energy.                                                  68 CCR Compliance, Closure Certification Report,
                                            identified as a source of one or more                     66 JH Campbell Semiannual Progress Report—           Closure by Removal, New Castle North Bottom Ash
                                            Appendix IV SSL(s). The following                       Selection of Remedy, Ponds 1–2 North and 1–2           Pond. June 2019.
                                            facilities are examples of situations in                South, and Pond A, July 30, 2022. Pages 3–4.             69 Id. At 5.




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                                            was responsible for the arsenic                         Landfill. The ACM report 75 assumes the               monitoring and failure to address all
                                            concentrations in the downgradient                      SSLs are the result of groundwater                    areas where CCR were managed (e.g.,
                                            monitoring wells.70 According to the                    interactions with both the Huntington                 stored, placed) prior to disposal during
                                            2019 Annual Report prepared by                          CCR Landfill and the Old Landfill. Both               the unit’s operation. As such, the
                                            GenOn, there were SSLs for arsenic                      landfills have stormwater run-on from                 facility is considering expanding Unit
                                            (0.087 mg/L [MCL of 10 mg/L]) in the                    the area surrounding the landfill. This               3’s groundwater monitoring network.
                                            downgradient monitoring wells.71                        run-on is routed around the landfills via             The units are often partially flooded,
                                            Consequently, because the SSLs of                       diversion ditches and run-off from the                and groundwater elevations and flow
                                            arsenic were attributed to another                      landfills itself is collected and retained            direction are influenced by precipitation
                                            source (i.e., a former unlined CCR                      in a sediment basin north of the                      and water levels in the Grand River and
                                            surface impoundment), GenOn                             Huntington CCR Landfill. The facility is              the South Channel.
                                            concluded it was not required to                        implementing a remedy to address
                                                                                                                                                             Based on groundwater monitoring
                                            remediate the arsenic contamination                     releases only from the regulated CCR
                                                                                                    Huntington Landfill, but the remedy                   report reviews, both units have had SSIs
                                            under the Federal CCR regulations.                                                                            and SSLs since groundwater monitoring
                                               GenOn also determined that there                     selection report 76 does not appear to
                                                                                                    address releases from the Old Landfill.               was initiated in 2017. During 2021, both
                                            were SSIs above background levels for                                                                         Unit 1 & 2 and Unit 3 had SSIs for all
                                            multiple analytes at the New Castle                     J.B. Sims, Grand Haven, Michigan                      Appendix III constituents and SSLs for
                                            Plant Ash Landfill (Ash Landfill), which                   The J.B. Sims Generating Station,                  arsenic (98 mg/L [MCL is 10 mg/L]),
                                            is the other regulated CCR unit at the                  owned and operated by Grand Haven                     chromium (270 mg/L [MCL is 100 mg/L]),
                                            New Castle Generating Station. In its                   Board of Light and Power, is located on               cobalt (22 mg/L [GWPS is 6 mg/L],
                                            most recent annual groundwater                          Harbor Island, north of Grand Haven,                  fluoride (13 mg/L [MCL is 4 mg/L]), and
                                            monitoring report in 2022, GenOn                        Michigan. Harbor Island is bound to the               lithium (2800 mg/L [site-specific GWPS
                                            reported SSIs for boron, calcium,                       north, east, and west by the Grand River              is 59 mg/L]).80 In December 2020, J.B.
                                            fluoride, sulfate, and total dissolved                  and to the south by the South Channel,                Sims submitted an ASD for Unit 3’s
                                            solids.72 GenOn determined that an                      tributaries of Lake Michigan. The                     2019 SSLs for chromium, cobalt,
                                            alternative source was responsible for                  facility has two Federally regulated CCR              fluoride, lead, and lithium, pointing to
                                            these analyte increases, specifically                   units (Unit 1 & 2 and Unit 3), both of                the historic fill across the island as the
                                            pointing to an ‘‘underlying historic ash                which are inactive, unlined surface                   source of the SSLs. 81 82 Furthermore,
                                            impoundment and other closed stages of                  impoundments. Unit 1 & 2 is                           the Fourth Quarterly 2021 Monitoring
                                            the landfill.’’ 73 Prior to development of              approximately 1.2 acres and includes                  Report suggested the continued SSIs
                                            the 60-acre Ash Landfill, CCR was                       areas where, prior to October 19, 2015,               and SSLs at Unit 3 were due to
                                            disposed in an impoundment from                         CCR was placed in unlined                             historical CCR fill beneath the unit,
                                            approximately 1939 to 1978.74 After the                 impoundments and used as fill in low-                 historical fill outside of Unit 1 & 2, and
                                            impoundment was dewatered in 1978,                      lying areas of adjacent wetlands. Unit 3              waste historically placed across the
                                            dry CCR was disposed in this area in                    is approximately 0.5 acres and was built              site.83 However, until the groundwater
                                            several stages of CCR placement up                      on top of historically placed CCR. The                monitoring networks are finalized, the
                                            until the time Ash Landfill began                       boundary of Unit 1 & 2 was updated in                 extent of groundwater contamination
                                            operation. Since 2018, GenOn has                        an agreement with EPA and the State in                and the source of all contamination
                                            attributed SSIs for boron, calcium,                     January 2021,77 to include an area that               cannot be determined. The assessment
                                            fluoride, sulfate, and TDS to this                      received CCR prior to 1978. Therefore,                of corrective measures for both units
                                            historic disposal of CCR.                               the groundwater monitoring network                    began in February 2019 and is ongoing,
                                            Huntington Power Plant, Utah                            and closure plan are currently being                  pending finalization of the groundwater
                                                                                                    updated to reflect the new boundary                   monitoring networks. Based on
                                              The Huntington Power Plant in                         and better address contamination from                 groundwater monitoring reports, EPA
                                            Huntington, Utah is owned and                           historical CCR across the units.78                    has found that due to the fluctuations in
                                            operated by PacifiCorp and has one                      Additionally, in March 2022, the State                groundwater elevations in response to
                                            regulated unit, the Huntington CCR                      issued an enforcement notice 79 to J.B.               precipitation and nearby surface water
                                            Landfill. While conducting the required                 Sims citing inadequate groundwater                    levels, portions of the facility, including
                                            groundwater monitoring for the                                                                                Unit 1 & 2, can be inundated or partially
                                                                                                       75 Corrective Measures Assessment CCR
                                            Huntington CCR Landfill, there were                                                                           in contact with groundwater.
                                                                                                    Landfill—Huntington Power Plant Huntington,
                                            SSLs for chromium, cobalt, lithium,                     Utah. May 2019.
                                            molybdenum, selenium, fluoride, and                        76 Remedy Selection Report CCR Landfill—             80 SSL concentrations can be found in Appendix

                                            arsenic, so the owner or operator                       Huntington Power Plant, Huntington, Utah. August      B (PDF page 512) of the 2021 Groundwater
                                            conducted assessment of corrective                      2020.                                                 Monitoring & Corrective Action Report prepared by
                                                                                                       77 The meeting between Grand Haven Board of        Golder Associates on behalf of Grand Haven.
                                            measures. There is also a former                                                                                81 2020 Alternate Source Demonstration J.B. Sims
                                                                                                    Light and Power, the State, and EPA during which
                                            combustion waste landfill called the                    the new boundaries for Unit 1 & 2 were agreed to      Generating Station—Unit 3 Impoundments
                                            Old Landfill, which is located northwest                is discussed on page 3 (PDF page 10) of the 2021      Submitted to: Grand Haven Board of Light and
                                            of the regulated Huntington CCR                         Annual Groundwater Monitoring & Corrective            Power Submitted by Golder Associates Inc.
                                                                                                    Action Report by Golder Associates. January 28,       December 28, 2020.
                                                                                                    2022.                                                   82 Technical Memorandum to Michigan
                                              70 Id.
                                                                                                       78 Letter to Grand Haven Board of Light and        Department of Environment, Great Lakes, and
                                              71 CCR Compliance, Groundwater Monitoring and
                                                                                                    Power-Update To The October 14, 2019 J.B. Sims        Energy-Unit 3 Impoundments Alternate Source
                                            Corrective Action Annual Report, New Castle North       Generating Station Inactive Units 1⁄2 Impoundment     Demonstration Response Grand Haven Board Of
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                                            Ash Pond and Ash Landfill. January 2020.                And Unit 3 Closure Plan—Interim Conditions For        Light And Power—JB Sims Power Generating
                                              72 CCR Compliance, Groundwater Monitoring and
                                                                                                    Closure. October 22, 2021.                            Station. February 12, 2020.
                                            Corrective Action Annual Report, New Castle Ash            79 The State of Michigan, Department of              83 Memorandum to Michigan Department of
                                            Landfill. December 2022.                                Environment, Great Lakes, and Energy (EGLE)           Environment, Great Lakes, and Energy- Fourth
                                              73 Id. At 3.
                                                                                                    issued an enforcement notice via email March 22,      Quarter 2021 Monitoring Report, Former JB Sims
                                              74 New Castle Plant Ash Landfill—Annual CCR           2022, to Grand Haven Board of Light and Power,        Generating Station, Unit 3 A&B Impoundments—
                                            Unit Inspection Report. January 16, 2018.               J.B. Sims.                                            Response to Comments. March 8, 2022.



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                                            b. Examples of CCRMU With Identified                    of the historical evaporation ponds and               performed for SSIs at Mesa Landfill for
                                            SSIs                                                    cover 28 acres. Mesa Landfill was                     pH (2019 and 2021) and turbidity (2020
                                               Under the existing CCR regulations,                  constructed and operational prior to the              and 2021) that attributed the SSIs to
                                            when a facility determines there is an                  2015 CCR Rule and has a surface area                  natural variation in groundwater
                                            SSI for one or more Appendix III                        of roughly 252 acres.                                 quality. Therefore, since ASDs have
                                            constituents and completes a successful                   Based on groundwater monitoring                     been performed for all SSIs and the
                                            ASD showing that a source other than                    report reviews, the inactive surface                  active units, Reid Gardner has not
                                            the regulated unit is the cause of the                  impoundments had no Appendix III                      moved from detection monitoring to
                                            SSI(s), the facility is not required to                 SSIs above their established background               assessment monitoring. The facility also
                                            initiate assessment monitoring for that                 concentrations during the detection                   claims the historical, co-located
                                            particular constituent. 40 CFR 257.94(e).               monitoring event in 2019.86 87 88 89 90 91            evaporation ponds are the source of
                                            Through ASD reviews, EPA identified                     However, the inactive surface                         groundwater contamination in the area
                                            several areas at active facilities where                impoundments did have Appendix IV                     and not the CCR-regulated units.
                                            CCR was managed outside of a regulated                  constituent concentrations above the                  Specifically, in the closure certification
                                            unit and was identified as a source of                  standard GWPS, including arsenic (2.52                for the inactive surface impoundments,
                                            one or more Appendix III SSI(s). As                     mg/L [MCL is 0.01 mg/L]), cadmium                     the facility points to documentation as
                                            such, any groundwater contamination                     (0.0072 mg/L [MCL is 0.005 mg/L]),                    far back as the 1980s that describe
                                            from these potential CCRMU have not                     cobalt (242 mg/L [standard GWPS is 6                  seepage from Pond D, the historical
                                            been investigated under the existing                    mg/L]), fluoride (35.4 mg/L [MCL is 4.0               Pond E–1 and E–2, Pond F, and Pond
                                            Federal CCR regulations. The following                  mg/L]), lithium (27,300 mg/L [standard                G and leakage at an estimated rate of 50
                                            facilities are examples of situations in                GWPS is 40 mg/L]), molybdenum (6,390                  acre-feet/year from Ponds 4C–1 and 4C–
                                            which potential CCRMU have been                         mg/L [standard GWPS is 100 mg/L]),                    2 and historical Ponds 4B–1, 4B–2, and
                                            identified as the source of an SSI and                  selenium (0.204 mg/L [MCL is 0.05 mg/                 4B–3.
                                            demonstrate the need to regulate                        L]), thallium (0.026 mg/L [MCL is 0.002
                                                                                                    mg/L]), and radium 226 & 228 combined                 Seminole Electric Cooperative, Florida
                                            CCRMU.
                                                                                                    (8.02 pCi/L [MCL is 5 pCi/L]). Ponds M–                  Seminole Electric Cooperative
                                            Reid Gardner Generating Station, Moapa                  5 and M–7 and the Mesa Landfill have                  (Seminole) operates the Seminole
                                            Valley, Nevada                                          had SSIs for fluoride every year of                   Generating Station located in Palatka,
                                               Reid Gardner Generating Station (Reid                detection monitoring for which ASDs                   Florida. For CCR that is not beneficially
                                            Gardner), owned and operated by NV                      have been performed pointing to natural               used, CCR is disposed at the facility in
                                            Energy, is located adjacent to the                      variation in groundwater                              a landfill (Increment One Landfill),
                                            Muddy River and the Moapa Band of                       quality.92 93 94 95 96 97 ASDs were also              which is subject to the CCR regulations.
                                            Paiutes reservation, approximately 45                                                                         This CCR landfill is a double-lined
                                            miles northeast of Las Vegas. Reid
                                                                                                       86 Reid Gardner Generating Station Inactive CCR
                                                                                                                                                          landfill with a leachate collection
                                                                                                    Surface Impoundment E–1. Coal Combustion              system and, because part of the
                                            Gardner has seven regulated CCR units:                  Residual 209 Annual Groundwater Monitoring and
                                            four unlined inactive surface                           Corrective Action Report. July 31, 2019.              Increment One Landfill overlaps with
                                            impoundments (Pond 4B–1, Pond 4B–2,                        87 Reid Gardner Generating Station Inactive CCR    the side-slope of a former, Federally
                                            Pond 4B–3, and Pond E–1), two active                    Surface Impoundments 4B–1, 4B–2, and 4B–3. Coal       unregulated landfill, the liner system
                                                                                                    Combustion Residual 2019 Annual Groundwater           also includes a high-density
                                            unlined surface impoundments (Pond                      Monitoring and Corrective Action Report. Revision
                                            M–5 and Pond M–7), and one partially                    1. May 14, 2020.
                                                                                                                                                          polyethylene geomembrane where the
                                            lined landfill (Mesa Landfill). The                        88 Reid Gardner Generating Station Mesa            two units interface.98 Seminole
                                            inactive surface impoundments covered                   Impoundments M5 and M7 Coal Combustion                determined there were SSIs above
                                            47 acres and were closed by removal in                  Residual 2019 Annual Groundwater Monitoring and       background levels for multiple analytes
                                                                                                    Corrective Action Report and Alternate Source         in one or more monitoring wells at the
                                            2017.84 The inactive surface                            Demonstration. January 31, 2020.
                                            impoundments were constructed in                           89 Reid Gardner Generating Station Mesa            downgradient waste boundary in 2018,
                                            2003 (Pond E–1) and 2006 (Pond 4B–1,                    Impoundments M5 and M7 Coal Combustion                including SSIs for boron, calcium,
                                            Pond 4B–2, and Pond 4B–3) to replace                    Residual 2020 Annual Groundwater Monitoring and       chloride, sulfate, and TDS. Seminole
                                                                                                    Corrective Action Report and Alternate Source         determined that one or more alternative
                                            four of the eleven historical unlined                   Demonstration. January 29, 2021.
                                            evaporation ponds located at the facility                  90 Reid Gardner Generating Station Mesa
                                                                                                                                                          sources were responsible for these
                                            that made up the evaporation pond                       Impoundments M5 and M7 Coal Combustion                analyte increases. These sources include
                                            complex (Pond 4A, Pond 4B–1, Pond                       Residual 2021 Annual Groundwater Monitoring and
                                                                                                    Corrective Action Report and Alternate Source         Report and Alternate Source Demonstration.
                                            4B–2, Pond 4B–3, Pond 4C–1, Pond 4C–                    Demonstration. January 28, 2022.                      January 31, 2020.
                                            2, Pond D, Pond E–1, Pond E–2, Pond                        91 Alternate Source Demonstration and                95 Reid Gardner Generating Station Mesa Landfill
                                            F, and Pond G).85 The evaporation pond                  Addendum to the Coal Combustion Residual 2017         Coal Combustion Residual 2020 Annual
                                            complex was built within the Muddy                      Annual Groundwater Monitoring and Corrective          Groundwater Monitoring and Corrective Action
                                            River floodplain and used from                          Action Report Reid Gardner Generating Station         Report and Alternate Source Demonstration.
                                                                                                    Mesa CCR Surface Impoundments (Ponds M5 and           January 31, 2021.
                                            approximately 1974 until approximately                  M7). Prepared for NV Energy. April 13, 2018.            96 Reid Gardner Generating Station Mesa Landfill
                                            2002 to evaporate CCR and other                            92 Reid Gardner Generating Station Mesa Landfill   Coal Combustion Residual 2021 Annual
                                            process wastewaters from the facility.                  Coal Combustion Residual 2018 Annual                  Groundwater Monitoring and Corrective Action
                                            The two active surface impoundments                     Groundwater Monitoring and Corrective Action          Report and Alternate Source Demonstration.
                                                                                                    Report and Alternate Source Demonstration.            January 28, 2022.
                                            (Ponds M–5 and M–7) were constructed                    January 31, 2019.                                       97 Alternate Source Demonstration and
                                            in 2010 approximately 0.75 miles south                     93 Reid Gardner Generating Station Mesa            Addendum to the Coal Combustion Residual 2017
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                                                                                                    Impoundments M5 and M7 Coal Combustion                Annual Groundwater Monitoring and Corrective
                                              84 Reid Gardner Generating Station Inactive Coal      Residual 2018 Annual Groundwater Monitoring and       Action Report Reid Gardner Generating Station
                                            Combustion Residual Surface Impoundments Ponds          Corrective Action Report and Alternate Source         Mesa Landfill. Prepared for NV Energy. April 13,
                                            4B–1, 4B–2, 4B–3, and E–1 Closure Certification,        Demonstration. January 31, 2019.                      2018
                                            April 2019.                                                94 Reid Gardner Generating Station Mesa Landfill     98 Seminole Generating Station Increment One
                                              85 Construction History, Pond E1, Reid Gardner        Coal Combustion Residual 2019 Annual                  Landfill Annual Groundwater Monitoring and
                                            Generating Station. April 11, 2018.                     Groundwater Monitoring and Corrective Action          Corrective Action Report. January 31, 2019.



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                                            former test cells (i.e., areas where CCR                 those impacts to releases from the                    notes that a upgradient well, MW–05
                                            was placed in the 1980s for purposes of                  unregulated Phase I and II cells.102                  which is not a part of the CCR
                                            construction evaluations that are now                       Landfill Phase I is a 20-acre unlined              groundwater monitoring network, has
                                            located beneath the Increment One                        cell that received CCR (flue gas                      substantially higher sulfate and boron
                                            Landfill), a former CCR landfill adjacent                desulfurization materials and fly ash)                concentrations than the downgradient
                                            to the Increment One Landfill, and                       between 1984 and 1991 and                             wells suggesting an upgradient source.
                                            several process water ponds next to the                  subsequently closed with a final cover                Furthermore, the 2019 ASD mentions
                                            Increment One Landfill.99 Since 2018,                    system in 1999. Phase II of the Landfill              that the fluctuating TDS concentrations
                                                                                                     is an unlined 42-acre cell where flue gas             at downgradient well MW–16 are
                                            Seminole has attributed SSIs for these
                                                                                                     desulfurization materials and fly ash                 correlated to fluctuations in TDS at
                                            analytes to these alternative sources and
                                                                                                     were disposed between 1991 to 1998.                   MW–05 further suggesting an
                                            therefore, has not moved from detection                  The Phase II cell was closed with a final             upgradient source. While these ASDs
                                            monitoring to assessment monitoring.                     cover system in 1998. CCR landfills                   suggest that the sources may be CCR
                                            R.M. Schahfer Generating Station,                        such as the Phase I and II cells are not              within the berms and a upgradient
                                            Indiana                                                  regulated by the existing regulations                 source they do not analyze these
                                                                                                     because the cells have not received CCR               potential sources to verify the claims.
                                               The R.M. Schahfer Generating Station,                 on or after October 19, 2015. As a result,            EPA did verify that the boring logs for
                                            owned and operated by Northern                           NIPSCO has not been required under                    groundwater monitoring wells MW–01
                                            Indiana Public Service Company, LLC                      the existing Federal CCR regulations to               through MW–05 and MW–16 show they
                                            (NIPSCO), has several CCR units subject                  investigate further and remediate as                  were installed within 11 to 20 feet of
                                            to the regulations, including several                    necessary groundwater impacts from the                CCR in the berms surrounding the
                                            CCR impoundments and a CCR landfill                      unlined Phase I and II cells.                         surface impoundments.107 In addition,
                                            consisting of multiple cells or phases of                Waukegan Generating Station, Illinois                 construction drawings in the history of
                                            operation (‘‘Landfill’’). The Landfill is of                                                                   construction show ‘‘existing fill’’ or CCR
                                                                                                        An example of CCR used as fill on-site             was used in the construction of the
                                            particular relevance to this proposal                    is Midwest Generation’s Waukegan
                                            because includes three cells subject to                                                                        surface impoundment access ramps and
                                                                                                     Generating Station in Waukegan,                       underneath the surface impoundments
                                            Federal CCR regulations (Phases V                        Illinois. There are two CCR surface                   liners.108 The facility continued to use
                                            through VII) and four landfill cells that                impoundments named the East Ash                       the ASDs for SSIs in 2020 and 2021,
                                            are not (Phases I through IV). In the                    Pond and West Ash Pond, which were                    therefore, the surface impoundments
                                            course of conducting the required                        used interchangeably during the                       remain in detection monitoring.
                                            groundwater monitoring for the                           facility’s operational history and have a
                                            regulated cells of the Landfill, in                      multi-unit groundwater monitoring                     White Bluff Steam Electric Station,
                                            January 2018, NIPSCO determined that                     system. The East Ash Pond has a surface               Arkansas
                                            there were SSIs above background levels                  area of 9.8 acres with a storage capacity               The White Bluff Steam Electric
                                            for all seven analytes in Appendix III at                of 184,000 cubic yards. The West Ash                  Station in Redfield, Arkansas is owned
                                            one or more monitoring wells at the                      Pond has a surface area of 10 acres with              or operated by Entergy and has three
                                            downgradient waste boundary of the                       a storage capacity of 223,000 cubic                   CCR units: two CCR surface
                                            regulated CCR units. This included SSIs                  yards. According to the 2018 Annual                   impoundments (A Recycle Pond/South
                                            for boron, calcium, chloride, fluoride,                  Groundwater Monitoring and Corrective                 Pond and B Recycle Pond/North Pond);
                                            pH, sulfate, and TDS.100 Through                         Action Report, there was detection of                 and one CCR landfill (Existing CCR
                                            procedures laid out in the regulations                   SSIs over background for Appendix III                 Landfill Cells 1–4). CCR previously was
                                            for regulated CCR units in 40 CFR                        constituents, including pH and                        disposed in a 20-acre ravine,109 which
                                                                                                     sulfate.103 An ASD was completed that                 was closed and covered in accordance
                                            257.94(e)(2), NIPSCO determined that
                                                                                                     claimed other potential historic sources              with the original facility State-issued
                                            these groundwater SSI impacts were not                   were the cause of the SSIs. In the 2019
                                            due to a release from the regulated CCR                                                                        permit. The active landfill was then
                                                                                                     Annual Groundwater Monitoring and                     built on top of, and adjacent to, the
                                            landfill cells, but instead were                         Corrective Action Report, an ASD for
                                            attributable to another source.                                                                                unlined, closed landfill. In 2018, the
                                                                                                     Appendix III constituents identified                  facility conducted intrawell monitoring
                                            Specifically, NIPSCO has concluded                       calcium and TDS with the same claim                   of the groundwater at the facility and
                                            that ‘‘a release from the non-regulated,                 that other potential historic sources                 SSIs for pH, calcium, TDS, and boron
                                            unlined portions of the landfill, Phases                 were the cause of the SSIs.104 The ASDs               were detected. An ASD was completed
                                            1 and II, is the source of the identified                discuss that the downgradient                         and determined that the sources of the
                                            SSIs.’’ 101 Subsequent groundwater                       monitoring wells were installed within                SSIs were: (1) Releases from portions of
                                            monitoring of the regulated Landfill                     the berms for the surface impoundments                the Coal Ash Disposal Landfill (CADL)
                                            cells since 2018 continues to identify                   that consisted of a ‘‘mixture of fill and             closed before the effective date of the
                                            SSIs and NIPSCO continues to attribute                   beneficially reused coal combustion by-               CCR Rule (October 19, 2015); (2) Surface
                                                                                                     product’’.105 106 The 2018 ASD also                   water that has come into contact with
                                              99 Id. at 20.
                                                                                                       102 2021 Annual Groundwater Monitoring and
                                                                                                                                                           on-site CCR and has migrated into the
                                              100 2018 Annual Groundwater Monitoring and
                                                                                                     Corrective Action Report, Landfill Phase V, Phase
                                                                                                                                                           subsurface; and/or (3) Natural variation
                                            Corrective Action Report—Landfill Phase V and
                                            Phase VI, NIPSCO R.M. Schahfer Generating                VI, and Phase VII, NIPSCO LLC R.M. Schahfer
                                                                                                     Generating Station. January 31, 2022.                   106 2021 Waukegan Generating Station Annual
                                            Station. January 31, 2019.
                                                                                                       103 2018 Waukegan Generating Station Annual         GWMCA Report. January 2022.
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                                              101 Northern Indiana Public Service Company,

                                            R.M. Schahfer Generating Station, Wheatfield,            GWMCA Report, Appendix B, PDF pg. 100. January          107 Waukegan boring well logs.

                                            Indiana, Schahfer Landfill Phase V and Phase VI,         2019.                                                   108 October 2016, Waukegan Generating Station
                                                                                                       104 2019 Waukegan Generating Station Annual         History of Construction.
                                            Alternative Source Demonstration. April 13, 2018.
                                            Begins on PDF page 20 of the 2018 Annual                 GWMCA Report, Appendix B, PDF pg. 100. January          109 Entergy Arkansas, LLC White Bluff Steam

                                            Groundwater Monitoring and Corrective Action             2020.                                                 Electric Station Landfill Cells 1–4 2021 Annual
                                            Report—Landfill Phase V and Phase VI. April 13,            105 2020 Waukegan Generating Station Annual         Groundwater Monitoring and Corrective Action
                                            2018.                                                    GWMCA Report. January 2021.                           Report. January 31, 2022.



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                                            in groundwater quality. Therefore, the                   [maximum contaminant level (MCL)] for                 molybdenum into the groundwater for
                                            landfill remains in detection                            cadmium to be exceeded at times at                    decades, resulting in groundwater that
                                            monitoring.                                              certain groundwater monitoring points,                exceeds health standards for these
                                                                                                     as were federally recommended                         toxins by many times. In addition, a
                                            c. Examples of CCRMU With Identified
                                                                                                     secondary standards for manganese,                    portion of one of the landfills, the Dry
                                            SSIs or SSLs From Comments
                                                                                                     sulfate, iron, [total dissolved solids                Fly Ash Stack, is not regulated by the
                                               EPA received several comments about                   (TDS)], aluminum and chloride.’’ 113                  2015 CCR Rule as it ceased receipt of
                                            potential damage cases from CCRMU. In                       This broader context related to State              CCR in 2015 an interim soil cover was
                                            addition, many comments provided                         law—which is absent from documents                    placed on Phase 2, and in accordance
                                            additional potential CCRMU but                           submitted pursuant to the 2015 CCR                    with a permit issued by the Tennessee
                                            evidence of a thorough groundwater                       Rule—is important for understanding                   Department of Environment and
                                            quality investigation in this area was not               the complexity of the Brandywine site                 Conservation, it will be closed in
                                            presented. If there are monitoring wells                 and its impacts. For example, unsafe                  conjunction with the currently
                                            at the facility, the wells are not                       lithium levels hundreds of times higher               operating Dry Fly Ash Stack Lateral
                                            sufficient to characterize groundwater                   than the default GWPS in the 2015 CCR                 Expansion.118 Among other things, the
                                            impacts from the CCRMU. Therefore,                       Rule have been documented at                          2023 Bull Run Environmental
                                            due to lack of data, EPA and the                         groundwater monitoring wells, as have                 Assessment Report states that the Dry
                                            commenters could not definitively                        unsafe molybdenum levels up to                        Fly Ash Stack contains 3.7 million cubic
                                            determine if certain unregulated                         approximately 80 times higher than its                yards of coal ash, and shows that
                                            placement of CCR at facilities is a                      default GWPS. Some of these unsafe                    lithium and molybdenum in
                                            CCRMU or if the CCRMU could be                           levels are found in monitoring wells not              downgradient groundwater exceed
                                            potential damage cases. EPA presents                     included in the network used to                       groundwater screening levels by at least
                                            the following additional examples of                     demonstrate compliance with the                       an order of magnitude.119
                                            CCRMU that have adequate                                 Federal CCR Rule.114
                                            groundwater monitoring to show                              The Brandywine site includes four                  Hennepin Power Station, Illinois
                                            impacts.                                                 areas of interest: Historical Area 1,                    The Hennepin Power Station in
                                                                                                     Historical Area 2, Phase I, and Phase                 Hennepin, Illinois has five CCR units
                                            Brandywine Ash Management Facility,
                                                                                                     II.115 116 Because these four areas are all           including four CCR surface
                                            Maryland
                                                                                                     part of a single landfill and in some                 impoundments (Ash Pond No. 2, East
                                               The Brandywine Ash Management                         cases overlap, they should have all been              Ash Pond, Old West Ash Pond, and Old
                                            Facility in Prince George’s County,                      subject to the 2015 CCR Rule—even                     West Polishing Pond) and one CCR
                                            Maryland has a 217-acre CCR landfill. It                 though three of the areas were closed                 landfill (CCR Landfill). The East Ash
                                            is operated by GenOn MD Ash                              before the rule took effect. In its filings           Pond System includes Ash Pond No. 2,
                                            Management, LLC. CCR has been                            to comply with the 2015 CCR Rule,                     the East Ash Pond, and Ash Pond No.
                                            landfilled at the facility since                         GenOn has treated the Historical Area 1,              4, which were built on top of historic
                                            approximately 1971. As of 2018, an                       Historical Area 2, and Phase I areas as               CCR fill.120 Ash Pond No. 4 was a 30-
                                            estimated 6.8 million cubic yards, or 7                  unregulated units and has pointed to                  foot-deep gravel quarry where coal ash
                                            billion kilograms, of CCR were placed at                 these areas as the source of pollution in             fill was disposed in the mid-1980s.121
                                            the site. CCR at Brandywine has                          its ASDs. For this reason, the site has               Groundwater downgradient of the East
                                            contaminated groundwater and surface                     remained in detection monitoring                      Ash Pond System, showed
                                            water, leading to legal action by the                    through at least 2021.117                             concentrations of sulfate and boron that
                                            State of Maryland. A 2013 Consent
                                                                                                     Bull Run Fossil Plant, Tennessee                      exceeded State groundwater
                                            Decree resulted in the development of a
                                                                                                                                                           standards.122 The groundwater was (and
                                            Corrective Measures Plan and a Nature                      The Bull Run Fossil Plant is owned
                                                                                                                                                           may still be) contaminated with coal ash
                                            and Extent of Contamination                              and operated by Tennessee Valley
                                                                                                                                                           constituents.123
                                            Study.110 111 According to the Consent                   Authority (TVA) in Clinton, Tennessee
                                            Decree, ‘‘The original design of the                     and has two unregulated CCR landfills.                Will County Station, Illinois
                                            disposal cells and operation of the                      Groundwater monitoring results show                      The Will County Station in
                                            disposal areas. . .has resulted in some                  the landfills have been leaching arsenic,             Romeoville, Illinois is owned and
                                            leachate escaping the disposal cells via                 boron, cobalt, manganese, and                         operated by Midwest Generation Co.
                                            groundwater and constructed outfalls                                                                           The facility has two CCR surface
                                            and entering surface waters . . .’’ 112                    113 Geosyntec Consultants. 2018. 2017 Annual
                                                                                                                                                           impoundments, Ash Pond 2S and Ash
                                               ‘‘Based on a review of the quarterly                  Groundwater Monitoring And Corrective Action
                                                                                                     Report, Brandywine Ash Management Facility            Pond 3S. Ash Ponds 1N and 1S were
                                            Discharge Monitoring Reports . . . and
                                                                                                     Phase II, Brandywine, Maryland. Prepared for          removed from service in 2010, and
                                            other quarterly and annual monitoring                    GenOn MD Ash Management. January.                     although they were not actively used for
                                            reports submitted by GenOn, [Maryland                      114 Earthjustice et al. Legacy Proposal Comment

                                            Department of the Environment (MDE)]                     Appendix VI. EPA–HQ–OLEM–2020–0107–0368.                118 Tennessee Valley Authority. Bull Run
                                            has determined that wastewater                             115 Geosyntec Consultants. 2018. Nature and
                                                                                                                                                           Environmental Assessment Report. Appendix D–
                                            discharges from monitoring points at                     Extent of Contamination Study, Final Report,
                                                                                                                                                           CCR Management Unit Cross Sections. August
                                                                                                     Brandywine Ash Management Facility,
                                            Brandywine have at times exceeded                        Brandywine, Maryland. Prepared for GenOn MD
                                                                                                                                                           2023.
                                                                                                                                                             119 Tennessee Valley Authority. Bull Run
                                            ambient surface water quality standards                  Ash Management. June.
                                                                                                                                                           Environmental Assessment Report. Bull Run Fossil
                                            for cadmium and/or selenium. MDE has                       116 Geosyntec Consultants. 2018. Corrective
                                                                                                                                                           Plant, Clinton, Tennessee. August 2023.
                                            also determined that leachate has                        Measures Plan, Brandywine Ash Management
                                                                                                                                                             120 U.S. EPA, Damage Case Compendium,
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                                                                                                     Facility, Brandywine, Maryland. Prepared for
                                            entered groundwater and is causing the                   GenOn MD Ash Management. June.                        Technical Support Document, Vol. IIa: Potential
                                                                                                       117 Geosyntec Consultants. 2022. 2021 Annual        Damage Cases (Reassessed, Formerly Published),
                                              110 Consent Decree, State of Maryland et. al v.
                                                                                                     Groundwater Monitoring and Corrective Action          Docket ID EPA–HQ–RCRA–2009–0640–12119 (Dec.
                                            Genon MD Ash Management, LLC (No. 8:12–cv–               Report, Federal CCR Rule, Brandywine Ash              18, 2014) at 30, ns.110.
                                            03755–PJM, D. Md., May 1, 2013).                                                                                 121 Id at 30.
                                                                                                     Management Facility, Phase II, Brandywine,
                                              111 Id.                                                                                                        122 Id at 30.
                                                                                                     Maryland. Prepared for GenOn MD Ash
                                              112 Id.                                                Management. January.                                    123 Id at 30.




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                                            waste storage, they still contained at                  routinely saturated with groundwater                  located along the eastern edge of the
                                            least one inch of water in 2019 and the                 near MW–2.128                                         ponds in the area known to contain
                                            base of these unlined impoundments are                     The Former Slag and Bottom Ash                     buried ash. SSIs and SSLs in
                                            in contact with at least one foot of                    Placement Area is located at the                      downgradient wells indicate that the
                                            groundwater.124 In addition, through                    southeast corner of the Will County site.             regulated ponds may also be
                                            borings taken at the facility, historical               A Phase II Environmental Site                         contributing to groundwater
                                            CCR has been buried around the ash                      Assessment completed in 1998                          contamination.133
                                            ponds, and the Former Slag and Bottom                   identified this location as an ash                       The ASD completed following
                                            Ash Placement Area has been identified                  disposal area. Borings revealed coal ash              identification of SSLs at regulated Pond
                                            at the southeast corner of the station’s                mixed with gravel up to three feet below              2S and 3S determined that Pond 3S is
                                            boundary.                                               the ground surface.129                                likely contributing to groundwater
                                                                                                       Groundwater monitoring completed                   contamination. The ASD reported
                                               When constructing the groundwater                    under the 2015 CCR Rule also                          statistically significant decreasing
                                            monitoring system in 2010 and 2011,                     demonstrates groundwater                              trends in chloride concentrations in
                                            well borings also showed a thick layer                  contamination at Will County. SSIs for                both upgradient monitoring wells and
                                            of CCR buried along the eastern edge of                 chloride, fluoride, and TDS have been                 statistically significant increasing trends
                                            the four ash ponds. MW–1, MW–2,                         identified since the inception of the                 in chloride concentrations in MW–09
                                            MW–3, MW–4, and MW–6 show layers                        monitoring program in 2017 and in                     and MW–11, both of which are
                                            of fill between five and twelve feet thick              2022, SSLs for arsenic and selenium                   immediately downgradient of Pond
                                            containing CCR.125 Historical                           were detected.130                                     2S.134
                                            topographic maps and aerial imagery                        While the regulated ponds are likely                  The prevailing groundwater flow at
                                            document ponds extending from north                     contributing to groundwater                           the site is from the east to the west
                                            of Pond 1N to close to the southern                     contamination, historical ash at the                  across the ponds. Because historical ash
                                            property boundary. These historical                     station is also a likely culprit. Historical          is present along the eastern boundary of
                                            waste storage areas would have                          ash along the eastern boundary of the                 the ponds, the current monitoring
                                            surrounded the current regulated ponds                  four ponds is not capped or lined and                 network is not capable of accurately
                                            and the area where CCR has been found                   is thus exposed to precipitation and                  measuring groundwater contamination
                                            buried near the ponds. The topographic                  groundwater. The regulated and                        from each potential source. Further, all
                                            map and aerial imagery from 1962 show                   unregulated ponds are unlined and are                 the wells designated upgradient are
                                            a large pond extending from north of                    in contact with groundwater, making                   within the likely footprint of the
                                            Pond 1N to the southern property                        these units potential sources of                      historical CCR disposal area described
                                            boundary. In 1973, waste storage areas                  groundwater contamination.                            above. Thus, none of the wells can
                                            are present in the vicinity of Ponds 2S                 Groundwater contamination increases                   assess upgradient groundwater quality
                                            and 3S and extend to the southern                       as it passes through/under the ponds.                 accurately.
                                            property boundary. By 1980, waste areas                 Boron and sulfate concentrations
                                            are depicted south of Pond 3S and                                                                             EPA Impoundment Assessments
                                                                                                    doubled between well MW–1
                                            surrounding Pond 1N. The series of                      upgradient of Pond 1N and MW–7                          Commenters provided additional
                                            unregulated ponds near the southern                     downgradient of the pond in monitoring                reviews of EPA’s impoundment
                                            property boundary south of Pond 3S are                  data collected between 2010 and                       assessment reports that were conducted
                                            visible on available maps until present                 2018.131                                              in 2011–2013. During the impoundment
                                            day.126 127                                                ASDs also provide evidence of a                    assessments, EPA documented eight
                                               Historical ash in fill near the ponds is             contaminant source other than the                     power plants with historical ponds
                                            in contact with groundwater.                            regulated ponds. An ASD completed in                  where coal dams were constructed in
                                            Groundwater elevations fluctuate                        2018 following SSIs for chloride,                     whole or part of coal ash.135 These
                                            between 579 and 584 feet above mean                     fluoride, and TDS at the regulated units              plants include six plants on EPA’s list
                                            sea level in this area. CCR is buried at                concluded that the SSIs were from                     of potential legacy CCR surface
                                            elevations as low as 578.6 feet above                   ‘‘other potential sources’’ and not from              impoundments: Glen Lyn (VA),
                                            mean sea level. MW–2 provides an                        the regulated units.132                               Hutsonville (IL), Jefferies (SC),
                                            example of ash in contact with                             Groundwater monitoring during 2022                 Muskigum River (OH), Philip Sporn
                                            groundwater. The boring log completed                   identified SSIs for boron, calcium,                   (WV), and Tanners Creek (IN). At two
                                            during its installation shows CCR down                  chloride, fluoride, and TDS across the                additional plants where historical ponds
                                            to 578.6 feet above mean sea level and                  monitoring network. SSLs for selenium                 are identified, Cape Fear (NC) and Frank
                                            the groundwater elevation was at 580.6                  at one well and arsenic at two wells                  E. Ratts (IN), EPA also found coal ash
                                            feet above mean sea level, meaning that                 were also identified and resulted in                  used in the construction of the dams.
                                            at least two feet of groundwater was in                 initiation of an ACM for the site.                    The commenters included these plants
                                            contact with CCR at that time.                          Notably, the two upgradient monitoring                as additional potential CCRMU.
                                            Groundwater measurements at this well                   wells are contaminated. MW–06 had an                  2. Applicability and Definitions Related
                                            commonly range from 582 to 584 feet,                    SSI for calcium and an SSI for boron                  to CCR Management Units
                                            meaning three to five feet of CCR are                   and SSL for selenium were detected at
                                                                                                    MW–05. These two upgradient wells are                    EPA is finalizing new definitions and
                                                                                                                                                          revising several existing definitions
                                              124 Interim Opinion and Order, Sierra Club et al

                                            vs. Midwest Generation, LLC, Illinois Pollution           128 Interim Opinion and Order, Sierra Club et al    necessary to implement the new
                                            Control Board, June 20, 2019.                           vs. Midwest Generation, LLC, Illinois Pollution       requirements for CCRMU. Specifically,
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                                              125 Id.                                               Control Board, June 20, 2019.
                                              126 Earthjustice et al. Legacy Proposal Comment         129 Id.                                               133 Id.
                                                                                                      130 Earthjustice et al. Legacy Proposal Comment
                                            Appendix VI. EPA–HQ–OLEM–2020–0107–0368.                                                                        134 Id.
                                              127 Earthjustice Appendix II. Examples of             Appendix VI. EPA–HQ–OLEM–2020–0107–0368.                135 EPA, Coal Combustion Residuals
                                                                                                      131 Earthjustice et al. Legacy Proposal Comment
                                            historical satellite imagery and topographic maps                                                             Impoundment Assessment Reports (2014), https://
                                            are included in Figure 23, Figure 24, and Figure 25.    Appendix VI. EPA–HQ–OLEM–2020–0107–0368.              www.epa.gov/sites/default/files/2016-06/
                                            EPA–HQ–OLEM–2020–0107–0368.                               132 Id.                                             documents/ccr_impoundmnt_asesmnt_rprts.pdf.



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                                            the final rule establishes new                          prior to the effective date of the 2015               landfills can potentially impact
                                            definitions for ‘‘CCR management unit,’’                CCR Rule (October 19, 2015), as well as               groundwater, such as the nature of
                                            ‘‘Contains CCR and liquids,’’ ‘‘Inactive                inactive CCR landfills (including                     mixing in the media and the leaching
                                            CCR landfill,’’ ‘‘Liquids,’’ and                        abandoned piles). The proposal stated                 patterns. First, CCR landfills are
                                            ‘‘Regulated CCR unit’’ and revises                      that a CCRMU would also include any                   typically a homogenously mixed
                                            existing definitions for ‘‘CCR landfill or              other areas where the solid waste                     system, and as a result, there are no
                                            landfill,’’ ‘‘CCR unit,’’ ‘‘Operator,’’                 management of CCR on the ground has                   spatial variations of the chemical and
                                            ‘‘Owner,’’ and ‘‘State Director.’’ Some of              occurred, such as structural fill sites,              physical properties of the media (e.g.,
                                            these definitions are discussed                         CCR placed below currently regulated                  bulk density, hydraulic conductivity
                                            elsewhere in the preamble.                              CCR units, evaporation ponds, or                      and contaminant concentration). By
                                               EPA is also revising § 257.50(d) to                  secondary or tertiary finishing ponds                 contrast, roadways are generally
                                            specify that part 257, subpart D applies                that have not been properly cleaned up,               constructed of several layers with
                                            to CCRMU of 1,000 tons or greater,                      and haul roads made of CCR if the use                 different material properties
                                            located at facilities with a regulated CCR              does not meet the definition of                       (heterogeneity). This difference affects
                                            unit or active facilities without a                     beneficial use in § 257.53. EPA                       the hydraulic conductivity of a mass of
                                            regulated CCR unit. That provision also                 explained that all of these examples                  CCR in a landfill, as compared to CCR
                                            applies to CCRMU greater than or equal                  involved the direct placement of CCR on
                                            to one ton and less than 1,000 tons,                                                                          placed in an embankment. Any
                                                                                                    the land, in sufficient quantities to raise
                                            located at active facilities or facilities                                                                    potential leaching will tend to spread
                                                                                                    concern about releases of hazardous
                                            legacy CCR surface impoundment are                                                                            over the length of the embankment, as
                                                                                                    constituents, and—in most, if not all
                                            only subject to the requirements of the                 cases—with no measures in place to                    opposed to the leaching in a downward
                                            FER in § 257.75 until a permitting                      effectively limit the contact between the             motion that would occur in a
                                            authority determines that regulation of                 CCR and liquids, and subsequent                       homogenously filled landfill. Finally,
                                            these units, either individually or in the              generation and release of any leachate.               EPA is concerned that groundwater
                                            aggregate, is warranted and determines                     EPA acknowledged that the proposed                 monitoring of a road may not be
                                            the applicable requirements. Under the                  definition was broad, but the Agency                  practicable. However, even though EPA
                                            2015 CCR Rule, § 257.50(d) exempted                     did not intend that the placement of any              considers that the available information
                                            from regulation those CCR landfills that                amount of CCR would necessarily                       does not demonstrate that use in
                                            had ceased receiving CCR prior to                       constitute a CCRMU. Accordingly, EPA                  roadbed present sufficient risk to
                                            October 19, 2015. This action amends                    proposed that the following would not                 warrant the suite of requirements
                                            the exemption included in the 2015                      be considered CCRMU: consistent with                  applicable to CCRMU, that calculus
                                            CCR Rule.                                               the current regulations, closed or                    changes in the event the CCR in roadbed
                                               The sections below briefly explain                   inactive process water ponds, cooling                 is contaminating groundwater.
                                            what EPA proposed, summarize the                        water ponds, wastewater treatment                     Accordingly, EPA proposed that if a
                                            public comments received, and provide                   ponds, and stormwater holding ponds                   facility subsequently determines that
                                            the Agency’s responses. The Agency                      or aeration ponds. EPA explained that                 the CCR in onsite roadbed is
                                            addresses new and revised definitions                   these units are not designed to hold an               contributing to contamination to the
                                            in the following order: (1) CCR                         accumulation of CCR, and in fact, do not              aquifer, the facility would be required to
                                            management unit; (2) CCR unit; (3)                      generally contain a significant amount                address the contamination. For
                                            Owner and operator; and (4)                             of CCR. See, 80 FR 21357. EPA also                    example, if during an ongoing corrective
                                            Conforming revisions to other existing                  explained, consistent with the existing               action, a facility identifies the roadbed
                                            definitions.                                            regulations, neither an area or unit at               as an additional source of
                                                                                                    which exclusively non-CCR waste is                    contamination, it would be required to
                                            a. Definition of CCR Management Unit
                                                                                                    managed, nor any containerized CCR,                   address that contamination as part of
                                               EPA proposed to define a CCR                         such as a silo, would be considered                   the ongoing remediation of the aquifer.
                                            management unit or CCRMU to capture                     CCRMU because neither of these units                  In addition, the measures EPA proposed
                                            the solid waste management practices                    present conditions that give rise to the              to require facilities to take would not be
                                            that have been demonstrated in the 2014                 risks modeled in EPA’s assessment or                  expected to identify truly de minimis
                                            and 2024 Risk Assessments and the                       identified in the damage cases. See, Id.              quantities of CCR. As discussed in
                                            damage cases to have the potential to                   at 21356.                                             greater detail in the next section, EPA
                                            contaminate groundwater. EPA                               For similar reasons, the Agency                    proposed that facilities would only be
                                            proposed to define a CCRMU as any                       proposed that any CCR used in roadbed                 required to identify accumulations if
                                            area of land on which any non-                          and associated embankments would not                  records confirm the existence of the
                                            containerized accumulations of CCR are                  be considered CCRMU. As EPA                           CCRMU or visual evidence of CCR
                                            received, placed, or otherwise managed,                 explained in the 2015 rule the methods                placement on the ground.
                                            that is not a CCR unit. EPA explained                   of application are sufficiently different
                                            in the proposed rule that the definition                from CCR landfills that EPA cannot                       In addition, EPA proposed to define
                                            of a CCRMU is based on the current                      extrapolate from the available risk                   the term inactive CCR landfill to mean
                                            definitions of a CCR pile—which is                      information to determine whether these                an area of land or an excavation that
                                            currently regulated as a CCR landfill                   activities present similar risks.                     contains CCR but that no longer receives
                                            under part 257, subpart D—and of a                      Roadways are subject to engineering                   CCR on or after the effective date of this
                                            CCR surface impoundment, which both                     specifications that generally specify                 final rule and that is not a surface
                                            rely on the concept of ‘‘accumulations                  CCR to be placed in a thin layer (e.g.,               impoundment, an underground
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                                            of CCR.’’ See, 40 CFR 257.53 and 88 FR                  six to 12 inches) under a road. The                   injection well, a salt dome formation, a
                                            32018.                                                  placement under the surface of the road               salt bed formation, an underground or
                                               EPA proposed that CCRMU would                        limits the degree to which rainwater can              surface coal mine or a cave. For
                                            include historical solid waste                          influence the leaching of the CCR. There              purposes of this subpart, this term also
                                            management units such as CCR landfills                  are also significant differences between              includes sand and gravel pits that
                                            and surface impoundments that closed                    the manner in which roadways and                      received CCR and abandoned CCR piles.


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                                            i. RCRA Authority                                         Another commenter argued that the                   regulate anything else. The commenter
                                                                                                    proposal ‘‘would impermissibly expand                 further claimed that EPA has
                                               Some commenters contended that
                                                                                                    EPA’s role in the Subtitle D statutory                acknowledged that the definition of a
                                            West Virginia v. EPA, 142 S. Ct. 2587,
                                                                                                    regime beyond the limited role that                   ‘‘CCR unit’’ does not include the areas
                                            2609 (2022) requires EPA to have clear
                                                                                                    Congress envisioned for the Agency’’                  of land that EPA proposed to regulate as
                                            congressional authorization to regulate                                                                       CCRMU. Finally, the commenter
                                                                                                    based on their belief that the
                                            CCRMU, and that Congress has not                                                                              objected that the proposal would
                                                                                                    Congressional intent behind the WIIN
                                            provided EPA with such authorization                                                                          regulate activities or sites that ‘‘have
                                                                                                    Act was ‘‘to restore the States to their
                                            under either RCRA sections 4004(a) or                                                                         historically been regulated under state
                                                                                                    historical, congressionally-intended
                                            4005(d). The commenters are incorrect.                                                                        programs, per EPA approved State Solid
                                                                                                    lead role under RCRA Subtitle D in the
                                            All of the requirements adopted in this                                                                       Waste Management Plans, and have
                                                                                                    implementation and enforcement of
                                            rulemaking to regulate CCRMU fall                                                                             closed or continued to operate in
                                                                                                    solid waste management programs.’’
                                            squarely within the authority Congress                                                                        accordance with the State’s program and
                                                                                                    According to this commenter,
                                            delegated to the Agency in RCRA                                                                               plan.’’
                                            sections 1008(a)(3), 4004(a), and                       [w]hether or not EPA should have such a
                                                                                                    ‘‘central role’’ in the regulation of CCR under
                                                                                                                                                             EPA disagrees that the regulation of
                                            4005(d). Commenters’ arguments to the                                                                         CCRMU under this final rule is fairly
                                            contrary are based misunderstandings of                 RCRA Subtitle D—one that would allow the
                                                                                                    Agency to assert federal jurisdiction over any        characterized as an ‘‘unprecedented’’
                                            the statutory structure and EPA’s                       area of land in any state simply because the          expansion of authority under RCRA
                                            historical practice. The rule does not                  land was, at any time, used to manage any             Subtitle D or otherwise presents a major
                                            expand the scope of CCR regulation                      non-containerized accumulation of CCR,                question under West Virginia v. EPA,
                                            beyond what Congress envisioned.                        regardless of whether the land has been and           142 S. Ct. at 2609. The commenters have
                                            Further, in large part, commenters’                     is in compliance with applicable state                mischaracterized EPA’s proposal, which
                                            arguments are premised on aspects of                    regulations—is a major policy question of             largely just removes regulatory
                                            the proposal which have been revised in                 significant national economic and political           exemptions adopted in 2015, and
                                            this final action in response to                        magnitude that Congress has not clearly
                                                                                                    delegated EPA the authority to address. . .
                                                                                                                                                          requires the owners and operators of
                                            comments. Although the revisions were                                                                         solid waste disposal units to clean up
                                                                                                    At its core, EPA’s delegated RCRA Subtitle D
                                            not necessary under West Virginia v.                    authority entails only the authority to               the contamination from their disposal of
                                            EPA (because EPA’s exercise of                          promulgate guidelines and criteria, to be             solid waste (CCR). These are the same
                                            authority through this rule does not                    implemented by the States, to prohibit open           requirements that apply to the currently
                                            implicate a major question), the                        dumping and to ensure that units are                  regulated CCR landfills and CCR
                                            revisions resolve many of the                           classified as sanitary landfills ‘‘only if there      impoundments—most of which are
                                            commenters’ objections based on their                   is no reasonable probability of adverse effects       located at the same sites as the CCRMU
                                            view of the major questions doctrine.                   on health or the environment from disposal            regulated under this final rule—and that
                                            EPA addresses the comments in turn.                     of solid wastes at such facility. EPA’s               Congress incorporated into RCRA in the
                                                                                                    Proposal construes ‘‘open dumps’’ and
                                               Some commenters based their claim                    ‘‘sanitary landfills’’ to now include
                                                                                                                                                          2016 WIIN Act. See, e.g., See, 42 U.S.C.
                                            that the regulation of CCRMU presents                   historically state-regulated solid waste              6945(d)(3), (6), (7). EPA has imposed
                                            a major question on the assertion that                  management and resource conservation and              these types of requirements on these
                                            the proposal would regulate an                          recovery practices that Congress never                kinds of entities and activities since
                                            undefinable number of past CCR                          intended (clearly or otherwise) for the               1980. Characterizing this as novel or
                                            management and disposal practices,                      Agency to regulate federally, as most recently        unprecedented fundamentally misstates
                                            ‘‘irrespective of risk, location, or even               evidenced by Congress’s definition of a               both the nature of EPA’s action and the
                                            whether such past activities have been                  ‘‘sanitary landfill’’ in the WIIN Act as a CCR        authority Congress delegated to the
                                            (or are currently being) addressed by                   unit that complies with a state CCR permit,           Agency in RCRA sections 1008(a)(3),
                                                                                                    or a federal CCR permit in a nonparticipating         4004(a), and 4005(d).
                                            state governments or by EPA itself                      state, or the requirements of the CCR Rule
                                            under other federal authorities.’’ These                applicable to CCR units in the absence of a           (a) Types of Units and Activities
                                            commenters claimed that the proposal                    federal CCR permitting program.                       Regulated
                                            has no bounds.
                                                                                                      This commenter stated that the WIIN                    As an initial matter, these
                                               Just as an example, the Proposal would               Act limited the reach of EPA’s authority              commenters have mischaracterized
                                            require operating power generation facilities           to ‘‘ ‘CCR units,’ as defined in the 2015
                                            to identify every CCRMU within its
                                                                                                                                                          EPA’s statements about the extent of its
                                            boundaries, even if located under existing
                                                                                                    CCR Rule, i.e., to ‘any CCR landfill, CCR             authority under subtitle D. EPA never
                                            structures critical to a plant’s energy                 surface impoundment, or lateral                       stated that its authority was limited to
                                            production operations, and to ‘‘close,’’ and in         expansion of a CCR unit, or a                         the particular CCR units regulated by
                                            many cases reclose, those CCRMUs under the              combination of more than one of                       the 2015 CCR Rule. The only citation
                                            CCR rule’s closure provisions. The Proposal             these.’ ’’ In addition, the commenter                 the commenter provides to support its
                                            blithely ignores whether in fact such                   argued that EPA lacks the authority to                assertion is 80 FR 21303, which is
                                            requirements could be met, the associated               now regulate units that were expressly                simply a factual recitation of the CCR
                                            costs, and the resulting interruption to power          exempted from regulation under the                    units covered by the 2015 CCR Rule.
                                            generation activities that could be incurred in         EPA regulations that Congress
                                            attempting to meet these requirements.
                                                                                                                                                          That section contains no statement
                                                                                                    specifically incorporated by reference in             about EPA’s authority to regulate; nor
                                               These commenters also note that                      the WIIN Act. According to this                       does any other section of the 2015 CCR
                                            Congress’s failure to include the same                  commenter, in 2015 EPA interpreted its                Rule preamble contain such a statement.
                                            authority for corrective action                         RCRA Subtitle D statutory authority to                   Similarly, EPA never stated or in any
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                                            applicable to permitted hazardous waste                 regulate, as ‘‘CCR units,’’ only existing             way suggested in the May 2023
                                            sites found in section 3004(u) under                    and new CCR landfills, existing and                   proposed rule that the existing
                                            subtitle D demonstrates that EPA lacks                  new CCR surface impoundments, and                     regulatory definition of a CCR unit—and
                                            the authority to require CCRMU to                       inactive CCR surface impoundments at                  by implication, the statutory term in
                                            comply with the part 257 corrective                     active facilities, and Congress did not in            4005(d)—does not include the ‘‘areas of
                                            action and closure requirements.                        2016 grant the Agency any authority to                land that EPA proposed to regulate as


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                                            CCRMUs.’’ Based on the pages in the                      More to the point, Congress did not                  essentially mirrors the existing
                                            proposal that the commenter cites, it                    define the term ‘‘CCR unit,’’ thereby                definition of a ‘‘waste pile or pile’’ from
                                            appears the commenter was confused by                    leaving it to EPA develop a definition.              § 257.2 (i.e., the regulation that applied
                                            EPA’s explanation that it was proposing                  Although the WIIN Act incorporates the               to CCR facilities prior to 2015), as well
                                            to use two different terms to distinguish                2015 regulations into the statute,                   as the definition in part 260 that has
                                            between: (1) the CCR units that would                    Congress simultaneously made clear                   been in place since 1982. See 80 FR
                                            be subject to all of the requirements in                 that EPA retains the authority to modify             21356. Compare, §§ 257.2, 257.53, and
                                            part 257 and (2) the CCR units that                      or expand those requirements as                      260.10. More to the point, regulating the
                                            would subject to only a subset of the                    necessary to ensure that the standard in             placement of non-containerized 137 CCR
                                            existing requirements. EPA proposed to                   section 4004(a) will continue to be met.             directly on any land is fully consistent
                                            use the terms CCR unit and CCRMU,                        See, e.g., 42 U.S.C. 6945(d)(1)(A)(i), (3),          with RCRA’s definition of disposal,
                                            respectively, to refer to these two                      (6) (referencing ‘‘or successor                      which is defined in part as the ‘‘ ‘placing
                                            categories of units. To effectuate this,                 regulations promulgated pursuant to                  of any solid waste or hazardous waste
                                            EPA proposed to revise the existing                      sections 6907(a)(3) and 6944(a) of this              into or on any land or water so that such
                                            definition of a CCR unit by adding a                     title’’). The commenters never                       solid waste or hazardous waste or any
                                            statement that CCR management units                      acknowledge these provisions or                      constituent thereof may enter the
                                            are not covered by the definition. If the                address their logical implications.                  environment or be emitted into the air
                                            commenter were correct that EPA did                         Instead, the commenters focus on two              or discharged into any waters, including
                                            not consider CCRMU to be a type of                       aspects of the CCRMU definition to                   ground waters.’’ 42 U.S.C. 6903(3)
                                            CCR unit, EPA would not have needed                      support their claims of an                           (emphasis added). Similarly, and as
                                            to revise the definition.                                ‘‘unprecedented expansion’’: (1) the                 illustrated by the D.C. Circuit decision
                                               But to the larger point, the CCRMU                    proposal to define a CCRMU as ‘‘any                  quoted above, the phrase ‘‘is received, is
                                            regulated under this rule clearly fall                   non-containerized accumulation of                    placed, or is otherwise managed,’’ flows
                                            within RCRA sections 1008(a)(3),                         CCR’’ without limitation or threshold;               from the statutory definition of an open
                                            4004(a) and 4005(d). In essence, as the                  and (2) the regulation of ‘‘any area of              dump, which RCRA defines as ‘‘any
                                            commenter recognizes, CCRMU are                          land’’ on which CCR ‘‘is received,                   facility or site where solid waste is
                                            simply CCR landfills and CCR surface                     placed, or otherwise managed at any                  disposed of . . . .’’ 42 U.S.C. 6903(14)
                                            impoundments that were not regulated                     time.’’ With the incorporation of the                (emphasis added).
                                            by the 2015 Rule: inactive CCR landfills,                thresholds in § 257.50(d) the first issue               EPA responds to comments about the
                                            or CCR surface impoundments and                          has been rendered moot. EPA has also                 ‘‘any area of land’’ portion of the
                                            landfills that were closed prior to the                  deleted the phrase ‘‘at any time’’ from              CCRMU definition in relevant portions
                                            effective date of the 2015 rule.136 As                   the CCRMU definition. EPA had                        of the discussions below.
                                            EPA explained in the May 2023                            originally included that phrase to clarify
                                            proposal, the proposed definition of a                   that it did not matter when the CCR was              (b) Extent of Requirements
                                            CCRMU was based on the existing                          originally placed, received, or otherwise               The commenters complain that the
                                            definitions of a CCR pile—which is                       managed, provided the CCR remained at                proposal was ‘‘virtually unbounded’’ as
                                            currently included in the definition of a                the site. EPA deleted the phrase from                it would require operating power
                                            CCR landfill—and of a CCR surface                        the final definition because, as the D.C.            generation facilities to identify every
                                            impoundment, which both rely on the                      Circuit explained, this concept is fully             CCRMU within its boundaries, even if
                                            concept of ‘‘accumulations of CCR.’’                     communicated by the phrase ‘‘is                      located under existing structures critical
                                            See, 40 CFR 257.53 and 88 FR 32018.                      placed.’’                                            to a plant’s energy production
                                            And the record for this rulemaking                                                                            operations, and to ‘‘close,’’ and in many
                                            documents that the CCRMU regulated                          Importantly, while the ‘‘is’’ retains its
                                                                                                     active present tense, the ‘‘disposal’’ takes the     cases reclose, those CCRMUs under the
                                            under this final rule present risks at                                                                        CCR rule’s closure provisions. While
                                                                                                     form of a past participle (‘‘disposed’’). In this
                                            least as significant as the units regulated              way, the disposal itself can exist (it ‘‘is’’),      EPA disagrees with the commenters’
                                            under the 2015 rule. CCRMU thus                          even if the act of disposal took place at some       characterization of the proposal, the
                                            clearly are CCR units under both the                     prior time . . . . Properly translated then, an      final rule, in any event, is more limited
                                            regulations and the statute. As the                      open dump includes any facility (other than          than the proposal, and is not
                                            commenter itself notes, when the WIIN                    a sanitary landfill or hazardous waste
                                                                                                                                                          unbounded. Under the final rule a
                                            Act was passed in 2016, and Congress                     disposal facility), where solid waste still ‘‘is
                                                                                                     deposited,’’ ‘‘is dumped,’’ ‘‘is spilled,’’ ‘‘is     covered facility must still identify every
                                            incorporated the term CCR unit into the
                                                                                                     leaked,’’ or ‘‘is placed,’’ regardless of when       CCRMU of one ton or more within its
                                            statute, the 2015 CCR Rule defined (and
                                                                                                     it might have originally been dropped off.           boundaries, but groundwater
                                            still defines) a CCR unit as ‘‘any CCR
                                                                                                     See 42 U.S.C. 6903(3), (14).                         monitoring, corrective action, closure,
                                            landfill, CCR surface impoundment, or
                                                                                                        901 F.3d at 440. The same logic                   and post-closure requirements apply
                                            lateral expansion of a CCR unit, or a
                                                                                                     applies to the phrases ‘‘is received’’ and           only to CCRMU containing at least 1,000
                                            combination of more than one of these.’’
                                                                                                     ‘‘is otherwise managed.’’ Including the              tons of CCR. Regulation of CCRMU
                                            40 CFR 257.53 (emphasis added).
                                               The commenter relies heavily on the                   phrase ‘‘at any time,’’ is consequently at           between one and 1,000 tons is deferred
                                            fact that CCRMU were exempt under the                    best redundant, and at worst                         to a subsequent permitting authority
                                            2015 CCR Rule; but that is ultimately                    confusing—as demonstrated by the                     who will assess the risks posed by these
                                            irrelevant. First, as noted above,                       above comments.                                      smaller CCRMU, individually and/or in
                                            CCRMU actually fall within the 2015                         In any event, these aspects of the                the aggregate, and determine which, if
                                            regulatory definition of a CCR unit.                     CCRMU definition were either taken                   any, requirements are appropriate for
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                                                                                                     directly from or largely mirror existing             the CCRMU. In addition, this final rule
                                              136 The proposal described an additional category:     regulatory or statutory definitions. The             defers the requirement to demonstrate
                                            any solid waste management that involves the             phrase ‘‘any non-containerized
                                            placement or receipt of CCR directly on the land;                                                               137 The phrase ‘‘non-containerized’’ means that

                                            such activities fall within the existing definition of
                                                                                                     accumulation of CCR’’ appears verbatim               specific measures to control exposures to human
                                            a CCR pile, which is in turn defined as a CCR            in the existing ‘‘CCR pile’’ definition,             health and the environment have not been adopted.
                                            landfill.                                                which as EPA previously explained,                   See 80 FR 21356.



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                                            compliance with § 257.102 for CCRMU                     reasonable); USWAG, 901 F.3d at 453–                  and that Congress effectively affirmed in
                                            that closed prior to the effective date of              54 (Henderson, J., concurring) (same).                2016 with the WIIN Act.
                                            this rule in accordance with alternative,               By the same logic, these provisions
                                                                                                                                                          (c) Relationship to State Law
                                            substantially equivalent requirements.                  authorize EPA to regulate inactive
                                            EPA is also deferring the requirement to                landfills and closed disposal units that                 Finally, EPA disagrees that either the
                                            initiate closure where the CCRMU is                     continue to pose risks to health or the               proposed or final rule expands ‘‘EPA’s
                                            located beneath critical infrastructure,                environment, for example by requiring                 role in the Subtitle D statutory regime’’
                                            such as high power electric                             the owners and operators of such units                or otherwise alters the Congressionally
                                            transmission towers, air pollution                      to remediate any contamination from                   mandated relationship between EPA
                                            control or wastewater treatment                         these units, or to take action to prevent             and the States.
                                            systems, or an electrical substation until              such contamination.                                      The fact that EPA regulation affects
                                            the infrastructure is no longer needed, a                  The 2016 WIIN Act amendments                       the status of activities or units that were
                                            permit authority determines closure is                  reaffirmed EPA’s authority over these                 previously regulated under State law is
                                            necessary to ensure that there is no                    activities. In section 4005(d), Congress              precisely what the statute authorizes.
                                            reasonable probability of adverse effects               relied on the 2015 regulations, and                   Even under the more limited authority
                                            on human health or the environment, or                  expressly stated that the amendments                  conferred upon the Agency prior to
                                            the closure or decommissioning of the                   were not intended to limit or restrict the            WIIN Act, EPA’s subtitle D criteria
                                            facility, whichever occurs first.                       authority already provided under                      established minimum national
                                               The commenters also objected to the                  sections 1008(a)(3) and 4004(a). See, 42              standards with which facilities were
                                            imposition of corrective action and                     U.S.C. 6945(d)(3), (6), (7). With these               required to comply, irrespective of State
                                            closure obligations on disposal units                   amendments, Congress also affirmed the                law. See 80 FR 21310–21311.
                                            that were closed in accordance with                     Agency’s authority to impose the kind                    Moreover, the commenter has
                                            State law or on areas where the State                   of requirements established in part 257               misunderstood both the intent and
                                            considered the placement of CCR on the                  (e.g., corrective action to remediate                 effect of the WIIN Act. Under the legal
                                            land to be beneficial use under State                   groundwater contamination and closure                 framework in place when the 2015 CCR
                                            law. But the regulation under subtitle D                to prevent it). This rule simply extends              rule was enacted,
                                            of closed or inactive disposal units or of              many of those same requirements to                       EPA’s delegated RCRA Subtitle D authority
                                            activities exempt under State law is                    additional areas at which disposal of                 entails the authority to promulgate guidelines
                                            neither novel nor unprecedented.                        CCR is occurring—often at the same                    and criteria, to be implemented by the States,
                                            Indeed, many CCR units currently                        sites covered by the original 2015 CCR                to prohibit open dumping and to ensure that
                                            regulated under the 2015 CCR rule were                  Rule. Moreover, Congress made clear                   units are classified as sanitary landfills ‘‘only
                                            inactive or exempt under State law. See,                that EPA retains the authority to modify              if there is no reasonable probability of
                                                                                                                                                          adverse effects on health or the environment
                                            80 FR 21322–21323, 21456. And in this                   or expand the requirements in the 2015
                                                                                                                                                          from disposal of solid wastes at such facility
                                            case EPA is only extending the part 257                 CCR rule as necessary to ensure that the
                                            regulations to activities or placements of              standard in section 4004(a) will                         See 80 FR 21310–21311. Congress
                                            CCR that, as discussed above, are                       continue to be met. See, e.g., 42 U.S.C.              deliberately expanded EPA’s role under
                                            already defined as ‘‘disposal’’ under                   6945(d)(1)(A)(i), (3), (6) (referencing ‘‘or          that framework in 2016 when it granted
                                            Federal law—and that the record                         successor regulations promulgated                     EPA the authority to enforce the Federal
                                            demonstrates present risks exceeding                    pursuant to sections 6907(a)(3) and                   criteria, issue permits in
                                            the threshold for regulation in section                 6944(a) of this title’’). None of the                 nonparticipating States, and to establish
                                            4004(a).                                                commenters acknowledge these                          the minimum national standards that
                                               Under section 4004(a), EPA is charged                provisions or address their logical                   are both applicable directly to facilities
                                            with issuing regulations to address all                 implications.                                         and used to evaluate State programs.
                                            ‘‘reasonable probabilities of adverse                      Moreover, this rule requires CCR                   The commenter’s description of the
                                            effects’’ (i.e., all reasonably anticipated             facilities to remediate only the                      section 4005(d)(6) definition of a
                                            risks) to health and the environment                    contamination associated with the                     ‘‘sanitary landfill’’ is similarly
                                            from the disposal of solid waste.138 The                disposal of CCR on site of a facility with            misleading. Congress did not define a
                                            statute is clear that this includes                     other currently regulated CCR disposal                sanitary landfill as a CCR unit that
                                            regulations to address the current risks                units. Although expanding the                         complies with any State CCR permit,
                                            from previous solid waste management                    corrective action obligations to other                but a State permit issued in accordance
                                            activities (including disposal). EPA                    areas of CCR disposal on site may seem                with an EPA approved program. See 42
                                            explained at length the basis for this                  similar to the facility wide corrective               U.S.C. 6845(d)(6)(A)(i).
                                            conclusion as part of the Agency’s                      action obligations applicable under the
                                                                                                                                                          (d) Other Comments Concerning
                                            rationale for regulating inactive                       hazardous waste program—in that a
                                            impoundments. See, 80 FR 21344–                         facility will be required to clean up all             Authority To Regulate CCRMU
                                            21345. See also USWAG, et al. v. EPA                    of the on-site contamination caused by                   Other commenters stated that the
                                            901 F.3d at 440. See also In re                         its disposal of CCR—the two                           proposed CCRMU definition exceeds
                                            Consolidated Consol. Land Disposal                      requirements are not commensurate. For                the Agency’s authority under RCRA
                                            Regulation Litig., 938 F.2d 1386, 1389                  example, in contrast to a clean up under              subtitle D because EPA has failed to
                                            (D.C. Cir. 1991) (EPA’s reading of the                  3004(u), this rule does not require a                 demonstrate that any amount of CCR
                                            term ‘‘disposal’’ in RCRA’s Subtitle C,                 facility to clean up any Appendix IV                  placed anywhere on the land at any
                                            42 U.S.C. 6924, to include ‘‘the                        constituent from any source on-site,                  time presents the level of risk necessary
                                            continuing presence of waste’’ was                      such as a spilled commercial product,                 to warrant regulation under section
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                                                                                                    unconnected to the solid waste (CCR) in               4004(a). These commenters contend that
                                              138 Although section 1008(a)(3) expands EPA’s         the disposal unit. Rather, this rule                  the proposed CCRMU definition
                                            authority to address the risks from any of the listed   imposes the same unit specific                        unlawfully eliminates the concept of
                                            activities, the CCRMU regulated under this final
                                            rule—consisting of CCR surface impoundments and
                                                                                                    obligations that CCR facilities have been             risk out of the statutory definition of
                                            landfills (including CCR piles) only involve            required to comply with since 2015, that              disposal. These commenters further
                                            disposal.                                               were clearly authorized under 4004(a)                 asserted that the authority to regulate


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                                            ‘‘solid waste management practices’’                    remodeled quantities of CCR between                   small CCRMU to be located at a single
                                            under section 1008(a)(3) similarly does                 one ton and 78,000 tons to determine                  facility. And although EPA’s modeling
                                            not authorize the regulation of any                     both the risks associated with the                    estimated radiation risks of concern at
                                            amount of CCR placed anywhere on the                    potential for groundwater                             lower quantities, EPA’s concerns were
                                            land at any time. Finally, a commenter                  contamination and radioactivity. EPA                  based on a future residential use of the
                                            raised concern that the proposed                        modeled only individual placements of                 property (e.g., after clean closure of the
                                            definition would encompass CCR used                     CCR in these quantities rather than the               regulated units, but where smaller
                                            as fill material pursuant to acts of                    aggregate risks from the placement of                 CCRMU remain on site). As several
                                            Congress or validly issued Section 404                  multiple small quantities of CCR co-                  commenters noted, current exposures at
                                            permits under the Clean Water Act,                      located at the same site.                             existing facilities (occupational) are very
                                            which commenter alleged falls outside                      This analysis found that exceedances               different. To address these risks, as
                                            the scope of RCRA.                                      of the GWPS by a factor of as much as                 section 4004(a) requires, the final rule
                                               EPA disagrees that it lacks the                      40 are still possible for placements                  does not exempt CCRMU containing
                                            authority for any of the provisions in                  below 1,000 tons of CCR. Thus, such                   between one and 1,000 tons of CCR, but
                                            this final rule. The record demonstrates                placements can meaningfully contribute                defers the regulation of such units to a
                                            that the CCRMU regulated under the                      to groundwater contamination at these                 permitting authority who will assess the
                                            final rule meet the standard for                        facilities, including, for example by                 risks posed by these smaller CCRMU,
                                            regulation under section 4004(a). This                  adding two contaminant plumes already                 individually and/or in the aggregate,
                                            rule is supported by two separate risk                  present on site from larger placements,               and determine which, if any,
                                            assessments; the final rule adheres                     or in the aggregate. Although further                 requirements are appropriate for the
                                            closely to the results, and regulates only              analysis of the results indicates that                CCRMU to ensure there will be no
                                            the units and activities that present risks             there will be a tonnage that does not                 reasonable probability of adverse effects
                                            that warrant regulation under sections                  present a reasonable probability of                   on health or the environment. In order
                                            1008(a)(3) and 4004(a). Further, the                    adverse effects to groundwater quality,               to facilitate this, the final rule requires
                                            results of EPA’s risk assessments are                   EPA was unable to identify that amount                facilities to identify these smaller units
                                            consistent with the damage cases                        based on the available information. EPA               as part of the FER, so that this
                                            discussed in Unit III.C.1 of this                       conducted no modeling below one ton;                  information can be submitted as part of
                                            preamble.                                               however all indications in the existing               their permit application. The facility
                                               As discussed at length in Unit III.A of              data are that groundwater                             will also continue to monitor the
                                            this preamble, leakage from CCRMU can                   concentrations from individual                        regulated units and larger CCRMU at the
                                            adversely impact groundwater quality                    quantities below one ton are very                     site, consistent with the requirements in
                                            and pose risk to future receptors in the                unlikely to exceed GWPSs. In other                    this rule and the existing regulations. To
                                            range that EPA typically considers for                  words, although EPA’s modeling                        the extent that these smaller
                                            regulation. Closed and inactive landfills               indicates that some amount between                    unmonitored CCRMU are leaching
                                            and surface impoundments pose                           one ton and 1,000 tons is likely below                contaminants and contributing to
                                            substantially the same levels of risk to                EPA’s level of concern, EPA cannot                    groundwater plumes, that should
                                            offsite receptors as those estimated in                 determine what that precise amount                    become apparent as the facility
                                            2014 for currently regulated units. This                would be. It was not possible to identify             continues to monitor and conduct any
                                            is particularly true if the unit has not                a limit much lower than 1,000 tons                    necessary corrective action at the
                                            been properly closed, e.g., lacks a final               because too few model runs were
                                                                                                                                                          currently monitored units.
                                            cover system.                                           conducted at smaller amounts to
                                               In response to comments received on                                                                           EPA has codified these provisions in
                                                                                                    support extrapolation.                                the ‘‘Scope’’ section of the regulations,
                                            the proposed rule raising concerns                         To ensure that the final rule is
                                            about the adequacy of EPA’s basis for                                                                         at § 257.50(d). The provision reads as
                                                                                                    consistent with the Agency’s authority
                                            regulating smaller CCRMU, EPA                                                                                 follows:
                                                                                                    under RCRA section 4004(a), this final
                                            modeled groundwater concentrations at                   rule incorporates thresholds consistent                 (1) This subpart applies to CCR
                                            the boundary of smaller CCRMU fills to                  with the results of its risk analyses.                management units of 1,000 tons or greater,
                                            understand the potential for exceedance                 Accordingly, the final rule only requires             located at facilities with a regulated CCR unit
                                            of GWPS that would trigger corrective                                                                         or active facilities without a regulated CCR
                                                                                                    CCRMU containing 1,000 tons or more
                                                                                                                                                          unit.
                                            action. The results of that 2024 Risk                   of CCR to comply with the applicable                    (2) CCR management units greater than or
                                            Assessment confirm that smaller                         requirements for CCRMU.                               equal to 1 ton and less than 1,000 tons,
                                            CCRMU fills can pose risk to onsite                        However, EPA estimated the risks                   located at facilities with a regulated CCR unit
                                            receptors and materially contribute to                  associated with a 1,000 ton CCRMU to                  or active facilities without a regulated CCR
                                            broader groundwater contamination                       be an HQ of 40, which exceeds the                     unit, are only subject to the requirements of
                                            across the facility. In addition,                       Agency’s normal level of acceptable risk              the facility evaluation report in § 257.75 until
                                            depending on the location of these fills,               by a significant margin. In addition,                 a permitting authority determines that
                                            they can also pose risk to offsite                      EPA’s risk assessment may                             regulation of these units, either individually
                                            receptors that exceed the levels at which               underestimate the risks at some sites.                or in the aggregate, is warranted and
                                                                                                    EPA modeled the risks associated with                 determines the applicable requirements.
                                            EPA normally regulates. On the whole,
                                            this analysis identified the potential for              individual CCRMU of varying sizes,                      Finally, the commenter is mistaken
                                            both moderate and high-end                              rather than the aggregate risks                       that CCR used as fill material pursuant
                                            groundwater concentrations of                           associated with numerous smaller                      to acts of Congress or validly issued
                                            molybdenum (among other Appendix IV                     CCRMU across the facility. It is possible             CWA section 404 permits under the
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                                            constituents) to exceed GWPS.                           that even though smaller CCRMU may                    State falls outside the scope of RCRA.
                                               EPA conducted further sensitivity                    not individually give rise to levels of               To support its allegation, the commenter
                                            analysis to better understand whether                   concern, the risks may be greater when                references section 1006(a), claiming that
                                            there is an amount below which there                    all of the CCRMU are considered                       this ‘‘expressly carves out any activity
                                            is no reasonable probability of adverse                 together. According to many of the                    covered by 33 U.S.C. 1251 et seq.’’ But
                                            impacts to groundwater quality. EPA                     commenters, it is common for multiple                 RCRA section 1006(a) does not bar EPA


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                                            from imposing requirements under one                    Regulation of CCRMU neither                           apply to ‘‘any non-containerized
                                            of the listed statutes and RCRA on the                  contradicts a specific mandate nor is                 accumulation of CCR.’’ Furthermore,
                                            same units and waste streams, unless                    fundamentally at odds with this                       commenters raised concern that EPA
                                            those requirements are inconsistent                     provision, which does not require the                 has not provided any clarity on how
                                            with a requirement in one of the                        owner to place CCR in the old channel                 much non-containerized CCR is enough
                                            statutes. 42 U.S.C. 6906(a). This is clear              or grant the owner an exemption from                  to trigger regulation, nor does the
                                            from the second sentence, which                         any requirement other than section 404                proposal provide any criteria for
                                            provides that ‘‘such integration shall be               of the Clean Water Act.                               determining significance, but instead
                                            effected only to the extent that it can be                                                                    points to examples where it does not
                                                                                                    ii. Subcategorization Is Appropriate for
                                            done in a manner consistent with the                                                                          expect this to be the case, such as closed
                                                                                                    CCRMU Because CCRMU Are Dissimilar
                                            goals and policies expressed in this                                                                          or inactive process water ponds, cooling
                                            chapter and in the other acts referred to                  Commenters stated that the proposal                water ponds, wastewater treatment
                                            in this subsection,’’ and thus expressly                groups all pre-2015 CCR Rule disposal                 ponds, and stormwater holding ponds
                                            contemplates that there will be                         areas into one large category. According              or aeration ponds. These commenters
                                            situations in which EPA regulates under                 to the commenters, this approach treats               also questioned the references to
                                            both RCRA and one of the listed                         many different scenarios as a worst-case              evaporation ponds or secondary or
                                            statutes. Id. See, Chemical Waste                       by imposing burdensome requirements                   tertiary finishing ponds that have not
                                            Management v. EPA, 976 F2d 2, 23, 25                    for all. Commenters provided examples                 been properly cleaned up as examples
                                            (D.C. Cir. 1992).                                       of potential subcategories, including:                of potential CCRMU, because in the
                                               Numerous courts have upheld this                     past CCR disposal varies based on site                2015 CCR Rule preamble, EPA had
                                            interpretation. See, Ecological Rights                  location (close to a surface water body),             identified these as examples of
                                            Foundation v. Pacific Gas & Electric Co.,               geography (eastern vs western sites),                 impoundments that would not be
                                            874 F.3d 1083, 1095 (9th Cir., 2017)                    hydrology (flow variability/distance to               considered CCR surface impoundments
                                            (‘‘RCRA’s anti-duplication provision                    uppermost aquifer), regulatory status                 because they contained only de minimis
                                            does not bar RCRA’s application unless                  (State closed-units vs unaddressed CCR                concentrations of CCR. These
                                            that application contradicts a specific                 sites), and historical CCR disposal areas             commenters argued that the burden is
                                            mandate imposed under the CWA (or                       currently used to harvest CCR for                     on EPA to provide the regulated
                                            another statute listed in RCRA section                  beneficial use. By categorizing all these             community with ascertainable certainty
                                            1006(a))’’); Goldfarb v. Mayor and City                 situations together, the commenters                   as to what the regulation requires, a
                                            Council of Baltimore, 791 F.3d 500 510                  claimed that EPA ignores the risk                     mark for which they believe the
                                            (4th Cir. 2015) (The CWA must require                   profiles of these subcategories and                   proposed CCRMU definition falls short.
                                            something fundamentally at odds with                    forces actions not tailored to the issues                Commenters also pointed out that the
                                            what RCRA would otherwise require to                    at hand. Some of these commenters                     limitations of or exemptions from the
                                            be ‘‘inconsistent’’ under 1006(a));                     opposed including in the CCRMU                        definition were only discussed in the
                                            Edison Electric Institute v. EPA, 996                   definition former landfills,                          preamble to the proposed rule but were
                                            F.2d 326, 337 (D.C. Cir.1993) (rejecting                impoundments and other accumulations                  not reflected in the regulatory text itself.
                                            ‘‘generalized claim’’ that EPA action                   of CCR that been closed in accordance                 These commenters argued that the
                                            was barred under section 1006(a)                        with existing Federal or State                        CCRMU definition must include various
                                            because it interfered with ‘‘the primary                regulations and regulatory oversight that             limitations and exceptions in the final
                                            purpose’’ of the Atomic Energy Act);                    pose no risk to groundwater.                          rule, such as, specifying a de minimis or
                                                                                                       As discussed in Unit III.A, the risk               insignificant quantity threshold in the
                                            U.S. v. E.I. du Pont de Nemours & Co.,
                                                                                                    record does not support the distinctions              definition of a CCRMU. Commenters
                                            Inc., 341 F.Supp.2d 215, 236 (W.D. N.Y.
                                                                                                    the commenters make. This final rule                  further stated that without such clarity,
                                            2004) (approving EPA action as ‘‘not
                                                                                                    already imposes only a subset of the                  owners or operators would be required
                                            inconsistent’’ under RCRA where
                                                                                                    regulations in part 257 on CCRMU,                     to consider all CCR placement as
                                            CERCLA’s heightened standard would
                                                                                                    consisting primarily of groundwater                   CCRMU.
                                            not be met by release of hazardous
                                                                                                    monitoring and closure. Corrective                       As discussed in the preceding section,
                                            substance). The commenter has
                                                                                                    action is required only if triggered by               EPA has revised the rule to be
                                            identified no requirement in the Clean
                                                                                                    site-specific determinations particular to            consistent with the results of the 2024
                                            Water Act that is inconsistent with
                                                                                                    individual units. EPA disagrees that the              Risk Assessment, and the final rule
                                            EPA’s regulation of CCRMU.                                                                                    defers the regulation of CCRMU
                                               The same is true with respect to the                 commenters have shown that any
                                                                                                    further differentiation is warranted.                 containing between one and 1,000 tons
                                            commenter’s contention regarding acts
                                                                                                                                                          of CCR to a permitting authority. Only
                                            of Congress. Although the commenter                     iii. Size Threshold for a CCRMU                       CCRMU containing 1,000 tons or more
                                            refers to ‘‘acts of Congress’’ it cites only               Many commenters stated that the                    of CCR will be subject to the applicable
                                            to 33 U.S.C. 59d. That provision of the                 proposed definition of CCRMU does not                 requirements for CCRMU after the
                                            Clean Water Act states only that a                      provide the regulated community with                  effective date of this rule. Although EPA
                                            particular area is not a water of the                   ‘‘fair notice’’ of what in fact is forbidden          has codified the thresholds in
                                            United States, and authorizes the owner                 or required. Citing to FCC v. Fox                     § 257.50(d) rather than the CCRMU
                                            to place fill in the area.                              Television Stations, Inc., 567 U.S. 239,              definition, the effect is the same. In
                                            The old channel of the River Raisin in                  253 (2012), these commenters stated                   addition, as discussed in more detail in
                                            Monroe County, Michigan, lying between the              that due process requires that ‘‘laws                 Unit III.C.2.a, EPA has revised the
                                            Monroe Harbor range front light and Raisin              which regulate persons or entities must               CCRMU definition in response to
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                                            Point, its entrance into Lake Erie, is declared         give fair notice of conduct that is                   concerns raised by commenters that the
                                            to be not a navigable stream of the United
                                            States within the meaning of the Constitution
                                                                                                    forbidden or required.’’ According to                 definition was confusing and unclear.
                                            and the laws of the United States, and the              these commenters, the proposed                        The combined effect of these revisions
                                            consent of Congress is hereby given for the             CCRMU definition does not give fair                   is more than sufficient to address the
                                            filling in of the old channel by the riparian           notice of what is regulated because it is             commenters’ concerns about the clarity
                                            owners on such channel.                                 an overly broad definition that would                 of the definition including claims that


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                                            the proposed regulations would not                        These are the same provisions that                  21356 (April 17, 2015). While the CCR from
                                            provide regulated entities fair notice of               have been in place since 2015. The                    the pile on-site may someday be beneficially
                                            what the regulations require.                           existing definition of a CCR pile is                  used, it is not currently in the process of
                                                                                                                                                          being beneficially used . . . If CCR is not
                                              Finally, EPA acknowledges that the                    Any non-containerized accumulation of                 containerized, the pile is a CCR pile and
                                            reference in the proposal to evaporation                solid, non-flowing CCR that is placed on the          subject to the same requirements as a CCR
                                            ponds, or secondary or tertiary finishing               land. CCR that is beneficially used off-site is       landfill. See Id.
                                            ponds that have not been properly                       not a CCR pile.                                       In contrast, the regulations treat CCR stored
                                            cleaned up as examples of potential                     § 257.53 (emphasis added). The second                 off-site at a beneficial use site in a temporary
                                            CCRMU was a mistake. EPA agrees that                    sentence expressly limits the beneficial              pile to be in the process of being beneficially
                                            these units would generally be expected                                                                       used (even though a pile is not itself a
                                                                                                    use of CCR to ‘‘off site,’’ and thus any
                                            to contain no more than a de minimis                                                                          beneficial use). If the CCR is temporarily
                                                                                                    non-containerized CCR placed directly                 placed at a beneficial use site and meets the
                                            amount of CCR.                                          on the land on-site of a utility is not               regulatory definition of a beneficial use, the
                                            iv. Exemption for Beneficial Use of CCR                 beneficial use.                                       pile is not a CCR pile and is not subject to
                                                                                                      EPA previously explained this in its                disposal requirements.
                                               Several commenters stated that the                   August 14, 2019, proposal ‘‘Hazardous                 . . . .
                                            CCRMU definition is too broad and does                  and Solid Waste Management System:                    In the current definition [of a CCR pile], EPA
                                            not account for the beneficial use of                   Disposal of Coal Combustion Residuals                 distinguishes between piles on-site (which
                                            CCR. According to these commenters,                     From Electric Utilities; Enhancing                    were almost always regulated as landfills)
                                            the proposal to regulate CCRMU                          Public Access to Information;                         and piles off-site, (which, if temporary, were
                                            effectively revoked or amended the                      Reconsideration of Beneficial Use                     generally considered to be beneficial use,
                                            current exemption for beneficial use in                 Criteria and Piles’’ to revise the                    subject only to the four criteria in the
                                            § 257.50, and the broad CCRMU                           definition of a CCR pile with respect to              definition). The current regulation also
                                            definition now requires previously                      temporary piles. 84 FR 40353.                         distinguishes between on-site piles that are
                                                                                                                                                          not containerized and those that are
                                            approved beneficial uses to be                          Specifically, EPA proposed to establish               containerized. See 80 FR 21356 (April 17,
                                            reexamined for potential regulation.                    a new set of requirements that would                  2017); § 257.53.
                                            Several of these commenters criticized                  apply equally to temporary or ‘‘storage
                                            the agency for failing to address the                   piles’’ located on-site and off-site of a             84 FR 40365.
                                            issue in the proposal, and argued that                  utility. As part of the background to that               Thus, under the 2015 CCR Rule the
                                            the Agency lacked the authority to                      proposal, EPA described the                           activities covered under the definition
                                            include such beneficial uses, either                    requirements under the existing                       of a CCRMU (i.e., permanent placement
                                            because neither RCRA section 1008(a)(3)                 regulation so that the public could fully             of CCR on the land, on-site of a utility,
                                            nor section 4004(a) authorize EPA to                    understand what it was–and was                        without controlling releases) were
                                            regulate use or because such regulation                 not 139—proposing to revise. The                      defined as disposal rather than
                                            would be inconsistent with the 2015                     proposal reiterated the existing                      beneficial use. In 2019, EPA did not
                                            Regulatory Determination. These                         definition of a CCR pile in § 257.53, and             propose to revise or reconsider that.
                                            commenters recommended that the                         explained that this definition closely                Instead, EPA proposed to extend that
                                            CCRMU definition be revised to exclude                  mirrors the RCRA definition of disposal,              existing requirement to permanent piles
                                            any beneficial use of CCR as defined by                 which is defined in part as the ‘‘placing             located off-site of a utility. EPA
                                            § 257.53 or as previously approved by                   of any solid waste or hazardous waste                 therefore declines to reconsider the
                                            State agencies.                                         into or on any land or water so that such             issue here.
                                               By contrast, several commenters                      solid waste or hazardous waste or any                    In the May 2023 proposed rule EPA
                                            request EPA to prohibit the use of coal                 constituent thereof may enter the                     expressly stated that it did not intend to
                                            ash as fill unless full protective                      environment or be emitted into the air                reopen or reconsider any issue other
                                            measures such as liners, monitoring,                    or discharged into any waters, including              than those on which the agency
                                            and caps are required everywhere it is                  ground waters.’’ See 42 U.S.C. 6903(3).               expressly solicited comment.
                                            placed. Commenters claimed that                         EPA further explained:                                In this proposal, EPA is not reconsidering,
                                            immediate attention to this                                                                                   proposing to reopen, or otherwise soliciting
                                                                                                    Under this regulation, CCR piles constitute
                                            recommendation will protect the health                                                                        comment on any other provisions of the
                                                                                                    disposal and are consequently subject to all
                                                                                                                                                          existing CCR regulations beyond those
                                            and environment of millions of U.S.                     regulatory criteria applicable to CCR
                                                                                                    landfills. In contrast, activities that meet the      specifically identified in this proposal. For
                                            residents by preventing the spread of                                                                         the reader’s convenience, EPA has provided
                                            toxic coal ash pollution.                               definition of a beneficial use are not
                                                                                                    considered disposal, even if they involve the         a background description of existing
                                               EPA disagrees that the proposal to                   direct placement on the land of ‘‘non-                requirements in several places throughout
                                            regulate CCRMU effectively revoked or                   containerized’’ CCR. See §§ 257.50(g) and             this preamble. In the absence of a specific
                                            amended the current exemption for                       257.53 (definitions of CCR landfill and CCR           request for comment and proposed change to
                                            beneficial use in § 257.50. The proposal                pile); 80 FR 21327–30.                                the identified provisions, these descriptions
                                            merely accurately reflects the existing                 The current regulation distinguishes piles of         do not reopen any of the described
                                            regulations, which these commenters                     CCR on-site (at an electric utility or                provisions.
                                            have misunderstood.                                     independent power producer site) from                 88 FR 31984. EPA further advised the
                                                                                                    temporary piles of CCR off-site (at a                 public that it would ‘‘not respond to
                                               Under the existing regulations, the                  beneficial use site), based on whether CCR
                                            direct placement of CCR on the land on                  from the pile could fairly be considered to be
                                                                                                                                                          comments submitted on any issues
                                            site of a utility, with nothing to control              in the process of being beneficially used. See        other than those specifically identified
                                            releases is, by definition, a CCR pile and              § 257.53 (definition of CCR pile); 80 FR              in this proposal, and such comments
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                                            therefore not beneficial use. The                                                                             will not be considered part of the
                                            examples of historical CCRMU                               139 EPA expressly advised the public that it was   rulemaking record.’’ Id.
                                            discussed in the proposal, structural fill              ‘‘not reconsidering, proposing to reopen, or            Nowhere in the May 2023 proposed
                                                                                                    otherwise soliciting comment on any other
                                            and CCR placed below currently                          provisions of the final CCR rule beyond those
                                                                                                                                                          rule did EPA solicit comment on or
                                            regulated CCR units on-site of a utility                specifically identified in this proposal.’’ 84 FR     suggest that it was in any way
                                            also clearly fit that definition.                       40355.                                                reconsidering the existing definition of


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                                            a CCR pile. The sole mention in the                      requirements. To effectuate this EPA                  not the case and as the commenters
                                            proposal is EPA’s explanation that its                   proposed to modify the definition of                  noted, the definitions were frequently
                                            proposed definition of a CCRMU was                       CCR unit by stating that CCR                          circular. Consequently, the final rule
                                            ‘‘based on the current definitions of a                  management units are not covered by                   relies on three definitions: CCR unit,
                                            CCR pile—which is currently regulated                    the definition of a CCR unit. Under the               Regulated CCR unit, and CCR
                                            as a CCR landfill. . . .’’ Id at 32018.                  existing regulations, CCR units are                   management unit.
                                            Consistent with the interpretation that                  defined as ‘‘CCR landfills and CCR                      EPA has largely reverted to the
                                            all CCR placed on the land on-site of a                  surface impoundments, as well as any                  existing definition of a CCR unit. The
                                            utility is currently regulated, EPA also                 lateral expansion of a CCR landfill or                definition, as it was promulgated in
                                            characterized structural fill and CCR                    CCR surface impoundment. In addition,                 2015, provides that
                                            placed below currently regulated CCR                     the term CCR unit already covers                      ‘‘CCR unit means any CCR landfill, CCR
                                            units on-site of a utility as ‘‘historical’’             inactive CCR surface impoundments at                  surface impoundment, or lateral expansion of
                                            solid waste management. Id. While                        active facilities because these units are             a CCR unit, or a combination of more than
                                            commenters mischaracterize such                          CCR surface impoundments.’’ 40 CFR                    one of these units, based on the context of
                                            activities as beneficial use, EPA’s                      257.53                                                the paragraph(s) in which it is used. This
                                            characterization of this conduct as                         Commenters raised concern about the                term includes both new and existing units,
                                            ‘‘historical’’ shows that the Agency                     ‘‘circularity’’ of these definitions. and             unless otherwise specified.
                                            assumed that facilities were complying                   requested clarification on what type of               Section 257.53. To avoid any ambiguity,
                                            with the existing requirement and had                    unit would be considered a CCR unit,                  EPA has also added a sentence stating
                                            not continued these practices on-site.                   CCRMU, CCR landfill, or CCR surface                   that ‘‘This term includes both Regulated
                                               Accordingly, EPA declines the                         impoundment. Several commenters                       CCR units and CCR management units.’’
                                            commenters’ request to reconsider the                    noted that                                            This is now the broadest term under the
                                            definition of a CCR pile. EPA also                       ‘‘[f]or instance, ‘CCR landfill,’ ‘CCR                regulations and encompasses all units
                                            declines to prohibit the use of CCR                      management unit,’ and ‘CCR unit’ are defined          subject to 40 CFR part 257, subpart D.
                                            structural fill as part of this rulemaking.              by reference to each other. For example, a               This final rule now also includes the
                                            That issue is related to the 2019                        ‘CCR landfill is ‘not a surface impoundment’’         term Regulated CCR unit, which refers
                                            proposal 140 to revise the fourth criterion              and not a ‘CCRMU,’ while a ‘CCRMU’ is ‘‘not
                                                                                                                                                           to the units regulated by the 2015 CCR
                                            in the definition of beneficial use,                     a CCR unit’’ but includes ‘inactive CCR
                                                                                                     landfills’ and ‘‘CCR units that closed prior to       rule, i.e., new CCR landfills and new
                                            which remains pending.                                                                                         CCR surface impoundments (which
                                                                                                     October 17, 2015.’’ And similarly, a ‘CCR
                                            v. Exemption for Roadbeds and                            unit’ is ‘‘not a CCRMU,’’ but includes CCR            include all lateral expansions of CCR
                                            Associated Embankments                                   landfills and CCR surface impoundments.               landfills and CCR surface
                                               EPA proposed to exempt CCR used in                    Similar circular references are contained in          impoundments), existing CCR landfills,
                                                                                                     the definitions of ‘inactive CCR landfill,’           existing CCR surface impoundments,
                                            roadbeds and associated embankments.                     ‘inactive facility,’ and ‘legacy CCR surface
                                            EPA further proposed that if a facility                                                                        and inactive surface impoundments at
                                                                                                     impoundment.’                                         active facilities. It also includes legacy
                                            subsequently determined that the CCR
                                            in onsite roadbed is contributing to                     Commenters claimed that defining one                  CCR surface impoundments. Because
                                            contamination of the aquifer, the facility               term by exclusion of another and in turn              legacy CCR surface impoundments will
                                            would be required to address the                         defining the latter term by exclusion of              be subject to the same requirements as
                                            contamination as part of the ongoing                     the former provides no clarity on the                 other inactive CCR surface
                                            remediation.                                             boundary between the two. These                       impoundments, using this term will
                                               No commenters opposed EPA’s                           commenters went on to state that ‘‘in a               allow the Agency to implement this
                                            proposal, and several commenters                         context in which definitional clarity is              with relatively few revisions to the
                                            supported it. However, commenters                        essential for regulatory clarity—i.e.,                regulatory text.
                                            pointed out that EPA had neglected to                    what’s ‘‘in’’ and what’s ‘‘out’’—such                    Finally, the final rule largely reverts
                                            include an exemption for roadbeds and                    ambiguity is fatal, EPA must clarify                  to the proposed definition of a CCR
                                            associated embankments in the                            these definitions to define these terms               management unit. This final rule
                                            proposed regulatory text.                                by their essential characteristics, not by            defines CCR management unit to mean
                                               EPA is finalizing the exemption for                   circular references to each other.’’ And              any area of land on which any
                                            roadbeds as proposed, and has amended                    as discussed in a previous section, some              noncontainerized accumulation of CCR
                                            the definition of a CCRMU accordingly.                   commenters were also confused by                      is received, is placed, or is otherwise
                                                                                                     EPA’s explanation in the proposal that,               managed, that is not a regulated CCR
                                            b. Revision to Definition of CCR Unit                    because it planned to use the term ‘‘CCR              unit. This term includes inactive CCR
                                               In order to distinguish between CCR                   unit’’ to refer only to those CCR units               landfills and CCR units that closed prior
                                            units that would be subject to all of the                that would be subject to all of the                   to October 19, 2015. EPA has also
                                            requirements in part 257, and those that                 regulations in subpart D, CCRMU would                 included a definition of the phrase,
                                            would be subject to only a subset, EPA                   not be included in this term.                         ‘‘closed prior to October 19, 2015,’’
                                            proposed to rely on two terms: (1) CCR                     In light of these comments, EPA                     which provides that the term means
                                            unit and (2) CCR management unit.                        reevaluated the proposed definitions                  ‘‘the CCR landfill or surface
                                            Under the proposal the term, ‘‘CCR                       and agrees that revisions are necessary.              impoundment completed closure of the
                                            units’’ would refer to only the units                    As noted, the proposed terms were                     unit in accordance with state law prior
                                            subject to all of part 257, subpart D. As                intended to categorize units according                to October 19, 2015.’’
                                            defined in the proposal, the term ‘‘CCR                  to the requirements that would                           EPA deleted the phrase ‘‘at any time’’
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                                            management unit’’ would refer to the                     eventually be applied to them. EPA                    from the proposed definition. EPA had
                                            units subject only to the subset of                      hoped that as a consequence, few                      originally included that phrase to clarify
                                            groundwater monitoring, corrective                       revisions to the regulations would be                 that it did not matter when the CCR was
                                            action, closure, and post-closure                        necessary, with the idea that this would              placed, received, or otherwise managed,
                                                                                                     be less confusing to regulated entities               provided the CCR remained present at
                                              140 84 FR 40353 (August 14, 2019).                     and the public. Unfortunately, that was               the site. EPA deleted the phrase from


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                                            the final definition because, as the D.C.               disposed of the ash (potentially                      currently regulated facilities and newly
                                            Circuit has already explained, this                     beneficially) there are legal issues                  regulated facilities, but EPA does not
                                            concept is fully communicated by the                    (including potential access and trespass              expect that this revision will actually
                                            phrase ‘‘is placed,’’ and the inclusion of              rules) that will need to be resolved.’’               amend the entities that currently are
                                            the phrase ‘‘at any time,’’ is therefore                   Commenters agreed that it would not                liable. EPA expects that most (if not all)
                                            redundant. In addition, several                         be appropriate to include an innocent                 utilities currently operate as though the
                                            commenters were confused by the                         owner provision, specifically because of              regulation already required the owner
                                            phrase, assuming it meant that if CCR                   the difficulty in defining complex                    and operator of the facility to take
                                            had ever been placed on the land at any                 owner structures where direct                         actions; for example, under the existing
                                            time, even if it is no longer present, the              accountability is difficult to define. One            regulations owners and operators are
                                            site would be considered a CCRMU.                       commenter ‘‘does not fully agree with                 required to conduct corrective action
                                               These definitions are all codified in                this ‘‘limited accountability’’ and                   even where the plume has migrated
                                            the regulatory text at § 257.53. EPA also               suggest accountability must also honor                beyond the footprint of the regulated
                                            made conforming changes throughout                      indemnity and the assignment of                       unit. In addition, EPA is extending the
                                            40 CFR part 257, subpart D to clarify                   liability defined in a Purchase and Sale              deadlines for the CCRMU requirements,
                                            which types of CCR units are subject to                 Agreement (PSA). Specifically, any                    which can accommodate any issues
                                            which requirements. As discussed                        entity should transition or maintain                  with access to the facility in order to
                                            elsewhere in this preamble, consistent                  liability based on an established                     conduct the applicable requirements.
                                            with the proposal, EPA is extending                     purchase and sale agreement, thus                        For similar reasons, EPA proposed to
                                            only a subset of the existing                           responsibility cannot be limited to only              revise the definition of Operator to
                                            requirements in part 257, subpart D to                  the current owner. In addition, it is                 incorporate the concept of CCRMU into
                                            CCRMU, consisting of requirements for                   reasonable to expect that for known                   the existing definition by adding ‘‘or
                                            groundwater monitoring, corrective                      active or inactive CCR Units at an active             CCR management unit’’ to the existing
                                            action, closure, post-closure care, and                 facility, the current owner should be                 definition. In addition, the Agency
                                            recordkeeping.                                          responsible for required closure that                 proposed revisions to account for the
                                                                                                    satisfies the requirements of the 2015                unique characteristics of a CCRMU. In
                                            c. Revisions to Definitions of Owner and
                                                                                                    CCR Rule and for corrective action that               cases where the CCRMU is closed (i.e.,
                                            Operator
                                                                                                    does not exceed industry standard for                 not receiving waste or otherwise in
                                               EPA proposed revisions to the                        remediation. However, it is                           operation) or is a historic placement or
                                            existing definitions of Owner and                       unreasonable to expect only current                   accumulation of CCR, there may not be
                                            Operator. The existing definition of                    owners to be accountable for all past                 an entity that neatly fits the normal
                                            Owner is the ‘‘person(s) who owns a                     practices and the responsibility for the              concept of an ‘‘operator,’’ because there
                                            CCR unit or part of a CCR unit.’’ First,                unknown, specifically for areas that                  may not be any current or ongoing
                                            EPA proposed to revise the definition to                were undefined and unknown and most                   oversight or activity with respect to the
                                            incorporate the concept of CCRMU into                   importantly unregulated at the time of a              continued use of the unit. To avoid any
                                            the existing definition because CCRMU                   transaction from a previous owner, most               ambiguity, EPA proposed to revise the
                                            would otherwise be excluded from the                    often a regulated utility.’’                          definition of ‘‘operator’’ to clarify that
                                            definition of a CCR unit as discussed in                   EPA proposed and is finalizing this                the term Operator includes those
                                            the preceding Unit of the preamble. This                revision in part to account for the more              person(s) or parties responsible for
                                            would be accomplished by adding ‘‘or                    complicated ownership arrangements                    disposal or otherwise actively engaged
                                            CCR management unit’’ to the existing                   that exist at some utilities. EPA has                 in solid waste management of CCR. It
                                            definition. Second, the Agency                          found that there may be multiple                      also includes those responsible for
                                            proposed to revise the definition of                    owners at the same facility; for example,             directing or overseeing groundwater
                                            Owner to include the owner(s) of the                    one entity may hold title to a single                 monitoring, closure, or post-closure
                                            entire facility, which would be achieved                impoundment, while another entity may                 activities at a CCR unit or CCRMU.
                                            by adding ‘‘or a facility, whether in                   own the remaining disposal units at the                  Commenters said the revised
                                            whole or in part’’ to the definition. EPA               site. Moreover, ownership can change                  definition of operator is ‘‘too broad and
                                            did not propose to revise the definition                over time, as individual units or                     may be interpreted to impose CCR Rule
                                            of a ‘‘facility,’’ which under the existing             portions of the facility are parceled off.            liability on individuals or contractors
                                            regulations means ‘‘all contiguous land,                This final rule also more accurately                  who are retained by owners or operators
                                            and structures, other appurtenances,                    reflects the nature of the obligations                to ‘actively engage’ in CCR waste
                                            and improvements on land, used for                      EPA is establishing for CCRMU. For                    management. This definition should be
                                            treating, storing, disposing, or otherwise              example, as discussed below, EPA is                   revised to reflect the standard principles
                                            conducting solid waste management of                    finalizing the regulations to require an              for ‘operator’ liability under
                                            CCR. A facility may consist of several                  investigation of the entire facility to               environmental laws, which should not
                                            treatment, storage, or disposal                         identify CCRMU. At many sites, this                   include employees, individuals, or
                                            operational units (e.g., one or more                    would involve areas other than those                  contractors operating under the
                                            landfills, surface impoundments, or                     encompassed by the definition of a CCR                direction of a responsible owner or
                                            combinations of them).’’ 40 CFR 257.53.                 unit, extending to all areas where                    operator.’’ Another commenter
                                               Some commenters opposed changing                     disposal or other solid waste                         disagreed with the revised definition of
                                            the definition of Owner. One commenter                  management may be occurring.                          Operator, ‘‘which can imply the
                                            said ‘‘It may be the current owner is                   Moreover, relying exclusively on the                  operator could have obligations under
                                            unaware he owns the newly regulated                     ‘‘owner’’ of the CCRMU may be                         this rule. We disagree. While some
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                                            facility. The current operator may have                 ambiguous in this context, as at some                 owners and operators are one and the
                                            none of those parties responsible                       sites the owner may not yet be aware                  same many facilities are operated by
                                            conducting activities since the parties                 that a CCRMU is present (e.g., because                third parties operators and in these
                                            may have ceased to exist long ago. Or,                  it results from the historic placement or             cases, such operators should have no
                                            if the current owner is unwilling to                    accumulation of CCR). EPA recognizes                  obligations under this proposed rule.
                                            work with those who previously                          that this final rule will apply to                    We request EPA clarify that distinction


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                                            and clearly state that third party                      refer only to CCR units and EPA                       are those that: (1) On or after October
                                            operators have no obligation.’’                         proposed to add the words ‘‘or CCR                    19, 2015, were producing electricity for
                                               Another commenter stated                             management unit’’ to the definitions to               the grid; (2) Had ceased placement of
                                            ‘‘Companies actively engaged in the                     incorporate the concept of CCRMU into                 CCR in their on-site CCR units before
                                            solid waste management of CCR’’ would                   the existing definition. The eight                    the effective date of the 2015 CCR Rule
                                            include the construction contractors                    definitions for which EPA proposed this               (October 19, 2015); and (3) Had no
                                            responsible for installation of CCR units               revision are: Active life or in operation,            inactive CCR surface impoundments. As
                                            including excavation, lining, filling,                  Active portion, Closed, CCR landfill or               such, CCRMU (e.g., inactive CCR
                                            regrading, covering, closure, and more.                 landfill, Qualified person, Qualified                 landfills, closed CCR landfills, or closed
                                            Companies ‘‘responsible for directing or                professional engineer, State Director,                CCR surface impoundments) are located
                                            overseeing groundwater monitoring,                      and Waste boundary. EPA received                      at these facilities. Commenters on the
                                            closure or post-closure activities’’ would              comments only about clarifying the                    proposed rule identified 13 units at six
                                            include well drillers, the professional                 definition of ‘‘closed,’’ which is                    other active facilities, based on sourced
                                            engineers who certify the plans for CCR                 discussed in the Volume II Response to                data, and these units including inactive
                                            units, and again, construction                          Comments document. EPA did not                        CCR landfills, closed CCR landfills, or
                                            contractors. Contractors will no longer                 receive comments about the other seven                closed CCR surface impoundments.
                                            be willing to ‘actively engage[ ] in the                definitions for which EPA proposed this               Based on the most recent information,
                                            solid waste management of CCR’ or                       revision. As described in Unit III.C.2.b              including from NODA comments, EPA
                                            ‘direct[ ] or oversee[ ] groundwater                    of this preamble, EPA has revised the                 believes there are nine units at five
                                            monitoring, closure or post-closure                     definition of ‘‘CCR unit’’ in response to             other active facilities.141
                                            activities’ if they will consequently                   comments, and as a consequence the                       The addition of these units provides
                                            become liable for compliance with the                   definitions for Active life or in                     regulatory consistency; the CCRMU at
                                            CCR rule. As a result, the ‘shortage of                 operation, Active portion, Closed,                    these active facilities pose the same
                                            contractors’ will continue and grow                     Qualified person, Qualified professional              risks to human health and the
                                            worse. EPA should revise the definition                 engineer, and Waste boundary no longer                environment whether or not they are co-
                                            of ‘Operator’ to clarify that contractors               need to be amended. EPA is finalizing                 located with a currently regulated CCR
                                            are not Operators.’’                                    the proposed revisions to the definitions             unit or a legacy CCR surface
                                               The revision to the definition of                    of CCR landfill and State Director. These             impoundment. And with the expansion
                                            Operator is not intended to include                     are codified in the regulatory text at                of corrective action and closure
                                            every person who is ‘‘actively engaged                  § 257.53.                                             obligations to CCRMU, these facilities
                                            in the solid waste management of CCR’’                                                                        are more similarly situated to the
                                            but would follow the standard                           e. Scope of Regulated Facilities With
                                                                                                    CCRMU                                                 currently regulated active utilities and
                                            ‘‘operator’’ liability under                                                                                  independent power producers than they
                                            environmental regulations. Such                            EPA proposed to require the owners                 are to the inactive facilities that remain
                                            liability would include the operator                    or operators of both active facilities with           exempt under this final rule (i.e.,
                                            who oversees the facility to ensure                     one or more currently regulated CCR                   inactive facilities with only CCRMU).
                                            compliance with the regulations.                        unit(s) and inactive facilities with a                Moreover, in contrast to the exempt
                                               Because multiple entities may                        legacy CCR surface impoundment to                     facilities, EPA was able to identify the
                                            potentially be liable, (i.e., owners and                comply with the CCRMU regulations.                    affected facilities and evaluate the
                                            operators) EPA is providing the                         The term active facility or active electric           potential consequences of regulating
                                            following guidance. Consistent with                     utilities or independent power                        them.
                                            EPA’s typical practice, unless otherwise                producers is defined in § 257.53.                        EPA disagrees that it lacks the
                                            provided in the regulations, as long as                 Inactive facilities are discussed in Unit             authority to regulate these CCRMU, for
                                            one responsible entity (an owner or                     III.A.1.c of this preamble.                           the same reasons discussed in Units II.C
                                            operator) has complied with the                            Some commenters on the proposed                    and III.C.2.a of this preamble.
                                            requirements, EPA will consider the                     rule opposed limiting the universe to                    The Agency also considered whether
                                            obligation satisfied as to all potentially              active facilities and inactive facilities             to regulate all CCRMU at inactive power
                                            liable parties and will initially rely on               with at least one CCR unit. They argued               plants. But as EPA explained in Unit
                                            owners and operators to determine                       that CCR in landfills, dewatered surface              III.B.1.b.i.(b) of this preamble, the
                                            among themselves how best to ensure                     impoundments, and CCRMU at other,                     location and number of inactive
                                            compliance with the requirements. See,                  currently unregulated, active facilities              facilities without a legacy CCR surface
                                            e.g., 45 FR 33295 (May 19, 1980). (‘‘EPA                pose the same risks to groundwater,                   impoundment are unknown, as is the
                                            has no intention to require both owner                  surface water, and air as facilities with             number and condition of the units at
                                            and operator to take all or even most                   CCR units. These commenters said                      these facilities. Without being able to
                                            compliance actions in tandem. EPA will                  RCRA section 4004(a) cannot be met if                 better understand the full extent of the
                                            regard compliance by either owner or                    these leaking units are arbitrarily                   sites and entities that could be affected,
                                            operator with any given obligation                      excluded from regulation. Other                       EPA is not prepared to expand the
                                            under the permit as sufficient for both                 commenters said EPA does not have the                 regulations to this extent at the current
                                            of them’’).                                             authority to regulate CCRMU at all and                time. Even though CCRMU pose the
                                               EPA is finalizing the revisions to                   should limit the scope of the final rule              same risk when located at active or
                                            Owner and Operator as proposed                          to units that pose risks.                             inactive facilities, EPA considers that
                                            without revision. This is codified in the                  After reviewing the comments on the
                                                                                                                                                          the higher priority is to ensure that
                                            regulatory text at § 257.53.                            proposed rule, EPA reconsidered
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                                                                                                                                                          active facilities address the full extent of
                                                                                                    whether the regulated universe should
                                            d. Conforming Revisions to Other                                                                              the contamination that currently exists,
                                                                                                    be expanded to include other facilities
                                            Existing Definitions                                                                                          and to prevent further contamination at
                                                                                                    currently generating power for the
                                              EPA proposed revisions to eight                       electrical grid that only have CCRMU                    141 This universe is included in ‘‘Universe of CCR
                                            definitions in § 257.53 to refer to                     on-site. These unregulated active                     Management Units. April 2024.’’ in the docket for
                                            CCRMU. These definitions currently                      facilities, or ‘‘Other Active Facilities,’’           this action.



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                                            these sites—in other word to address                    CERCLA regulatory programs, that is,                  historic use, placement and the current
                                            rather ‘‘those ills we have, than fly to                RCRA Facility Assessment Guidance,                    status of CCR at each facility, ultimately
                                            others that we know not of.’’                           CERCLA all appropriate inquiry (Phase                 identifying any CCRMU containing
                                              Therefore, EPA is finalizing                          I and Phase II) process. Commenters                   1,000 tons or more that will be required
                                            amendments to regulate CCRMU at all                     suggested that separating the                         to meet the regulatory requirements of
                                            active electric utilities or independent                information collection requirements                   this final rule. The FER must also
                                            power producers that generated power                    from the physical evaluation                          identify those CCRMU containing
                                            for the electrical grid on or after October             requirements will provide a more                      between one and 1,000 tons, whose
                                            19, 2015, in addition to those facilities               thorough evaluation of existing                       regulations is deferred until permitting.
                                            with legacy CCR surface impoundments.                   available information to better inform                See, Unit III.C.2.a.iii of this preamble for
                                            As noted, EPA refers to these facilities                the physical evaluation to fill data gaps             further discussion.
                                            as ‘‘covered facilities’’ throughout this               and properly identify CCRMU.
                                            preamble. This is codified in the                          EPA is finalizing the procedures for               a. Final Requirements for Facility
                                            regulatory text at § 257.50(d).                         facility evaluation for identifying CCR               Evaluation for CCR Management Units
                                                                                                    management units with a few revisions                    During the facility evaluation, the
                                            3. Facility Evaluation for Identifying                                                                        owner or operator of a covered facility
                                                                                                    from the proposal. Owners or operators
                                            CCR Management Units                                                                                          will need to identify and delineate the
                                                                                                    of any covered facilities will need to
                                               EPA proposed that owners or                          conduct a facility evaluation. The                    extent, laterally and vertically, of any
                                            operators of active facilities with a                   purpose of the facility evaluation is to              CCRMU containing one ton or more at
                                            currently regulated unit or inactive                    confirm whether any CCRMU                             the facility. To begin, the owner or
                                            facilities with a legacy CCR surface                    containing one ton (or more) exist on-                operator reviews all existing records and
                                            impoundment would need to conduct                       site, and, if so, to delineate the lateral            documents reasonably and readily
                                            facility evaluations. The purpose of the                and vertical extent of the unit(s). In                available to (including information that
                                            facility evaluation is to confirm whether               developing the final rule EPA relied                  is readily and reasonably attainable by)
                                            any CCRMU exist on-site, and, if so, to                 heavily on the investigation processes                the facility, that contain information
                                            delineate the lateral and vertical extent               EPA developed under the current RCRA                  regarding any past and present CCR
                                            of the unit(s). In developing the                       and CERCLA regulatory programs, that                  management that resulted in the
                                            proposal, EPA relied heavily on the                     is, the RCRA subtitle C Facility                      accumulation of CCR on the ground.
                                            RCRA subtitle C Facility Assessment                     Assessment process for identifying solid              Consistent with the definition of a
                                            process for identifying solid waste                     waste management units at a hazardous                 CCRMU, in this context EPA considers
                                            management units at a hazardous waste                   waste facility, and the CERCLA all                    the terms ‘‘placement’’ and ‘‘receipt’’ to
                                            facility. In addition, EPA accounted for                appropriate inquiry (Phase I and Phase                include situations in which spilled or
                                            certain existing requirements in the CCR                II) process.                                          released CCR has been left on the
                                            regulations; for example, under the 2015                   There is a two-step process for a                  ground. During this first step, the
                                            CCR Rule, facilities were required to                   facility evaluation. The first step                   facility is required to gather and review
                                            compile a history of construction for                   consists of a thorough review of                      reasonably and readily available
                                            their existing impoundments. 40 CFR                     available records. The second step of the             information to identify potential
                                            257.73(c)(1). Facilities were generally                 facility evaluation is to conduct a                   locations of CCR placement at, and to
                                            able to obtain all information specified                physical facility inspection and any                  determine preliminary boundaries,
                                            in § 257.73(c)(1)(i) through (ix), even for             necessary field work, such as soil                    lateral and vertical dimensions, and
                                            units constructed decades ago. EPA                      sampling, to fill any data gaps from the              estimates of volume of any CCRMU.
                                            expected that facilities will similarly be              information obtained from the review of               Then, at the second step, the facility
                                            able to obtain the information that EPA                 available records.                                    evaluation requires physical inspection
                                            proposed would be required in the                          In response to comments, EPA                       of the facility. Where necessary, the
                                            Facility Evaluation Report (FER).                       examined facility evaluation processes                physical inspection must include field
                                               EPA proposed that facilities prepare                 currently being implemented under                     investigation activities, such as
                                            one report, to be completed in two                      RCRA and CERCLA and concurs that                      conducting exploratory soil borings,
                                            consecutive steps, with a single                        creating two separate reports—one for                 geophysical assessments, or any other
                                            deadline. As proposed, the first step                   each step of the process—is consistent                similar physical investigation
                                            would consist of a thorough review of                   with these established approaches. EPA                confirmation activities to establish the
                                            available records in combination with a                 believes this two-step approach to                    location and boundaries of identified
                                            physical facility inspection and any                    facility evaluation will reduce the need              CCRMU, and to affirmatively rule out
                                            necessary field work, such as soil                      for rework and the overall burden for                 other areas of potential CCR placement
                                            sampling, to fill any data gaps from the                both facility owners or operators and                 at the facility that were identified
                                            information obtained from the review of                 contractors who may be hired to                       during the information review. The
                                            available records. The second step of the               complete this work. Additionally, EPA                 scope of the facility evaluation is the
                                            facility evaluation would be to generate                concludes this approach increases                     entire facility as the term is currently
                                            a FER to document the findings of the                   transparency by allowing the public the               defined in 40 CFR 257.53.
                                            facility evaluation. EPA proposed                       opportunity to see the work plan                         As noted, the facility evaluation
                                            separate deadlines to complete the                      developed by the owner or operator.                   begins with a review of all reasonably
                                            investigation and to compile the report:                   Therefore, the final rule creates two              and readily available information
                                            a deadline of no later than the effective               parts to the facility evaluation—the Part             regarding past and present placement of
                                            date of this final rule to initiate the                 1 FER includes the results of the                     CCR at the facility. In this first stage, the
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                                            facility evaluation and a deadline of no                available information collection and                  facility must gather all reasonably and
                                            later than three months after the                       evaluation. The Part 2 FER addresses                  readily available existing information
                                            effective date to complete the FER.                     data and information gaps through a                   that may be useful to determine any
                                            Commenters suggested that EPA follow                    physical evaluation of the facility.                  locations at the facility where CCR may
                                            more closely the investigation processes                Together, the Part 1 and Part 2 reports               have been placed (including spilled) on
                                            developed under the current RCRA and                    will give a complete picture of the                   the ground. EPA expects that in this


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                                            initial phase, the facility will cast a                 i. Facility Evaluation Report Part 1—                 drawings for physical facility
                                            wide net, and collect all reasonably and                Information Collection, Data Gap                      improvement projects, such as surface
                                            readily available information that could                Identification                                        water control, water and power
                                            potentially contain useful information                     The first step in the facility evaluation          infrastructure and utilities, roads,
                                            to identify the potential locations of                  process involves the collection of                    berms, ponds and/or other physical
                                            CCR placement at the facility. Finally, to              reasonably and readily available                      features at the facility. EPA expects that
                                            complete the information review, the                    information that contains any detail or               facilities will search all reasonably and
                                            investigatory process must be                           information on whether CCR was either                 readily available records to determine
                                            documented, any data gaps identified,                   routinely and systematically placed on                whether they contain information
                                                                                                    land, or where facility activities                    relevant to the potential existence and
                                            and plans for conducting a physical
                                                                                                    otherwise resulted in measurable                      locations of CCRMU containing at leat
                                            inspection of the site to verify locations,
                                                                                                    accumulations of CCR on land. The                     one ton of CCR.
                                            boundaries, and volumes of CCR                                                                                   EPA proposed that as part of this
                                            placement at the facility formalized.                   quality and reliability of the information
                                                                                                                                                          process, owners and operators must
                                            This information is documented in the                   review will depend greatly on the
                                                                                                                                                          further gather information by
                                            Part 1 FER. Then, at Part 2, the physical               owner’s and operator’s ability to collect
                                                                                                                                                          conducting meetings with current
                                            inspection must be documented. Each                     relevant information. Information
                                                                                                                                                          facility personnel familiar with the
                                            step of this process is described in                    reviews may provide misleading results
                                                                                                                                                          facility to the extent that those persons
                                            greater detail below.                                   when significant sources of information
                                                                                                                                                          are available and have knowledge about
                                                                                                    are not considered. The information that
                                               All recorded observations and data                                                                         past and/or present facility operations.
                                                                                                    must be gathered during this step                     The goal of the meeting process was to
                                            gathered during the facility evaluation,                should include any documents that
                                            including any conclusions regarding the                                                                       help gather any information relevant to
                                                                                                    contain information relevant to past                  the facility operations and waste
                                            status of each CCRMU containing one                     facility operations and waste disposal                disposal processes.
                                            ton or more of CCR at the facility (e.g.,               processes. By the conclusion of the                      Commenters objected that conducting
                                            delineation of the lateral and vertical                 facility evaluation, EPA expects that the             interviews of current or former facility
                                            extent of each CCRMU and an                             facility would be able to identify the                personnel and any available State and
                                            associated site map that identifies the                 date, locations, durations, and volumes               local officials is burdensome and will
                                            location of the CCRMU (including GIS                    or estimated quantities of CCR                        place a significant strain, specifically,
                                            coordinates)), must be assembled and                    placement.                                            on State and local agencies. In addition,
                                            incorporated into the FER.                                 EPA expects that the amount of                     commenters stated that interviews with
                                                                                                    available written information and                     State personnel would put the State
                                               If, after conducting a thorough
                                                                                                    documentation that will be available for              personnel in a difficult position to
                                            document review and a visual                            review during the document review
                                            inspection, the facility has found no                                                                         verify compliance on EPA’s behalf
                                                                                                    phase may vary by facility. However,                  without receiving State permit approval
                                            evidence of any CCRMU containing one                    the following documents developed as
                                            ton or greater, no further testing or                                                                         first.
                                                                                                    part of complying with 40 CFR part 257,                  In this final rule, EPA is not requiring
                                            sampling is required to conclude that no                subpart D, which are reasonably and                   the owner or operator to conduct
                                            such CCRMU are present at the facility.                 readily available to facilities, would                interviews of current or former facility
                                            Consistent with the proposal, the final                 normally contain information that can                 personnel, nor any available State and
                                            rule does not require facilities to                     be useful in identifying CCRMU:                       local officials. The regulatory language
                                            conduct widespread site sampling to                     inspection reports; history of                        of the final rule only requires
                                            prove that no such CCRMU exists on-                     construction reports; fugitive dust                   documentation of any interviews that
                                            site.                                                   control plans; annual groundwater                     are conducted as part of the information
                                               The FER must include a certification                 monitoring and corrective action                      collection process. Nevertheless, owner
                                            to be signed by a P.E. and the owner or                 reports; ASDs; ACM reports or other                   and operator interviews of current or
                                            operator or an authorized                               corrective action reports; and closure                former personnel could well assist in
                                            representative. Owners or operators of                  plans and reports. Further, there are                 identification of data and information
                                            active or inactive facilities with one or               other sources of reasonably and readily               that will be helpful in identifying
                                                                                                    available data that frequently contain                CCRMU, particularly at those facilities
                                            more CCR unit(s) that do not contain
                                                                                                    information relevant to past facility                 that have not been in operation recently.
                                            any CCRMU would need to complete
                                                                                                    operations and waste disposal                         Consequently, EPA continues to
                                            and place in the operating record a
                                                                                                    processes, such as facility compliance                recommend that facilities use good faith
                                            certified FER documenting the steps                     reports produced for non-CCR programs                 efforts to collect information through
                                            taken during the facility evaluation to                 (e.g., Toxic Substances Control Act                   interviews where current or past
                                            determine the absence of any CCRMU.                     [TSCA]/Occupational Safety and Health                 personnel are willing to assist in the
                                            Both Part 1 and Part 2 of the FER must                  Administration [OSHA]/National                        identification of information or data that
                                            be placed in the facility operating record              Pollutant Discharge Elimination System                will assist the identification of CCRMU.
                                            (§ 257.105(f)(25)), submitted to the                    [NPDES]/Clean Air Act [CAA]/Clean                        During this stage, EPA is requiring
                                            appropriate regulating entity                           Water Act [CWA]); permits and permit                  that a P.E. review the documents and
                                            (§ 257.106(f)(24)), and published on the                applications, including NPDES, solid                  information gathered during the
                                            facility’s website (§ 257.107(f)(24)).                  waste, dam safety, and air permits;                   information review process to draw
                                            Further, the Agency is requiring that the               historical and contemporary monitoring                conclusions regarding the existence of
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                                            FER include a certification to be signed                and reporting data, and facility                      CCRMU at the facility. At the end of this
                                            by the owner or operator or an                          operating logs and maps; and site                     stage, EPA expects the facility to
                                            authorized representative similar to the                imagery including available historical                identify: (1) Any areas where the facility
                                            certification that is required at                       aerial photographs, site photographs,                 can affirmatively conclude based on the
                                            § 257.102(e) and (f) for existing units                 topographic maps, and/or engineering                  reasonably and readily available
                                            undergoing closure.                                     or construction drawings, including                   information that one or more CCRMU


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                                            containing greater than one ton are                     activities at the facility, allowing for              the data and information reviewed that
                                            present; and (2) Any areas where the                    subsequent observations during the                    indicates the presence or absence of
                                            reasonably and readily available                        physical site inspection to be focused to             CCR management units at the facility.
                                            information indicates that CCR may                      the greatest extent practical. While                  Finally, the FER must identify any data
                                            have been either routinely and                          information obtained during the review                gaps, and provide a plan for remedying
                                            systematically placed on the land, or                   may be insufficient to support                        all identified data gaps through a
                                            where facility activities otherwise could               affirmative conclusions regarding the                 physical examination of the facility,
                                            have resulted in one ton of CCR on the                  existence or non-existence of a CCRMU,                including any field or laboratory work
                                            land (i.e., areas where the available                   based on the information available at                 needed to remedy data gaps identified
                                            information indicates that one or more                  most facilities, EPA expects that it will             in the narrative in the Part 1 FER record.
                                            CCRMU may be present).                                  be possible to determine which areas at               The plan must include the major
                                               Each of the information sources                      the facility would need to be inspected,              milestones needed to fill each identified
                                            discussed above can provide valuable                    and the type of data that would be                    data gaps (e.g., a physical examination
                                            information that can be used to identify                needed to draw definitive conclusions.                of the facility, sampling of media,
                                            the existence and locations of CCRMU.                   The Agency expects that the                           measurements of CCR concentrations or
                                            In addition, some specific examples are                 information gathered in the information               physical presence, delineation of
                                            provided below:                                         review will be relevant to determining                CCRMU) and dates to complete the
                                               • Environmental reports for                          the areas to be inspected during the                  needed tasks.
                                            multimedia inspections contain useful                   physical (visual) site inspection.                       EPA is finalizing that Part 1 FER must
                                            information on site management                          Further, the information gathered                     contain the following: (1) The name and
                                            practices, monitoring data, and unit                    during the information review would be                address of the person(s) owning and
                                            conditions. These reports can also                      used to support any necessary field
                                            describe comprehensive monitoring                                                                             operating the facility; the unit name
                                                                                                    activities.                                           associated with any regulated CCR unit
                                            evaluations at the site that can indicate                  EPA notes that the amount of
                                            where releases or areas of concern exist.                                                                     and CCRMU containing one ton or more
                                                                                                    available written information and
                                               • Multimedia permit and permit                                                                             of CCR at the facility; and the
                                                                                                    documentation that will be available for
                                            applications contain large amounts of                                                                         identification number of each CCR unit
                                                                                                    review during the document review
                                            information on the facility design, waste                                                                     and CCRMU if any have been assigned
                                                                                                    phase will vary by facility. Commenters
                                            management practices including how                                                                            by the State or by the owner; (2) The
                                                                                                    confirmed this expectation by noting
                                            wastes were disposed of, and the                        that many of the facilities subject to this           location of any CCRMU identified on
                                            physical characteristics of the                         final rule may have ceased operations                 the most recent U.S. Geological Survey
                                            surrounding area. These documents can                   years, and sometimes decades, ago.                    (USGS) 7.5-minute or 15-minute
                                            contain old topographic maps, facility                  They also stated that record retention                topographic quadrangle map, or a
                                            figures and drawings, wastestream flow                  and storage locations may be difficult to             topographic map of equivalent scale if a
                                            diagrams, and unit and process                          determine and require some effort to                  USGS map is not available, with the
                                            descriptions.                                           access for some facilities. Based on past             location of each regulated CCR unit at
                                               • If a groundwater monitoring report                 experience, EPA continues to believe                  the facility identified. The location of
                                            for a CCR unit indicates that                           that sufficient information is reasonably             each regulated CCR unit at the facility
                                            contaminant levels in groundwater                       and readily available to allow facilities             must also be identified in the same
                                            monitoring wells are the result of                      to obtain the information required under              manner; (3) A statement of the
                                            CCRMU rather than the monitored CCR                     the FER. For example, as discussed in                 purpose(s) for which each CCRMU at
                                            unit, this would need to be further                     the proposal, under the 2015 CCR Rule                 the facility is or was being used; (4) A
                                            investigated during the facility                        facilities were generally able to obtain              description of the physical and
                                            evaluation process to fully delineate the               all of the information needed to compile              engineering properties of the foundation
                                            locations of areas where CCR was                        a history of construction for their                   and abutment materials on which each
                                            placed on the ground, including the size                existing impoundments, even for units                 CCRMU is constructed; (5) A discussion
                                            of the unit and other related unit details.             constructed decades ago. See, 40 CFR                  of any known spills or releases of CCR,
                                               • Similarly, a review of aerial                      257.73(c)(1). Nevertheless, owners or                 including any associated remediation
                                            photographs can identify potential                      operators are required to compile this                activities, from each CCRMU and
                                            CCRMU at the facility at locations that                 information only to the extent it is                  whether the spills or releases were
                                            have become overgrown or otherwise                      reasonably and readily available. EPA                 reported to State or Federal agencies; (6)
                                            hidden over time. When used in                          acknowledges that there may be certain                Any record or knowledge of structural
                                            conjunction with USGS topographic                       information or data that may be                       instability of each CCRMU; (7) Any
                                            maps, owners or operators can look for                  unknown or lost. EPA intends that                     record or knowledge of groundwater
                                            evidence that may be indicative of                      facilities provide relevant information               contamination associated or potentially
                                            placement of CCR on the ground. As an                   only if documentation exists or if it is              associated with each CCRMU; (8) The
                                            example, if aerial photographs and                      obtained during the physical site                     size of each CCRMU, including the
                                            USGS topographic maps indicate the                      inspection. EPA does not expect owners                general lateral and vertical dimensions
                                            existence of a pond or dam system at the                or operators to provide anecdotal or                  and an estimate of the volume of waste
                                            site, this may be enough to warrant                     speculative information regarding the                 contained within the unit; (9)
                                            further investigation of available                      presence or absence of CCRMU.                         Identification of all types of CCR in each
                                            documents and may require field                         However, if data gaps exist, owners or                CCRMU at the facility; (10) A narrative
                                            investigation depending on the strength                 operators subject to these provisions                 description of any closure activities that
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                                            of information to determine if the                      may need to collect additional field data             have occurred, including any applicable
                                            changes were made to allow placement                    to fill the gaps.                                     engineering drawings or reports; (11) A
                                            of CCR on the ground.                                      The Part 1 FER must also include a                 narrative that documents the data
                                               One of the primary purposes of the                   narrative that documents the data                     reviewed as part of the facility
                                            information review is to provide an                     reviewed as part of the facility                      evaluation process, and that lists all
                                            understanding of the CCR management                     evaluation process, and that lists all of             data and information indication the


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                                            presences or absence of CCRMU at the                    years. In addition, the facility is                   observations and data gathered during
                                            facility; (12) Any supporting                           required to conduct any field work,                   the facility evaluation, including any
                                            information used to identify and assess                 such as soil sampling, necessary to                   conclusions regarding the status of each
                                            CCRMU at the facility, including but not                determine whether areas that had been                 CCRMU at the facility, must be
                                            limited to any construction diagrams,                   identified as a potential CCRMU in fact               assembled and incorporated into a FER,
                                            engineering drawings, permit                            contain at least one ton of CCR and to                which is described in detail below.
                                            documents, wastestream flow diagrams,                   obtain the information required for the                  EPA is finalizing that Part 2 FER must
                                            aerial photographs, satellite images,                   FER.                                                  contain the following: (1) The name and
                                            historical facility maps, any field or                     The complexity of past and current                 address of the person(s) owning and
                                            analytical data, groundwater monitoring                 facility operations, combined with the                operating the facility; the unit name
                                            data or reports, inspection reports,                    amount of data that was available for                 associated with any regulated CCR unit
                                            documentation of interviews with                        review during the information review                  and CCRMU containing one ton or more
                                            current or former facility workers, and                 phase would impact how extensive the                  of CCR at the facility; and the
                                            other documents or sources of                           facility inspection must be. For                      identification number of each CCR unit
                                            information used to identify and assess                 example, if facility records are sparse or            and CCRMU if any have been assigned
                                            CCRMU at the facility; (13) narrative                   contain data gaps, the Agency expects                 by the State; (2) The location of any
                                            description of any data gaps, for                       that the facility inspection would be                 CCRMU containing one ton or greater
                                            information in paragraphs (c)(i) through                more thorough than in situations where                identified on the most recent U.S.
                                            (xiii) of this section, not available in                detailed records exist. However, even in              Geological Survey (USGS) 7.5-minute or
                                            existing information collection records                 situations where detailed facility
                                                                                                                                                          15-minute topographic quadrangle map,
                                            and a plan for remedying identified data                records exist, the facility must still
                                                                                                                                                          or a topographic map of equivalent scale
                                            gaps through a physical examination of                  conduct a visual inspection to ensure
                                                                                                                                                          if a USGS map is not available. The
                                            the facility, including any field or                    that all CCRMU containing one ton or
                                                                                                                                                          location of each regulated CCR unit at
                                            laboratory work needed to remedy data                   more of CCR have been identified,
                                                                                                                                                          the facility must also be identified in the
                                            gaps in the FER Part 1 record. The plan                 whether or not those areas were
                                                                                                                                                          same manner; (3) A statement of the
                                            must include the major milestones                       identified in the initial document
                                                                                                                                                          purpose(s) for which each CCRMU at
                                            needed to fill the identified data gaps                 review. In addition, EPA expects that in
                                                                                                                                                          the facility is or was being used; (4) A
                                            (e.g., a physical examination of the                    most cases, a facility will need to
                                                                                                                                                          description of the physical and
                                            facility, sampling of media,                            conduct some sampling or other
                                                                                                    fieldwork to obtain all the information               engineering properties of the foundation
                                            measurements of CCR concentrations in
                                                                                                    required for the FER. For example, even               and abutment materials on which each
                                            and around the unit or physical
                                                                                                    if the facility had as-built engineering              CCRMU was constructed; (5) Any
                                            presence, delineation of CCR
                                                                                                    drawings for an old landfill, EPA                     further evidence of known spills or
                                            management unit(s)) and dates to
                                                                                                    expects that in some cases the facility               releases of CCR, including any
                                            complete such needed tasks. Also, as
                                                                                                    may still need to conduct some                        associated remediation activities, of
                                            necessary and timely, any updates to
                                                                                                    sampling to establish the lateral and                 CCR from each CCRMU and whether the
                                            data gap remedy plans must be added to
                                            the public record during the FER Part 1.                vertical dimensions of the CCRMU.                     spills or releases were reported to State
                                            In addition, the FER is required to                        A facility can use a variety of visual             or Federal agencies; (6) Any further
                                            include a certification from a P.E.                     means to inspect the entire site (e.g.,               evidence of structural instability of each
                                            stating that the FER meets the                          physically walking the site, using                    CCRMU; (7) Any further evidence of
                                            requirements at § 257.75(c).                            motorized vehicles to inspect the site,               groundwater contamination associated
                                                                                                    using drone video footage to inspect the              or potentially associated with each
                                            ii. Facility Evaluation Report Part 2—                  site) to confirm the information                      CCRMU; (8) The size of each CCRMU,
                                            Physical Evaluation and Remedy of Data                  obtained from the information review in               including the general lateral and vertical
                                            Gaps                                                    Part 1 and to identify any anomalies that             dimensions and an estimate of the
                                               A facility must conduct a physical site              warrant further investigation, such as an             volume of CCR contained within the
                                            inspection of the entire facility in all                unnatural topographic rise or                         unit; (9) Identification of the types of
                                            cases. The purpose of the physical site                 depression or an area where unspecified               CCR in each CCRMU; (10) A narrative
                                            inspection is to visually inspect the                   liquid waste was applied over several                 description of any closure activities that
                                            entire facility for evidence of CCR                     years. EPA recommends that any                        have occurred, including any applicable
                                            placement on the land, ensure that all                  sampling be conducted using standard                  engineering drawings or reports; (11) A
                                            CCRMU containing one ton or more of                     industry methods, including any                       narrative that documents the nature and
                                            CCR have been identified, and fill any                  relevant standards and methodologies                  extent of field oversight activities and
                                            data gaps identified during the initial                 established by State environmental                    data reviewed as part of the facility
                                            information evaluation. To that end,                    agencies. The FER must also include a                 evaluation process, and that lists all
                                            EPA is finalizing without revision the                  discussion of quality assurance                       data and information that was reviewed
                                            requirement that the physical site                      procedures, sampling equipment                        indicating the presence or absence of
                                            inspection must consist of a visual                     handling, sample collection, analytical               CCRMU at the facility; and (12) Any
                                            inspection of the entire facility to look               methods, and data reporting.                          additional supporting information used
                                            for evidence that CCR is currently being                   If, after conducting a thorough                    to identify and assess CCRMU at the
                                            managed on the land. At a minimum, a                    document review and a visual                          facility, including but not limited to any
                                            facility is required to visually inspect                inspection, the facility has found no                 construction diagrams, engineering
                                            the site to confirm the information                     evidence of any CCRMU, no further                     drawings, permit documents,
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                                            obtained from the information review                    testing or sampling would be required to              wastestream flow diagrams, aerial
                                            phase and to identify any anomalies that                conclude that there is no CCRMU                       photographs, satellite images, historical
                                            warrant further investigation, such as an               present at the facility. EPA is not                   facility maps, any field or analytical
                                            unnatural topographic rise or                           requiring facilities to conduct                       data, groundwater monitoring data or
                                            depression or an area where unspecified                 widespread site sampling to prove that                reports, inspection reports,
                                            liquid waste was applied over several                   no CCRMU exists on-site. All recorded                 documentation of interviews with


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                                            current or former facility workers, and                 role of the P.E. is to act as an engineer             short to complete all the tasks required,
                                            other documents or sources of                           in information collection, data gap                   for the FER, e.g., the difficulty in
                                            information used to identify and assess                 identification, physical site inspection,             collecting historic information/data that
                                            CCRMU at the facility. In addition, the                 and remedy of data gaps and certify                   may or may not be accessible at the
                                            FER is required to include a certification              accordingly. As stated in the preamble                facility or place of off-site records
                                            from a P.E. stating that the FER meets                  of the 2015 CCR Rule, EPA reasoned                    retention, the possible extensive volume
                                            the requirements at § 257.75(c).                        that the requirement for a P.E. maintains             of information, reports and/or data that
                                               In addition to the information                       the most important components of any                  owner or operators would need to
                                            described in numbers (1)-(12) in the                    certification requirement: (1) That the               review, the possible iterative nature of
                                            preceding paragraph, Part 2 of the FER                  engineer be qualified to perform the task             field work and sampling, the impact of
                                            must include a narrative that documents                 based on training and experience; and                 seasonal disruptions to field work, the
                                            the nature and extent of field oversight                (2) that she or he be a professional                  lack of qualified field personnel and the
                                            activities and data reviewed as part of                 engineer licensed to practice                         timing to acquire their services through
                                            the facility evaluation process, and that               engineering under the title Professional              contracts. Commenters suggested
                                            lists all data and information reviewed                 Engineer which requires following a                   allowing significantly more time to
                                            that indicated the absence or presence                  code of ethics with the potential of                  complete individual aspects of the FER
                                            of any CCRMU containing one ton or                      losing his/her license for negligence.                requirements.
                                            more of CCR at the facility. The                        The final rule requirements are                          EPA has reviewed the information
                                            narrative must also discuss how each                    sufficient for an P.E. to implement the               provided by commenters citing the
                                            data gap identified in Part 1 was                       final rule and follow industry standards.             shortages and backlogs of qualified
                                            addressed. As many commenters stated,                       Other commenters raised that the P.E.             contractors, increased strain on those
                                            the physical examination and any field                  certification requirement is overly                   contractors related to the number of
                                            work will require the hiring of                         burdensome and will extend the                        CCR units complying with the CCR rule
                                            specialized contractors. EPA                            timeframe to complete the facility                    simultaneously, difficulty accessing and
                                            understands this level of field and                     evaluation. EPA has re-structured the                 reviewing historical documentation,
                                            laboratory work will require a detailed                 process for the FER by extending the                  potential seasonal disruptions, and time
                                            work plan, and EPA expects the FER                      time frame and separated the FER into                 needed to perform quality control and
                                            Part 1 data gap remedy plan to reflect                  two parts with separate and adequate                  quality assurance, and considers it to be
                                            this detail, including milestones and                   time frames to prepare the reports.                   persuasive. After considering these
                                            time frames for completion. EPA also                    When determining the new compliance                   factors EPA has extended the time frame
                                            anticipates that as field activities                    deadlines, EPA considered the shortages               and separated the FER into two parts
                                            commence, plans to address data gaps                    and backlogs of qualified contractors as              with separate and adequate time frames
                                            may change and/or additional field                      well as the increased strain on those                 to prepare the reports.
                                            work may be necessary based on                          contractors.                                             The FER Part 1 is required to be
                                            ongoing discoveries. In these cases, the                    Another commenter asked for EPA to                prepared and placed in the operating
                                            owner or operators will need to update                  modify or add language to acknowledge                 record and posted on the facility’s
                                            the plans accordingly and update the                    the good faith and due diligence efforts              website, pursuant to § 257.105(f) no
                                            publicly available information in the                   of a P.E., especially when considering                later than 15 months after the effective
                                            Part 1 or Part 2 FER, depending on the                  the age and nature of the potential                   date of the final rule. This time frame
                                            timing of the update.                                   CCRMUs. EPA does not agree with this                  was determined based on suggestions
                                                                                                    suggestion. As discussed above, EPA                   from commenters as to the time
                                            b. Certification of Facility Evaluation                                                                       necessary to conduct a thorough review
                                                                                                    discussed in the preamble of the 2015
                                            Report—Part 1 and Part 2                                                                                      of historic records, and, if necessary,
                                                                                                    CCR Rule that the P.E. follows a code of
                                               The Agency proposed to require that                  ethics with the potential of losing their             conduct interviews of those with facility
                                            the FER include a certification from a                  license for negligence. As stated in the              and site knowledge, and by EPA further
                                            P.E. stating that the FER meets the                     2015 CCR Rule preamble, the Agency                    considering the time needed under
                                            requirements at § 257.75(c). Further, the               maintains that an engineer is able to                 RCRA Subtitle C and CERCLA to do
                                            Agency proposed to require that the FER                 give fair and technical review because of             similar reviews for historic sites.
                                            include a certification to be signed by                 the oversight programs established by                    The FER Part 2 is required to be
                                            the owner or operator or an authorized                  the State licensing boards that will                  prepared and included in the public
                                            representative similar to the                           subject the professional engineer to                  record no later than 27 months after the
                                            certification that is required at                       penalties, including the loss of license              effective date of the final rule. EPA
                                            § 257.102(e) and § 257.102(f) for existing              and potential fines if certifications are             established this time frame by also
                                            units undergoing closure. Commenters                    provided when the facts do not warrant                considering suggestions from
                                            raised concerns that the rules were not                 it.                                                   commenters, who gave examples of
                                            sufficiently objective or technically                       EPA does not agree with suggestions               timelines to hire contractors and
                                            precise for a P.E. to be able to certify.               to modify the certification and therefore             conduct site work, as well as EPA’s own
                                            One commenter raised that EPA has                       we are finalizing the certification                   experience and timelines at RCRA
                                            indicated that no facility has                          language as proposed.                                 Subtitle C and CERCLA sites for
                                            successfully implemented the 2015 CCR                                                                         conducting facility investigations. EPA
                                            Rule’s requirements to date, even                       c. Facility Evaluation Reports Deadlines              believes the provided limited additional
                                            though facilities have secured the                         The majority of the comments related               time is adequate to perform all
                                            certification of Qualified Professional                 to the timing and due date of the FER                 necessary tasks under the FER, Part 1
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                                            Engineers as prescribed by the 2015                     report stated that EPA had not allowed                and Part 2 respectively.
                                            CCR Rule.                                               sufficient time to gather the required                   After completing the information
                                               These commenters have                                information and conduct a physical                    gathering part of the facility evaluation
                                            misunderstood the purpose and role of                   inspection of the facility. Comments                  process, owners or operators of covered
                                            the P.E. in the FER reports. The P.E.                   cited many concerns with the proposed                 facilities must compile and place in the
                                            does not make final determinations; the                 time frame, i.e., the time frame was too              operating record information pertaining


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                                            to every CCRMU containing one ton or                    although a commenter suggested that                   developed (i.e., permitting programs).
                                            more of CCR located at the facility no                  CCRMU be subject to more existing CCR                 Comments regarding lack of authority or
                                            later than the deadline identified below.               regulations, namely the location                      lack of demonstrated risk from CCRMU
                                            Both Part 1 and Part 2 of the FER must                  restrictions at §§ 257.60 through 257.64,             are summarized and addressed in Units
                                            be posted to the facility’s CCR publicly                the liner design criteria at § 257.71, and            III.A and III.C.2.a.i of this preamble,
                                            accessible internet site within 30 days of              the structural stability requirements at              respectively. Comments about the
                                            that date. In developing the list of items              § 257.73. This commenter stated that                  applicability of specific existing
                                            to be included in the FER, the Agency                   these requirements were necessary to                  requirements are described and
                                            examined certain requirements from                      protect human health and the                          responded to in later portions of this
                                            existing regulations for History of                     environment from the risk of failure                  unit (Unit III.C.4). Regarding comments
                                            Construction reports that must be                       posed by poorly constructed and sited                 about the existing regulations being
                                            generated for existing CCR surface                      CCRMU and to provide information                      what commenters characterized as a
                                            impoundments at § 257.73(c)(1) as well                  ‘‘critical’’ to developing unit closure               ‘‘one-size-fits-all’’ approach to the
                                            as other requirements necessary to                      plans and any necessary corrective                    variety of CCR units captured under the
                                            provide basic information about each                    action.                                               definition of CCRMU, EPA disagrees
                                            CCRMU containing one ton or more of                        EPA disagrees that generally applying              that the existing regulations are not
                                            CCR at the facility.                                    location restrictions, the structural                 holistically appropriate to apply to
                                               After gathering the information                      stability requirements, and the liner                 CCRMU or to address the potential risk
                                            required for the FER Part 1 (i.e., not                  design criteria to CCRMU would be                     from these units. Furthermore,
                                            including a physical evaluation of the                  appropriate. First, as explained in the               commenters did not provide suggestions
                                            facility), the owner or operator must                   proposed rule, the structural stability               on how to regulate these units under the
                                            prepare a Part 1 FER by placing the                     criteria are more appropriate for                     existing regulatory framework (i.e., self-
                                            information required in the facility’s                  operational units and those units that                implementing rule) and EPA, as
                                            operating record as required by                         maintain a hydraulic head. Second, the                explained in Units III.A and III.C.1,
                                            § 257.105(f)(25).                                       consequence of failing to comply with                 finds the risks posed by these units to
                                                                                                    the location restrictions and liner design            be not only credible but significant
                                            4. Applicable Existing CCR
                                                                                                    criteria requirements is closure by a                 enough to warrant regulation at this
                                            Requirements for CCR Management
                                                                                                    specific date. 40 CFR 257.101(a) through              time (i.e., under the self-implementing
                                            Units and Compliance Deadlines
                                                                                                    (b)(1). Except for those situations                   rule as opposed to waiting until the
                                               EPA proposed that in addition to the                 described in Unit III.C.4.e (i.e., deferral           Federal permitting program is
                                            facility evaluation requirements                        for CCRMU beneath critical                            established).
                                            discussed in Unit III.C.3 of this                       infrastructure and deferral for CCRMU                    In response to comments and for the
                                            preamble, owners or operators of a CCR                  closed under a regulatory authority),                 reasons laid out below, EPA is finalizing
                                            facility comply with the existing                       because CCRMU are not operational                     the requirements for CCRMU to comply
                                            requirements in part 257 for fugitive                   CCR units and will in any event be                    with fugitive dust, groundwater
                                            dust, groundwater monitoring,                           required to close, the consequence for                monitoring, corrective action, closure,
                                            corrective action, closure, post-closure                failure to comply with location                       post-closure care, recordkeeping,
                                            care, recordkeeping, notification, and                  restrictions or the liner design criteria             notification, and internet posting
                                            internet posting. As explained in the                   (i.e., ceased receipt of waste and                    requirements. These requirements apply
                                            preamble of the proposed rule, these                    closure) is moot. Additionally, the                   to all CCRMU at active CCR facilities, at
                                            requirements are intended to address                    commenter failed to identify any                      inactive facilities with one or more
                                            the risks posed by any existing releases                information necessary for conducting                  legacy CCR surface impoundments, and
                                            of CCR or CCR constituents to the                       corrective action pursuant to §§ 257.96               at active facilities that ceased placement
                                            groundwater, regardless of when the                     through 257.98 or closure in accordance               of CCR in onsite CCR units before
                                            CCR was placed in the units and                         with §§ 257.101 and 257.102 that would                October 19, 2015, regardless of how or
                                            prevent future releases. The other                      be gained by requiring CCRMU to                       when the CCR was placed in the
                                            existing requirements in 40 CFR part                    comply with the location restrictions or              CCRMU. These issues are discussed in
                                            257, subpart D are not necessary for                    liner design criteria that would not be               more detail in this Unit of the preamble.
                                            CCRMU. For example, (1) since CCRMU                     gained by compliance with the facility
                                            should not contain sufficient liquids to                                                                      a. Compliance Deadlines for CCR
                                                                                                    evaluation and groundwater monitoring
                                            create a hydraulic head or to otherwise                                                                       Management Units
                                                                                                    requirements.
                                            cause the conditions that might lead to                    Other commenters opposed the                          EPA proposed compliance deadlines
                                            a structural failure, the structural                    regulation of CCRMU holistically, citing              for CCRMU that closely aligned to the
                                            stability requirements are not                          lack of authority or lack of demonstrated             proposed compliance deadlines for
                                            appropriate; (2) similar to legacy CCR                  risk to human health or the environment               legacy CCR surface impoundments. The
                                            surface impoundments, since CCRMU                       from CCRMU. Other commenters                          proposed rule explained that the 2015
                                            are existing units and will be required                 opposed EPA’s proposal to apply                       CCR Rule compliance deadlines were
                                            to close, the location restriction and                  specific existing requirements to                     based on the amount of time determined
                                            liner design requirements would not be                  CCRMU (i.e., groundwater monitoring,                  to be necessary to implement the
                                            appropriate. EPA proposed that the                      corrective action, closure). Several of               requirements and the proposed
                                            fugitive dust, groundwater monitoring,                  the commenters that opposed requiring                 compliance dates for legacy CCR surface
                                            corrective action, closure, post-closure                CCRMU to comply with the existing                     impoundments, and CCRMU were
                                            care, recordkeeping, notification, and                  regulations stated that applying a ‘‘one-             determined using the same approach.
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                                            internet posting requirements apply to                  size-fits-all’’ approach to CCRMU was                 The proposed rule further explained
                                            all CCRMU at active facilities and at                   not appropriate due to the variety of                 that some factors considered in
                                            inactive facilities with one or more                    units that would be captured in the                   determining the 2015 CCR Rule
                                            legacy CCR surface impoundment.                         definition of CCMRU and suggested the                 compliance deadlines were not relevant
                                               Several commenters generally                         EPA wait to regulate these units until                for CCRMU, such as the need to
                                            supported the regulatory approach,                      site-specific requirements could be                   coordinate compliance deadlines with


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                                            the then recently promulgated ELG rule.                 nationwide labor shortage exacerbated                 potential for an underestimation of the
                                            In addition, EPA anticipated most                       by impacts from the COVID–19                          CCRMU universe given the number of
                                            owners or operators of CCRMU would                      pandemic; limited existing alternative                comments received regarding non-
                                            already be familiar with the existing                   disposal options; overlapping regulatory              containerized CCR historically being
                                            regulations, and therefore most of the                  requirements (e.g., State drilling                    spread across facilities. Additionally,
                                            proposed requirements for CCRMU.                        permits, timing restrictions related to               EPA agrees that the shortage of qualified
                                            Consequently, EPA proposed generally                    protected habitats, State CCR permits,                contractors and laboratory resources has
                                            expedited deadlines, as compared to the                 Consent Decrees/Orders); seasonality                  persisted, if not increased, since the
                                            2015 CCR Rule deadlines, based on the                   impacts in different regions across the               2015 CCR Rule and that the increasing
                                            expected shortest average amount of                     nation; and accessibility and                         demand on these finite resources from
                                            time needed to complete the necessary                   completeness, or lack thereof, of                     new and existing CCR units, legacy CCR
                                            activities to meet the requirements. In                 historical documentation and                          surface impoundments, and CCRMU
                                            the proposed rule, EPA requested                        information. One commenter provided                   complying with overlapping
                                            comment on the proposed compliance                      specific information regarding typical                requirement deadlines will likely result
                                            deadlines and the feasibility of meeting                delays experienced during the                         in additional delays. EPA acknowledges
                                            the proposed compliance time frames                     implementation of the 2015 CCR Rule                   that the proposed deadlines did not
                                            for CCRMU.                                              caused by third-party availability and                adequately account for those nationwide
                                               EPA received numerous comments                       backlogs: two to four weeks for                       impacts of seasonality and extreme
                                            regarding the proposed compliance                       contractor mobilization; two to six                   weather events; necessary coordination
                                            deadlines. Several commenters                           weeks for site clearing; two to three                 with outside parties (e.g., State agencies,
                                            expressed support for the proposed                      weeks for surveys; three to 12 weeks for              local governments); locating disposal
                                            compliance deadlines for CCRMU.                         environmental drillers; and three to four             capacity for those units closing by
                                            Generally, these commenters stated that                 weeks for laboratory analyses. These                  removal; the need to comply with
                                            expedited compliance was appropriate                    commenters also said EPA grossly                      overlapping regulatory requirements,
                                            due to significant risk posed by these                  underestimated the amount of time                     such as State drilling permits or timing
                                            units, the likelihood that these units are              needed to hire a contractor, locate and               restrictions related to protected habitats;
                                            actively contaminating groundwater,                     review historical information, access                 or necessary quality assurance and
                                            and the urgent need for corrective action               historical or heavily vegetated portions              quality control in calculating the
                                            to address that contamination for the                   of facilities, characterize and delineate a           proposed deadlines. Furthermore, as
                                            protection of human health and the                      site, comply with the groundwater
                                            environment. Some of these                                                                                    detailed in Unit III.C.3.c, EPA
                                                                                                    monitoring requirements, and conduct                  recognizes that the proposed CCRMU
                                            commenters echoed the proposed rule,                    quality control or quality assurance on
                                            stating that owners’ or operators’                                                                            deadlines did not provide sufficient
                                                                                                    data and reports. Several of these                    time for the completion of the FER
                                            familiarity with the existing                           commenters expressed the belief that
                                            requirements, along with the fact that                                                                        which serves as the prerequisite
                                                                                                    the proposed deadlines would result in                requirement for all other CCRMU
                                            these units are no longer in use and                    unintentional non-compliance despite
                                            therefore would not need time to cease                                                                        requirements. Additionally, the
                                                                                                    facilities’ best efforts to comply due to             concurrent deadlines for legacy CCR
                                            receipt of waste, further justified the                 the constraints listed above. Finally, a
                                            expedited deadlines.                                                                                          surface impoundments and CCRMU did
                                                                                                    few commenters suggested EPA create                   not allow for inactive facilities to first
                                               Many other commenters stated the
                                                                                                    alternative deadlines or mechanisms for               determine if there is a legacy CCR
                                            proposed compliance deadlines were
                                                                                                    extensions based on site-specific                     surface impoundments onsite before
                                            infeasible and should, at a minimum,
                                            allow as much time for compliance as                    characteristics.                                      complying with the CCRMU regulations.
                                            the 2015 CCR Rule deadlines, although                      In response to comments, EPA                       Therefore, as detailed in Units III.C.3
                                            several commenters expressed that even                  reevaluated the compliance deadlines                  and III.C.4.c through e, EPA extended
                                            the 2015 CCR Rule deadlines were                        for CCRMU. EPA reconsidered the                       the deadlines for CCRMU to provide: (1)
                                            inadequate, and that the insufficient                   impact of the following on the amount                 At least as much time facilities had to
                                            time frames were likely a factor in the                 of time facilities needed to complete the             come into compliance with the 2015
                                            gap between EPA’s expectations and                      activities involved in meeting the                    CCR Rule, (2) Sufficient time for owners
                                            facilities’ good faith efforts and                      requirements: the potential size of the               or operators to complete a robust FER,
                                            utilization of best practices in                        CCRMU universe; accessibility and                     and (3) Additional time such that the
                                            developing groundwater monitoring                       abundance, or lack thereof, of historical             deadlines for legacy CCR surface
                                            networks, sampling and analysis plans,                  documentation; seasonality; clearing                  impoundment do not coincide with the
                                            corrective action programs, and closure                 restrictions and required local and State             CCRMU deadlines, with the exception
                                            plans. Commenters pointed to several                    approvals to clear vegetation or drill                of the requirement to establish a CCR
                                            factors that they believed EPA did not                  wells; need to coordinate with local or               website and the completion of the
                                            fully incorporate into the proposed                     State regulatory authorities; existing                history of construction (for legacy CCR
                                            deadline calculations that make                         disposal options; impact of the national              surface impoundments) and the FER
                                            compliance with the proposed                            labor shortage and contractor and                     Part 1 (for CCRMU) which can be
                                            deadlines infeasible: EPA’s grossly                     laboratory backlogs; and the strain on                conducted concurrently. These
                                            underestimated number of CCRMU; the                     limited resources from overlapping                    extended deadlines for CCRMU will
                                            large number of CCR units (i.e., existing               compliance deadlines for legacy CCR                   mitigate factors mentioned by
                                            CCR units, legacy CCR surface                           surface impoundments, existing units                  commenters that convinced EPA the
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                                            impoundments, CCRMU) competing for                      (i.e., groundwater monitoring, closure,               proposed deadlines would be infeasible
                                            limited resources to meet overlapping                   and post-closure care), and CCRMU.                    for CCRMU. Overall, most of the
                                            compliance deadlines; the limited                       Overall, EPA found the information                    comments EPA received supported
                                            number of qualified contractors                         provided regarding the infeasibility of               deadlines that allowed at least as much
                                            available to conduct necessary activities               the proposed deadlines convincing.                    time as EPA originally provided in the
                                            to reach the compliance deadlines; the                  Specifically, EPA acknowledges the                    2015 CCR Rule.


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                                               Note that all deadlines herein are                          the final rule. Accordingly, facilities                                 document in the docket for this rule that
                                            framed by reference to the effective date                      will have an additional six months                                      summarizes the finalized compliance
                                            of the rule; the final rule will be                            beyond the deadlines to come into                                       deadlines.142
                                            effective six months after publication of                      compliance. The Agency has included a

                                                                                          TABLE 2—FINAL COMPLIANCE TIME FRAMES FOR CCRMU
                                                                                                                                                                            Deadline
                                                                                                                                                                          (months after
                                               40 CFR Part 257, Subpart D                   Description of requirement to be completed                                       effective                               Date
                                                      requirement                                                                                                          date of the
                                                                                                                                                                            final rule)

                                            Internet Posting (§ 257.107) ........       Establish CCR website ........................................             15 ...............................   Monday, February 9, 2026.
                                            Facility Evaluation Report                  Complete the Facility Evaluation Report Part 1 ..                          15 ...............................   Monday, February 9, 2026.
                                               (§ 257.75).
                                            Facility Evaluation Report                  Complete the Facility Evaluation Report Part 2 ..                          27 ...............................   Monday, February, 8, 2027.
                                               (§ 257.75).
                                            GWMCA (§ 257.91) .....................      Install the groundwater monitoring system ..........                       42 ...............................   Monday, May 8, 2028.
                                            GWMCA (§ 257.93) .....................      Develop the groundwater sampling and analysis                              42 ...............................   Monday, May 8, 2028.
                                                                                           program.
                                            GWMCA (§§ 257.90–257.95) ......             Initiate the detection monitoring and assessment                           42 ...............................   Monday, May 8, 2028.
                                                                                           monitoring. Begin evaluating the groundwater
                                                                                           monitoring data for SSIs over background lev-
                                                                                           els and SSLs over GWPS.
                                            GWMCA (§ 257.90(e)) .................       Complete the initial annual GWMCA report ........                          January 31, 2029 .......             January 31, 2029.
                                            Closure (§ 257.102) .....................   Prepare written closure plan ................................              48 ...............................   Wednesday, November 8, 2028.
                                            Post-Closure Care (§ 257.104) ....          Prepare written post-closure care plan ................                    48 ...............................   Wednesday, November 8, 2028.
                                            Closure and Post-Closure Care               Initiate closure ......................................................    54 ...............................   Tuesday, May 8, 2029.
                                              (§ 257.101).



                                            b. Fugitive Dust Requirements for CCR                          or change in facility or CCR unit                                       a CCR unit or change in facility or CCR
                                            Management Units                                               operations.                                                             unit operations.
                                               The air criteria in the existing                               No commenters raised concern about                                   c. Groundwater Monitoring and
                                            regulations address the pollution caused                       requiring CCRMU to comply with the
                                                                                                                                                                                   Corrective Action Requirements for CCR
                                            by windblown dust by requiring the                             existing requirements in § 257.80. EPA
                                                                                                                                                                                   Management Units
                                            owners or operators of CCR units to                            is therefore finalizing this provision
                                            minimize CCR from becoming airborne                            without revision.                                                          EPA proposed to require CCRMU to
                                            at the facility. 40 CFR 257.80. These                             One commenter supported creating a                                   comply with the existing groundwater
                                            requirements apply to the entire facility,                     deadline for the amendment of the                                       monitoring and corrective action criteria
                                            which means that the owner or operator                         fugitive dust plan no later than 30 days                                in 40 CFR 257.90 through 257.98, with
                                            is required to minimize CCR fugitive                           following a triggering event. This                                      one revision, to require sampling and
                                            dust originating not only from the CCR                         commenter went on to suggest that EPA                                   analysis of constituents listed in
                                            unit, but also from roads and other CCR                        further revise § 257.80 to require owners                               Appendix IV at the same time as those
                                            management and material handling                               or operators to notify potentially                                      listed in Appendix III. As explained in
                                            activities at the facility. Consequently,                      impacted populations including                                          the proposed rule at 88 FR 32003,
                                            under the proposal, CCRMU would                                residents living within three miles of                                  §§ 257.90 through 257.95 require
                                            already be covered by the fugitive dust                        the plant, populations potentially                                      owners or operators of a CCR unit to
                                            requirements in § 257.80 because                               impacted by transportation of CCR, and
                                                                                                                                                                                   install a system of monitoring wells,
                                            CCRMU are located at facilities with a                         residents living near disposal areas
                                                                                                                                                                                   specify procedures for sampling these
                                            CCR unit. EPA therefore only proposed                          where CCR will be off-loaded and
                                            to make those changes to the fugitive                          disposed and to require air monitoring                                  wells, and set forth methods for
                                            dust requirements in § 257.80 that are                         at excavation sites and plant                                           analyzing the groundwater data
                                            necessary to make clear that these                             boundaries. The commenter was not                                       collected to detect hazardous
                                            requirements also apply to CCRMU.                              clear on the circumstances in which                                     constituents (e.g., toxic metals) and
                                            Specifically, EPA proposed to amend                            owners or operators would notify                                        other monitoring parameters (e.g., pH,
                                            the regulations to add ‘‘CCRMU’’ to the                        potentially impacted population or what                                 total dissolved solids) released from the
                                            list of units subject to the requirements                      these populations would be notified of                                  units. If the groundwater monitoring
                                            under § 257.80 and associated                                  and did not provide a factual basis to                                  required in § 257.95, demonstrates an
                                            provisions under §§ 257.105 through                            support the need for air monitoring at                                  exceedance of the groundwater
                                            257.107. Additionally, EPA solicited                           regulated CCR units. Therefore, EPA is                                  protection standards for constituents
                                            comments on amending § 257.80(b)(6) to                         therefore only finalizing an amendment                                  identified in Appendix IV of part 257,
                                            include a deadline for facilities to                           to § 257.80(b)(6) to require owners or                                  corrective action is required as laid out
                                                                                                                                                                                   in §§ 257.96 through 257.98. These
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                                            amend the fugitive dust control plan no                        operators to amend the fugitive dust
                                            later than 30 days following a triggering                      plan no later than 30 days following a                                  requirements apply until closure in
                                            event, such as the closure of a CCRMU                          triggering event, such as the closure of                                accordance with § 257.102(c) is


                                               142 A document ‘‘Final Rule Compliance

                                            Deadlines for CCR Management Units. April 2024.’’
                                            is available in the docket for this action.

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                                            complete or the post-closure care period                groundwater monitoring requirements                   wide or property-boundary groundwater
                                            of the CCRMU ends.                                      contained within the 2015 CCR Rule (24                monitoring due to the potential
                                               Several commenters expressed                         months from the effective date of the                 presence of CCRMU across the facility,
                                            support for requiring CCRMU to comply                   final 2015 rule) into two separate                    the commenters failed to explain how
                                            with these groundwater monitoring and                   deadlines (six months from the effective              the provisions at § 257.91(d), which
                                            corrective action requirements, stating                 date of the final rule for the installation           allow for multiunit groundwater
                                            CCRMU can and have caused                               of the groundwater monitoring network                 monitoring systems fail to address their
                                            groundwater contamination. Some                         and development of the groundwater                    concern.
                                            commenters suggested additional                         sampling and analysis plan and 24                        Regarding the request for alternative
                                            requirements be added to those in                       months from the effective date of the                 groundwater monitoring criteria to
                                            §§ 257.90 through 257.98, including a                   final rule for the initiation of the                  mitigate the inappropriateness of
                                            mandate to test groundwater quality                     combined detection and assessment                     requiring compliance with the CCR
                                            outside the boundary of the facility and                monitoring). A few commenters                         groundwater monitoring and corrective
                                            make those results public, a deadline for               expressed support of the two separate                 action requirements when the CCRMU
                                            the completion of the selection of                      deadlines for groundwater monitoring                  has already completed closure under a
                                            remedy required by § 257.97, and a                      requirements, stating it increased                    State authority or when the CCRMU is
                                            prohibition against using intrawell                     accountability and ensured owners or                  already subject to another State or
                                            groundwater data comparisons at                         operators were not unnecessarily                      Federal groundwater monitoring
                                            CCRMU. However, other commenters                        delaying the installation of the                      program, the commenters did not
                                            stated that applying the existing                       groundwater monitoring system.                        provide any factual or specific
                                            groundwater monitoring and corrective                   However, overall, commenters stated                   information to support the conclusions
                                            action requirements to CCRMU is not                     that the groundwater monitoring                       that groundwater monitoring and
                                            appropriate and suggested that instead                  requirements should have a single                     corrective action is not appropriate for
                                            EPA incorporate flexibility into the                    deadline as the separate deadlines made               all CCRMU that have completed closure
                                            CCRMU regulations by providing for                      compliance with the rule infeasible.                  under a State authority or that utilizing
                                            alternative groundwater monitoring                      Several commenters said the proposed                  or augmenting an existing groundwater
                                            standards and site-specific risk-based                  split deadlines eliminated the flexibility            monitoring network that may have been
                                            corrective action into the CCR                          necessary for compliance that was                     required as part of the State closure or
                                            regulations. These commenters                           contained within the 2015 CCR Rule’s                  other groundwater monitoring program
                                            suggested groundwater monitoring                        single deadline. Those commenters                     would be infeasible or inappropriate.
                                            standards that allow owners or                          went on to say the single deadline                    Furthermore, as explained in Unit
                                            operators to complete evaluations to                    allowed facilities to accommodate for                 III.C.4.e, EPA received comments
                                            determine if Appendix IV constituents                   delays associated with factors outside                regarding State closures during which
                                            are above the GWPS instead of                           their control, such as third-party                    no groundwater monitoring was
                                            conducting monitoring, allowing a site-                 availability, weather, and required                   required, thereby highlighting the need
                                            wide groundwater network, and                           permits or approvals, by making                       for groundwater monitoring and
                                            exempting units from groundwater                        schedule adjustments necessary to                     corrective action, if necessary, even in
                                            monitoring when owners or operators                     achieve compliance (e.g., expedite the                situations in which closure has been
                                            are able to demonstrate through site-                                                                         completed under a State authority.
                                                                                                    development of the sampling plan in the
                                            specific risk assessments there is no                                                                            For those commenters requesting that
                                                                                                    case of delays with the well
                                            probable risk to groundwater. These                                                                           EPA adopt ‘‘risk-based groundwater
                                                                                                    installation). Other commenters said the              monitoring and corrective action’’ into
                                            commenters said these alternative
                                                                                                    proposed two deadlines were                           the requirements, EPA notes that the
                                            approaches are necessary to address the
                                                                                                    unnecessarily prescriptive. One                       commenters have provided no further
                                            overburdensome nature of compliance
                                                                                                    commenter pointed out that the                        explanation of what requirements in the
                                            with groundwater monitoring and
                                                                                                    proposed rule contained no deliverables               existing regulations they wanted EPA to
                                            corrective action when a unit has
                                                                                                    to verify compliance for the installation             revise, what the revisions should
                                            already completed closure under a State
                                                                                                    of wells or the development of the                    accomplish, or any factual basis for why
                                            authority and when units are
                                                                                                    sampling and analysis plan.                           they are necessary or appropriate. As a
                                            completing groundwater monitoring
                                            under a State or other Federal program.                    As explained in the proposed rule, the             general matter EPA considers that the
                                            Some of these commenters stated that                    existing groundwater monitoring and                   corrective action regulations in
                                            EPA does not have the record to                         corrective action requirements are                    §§ 257.95 through 257.98 do currently
                                            demonstrate potential risk from these                   essentially the same requirements that                require facilities to tailor remedies to
                                            units to justify requiring groundwater                  have been applied to both hazardous                   address the risks to human health and
                                            monitoring and corrective action as laid                waste and municipal solid waste                       the environment, based on the
                                            out in the existing regulations,                        disposal units for decades, and with the              conditions at the site. It is unclear what
                                            especially for units that have already                  one exception discussed below, there is               more the commenters are seeking.
                                            completed closure under a State                         nothing about CCRMU that makes them                   Accordingly, EPA is finalizing the
                                            authority. Other commenters said that                   distinct enough to warrant separate                   proposal that CCRMU comply with the
                                            flexibility is needed due to the diversity              groundwater monitoring requirements                   existing groundwater monitoring and
                                            of CCR units captured in the definition                 from other CCR units. No commenter                    corrective action requirements with one
                                            of CCRMU, age of some of the units, and                 provided any factual basis for treating               modification, combined detection and
                                            overlapping State requirements.                         CCRMU differently than all of the other               assessment monitoring.
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                                               EPA further proposed two deadlines                   units that currently comply with the                     However, EPA agrees that having a
                                            for the groundwater monitoring                          same groundwater monitoring and                       single deadline for groundwater
                                            requirements, as opposed to the single                  corrective action requirements.                       monitoring requirements as opposed to
                                            deadline in the 2015 CCR Rule. EPA                      Specifically, for commenters who                      two deadlines allows flexibility to
                                            received numerous comments on EPA’s                     requested alternative groundwater                     complete tasks, such as installing
                                            proposal to split the single deadline for               monitoring requirements to allow site-                groundwater wells and collecting


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                                            independent samples, that is necessary                  laboratories for sample analysis) and the             seasonality restrictions, the nationwide
                                            for compliance with a nationwide rule.                  need for owners or operator of inactive               labor shortages, limited qualified
                                            The activities involved in achieving                    facilities to first determine if there are            contractor availability, the need for
                                            compliance with the groundwater                         legacy CCR surface impoundments                       State approvals and permits, and the
                                            monitoring requirements (i.e., drilling                 onsite. Finally, based on the above-                  number of facilities competing for
                                            wells, collecting samples, receiving lab                mentioned factors and the information                 limited resources as reasons for why the
                                            results) are more susceptible to factors                provided by commenters, specifically                  proposed expedited deadline is
                                            outside a facility’s control, such as                   the information regarding the suspected               infeasible. A few commenters noted that
                                            extreme weather events, shortages of                    underestimation of the CCRMU universe                 in recent decisions on Part A
                                            qualified contractors, and permitting or                due to historic facility-wide placement               demonstrations, EPA cited deficiencies
                                            approval delays, and therefore, warrant                 of non-containerized CCR on land, time                in the groundwater monitoring network
                                            greater flexibility. Additionally,                      needed to obtain necessary approvals                  as a basis for noncompliance. These
                                            activities can be restricted dependent on               (e.g., State permits to drill water wells             commenters went on to state that the
                                            the time of year and the location of the                or clear vegetation), and to                          proposed deadline does not facilitate
                                            facility (e.g., due to seasonality,                     accommodate for seasonality, EPA has                  the establishment of a monitoring
                                            protected species, clearing restrictions).              calculated 18 months as the appropriate               system that would meet the standards
                                            Because the groundwater monitoring                      extension of the groundwater                          laid out in the CCR rule or the recent
                                            requirements build upon each other,                     monitoring system deadlines for the                   proposed decisions and thus, the
                                            EPA must ensure that facilities                         latest groundwater monitoring                         proposed deadline creates de facto non-
                                            nationwide are reasonably able to                       requirement. In the proposed rule, the                compliance. Some of these commenters
                                            achieve regulatory compliance by the                    latest proposed deadline for                          elaborated by saying that the deadline
                                            deadline. Utilizing a single deadline for               groundwater monitoring requirements                   does not allow facilities to acquire the
                                            the groundwater monitoring                              was the deadline of 24 months from the                permits that may be required to drill
                                            requirements allows facilities to make                  effective date of this final rule for the             wells and precludes the observation of
                                            reasonable accommodations for regional                  initiation of the combined detection and              groundwater levels over time, which is
                                            factors in a way the proposed deadlines                 assessment monitoring and the                         needed to properly characterize
                                            do not, while still maintaining the same                collection of the eight baseline samples.             groundwater flow. Other commenters
                                            level of protection for human health and                Therefore, EPA is finalizing a single                 stated meeting the proposed compliance
                                            the environment. Furthermore, EPA                       deadline of no later than 42 months                   deadline would prevent a facility from
                                            agrees that the proposed rule does not                  after the effective date of this final rule           conducting proper site characterization,
                                            have a clear mechanism for facilities to                for the groundwater monitoring                        which is needed to inform well
                                            prove compliance or for interested                      requirements found at §§ 257.90 through               placement and depth and providing
                                            parties to verify compliance with the                   257.95.                                               P.E.s sufficient information to certify the
                                            separate deadlines for the installation of              i. Design and Installation of the                     groundwater monitoring system. Lastly,
                                            the groundwater monitoring network                      Groundwater Monitoring System for                     commenters stated that contrary to
                                            and the development of the                              CCR Management Units                                  EPA’s assertion in the proposed rule
                                            groundwater sampling and analysis                                                                             that expediting the installation of the
                                                                                                       EPA proposed that owners or
                                            plan.                                                                                                         groundwater monitoring network is
                                                                                                    operators of CCRMU install the
                                               As stated in Unit III.C.4.a, EPA                     groundwater monitoring system as                      protective of human health and the
                                            recognizes that the proposed CCRMU                      required by § 257.91 no later than six                environment, to meet the proposed
                                            deadlines did not provide sufficient                    months from the effective date of this                deadline, facilities would likely be
                                            time for the completion of the FER and                  final rule. EPA further proposed that                 forced to design groundwater
                                            therefore extended the deadline for the                 existing monitoring wells can be used as              monitoring systems based on inadequate
                                            completion of the FER by 24 months as                   a part of the CCRMU groundwater                       data resulting in unreliable groundwater
                                            detailed in Unit III.C.3.c. The FER                     monitoring systems provided the wells                 monitoring data. Commenters provided
                                            informs the owner or operator of the                    meet the Federal criteria. As explained               estimates of time needed to comply with
                                            presence or absence of CCRMU at the                     in the proposed rule, based on the                    the design and installation of the
                                            facility, which is vital information for                amount of time most facilities needed to              groundwater monitoring system
                                            the completion of the groundwater                       complete or to collect baseline                       requirements ranging from nine to 36
                                            monitoring system requirements (i.e.,                   sampling, EPA calculated that facilities              months.
                                            design and installation of the                          would be able to install the necessary                   As stated in Unit III.C.4.a of this
                                            groundwater monitoring system). As                      monitoring wells within a single year.                preamble, in response to comments EPA
                                            such, the deadline for the groundwater                     As mentioned earlier, some                         reevaluated the compliance deadline for
                                            monitoring requirements must be                         commenters supported the expedited                    the design and installation of the
                                            extended as well to allow owners or                     deadlines. However, most commenters                   groundwater monitoring network and
                                            operators time to locate CCRMU as part                  stated the proposed deadline of six                   found the information provided
                                            of the FER. Furthermore, EPA was                        months from the effective date of the                 regarding the general infeasibility of the
                                            convinced that the deadlines for                        final rule for the design and installation            proposed deadline compelling.
                                            compliance with the legacy CCR surface                  of the groundwater monitoring network                 Specifically, EPA agrees that more time
                                            impoundments and CCRMU                                  was infeasible and should be extended                 is needed to allow inactive facilities
                                            requirements should be offset to                        to no less than 24 months from the                    time to determine if a legacy CCR
                                            mitigate impacts mentioned by                           effective date to align with the 2015 rule            surface impoundment is online prior to
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                                            commenters regarding the current labor                  deadline. As explained above, many of                 complying with the CCRMU
                                            shortages and backlogs experienced by                   these commenters expressed the need                   requirements and to account for limited
                                            third-parties necessary to accomplish                   for a single deadline for groundwater                 third-party availability (e.g., contractor
                                            tasks involved in complying with the                    monitoring requirements. Furthermore,                 shortages and laboratory backlogs),
                                            groundwater monitoring requirements                     as described in Unit III.C.4.a of this                seasonality and extreme weather events,
                                            (e.g., drillers for well installation,                  preamble, these commenters cited                      procuring a contractor, complying with


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                                            overlapping regulatory requirements,                    additional monitoring wells necessary                 the background samples are collected
                                            and coordinating with outside parties.                  to achieve the general performance                    before CCR was placed in the unit and
                                            EPA acknowledges the importance of                      standard of accurately representing the               therefore, since these units are likely
                                            proper site characterization as the                     quality of the background groundwater                 already contaminating groundwater,
                                            foundation for designing a groundwater                  and the groundwater passing. See, 80 FR               they would be ineligible for intrawell
                                            monitoring system and is convinced                      21399. The number and placement of                    data comparisons. Other commenters
                                            that although there may be some                         the monitoring wells is critical to proper            requested EPA allow alternative
                                            facilities that have adequate information               characterization of the groundwater.                  groundwater monitoring requirements,
                                            for site characterization, many of these                Thus, the specific number, spacing, and               such as alternative groundwater
                                            facilities, especially inactive facilities,             depth of the monitoring wells must be                 sampling procedures and statistical
                                            may need to conduct more extensive                      determined based on site-specific                     analysis because of the inability to
                                            site reconnaissance and field work to                   information, including but not limited                collect groundwater samples unaffected
                                            obtain the necessary information due to                 to the thorough characterization of                   by CCR at some facilities due to the
                                            the widespread use of non-                              aquifer thickness, groundwater flow                   number of CCRMU at the site. As stated
                                            containerized CCR across facilities. EPA                rate, groundwater flow direction                      in Unit III.C.4.c, the existing
                                            further recognizes that groundwater                     throughout seasonal and temporal                      groundwater monitoring and corrective
                                            monitoring systems designed using                       fluctuations, the unit’s geological                   action requirements are essentially the
                                            inadequate data would be unable to                      setting, and the unit’s hydrogeological               same requirements that have been
                                            properly monitor groundwater quality                    setting.                                              applied to both hazardous waste and
                                            coming from the unit and therefore                         The monitoring wells must be cased,                municipal solid waste disposal units for
                                            would not be protective of human                        constructed, operated, and maintained
                                                                                                                                                          decades, and with the one exception
                                            health and the environment. Lastly,                     in a way that preserves the integrity of
                                                                                                                                                          discussed below, there is nothing about
                                            because EPA is convinced by                             the monitoring well borehole, screened
                                                                                                                                                          CCRMU that makes them distinct
                                            information from the commenters that                    interval and other components so as to
                                                                                                                                                          enough to warrant separate or additional
                                            facilities would be unable to conduct all               ensure the well performs to the design
                                                                                                                                                          requirements. Furthermore, while EPA
                                            the steps necessary to design and install               specifications throughout the life of the
                                                                                                                                                          expects many CCRMU have leaked or
                                            a groundwater monitoring system                         monitoring system. EPA expects owners
                                                                                                                                                          are potentially leaking, the commenter
                                            capable of meeting the standards in                     or operators to ensure the groundwater
                                                                                                                                                          did not provide any evidence for
                                            § 257.91 by the proposed deadline, EPA                  monitoring wells are adequately
                                                                                                    protected from activities that may                    creating a prohibition against intrawell
                                            has extended the deadline.
                                               As stated in Unit III.C.4.c, based on                damage the wells or otherwise adversely               data comparisons. Therefore, EPA will
                                            information provided by commenters,                     impact their performance, such as                     not be finalizing a prohibition on
                                            EPA concluded that a single deadline of                 accidental damage caused by livestock,                intrawell data comparisons at CCRMU.
                                            42 months from the effective date of this               vehicles, machinery, or other activities              However, EPA acknowledges that since
                                            final rule should be used for the                       near the unit.                                        the 2015 CCR Rule went into effect,
                                            groundwater monitoring requirements.                       The owner or operator of the unit                  intrawell groundwater data comparisons
                                            Therefore, EPA is finalizing a deadline                 must ensure that the design,                          have been misused to a large degree.
                                            for the completion of the design and                    installation, development, and                        Regarding the commenter who stated
                                            installation of the groundwater                         decommissioning of any aspect of the                  that the owner or operator would be
                                            monitoring system of no later than                      groundwater monitoring system is                      unable to accurately represent
                                            Monday, May 8, 2028, which is 42                        thoroughly documented and included in                 background groundwater quality due to
                                            months from the effective date of this                  the operating record. Furthermore, the                the potential extensive presence of
                                            final rule. This is codified in the                     owner or operator must obtain a P.E.                  CCRMU across the facility, during
                                            regulatory text at § 257.90(b)(3)(i).                   certification or approval from the                    implementation of the 2015 CCR Rule,
                                               To complete the installation of the                  Participating State Director or EPA                   EPA has not found a situation in which
                                            groundwater monitoring system, the                      stating the groundwater monitoring                    representing background groundwater
                                            owner or operator of a CCRMU must                       system meets the standards set out in                 quality was impossible nor does EPA
                                            ensure the monitoring system consists                   § 257.91.                                             believe such a situation exists, as
                                            of sufficient number of wells both                                                                            owners or operators are allowed to
                                            upgradient and downgradient of the                      ii. Development of the Groundwater                    collect samples as far upgradient as
                                            CCR unit, installed at appropriate                      Sampling and Analysis Plan for CCR                    needed, even offsite, to ensure that the
                                            locations and depths, to yield                          Management Units                                      groundwater sample is not impacted by
                                            groundwater samples from the                               EPA proposed to require owners or                  CCR. Additionally, at § 257.91(a)(1),
                                            uppermost aquifer that accurately                       operators of CCRMU to comply with the                 EPA allows the owner or operator to
                                            represent the quality of background                     existing groundwater sampling and                     collect background groundwater
                                            groundwater and groundwater passing                     analysis program requirements for CCR                 samples at other representative wells
                                            the downgradient waste boundary of the                  units, including the selection of the                 when hydrogeologic condition do not
                                            CCR unit, monitoring all potential                      statistical procedures that will be used              allow the determination of what wells
                                            contaminant pathways. 40 CFR                            for evaluating groundwater monitoring                 are hydraulically upgradient wells or
                                            257.91(a)(1) through (2). Because                       data. 40 CFR 257.93. EPA proposed a                   when other wells are more
                                            hydrogeologic conditions vary so widely                 deadline of no later than six months                  representative of background
                                            from one site to another, the regulations               after the effective date of the final rule            groundwater quality than upgradient
                                            do not prescribe the exact number,                      for owners or operators to comply with                wells. Furthermore, the commenter’s
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                                            location, and depth of monitoring wells                 this requirement.                                     assertion relied solely on the exhaustive
                                            needed to achieve the general                              One commenter suggested EPA                        presence of CCRMU at the facility as
                                            performance standard. Rather the                        prohibit use of intrawell groundwater                 evidence of the inability to represent
                                            regulation requires installation of a                   data comparisons for CCRMU. This                      background water quality and did not
                                            minimum of one upgradient and three                     commenter stated that intrawell                       provide any factual basis to support
                                            downgradient wells, as well as any                      comparisons are only appropriate when                 their claim that the requirement to


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                                            establish background groundwater                        baseline samples. EPA also                            period of time, as is likely the case at
                                            quality as part of the groundwater                      acknowledges the adverse impact of too                CCRMU. The proposed rule further
                                            monitoring requirements is infeasible.                  frequent sampling on the validity of                  explained that the expediting Appendix
                                            EPA is therefore finalizing this                        statistical analysis and the need to                  IV constituent detection and any
                                            provision without revision. This is                     account for seasonal variability in                   resulting corrective action is necessary
                                            codified in the regulatory text at                      groundwater flow, groundwater levels,                 for the protection of human health and
                                            § 257.90(b)(3)(ii).                                     and constituent concentrations. EPA                   the environment. EPA proposed no
                                              EPA received several comments on                      further acknowledges that providing                   other revisions to the existing
                                            the proposed deadline for the                           insufficient time for the collection of               groundwater monitoring requirements
                                            development of the groundwater                          baseline samples or the development of                in §§ 257.90 through 257.95.
                                            sampling and analysis plan. As                          the sampling and analysis plan would                     EPA received several comments on its
                                            mentioned in Unit III.C.4.c, some                       likely result in ineffective groundwater              proposal to combine detection and
                                            commenters supported the expedited                      monitoring programs that may fail to                  assessment monitoring. One commenter
                                            deadline. However, several other                        alert facilities to groundwater                       pointed out the increased demand on
                                            commenters pointed out that the                         contamination coming from CCR units.                  laboratory services, facility staff and/or
                                            sampling and analysis plan cannot be                    As explained in Unit III.C.4.a and Unit               contractors, and professional engineers
                                            completed prior to the collection of the                III.C.4.c respectively, EPA recognizes                that would result from having CCRMU
                                            baseline samples, which had a proposed                  the need for more time to accommodate                 comply with both monitoring programs
                                            deadline of 24 months from the effective                third-party availability and a single                 simultaneously. Another commenter
                                            date. Many of these commenters went                     deadline for the groundwater                          stated that by combining detection and
                                            on to state that the proposed expedited                 monitoring requirements. As stated in                 assessment monitoring and assuming
                                            deadline for the development of the                     Unit III.C.4.c.i, for the reasons laid out            groundwater contamination, EPA has
                                            sampling and analysis plan could result                 above, EPA is finalizing a single                     rendered detection monitoring
                                            in too frequent sampling leading to non-                deadline for the groundwater                          superfluous. Further, the commenter
                                            independent, autocorrelated baseline                    monitoring requirements of no later                   asserted that skipping detection
                                            samples for a large number of facilities,               than Monday, May 8, 2028, which is 42                 monitoring entirely would lose critical
                                            undermining the required statistical                    months from the effective date of this                data regarding whether there are
                                            analysis. A few commenters further                      final rule. This is codified in the                   statistically significant increases in
                                            stated that EPA published decisions on                  regulatory text at § 257.90(b)(3)(ii).                groundwater constituents specifically
                                            Part A and Part B demonstrations citing                    The owner or operator must develop                 due to the unit being monitored. One
                                            lack of statistical independence in                     the groundwater sampling and analysis                 commenter stated that EPA lacked the
                                            sampling as a basis for non-compliance,                 program that satisfies the requirements               record demonstrating risk posed by
                                            and failure for EPA to extend the                       in § 257.93 and includes a list of                    CCRMU to warrant combined detection
                                            deadline for the sampling and analysis                  monitoring wells to be sampled (i.e., the             and assessment monitoring and should
                                            plan to allow adequate time for facilities              monitoring network), the schedule for                 either maintain the approach in the
                                            nationwide to gather independent                        sampling, sampling procedures and                     existing regulations or only apply
                                            samples would create de facto non-                      techniques, sample preservation and                   groundwater monitoring to those
                                            compliance.143 Commenters also said                     shipping protocols, analytical                        CCRMU that have been identified as a
                                            that the proposed deadlines do not                      procedures including an appropriate                   source of an SSI or SSL in an ASD.
                                            account for the backlogs already                        statistical method for analysis, and                  Another commenter said that the
                                            experienced due to the existing CCR                     quality assurance and quality control                 justification in proposed rule regarding
                                            units using the small number of                         methods. The sampling and analysis                    phased groundwater monitoring being
                                            laboratories qualified to conduct the                   plan must include all analytes listed in              ‘‘best suited to situations where there is
                                            specialized analyses required by the                    Appendix III and Appendix IV.                         little likelihood of pre-existing
                                            rule, coupled with the national labor                   Recommendations and information on                    contamination’’ conflicts with EPA’s
                                            shortages. The commenters predicted                     how to comply with many of the                        position in the 2015 CCR Rule.
                                            the backlogs with laboratories will only                requirements for the groundwater                      According to the commenter, in the
                                            increase with the regulation of legacy                  sampling and analysis program (e.g.,                  2015 CCR Rule, the Agency was aware
                                            CCR surface impoundments and                            analytical procedures, QA/QC controls,                many CCR surface impoundments were
                                            CCRMU, making the proposed deadlines                    sampling protocol) can be found in the                decades old and potentially leaking; yet
                                            even more infeasible. Finally, as                       following EPA guidance documents                      EPA still adopted a phased approach
                                            mentioned in Unit III.C.4.c, commenters                 (e.g., RCRA Groundwater Monitoring:                   with detection monitoring to monitor
                                            emphasized the need for one deadline                    Draft Technical Guidance, 1992, EPA/                  indicators of potential groundwater
                                            for all groundwater monitoring                          530/R–93/001; Low-Flow (Minimal                       contamination and assessment
                                            requirements.                                           Drawdown) Ground-Water Sampling                       monitoring to determine if releases of
                                              EPA agrees that a sampling and                        Procedures, 1996, EPA/540/S–95/504).                  CCR constituents of concern did occur.
                                            analysis plan cannot reasonably be                                                                               As a practical matter, EPA expects
                                                                                                    iii. Detection Monitoring Program and                 combining Appendix III and Appendix
                                            completed before the collection of                      Assessment Monitoring Program                         IV constituents into a unified sampling
                                               143 On January 25, 2023, EPA proposed
                                                                                                    Combined                                              and analysis plan and approach will
                                            determinations on six Part B applications for              EPA proposed to require sampling                   likely have only minor effects on
                                            alternate liner demonstrations (‘‘Part B’’). All six    and analysis of constituents listed in                schedules, as this change will not
                                            proposals are proposed denials. The CCR Part B
                                                                                                    Appendix IV at the same time as those                 require additional field mobilizations or
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                                            Final Rule (85 FR 72506, November 12, 2020),
                                            allowed a limited number of facilities to               listed in Appendix III. The proposed                  sampling events and will only require
                                            demonstrate to EPA or a Participating State Director    rule explained that this would expedite               collection of a slightly larger number of
                                            that, based on groundwater data and the design of       groundwater monitoring and initiation                 sample containers at each monitoring
                                            a particular surface impoundment, the unit has and
                                            will continue to ensure there is no reasonable
                                                                                                    of corrective action by at least six                  well to allow for analysis for both
                                            probability of adverse effects to human health and      months at sites where units have                      Appendix III and IV constituents. As
                                            the environment.                                        potentially been leaking for a long                   such, no additional shipments of


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                                            samples to the analytical laboratory will               basis for determining SSIs, should they               or even remain undetected, because the
                                            be required. However, EPA                               exist, so no information will be lost.                facility would not trigger assessment
                                            acknowledges that combining Appendix                    Contrary to the commenter’s concern,                  monitoring absent an SSI from another
                                            III and Appendix IV constituents into a                 additional information will be gained in              Appendix III constituent. In such
                                            unified sampling and analysis plan may                  an expedited manner (e.g., the potential              situations, combined monitoring can
                                            increase the total throughput burden on                 spatial and temporal correlation of                   make the monitoring program more
                                            analytical laboratories and related                     Appendix III SSIs with exceedances of                 accurate; it is unclear why the
                                            services. Similarly, while combined                     SSLs for Appendix IV constituents).                   commenter believes this is
                                            monitoring may require additional                       Furthermore, EPA disagrees that its                   inappropriate.
                                            evaluation (e.g., concentration and trend               explanation that phased groundwater                      Ultimately, the combined monitoring
                                            analysis of data concerning both                        monitoring is ‘‘best suited to situations             expedites the initiation of assessment
                                            Appendix III and Appendix IV                            where there is little likelihood of pre-              monitoring which in turn, allows for
                                            constituents), this incremental increase                existing contamination’’ fundamentally                more expeditious identification of
                                            is unlikely to significantly increase the               conflicts with EPA’s decision to adopt                statistically relevant exceedances of
                                            overall reporting level of effort, as the               phased monitoring in the 2015 CCR                     Appendix IV constituents. This will in
                                            number of reports will be essentially                   Rule. Unlike this rule, the 2015 CCR                  turn expedite ASD development or
                                            unchanged.                                              Rule applied to both new facilities,                  corrective action, depending on the
                                               Nevertheless, as discussed in Units                  which would be expected to have little                circumstances.
                                            III.C.4.a and III.C.4.c of this preamble,               likelihood of pre-existing                               The phased approach in the 2015 CCR
                                            EPA acknowledges the commenters’                        contamination, and to existing facilities.            Rule provides for a graduated response
                                            concerns regarding existing and                         Over the long-term, EPA expected that                 to groundwater contamination as the
                                            projected labor shortages, backlogs, and                there would eventually be a greater                   evidence of contamination increases
                                            third-party availability, and agrees this               percentage of new units than existing                 over time. This approach allows
                                            has the potential to affect facilities’                 units as the older units reached capacity             facilities ample time to investigate the
                                            ability to comply with the proposed                     and closed. In addition, as discussed in              source of contamination as well as the
                                            deadlines for groundwater monitoring                    the proposal at 88 FR 32010 and in Unit               transport characteristics of CCR
                                            requirements. EPA is therefore                          III.A.2 of this preamble, it is clear from            constituents in groundwater, while
                                            extending the deadline, as well as                      the data posted on facilities’ websites               usually being protective of human
                                            building in flexibility for facilities to               that in 2015 EPA significantly                        health and the environment. However,
                                            accommodate for delays, by finalizing a                 underestimated the number of unlined                  at sites where there is a strong
                                            single deadline for groundwater                         units (both impoundments and                          likelihood that groundwater
                                            monitoring requirements in lieu of the                  landfills), and consequently,                         contamination has been occurring for a
                                            proposed split deadlines.                               significantly underestimated the                      long time, the advantages provided by a
                                               However, EPA disagrees that                          number of leaking units and the extent                protracted graduated response are
                                            combining detection and assessment                      of contamination at these sites.                      outweighed by disadvantages of
                                            monitoring will render detection                           Under the phased approach in the                   persistent or even increasing
                                            monitoring redundant, and that critical                 current regulations, detection                        contamination that continues to move
                                            data would be lost, by sampling for                     monitoring was intended to provide an                 downgradient. At these sites, the need
                                            Appendix IV constituents at the same                    early detection of whether groundwater                to protect human health and the
                                            time as Appendix III constituents (i.e.,                was potentially being contaminated. In                environment necessitates the quick
                                            by collecting more information). The                    selecting the parameters for detection                detection of Appendix IV constituents
                                            commenters provided no further                          monitoring, EPA chose constituents                    of concern to expedite any necessary
                                            explanation of what information they                    present in CCR that would be expected                 corrective action. See, USWAG, 901
                                            thought would be lost, but under the                    to move rapidly through the subsurface                F.3d at 427–30. In this case, as
                                            combined monitoring, the facility would                 and thus provide an early detection of                highlighted in Unit III.A, the record
                                            collect the same information on                         a potential problem before significant                provides strong reason to conclude that
                                            Appendix III constituents that is                       releases of constituents of greatest                  many CCRMU are contaminating
                                            collected under the detection                           concern (i.e., those in Appendix IV) had              groundwater, given the large number of
                                            monitoring in § 257.94. Given that                      occurred. This approach rests on a                    currently regulated CCR units that have
                                            under the existing assessment                           presumption that the unit is not already              been found to be leaking.
                                            monitoring provisions, facilities must                  leaking and the record shows (see Unit                   Therefore, EPA is finalizing this
                                            simultaneously analyze samples for all                  III.C.1) that presumption is largely                  requirement as proposed to be
                                            parameters in Appendix III and for any                  inappropriate for CCRMU.                              completed no later than Monday, May 8,
                                            Appendix IV constituent detected in the                    If an alternate source is causing an               2028, which is 42 months after the
                                            initial sampling, it is not apparent why                exceedance of an Appendix III                         effective date of this final rule. This is
                                            the commenter believes that requiring                   constituent, it may also be the source of             codified in the regulatory text at
                                            simultaneous monitoring more broadly                    any SSL detected for any Appendix IV                  § 257.90(b)(3)(iv) and (v).
                                            is appreciably different. 40 CFR                        constituents; in such a case, a facility
                                            257.95(d)(1).                                           may simply prepare a single ASD that                  iv. Collection and Analyses of Eight
                                               As stated in the previous paragraph,                 covers constituents from both                         Independent Samples for CCR
                                            concurrent monitoring for Appendix III                  appendices. The sole difference between               Management Units
                                            and Appendix IV constituents provides                   phased monitoring and combined                           EPA proposed that no later than 24
                                            considerably more information and                       monitoring is if the alternate source is              months after the effective date of the
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                                            enables a more complete understanding                   only responsible for the Appendix III                 final rule, owners or operators of
                                            of the geochemical nature, fate, and                    constituent, but the unit actually is                 CCRMU initiate the detection
                                            transport of any detected releases.                     releasing one or more Appendix IV                     monitoring program by completing
                                            Additionally, simultaneously collecting                 constituents. In such a case, under a                 sampling and analysis of a minimum of
                                            samples for Appendix III and Appendix                   phased approach detection of the                      eight independent samples for each
                                            IV constituents will still provide the                  Appendix IV constituent can be delayed                background and downgradient well, as


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                                            required by § 257.94(b). The proposed                   EPA disagrees that the information                    groundwater supply wells in the
                                            rule explained that within 90 days after                required by § 257.90(e) would not be                  vicinity of the unit.
                                            initiation of the detection monitoring                  available to a facility upon completion                 It is critical that annual corrective
                                            program, owners or operators must                       of the groundwater monitoring system,                 action and monitoring reports provide
                                            identify any SSIs over background                       as the annual report serves as an update              the basis for selection and
                                            levels for the constituents listed in                   on the activities related to the                      documentation of corrective actions as
                                            Appendix III, as required by § 257.94.                  groundwater monitoring program,                       early as possible. The owner or operator
                                            To expedite the time to initiate any                    including the installation of                         must not only document compliance in
                                            required corrective action, EPA also                    groundwater monitoring wells.                         the annual report, but also post the
                                            proposed that by this same deadline                     Additionally, when specific actions are               annual report on the public CCR website
                                            owners or operators initiate the                        not required by the CCR regulations                   to allow the public to review the
                                            assessment monitoring program by                        (e.g., a facility has not triggered                   groundwater monitoring results. It is
                                            establishing groundwater protection                     corrective action), facilities are not out            critical that the annual reports contain
                                            standards and by starting to evaluate the               of compliance merely because they do                  the basic data which informs the
                                            groundwater monitoring data for an SSL                  not have activities related to that action            positions and status reported in those
                                            over GWPS for the constituents listed in                to discuss in the groundwater                         documents, including but not limited to
                                            Appendix IV as required by § 257.95.                    monitoring and corrective action annual               boring logs, monitoring well installation
                                               EPA is finalizing this requirement as                report (e.g., not describing progress in              diagrams, water level data, field
                                            proposed. This is codified in the                       selecting a remedy when not in                        sampling data sheets for groundwater
                                            regulatory text at § 257.90(b)(3)(iii).                 corrective action).                                   sample collection, laboratory analytical
                                               EPA received several comments on                        EPA is finalizing the requirement for              data including QA/QC data, data
                                            the proposed deadline for the collection                owners or operators of CCRMU to                       validation, etc. In summary, the annual
                                            of the eight baseline samples. As                       comply with the requirements in                       groundwater monitoring and corrective
                                            mentioned in Unit III.B.2.a.ii, some                    § 257.90(e), which mandate the                        action reports should not only contain
                                            commenters supported the expedited                      preparation of an annual groundwater                  the information required by the
                                            deadline. However, several other                                                                              regulations but should be organized in
                                                                                                    monitoring and corrective action report
                                            commenters requested that the                                                                                 such a way that: (1) Compliance with
                                                                                                    no later than January 31, 2029 and
                                            groundwater monitoring requirement                                                                            the CCR regulations is evident; (2) Data
                                                                                                    annually thereafter. This is codified in
                                            deadlines be combined into a single                                                                           supporting compliance conclusions are
                                                                                                    the regulatory text at § 257.90(e).
                                            deadline that provided at least as much                                                                       easily located within the document; and
                                            time to come into compliance as was                        The report documents the activities
                                                                                                                                                          (3) The public is readily able to review
                                            provided in the 2015 CCR Rule                           associated with the groundwater
                                                                                                                                                          the groundwater monitoring data and
                                            deadlines (i.e., 24 months after the                    monitoring program and progress of any
                                                                                                                                                          related information. Lastly, the name of
                                            effective date of the final rule). As stated            corrective action over the past year and
                                                                                                                                                          the document on the public CCR
                                            in Unit III.C.4.c, based on information                 must contain specific information                     website should be such that it is clear
                                            provided by commenters, EPA                             identified in the regulations, including              what the file is and it must be capable
                                            concluded that a single deadline of 42                  but not limited to maps; aerial images or             of being readily printed and
                                            months after the effective date of this                 diagrams showing the CCRMU and all                    downloaded by the public.
                                            final rule should be used for the                       upgradient (background) and
                                                                                                    downgradient wells; identification of                 vi. Corrective Action Requirements for
                                            groundwater monitoring requirements.
                                                                                                    any monitoring wells installed or                     CCR Management Units
                                            Therefore, EPA is finalizing a deadline
                                            for the completion of sampling and                      decommissioned in the previous year;                     EPA proposed to require owners or
                                            analysis of a minimum of eight                          monitoring data collected under                       operators of CCRMU to comply with the
                                            independent samples for each                            §§ 257.90 through 257.98; and a                       existing corrective action criteria, as
                                            background and downgradient well of                     narrative discussion of any transition                appropriate in §§ 257.96 through 257.98.
                                            no later than Monday, May 8, 2028,                      between monitoring programs (i.e.,                    The proposed rule explained that
                                            which is 42 months from the effective                   detection and assessment monitoring).                 conducting the sampling
                                            date of this final rule.                                The annual reporting requirement will                 simultaneously would expedite
                                                                                                    help ensure that groundwater level data               groundwater monitoring and, where
                                            v. Preparation of Initial Groundwater                   collected over the reporting period is                necessary, initiation of corrective action
                                            Monitoring and Corrective Action                        tabulated, presented, and analyzed to                 by at least six months at sites where
                                            Report for CCR Management Units                         determine groundwater levels relative to              units have potentially been leaking for
                                               EPA proposed to apply the existing                   any residual CCR left in place as well as             a long period of time, as is likely the
                                            requirements in § 257.90(e) to CCRMU                    to confirm or determine groundwater                   case at many CCRMU. The proposed
                                            and require that owners or operators of                 flow directions.                                      rule further explained that expediting
                                            CCRMU comply no later than January                         Upgradient and downgradient well                   Appendix IV constituent detection,
                                            31 of the year following the calendar                   locations and depths should be                        assessment and any required corrective
                                            year after a groundwater monitoring                     validated annually with respect to                    action would protect human health and
                                            system has been established (and                        measured and mapped flow directions.                  the environment.
                                            annually thereafter).                                   Groundwater quality sampling data                        Under the existing regulations, if
                                               One commenter suggested that the                     should be included in appendices and                  groundwater monitoring demonstrates
                                            initial groundwater monitoring and                      summarized and tabulated in the annual                an exceedance of the groundwater
                                            corrective action report be due no later                reports. If appropriate, exceedances                  protection standards for constituents
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                                            than January 31 of the year following                   (SSIs and SSLs) of Appendix III and IV                identified in Appendix IV of part 257,
                                            the collection of the eight baseline                    constituents should be tabulated and                  corrective action is required, as laid out
                                            samples and the first semi-annual                       highlighted. As mentioned in some                     in §§ 257.96 through 257.98. These
                                            sampling event in order to allow                        comments, annual reports should                       requirements apply throughout the
                                            facilities to provide all the                           identify the nearest downgradient                     active life and any post-closure care
                                            documentation required by § 257.90(e).                  surface water bodies as well as                       period of the CCR unit.


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                                               A commenter suggested EPA create a                      EPA disagrees with the suggestion                  action regulations conflict with EPA-
                                            deadline for the completion of the                      that existing corrective action                       published RCRA or CERCLA guidance
                                            selection of remedy required by § 257.97                requirements, if triggered, are                       documents or how they preclude
                                            of 90 days after the completion of the                  inappropriate at CCRMU. As stated in                  corrective action decisions driven by
                                            assessment of corrective measures                       Units III.A and III.C.4.d, the physical               site-specific risks. Accordingly, EPA is
                                            (ACM) with the ability to extend the                    characteristics and potential risks of                finalizing, without revision, its proposal
                                            deadline up to 180 days after the                       CCRMU are not sufficiently different                  that CCRMU comply with the existing
                                            completion of the ACM. The commenter                    from currently regulated units to justify             corrective action requirements at
                                            pointed to the failure of owners and                    different requirements. For those                     §§ 257.95 through 257.98.
                                            operators of units regulated by the 2015                commenters requesting that EPA adopt                     As explained in the proposed rule at
                                            CCR Rule to select a remedy as soon as                  ‘‘risk-based corrective action’’ into the             88 FR 32003, §§ 257.90 through 257.95
                                            feasible after the completion of the ACM                requirements, EPA notes that the                      require that an owner or operator of a
                                            as required by the rule and the                         commenters have provided no further                   CCR unit to install a system of
                                            subsequent unnecessary delay in                         explanation of what requirements in the               monitoring wells, specify procedures for
                                            addressing contaminated groundwater.                    existing regulations they wanted EPA to               sampling these wells, and set forth
                                            Other commenters stated that applying                   revise, what the revisions should                     methods for analyzing the groundwater
                                            the existing groundwater monitoring                     accomplish, or why such revisions are                 data collected to detect hazardous
                                            and corrective action requirements to                   necessary or appropriate. As a general                constituents (e.g., toxic metals) and
                                            historic sites, such as CCRMU, is not                   matter EPA considers that the corrective              other monitoring parameters (e.g., pH,
                                            appropriate and suggested that instead                  action regulations in §§ 257.95 through               total dissolved solids) released from the
                                            EPA incorporate site-specific risk-based                257.98 do currently require facilities to             units (i.e., all parameters listed in
                                            corrective action or State corrective                   tailor remedies to address the risks to               Appendices III and IV). If the
                                            action programs into the CCR                            human health and the environment,                     groundwater monitoring required in
                                            regulations. Finally, some commenters                   based on the conditions at the site. It is            § 257.95, demonstrates an exceedance of
                                            requested EPA adopt a RCRA subtitle C                   unclear what more the commenters are                  the groundwater protection standards
                                            approach and utilize existing EPA                       seeking. Additionally, regarding                      for constituents identified in Appendix
                                            guidance. One of these commenters                       incorporating or allowing State                       IV of part 257, corrective action is
                                            further stated that the application of the              corrective action programs to substitute              required as laid out in §§ 257.96 through
                                            existing CCR corrective action                          for the existing corrective action                    257.98. These requirements apply
                                            requirements conflict with EPA’s                        requirements, the commenters failed to                throughout the active life and post-
                                            decision-making frameworks in other                     demonstrate through factual or specific               closure care period of the CCRMU.
                                            programs such as RCRA and CERCLA                        information that the State corrective                    When corrective action is required, it
                                            due to lack of site-specific risk                       action programs referenced are either                 must be initiated without delay, in
                                            assessments to evaluate risk and drive                  different than that required by the CCR               accordance with the time frames laid
                                                                                                    regulations or adequate to address the                out in the regulations. The corrective
                                            corrective action decisions. This
                                                                                                    risks posed by CCRMU. Even if                         action program includes initiating an
                                            commenter suggested that EPA utilize
                                                                                                    individual examples were sufficient to                ACM to prevent further releases, to
                                            site-specific, risk-based corrective action
                                                                                                    overcome the record with respect to                   remediate any releases, and to restore
                                            that is consistent with the guidance
                                                                                                    State programs generally, none of the                 affected areas to original conditions, as
                                            documents EPA has developed for
                                                                                                    examples presented by the commenters                  specified in § 257.96(a). After the ACM
                                            RCRA and CERCLA programs.
                                               EPA acknowledges the widespread                      provided sufficient detail for EPA to                 has been completed, the owner or
                                            non-compliance with the mandate to                      actually evaluate the adequacy of the                 operator must select a remedy that
                                                                                                    corrective action programs. More to the               meets prescribed standards, including a
                                            complete the selection of remedy as
                                                                                                    point, EPA lacks the record necessary to              requirement that the remedy attain the
                                            soon as feasible after the completion of
                                                                                                    support a broad exemption for all                     groundwater protection standards. See
                                            the ACM. However, EPA disagrees with
                                                                                                    CCRMU conducting corrective actions                   § 257.97(a) and (b). Finally, the
                                            the commenter’s suggested deadline for
                                                                                                    under any State requirements.                         corrective action program requires the
                                            two reasons. First, the recommended
                                                                                                    Regarding comments requesting a RCRA                  owner or operator of the CCR unit to
                                            deadline extends the deadline for the
                                                                                                    subtitle C approach be adopted for                    initiate remedial activities within 90
                                            completion of the selection of remedy
                                                                                                    CCRMU, a RCRA subtitle C approach is                  days of selecting a remedy. See
                                            beyond that in 2015 CCR Rule since ‘‘as
                                                                                                    more appropriate for regulation under a               § 257.98(a). The requirement to address
                                            soon as feasible’’ in many cases would
                                                                                                    permitting program than under the                     releases under this requirement is
                                            likely be before 90 days after the
                                                                                                    existing regulatory framework (i.e., self-            identical to those requirements for any
                                            completion of the ACM and granting
                                                                                                    implementing) and as explained in                     CCR unit undertaking groundwater
                                            owners or operators more time to select
                                                                                                    Units III.A and III.C.1, EPA finds the                corrective action with the additional
                                            a remedy would be less protective of
                                                                                                    risks posed by CCRMU to be not only                   requirement that implementation of
                                            human health and the environment.
                                                                                                    credible but significant enough to                    corrective action begin during the active
                                            Second, EPA is taking action to address
                                                                                                    warrant regulation at this time (i.e.,                life of the unit.
                                            the non-compliance related to the                                                                                EPA expects that when assessing
                                            failure of owner or operators to select a               under the self-implementing rule as
                                                                                                    opposed to waiting until the Federal                  corrective measures and selecting a
                                            remedy as soon as feasible as part of the                                                                     remedy, the owner or operator of the
                                            EPA’s National Enforcement and                          permitting program is established).
                                                                                                    Lastly, the commenter that stated that                unit will consider the impact of the
                                            Compliance Initiative and expects this                                                                        corrective measures on the water quality
                                                                                                    the existing corrective action regulations
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                                            enforcement initiative to address the                                                                         and safety of the nearest surface water
                                            concern raised by the commenter.144                     conflict with other EPA programs (i.e.,
                                                                                                    RCRA and CERCLA) failed to fully                      bodies and the nearest private and/or
                                               144 EPA Enforcement Alert, National Enforcement      explain how the existing corrective                   public groundwater wells.
                                            and Compliance Initiative, Protecting Communities
                                                                                                                                                             With respect to completion of an
                                            from Coal Ash Contamination. EPA Document               system/files/documents/2023-12/ccr-enf-alert-         ACM and remedy selection, § 257.96(a)
                                            #310F23002. December 2023. https://www.epa.gov/         2023.pdf.                                             requires an ACM be initiated within 90


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                                            days of determining an SSL has                          months of the effective date of this final            not monitoring the groundwater around three
                                            occurred, and then completed within                     rule. While EPA proposed that the CCR                 large onsite landfills.
                                            another 90 days. An extension, not to                   unit closure requirements would apply,                These commenters also described a
                                            exceed 60 days, may be warranted due                    EPA also solicited comment on other                   facility where, according to the
                                            to site-specific conditions or                          approaches to how a facility might                    commenters, two million tons of fill
                                            circumstances. Prior to closure of a CCR                implement the requirement to close at a               containing CCR sits behind corroding
                                            unit, the facilities have been required to              site where the CCRMU lies beneath an                  steel pilings on the shore of Lake
                                            characterize site conditions, including                 operating unit.                                       Michigan, and is leaking arsenic and
                                            groundwater flow conditions and                            Finally, EPA proposed to apply the                 other hazardous chemicals into the lake,
                                            geology. The facilities have knowledge                  existing post-closure care requirements               as well as into an adjacent creek
                                            of the wastestreams and water volumes                   in § 257.104 to CCRMU. Each of these                  commonly used for fishing and boating.
                                            it discharges to CCR units. This                        proposals and the comments are                        These commenters also pointed to a
                                            information can be used to develop a                    discussed in detail below.                            facility with an inactive 90-acre unlined
                                            groundwater model to predict                               EPA received numerous comments on                  CCR landfill that, according to the
                                            groundwater flow conditions after waste                 its proposal to apply the existing closure            commenter, is contaminating
                                            stream disposal ceases and closure is                   and post-closure care requirements                    groundwater with unsafe levels of
                                            initiated. Therefore, EPA believes this                 §§ 257.100–257.104 to CCRMU. Several                  sulfate, lithium, radium, cobalt, arsenic,
                                            would provide sufficient                                commenters stated that EPA must                       molybdenum and selenium. Similarly, a
                                            characterization of post-closure                        require all CCRMU to close, because the               private citizen also provided the
                                            conditions to assess and compare                        risks EPA identified in the proposal,                 following example of a potential
                                            groundwater cleanup alternatives to                     together with information provided by                 CCRMU during one of public hearings:
                                            complete an ACM.                                        regulated facilities under the 2015 CCR
                                               Once the ACM is complete, a public                                                                         My utility is City Utilities. Once the current
                                                                                                    Rule, indicate that CCRMU pose                        coal ash landfill is full, CU plans to dispose
                                            meeting has been held, and community                    significant and ongoing threats of                    of future coal ash at a temporarily closed
                                            input has been considered, a remedy                     contamination if not properly closed.                 landfill next to Lake Springfield, which feeds
                                            must be selected as soon as feasible. A                 These commenters also identified                      into the James River. Both dumps are in karst
                                            selected remedy may include closure by                  several examples of units that the                    terrain. This makes them susceptible to
                                            removal to comply with source control                   commenters believe demonstrate the                    sinkhole collapses and leakage of pollutants
                                            requirements. This would constitute                     need for CCRMU to close. One                          into the James River watershed and the area’s
                                            commencing implementation of a                                                                                shallow and deep aquifers. These waters
                                                                                                    commenter referenced a report it                      affect a four-state area, including Table Rock
                                            remedy. However, the selected                           submitted to support EPA’s proposal to                Lake near Branson where tourism is the main
                                            groundwater remediation portion of the                  regulate CCRMU. The report focuses on                 industry. Safer methods of disposal exist,
                                            remedy must also be implemented                         six sites with both CCR units currently               although they are more cumbersome and
                                            within a reasonable time, in accordance                 regulated by the CCR Rule and with                    expensive, In December 2022, CU held a
                                            with the schedule established in the                    CCRMU. According to the commenter                     public meeting regarding the utility’s future.
                                            remedy selection report. 40 CFR                         the report documents significant and                  After questions about pollution, one
                                            257.97(d). Implementation of the source                 harmful coal ash pollution that has been              representative said he wasn’t aware of any
                                            control measure does not negate this                                                                          pollutants coming from the landfill. The
                                                                                                    allowed to persist under the 2015 CCR                 Interdisciplinary Environmental Clinic at
                                            requirement.                                            Rule and that would be remediated                     Washington University School of Law
                                            d. Closure and Post-Closure Care                        under the proposed rule.                              researched this. Twelve rounds of sampling
                                            Criteria for CCR Management Units                       For example, the report analyzes the                  done by CU from late 2016 to early 2018
                                                                                                    Brandywine Ash Management Facility in                 showed 387 statistically significant increases
                                               EPA proposed that all of the existing                                                                      in pollutants in every down-gradient well.
                                            closure and post-closure care                           Maryland, which has a single landfill that its
                                                                                                    operator GenOn has treated as four distinct           Those increases included 27 out of the 35
                                            requirements in §§ 257.101 through                                                                            monitored parameters. Regarding CU’s dye
                                                                                                    CCR dumpsites for purposes of the CCR Rule.
                                            257.104 would apply to CCRMU, except                    This artificial division of the landfill has          tests at the dump site, a 2017 memo from the
                                            for the alternative closure requirements                enabled GenOn to claim that three of the four         Missouri Department of Natural Resources
                                            in § 257.103(f). EPA further explained                  areas of the landfill are unregulated under           stated, ‘‘Dye is moving through the karst
                                            that the alternative closure provisions in              the CCR Rule; to attribute contamination at           system and not being detected by the
                                            § 257.103(f) were not appropriate for                   the site, such as molybdenum levels eighty            monitoring well network.’’
                                            CCRMU as these units, by definition, are                times above the GWPS, to the three                    These commenters also pointed to the
                                            inactive impoundments at inactive                       purportedly unregulated areas; and to keep            high likelihood that many CCRMU have
                                            facilities and could not therefore                      the site in detection monitoring through              waste in contact with groundwater, as
                                            demonstrate the need to continue to use                 ASDs. The Proposed Rule will compel                   many are located in floodplains,
                                                                                                    GenOn to address all coal ash at the site.
                                            the disposal unit, which is a qualifying                Another site that demonstrates the necessity
                                                                                                                                                          wetlands, or near large rivers and lakes.
                                            component of the alternative closure                    of regulating CCRMU under the Proposed                According to the commenters, if EPA
                                            provisions. In addition, EPA solicited                  Rule is the Joliet #29 Station owned by               does not mandate closure of CCRMU,
                                            comments on two potential revisions to                  Midwest Generation in Illinois. This site has         aquifer contamination would not be
                                            the existing closure standards in                       one regulated pond, Ash Pond 2, and a                 identified until it is too late to be
                                            § 257.102(d). The first potential revision              number of additional units that would be              prevented—in contravention of RCRA’s
                                            would extend the existing dewatering                    treated as CCRMU under the Proposed Rule.             protectiveness standard. These
                                            requirement in § 257.102(d)(2)(i) to any                In fact, the site was used for coal ash disposal      commenters have also argued that
                                            CCR landfill constructed in groundwater                 long before it had a power plant, potentially         CCRMU are inactive units with no
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                                                                                                    as early as 1917, indicating the presence of
                                            or otherwise saturated by liquids. The                  unlined landfills going back decades.
                                                                                                                                                          practical justification to avoid closure.
                                            second potential revision would                         Midwest Generation has found statistically
                                                                                                                                                            A number of other commenters
                                            incorporate a definition of the term                    significant increases (‘‘SSIs’’) for TDS,             however argued that a national
                                            ‘‘infiltration’’ into § 257.102.                        sulfates, chloride, and calcium at the site, but      requirement to close was not
                                               EPA also proposed to require that all                is only monitoring the groundwater around             appropriate for CCRMU and that EPA
                                            CCRMU initiate closure within 12                        Ash Pond 2 and two former ash ponds, and              should instead determine whether


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                                            closure is warranted at each site based                 contamination, the unit is subject to the CCR         determine that such impacts are
                                            on a finding that the individual unit at                Rule’s corrective action requirements, but            unlikely. Consequently, EPA is
                                            that particular site poses unacceptable                 closure is not mandatory.                             deferring the requirement to initiate
                                            risks. Many of these commenters                            But many other commenters                          closure of such a CCRMU until the
                                            suggested that the risks associated with                characterized the proposed deadline as                infrastructure is no longer needed, a
                                            CCRMU can be better managed through                     infeasible for the reasons discussed in               permit authority determines closure is
                                            corrective action implemented under a                   Unit III.B.2.a.ii, including seasonality,             necessary to ensure that there is no
                                            permit program, which the commenters                    the need to comply with overlapping                   reasonable probability of adverse effects
                                            believed would make the mandate to                      regulatory requirements, labor                        on human health or the environment, or
                                            close these units unnecessary. For                      shortages, and the limited resources                  the closure or decommissioning of the
                                            example, one commenter claimed that                     available to achieve compliance (e.g.,                facility, whichever occurs first.
                                            mandating the closure of all CCRMU as                   contractors, laboratories, P.E.s), which                 Finally, EPA has extended the
                                            part of the proposed CCR corrective                     the commenters claimed would become                   deadline to initiate closure to
                                            action regime is more stringent than                    even more limited as a consequence of                 Wednesday, November 8, 2028, which
                                            what EPA requires under subtitle C for                  the number of CCR units that would                    is 48 months the effective date of the
                                            solid waste management units                            need to come into compliance at the                   final rule to allow groundwater
                                            (SWMUs), and therefore any final                        same time. Commenters also stated that                monitoring data to inform closure,
                                            CCRMU rule cannot impose a                              compliance with the closure                           consistent with the approach for legacy
                                            mandatory closure requirement on                        requirements should not be required                   CCR surface impoundments.
                                            CCRMU. According to this commenter,                     until after the groundwater monitoring                   Each of these issues are discussed in
                                            the subtitle C process does not require                 system was installed and baseline                     greater detail in subsequent sections of
                                            the closure of SWMUs, because EPA                       samples collected so that closure could               this preamble.
                                            recognizes that addressing the risks                    be informed by the groundwater                        i. Requirement To Initiate Closure
                                            from SWMUs via the site-specific                        monitoring data.
                                                                                                       EPA has largely adopted the proposal,                 The final rule requires CCRMU
                                            subtitle C corrective action process                                                                          containing 1,000 tons or greater of CCR
                                            alone is fully protective. Many                         with a few significant revisions. This
                                                                                                    final rule requires CCRMU that contain                to close. Closure will address the
                                            commenters also raised concern that                                                                           existing risks associated with these
                                            CCRMU at their facilities are located                   1,000 tons or greater of CCR to comply
                                                                                                    with the existing closure and post-                   units. In addition, requiring the closure
                                            beneath vital infrastructure, such as                                                                         of CCRMU is consistent with the
                                            pipelines or transmission lines, active                 closure care requirements in §§ 257.101
                                                                                                    through 257.104, except for the                       existing regulations, which require
                                            CCR units, or buildings and that                                                                              closure of all units that no longer
                                            requiring closure of these CCRMU could                  alternative closure requirements in
                                                                                                    § 257.103(f). The final rule also extends             receive waste as a preventative measure,
                                            adversely impact grid reliability,                                                                            whether or not the unit is currently
                                            business operations, or other necessary                 the existing dewatering requirement in
                                                                                                    § 257.102(d)(2)(i) to any CCR landfill                leaking. See, 40 CFR 257.102(e)(1).
                                            public services (e.g., military                                                                               CCRMU, which consist of inactive CCR
                                            infrastructure). These commenters                       constructed in groundwater or
                                                                                                    otherwise saturated by liquids, and                   landfills and previously closed CCR
                                            suggested that EPA exempt these units                                                                         surface impoundments and CCR
                                            or at least extend the closure time                     incorporates a definition of the term
                                                                                                    ‘‘infiltration’’ in § 257.53.                         landfills, meet these criteria as they also
                                            frames to allow for closure of the                                                                            no longer receive waste.
                                                                                                       However, consistent with the
                                            CCRMU when the other unit or                                                                                     The closure of CCRMU of 1,000 tons
                                                                                                    provision adopted for legacy CCR
                                            structure is closed or decommissioned.                                                                        or greater also provides significant risk
                                                                                                    surface impoundments, EPA is
                                               Numerous commenters again                                                                                  mitigation. As laid out in Unit III.A of
                                                                                                    deferring, in certain cases, the
                                            requested that EPA exempt any CCRMU                                                                           this preamble, CCRMU at both active
                                                                                                    requirement to demonstrate compliance
                                            that had been closed in accordance with                                                                       facilities and inactive facilities with
                                                                                                    with § 257.102 for CCRMU that closed
                                            State requirements. These commenters                                                                          legacy impoundments pose risks to
                                                                                                    prior to the effective date of this rule in
                                            claimed that these closures were                                                                              human health and the environment that
                                                                                                    accordance with alternative
                                            protective and that EPA should only                                                                           are at least as significant as the risks
                                                                                                    requirements that are likely to be as
                                            regulate these CCRMU where the                                                                                presented by legacy CCR surface
                                                                                                    protective as the requirements in
                                            Agency has affirmative evidence that                                                                          impoundments and the units currently
                                                                                                    § 257.102. This is the same provision
                                            the particular unit is contaminating                                                                          regulated under the 2015 CCR Rule. In
                                                                                                    that EPA is establishing for legacy CCR
                                            groundwater or otherwise presents                       surface impoundments, as EPA is not                   particular, for highly exposed
                                            unacceptable risks. For example, one                    aware of a reason to treat CCRMU                      individuals off site, landfill CCRMU
                                            commenter stated that a more rational                   differently. In addition, EPA is deferring            were estimated to pose cancer risks as
                                            approach to regulating CCRMU would                      the requirement to initiate closure                   high as 7 × 10¥6 from arsenic III, while
                                            be first to determine if the uses are                   where the CCRMU is located beneath                    surface impoundment CCRMU were
                                            impacting groundwater before requiring                  critical infrastructure or large buildings            estimated to pose cancer risks as high as
                                            expensive closure. According to the                     or structures vital to the continuation of            8 × 10¥5 from arsenic III and noncancer
                                            commenter,                                              current site activities, such as beneath              HQs as high as two for arsenic III, two
                                            [i]t is not clear why EPA requires closure              high power electric transmission towers,              for lithium, and one for molybdenum.
                                            before groundwater data indicates there is a            air pollution control or wastewater                   Differences in national risks between
                                            problem. If groundwater is impacted by the              treatment systems, large buildings, or an             currently regulated units and these
                                            CCRMU then other corrective action                      electrical substation. In this case, the              older units are attributed largely to the
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                                            measures should be taken, but only after data                                                                 proportion of units that were modeled at
                                                                                                    potential exists for adverse, localized
                                            indicates that groundwater is being affected.
                                            As noted earlier, the 2015 CCR Rule did not             impacts on electric reliability (e.g.,                the time as lined. However, the risks
                                            require unlined landfills to close unless they          voltage support, local resource                       associated with these older units may be
                                            failed to meet the location restrictions for            adequacy) from requiring all facilities to            even higher than EPA modeled in the
                                            unstable areas. In the event an unlined CCR             meet these requirements on the same                   2014 Risk Assessment for active units.
                                            landfill is the source of groundwater                   time frame, and EPA lacks the record to               These units have been present onsite


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                                            longer and had more time to leak. In                    underestimate the risks. At a minimum,                adequately prevent harm, as the statute
                                            addition, there are several management                  EPA expects that the presence of                      requires, because these requirements
                                            practices that have the potential to                    multiple sources of potential                         would only apply upon a determination
                                            result in higher leakage, but that were                 contamination at the same facility                    that the CCRMU has contaminated the
                                            previously modeled either less                          would increase the likelihood of a                    aquifer above the GWPS. In addition,
                                            frequently for active units—based on a                  contaminant plume that could migrate                  the closure requirements in § 257.102
                                            belief that the practices had declined                  off-site at levels of concern. In sum, the            provide a uniform approach that EPA is
                                            over time—or not at all—due to data                     record confirms that, at a minimum,                   confident will adequately protect
                                            constraints on a national scale. These                  regulation of the smaller sized CCRMU                 human health and the environment.
                                            include: (1) The greater prevalence of                  fills is necessary for any corrective                    Contrary to the commenter’s
                                            unlined units; (2) The greater likelihood               action to successfully reduce the                     contentions the regulation of CCRMU
                                            of co-management of CCR with coal                       concentrations of Appendix IV                         under RCRA section 4004(a) is not
                                            refuse and other wastes in surface                      constituents in the aquifer to                        analogous to the corrective action
                                            impoundments, making the overall                        concentrations below the GWPS.                        requirements applicable to SWMUs
                                            waste pH far more acidic and (3) The                       Available toxicological profiles                   under RCRA section 3004(u). Nor is the
                                            potential for the units to be constructed               indicate that ingestion of arsenic is                 absence of a national mandate to close
                                            below the water table or to have become                 linked to increased likelihood of cancer              SWMUs as part of every corrective
                                            inundated with groundwater after the                    in the skin, liver, bladder and lungs, as             action under section 3004(u) based on
                                            time of construction. As discussed in                   well as nausea, vomiting, abnormal                    the recognition that closure is
                                            Unit III.A, each of these practices                     heart rhythm, and damage to blood                     unnecessary because the corrective
                                            individually have the potential to result               vessels; ingestion of lithium is linked to            action process alone is fully protective.
                                            in nationwide risks higher than                         neurological and psychiatric effects,                 The closure and corrective action
                                            previously reported on a national basis                 decreased thyroid function, renal                     regulations are distinct and independent
                                            for the currently operating universe of                 effects, cardiovascular effects, skin                 requirements that generally serve
                                            CCR units. For example, unlined                         eruptions, and gastrointestinal effects;              different purposes. The closure
                                            landfill CCRMU were estimated to pose                   and ingestion of molybdenum is linked                 requirements under both subtitle C and
                                            cancer risks as high as 1 × 10¥5 from                   to higher levels of uric acid in the blood,           D are largely intended to be prevent
                                            arsenic III, while unlined surface                      gout-like symptoms, and anemia. 80 FR                 contamination from occurring in the
                                            impoundment CCRMU were estimated                        21451. To date, groundwater monitoring                first place, by ensuring that the closed
                                            to pose cancer risks ranging from 2 ×                   required by the 2015 CCR Rule has                     unit does not become a source of future
                                            10¥4 from arsenic III and noncancer                     revealed that at least 40% of currently               contamination. See, e.g., 47 FR 32318,
                                            HQs as high as 5 for arsenic III, 3 for                 regulated surface impoundments and                    32321, 32323. By contrast, corrective
                                            lithium, 2 for molybdenum, and 1 for                    landfills have identified groundwater                 actions are remedial or retrospective in
                                            thallium. A combination of these                        contamination and require corrective                  that they are designed to clean up
                                            practices could push risks even higher                  action to mitigate the associated risks.              contamination that has already
                                            than modeled.                                           This number is expected to increase as                occurred. EPA has previously
                                               In addition, the modeling conducted                  more facilities come into compliance                  promulgated regulations mandating the
                                            in 2024 confirms that smaller CCRMU                     with the groundwater monitoring                       closure of disposal units for wastes
                                            fills can meaningfully contribute to                    requirements. Another 23% of existing                 under both subtitles C and D for wastes
                                            groundwater contamination across a                      CCR units have identified evidence of                 within each subsection’s jurisdiction.
                                            facility. The 90th percentile                           leakage and continue to monitor                       See, 40 CFR 264, subpart G, 258, subpart
                                            concentrations at the waste boundary                    groundwater to ensure that                            F. But the requirement for corrective
                                            exceeded GWPS by factors of 26 for                      contamination does not occur before the               action of solid waste management units
                                            arsenic III, 19 for arsenic V, 156 for                  unit can be closed and source controls                under the provisions applicable to
                                            molybdenum, and 19 for thallium. The                    put in place. In many cases, CCRMU are                hazardous wastes under section 3004(u)
                                            50th percentile concentrations exceeded                 historical landfills and surface                      is an anomaly; Congress has otherwise
                                            GWPS by a factor of two for                             impoundments. Thus, the relevant                      limited subtitle C to the regulation of
                                            molybdenum. EPA’s modeling also                         release pathways, exposure routes, and                hazardous wastes. The appropriate
                                            confirms that any prior contamination                   associated harm that can result are the               comparison is thus not to EPA’s
                                            from CCRMU is likely to still be present.               same.                                                 regulation of SWMUs under subtitle C,
                                            EPA calculated, for example, that it                       Given the locations of many CCRMU                  but rather to EPA’s regulation of
                                            could take around 2,300 years from the                  (located in floodplains, or wetlands, or              hazardous waste units under subtitle C,
                                            time of first exceedance for high-end                   near large surface water bodies), EPA is              where the Agency requires hazardous
                                            releases of arsenic V to fully dissipate.               also concerned that the base of these                 waste units to comply with both closure
                                               Depending on their location, leakage                 units may intersect with the                          and corrective action requirements.
                                            of Appendix IV constituents from                        groundwater beneath the unit. If such                    In sum, the record demonstrates that
                                            individual CCRMU fills may not migrate                  CCRMU were not required to close, EPA                 closure is warranted for CCRMU, even
                                            off-site at levels of concern. However,                 would not adequately address the risks                for those that are not yet leaking. As the
                                            according to the commenters it is highly                from those units that still contain CCR               D.C. Circuit explained, RCRA requires
                                            unlikely that only one CCRMU would                      saturated with free liquids.                          EPA to set minimum criteria for sanitary
                                            be present on-site. In addition, these                     In general, EPA considers that closure             landfills that prevent harm, not merely
                                            concentrations can combine with                         is the only effective way to adequately               to ensure that contamination is
                                            contamination from other CCRMU,                         address the source of potential or                    remediated. See, USWAG, 901 F.3d at
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                                            currently regulated CCR units, or legacy                existing releases from these units.                   430.
                                            CCR surface impoundments that are also                  Although, as some commenters                             Consistent with the requirements for
                                            present on the same site. EPA did not                   suggested, EPA could rely upon the                    legacy CCR surface impoundments, EPA
                                            model the aggregate or cumulative risk                  existing corrective action requirements               is not requiring previously closed
                                            associated with these potential sources                 to achieve source reduction, the Agency               CCRMU to automatically re-close but
                                            of co-located contamination, which may                  is concerned that this will not                       simply to evaluate whether the unit


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                                            meets the requirements of § 257.102(d),                 proposed rule. Many of these                          above) will be maintained the unit may
                                            and if they do not, to take such                        commenters asserted that these closed                 be closed in place under the CCR rule
                                            measures as are necessary to bring the                  landfill or surface impoundment                       without posing ongoing risks. The
                                            unit into compliance.                                   CCRMU present no risks. For example,                  commenter also noted, however, that
                                                                                                    one commenter discussed a closed                      where unlined waste units are
                                            ii. Deferral for CCRMU Under Critical
                                            Infrastructure                                          surface impoundment located beneath                   continually or periodically in contact
                                                                                                    its active CCR landfill. The commenter                with groundwater, more extensive
                                               As noted above, many commenters                      asserted that the permitted, Federally                closure techniques such as engineering
                                            stated that some CCRMU are currently                    regulated CCR landfill above the closed               controls designed to prevent
                                            located beneath critical infrastructure.                unit, combined with the collective effect             groundwater from flowing through
                                            For example, a number of commenters                     of the CCR landfill liner and leachate                waste or to stabilize the waste and fix
                                            stated that CCR has historically been                   collection system, runoff controls, and               contaminants in place may be
                                            used on-site at generating stations for                 engineered cap, keeps the impoundment                 attempted, or excavation and clean
                                            many years as structural fill, including                isolated from exposure to stormwater                  closure of the unit may ultimately be
                                            for utility line bedding, and under site                runoff and other sources of water                     necessary.
                                            infrastructure such as switchyards, coal                infiltration. The commenter further
                                            piles, railroad embankments, and                                                                                 Unlike the comments received on
                                                                                                    asserts that there is no evidence that this           legacy CCR surface impoundments, the
                                            occupied buildings. Additionally,                       former impoundment is impounding or
                                            commenters pointed to many areas at                                                                           overwhelming majority of commenters
                                                                                                    otherwise contains any significant                    provided concrete examples of concerns
                                            their existing facilities with CCR                      amount of free liquids, and that such a
                                            currently located under existing critical                                                                     with respect the timing of closure
                                                                                                    condition is unlikely given the                       activities for to CCRMU. In total, these
                                            energy infrastructure such as generating                overlying landfill infrastructure.
                                            units, cooling towers, substations,                                                                           commenters have provided sufficient
                                                                                                       By contrast, numerous commenters                   information to raise a legitimate
                                            levees, dikes, on-site wastewater                       supported the proposed mandate to
                                            treatment systems, dams, transmission                                                                         question whether adverse, localized
                                                                                                    close due to the substantial risks that               impacts on electric reliability (e.g.,
                                            towers, gas lines, and solar installations.             these kinds of ‘‘overfill’’ units can pose.
                                               These commenters claimed that                                                                              voltage support, local resource
                                                                                                    As one of these commenters explained,                 adequacy) could result from a
                                            requiring closure of CCRMU beneath
                                            infrastructure could adversely impact                   In this situation the underlying CCRMU                nationwide requirement to close all
                                            grid reliability, business operations, or               serves the function of the foundation of the          CCRMU within the deadlines under the
                                                                                                    overlying CCR unit. The liner of the                  regulations.
                                            other necessary public services and                     overlying CCR unit serves as a cap over the
                                            suggested EPA create exemptions or                                                                               EPA agrees that closing CCRMU
                                                                                                    underlying CCRMU. CCR contaminants
                                            extensions for these units. According to                released from either the overlying CCR unit           underlying critical infrastructure at
                                            these commenters, attempting to close                   or underlying CCRMU can adversely impact              active generating facilities is very
                                            any of these areas under the rule’s                     groundwater quality with little potential for         different and more challenging than
                                            closure standards would not only be                     distinguishing between contaminants                   closing disposal units at inactive
                                            impossible, but also would require                      released from one or the other of these units.        utilities. When it was developing the
                                            disturbing and/or even disassembling                    Each of the co-located units must be capable          proposal, EPA was unaware of the
                                                                                                    of containing CCR contaminants if releases to         extent to which facilities had
                                            critical components of power plant’s                    the environment are to be avoided.
                                            energy infrastructure, which would only                                                                       historically used CCR as part of the
                                                                                                    Construction of a CCR unit over a previously
                                            further exacerbate the pressures on grid                existing CCRMU is known to have the                   foundation supporting generating units,
                                            reliability. Other commenters raised                    potential to increase concentrations of CCR           cooling towers, substations, or on-site
                                            concern that remediation would require                  groundwater contaminants. A 2001 study by             wastewater treatment systems. In some
                                            removal of existing infrastructure to                   the Electric Power Research Institute (EPRI)          cases, it appears that in order to close
                                            access the CCR, which in some cases                     showed that reducing the hydraulic gradient           these CCRMU individual facilities may
                                            could present significant operational                   beneath a CCR impoundment can induce                  need to disturb substantial portions of
                                                                                                    increased contaminant concentrations when             the entire site and disassemble critical
                                            risk and potential danger. As one
                                                                                                    the waste is in contact with groundwater.
                                            commenter characterized it,                                                                                   components of the power plant’s energy
                                                                                                    EPRI concluded that reducing the hydraulic
                                            Particularly at active power plants, requiring          gradient by dewatering an impoundment                 infrastructure, such as high power
                                            closure of CCRMU . . . would cause massive              slowed groundwater flow and increased                 electric transmission towers, and
                                            ripple effects that need to be more carefully           contact time between the waste and                    electrical substations.
                                            considered. Closure would be incredibly                 groundwater. Contact time between waste                  EPA agrees that its proposal did not
                                            disruptive for these type of sites—                     and water is an important variable that               adequately account for this
                                            particularly given the inadequate time for              influences concentrations of contaminants             circumstance. This is particularly true
                                            electricity resource planning—and exacerbate            found in groundwater.                                 in the case of a CCRMU located beneath
                                            the grid reliability challenges that co-ops and         Release of contaminants from the overlying            infrastructure necessary for energy
                                            other utilities are already facing. Moreover,           unit, while possible, is not necessary to cause
                                            EPA must consider and allow for power plant             increasing contaminant concentrations. The
                                                                                                                                                          production, where the potential exists
                                            owners to follow the mandated procedures                bottom liner of the overlying CCR unit                for adverse, localized impacts on
                                            put in place by the relevant balancing                  reduces infiltration of water from above,             electric reliability (e.g., voltage support,
                                            authority, such as regional transmission                reducing the hydraulic gradient and                   local resource adequacy). This issue
                                            organizations or electric utilities, and by state       increasing waste/water contact time. The              arises whenever multiple facilities need
                                            authorities which have a role in ensuring the           increased contact time can increase                   to take their EGU offline for an extended
                                            reliability of the local grid.                          contaminant concentrations in downgradient            period to complete construction or other
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                                              Several commenters also expressed                     monitoring wells.                                     compliance activities. The likelihood of
                                            concern about the closure of CCRMU                      The commenters acknowledged that                      an adverse impact on electric reliability
                                            located under active CCR landfills,                     where the waste in the CCRMU is dry                   can be greater if multiple facilities need
                                            asserting that such closures pose                       and the owner/operator can assure that                to schedule outages simultaneously in
                                            complex challenges that EPA did not                     separation of the waste from water                    order to comply with EPA’s closure
                                            fully understand or account for in the                  (groundwater and/or infiltration from                 deadlines. EPA understands that it is


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                                            also possible that in some instances                    commenters have alleged will be                       the uppermost aquifer, or must
                                            temporarily taking generating units                     necessary in this case.                               demonstrate that there is no
                                            (including coal-fired units) offline could                 Unfortunately, because EPA only                    intermittent, recurring, or sustained
                                            have an adverse, localized impact on                    became aware of these facts after                     hydraulic connection between any
                                            electric reliability (e.g., voltage support,            development of the proposal the Agency                portion of the CCR unit and the upper
                                            local resource adequacy). If a generating               has not had the time to obtain the                    limit of the uppermost aquifer or surface
                                            asset were needed for local reliability                 information necessary to evaluate—or to               water; or (2) The dewatering standard in
                                            requirements, the grid operator might                   consult with balancing authorities and                § 257.102(d)(2)(i) that all free liquids
                                            not approve a request for a planned                     other electric reliability authorities (e.g.,         have been eliminated. EPA believes the
                                            outage. In such instances, the owners/                  DOE or NERC) on the feasibility of                    location standard in § 257.60 is likely to
                                            operators of the generating unit could                  mandating closure of all CCRMU within                 be more directly applicable to many
                                            find themselves in the position of either               these deadlines, within the time to                   CCRMU, as they are landfills that would
                                            operating in noncompliance with RCRA                    complete this rulemaking.145                          not have been constructed or designed
                                            or halting operations and thereby                          EPA acknowledges that the risks                    to hold free liquids. EPA has also
                                            potentially causing adverse reliability                 associated with CCRMU above the                       included the dewatering standards in
                                            conditions. In addition, failure of an                  regulatory threshold are substantial, and             § 257.102(d)(2)(i) for those closed CCR
                                            electric transmission or generation                     generally warrant a mandate to close in               surface impoundment CCRMU. Based
                                            system can lead to substantial risks to                 accordance with § 257.102. Moreover,                  on the descriptions provided by
                                            human health (e.g., if an outage impairs                the fact that EPA did not model the                   commenters EPA expects that this
                                            the ability of emergency services to                    aggregate risks associated with the                   requirement will largely be relevant to
                                            function properly or it causes home                     widespread use of small amounts of                    closed CCRMU located beneath active
                                            heating or cooling systems to fail, which               unencapsulated CCR throughout the                     disposal units, rather than CCRMU
                                            increases risk, particularly for                        entire facility raises questions about                located beneath infrastructure vital to
                                            vulnerable populations).                                whether EPA may have underestimated                   energy production, which are unlikely
                                               However, such impacts are far less                   the potential risks associated with these             to be inundated by groundwater.
                                            likely to arise from an individual                      CCRMU. EPA also agrees that overfills                 Moreover, this requirement directly
                                            facility-specific decisions, and should                 can present significant risks,                        addresses the reason that EPA has
                                            normally be adequately managed by the                   particularly when the closed CCR unit                 concluded that many previously
                                            established RTO processes for                           remains inundated by groundwater or                   completed closures do not meet the
                                            scheduling outages. EPA recognizes that                 otherwise continues to contain free                   standard in RCRA section 4004(a).
                                                                                                    liquids. EPA therefore concludes that                    To be clear, EPA is not exempting
                                            this final rule provides a substantial
                                                                                                    exempting these CCRMU from the                        these CCRMU from the requirement to
                                            amount of time for facilities to complete
                                                                                                    requirement to close in accordance with               close as commenters requested, but
                                            these closures. In contrast with the
                                                                                                    § 257.102 is not appropriate.                         merely extended the deadline for
                                            proposal, the final rule provides
                                                                                                       Given that EPA has the ability to rely             compliance until the Agency can
                                            facilities 54 months to initiate closure,
                                                                                                    on the permitting process to address                  address it on an individualized basis as
                                            and depending on the CCRMU, the
                                                                                                    issues on a case-by-case basis, and                   part of permitting. In addition, these
                                            facility may have as much as an
                                                                                                    because doing so will allow the Agency                units will be required to comply with all
                                            additional seven to 15 years to complete                                                                      other requirements applicable to
                                            closure. Based on the comments,                         to adequately address both the
                                                                                                    competing environmental and reliability               CCRMU, including the requirements for
                                            however it appears that the                                                                                   groundwater monitoring and corrective
                                            overwhelming majority of CCRMU                          risks presented at individual sites, it is
                                                                                                    reasonable for the Agency to choose this              action, if necessary.
                                            below critical energy production                                                                                 As noted above and discussed in the
                                            infrastructure are likely to be landfills,              option. Consequently, EPA is deferring
                                                                                                                                                          next section, in response to public
                                            and therefore the seven year deadline is                the requirement to initiate closure of
                                                                                                                                                          comments, EPA has extended the
                                            more likely to be applicable.                           CCRMU located beneath critical
                                                                                                                                                          deadline to initiate closure to Tuesday,
                                               Further, this situation is not                       infrastructure until either: (1) The
                                                                                                                                                          May 8, 2029, which is 54 months after
                                            analogous to the closure of unlined and                 infrastructure is no longer essential for
                                                                                                                                                          the effective date of this final rule.
                                            clay lined impoundments in response to                  the activity to be successful; (2) A
                                                                                                                                                          Based on its current schedule, EPA
                                            the USWAG vacatur, and thus the                         permit authority determines closure is
                                                                                                                                                          expects to be issuing permits before that
                                            information used to develop the                         necessary to ensure there will be no
                                                                                                                                                          deadline.
                                            deadline for those CCR units in the Part                reasonable probability of adverse effect                 EPA is defining ‘‘critical
                                            A rule cannot be used to develop a                      on health or the environment; or (3) The              infrastructure’’ as infrastructure, large
                                            comparable requirement for these                        closure or decommissioning of the                     buildings, or other structures vital to the
                                            CCRMU. For example, there appear to                     facility, whichever occurs first.                     success or continuation of current site
                                            be a greater number of CCRMU at these                      The final rule also includes an                    operations or activities for the public
                                            sites and the construction estimates EPA                additional condition on CCRMU under                   welfare. This does not include
                                            relied upon in 2020 in the Part A final                 active disposal units. In order for these             infrastructure, large buildings, or other
                                            rule applied exclusively to the six                     units to qualify for the deferral, the                structures that solely provide
                                            specific technologies that a facility                   facility must document that the CCRMU                 commercial or financial benefit to
                                            might use to develop alternative                        meets one of two existing performance                 private entities. Examples of critical
                                            disposal capacity. That rulemaking did                  standards: either (1) The standard in                 infrastructure include high power
                                            not involve the potential effect of                     § 257.60 that the unit was constructed                electric transmission towers, large
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                                            disturbing substantial portions of the                  with a base that is located no less than              buildings, and electrical substations.
                                            entire site or disassembling critical                   1.52 m (5 feet) above the upper limit of              The structures must be both (1)
                                            components of the power plant’s energy                     145 EPA is obligated to take final action on the
                                                                                                                                                          necessary for the continued generation
                                            infrastructure, such as high power                      proposal no later than May 6, 2024, pursuant to
                                                                                                                                                          of power or currently used for an
                                            electric transmission towers or electrical              Statewide Organizing for Community eMpowerment        ongoing site activity; and (2) not readily
                                            substations, which is what some                         v. EPA, No. 1:22–cv–2562–JDB (D.D.C.).                replaced or relocated. For example, a


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                                            parking lot that could easily be replaced               equivalent to a requirement to ‘‘re-                  closure or is in the process of closing
                                            by a parking lot in a different location                close’’ as facilities may be able to                  pursuant to State law (e.g., solid waste
                                            onsite would not qualify as critical                    implement engineering measures to                     permit, consent orders or decrees).
                                            infrastructure; but a lined industrial                  address any deficits without removing                 Commenters also requested that EPA
                                            stormwater ponds, wind or solar farms,                  the cover system or entirely re-closing               exempt any site that closed as part of a
                                            substations, or military infrastructure                 the whole impoundment. Whether any                    cleanup conducted pursuant to another
                                            would qualify.                                          particular measure will be effective is a             Federal requirement, such as CERCLA
                                               The owner or operator of a CCRMU                     site-specific determination, but some                 or RCRA subtitle C. For the most part,
                                            located under critical infrastructure                   reasonably available engineering                      these commenters simply repeated the
                                            must include information documenting                    measures that may be effective and                    comments that they had made with
                                            their eligibility for the deferral in the               should be considered include the                      respect to legacy CCR surface
                                            FER part 2 in § 257.75(d) that includes                 installation of physical barriers (e.g.,              impoundments, stating that EPA had
                                            at a minimum a description of the                       slurry walls), groundwater diversion                  failed to demonstrate that these units
                                            infrastructure, its current and                         techniques (e.g., interception trench) or             posed any risk as a consequence of the
                                            anticipated use(s), and the                             hydraulic containment systems (e.g.,                  lack of ponded water, and that ‘‘re-
                                            decommissioning date or anticipated                     groundwater extraction wells) to                      closure’’ of these previously closed
                                            active lifespan. The documentation                      prevent groundwater infiltration.                     units is consequently unnecessary and
                                            must also demonstrate that the CCRMU                                                                          overly burdensome. However, several
                                            complies with either § 257.60 or                        iii. Requirement To Comply With
                                                                                                    Performance Standards in § 257.102                    commenters also presented individual
                                            § 257.102(d)(2)(i). The documentation                                                                         examples of CCRMU that had been
                                            must also demonstrate that the                             As discussed above, this final rule                closed in accordance with State
                                            structures are both: (1) Necessary for the              requires that the closure of CCRMU                    requirements, which the commenters
                                            continued generation of power or                        meet the performance standards in                     believed would demonstrate the State
                                            currently used for an ongoing site                      either § 257.102(c) or (d). Under this                closures were equally as protective as
                                            activity; and (2) Not readily replaced or               final rule all closures initiated after the           those conducted in accordance with
                                            relocated.                                              effective date of this rule, as well as to            § 257.102. These included the following
                                               When it comes time for a permit                      those that were not completed prior to                examples:
                                            authority to evaluate the CCRMU, EPA                    the effective date of this rule, will need
                                            intends to rely on the permit application               to comply with these requirements.                    [A facility] has an approximately 20-acre dry
                                                                                                       And in general, the same is true with              stack landfill with 20 plus years of
                                            process as the primary mechanism to
                                                                                                                                                          groundwater monitoring that does not show
                                            collect the information to allow a                      respect to closures that were completed
                                                                                                                                                          groundwater exceedances, zero potential
                                            determination to be made as to whether                  prior to the effective date of this rule. As          receptors downstream (from the direction of
                                            to require closure of the CCRMU prior                   discussed previously, a facility that can             groundwater) that use wells for drinking
                                            to facility closure. The permit                         certify that prior closure of a unit meets            water (also no potable wells within a two-
                                            application process is a well-established               the performance standards in                          mile radius). The landfill construction using
                                            system for reviewing the types of                       § 257.102(c) only needs to post the                   best practices to minimize erosion potential,
                                            groundwater, soil and other sampling                    documentation that the closure meets                  including only placement of stabilized
                                                                                                    the standard. Similarly, if a facility can            material in the landfill, perimeter ditch
                                            and analytical data that will typically be
                                                                                                                                                          surrounding the entire landfill to collect any
                                            required in determining the potential                   demonstrate that the closed unit meets                runoff that is processed before discharge, and
                                            risks associated with the CCRMU.                        the requirements under § 257.102(d),                  the unit is regulated by the Florida
                                               When the permit application is called                EPA will consider the unit to be closed               Department of Environmental Protection that
                                            in, the facility must provide sufficient                and the only requirements that will be                includes semi-annual groundwater
                                            information, including data on                          applicable are those that apply to closed             monitoring results review and yearly on-site
                                            contaminant levels in groundwater, to                   units under post closure care—that is                 regulatory inspections.
                                            demonstrate that the criteria listed                    groundwater monitoring, and if                        [Another facility] had two CCRMU landfills
                                            above for the deferral have been met,                   necessary, corrective action. EPA never               that were closed prior to the effective date of
                                            and for the permit authority to be able                                                                       the 2015 CCR Rule and were closed in
                                                                                                    intended to require facilities that                   accordance with the State of Florida’s
                                            to evaluate the risks associated with the               otherwise met the closure standards to                Chapter 62–701, F.A.C., for municipal and
                                            CCRMU. EPA (or other permit authority)                  go through the process again and re-                  solid waste landfills. Neither landfill was
                                            will review the information to                          close the unit. In addition, as discussed             built on top of a liner system. The closed
                                            determine whether the criteria for                      in the next section, where the facility               landfills were subject to design criteria for
                                            deferral have been met and whether                      was subject to standards that are                     cover systems and stormwater management,
                                            closure is necessary to mitigate                        different than the Federal CCR closure                as well as long-term operations and
                                            unacceptable risks to human health or                   standards—e.g., if the closure was                    maintenance provisions. The groundwater
                                            the environment from the CCRMU.                                                                               monitoring system requirements for landfills
                                                                                                    conducted as part of a CERCLA                         in Florida are similar to, but not the same as,
                                               Finally, EPA received a substantial                  cleanup—but otherwise is equivalent in                those in the 2015 CCR rule. Both closed cells
                                            number of comments requesting that the                  terms of mitigating the risks, the                    would be subject to corrective action if
                                            Agency not require facilities to ‘‘re-                  requirement to meet the § 257.102                     dictated by the monitoring program.
                                            close’’ any unit that already completed                 standards will be deferred to permitting,             Maintenance, inspections, and repair of the
                                            closure. This final rule does not                       where a closure equivalency                           cover systems, as needed, are also part of the
                                            mandate that any previously closed unit                 determination will be made.                           long-term care program.
                                            automatically re-close. But as described                                                                      [Another facility] reported closing an inactive
                                            in the next section, the final rule does                (a) Closure of CCRMU Under State Law                  CCR landfill in the 1980s. The 20-acre site
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                                            require all CCRMU to meet the                           and Deferral of Certain Completed                     was used to dispose of bottom and fly ash,
                                                                                                    Closures to Permitting                                including scrubber sludge. The owner
                                            performance standards in § 257.102,                                                                           performed monitoring of a nearby spring to
                                            although as discussed above, some may                      In response to EPA’s proposal that all             demonstrate whether any ponded water was
                                            not be required to do so until the                      CCRMU comply with § 257.102, many                     leaking. Upon visual inspection, it was
                                            permitting process begins for that unit.                commenters requested that EPA exempt                  determined that the bentonite/clay-lined
                                            EPA does not consider this to be                        any unit that has either completed                    pond remained intact throughout the active



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                                            operation of the landfill. However, because of          the State program is as protective as                 have been eliminated. This requirement
                                            the age of the site, groundwater monitoring             those in part 257.                                    directly addresses the reason that EPA
                                            wells were not required.                                   More to the point, as EPA explained                has concluded that many previously
                                               In addition, several States provided                 in Unit III.B.2.g of this preamble, with              completed closures do not meet the
                                            information about their existing                        respect to legacy CCR surface                         standard in RCRA section 4004(a).
                                            programs or individual closures. In                     impoundments, EPA lacks the record                       In addition, a facility must document
                                            some instances, the information was                     necessary to support a broad exemption                that it had installed a groundwater
                                            intended to demonstrate that the                        for all CCRMU closures under any State                monitoring system and performed
                                            closures were equally as protective as                  requirement. The limited information                  groundwater monitoring that meets a
                                            § 257.102, and to provide factual                       currently available does not                          subset of the performance standards
                                            support for an exemption for CCRMU                      demonstrate that all closures conducted               found in § 257.91(a). Specifically, the
                                            that closed in accordance with State                    under State authority, particularly those             facility must demonstrate that the
                                            requirements. Other States                              completed prior to 2015, ‘‘will ensure                groundwater monitoring system was
                                            acknowledged the risks but urged EPA                    there is no reasonable probability of                 capable of: (1) Accurately representing
                                            to make the CCRMU requirements                          adverse effects on health or the                      background water quality, (2)
                                            ‘‘more flexible and allow for practical                 environment.’’ 42 U.S.C. 6944(a).                     Accurately representing the quality of
                                            alternatives to closure and corrective                     EPA, however, agrees that there are                water passing the waste boundary, and
                                                                                                    examples of closures that are                         (3) Detecting contamination in the
                                            action for units that have not impacted
                                                                                                    substantially equivalent to those                     uppermost aquifer. The groundwater
                                            groundwater,’’ or to provide an
                                                                                                    conducted in accordance with                          monitoring system must have monitored
                                            opportunity to demonstrate if the
                                                                                                    § 257.102. Moreover, EPA has no basis                 all potential contaminant pathways.
                                            previous closure of the CCRMU is
                                                                                                    for concluding that the same                             Next, a facility would need to
                                            protective of human health and the
                                                                                                    considerations that warrant deferral of               demonstrate that a site-specific risk
                                            environment.
                                                                                                    certain legacy CCR surface                            assessment was conducted or approved
                                               By contrast, several commenters                      impoundments closures are not equally                 by the regulatory authority prior to (or
                                            supported EPA’s proposal to require all                 applicable to comparable CCRMU                        as part of) approving the closure, and
                                            CCRMU to comply with the                                closures. Accordingly, EPA is deferring               that the closure and any necessary
                                            performance standards in § 257.102,                     the requirement for a CCRMU that                      corrective action has been overseen by
                                            even if the closure was previously                      closed prior to the effective date of this            the regulatory authority, pursuant to an
                                            approved by a State regulatory agency.                  rule to demonstrate compliance with                   enforceable requirement.
                                            These commenters also largely made the                  § 257.102(d) until a permit application                  Finally, the facility would be required
                                            same comments they had made with                        is required to be submitted where the                 to prepare and include documentation
                                            respect to legacy CCR surface                           facility can document that all of the                 in the applicability report and operating
                                            impoundments, pointing to EPA’s                         following conditions have been met.                   record, demonstrating that it has met
                                            conclusions in 2015 that significant                    First, the deferral is limited to                     these criteria and is eligible for deferral.
                                            gaps remain in many State programs.                     circumstances in which a regulatory                   The documentation must include
                                            These commenters also identified recent                 authority played an active role in                    specifics including the State permit,
                                            examples of closures approved by                        overseeing and approving the closure                  order, data, GWM results, etc. This must
                                            various State agencies that they believed               activities. EPA considers a ‘‘regulatory              be certified by the owner/operator or an
                                            were not consistent with the Federal                    authority’’ to include a State or Federal             authorized representative using the
                                            closure standards.                                      agency or department that oversaw                     same language in § 257.102(e).
                                               No commenter submitted any                           implementation of requirements                           When it comes time for the permit
                                            information that would support a                        imposed through a permit, an                          authority to evaluate the closure, EPA
                                            conclusion that different provisions are                administrative order, or consent order                intends to rely on the permit application
                                            warranted for CCRMU that closed prior                   issued after 2015 under CERCLA or by                  process as the primary mechanism to
                                            to the effective date of this rule than                 an EPA-approved RCRA State program.                   collect the information to allow a
                                            EPA adopted for similarly situated                      The permit, order, regulatory or other                determination to be made as to whether
                                            legacy CCR surface impoundments.                        authority must have required                          a CCRMU that closed under these
                                            Even if individual examples were                        groundwater monitoring to ensure there                alternative standards did so in
                                            sufficient to overcome the record with                  was no contamination coming from the                  compliance with the requirements of
                                            respect to State programs generally,                    unit that is not addressed by corrective              § 257.102. The permit application
                                            none of the examples presented by the                   action until cleanup standards are                    process is a well-established system for
                                            commenters provided sufficient detail                   achieved.                                             reviewing the types of groundwater, soil
                                            for EPA to actually evaluate the                           To support deferral of a prior closure             and other sampling and analytical data
                                            adequacy of the closures. For instance,                 of a CCRMU as substantially equivalent,               that will typically be required in
                                            in the three examples presented above,                  the facility must also document that the              determining the ‘‘equivalency’’ of
                                            neither of the first two examples                       CCRMU meets one of two existing                       alternative closures.
                                            actually describe the groundwater                       performance standards: either: (1) The                   When the permit application is called
                                            monitoring that was required; while the                 standard in § 257.60 that the unit was                in, the facility must provide sufficient
                                            second states that ‘‘groundwater                        constructed with a base that is located               information, including data on
                                            monitoring system requirements for                      no less than 1.52 m (5 feet) above the                contaminant levels in ground water, to
                                            landfills in Florida are similar to, but                upper limit of the uppermost aquifer, or              demonstrate that the applicable
                                            not the same as, those in the 2015 CCR                  must demonstrate that there is no                     § 257.102 standards have been met. EPA
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                                            rule’’ it provides no further information.              intermittent, recurring, or sustained                 or an approved State Director (the
                                            The third example explains that no                      hydraulic connection between any                      permitting authority) will review the
                                            groundwater monitoring at all was                       portion of the CCR unit and the upper                 information to determine whether the
                                            required because of the age of the unit;                limit of the uppermost aquifer or surface             ‘‘equivalency’’ of the closure has been
                                            it is unclear why the commenter                         water; or (2) The dewatering standard in              successfully demonstrated. If EPA
                                            believes that this supports a finding that              § 257.102(d)(2)(i) that all free liquids              determines that the closure has met the


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                                            appropriate part 257 closure standard,                  groundwater with high concentrations                  regulations. One commenter criticized
                                            EPA or an approved State Director will                  of heavy metals, with particularly high               EPA for failing to identify the 19
                                            issue a post-closure permit. If EPA or an               concentrations of boron fluctuating                   landfills ‘‘already regulated under the
                                            approved State Director determines that                 between 14 and 30 mg/L.’’ The State of                2015 CCR final rule, but which have
                                            the closure does not meet the part 257                  Michigan required closure of this                     waste in contact with groundwater,’’
                                            standards, the owner or operator will be                landfill due to groundwater impacts and               and depriving the public of an
                                            required to submit a permit application                 after the landfill completed closure,                 opportunity to comment on the
                                            containing all the applicable                           ‘‘the boron concentrations returned to                accuracy of that proposed finding.
                                            information for an operating permit, and                background concentrations                             Another commenter said it takes a very
                                            EPA will issue a permit that contains                   approximately five years later.’’ The                 long time to eliminate free liquids in a
                                            the specific requirements necessary for                 commenter further went on to state,                   CCRMU or landfill, which typically
                                            the unit to achieve compliance with                     ‘‘this example is provided to                         happens during post-closure care.
                                            § 257.102.                                              demonstrate that any type of water                       EPA disagrees that it has failed to
                                                                                                    contact with CCR disposal areas can                   justify the revision. The proposed rule
                                            (b) Revisions to Performance Standards
                                                                                                    impact groundwater, causing                           did not rest on an assumption but on
                                            for Closing With Waste in Place
                                                                                                    concentrations to rise to concerning                  information (e.g., annual groundwater
                                            (1) Expansion of § 257.102(d)(2)(i) to                  levels above water quality standards.’’               monitoring and corrective action
                                            CCR Landfills                                           Another commenter suggested that,                     reports, closure plans) posted to facility
                                               Given the locations of many CCRMU                    consistent with its statement in the                  CCR websites showing that the bases of
                                            (located in floodplains, or wetlands, or                proposal, EPA should further revise                   their CCR landfills are in contact with
                                            near large surface water bodies), EPA is                § 257.102 to clarify that the performance             groundwater. EPA has included a list of
                                            concerned that the base of these units                  standards are met if there is no liquid               these facilities in the docket for this
                                            may intersect with the groundwater                      in the CCRMU. The commenter                           final rule. In addition, other
                                            beneath the unit. As EPA has previously                 recommended the following revisions to                commenters have provided further
                                            explained, where the base of a surface                  § 257.102(d)(1) and (2):                              examples of landfills that are submerged
                                            impoundment intersects with                             (1) General performance standard. The owner           in the aquifer. Moreover, while the
                                            groundwater, the facility will typically                or operator of a CCR unit or CCR                      commenter is correct that whether
                                            need to include engineering measures                    management unit that contains liquid must             groundwater is infiltrating a particular
                                            specifically to address any continued                   ensure that, at a minimum, the CCR unit or            unit is a site-specific determination, the
                                                                                                    CCR management unit is closed in a manner             commenter failed to provide any factual
                                            infiltration of groundwater into the                    that will: * * *
                                            impoundment in order to close with                      (2) Drainage and stabilization of CCR units           basis for its assertion that CCR surface
                                            waste in place consistent with                          and CCR management units. The owner or                impoundments and CCR landfills are
                                            § 257.102(d). See, e.g., 87 FR 72989                    operator of any CCR unit or CCR management            never located in the same
                                            (November 28, 2022), 85 FR 12456,                       unit that contains liquid must meet the               hydrogeological environments. And
                                            12464 (March 3, 2020). The same holds                   requirements of paragraphs (d)(2)(i) and (ii)         contrary to the commenter’s assertion
                                            true for CCRMU that intersect with                      of this section prior to installing the final         EPA has repeatedly explained why it is
                                            groundwater. The existing requirements                  cover system required under paragraph (d)(3)          insufficient to rely on corrective action
                                                                                                    of this section.                                      rather than closure to address the risks
                                            in § 257.102(d)(1) and (3) apply to all
                                            CCR units and EPA proposed that these                     A few commenters opposed extending                  associated with CCR landfills. The
                                            provisions would also apply to CCRMU                    § 257.102(d)(2) to CCR landfills and                  closure and corrective action regulations
                                            without revision. By contrast, the                      CCRMU, asserting that EPA had failed                  are distinct and independent
                                            existing requirements in § 257.102(d)(2),               to provide a factual basis to justify the             requirements, each of which must be
                                            which establish performance standards                   revision. For example, one commenter                  met. The closure in-place standards are
                                            for drainage and stabilization of the                   stated that:                                          designed to ensure that the waste in the
                                            unit, only apply to CCR surface                         There are two purposes for free liquids               closed unit has been dried out and is
                                            impoundments. These performance                         removal—addressing stability and potential            kept dry so that leachate cannot form in
                                            standards are critical to ensuring that                 groundwater contamination. For long-closed            the closed unit and subsequently be
                                            units that contain liquids are properly                 units, stability is demonstrably not a concern.       released to the environment. See, e.g.,
                                            and safely closed, and therefore should                 For groundwater, any potential                        47 FR 32318, 32321, 32323. For
                                            apply to any unit, including a CCRMU                    contamination can be addressed through                impoundments that are not yet leaking
                                                                                                    corrective action rather than closure. . . .
                                            and a CCR landfill, where free liquids                                                                        compliance with these provisions are
                                                                                                    EPA does not explain why the existing
                                            remain in the unit. Accordingly, EPA                    corrective action regulations—which would             largely designed to ensure that the
                                            proposed to revise § 257.102(d)(2) so                   require corrective action and potentially             closed unit does not become a source of
                                            that it applies to all CCR units and                    source control in the event groundwater               future contamination. In other words,
                                            CCRMU. To assist commenters, the                        contact causes impacts to groundwater—are             the closure standards are expressly
                                            proposal included a background                          insufficient. In short, the proposed extension        designed to prevent groundwater
                                            discussion of the existing closure                      of the requirements is unnecessary and                contamination. By contrast, the
                                            performance standards. Finally, EPA                     unsupported by the record.                            corrective action provisions in §§ 257.96
                                            explained that if there are no liquids in               Another commenter contested the                       through 257.98 contain the standards
                                            the unit, the proposed revision would                   factual basis for the ‘‘proposed rule’s               and procedures for cleaning up the
                                            not require the facility to do anything to              assumption’’ that CCR are in contact                  contamination in the groundwater that
                                            meet the performance standards.                         with groundwater. According to the                    has already leaked out of the unit. See,
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                                               Several commenters supported the                     commenter, CCR surface impoundments                   e.g., 40 CFR 257.97(b)(2) and (4)
                                            proposed revision. For example, one                     and CCR landfills are not located in the              (requiring that clean up remedies
                                            commenter provided data about an                        same hydrogeological environments and                 ‘‘attain the groundwater protection
                                            unlined CCR landfill that was                           requires a site-specific evaluation to                standard [in] § 257.95(h)’’ and ‘‘remove
                                            constructed above the groundwater table                 determine, which is beyond the                        from the environment as much of the
                                            and was found to be ‘‘impacting                         requirements of the existing CCR                      contaminated material as was released


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                                            from the CCR unit as feasible’’). See,                  of art in the 2015 CCR Rule before                    of the regulation as a whole, and best
                                            USWAG, 901 F.3d at 429–430, 431.                        extending them into this final rule.                  achieves both the purpose of the
                                               EPA appreciates the commenter’s                         One commenter argued that even if                  regulation and the RCRA section 4004(a)
                                            suggested alternative regulatory text;                  EPA adopted its proposed definition,                  mandate to protect human health and
                                            however, EPA is concerned that the                      the rule provides no criteria—in                      the environment. This is because under
                                            suggested revision is effectively                       contrast to the detailed criteria for the             the commenters’ unnecessarily
                                            redundant of the new definition of                      necessary cover system—for how to                     restrictive definitions the regulation
                                            ‘‘contains CCR and liquids’’ and would                  ‘‘control, minimize or eliminate to the               would allow a significant number of
                                            not clearly communicate the entities                    maximum extent feasible’’ horizontal                  sites to continue leaking hazardous
                                            that are subject to the regulation.                     groundwater ‘‘infiltration.’’ The                     constituents, such as arsenic and
                                            Therefore, EPA is finalizing this                       commenter alleged that ‘‘this type of                 mercury, indefinitely.
                                            requirement as proposed. In addition,                   undefined performance standard would                     Accordingly, the final rule adopts a
                                            because it can take a significant amount                be void for vagueness, especially when                definition of infiltration based on the
                                            of time to meet the performance                         compared to the great lengths EPA went                dictionary definitions discussed in the
                                            standards in § 257.102(d)(2), EPA has                   to specify the other technical criteria to            proposal. The final rule defines
                                            extended the closure deadlines                          address vertical infiltration in the                  infiltration to mean ‘‘the migration or
                                            applicable to any CCR landfill that                     performance standard.’’                               movement of liquid, such as surface
                                            needs to meet these standards.                             EPA also received numerous                         water or ground water, into or through
                                                                                                    comments recommending that                            a CCR unit from any direction,
                                            (2) Definition of Infiltration                          infiltration be defined by reference to               including from the surface, laterally,
                                               EPA requested comment on whether                     technical definitions that define                     and through the bottom of the unit.’’
                                            to adopt a regulatory definition of the                 infiltration as exclusively the vertical              This definition also is consistent with
                                            term ‘‘infiltration,’’ consistent with                  flow of water from the surface down                   two technical sources that use
                                            term’s plain meaning and the dictionary                 into the unit. These included a                       infiltration more broadly by
                                            definitions discussed in the preamble.                  definition provided by the U.S.                       incorporating lateral flow through
                                                                                                    Geological Survey (‘‘USGS’’), as ‘‘flow of            continuous porous media. As EPRI
                                               Several commenters agreed that EPA
                                                                                                    water from the land surface into the                  explained in its comments,
                                            should adopt a regulatory definition of
                                                                                                    subsurface.’’ Also, according to the                  Geotechnical Aspects of Landfill Design
                                            infiltration that explicitly recognizes the
                                                                                                    USGS: ‘‘Water that infiltrates at land                and Construction (Qian 2002) does not
                                            myriad ways that liquids can infiltrate
                                                                                                    surface moves vertically downward to                  contain an explicit definition of
                                            CCR surface impoundments. Some
                                                                                                    the water table to become ground water.               infiltration but does refer to both
                                            commenters supported EPA’s proposed
                                                                                                    The ground water then moves both                      ‘‘surface water infiltration’’ and
                                            definition of ‘‘infiltration’’ because
                                                                                                    vertically and laterally within the                   ‘‘groundwater infiltration’’ in its
                                            industry has argued that ‘‘the presence                 ground-water system.’’                                description of landfill leachate.
                                            of groundwater in ash ponds is                             As discussed previously, EPA                       Similarly, the National Research
                                            essentially irrelevant to closure                       disagrees that it is necessary to wait                Council in Assessment of the
                                            compliance and that the CCR Rule’s                      until the court issues its decision in the            Performance of Engineered Waste
                                            closure in place requirements are                       pending litigation (Electric Energy, Inc.,            Containment Barriers (National
                                            limited to draining the surface portion                 et al. v. EPA, Case Nos. 22–1056 and                  Research Council 2007) does not
                                            of the pond, constructing a final cover,                23–1035). However, the court may rule                 explicitly define infiltration but uses
                                            and preventing surface water—but not                    on the procedural question at issue, it               infiltration to describe surface water and
                                            groundwater—infiltration thereafter.’’                  would not resolve the substantive                     groundwater movements into waste as
                                            Another commenter stated EPA should                     question EPA posed in the proposal, of                well as soil migration into drainage
                                            define ‘‘infiltration’’ to make clear that              whether the inclusion of a definition                 systems.
                                            it is ‘‘a general term that refers to the               would be useful.                                         With respect to the comment
                                            migration or movement of liquid into or                    EPA also disagrees that it should                  requesting EPA to ‘‘acknowledge (and
                                            through a CCR unit from any direction,                  adopt a definition of infiltration as                 make a good faith attempt to reconcile)
                                            including the top, sides, and bottom of                 exclusively the vertical flow of water                the competing interpretations of key
                                            the unit.’’                                             from the surface down into the unit. The              terms of art in the 2015 regulation,’’
                                               Other commenters objected to EPA’s                   purpose of adopting a definition is not               EPA considers that its adoption of this
                                            proposal to adopt a definition, citing on-              to establish a generic definition of                  definition does this. As noted, the
                                            going litigation in Electric Energy, Inc.,              infiltration, but to assist in the                    definition is consistent with both the
                                            et al. v. EPA, Case Nos. 22–1056 and                    application of standards to ensure that               plain language meaning of the term, and
                                            23–1035. These commenters                               a CCR unit closes in a manner that will               with relevant technical sources. Further,
                                            complained that EPA makes no mention                    protect human health and the                          the definition fits within the context of
                                            of this litigation in the proposed rule,                environment. When promulgating                        the regulation as a whole and best
                                            even as it claims that its interpretation               definitions applicable in regulatory                  achieves both the purpose of the
                                            is ‘‘sufficiently clear that a definition is            programs, EPA relies not only on                      regulation and RCRA’s mandate to
                                            not necessary.’’ One commenter further                  available dictionary definitions, but also            protect human health and the
                                            stated that if EPA ultimately elects to                 the surrounding context of the                        environment.
                                            adopt regulatory definitions of those                   regulation as a whole, as well as what                   Finally, EPA disagrees that the
                                            terms, it should wait until the court                   will best achieve the overall purpose of              regulation, with or without a regulatory
                                            rules so that the definitions are                       the regulation, and the Agency’s                      definition of infiltration, is
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                                            informed by and consistent with any                     statutory mandate. None of the                        unconstitutionally vague. The scope of
                                            such ruling.                                            commenters address-any of these factors               the regulatory definition is clear, and
                                               Another commenter asserted that EPA                  in recommending that EPA adopt their                  thus regulated parties have adequate
                                            must acknowledge (and make a good                       various technical definitions. In this                notice of the rule’s requirements.
                                            faith attempt to reconcile) the                         case, the plain language definition of                   In point of fact, the commenter’s
                                            competing interpretations of key terms                  infiltration best fits within the context             complaint is not that it cannot


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                                            determine what is required under the                    Cheshire, Ohio (November 18, 2022) in                 the base of the unit is below the water
                                            regulation, but that it dislikes what the               the docket at EPA–HQ–OLEM–2021–                       table. In this scenario, the CCR in the
                                            plain language clearly compels. Relying                 0590–0100; (2) 88 FR 31982 (May 18,                   unit will be in continuous contact with
                                            on the plain language definition of                     2023); and (3) 88 FR 55220 (August 14,                water. This contact between the waste
                                            infiltration simply requires facilities                 2023). EPA continues to be unpersuaded                and groundwater provides a potential
                                            that want to close an unlined CCR                       by the commenters objections and to                   for waste constituents to be dissolved
                                            impoundment with waste in place to                      avoid any confusion is reiterating below              and to migrate out of (or away from) the
                                            implement engineering measures to                       the explanation provided in the May                   closed unit. In such a case, the general
                                            ‘‘control, minimize, or eliminate, to the               2023 proposal.                                        performance standard also requires the
                                            maximum extent feasible’’ liquid                           The CCR closure requirements                       facility to take measures, such as
                                            entering the unit from the sides or the                 applicable to closing with waste in                   engineering controls, that will ‘‘control,
                                            base of the unit. EPA has previously                    place include general performance                     minimize, or eliminate, to the maximum
                                            identified several reasonably available                 standards and specific technical                      extent feasible, post-closure infiltration
                                            engineering measures exist that can                     standards that set forth individual                   of liquids into the waste’’ as well as
                                            prevent, or at least control, the flow of               engineering requirements related to the               ‘‘post-closure releases to the
                                            groundwater into the unit (and                          drainage and stabilization of the waste               groundwater’’ from the sides and bottom
                                            consequently the releases out of the                    and to the final cover system. The                    of the unit. 40 CFR 257.102(d)(1).
                                            unit). For example, EPA’s 1982                          general performance standards and the                    Whether any particular unit can meet
                                            guidance on the closure of hazardous                    technical standards complement each                   these performance standards is a fact
                                            waste surface impoundments, which the                   other, and both must be met at every                  and site-specific determination that will
                                            commenter also references, identifies                   unit.                                                 depend on a number of considerations,
                                            several engineering controls ‘‘to prevent                  The specific technical standards                   such as the hydrogeology of the site, the
                                            the subsurface flow of ground water into                related to the drainage of the waste in               design and construction of the unit, and
                                            the impounded waste.’’ EPA Office of                    the unit require that, ‘‘free liquids must            the kinds of engineering measures
                                            Solid Waste, Closure of Hazardous                       be eliminated by removing liquid wastes               implemented at the unit. Accordingly,
                                            Waste Surface Impoundments, SW–873,                     or solidifying the remaining wastes and               the fact that prior to closure the base of
                                            p 81 (September 1982), Revised Edition                  waste residues.’’ 40 CFR                              a unit intersects with groundwater does
                                            (emphasis added). In other words, the                   257.102(d)(2)(i). Free liquids are defined            not mean that the unit may not
                                            regulation ‘‘clearly proscribes’’ the                   as all ‘‘liquids that readily separate from           ultimately be able to meet the
                                            commenter’s preferred conduct of                        the solid portion of a waste under                    performance standards in § 257.102(d)
                                            closing its CCR impoundments without                    ambient temperature and pressure,’’                   for closure with waste in place.
                                            addressing the groundwater in its unit.                 regardless of whether the source of the                  Depending on the site conditions, a
                                            Finally, § 257.102(d)(1)(i) is no more                  liquids is from sluiced water or                      facility may be able to meet these
                                            vague than the corresponding                            groundwater. 40 CFR 257.53.                           performance standards by
                                            requirement in § 265.111(a), which has                  Consequently, the directive applies to                demonstrating that a combination of
                                            been in effect since 1982 (requiring                    both the freestanding liquid in the                   engineering measures and site-specific
                                            interim status facilities to ‘‘control,                 impoundment and to all readily                        circumstances will ensure that as a
                                            minimize or eliminate to the extent                     separable porewater in the                            consequence of complying with the
                                            necessary to protect human health and                   impoundment, whether the porewater                    closure performance standards, the
                                            the environment, post-closure releases                  was derived from sluiced water,                       groundwater will no longer be in
                                            of leachate . . .). The clarity of this                 stormwater run-off, or groundwater that               contact with the waste in the closed
                                            regulation is shown by the fact that,                   migrates into the impoundment. In                     unit. As one example, where
                                            over the past 40 years the regulation has               situations where the waste in the unit is             groundwater intersects with only a
                                            been in effect, interim status hazardous                inundated with groundwater, the                       portion of an impoundment, the facility
                                            waste facilities have been able to                      requirement to eliminate free liquids                 could close that portion of the unit by
                                            adequately determine what the                           thus obligates the facility to take                   removing the CCR from that area of the
                                            regulation requires and comply with it.                 engineering measures necessary to                     unit but leaving waste in place in other
                                            The commenter has offered nothing to                    ensure that the groundwater, along with               areas. As another example, if the entire
                                            distinguish the interim status                          the other free liquids, has been                      unit sits several feet deep within the
                                            requirements from those in                              permanently removed from the unit                     water table, engineering controls can
                                            § 257.102(d)(i).                                        prior to installing the final cover system.           potentially be implemented to stop the
                                                                                                    See, 40 CFR 257.102(d)(2)(i).                         continued flow of groundwater into and
                                            (3) Closure in Place Performance                           In addition to the process-specific                out of the waste. See, EPA Office of
                                            Standards Under § 257.102(d)                            technical requirements, all closures                  Solid Waste, Closure of Hazardous
                                              The May 2023 proposal explained                       must meet the requirements in the                     Waste Surface Impoundments, SW–873,
                                            how the performance standards for                       general performance standard to                       p 81 (September 1982), Revised Edition.
                                            closing with waste in place applied to                  ‘‘control, minimize or eliminate, to the
                                            a CCR surface impoundment that                          maximum extent feasible,’’ both post                  (4) Methods and Tools for the
                                            intersected with groundwater. EPA                       closure infiltration of liquids into the              Identification and Elimination of Free
                                            received a number of comments that                      waste and releases of CCR or leachate                 Liquids
                                            agreed with the Agency’s explanation,                   out of the unit to the ground or surface                 Many commenters requested EPA
                                            as well as several that opposed it.                     waters, and to ‘‘preclude the probability             provide greater clarity regarding the
                                            Several commenters raised objections                    of future impoundment of water,                       closure performance standard that
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                                            they had previously presented in the                    sediment, or slurry.’’ 40 CFR                         requires that ‘‘free liquids must be
                                            context of prior decisions. EPA has                     257.102(d)(1)(i), (ii).                               eliminated by removing liquid wastes or
                                            previously responded to these                              In situations where the groundwater                solidifying the remaining wastes and
                                            comments in detail in (1) U.S. EPA.                     intersects an unlined CCR unit, water                 waste residues.’’ 40 CFR
                                            Denial of Alternative Closure Deadline                  may infiltrate into the unit from the                 257.102(d)(2)(i). Commenters stated that
                                            for General James M. Gavin Plant,                       sides and/or bottom of the unit because               there continues to be confusion over


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                                            what technical means and methods can                    Longer term variables such as potential               in the closure plan pursuant to
                                            be implemented to meet EPA’s                            groundwater intrusion or other                        §§ 257.102(b) or 2) readily available in
                                            expectations and, in particular, what                   influences are also discussed. In                     other required reports (e.g., the annual
                                            design considerations must be taken                     summary, full compliance requires                     groundwater monitoring and corrective
                                            into account to achieve compliance with                 successful sustained attainment of                    action reports). Furthermore, the
                                            the existing closure performance                        performance standards over the long                   commenter failed to fully explain how
                                            standards (as applied to both currently                 term. Designing successful approaches                 compliance with § 257.102(b) does not
                                            and newly regulated units). The                         will necessarily involve careful                      provide the information needed to
                                            commenters explained that there are no                  consideration of all potential sources of             determine if compliance with the
                                            regulatory specifications for eliminating               free liquids, including groundwater.                  closure performance standards will be
                                            free liquids prior to installing the final              Owners or operators of units that                     met.
                                            cover system or controlling, minimizing                 contain CCR in contact with                              Regarding the deadline, for the same
                                            or eliminating, to the maximum extent                   groundwater will likely need to take                  reasons in Units III.B.2.g and
                                            feasible, the post-closure infiltration of              additional actions such as CCR removal                III.B.2.g.iv.b for legacy CCR surface
                                            liquids as required by § 257.102(d)(2)(i)               or implement specific engineering                     impoundments, EPA concludes that the
                                            and (d)(1)(i), respectively.                            measures applied over time frames                     deadline for the closure plan should be
                                               In response to these requests, EPA is                needed to preclude groundwater from                   extended from the proposed deadline to
                                            providing further information with this                 intruding back into CCR units after free              allow for owners or operators to
                                            final rule. EPA has included in the                     liquids have been initially eliminated.               incorporate information about
                                            docket to this rulemaking a document                                                                          groundwater quality, groundwater
                                            titled ‘‘Methods and Tools for the                      iv. Preparation of a Written Closure Plan             flows, seasonality impacts, and the
                                            Identification and Elimination of Free                  for CCR Management Units                              migration of contaminants (if any) into
                                            Liquids.’’ A summary of some of the                        EPA proposed that owners or                        the plan. Therefore, EPA is finalizing a
                                            main points of the guidance are                         operators of CCRMU comply with the                    deadline of no later than Wednesday,
                                            discussed below.                                        existing requirements of § 257.102(b)                 November 8, 2028, which is 48 months
                                               The document discusses many of the                   requiring the preparation of a written                after the effective date. This final
                                            methods and tools needed to identify                    closure plan no later than 12 months                  deadline extends the proposed deadline
                                            and eliminate free liquids that are                     after the effective date of the final rule.           by 36 months and EPA expects that this
                                            already widely used by industry to                         As mentioned in Unit III.C.4.d, aside              adequately address the concern
                                            investigate and close surface                           from those commenters that disagreed                  regarding the infeasibility of the
                                            impoundments. For example, tools that                   with requiring CCRMU to comply with                   deadline expressed by a commenter
                                            may be used to identify free liquids                    overall closure requirements,                         requesting EPA create extension based
                                            include soil borings and cone                           commenters on the proposed rule                       on the number of CCRMU at the facility.
                                            penetrometers to map the stratigraphy of                agreed that the written closure plan                  This is codified in the regulatory text at
                                            the CCR unit and characterize the                       requirement would generally be                        § 257.102(b)(2)(iii).
                                            geotechnical and hydraulic properties of                appropriate for CCRMU. One                               However, consistent with the
                                            the various CCR layers, as well as the                  commenter suggested additional                        requirements for legacy CCR surface
                                            installation of traditional piezometers,                requirements for the content of the                   impoundments, EPA is not requiring
                                            monitoring wells and vibrating wire                     closure plan including the elevation of               compliance with the written closure
                                            piezometers to monitor pore pressures                   the base of the unit, groundwater                     plan requirement for CCRMU that, by
                                            and water levels. Properly constructed                  information, and descriptions of                      the effective date of this final rule, have
                                            wells and piezometers screened in the                   compliance with § 257.102 will be                     completed: (1) closure with waste in
                                            appropriate locations and depths have a                 achieved (e.g., how free liquids would                place or (2) a closure eligible for deferral
                                            prominent role in networks of                           be eliminated, how waste will be                      to permitting as described in
                                            instruments necessary for assessing free                stabilized, measures to minimize the                  § 257.101(g). Instead, the final rule
                                            liquids in that their design directly                   need for further maintenance of the CCR               requires the owner or operator to
                                            measures water levels under ambient                     unit). A few commenters supported the                 provide information on the completed
                                            conditions. At the most basic level                     proposed deadline but as summarized                   closure of the CCRMU, along with
                                            water levels in wells and piezometers                   in Units III.C.4.a and III.C.4.d of this              supporting documentation to
                                            are indicative of free liquids.                         preamble, other commenters stated the                 demonstrate that the closure meets the
                                            Conversely, networks of wells and                       proposed deadline was infeasible and                  performance standards in § 257.102(d)
                                            piezometers could be used as part of a                  inappropriate. One commenter                          or the standards specified in
                                            program used to determine that free                     suggested the deadline for the closure                § 257.101(g). This is codified in the
                                            liquids no longer exist. Similarly,                     plan be extended to be concurrent with                regulatory text at § 257.102(b)(2)(v).
                                            methods and tools to eliminate free                     the initiation of closure. Another                       Based on comments on the proposed
                                            liquids within the CCR, such as rim                     commenter requested EPA create                        rule and experience from the 2015 CCR
                                            ditches, pumping wells, extraction                      extension mechanisms for this                         Rule, EPA expects the incorporation of
                                            wellpoints are also currently employed                  requirement based on the number of                    this information into the closure plan
                                            by industry. These technologies also                    CCRMU at the facility. Commenters                     will allow facilities to select a closure
                                            provide insights into the presence and                  suggestions for the deadline for the                  method that most appropriately
                                            nature of free liquids at a given CCR                   completion of the closure plan ranged                 addresses issues like waste that is in
                                            unit, e.g., rim ditches and open                        from 12 (the 2015 CCR Rule deadline)                  contact with groundwater, groundwater
                                            excavations enable direct observation of                to 60 months.                                         contamination, and long-term structural
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                                            free liquids.                                              EPA disagrees with the commenter                   stability concerns. Closure plans that
                                               Finally, the document identifies                     that additional requirements regarding                adequately address these issues will
                                            considerations useful to developing                     the content of the closure plan are                   result in better protection of human
                                            successful site-specific strategies and                 necessary. The information the                        health and the environment.
                                            approaches to identify, measure,                        commenter requested be included in the                   The closure plan describes the steps
                                            monitor and eliminate free liquids.                     closure plan is 1) already required to be             necessary to close a CCR unit at any


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                                            point during the active life of the unit                mechanisms for this requirement based                 stating that compliance with the closure
                                            based on recognized and generally                       on the number of CCRMU at the facility.               requirements should not be required
                                            accepted good engineering practices. 40                 For the same reasons in Units III.B.2.g               until after the groundwater monitoring
                                            CFR 257.102(b)(1). The plan must set                    and III.B.2.g.iv.c for legacy CCR surface             system was installed and baseline
                                            out whether the closure of the CCR unit                 impoundments, EPA is finalizing a                     samples collected. These commenters
                                            will be accomplished by leaving CCR in                  deadline of no later than Wednesday,                  pointed to recent EPA Part A and Part
                                            place or through closure by removal and                 November 8, 2028, which is 48 months                  B decisions as evidence of the gap
                                            include a written narrative describing                  from the effective date of the final rule             between EPA’s expectations and the
                                            how the unit will be closed in                          to comply with the post-closure care                  closure and post-closure plans
                                            accordance with the section, or in other                requirement in § 257.104(d). This final               developed by owners or operators and
                                            words, how the closure will meet all the                deadline extends the proposed deadline                best practices; these commenters further
                                            performance standards in the                            by 36 months and EPA expects that this                stated that the proposed deadline
                                            regulations. 40 CFR 257.102(b)(1)(i). The               adequately address the concern                        precludes the incorporation of
                                            written closure plan must also provide                  regarding the infeasibility of the                    groundwater monitoring data in
                                            a schedule for completing all activities                deadline expressed by commenter                       developing closure plans and is likely a
                                            necessary to satisfy the closure criteria               requesting EPA create extension based                 contributing factor to the gap between
                                            of the rule. See also 80 FR 21410–21425.                on the number of CCRMU at the facility.               EPA’s expectation and closure and post-
                                               If the CCR is left in place, the closure             This is codified in the regulatory text at            closure care plans submitted by owners
                                            plan must include a description of the                  § 257.104(d)(2)(iii).                                 or operators of currently regulated units.
                                            final cover system and how the final                      Section 257.104(d) requires that an                 Additionally, as described in Unit
                                            cover system will achieve the regulatory                owner or operator of a CCR unit prepare               III.C.4.d.ii, several commenters
                                            performance standards. If the base of the               a written post-closure plan. The                      requested the delays for the initiation of
                                            impoundment intersects with                             contents of the P.E.-certified plan are               closure for CCRMU beneath critical
                                            groundwater, the closure plan would                     stated in the rule § 257.104(d)(1)(i)                 infrastructure until the
                                            need to discuss the engineering                         through (iii) and can be summarized as                decommissioning or closure of the
                                            measures taken to ensure that the                       a description of the monitoring and                   infrastructure or facility. Finally, a few
                                            groundwater had been removed from                       maintenance activities required for the               commenters suggested EPA create
                                            the unit prior to the start of installing               unit, the frequency that these activities             extensions for the deadline to initiate
                                            the final cover system, as required by                  will be performed, information for the                closure to address concerns about
                                            § 257.102(d)(2)(i). The closure plan                    point-of-contact during the post-closure              comply with overlapping State
                                            would also need to describe how the                     care period, and planned uses of the                  permitting requirements or based on the
                                            facility plans to meet the requirements                 property.                                             number of CCRMU present at the
                                            in § 257.102(d)(1) to ‘‘control, minimize                                                                     facility. Commenters’ suggestions for
                                                                                                    vi. Deadline To Initiate Closure for CCR
                                            or eliminate, to the maximum extent                                                                           alternative deadlines to initiate closure
                                                                                                    Management Units
                                            feasible, post-closure infiltration of                                                                        ranged from 12 with extensions to 60
                                            liquids into the waste and releases of                     EPA proposed that owners or
                                                                                                    operators of CCRMU initiate closure no                months, or at least after the collection of
                                            CCR, leachate, or contaminated run-off                                                                        the baseline groundwater monitoring
                                            to the ground or surface waters.’’ This                 later than 12 months after the effective
                                                                                                    date of the final rule. As explained in               samples required by § 257.94.
                                            could include, for example, the
                                            installation of engineering controls that               the proposed rule, the proposed                          Consistent with the approach for
                                            would address the post-closure                          deadline was expedited from the 2015                  legacy CCR surface impoundments
                                            infiltration of liquids into the waste                  CCR Rule to address the risks posed                   closure, EPA acknowledges the benefit
                                            from all directions, as well as any post-               from these units and EPA’s estimated                  of allowing owners or operators the time
                                            closure releases to the groundwater from                minimum amount of time necessary to                   needed to incorporate groundwater
                                            the sides and bottom of the unit.                       collect the information needed to                     monitoring data into the closure plan.
                                                                                                    determine whether to close the unit in                Additionally, as stated in the proposed
                                            v. Preparation of a Written Post-Closure                place or close by removal.                            rule, EPA acknowledges the importance
                                            Care Plan for CCR Management Units                         Several commenters expressed                       of using information gained by
                                               EPA proposed that owners or                          support for the proposed 12-month                     compliance with the groundwater
                                            operators of CCRMU would be required                    deadline to initiate closure, stating that            monitoring and corrective action
                                            to comply with the existing requirement                 the shorter deadlines are necessary to                requirements to inform closure
                                            in § 257.104(d) regarding the                           address the increased risk from CCRMU                 decisions and therefore the initiation of
                                            preparation of a written post-closure no                and likelihood these units are and have               closure. For the reasons explained in
                                            later than 12 months after the effective                been contaminating groundwater.                       Unit III.C.4.c, EPA is extending the
                                            date of the final rule.                                 However, as mentioned in Unit III.C.4.d,              deadline for the groundwater
                                               As mentioned in Unit III.C.4.d, aside                many other commenters characterized                   monitoring and corrective action
                                            from those commenters that disagreed                    the proposed deadline as infeasible for               requirements to a single deadline of no
                                            with requiring CCRMU to comply with                     the reasons mentioned in Unit III.C.4.a,              later than 42 months from the effective
                                            overall closure requirements,                           including seasonality, need to comply                 date of the final rule. As such, the
                                            commenters on the proposed rule                         with overlapping regulatory                           initiation of closure is being extended as
                                            agreed that the written post-closure care               requirements, labor shortages, and the                well. To ensure owners or operators
                                            plan requirement would generally be                     strain on the limited resources                       have enough groundwater monitoring
                                            appropriate for CCRMU. Overall                          necessary to achieve compliance (e.g.,                data to draw conclusions about
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                                            commenters requested an extension of                    contractors, laboratories, P.E.s) caused              seasonality impacts on groundwater
                                            the post-closure care deadline to allow                 by the number of CCR units coming into                levels and flow and the source of any
                                            for a more feasible deadline and the                    compliance at the same time.                          potential groundwater contamination in
                                            incorporation of groundwater                            Commenters emphasized the                             the area, EPA is finalizing a deadline of
                                            monitoring data. Another commenter                      importance of the groundwater                         no later than Tuesday, May 8, 2029,
                                            requested EPA create extension                          monitoring data to inform closure,                    which is 54 months from the effective


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                                            date of the final rule. This is codified in             increase in the maximum number of                     impoundments. No commenters
                                            the regulatory text at § 257.101(f)(1).                 extensions for CCRMU. These                           provided factual information or
                                            This final deadline extends the                         commenters cited factors mentioned in                 evidence to support the conclusion that
                                            proposed deadline by 42 months and                      Unit III.C.4.a as reasons to allow for                CCRMU closure, apart from those
                                            EPA expects that the concerns                           longer or more extensions (i.e., third-               CCRMU under critical infrastructure or
                                            expressed by commenters requesting                      party availability, need to comply with               closed under a regulatory authority
                                            EPA create extensions (i.e., the need to                State permitting requirements prior to                mentioned above, is different enough
                                            comply with State permitting                            certain activities, backlogs, number of               from closure of units regulated under
                                            requirements and the number of                          CCR units coming into compliance at                   the 2015 CCR Rule to warrant additional
                                            CCRMU at the facility) are addressed by                 the same time). One commenter stated                  extensions or separate requirements.
                                            this overall deadline extension. Finally,               more extensions were necessary to meet                Therefore, EPA is finalizing the
                                            regarding those CCRMU under critical                    the closure performance standards in                  deadline for the completion of closure
                                            infrastructure, owners or operators of                  § 257.102 (i.e., remove liquid from the               of CCRMU as proposed. This is codified
                                            these units have the opportunity to                     unit and meet the groundwater                         in the regulatory text at § 257.102(f).
                                            defer the deadline to initiate closure                  protection standards).
                                            until the Agency can address these units                                                                      viii. Post-Closure Care for CCR
                                                                                                       For the reasons described throughout
                                            on an individual basis as part of                                                                             Management Units
                                                                                                    this Unit of the preamble, EPA has
                                            permitting. See Unit III.C.4.d.ii.                      extended the deadline for the initiation                 EPA proposed to apply the existing
                                            vii. Deadline To Complete Closure for                   of closure. EPA expects the extension to              post-closure care requirements at
                                            CCR Management Units                                    the deadlines for the closure plan and                § 257.104 to CCRMU without revision.
                                               EPA proposed to apply the current                    initiation of closure, as well as the                 These criteria are essential to ensuring
                                            CCR surface impoundment closure time                    options to defer closure requirements                 the long-term safety of CCRMU.
                                            frames at § 257.102(f) to CCRMU. The                    for CCRMU under critical infrastructure
                                                                                                    and those that have completed closure                    As mentioned in Unit III.C.4.d, aside
                                            existing CCR regulations currently                                                                            from those commenters that disagreed
                                            require an owner or operator of a CCR                   under a regulatory authority (see Units
                                                                                                    III.C.4.d.ii and III.C.4.d.iii.a,                     with requiring CCRMU to comply with
                                            surface impoundment generally to                                                                              overall closure requirements, no
                                            complete closure activities within five                 respectively), to address the concerns
                                                                                                    commenters expressed with the                         commenters raised specific concern
                                            years from initiating closure. The                                                                            about requiring CCRMU to comply with
                                            regulations also establish the conditions               infeasibility or inappropriateness of the
                                                                                                    deadline to complete closure.                         the existing requirements in § 257.104.
                                            for extending this deadline, upon a                                                                           However, one commenter suggested that
                                            showing that additional time is                         Furthermore, with respect to requests
                                                                                                    for longer or more extensions for                     EPA allow units that have closed under
                                            necessary. Consistent with the existing                                                                       a State program to either continue post-
                                            requirements for CCR surface                            CCRMU as compared to the existing
                                                                                                    CCR regulations, EPA still concludes                  closure care under that State program or
                                            impoundments, EPA proposed the                                                                                reduce the post-closure care period for
                                            amount of additional time that an owner                 that as explained in the proposed rule,
                                                                                                    CCRMU closure will closely resemble                   these units by the number of years of
                                            or operator could obtain would vary                                                                           post-closure care completed under the
                                            based on the size (using surface area                   CCR impoundment closures because of
                                                                                                    half of these identified potential                    State program. As described in Unit
                                            acreage of the CCR unit as the surrogate                                                                      III.C.4.d.iii(a), EPA is finalizing a
                                            of size) of the CCRMU. For CCRMU 40                     CCRMU were associated with former,
                                                                                                    Federally unregulated CCR surface                     provision to address closures completed
                                            acres or smaller, the proposed                                                                                under other authorities provided the
                                            maximum time extension is two years.                    impoundments. Additionally, the
                                                                                                    requirements for former impoundments                  closure meets specific criteria by
                                            For CCRMU greater than 40 acres, the
                                                                                                    to be closed with waste in place (i.e.,               deferring any closure activities to
                                            proposed maximum time extension is
                                                                                                    procurement, transportation, and                      permitting, including the determination
                                            five 2-year extensions (10 years), and
                                                                                                    placement of substantial volumes of soil              of when post-closure care is completed.
                                            the owner or operator must substantiate
                                                                                                    or borrow material), would also apply to              In instances where the criteria for
                                            the factual circumstances demonstrating
                                                                                                    certain CCR fill placements as well as to             deferral to permitting has been met and
                                            the need for each year extension.
                                               Several commenters expressed                         inactive CCR landfills where past waste               units have conducted post-closure care
                                            support for the proposed deadlines to                   disposal did not reach the landfill’s                 under a State program for many years,
                                            complete closure, citing the increased                  design capacity (i.e., landfill airspace              the permitting authority, once
                                            risk from CCRMU and likelihood these                    was not fully utilized). As such, in these            authorized, will be able to look at the
                                            units are and have been contaminating                   situations, EPA has determined the time               site-specific information, including the
                                            groundwater. However, many                              frames to complete closure for existing               closure and the specific activities
                                            commenters on the proposed rule                         CCR surface impoundments are                          required by the State’s post-closure care
                                            requested an extension of the deadline                  appropriate (i.e., 5 years). Finally, as              program, and determine what, if any,
                                            to complete closure to allow for a more                 discussed in proposed rule, the Agency                further closure or post-closure activities
                                            feasible deadline and to mitigate the                   believes that the base of at least some               would be appropriate. EPA is therefore
                                            factors mentioned in Unit III.C.4.a.                    CCRMU may intersect with the                          finalizing this provision without
                                            Some of these commenters stated if the                  groundwater because CCRMU may be                      revision.
                                            deadline to initiate closure was                        located in floodplains or wetlands, or                   The existing post-closure care criteria
                                            extended to no less than the time                       near large surface water bodies. EPA’s                require the monitoring and maintenance
                                            granted for CCR unit closure in the 2015                experience in implementing the                        of units that have closed in place for at
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                                            CCR Rule, then the proposed deadlines                   regulations is that such closures are                 least 30 years after closure has been
                                            would be feasible. These commenters                     generally more complex and take longer                completed. 40 CFR 257.104. During this
                                            supported the ability of CCRMU to seek                  to complete. EPA thus believes the time               post-closure period, the facility would
                                            extensions of the deadline based on                     frames to complete closure of CCRMU                   be required to continue groundwater
                                            size. However, a few of the commenters                  should be the same as the time frames                 monitoring and corrective action, where
                                            requested longer extensions or an                       provided for existing CCR surface                     necessary.


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                                            e. Recordkeeping, Notification and                      the ‘‘contact us’’ form or specific email             on the public website as well as the
                                            Internet Posting for CCR Management                     address on facilities’ public CCR                     corresponding retention periods. No
                                            Units                                                   websites for questions or issues from the             commenters raised concerns about
                                               EPA proposed that, like legacy CCR                   public as required by § 257.107(a).                   requiring CCRMU to comply with the
                                            surface impoundments, owners or                         Public comment periods are also held as               existing requirements in §§ 257.105
                                            operators of CCRMU be subject to the                    part of the determination process for                 through 257.107.
                                            existing recordkeeping, notification and                Part A and Part B demonstrations;                        Lastly, EPA agrees with the
                                            website reporting requirements in the                   however, these demonstrations are not                 commenters who suggested the deadline
                                            CCR regulations found at §§ 257.105                     applicable to CCRMU. EPA does not                     for the establishment of the website
                                            through 257.107. EPA also proposed                      have evidence to support the claim by                 coincide with the first required
                                            changes to add CCRMU to § 257.107(a)                    the commenter that these opportunities                document (i.e., the FER Part 1).
                                            to require the facility to notify the                   for public participation are ineffective.             Therefore, EPA is finalizing a deadline
                                                                                                    Furthermore, EPA does not find other                  of 15 months after the effective date for
                                            Agency using the procedures for the
                                                                                                    decision-making points in the rule                    the establishment of the website.
                                            establishment of the website no later
                                                                                                    appropriate for mandatory public                         EPA is also finalizing the requirement
                                            than the effective date of the final rule.
                                                                                                    meetings or public comment periods                    that owners or operators of CCRMU
                                            For reasons specified in the 2015 CCR
                                                                                                    although facilities are encouraged to                 comply with recordkeeping,
                                            Rule, the CCR regulations require the
                                                                                                    engage with the public and to both                    notification, and internet posting
                                            owner or operator of a new or existing
                                                                                                    solicit and incorporate public input into             requirements at §§ 257.105 through
                                            CCR unit to record specific information
                                                                                                    decisions, such as closure methods, as                257.107.
                                            in the facility’s operating record,
                                                                                                    able and appropriate.                                    As discussed in Unit III.B.2.h of this
                                            maintain files of all required                             With respect to the commenter’s                    preamble, owners or operators must
                                            information (e.g., demonstrations, plans,               suggestions that EPA require the owners               document implementation and
                                            notifications, and reports) that supports               or operators of CCR units to certify                  compliance with the rule and must
                                            implementation and compliance with                      compliance documentation and create                   place these files into the facility’s
                                            the rule, notify State Director and Tribal              standardized reporting and website                    operating record. Each required file
                                            authorities, and maintain a public CCR                  layout requirements, as explained in the              must be maintained in the operating
                                            website that hosts this information. 80                 proposed rule, EPA does not have                      record for the entirety of the retention
                                            FR 21427.                                               evidence that CCRMU are sufficiently
                                               A commenter supported applying                                                                             period specified in § 257.105 following
                                                                                                    different than currently regulated                    submittal of the file into the operating
                                            recordkeeping, notification, and internet               facilities to necessitate substantially
                                            posting requirements to CCRMU but                                                                             record. Each file must also indicate the
                                                                                                    different requirements. The commenter                 date the file was placed in the operating
                                            stated that the existing requirements                   provided no factual basis to support the
                                            were ineffective at ensuring compliance                                                                       record. Files are required to be
                                                                                                    suggestion that requiring owner or                    submitted into the operating record at
                                            with the CCR regulations or allowing for                operator certifications would improve
                                            meaningful public awareness or                                                                                the time the documentation becomes
                                                                                                    compliance with the regulations beyond                available or by the compliance deadline
                                            participation. The commenter suggested                  the certifications currently required by
                                            that EPA create mechanisms within the                                                                         specified in the CCR regulations.
                                                                                                    professional engineers. When justifying               Section 257.105 contains a
                                            rule to ensure the public has the                       the request for standardized reporting
                                            opportunity to participate in the                                                                             comprehensive listing of each
                                                                                                    and website layout requirements, the                  recordkeeping requirement and
                                            decision-making processes at regulated                  commenter failed to explain how
                                            CCR units; standardize reporting to                                                                           corresponding record retention periods.
                                                                                                    compliance with the public website                       Furthermore, the owner or operator of
                                            make the report more easily understood                  posting requirements in § 257.107,
                                            by the public; establish organizational                                                                       a CCRMU must maintain a CCR website
                                                                                                    including the requirement to ensure all               titled, ‘‘CCR Rule Compliance Data and
                                            requirements for the CCR websites;                      information is ‘‘clearly identifiable and
                                            require public notice and engagement                                                                          Information’’ that hosts the compliance
                                                                                                    must be able to be immediately printed                information so that it may be viewed by
                                            when notifying the State Director and/                  and downloaded by anyone accessing
                                            or appropriate Tribal authority as                                                                            the public. Unless provided otherwise
                                                                                                    the site’’ is inadequate or a hinderance              in the rule (see, Unit III.E.5),
                                            required by the CCR rule; extend the                    to the public accessing the required
                                            period of time the files required by the                                                                      information posted to the CCR website
                                                                                                    information. Therefore, EPA does not                  must be available for a period no less
                                            CCR rule must be maintained in the                      believe additional notification,
                                            operating record; and require owners or                                                                       than five years from the initial posting
                                                                                                    certification, or public engagement                   date for each submission. Posting of
                                            operators certify compliance                            requirements for CCRMU would be
                                            documentation for the CCR units. This                                                                         information must be completed no later
                                                                                                    appropriate.                                          than 30 days from the submittal of the
                                            commenter also suggested EPA clarify                       EPA agrees with the commenter on
                                            what records owners or operators are                                                                          information to the operating record.
                                                                                                    the need to extend the period of time
                                            required to retain and to publish. Other                                                                      Owners or operators of CCRMU have 15
                                                                                                    files required by the CCR rule must be
                                            commenters suggested the website                                                                              months from the effective date of this
                                                                                                    maintained on the facilities’ public
                                            requirement not be due until the first                  websites and in the operating records.                rule to establish a CCR website and post
                                            document is required to be posted.                      As described in Unit III.D.5, EPA is                  the required applicable information.
                                               EPA agrees with the commenter on                     extending how long files must be                      D. Closure of CCR Units By Removal of
                                            the importance of meaningful public                     maintained in the operating record and                CCR
                                            participation. The current regulations                  on the public website. While EPA
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                                            allow for public participation by                       believes the regulations at §§ 257.105                1. Background
                                            requiring owner or operators to hold a                  and 257.107 clearly lay out what records                On March 3, 2020, in the Proposed
                                            public meeting as part of the assessment                must be retained and published, EPA                   Rule entitled: Hazardous and Solid
                                            of corrective measures in § 257.96,                     has included in Unit III.D.5. a table that            Waste Management System: Disposal of
                                            creating a mechanism for the public to                  details what records are required to be               CCR; A Holistic Approach to Closure
                                            file dust complaints in § 257.80(b), and                maintained in the operating record and                Part B: Alternate Demonstration for


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                                            Unlined Surface Impoundments;                           additional time, owners or operators of                  removal and decontamination activities.
                                            Implementation of Closure, EPA                          CCR units must substantiate the factual                  Upon completion of all removal and
                                            proposed to revise the 2015 CCR Rule                    circumstances demonstrating the need                     decontamination activities (except for
                                            to, among other things, provide facilities              for the extension. See § 257.102(f)(2). In               completion of groundwater corrective
                                            with an additional option for CCR units                 all instances the number of time                         action) and implementation of the
                                            being closed by removal of CCR. 85 FR                   extensions is capped to a certain                        selected remedy, the owner or operator
                                            12456. Specifically, EPA proposed to                    number of years.                                         would be allowed to certify that the CCR
                                            allow a facility to complete the closure                   The CCR regulations also require the                  unit has been closed. Thereafter, the
                                            in two stages: first, by completing all                 owner or operator of the CCR unit to                     CCR unit would be required to continue
                                            removal and decontamination                             obtain a certification from a qualified                  to conduct corrective action in
                                            procedures; and second, by completing                   professional engineer or approval from                   accordance with the existing
                                            all groundwater remediation in a                        the Participating State Director (or EPA                 requirements in § 257.98 and would be
                                            separate post-closure care period. 85 FR                where EPA is the permitting authority)                   subject to the existing post-closure care
                                            12456. In this final rule, the Agency is                verifying that closure has been                          requirements in § 257.104 until
                                            taking final action on this proposal.                   completed in accordance with the                         completion of groundwater corrective
                                               The closure by removal regulation                    written closure plan and all applicable                  action. EPA did not propose any
                                            consists of two performance standards.                  closure requirements of § 257.102. See                   substantive revisions to the current
                                            In the first standard, the owner or                     § 257.102(f)(3). In addition, the owner or               closure standard when closing by
                                            operator must remove all CCR from the                   operator must prepare a notification                     removal of CCR under § 257.102(c), but
                                            unit and decontaminate all areas                        stating that closure of the unit has been                presented the current closure standard
                                            affected by releases from the CCR unit.                 completed. This notification must be                     in a slightly revised format to
                                            In the second standard, the regulation                  completed within 30 days of completion                   accommodate the proposed action.
                                            specifies that closure is complete when                 of unit closure and must include the                        EPA proposed this option because the
                                            all CCR in the unit and any areas                       certification required by § 257.102(f)(3).               Agency received new information
                                            affected by releases from the CCR unit                  See § 257.102(h). As the CCR regulations                 indicating that the closure of CCR units
                                            have been removed and groundwater                       are currently structured for units closing               will likely be more complex than EPA
                                            monitoring demonstrates that there are                  by removal of CCR, the closure                           envisioned in 2015, and that more than
                                            no exceedances of any groundwater                       certification and notification cannot be                 40% of existing CCR surface
                                            protection standard. See § 257.102(c).                  completed until all CCR removal and                      impoundments were planned to be
                                            Importantly, the second performance                     decontamination activities, including                    closed by removal of CCR. In addition,
                                            standard requires groundwater                           groundwater corrective action,146 are                    available information indicated that
                                            corrective action of a unit to be                       completed. Prior to this final rule,                     more than 70% of all CCR surface
                                            completed in order for closure of the                   owners and operators that complete                       impoundments are unlined. EPA
                                            unit to be considered complete.                         closure of a unit by removal of CCR                      determined that, given the number of
                                               As previously discussed, the CCR                     were exempt from any other post-                         unlined CCR units, many of which have
                                            regulations also establish deadlines to                 closure care requirements for the unit                   already reported exceedances of
                                            initiate and complete closure activities.               and were also exempt from the deed                       groundwater protection standards, it
                                            For example, the regulations generally                  notation requirements upon certification                 was evident that many CCR units have
                                            require owners and operators of CCR                     that closure by removal of CCR has been                  released CCR constituents into the
                                            surface impoundments to complete                        completed.                                               surrounding soils and groundwater.
                                            closure activities within five years of                                                                          EPA concluded that this meant that
                                            commencing closure activities, while                    2. March 2020 Proposed Rule
                                                                                                                                                             closure would not simply be a matter of
                                            closure of CCR landfills must be                           Under the March 2020 proposal, an                     removing CCR from the unit, but would
                                            completed within six months. See                        owner or operator that cannot complete                   likely require a significant undertaking
                                            § 257.102(f)(1). Notwithstanding these                  groundwater corrective action by the                     to remediate impacted soil and
                                            deadlines to complete closure, the CCR                  time all other closure by removal                        groundwater in order to achieve the
                                            regulations also allow for additional                   activities have been completed (i.e.,                    current CCR removal and
                                            time provided the owner or operator can                 during the active life 147 of the CCR unit)              decontamination standards. The
                                            make the prescribed demonstrations                      may complete groundwater corrective                      proposal explained that based on this
                                            that are based on site-specific                         action during a post-closure care period.                new information EPA concluded that
                                            circumstances beyond the facility’s                     Under this option, the owner or operator                 the existing timelines to complete
                                            control. For CCR surface                                must first complete all other removal                    closure by removal of CCR were not
                                            impoundments, the amount of                             and decontamination activities within                    designed to also provide sufficient time
                                            additional time beyond the five years                   the time frames provided for completing                  to complete groundwater corrective
                                            varies based on the demonstrated need                   closure. In addition, EPA proposed to                    action. The Agency explained that it
                                            and the surface area acreage of the                     require the owner or operator to have                    was also concerned that the existing
                                            impoundment. For impoundments 40                        implemented the remedy selected under                    deadlines in § 257.102(c) may create a
                                            acres or smaller, the maximum time                      § 257.97 such that all components of the                 disincentive to close a unit by removal
                                            extension that can be obtained is two                   remedy are in place and operating as                     of CCR.
                                            years. For impoundments greater than                    intended prior to completing all                            After considering the comments
                                            40 acres, the maximum time extension                                                                             received, the same considerations
                                                                                                       146 For purposes of this preamble discussion, the
                                            is five two-year extensions (for a total                                                                         discussed in the proposal remain
                                                                                                    term ‘‘groundwater corrective action: includes those
                                            extension of ten years). For CCR                                                                                 relevant. Moreover, the groundwater
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                                                                                                    actions taken to implement the selected remedy
                                            landfills, the amount of additional time                specified in § 257.98(c) to attain the groundwater       monitoring installed pursuant to the
                                            beyond the six months does not vary                     protection standards in § 257.95(h).                     2015 CCR Rule has documented
                                            according to the size of the landfill,                     147 The ‘‘active life’’ of a CCR unit is defined in
                                                                                                                                                             groundwater contamination that is more
                                            rather the maximum time extension is                    § 257.53 as the period of operation beginning with
                                                                                                    the initial placement of CCR in the CCR unit and
                                                                                                                                                             extensive and more frequent that EPA
                                            two one-year extensions (for a total                    ending at completion of closure activities in            had originally estimated. It is now
                                            extension of two years). To obtain                      accordance with § 257.102.                               apparent not only that a greater number


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                                            of facilities are electing to close by                  Station, and Dominion Energy’s Possum                 3. What EPA Is Finalizing Related to the
                                            removal than EPA originally estimated,                  Point Power Station.                                  March 2020 Proposed Rule
                                            but also that some facilities may need to                  Additionally, EPA compiled data on                    EPA is finalizing its proposal with
                                            close by removal because they are                       remediation efforts published in the                  some limited revisions adopted in
                                            unable to meet the standards to close                                                                         response to public comments. Under
                                                                                                    Superfund 5-Year Review Reports
                                            with waste in place due to the site                                                                           this final rule and consistent with the
                                                                                                    conducted pursuant to CERCLA
                                            conditions. And more critically, EPA is                                                                       proposal an owner or operator would be
                                            concerned that, based on the existing                   § 121(c).150 The data review focused on
                                                                                                    sites that presented releases of metals               able to able to close a CCR unit by
                                            time frames, some facilities could not                                                                        completing removal of all CCR from the
                                            comply with either performance                          similar to those expected at CCR
                                                                                                    facilities and sites that were likely to              unit and decontamination of all areas
                                            standard because it is not feasible to                                                                        affected by releases from the CCR unit,
                                            remediate the contamination within the                  choose remediation technologies that
                                                                                                    could also be applicable to CCR                       except for groundwater, during the
                                            existing deadlines in § 257.102(f). EPA
                                                                                                    facilities. The compilation included                  active life of the CCR unit, and
                                            has therefore incorporated this
                                                                                                    data for 20 sites with groundwater                    completing the groundwater corrective
                                            provision into this final rule.
                                              Most of the comments EPA received                                                                           action during post-closure care. The
                                                                                                    remediation remedies in place for at
                                            on this proposal 148 related to the                                                                           owner or operator will need to meet the
                                                                                                    least 15 years. There were eight sites
                                            revised regulatory text in § 257.102, the                                                                     following requirements when closing a
                                                                                                    that implemented a combination of                     CCR unit under this option. First, the
                                            requirement to implement the corrective                 remediation strategies (for example,
                                            action remedy during the active life of                                                                       owner or operator must complete all
                                                                                                    pump and treat and vertical barrier wall              removal and decontamination activities,
                                            the unit and the requirement for deed                   in the same site). The most common
                                            notifications. One commenter also                                                                             except groundwater corrective action,
                                                                                                    remedy noted was pump and treat (14                   during the active life of the unit.
                                            stated that there was nothing in the                    sites), followed by monitored natural
                                            record to demonstrate that facilities                                                                         Second, with one exception, the owner
                                                                                                    attenuation (MNA) (eight sites), barrier              or operator must have begun to
                                            were not able to meet the existing
                                                                                                    walls (five sites), in-situ stabilization             implement the corrective action remedy
                                            § 257.102(c) performance standard by
                                            deadlines in § 257.102(f). The                          (two sites), and permeable reactive                   selected in accordance with §§ 257.96
                                            commenter also expressed concern that                   barriers (one site). At the time of this              through 257.97 to achieve compliance
                                            the proposed option would allow                         data compilation, 18 out of 20 remedies               with the GWPS during the active life of
                                            exceedances of groundwater protection                   were still ongoing with cleanup                       the unit (i.e., before completing closure).
                                            standards to continue indefinitely after                durations ranging from 15 to more than                Third, groundwater corrective action
                                            an impoundment is closed by removal.                    32 years. 11 of 20 remedies exceeded 20               must be completed during post-closure
                                            Further, the commenter contended that                   years of operation.                                   care. Fourth, the owner or operator must
                                            the proposed change did not include                        The Agency also disagrees that the                 amend the written closure and post-
                                            any additional requirements for owners                                                                        closure plans to reflect this approach to
                                                                                                    proposal would allow exceedances to
                                            and operators to substantiate the need to                                                                     close the unit. Fifth, the owner or
                                                                                                    continue indefinitely, and the owner or
                                            take additional time following removal                                                                        operator must obtain the certification or
                                                                                                    operator to purposely choose the                      approval of closure completion within
                                            activities. This, they stated, could                    slowest, least protective groundwater
                                            incentivize the selection of the slowest,                                                                     the current time frames for closure in
                                                                                                    remediation technology. The facility                  § 257.102(f). Finally, prior to the start of
                                            least protective corrective measures                    would remain subject to the existing
                                            such as ‘‘natural attenuation,’’ allowing                                                                     the post-closure care period, the owner
                                                                                                    requirements for corrective action,                   or operator must record the notation on
                                            dangerous contamination to persist for
                                                                                                    §§ 257.96 through 257.98, which                       the deed to the property that the land
                                            long periods of time when it could have
                                                                                                    prohibit the actions the commenter                    has been used as a CCR unit. Each of
                                            been stopped decades earlier. They were
                                            concerned that owners or operators                      describes. Additionally, the facility                 these requirements is discussed further
                                            would unreasonably select remedies                      must have initiated remedial activities               below. EPA is revising the regulatory
                                            that take much longer to achieve                        as required by § 257.98(a) during the                 text of § 257.102(c) and § 257.104(g) and
                                            compliance over other available options                 active life of the unit in order to be                (h). The revisions to § 257.104 are to
                                            that could achieve compliance faster.                   eligible for this closure alternative. The            make it clear that the unit must be in
                                              The Agency disagrees that there is no                 sole exception to this would be where                 detection monitoring in order to
                                            record to support the need for                          the facility only triggered corrective                complete post closure care.
                                            additional time to complete                             action for the constituent near the end               a. Removal and Decontamination
                                            groundwater remediation within the                      of the closure process, and the facility              Activities
                                            time frames provided in § 257.102(f).                   cannot extend the active life of the unit
                                            For example, this same commenter                        because it would exceed a deadline in                    EPA proposed to revise the closure
                                            submitted comments on the May 2023                      § 257.102(f). In such a case, the facility            performance standard at § 257.102(c) to
                                            proposed rule providing examples of                                                                           specify all of the various actions that
                                                                                                    would be required to document that (1)
                                            numerous plants who have certified the                                                                        would be required prior to certifying
                                                                                                    it was in compliance with all applicable
                                            removal portion of closure by removal                                                                         that closure is complete. EPA proposed
                                                                                                    requirements in §§ 257.96 through                     that this would include removing or
                                            while noting the need for additional                    257.98; and (2) that it could not extend
                                            time beyond the existing deadlines in                                                                         decontaminating all CCR and CCR
                                                                                                    the active life of the unit, consistent               residues, containment system
                                            § 257.102(f) in order to be able to certify             with § 257.102(f).
                                            compliance with GWPS.149 These                                                                                components, contaminated subsoils,
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                                            facilities include Duke Energy’s Gibson                                                                       contaminated groundwater, and CCR
                                                                                                      150 Memorandum from RTI International to Mary
                                            Station, LG&E–KU’s Ghent Generating                                                                           unit structures and ancillary equipment.
                                                                                                    Jackson, U.S. EPA, Development of Benchmark
                                                                                                                                                          To qualify for the new closure by CCR
                                                                                                    Times for Conducting the Closure of CCR Units,
                                              148 See the Response to Comments document             February 29. 2024. Superfund 5-Year Review            removal option, owners or operators
                                            found in the docket for this rule.                      Reports conducted pursuant to CERCLA § 121(c).        would need to complete all the
                                              149 EPA–HQ–OLEM–2020–0107–0368.                       Available in the docket.                              specified removal and decontamination


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                                            activities within the closure time frame                soil beneath the unit is contaminated                 GWPS in any sampling event, the owner
                                            except for completing groundwater                       sufficiently to serve as a secondary                  or operator must, among other
                                            remediation. The proposal specified that                source of groundwater contamination,                  requirements, initiate a corrective action
                                            to demonstrate that all CCR has been                    its removal may be required as part of                program. See § 257.95(g). The corrective
                                            removed from the unit, the owner or                     the source control portion of a remedy                action program includes initiating an
                                            operator would need to remove the                       selected under § 257.97. To clarify,                  assessment of corrective measures to
                                            entire contents of the CCR unit,                        contaminated groundwater                              prevent further releases, to remediate
                                            including all CCR and any CCR                           (groundwater with constituent                         any releases, and to restore affected
                                            residues. This would include, for                       concentrations triggering corrective                  areas to original conditions, as specified
                                            example, the removal of any fugitive                    action) must be remediated through the                in § 257.96(a). After the ACM has been
                                            dust (CCR) discovered outside the waste                 corrective action process detailed in                 completed, the owner or operator must
                                            unit boundary. In addition, the proposal                §§ 257.96 through 257.98.                             select a remedy that meets prescribed
                                            specified that any containment system                      Although the regulatory text now                   standards, including a requirement that
                                            components such as a bottom liner,                      specifies the removal and                             the remedy attain the GWPS. See
                                            contaminated subsoils, and unit                         decontamination activities to be                      § 257.97(a) and (b). Finally, the
                                            structures and equipment (e.g., concrete                conducted, the Agency does not                        corrective action program requires the
                                            outlet structures and ancillary piping)                 consider this to be a substantive                     owner or operator of the CCR unit to
                                            would have to be removed prior to                       revision to § 257.102(c). The revision is             initiate remedial activities within 90
                                            closure of the unit. Finally, EPA                       intended to clearly describe the                      days of selecting a remedy. See
                                            proposed that any areas affected by                     activities that must be completed prior               § 257.98(a). EPA did not propose to
                                            releases from the CCR unit must have                    to closure under the new alternative in               revise any of these requirements as part
                                            been removed (e.g., impacted soils                      § 257.102(c)(2). The regulation now                   of this option. However, under this
                                            beneath the bottom liner system).                       expressly describes how EPA                           closure option, the owner or operator
                                               Commenters pointed out that the term                 interpreted the original phrase ‘‘CCR                 must have initiated remedial activities
                                            ‘‘CCR residues’’ was not a defined term.                removal and decontamination.’’                        required by § 257.98(a) prior to
                                            They also pointed out that it may not be                Therefore, the regulatory text for                    certifying that it has completed closure.
                                            necessary or wise to require the removal                § 257.102(c) has been revised from what               This requirement would help ensure
                                            of ancillary equipment or structures if                 was proposed:                                         that impacted groundwater is returned
                                            they are not contaminated with CCR.                                                                           to original conditions as soon as is
                                                                                                       (c) Closure by removal of CCR. An owner
                                            Further, they pointed out that requiring                                                                      feasible.
                                                                                                    or operator closing a CCR unit by removal of
                                            the removal of fugitive dust outside the                CCR must follow the procedures specified in              Several commenters objected to this
                                            unit boundary would expand the                          either paragraph (c)(1) or (c)(2) of this             requirement. Some of these commenters
                                            closure performance standard.                           section. Closure by removal activities include        suggested that at many sites, it is not
                                               One commenter was concerned that                     removing or decontaminating all CCR and               appropriate to implement a remedy
                                            the term ‘‘CCR unit structures,’’ appears               CCR residues, containment system                      before source removal is complete.
                                            to encompass both areas impacted by                     components such as the unit liner,                    Other commenters claimed that after
                                            CCR disposal (which should be                           contaminated subsoils, contaminated                   excavation is complete at certain sites,
                                            removed) and non-contaminated                           groundwater, and CCR unit structures and              new groundwater flow patterns may be
                                            disposal unit structural components,                    ancillary equipment.                                  established and/or groundwater
                                            which, according to the commenter, in                   To what is being finalized:                           chemistry may need to stabilize, and in
                                            some cases includes CCR that has been                      (c) Closure by removal of CCR. An owner            these cases neither design nor
                                            beneficially used in the construction of                or operator that elects to close a CCR unit by        implementation of a corrective measure
                                            the impoundment or other disposal                       removal of CCR must follow the procedures             may be practical before CCR removal is
                                            units (which the commenter asserted                     specified in either paragraph (c)(1) or (c)(2)        finished. A few commenters went
                                            need not be removed). The commenter                     of this section. Closure by removal is                further yet, stating that it would not be
                                            further stated that structural                          complete when CCR has been removed; any               appropriate to require completion of an
                                            components, including those structures                  areas affected by releases from the CCR unit          ACM and selection of a remedy until
                                            built with beneficially reused CCR (e.g.,               have been removed or decontaminated; and              after CCR removal activities are
                                            bottom ash), must be allowed to remain                  groundwater monitoring concentrations of
                                                                                                                                                          complete. Finally, other commenters
                                                                                                    the constituents listed in appendix IV to this
                                            in place.                                                                                                     state that source control is required by
                                                                                                    part do not exceed groundwater protection
                                               The Agency does not agree that                                                                             § 257.97(b) and may be considered part
                                                                                                    standards established pursuant to
                                            components of the unit that are                         § 257.95(h). Removal and decontamination              of the remedy, therefore,
                                            constructed with CCR can be left in                     activities include removing all CCR from the          implementation of the remedy would
                                            place if the unit is in fact closing by                 unit, CCR mixed with soils, and CCR                   commence with closure by removal.
                                            removal of CCR. If the unit is to be                    included in berms, liners or other unit                  Under the existing regulations, the
                                            ‘‘closed by removal of CCR,’’ consistent                structures, and removing or decontaminating           closure requirements and the corrective
                                            with the existing requirement to remove                 all areas affected by releases from the CCR           action requirements operate
                                            all CCR, the final rule requires that any               unit.                                                 independent of one another, and
                                            components of the unit made of or                          Under this provision, the owner or                 facilities are required to comply with
                                            including CCR must also be removed.                     operator must complete all CCR removal                both. The commenters cite nothing to
                                               The regulatory text included in this                 activities during closure prior to                    support their claim that closure must be
                                            final rule requires removing all CCR                    transitioning to the post-closure care                completed prior to initiating corrective
                                            from the unit, including CCR mixed                      period which will largely consist of a                action. In fact, it would be inconsistent
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                                            with soils or that are included in berms,               groundwater cleanup activity.                         with the existing mandatory deadlines
                                            liners or other unit structures, and                                                                          for initiating and pursuing corrective
                                            either removing or decontaminating all                  b. Implementation of Selected Remedy                  action. For example, § 257.96(a) requires
                                            areas affected by releases from the CCR                    Under the existing regulations, if one             an ACM to be initiated within 90 days
                                            unit. Although there are no soil cleanup                or more constituents in Appendix IV to                of determining an SSL has occurred,
                                            standards in the CCR regulations, if the                part 257 are detected at SSLs above the               and then completed within another 90


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                                            days. An extension, not to exceed 60                    groundwater remedies and is ultimately                amount of the contamination that is
                                            days, may be warranted due to site-                     selected, it requires no construction                 released to the environment and allows
                                            specific conditions or circumstances.                   other than installation of additional                 existing contamination to move further
                                            EPA did not propose to revise these                     monitoring wells to identify plume                    downgradient. To ensure there will be
                                            deadlines, so comments suggesting                       boundaries and monitor performance.                   no reasonable probability of adverse
                                            changes to these provisions are outside                 This installation would occur                         effect on health or the environment as
                                            the scope of the rulemaking.                            downgradient of the unit and should not               EPA is required to do under RCRA
                                            Additionally, the commenters provided                   be affected by unit closure activities.               section 4004(a), the final regulation
                                            no reason why corrective measures                       The data from downgradient wells are                  requires that corrective action be
                                            could not be assessed and compared in                   critical to determining if MNA is                     implemented in accordance with the
                                            an ACM and a remedy could not be                        working. While groundwater elevations                 requirements of §§ 257.96 through
                                            selected. Long before initiating closure                may decrease after dewatering a surface               257.98 without unnecessary or
                                            of a CCR unit, the facility was required                impoundment, and therefore additional                 unreasonable delays.
                                            to characterize site conditions,                        wells may need to be installed with
                                            including groundwater flow conditions                   screens at lower elevations later in the                 Further, as one commenter
                                            and geology to design and install the                   corrective action process, this would be              mentioned, in the event that measures
                                            groundwater monitoring system. See,                     an expected aspect of implementing                    taken to implement the remedy
                                            e.g., § 257.91(b). The facility already has             MNA for a CCR unit.                                   following closure are not proving to be
                                            knowledge of the wastestreams and                          Some commenters mentioned that                     effective, the remedy can be altered
                                            water volumes it disposes into a CCR                    geochemical conditions of groundwater                 during corrective action. Under the
                                            surface impoundment. This information                   may change during closure. The                        existing regulations, an owner or
                                            can be used to develop a groundwater                    commenters did not provide specific                   operator is required to ‘‘implement
                                            model to predict groundwater flow                       reasons for this or the anticipated effects           other methods or techniques that could
                                            conditions after wastestream disposal                   of excavation. While removal of CCR is                feasibly achieve compliance’’ if, after
                                            ceases and closure is initiated, which                  not expected to remove reactants                      the remedy is implemented, it is
                                            would provide sufficient                                available for immobilization reactions                determined that compliance is not being
                                            characterization of post-closure                        (i.e., any attenuation mechanisms) from               achieved. 40 CFR 257.98(b). If such
                                            conditions to assess and compare                        the environment, EPA agrees that                      additional measures are necessary after
                                            groundwater cleanup alternatives to                     groundwater chemistry could be                        certification of closure, an owner/
                                            complete an ACM. The commenters                         impacted, particularly near the                       operator would have the ability to
                                            have provided neither reasons nor                       excavation site. However, in the absence              undertake those measures without
                                            explanation why this would not be                       of evidence that permanent                            impacting the facility’s closure
                                            feasible.                                               immobilization mechanisms are viable                  certification.
                                               Once the ACM is complete, a public                   at the site, either under current
                                            meeting has been held, and community                    conditions or in modeled future                          Therefore, EPA is finalizing the
                                            input has been considered, a remedy                     conditions, MNA would not meet the                    proposal that the owner or operator
                                            must be selected as soon as feasible.                   § 257.97(b) criteria for selection as a               must have initiated the remedial
                                            EPA agrees that a selected remedy may                   remedy.                                               activities as required by § 257.98(a) in
                                            include closure by removal to comply                       The CCR regulations establish                      order to be eligible for this closure
                                            with source control requirements, and                   independent performance standards for                 alternative.
                                            that this would constitute commencing                   corrective action and closure. The                       The sole exception would be if the
                                            implementation of a remedy. However,                    regulations do not provide for delaying               facility only triggered corrective action
                                            the selected groundwater remediation                    corrective action while closure occurs,               for a constituent sufficiently late in the
                                            portion of the remedy must also be                      or vice versa. In the example of MNA or,              closure process that it would not be
                                            implemented within a reasonable time,                   in fact, any groundwater remedy,                      feasible to delay closure until a remedy
                                            in accordance with the schedule                         delaying remedy implementation until                  could be selected. For example, if a
                                            established in the remedy selection                     after closure is complete would be                    facility first detected an SSL of
                                            report. 40 CFR 257.97(d).                               inconsistent with the requirement in                  antimony one week before the deadline
                                            Implementation of the source control                    § 257.98(d) to complete remedial                      to complete closure in § 257.102(f), it
                                            measure does not satisfy this separate                  activities within a reasonable period.
                                                                                                                                                          would not be possible to comply with
                                            requirement.                                            This is particularly true in this example,
                                                                                                                                                          all of the requirements in §§ 257.96–
                                               With respect to commenters’ assertion                because collecting monitoring data is
                                                                                                                                                          257.97 before the deadline. As
                                            that the design and implementation of                   the primary action required in an MNA
                                            the groundwater remediation portion of                  remedy. When data collection is                       explained above, the closure and
                                            the remedy is not feasible until closure                delayed, those data are lost. Because                 corrective action obligations are
                                            by removal is complete, the commenters                  this monitoring can be done during                    independent of one another and run
                                            provided no explanation or reasons to                   closure, it is required in order to move              concurrently. To prevent placing a
                                            support this claim, although one                        forward with corrective action as soon                facility in such a position, EPA has
                                            commenter identified MNA as an                          as possible.                                          incorporated a provision to allow the
                                            example of such a remedy. EPA does                         Additionally, delaying groundwater                 facility to demonstrate that it was not
                                            not agree that design or implementation                 remediation would not be protective.                  feasible to implement the corrective
                                            of MNA would need to be delayed due                     When a release has been detected,                     action remedy prior to the expiration of
                                            to closure activities. The ACM would                    corrective action to clean up the                     a deadline in § 257.102(f). In such a
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                                            include identification of attenuation                   contamination is necessary to prevent it              case, the facility must document that (1)
                                            mechanisms and characterization of site                 from migrating to downgradient                        it was in compliance with all applicable
                                            conditions influencing them. This could                 receptors, both human and                             requirements in §§ 257.96 through
                                            be based on current site conditions and                 environmental. Because Appendix IV                    257.98; and (2) that it could not extend
                                            any modeled future conditions. If MNA                   constituents persist in the environment,              the active life of the unit, consistent
                                            is evaluated more favorably than other                  delaying corrective action increases the              with § 257.102(f).


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                                            c. Groundwater Corrective Action                        unit would be closed in accordance                    owners are aware of the presence of a
                                               For owners and operators that close a                with the revised closure options. The                 closed unit on the property and of the
                                            unit under this provision, the CCR unit                 current CCR regulations already include               need for continued maintenance of the
                                            would remain subject to the post-                       procedures to amend written plans                     cover or of any ongoing corrective
                                            closure care requirements under                         under certain circumstances, including                actions. Following that same logic, units
                                            § 257.104 until groundwater corrective                  when there is a change in the operation               that have closed by removal in
                                            action has been completed. These units                  of a CCR unit that would substantially                accordance with § 257.102(c) have been
                                            would not be subject to the requirement                 affect the current written plan or when               exempt from the deed notation
                                            to conduct post-closure care for 30                     unanticipated events necessitate a                    requirement, both because all waste and
                                                                                                    revision of the plan. See                             associated contamination have been
                                            years; rather, these units would remain
                                                                                                    § 257.102(b)(3)(ii). EPA expects owners               removed, and because there is no
                                            in post-closure care until all
                                                                                                    and operators to revise the current                   continuing post-closure care that needs
                                            groundwater monitoring and corrective
                                                                                                    closure plan according to these existing              to be maintained.
                                            action requirements are completed,                                                                               Units closing under this new closure
                                                                                                    procedures. This rule also requires
                                            which may be longer or shorter than 30                                                                        option will be required to record a deed
                                                                                                    owners or operators opting for this
                                            years. EPA proposed that groundwater                                                                          notation because they would not have
                                                                                                    approach to prepare an initial post-
                                            corrective action is complete when the                                                                        closed by removal in accordance with
                                                                                                    closure care plan within six months of
                                            groundwater monitoring concentrations                                                                         § 257.102(c)(1) (as corrective action
                                                                                                    the effective date of this final rule. The
                                            do not exceed the groundwater                                                                                 would not have been completed) and
                                                                                                    post-closure care plan describes how the
                                            protection standards for constituents                   CCR unit will be maintained after                     because post-closure care would be
                                            listed in Appendix IV to part 257. EPA                  closure of the unit is completed. Prior               required. See § 257.102(i)(4). But these
                                            has reconsidered this, as the Agency did                to this final rule, CCR units that closed             units are not wholly analogous to the
                                            not intend to modify the existing                       by removal of CCR are exempt from any                 other units subject to a deed notation
                                            requirement for completing post-closure                 post-closure care requirements so the                 (i.e., those closing with waste in place).
                                            care, which also applies to concluding                  preparation of a post-closure care plan               Units falling under this new closure
                                            post closure care for a unit closed with                will be a new requirement for owners                  option will have already had all waste
                                            waste-in-place. The existing provision                  and operators closing a unit under this               removed in its entirety and so would
                                            in § 257.104(c) states that post-closure                new option. EPA believes that six                     require no continued maintenance.
                                            care ends after 30 years unless at the                  months from the effective date of this                However, groundwater remediation
                                            end of the post-closure care period the                 final rule, or one year from publication              actions would be continuing, raising
                                            owner or operator of the CCR unit is                    of this final rule is a reasonable amount             concern about potential exposures.
                                            operating under assessment monitoring                   of time to prepare the post-closure care                 Therefore, EPA proposed that the
                                            in accordance with § 257.95. If the unit                plan because the owner or operator                    owner or operator record a notation on
                                            remains in assessment monitoring, the                   should already have prepared the                      the deed to the property (or some other
                                            owner or operator must continue to                      closure plan for the unit and begun                   instrument normally examined during a
                                            conduct post-closure care until the                     implementation of the corrective                      title search) until all groundwater
                                            owner or operator returns to detection                  measures remedy.                                      corrective action has been completed—
                                            monitoring in accordance with § 257.95.                    EPA is aware that some facilities that             that is, when groundwater monitoring
                                            This means that there can be no                         planned to close a unit by removal of                 concentrations do not exceed the
                                            detections of any Appendix IV                           CCR nonetheless completed a post-                     groundwater protection standard
                                            constituents for two consecutive                        closure care plan. In this situation, the             established pursuant to § 257.95(h) for
                                            sampling events. Therefore, the final                   CCR regulations already include                       constituents listed in appendix IV to
                                            regulatory text has been revised to                     requirements to amend written plans                   part 257. EPA proposed the deed
                                            account for this.                                       under certain circumstances, including                notation because all removal and
                                               The requirement to be in detection                   when there is a change in the operation               decontamination actions have not been
                                            monitoring to conclude the post-closure                 of a CCR unit that would substantially                completed. Given that groundwater
                                            care is the same standard currently                     affect the current written plan or when               corrective action may continue for years
                                            specified in the requirements for closure               unanticipated events necessitate a                    or decades, the deed restrictions are a
                                            by leaving waste in place. This rule does               revision of the plan. See § 257.104(d)(3).            practical way of limiting human
                                            not change any requirements of the                      EPA expects that these owners or                      exposure during a period when
                                            groundwater monitoring and corrective                   operators would revise the existing post-             contamination is still present, and
                                            action program. The owner or operator                   closure care plan according to these                  thereby ensuring that the statutory
                                            would need to conduct groundwater                       existing procedures.                                  standard under RCRA section 4004(a)
                                            monitoring and corrective action in                                                                           continues to be met.
                                            accordance with the requirements of                     e. Notation on the Deed to the Property                  As part of the post-closure care
                                            §§ 257.90 through 257.98. See revised                      Under the existing regulations,                    provisions under § 257.104, EPA
                                            § 257.104(c).                                           following the closure of a CCR unit that              proposed to allow removal of the deed
                                                                                                    will be subject to post-closure care, the             notation, or the addition of a second
                                            d. Closure and Post-Closure Care Plans                  owner or operator must record a                       notation reflecting the inapplicability of
                                              The Agency is finalizing as proposed                  notation on the deed to the property, or              the first notation, as may be applicable
                                            the requirement that owners and                         some other instrument that is normally                under existing State or local law, when
                                            operators closing a CCR unit under this                 examined during title search, notifying               groundwater corrective action is
                                            new closure alternative would need to                   any potential purchaser of the property               completed for the CCR unit. Under this
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                                            revise their written closure plan. The                  in perpetuity that the land has been                  closure option, completion of
                                            closure plan describes the closure of the               used as a CCR unit, and its use is                    groundwater corrective action would
                                            unit and provides a schedule for                        restricted under the post-closure care                indicate that all removal and
                                            implementation of the plan. The owner                   requirements. See § 257.102(i). The                   decontamination actions have been
                                            or operator would need to revise the                    rationale for this requirement is to                  completed. To remove the deed notation
                                            current plan and describe how the CCR                   ensure that prospective and subsequent                (or add a second notation), the owner or


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                                            operator would need to complete two                     benefits of the deed notification                     publicly accessible internet sites. The
                                            actions. First, the owner or operator                   requirement.                                          Agency is also amending an incorrect
                                            would need to demonstrate that                            The Agency has decided to finalize                  reference to § 257.99 in the groundwater
                                            groundwater monitoring concentrations                   the proposal to require that the owner                monitoring scope section. Finally, EPA
                                            no longer exceed any groundwater                        or operator record a notation on the                  is extending the period for certain
                                            protection standard established                         deed to the property until all                        document retention and posting.
                                            pursuant to § 257.95(h) for constituents                groundwater corrective action has been
                                                                                                    completed. EPA agrees that a deed                     1. Definitions of ‘‘Technically Feasible’’
                                            listed in Appendix IV to part 257. See                                                                        and ‘‘Technically Infeasible’’
                                            § 257.104(g). Second, the owner or                      notation performs an important function
                                            operator would need to complete the                     to ensure any subsequent owner of the                    EPA proposed to revise the definition
                                            notification stating the post-closure care              property is on notice of the ongoing                  of technically feasible to clarify that the
                                            requirements have been met as required                  cleanup obligations and of the liability              terms technically feasible and feasible
                                            in § 257.104(e). Removing the deed                      of any subsequent owner until those                   have the same meaning in the
                                            notation upon completion of all removal                 obligations are completed. None of the                regulations. The existing regulations
                                            and decontamination activities is                       commenters provided sufficient                        define technically feasible as ‘‘possible
                                            consistent with the current procedures                  information for EPA to conclude that                  to do in a way that would likely be
                                            for CCR units that close by removal                     the alternative measures that they                    successful.’’ EPA codified this
                                            under § 257.102(i)(4).                                  suggested would provide the same level                definition in 2020 when amending the
                                                                                                    of assurance as a deed notation.                      alternative closure requirements for
                                               The existing CCR regulations require
                                                                                                    Moreover, the use of a deed notation is               landfills and impoundments. 85 FR
                                            a specific type of control (i.e., deed
                                                                                                    consistent with the requirements for                  53542 (August 28, 2020). As EPA
                                            notations) to communicate use
                                                                                                    MSW landfills and with CCR units                      explained, the definition was based on
                                            limitations to present and future users
                                                                                                    closing by leaving waste in place, and                two dictionary definitions of ‘‘feasible’’:
                                            of the land with the closed CCR unit.
                                                                                                    therefore EPA expects the public and                  ‘‘capable of being done or carried out’’
                                            The Agency solicited comments on
                                                                                                    regulated entities will be familiar with              (Merriam website (https://
                                            whether the use of deed restriction
                                                                                                    them. Additionally, as discussed above,               www.merriam-webster.com/dictionary/
                                            controls is too narrow under this new
                                                                                                    once the closure by removal is                        feasible)) and ‘‘possible to do and likely
                                            closure option and whether the CCR
                                                                                                    complete, the owner or operator can                   to be successful’’ (Cambridge English
                                            regulations should allow for the use of                                                                       Dictionary (https://dictionary.
                                                                                                    remove the deed notification.
                                            different legal mechanisms and controls                                                                       cambridge.org/us/dictionary/english/
                                            to communicate limits on the activities                 f. Closure Certification or Approval                  feasible)). Id.
                                            that can safely take place at the site.                    The Agency is adopting without                        However, some rule provisions use
                                            Some commenters supported inclusion                     revision the proposal that the owner or               the term feasible. EPA never intended to
                                            of more flexibility and alternative                     operator will continue to be subject to               distinguish between these terms. See,
                                            instruments to accomplish this purpose.                 the same certification or approval                    e.g., 80 FR 21422–21423, 85 FR 53542.
                                            For example, one commenter pointed                      requirement that is currently applicable              Therefore, EPA proposed to add the
                                            out that in Colorado, the State routinely               to all CCR units as specified in                      term feasible to the existing definition of
                                            uses Environmental Use Restrictions/                    § 257.102(f)(3). Under this requirement,              technically feasible to make clear that
                                            Environmental Covenants. Other                          the owner or operator must obtain a                   both terms have the same meaning in
                                            commenters asserted that EPA should                     certification from a qualified P.E. or                the regulations. This definition revision
                                            allow the owner or operator to                          approval from the Participating State                 would be accomplished by adding ‘‘or
                                            determine which instrument to use or                    Director (or EPA where EPA is the                     feasible’’ to the existing definition so
                                            allow the Participating State Director to               permitting authority) verifying that                  that the definition would read
                                            decide. ASTSWMO commented that the                      closure has been completed in                         ‘‘Technically feasible or feasible means
                                            proposed language requiring the use of                  accordance with the written closure                   possible to do in a way that would
                                            deed restriction controls appears to be                 plan and all applicable closure                       likely be successful.’’ For similar
                                            consistent with language in 40 CFR                      requirements of § 257.102. Under this                 reasons, EPA proposed to also revise the
                                            258.60(i) as applicable to Municipal                    provision, the certification or approval              definition of technically infeasible to
                                            Solid Waste (MSW) Landfills, and that                   would reflect that all removal and                    clarify that the terms technically
                                            it might be helpful for States that the                 decontamination activities, except for                infeasible and infeasible have the same
                                            language between CCR and MSW                            groundwater corrective action, have                   meaning in the regulations.
                                            landfills aligns.                                       been completed. The certification or                     EPA received comments on this issue
                                               Other commenters mentioned the                       approval would not address the                        that opposed adding ‘‘feasible’’ and
                                            importance of deed notations is that it                 remediation of the impacted                           ‘‘infeasible’’ as definitions. The
                                            compels impoundment owners to create                    groundwater because groundwater                       commenters said the term ‘‘feasible’’ is
                                            a publicly accessible record attached to                corrective action will be completed                   used in the § 257.102(f)(2)(i) standard
                                            a property deed noting that the property                during the post-closure care period,                  for obtaining extensions to the closure
                                            is subject to ongoing groundwater                       including applicable post-closure care                time frames, and that if EPA finalizes
                                            corrective action requirements.                         certification and approval requirements.              the provision as proposed, the change
                                            Attaching such a note to the deed also                                                                        should not be applied retroactively to
                                            ensures any subsequent owner of the                     E. Technical Corrections                              facilities that used the closure
                                            property would be on notice of ongoing                    Through the implementation of the                   extension. Other commenters said this
                                            cleanup obligations and would be liable                 2015 CCR Rule, the Agency identified                  is not how EPA should correct
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                                            for following through on them. The                      several minor errors and                              regulatory errors and there is a lack of
                                            commenter stated that any alternative to                inconsistencies. Therefore, EPA is                    discussion on all situations and
                                            deed notification that EPA may be                       amending the CCR regulations to clarify               regulatory history regarding these terms.
                                            considering (i.e., other approaches                     definitions, accurately reference the                    EPA disagrees that these terms have
                                            under private property law) should only                 definition of wetlands, and use                       different meanings under the CCR
                                            be considered if they also provide these                consistent language when referring to                 regulations or that this clarification will


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                                            negatively impact implementation of the                 term used in § 257.107(a). The                         retention periods, though those
                                            requirements by regulated entities. See,                inconsistent spelling of CCR website                   commenters who provided suggested
                                            85 FR 53542 (relying on dictionary                      was brought to our attention by a State                approaches or examples of longer
                                            definitions of ‘‘feasible’’ to define                   interested in permit program approval.                 retention periods were not entirely
                                            ‘technically feasible’). EPA is simply                  To avoid confusion with the regulations,               consistent in the approaches offered.
                                            clarifying the meaning of these                         EPA proposed to correct such references                   One commenter opposed the concept
                                            synonymous terms. Id. Therefore, EPA                    in §§ 257.100(e)(1)(iii) and 257.107(b)                of expanding the retention time for any
                                            is finalizing these changes as proposed.                through (j). EPA did not receive any                   documents that are required to be
                                            This is codified in the regulatory text at              comments on this issue and is therefore                posted on facility websites. This
                                            § 257.53.                                               finalizing these provisions as proposed.               commenter stated the current retention
                                                                                                       EPA is also revising § 257.107(b) to                period provides clear guidance to the
                                            2. Wetlands Reference Correction                        provide owners and operators the                       regulated community and that
                                               When the 2015 CCR Rule was                           flexibility to maintain one website for                extending the retention period could
                                            finalized in April 2015, § 257.61(a)                    multiple electric power sector rules.                  add to additional redundant or outdated
                                            referenced § 232.2, which contained a                   This new provision allows an owner or                  material on the websites. This
                                            definition of wetlands. An EPA and                      operator to document the facility’s                    commenter also said that the purpose of
                                            United States Army Corps of Engineers                   compliance with the requirements of                    the website posting requirement has
                                            joint final rule published June 29, 2015                other environmental rules on the same                  been obviated by the passage of the
                                            (80 FR 37053) amended § 232.2 by                        website that is used for CCR units. In                 WIIN Act. For several reasons, EPA
                                            removing the definition of wetlands.                    order to use a combined website, the                   disagrees with this comment. First, the
                                            However, the reference to § 232.2 in                    final rule requires that the owner or                  regulations already include provisions
                                            § 257.61(a) of the 2015 CCR Rule was                    operator delineate the postings for each               to decrease or eliminate redundancy or
                                            not updated. EPA proposed an                            regulatory program under a separate                    outdated postings. See, for example,
                                            amendment that would correct the CFR                    heading on the website. For example,                   § 257.107(g)(1), which requires only the
                                            reference for the wetlands definition by                the required CCR rule postings must be                 most recent dust suppression plan to be
                                            referring to 40 CFR 230.41(a) (December                 placed under a ‘‘CCR Rule Compliance                   maintained on the website. Second, the
                                            24, 1980, 45 FR 85344). EPA received                    Data and Information’’ heading, while                  core principle of the website posting
                                            one comment on this issue about the                     postings required by the ELG rule would                requirement is relevance: facilities are
                                            U.S. Supreme Court decision in Sackett                  be posted under a separate heading                     required to post information relevant to
                                            v. EPA, 21–454, in which the Court                      ‘‘ELG Rule Compliance Data and                         the operation and closure of CCR units
                                            substantially narrowed the scope of                     Information.’’ 151 EPA is providing this               and cleanup of any releases from those
                                            wetlands subject to Federal jurisdiction                flexibility to reduce paperwork burden                 units. It is clear that a five-year retention
                                            under the Clean Water Act. EPA                          and make it easier for communities to                  period may not be adequate for
                                            reviewed the Sackett decision and                       access this information.                               documents that remain relevant well
                                            determined that the wetlands definition                                                                        beyond that length of time, which is
                                            contained in § 257.61(a) remains valid                  5. Document Retention                                  proving to be true for many of the
                                            after that decision. EPA is therefore                      The CCR regulations require the                     required documents. Third, while it is
                                            finalizing this provision as proposed.                  production of many documents that                      true that website posting is one of
                                            This is codified in the regulatory text at              provide information on many aspects of                 several measures EPA implemented in
                                            § 257.61.                                               regulated CCR units, for example from                  the original rule before the WIIN Act
                                                                                                    history of construction to periodic                    was enacted, nothing in the WIIN Act
                                            3. Groundwater Monitoring and                                                                                  makes the goals of transparency and
                                                                                                    inspections, as well as closure activity
                                            Corrective Action Applicability                                                                                information availability for
                                                                                                    and groundwater sampling and cleanup,
                                               EPA proposed to correct a                            if necessary. These documents must be                  communities and other interested
                                            typographical error in the initial                      retained in the facility operating record              parties obsolete.
                                            applicability paragraph of the                          as well as posted on the facility CCR                     The other commenters all agree that
                                            groundwater monitoring and corrective                   website, generally for a five-year period.             extensions to the website posting and
                                            action regulations. In § 257.90(a), the                 In the proposed rule, EPA requested                    retention time periods are warranted.
                                            existing regulations refer to the                       comment on potential revision of                       Those comments that included actual
                                            ‘‘groundwater monitoring and corrective                 document posting and retention times                   time frame suggestions based those
                                            action requirements under §§ 257.90                     currently in the regulations. EPA raised               suggestions on the type of document
                                            through 257.99’’; however, there are no                 the concern that some of the current                   and relevance to the operation, closure,
                                            requirements codified under § 257.99.                   retention times may be too short to                    and cleanup requirements of the
                                            This was brought to EPA’s attention by                  accomplish the goals underlying the                    regulations, though they varied in the
                                            a State interested in permit program                    posting requirement, namely                            exact approach and length of
                                            approval. To avoid confusion with the                   transparency and information                           extensions.
                                            regulations, EPA proposed to revise the                 availability. This concern stems from                     EPA has decided that to accomplish
                                            section references in § 257.90(a) to read               the fact that information that is still                the regulatory goals underlying the
                                            ‘‘groundwater monitoring and corrective                 relevant for CCR units may reach the                   document preparation and retention
                                            action requirements under §§ 257.90                     original retention time limit while the                requirements, longer retention times are
                                            through 257.98.’’ EPA did not receive                   availability of the documents would still              required. Therefore, EPA is revising the
                                            any comments on this issue and is                       serve the purposes of transparency and                 retention periods as provided in this
                                            therefore finalizing this provision as                  information availability after the                     final rule. EPA does agree that the
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                                            proposed.                                               original retention deadline.                           approach for extensions should be based
                                                                                                       The comments received were largely                  on the nature of each document and the
                                            4. Publicly Accessible Internet Site                                                                           relevance of each document to
                                                                                                    in favor of revising the document
                                               EPA proposed to change several                                                                              demonstrating compliance with
                                            provisions using the term ‘‘CCR                           151 See § 423.19 for ELG rule posting                regulatory milestones. This approach
                                            website’’ to ‘‘CCR website,’’ which is the              requirements.                                          was already employed in the 2015 CCR


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                                            Rule for numerous documents (e.g., the                  Agency to not require the posting of all                        discarded after the applicable retention
                                            groundwater remedy selection                            documents out of concern that the                               time ran, this requirement nonetheless
                                            document is currently required to be                    websites would become cluttered and                             includes such documents. In other
                                            retained until remedy completion). See                  confusing.                                                      words, any required documents that
                                            § 257.107(h)(9). In this rule, EPA is                     Second, a related issue arises where                          have been destroyed or discarded must
                                            applying this same approach to other                    there may be more than one version of                           be reproduced and placed in the
                                            documents prepared under the                            a document, which version of a required                         operating record and reposted on the
                                            regulations.                                            document must be posted or retained in                          facility website. Otherwise, there could
                                               There are several related issues that                the operating record. This situation                            be inconsistencies among the required
                                            are involved in the document                            arises, for example, when a required                            facility websites totally dependent upon
                                            preparation, retention and posting                      document is updated or a document is                            whether a facility had elected to remove
                                            requirements that deserve discussion                    required to be prepared for recurring                           documents from the website and
                                            here. First, the website posting                        assessments. Where appropriate, the                             operating record and not otherwise
                                            regulations in § 257.107 are companions                 regulations are being revised to ensure                         retain the documents in any facility
                                            to, and cross-reference, the operating                  they are clear about what version or                            files. EPA believes that allowing this
                                            record regulations in subpart § 257.105.                versions of documents must be posted                            inconsistency across facility websites is
                                            The interrelation of these sections                     and retained.                                                   an unacceptable approach to ensuring
                                            means that this revisiting of the website                 A third issue is that, for some
                                                                                                                                                                    information relevant to each CCR unit is
                                            posting regulations necessitates a review               documents, the five-year retention and
                                                                                                                                                                    publicly available.
                                            of those regulations that address the                   posting duration requirements may have
                                            placing and retaining of documents in                   expired. However, some of these                                    Finally, while the approach adopted
                                            the facility operating record.                          documents are still relevant to an                              here links retention and posting times to
                                            Accordingly, EPA is including                           operating or closing unit, or a unit in                         document relevance and the status of
                                            accompanying retention time period                      post-closure care status or undergoing                          the CCR unit and work undertaken at
                                            changes to § 257.105 as appropriate and                 groundwater cleanup. For these                                  the unit, EPA does not believe that the
                                            relevant to the changes to § 257.107.                   documents, the purposes of retaining                            interest in information availability ends
                                            Additionally, as suggested by several                   and posting them are still viable and                           at the moment a unit’s status changes or
                                            commenters, the retention of the                        there are compelling reasons to ensure                          required work ends (e.g., completion of
                                            documents in the operating record for a                 these documents are available on the                            closure). Therefore, EPA is requiring
                                            longer period than retention on the                     facility website and in the facility                            that documents remain available for a
                                            website not only makes sense for some                   operating record. EPA is, therefore,                            reasonable time period after related
                                            documents, but supports the Agency not                  requiring that documents that may have                          milestones are reached. For many
                                            requiring that every prepared document                  been taken down and removed from                                documents, EPA has chosen five years
                                            remain on the website. This is                          operating records are placed back in the                        as the reasonable time period for
                                            particularly true for documents that are                operating records and reposted on the                           document posting and retention after
                                            either periodically updated or result                   website. Although it is unlikely that                           work is completed or the unit’s status
                                            from recurring assessments. In                          documents that were required to be                              changes. This is also consistent with
                                            implementing this approach, the                         prepared under the CCR regulations,                             timeframes offered by commenters
                                            Agency is mindful of and in agreement                   placed in the operating record, and                             where specific timeframes were
                                            with the comments that urged the                        posted on the website were destroyed or                         suggested.

                                                                      TABLE 3—DOCUMENT RETENTION IN THE OPERATING RECORD AND CCR WEBSITE
                                                                Document                                                Operating record                                            CCR website

                                            Location restrictions demonstration as specified         § 257.105(e): 5 years after: closure by re-                    § 257.107(e): 5 years after: CBR or post-clo-
                                              in §§ 257.60–257.64.                                      moval (CBR) or post-closure care ends.                         sure care ends.
                                            Landfill    liner   and     leachate   collection        § 257.105(f)(1): 5 years after: CBR or post-                   § 257.107(f)(1): 5 years after: CBR or post-
                                              preconstruction design certification and post             closure care ends.                                             closure care ends.
                                              construction certification as specified in
                                              § 257.70(e) and (f).
                                            Documentation of liner type as specified in              § 257.105(f)(2): 5 years after: CBR or post-                   § 257.107(f)(3): 5 years after: unit ends post
                                              § 257.71(a).                                              closure care ends.                                             closure care OR liner is removed.
                                            Surface impoundment liner preconstruction de-            § 257.105(f)(3): 5 years after: CBR or post-                   § 257.107(f)(2): 5 years after: CBR or post-
                                              sign certification and postconstruction certifi-          closure care ends.                                             closure care ends OR liner is removed.
                                              cation as specified in § 257.72(c) and (d).
                                            Documentation that permanent identification              § 257.105(f)(4): 5 years after: CBR or post-                   N/A.
                                              marker was installed as specified in                      closure care ends.
                                              §§ 257.73(a)(1) and 257.74(a)(1).
                                            The initial and periodic hazard potential classi-        § 257.105(f)(5): Retain all versions ..................        § 257.107(f)(4): Current and previous one.
                                              fication assessments as specified in                   CBR Until closure is complete not including                    CBR Until closure is complete not including
                                              §§ 257.73(a)(2) and 257.74(a)(2).                         meeting GWPS.                                                  meeting GWPS.
                                                                                                     Closure in place (CIP): until post-closure care                CIP: Until post closure care is complete.
                                                                                                        is complete.
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                                            The emergency action plan, and any revisions             § 257.105(f)(6): Retain all ................................   § 257.107(f)(5): Current version, if EAP is re-
                                              of it, as specified in §§ 257.73(a)(3) and             5 years after: CBR not including meeting                          quired.
                                              257.74(a)(3).                                             GWPS or unit ends post-closure care.




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                                                             TABLE 3—DOCUMENT RETENTION IN THE OPERATING RECORD AND CCR WEBSITE—Continued
                                                                Document                                                Operating record                                             CCR website

                                            Documentation prepared by the owner or oper-             § 257.105(f)(7): Retain all ................................   § 257.107(f)(6): Current version, if EAP is re-
                                              ator recording the annual face-to-face meet-           5 years after: CBR or unit ends post closure                      quired.
                                              ing or exercise between representatives of                care.
                                              the owner or operator of the CCR unit and
                                              the local emergency responders, as specified
                                              in §§ 257.73(a)(3)(i)(E) and 257.74(a)(3)(i)(E).
                                            Documentation prepared by the owner or oper-             § 257.105(f)(8): Retain all ................................   § 257.107(f)(7): Any documentation prepared
                                              ator recording any activation of the emer-             5 years after: CBR or unit ends post closure                      in the last five years; if no activation in the
                                              gency action plan, as specified in                        care.                                                          last 5 years, a statement posted relating
                                              §§ 257.73(a)(3)(v) and 257.74(a)(3)(v).                                                                                  that information.
                                            The history of construction, and any revisions           § 257.105(f)(9): Retain all ................................   § 257.107(f)(8): Only most recent and any re-
                                              of it as specified in § 257.73(c).                     5 years after: CBR or unit ends post closure                      visions from the last 5 years.
                                                                                                        care.                                                       5 years after: CBR or unit ends post closure
                                                                                                                                                                       care.
                                            The initial and periodic structural stability as-        § 257.105(f)(10): Retain all ..............................    § 257.107(f)(9): Current and previous one.
                                              sessments as specified in §§ 257.73(d) and             CBR Until closure is complete not including                    CBR Until closure is complete not including
                                              257.74(d).                                                meeting GWPS.                                                  meeting GWPS.
                                                                                                     CIP: Until post closure care is complete .........             CIP: Until post closure care is complete.
                                            The documentation detailing the corrective               § 257.105(f)(11): Retain all ..............................    § 257.107(f)(10): Current and any corrective
                                              measures taken to remedy the structural sta-           5 years after: CBR or unit ends post closure                      measures.
                                              bility deficiency for existing or new surface             care.                                                       5 years after: CBR or unit ends post closure
                                              impoundments as specified in §§ 257.73(d)(2)                                                                             care.
                                              and 257.74(d)(2).
                                            The initial and periodic safety factor assess-           § 257.105(f)(12): Retain all ..............................    § 257.107(f)(11): Current and previous one.
                                              ments as specified in §§ 257.73(e) and                 5 years after: CBR or unit ends post closure                   5 years after: CBR or unit ends post closure
                                              257.74(e).                                                care.                                                          care.
                                            The design and construction plans of the unit,           § 257.105(f)(13): Retain all ..............................    § 257.107(f)(12): Current and previous one.
                                              and any revisions of the plans as specified in         5 years after: CBR or unit ends post closure                   5 years after: CBR or unit ends post closure
                                              § 257.74(c).                                              care.                                                          care.
                                            The application and any supplemental materials           § 257.105(f)(14): 5 years after: CBR or unit                   § 257.107(f)(13): 5 years after: CBR or unit
                                              submitted in support of the alternative liner             ends post closure care.                                        ends post closure care.
                                              demonstration application as specified in
                                              § 257.71(d)(1)(i)(E).
                                            CCRMU Facility Evaluation Report Document                § 257.105(f)(25): 5 years after: CBR or unit                   § 257.107(f)(24): 5 years after: CBR or unit
                                              Part 1 as specified in § 257.75(c).                       ends post closure care.                                        ends post closure care.
                                            CCRMU Facility Evaluation Report Document                § 257.105(f)(26): 5 years after: CBR or unit                   § 257.107(f)(25): 5 years after: CBR or unit
                                              Part 2 as specified in § 257.75(d).                       ends post closure care.                                        ends post closure care.
                                            The decision on the alternative liner application        § 257.105(f)(19): 5 years after: CBR or unit                   § 257.107(f)(18): 5 years after: CBR or unit
                                              as specified in § 257.71(d)(2)(iii)(F).                   ends post closure care.                                        ends post closure care.
                                            The CCR fugitive dust control plan, or any sub-          § 257.105(g)(1): Retain all until last CCR unit                § 257.107(g)(1): Only most recent.
                                              sequent amendment of the plan as specified                at the facility completes post closure care                 Retain until last unit completes post closure
                                              in § 257.80(b).                                           or CBR.                                                        care or CBR.
                                            The annual CCR fugitive dust control report as           § 257.105(g)(2): Retain all until last CCR unit                § 257.107(g)(2): Current plus last 5 years.
                                              specified in § 257.80(c).                                 at the facility completes post closure care                 Retain until last unit completes post closure
                                                                                                        or CBR.                                                        care or CBR.
                                            The initial and periodic run-on and run-off con-         § 257.105(g)(3): Only most recent ...................          § 257.107(g)(3): Current plus any other
                                              trol system CCR landfill plans as specified in         Until 5 years after closure of the landfill is                    versions from the last 5 years (if updated).
                                              § 257.81(c).                                              complete not including achievement of                       Until 5 years after closure of the landfill is
                                                                                                        GWPS.                                                          complete not including achievement of
                                                                                                                                                                       GWPS.
                                            Initial and periodic inflow design flood control         § 257.105(g)(4): Only most recent ...................          § 257.107(g)(4): Current plus any other
                                               system CCR surface impoundment plans as               Until 5 years after closure of the landfill is                    versions from the last 5 years (if updated).
                                               specified in § 257.82(c).                                complete not including achievement of                       Until 5 years after closure of the landfill is
                                                                                                        GWPS.                                                          complete not including achievement of
                                                                                                                                                                       GWPS.
                                            Documentation recording the results of each              § 257.105(g)(5): Retain all until 5 years after                N/A.
                                              CCR surface impoundment inspection and                    closure is complete not including achieve-
                                              monitoring as specified in § 257.83(a).                   ment of GWPS.
                                            Annual CCR surface impoundment inspection                § 257.105(g)(6): Retain all until 5 years after                § 257.107(g)(5): Current plus last 5.
                                              reports as specified in § 257.83(b)(2).                   closure is complete not including achieve-                  Retain until 5 years after closure is complete
                                                                                                        ment of GWPS.                                                  not including achievement of GWPS.
                                            The documentation detailing the corrective               § 257.105(g)(7): Retain all until 5 years after                § 257.107(g)(6): Any corrective measures until
                                              measures taken to remedy the deficiency or                closure is complete not including achieve-                     5 years after closure is complete not includ-
                                              release as specified in §§ 257.83(b)(5) and               ment of GWPS.                                                  ing achievement of GWPS.
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                                              257.84(b)(5).
                                            Documentation recording the results of weekly            § 257.105(g)(8): Retain all until 5 years after                N/A.
                                              landfill structural weakness inspection as                closure is complete not including achieve-
                                              specified in § 257.84(a).                                 ment of GWPS.
                                            Annual landfill inspection reports as specified in       § 257.105(g)(9): Retain all until 5 years after                § 257.107(g)(7): Current plus last 5.
                                              § 257.84(b)(2).                                           closure is complete not including achieve-                  Retain until 5 years after closure is complete
                                                                                                        ment of GWPS.                                                  not including achievement of GWPS.



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                                                             TABLE 3—DOCUMENT RETENTION IN THE OPERATING RECORD AND CCR WEBSITE—Continued
                                                                Document                                              Operating record                                       CCR website

                                            Annual groundwater monitoring and corrective             § 257.105(h)(1): Retain all until 5 years after        § 257.107(h)(1): Current plus previous 5
                                              action report as specified in § 257.90(e).                the last CCR unit at the facility completes            years.
                                                                                                        post-closure care or completion of CBR in-          Retain until 5 years after last unit completes
                                                                                                        cluding achieving GWPS for 3 consecutive               post-closure care or completion of CBR in-
                                                                                                        years.                                                 cluding achieving GWPS for 3 consecutive
                                                                                                                                                               years.
                                            Documentation of design, installation, develop-          § 257.105(h)(2): 5 years after CBR and                 N/A.
                                              ment, and decommissioning of any moni-                    GWPS have been met or 5 years after
                                              toring wells, piezometers and other devices               completion of post-closure care.
                                              as specified in in § 257.91(e)(1).
                                            Groundwater monitoring system certification as           § 257.105(h)(3): 5 years after CBR and                 § 257.107(h)(2): 5 years after CBR and
                                              specified in § 257.91(f).                                 GWPS have been met or 5 years after                    GWPS have been met or 5 years after
                                                                                                        completion of post-closure care.                       completion of post-closure care.
                                            Selection of a statistical method certification as       § 257.105(h)(4): 5 years after CBR and                 § 257.107(h)(3): 5 years after CBR and
                                              specified in § 257.93(f)(6).                              GWPS have been met or 5 years after                    GWPS have been met or 5 years after
                                                                                                        completion of post-closure care.                       completion of post-closure care.
                                            Assessment of corrective measures as speci-              § 257.105(h)(10): 5 years after CBR and                § 257.107(h)(8): 5 years after CBR and
                                              fied in § 257.96(d).                                      GWPS have been met or 5 years after                    GWPS have been met or 5 years after
                                                                                                        completion of post-closure care.                       completion of post-closure care.
                                            Documentation recording the public meeting for           § 257.105(h)(11): 5 years after CBR and App            N/A.
                                              the corrective measures assessment as                     IV GWPS have been met or 5 years after
                                              specified in § 257.96(e).                                 completion of post-closure care.
                                            Notification that the remedy has been com-               § 257.105(h)(13): 5 years after completion of          § 257.107(h)(10): 5 years after completion of
                                              pleted specified under in § 257.98(e).                    remedy.                                                remedy.
                                            Demonstration supporting the suspension of               § 257.105(h)(14): 5 years after last unit ends         § 257.107(h)(11): 5 years after posting.
                                              groundwater monitoring activities as specified            post closure care.
                                              in § 257.90(g).
                                            Written closure plan, and any amendment of               § 257.105(i)(4): Only the most recent ..............   § 257.107(i)(4): Only the most recent.
                                              the plan as specified in § 257.102(b).                 5 years after CBR or 5 years after post-clo-           5 years after CBR or 5 years after post-clo-
                                                                                                        sure care is complete.                                 sure care is complete.
                                            Demonstration(s) for a time extension for initi-         § 257.105(i)(5): Until notice of closure comple-       § 257.107(i)(5): Until notice of closure comple-
                                              ating       closure       as      specified     in        tion is posted.                                        tion is posted.
                                              § 257.102(e)(2)(ii) and (iii).
                                            Demonstration(s) for a time extension for com-           § 257.105(i)(6): 5 years after closure is com-         § 257.107(i)(6): 5 years after closure is com-
                                              pleting      closure       as     specified     in        plete.                                                 plete.
                                              § 257.102(f)(2)(i) and (iii).
                                            Notification of intent to close a CCR unit as            § 257.105(i)(7): 5 years after closure complete        § 257.107(i)(7): 5 years after closure com-
                                              specified in § 257.102(g).                                                                                       plete.
                                            Notification of completion of closure of a CCR           § 257.105(i)(8): 5 years after unit ends post          § 257.107(i)(8): 5 years after unit ends post
                                              unit as specified in § 257.102(h).                        closure care or CBR.                                   closure care or CBR
                                            Notification recording a notation on the deed as         § 257.105(i)(9): 5 years after unit ends post          § 257.107(i)(9): 5 years after unit ends post
                                              specified in § 257.102(i).                                closure care.                                          closure care.
                                            Notification of intent to comply with the alter-         § 257.105(i)(10): 5 years after the unit com-          § 257.107(i)(10): 5 years after the unit com-
                                              native closure requirements for landfills as              pletes closure.                                        pletes closure.
                                              specified in § 257.103(c)(1).
                                            Annual progress reports under the alternative            § 257.105(i)(11): 5 years after the unit com-          § 257.107(i)(11): 5 years after the unit com-
                                              closure requirements for landfills as specified           pletes closure.                                        pletes closure.
                                              in § 257.103(c)(2).
                                            Written post-closure plan, and any amendment             § 257.105(i)(12): 5 years after unit ends post         § 257.107(i)(12): 5 years after unit ends post
                                              of the plan as specified in § 257.104(d).                 closure care.                                          closure care.
                                            Notification of completion of post-closure care          § 257.105(i)(13): 5 years after unit ends post         § 257.107(i)(13): 5 years after unit ends post
                                              as specified in § 257.104(e).                             closure care.                                          closure care.
                                            Notification of intent to comply with the site-          § 257.105(i)(14): 5 years after: CBR or unit           § 257.107(i)(14): 5 years after: CBR or unit
                                              specific alternative to initiation of closure due         ends post closure care.                                ends post closure care.
                                              to development of alternative capacity infea-
                                              sible as specified in § 257.103(f)(1)(ix)(A).
                                            Approved or denied demonstration for the site-           § 257.105(i)(15): 5 years after: CBR or unit           § 257.107(i)(15): 5 years after: CBR or unit
                                              specific alternative to initiation of closure due         ends post closure care.                                ends post closure care.
                                              to development of alternative capacity infea-
                                              sible as specified in § 257.103(f)(1)(ix)(B).
                                            Notification for requesting additional time to the       § 257.105(i)(16): 5 years after: CBR or unit           § 257.107(i)(16): 5 years after: CBR or unit
                                              alternative cease receipt of waste deadline               ends post closure care.                                ends post closure care.
                                              as specified in § 257.103(f)(1)(ix)(C).
                                            Semi-annual progress reports for the site-spe-           § 257.105(i)(17): 5 years after: CBR or unit           § 257.107(i)(17): 5 years after: CBR or unit
                                              cific alternative to initiation of closure due to         ends post closure care.                                ends post closure care.
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                                              development of alternative capacity infeasible
                                              as specified in § 257.103(f)(1)(xi).
                                            Notification of intent to comply with the site-          § 257.105(i)(18): 5 years after: CBR or unit           § 257.107(i)(18): 5 years after: CBR or unit
                                              specific alternative to initiation of closure due         ends post closure care.                                ends post closure care.
                                              to permanent cessation of a coal-fired boil-
                                              er(s) by a date certain as specified in
                                              § 257.103(f)(1)(viii).



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                                                                Document                                              Operating record                                      CCR website

                                            Approved or denied demonstration for the site-           § 257.105(i)(19): 5 years after: CBR or unit         § 257.107(i)(19): 5 years after: CBR or unit
                                              specific alternative to initiation of closure due         ends post closure care.                              ends post closure care.
                                              to permanent cessation of a coal-fired boil-
                                              er(s) by a date certain as specified in
                                              § 257.103(f)(2)(ix).
                                            Annual progress report for the site-specific al-         § 257.105(i)(20): 5 years after: CBR or unit         § 257.107(i)(20): 5 years after: CBR or unit
                                              ternative to initiation of closure due to perma-          ends post closure care.                              ends post closure care.
                                              nent cessation of a coal-fired boiler(s) by a
                                              date certain as specified in § 257.103(f)(2)(x).
                                            Legacy Applicability Report as specified in              § 257.105(k)(1): 5 years after: CBR or unit          § 257.107(k)(1): 5 years after: CBR or unit
                                              § 257.100(f)(1)(i).                                       ends post closure care.                              ends post closure care.



                                            IV. Effect on State CCR Permit                          certain portions of this final rule, when             State may request approval of the final
                                            Programs                                                EPA establishes a Federal CCR permit                  rule provisions applicable to either or
                                               In the proposed rule, EPA discussed                  program, EPA will begin issuing permits               both the legacy CCR surface
                                            the effect of the amended regulations on                for CCR units, legacy CCR surface                     impoundments and the CCRMU
                                            State CCR permit programs. The                          impoundments, and CCRMU in                            requirements.
                                            revisions to the CCR regulations both                   nonparticipating States.                                 Some commenters discussed the
                                            establish standards for new types of                       As discussed in Units III.A. and III.B             process for approving State CCR permit
                                            units and revise existing requirements                  of this preamble, EPA is establishing                 programs and inquired about the
                                            for CCR units defined in and subject to                 requirements for legacy CCR surface                   number of States that EPA is currently
                                            the 2015 CCR Rule. For this reason, the                 impoundments and CCRMU. Because                       working with and the timeframe for
                                            requirements for approval and retention                 legacy CCR surface impoundments and                   approval of a State program package. As
                                            of a State CCR permit program in                        CCRMU are new types of Federally                      noted above, the Guidance Document
                                            accordance with RCRA section 4005(d)                    regulated units, no State is currently                explains the process for States to
                                            will change. How these revisions will                   approved to issue State CCR permits to                develop of State CCR permit program.
                                            affect States depends on whether the                    such units in lieu of the Federal CCR                 The time it takes to develop an
                                            State has received approval for the                     regulations. Thus, any State that wants               approvable State program depends on a
                                            provisions that are ultimately included                 approval to issue permits to such units               number of factors, including the time it
                                            in any final rule and whether the State                 will be required to update the State CCR              takes for a State to promulgate or enact
                                            is seeking full or partial approval of its              regulations and go through the State                  regulations that are as protective as the
                                            permit program.                                         CCR permit program approval process                   Federal CCR regulations. Once the State
                                               EPA received several comments                        set forth in RCRA section 4005(d).                    has a complete and approvable program,
                                            asking for clarification on what States                    As discussed in Units III.B.g and III.D            EPA will issue the final program
                                            need to do to adopt these revisions. As                 of this preamble, EPA is also revising                determination within 180 days of
                                            EPA explained in the proposed rule, if                  requirements under the existing CCR                   determining that the State’s submission
                                            a State has an approved program                         regulations. The revised requirements                 is complete. EPA commits to working
                                            pursuant to RCRA section 4005(d), that                  will directly apply to affected facilities            with States to adopt regulations that are
                                            State program will continue to operate                  except to the extent EPA has already                  at least as protective as the Federal CCR
                                            in lieu of the portions of the Federal                  approved the State to issue permits for               regulations and to review any draft
                                            program adopted by the State, even if                   the original requirement. In such a case,             application materials and provide
                                            EPA revised the Federal analog of that                  the State requirement will apply in lieu              comments to ensure the final
                                            regulation in this final action. See 42                 of the new Federal requirement until the              application package can go through
                                            U.S.C. 6945(d)(1)(A), (3). This means                   State program is revised. certain                     EPA’s approval process in a timely
                                            that the applicable revisions to the                    provisions (i.e., the requirement to                  manner. The process for approving
                                            Federal CCR regulations will only take                  expand § 257.102(d)(2) to landfills that              program modifications is the same as for
                                            effect in an approved State when the                    are inundated with groundwater,                       the initial program approval: EPA will
                                            State revises its program to adopt them.                document retention timeframes) to be                  propose to approve or deny the program
                                            For this reason, RCRA requires a State                  more protective                                       modification and hold a public hearing
                                            to revise its program within three years                   One commenter asked if a State can                 during the comment period. EPA will
                                            of any applicable revision to the Federal               adopt regulations for either legacy CCR               then issue the final program
                                            CCR regulation that is more protective                  surface impoundments or CCRMU, but                    determination within 180 days of
                                            than the existing State program in order                not both. EPA issued the Coal                         determining that the State’s submission
                                            to maintain approval. See, 42 U.S.C.                    Combustion Residuals State Permit                     is complete.
                                            6945(d)(1)(D)(i)(II). Conversely, the                   Program Guidance Document; Interim                       Finally, EPA received comments
                                            Federal requirements continue to apply                  Final (82 FR 38685, August 15, 2017)                  saying that EPA seems to be finalizing
                                            directly to CCR facilities in States                    (the ‘‘Guidance Document’’) to advise                 these regulations under the self-
                                            without an approved CCR program and                     States interested in developing a State               implementing regulatory scheme that
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                                            in States with a partial CCR program.                   CCR permit program for approval by                    existed when the 2015 CCR rule was
                                            EPA will work with each State that is                   EPA. The Guidance Document explains                   promulgated. The comments further say
                                            interested in adopting these regulations                the process for developing a State CCR                that since then, Congress enacted the
                                            to ensure the State CCR permit program                  permit program and expressly                          WIIN Act, which fundamentally
                                            is at least as protective as the Federal                contemplates a State requesting partial               changed the regulatory landscape and
                                            program. If a State chooses not to adopt                approval of such a program. Thus, a                   now requires implementation through


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                                            State and Federal permit programs. EPA                  programs and determines that about                    end estimate of the costs of this
                                            acknowledges this Congressional                         9.8% of legacy CCR surface                            impoundment failure is $300 million.
                                            mandate and is working to finalize the                  impoundments are addressing site                         The monetized benefits in the RIA are
                                            Federal CCR permit program in addition                  contamination. To estimate the                        incomplete and omit categories of
                                            to approving State permit programs.                     proportion of CCRMU addressing                        benefits that are known to be significant.
                                            States have requested that EPA finalize                 contamination, the RIA examines                       One such category of benefits is avoided
                                            the legacy CCR surface impoundment                      publicly available filings from owners                cases of lung and bladder cancers due
                                            provisions and other provisions that                    and operators of regulated coal-fired                 to exposure to arsenic III and arsenic V.
                                            were remanded back to the Agency to                     power plants. The RIA estimates that                  Inorganic arsenic is known to occur in
                                            allow States to apply for full program                  about 20.8% of CCRMU are undergoing                   CCRs, and can leach into drinking water
                                            approval. EPA disagrees that the self-                  sitewide corrective action and closure in             from leaking CCR disposal units. The
                                            implementing rule is inappropriate in                   a manner sufficient to meet the                       EPA IRIS Toxicological Review of
                                            lieu of the WIIN Act requirements                       requirements of the final rule.                       Inorganic Arsenic (CASRN 7440–38–2)
                                            because all owners and operators of CCR                                                                       draft, published in October 2023,
                                                                                                    D. Costs and Benefits of the Final Rule               provides updated toxicity values for
                                            units and CCRMU will need to follow
                                            the self-implementing rule until they                      The RIA estimates that the annualized              cancer outcomes associated with
                                            obtain a State or Federal permit. Lastly,               costs of this action will be                          inorganic arsenic exposure. From these
                                            any permits that are issued by EPA will                 approximately $214–$240 million per                   values the benefits of avoided cancer
                                            refer to the regulatory requirements in                 year when discounting at 2%. Of this,                 cases can be monetized. The RIA does
                                            40 CFR part 257, subpart D, or the                      $123–$135 million is attributable to the              not consider these avoided cancer
                                            equivalent State regulation in the case of              requirements for legacy CCR surface                   benefits in the main analysis because
                                            State permits.                                          impoundments, which are subject to the                the IRIS report underlying them is still
                                                                                                    D.C. Circuit’s order in USWAG, $79–$92                draft and subject to revision. These
                                            V. The Projected Economic Impact of                     million is attributable to the                        benefits are instead monetized in a
                                            This Action                                             requirements for CCRMU, $8–$9 million                 sensitivity analysis and are estimated to
                                            A. Introduction                                         is attributable to the requirements for               be $19 million per year when
                                                                                                    OAFUs, and $4 million is attributable to              discounting at 2%. As these benefits are
                                              EPA estimated the costs and benefits                  requirements for landfills. The costs of              but two health endpoints from a single
                                            of this action in a Regulatory Impact                   this final rule are discussed further in              contaminant, they point to the possible
                                            Analysis (RIA), which is available in the               the RIA and include the costs of unit                 true magnitude of benefits attributable
                                            docket for this action.                                 closure, corrective action, fugitive dust             to the final rule.
                                            B. Affected Universe                                    controls, structural integrity                           The RIA also describes a number of
                                                                                                    inspections, and recordkeeping and                    important benefits that cannot currently
                                               The universe of facilities and units                 reporting.                                            be quantified or monetized due to data
                                            affected by the final rule includes four                   The RIA estimates that the annualized              limitations or limitations in current
                                            categories. The first is comprised of                   monetized benefits attributable to this               methodologies. These benefits include
                                            facilities with legacy CCR surface                      action will be approximately $53–$80                  reducing the baseline risk of unit
                                            impoundments. The RIA identifies 194                    million per year when discounting at                  leakage and failure attributable to
                                            legacy CCR surface impoundments                         2%. Of this, $43–$57 million is                       climate-change driven severe weather
                                            located at 84 facilities. The second                    attributable to the requirements for                  events. Many legacy CCR surface
                                            component of the affected universe is                   legacy CCR surface impoundments, $9–                  impoundments and CCRMU are situated
                                            composed of CCRMU. The RIA                              $21 million is attributable to the                    close to rivers or are located along the
                                            identifies 195 CCRMU at 104 facilities.                 requirements for CCRMU, $1–$2 million                 coast. These units are vulnerable to
                                            The third component of the affected                     is attributable to the requirements for               inland or coastal flooding, which may
                                            universe is composed of CCRMU at                        CCRMU at ‘‘other active facilities,’’ or              occur at an increased frequency due to
                                            ‘‘other active facilities,’’ or OAFUs. The              OAFUs. Requirements for landfills                     the effects of climate change. Flooding
                                            RIA identifies 15 OAFUs at six facilities.              account for a de minimis amount of                    events may cause these units to overtop
                                            The final component of the universe is                  benefits. The monetized benefits of this              or catastrophically collapse, releasing
                                            comprised of CCR landfills that are                     proposed rule are discussed further in                CCR into the environment, exposing
                                            already regulated under the 2015 CCR                    the RIA, and include reduced incidents                nearby communities to toxic
                                            Rule, but which have waste in contact                   of cancer from the consumption of                     contamination and necessitating
                                            with groundwater. The RIA identifies 39                 arsenic in drinking water, avoided                    potentially costly cleanup and
                                            such landfills at 33 facilities.                        intelligence quotient (IQ) losses from                remediation. EPA has identified 62
                                                                                                    mercury and lead exposure, non-market                 legacy CCR impoundments at medium
                                            C. Baseline Costs                                       benefits of water quality improvements,               or high risk from climate change-driven
                                              The RIA examines the extent to which                  and the protection of threatened and                  flooding, and 74 CCRMU at medium or
                                            baseline practices at legacy CCR surface                endangered species. EPA also                          high risk from climate change driven-
                                            impoundments and CCRMU address                          monetized the benefits of avoided                     flooding.
                                            contamination in a manner consistent                    impoundment failures, including both                     Another set of benefits outside the
                                            with the requirements of the final rule.                ‘‘catastrophic’’ failures and smaller-                scope of quantification include reducing
                                            To the extent that legacy CCR surface                   volume releases. One example of a                     the instance of negative human health
                                            impoundments and CCRMU are already                      severe impoundment failure is the Dan                 impacts such as cardiovascular
                                            sufficiently addressing contamination,                  River Steam Station failure that                      mortality, neurological effects, and
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                                            they are assumed to not incur costs or                  occurred in 2014, when a stormwater                   cancers (separate from the quantified
                                            realize benefits under the final rule. To               drainage pipe under the inactive surface              cancer benefits) brought on by exposure
                                            estimate the proportion of legacy CCR                   impoundments at the Dan River Steam                   to toxins found in coal ash. Either
                                            surface impoundments addressing                         Station caused the inadvertent release of             through leaking impoundment sites or
                                            contamination in the baseline, the RIA                  39,000 tons of CCR directly into the                  release events, many pollutants from
                                            examines relevant Federal and State                     nearby Dan River. The resulting high-                 legacy CCR surface impoundments are


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                                            likely to contaminate nearby water                         CCR as a substitute for virgin materials.             reduce existing disproportionate and
                                            bodies, affecting surface waters, local                    Future uses of CCR are unknown.                       adverse effects on economically
                                            fish populations, and drinking water                       Research on the recovery of rare earth                vulnerable communities, as well as
                                            reservoirs. Because known transport                        elements and yttrium from coal fly ash                those that currently face environmental
                                            pathways exist between these release                       is ongoing but currently only at                      burdens. For example, in Illinois the
                                            events and human health endpoints,                         laboratory scale. It is possible that in the          population living within one mile of
                                            EPA expects the proposed rule to cause                     future, the availability of additional CCR            legacy CCR surface impoundment sites
                                            risk reductions for various categories                     may reach an equilibrium price that                   is over three times as likely compared
                                            that are not yet quantifiable. Toxins                      encourages demand, particularly as coal               to the State average to have less than a
                                            such as thallium, molybdenum, and                          plants retire and the supply of ‘‘new’’               high school education (35.66%
                                            lithium, while all present in CCR, lack                    CCR falls. However, the quality of CCR                compared to 10.10%, see RIA exhibit
                                            the data to create dose-response                           in legacy CCR surface impoundments                    ES.14), and that population already
                                            relationships between ingestion rates                      and CCRMU may limit their value.                      experiences higher than average
                                            and specific health endpoints, and thus                    Older, closed impoundments or other                   exposures to particulate matter, ozone,
                                            precludes EPA from quantifying                             CCR storage areas are less likely to have
                                                                                                                                                             diesel emissions, lifetime air toxics
                                            associated benefits.                                       CCR material of a known and reliable
                                               The RIA describes several surface                                                                             cancer risks, and proximity to traffic,
                                                                                                       composition.
                                            water quality benefits such as the                            The RIA also discusses potential                   Superfund sites, Risk Management Plan
                                            improved health of ecosystems                              reductions in fugitive dust emanating                 sites, and hazardous waste facilities (see
                                            proximate to CCR disposal units, and                       from legacy CCR surface                               RIA exhibit ES.15).
                                            the avoided costs of treating public                       impoundments, which will benefit                         The RIA also discusses the interaction
                                            drinking water impacted by CCR                             fence line communities by reducing the                of the CCR rules with Office of Air rules
                                            contamination. EPA expects leakages or                     amount of resuspended ash from legacy                 governing emissions at power plants.
                                            releases of effluent from any CCR                          CCR surface impoundments that could                   Following on the significant progress
                                            surface impoundment site to                                otherwise lead to respiratory health                  EPA has made over many decades to
                                            contaminate nearby surface waters and                      hazards for communities surrounding a                 reduce dangerous pollution from coal-
                                            environments. Introduction of arsenic,                     given legacy impoundment.                             fired electric utilities’ stack emissions
                                            selenium, and other heavy metals                              The RIA discusses the benefits of                  and effluents, this proposed rule will
                                            associated with CCR surface                                improved property values near closed                  help EPA further ensure that the
                                            impoundment contents are shown to                          and remediated sites. Neighborhoods                   communities and ecosystems closest to
                                            accumulate in sediments of nearby                          located near hazardous waste sites often              coal facilities are sufficiently protected
                                            stream and lake beds, posing risks and                     experience depressed property values                  from harm from groundwater
                                            injury to organisms and consequently                       due to health risks posed by                          contamination, surface water
                                            ecosystems. Although surface waters are                    contaminant exposure pathways,
                                                                                                                                                             contamination, fugitive dust, floods and
                                            broadly protected from high levels of                      potential reductions in ecological
                                                                                                                                                             impoundment overflows, and threats to
                                            contaminants under EPA’s regulations                       services, unsightly aesthetics of the
                                                                                                                                                             wildlife. The volume and toxicity of
                                            and Water Quality Criteria (WQC),                          disposal unit site, and potential stigma
                                                                                                       associated with proximity to a disposal               CCR at many sites persisted or increased
                                            complex interactions from trace
                                                                                                       site. Almost a million households, and                over past decades even as coal-fired
                                            amounts of heavy metals and other
                                                                                                       over 2.5 million people are located                   units’ air and water emissions
                                            toxins known to be released from legacy
                                            CCR surface impoundment sites have                         within three miles of legacy CCR surface              decreased, and this proposed rule will
                                            displayed measurable impact to aquatic                     impoundments and CCRMU.                               help EPA fulfill the promise of
                                            animals and ecosystems.152                                 Approximately 75,000 households and                   substantial public health and welfare
                                               The RIA discusses how the final rule                    200,000 people are located within a                   gains from its full suite of regulations
                                            may result in avoided drinking water                       mile. Improvements in home values                     aimed at reducing the harms from coal-
                                            treatment costs and drinking water                         resulting from the proposed rule have                 combustion pollution.
                                            quality improvements at public water                       the potential to bestow welfare gains to                 As noted previously, EPA establishes
                                            systems. First, by reducing the risk of                    homeowners located near legacy CCR                    the requirements under RCRA sections
                                            CCR leakage events and impoundment                         surface impoundments and CCRMU.                       1008(a)(3) and 4004(a) without taking
                                            failures, the proposed rule will help                         The RIA also discusses the value of                cost into account. See, USWAG, 901
                                            avoid costs of water quality treatment at                  reusing land formerly occupied by                     F.3d at 448–49. Although EPA has
                                            public intake sources. Second, by                          legacy CCR surface impoundments, and                  accordingly designed its proposal based
                                            preventing release events the proposed                     CCRMU. Once legacy CCR surface                        on its statutory factors and court
                                            rule has the potential to reduce the                       impoundments and CCRMU are closed                     precedent and has not relied on this
                                            incidence of eutrophication in source                      by removal, landfills are properly                    benefit-cost analysis in the selection of
                                            waters for public drinking supplies.                       capped, or corrective action activities               its proposed alternative, EPA believes
                                            Eutrophication is primarily caused by                      are completed, the land is more likely                that after considering all unquantified
                                            an overabundance of nitrogen and                           to move into alternative, economically
                                                                                                                                                             and distributional effects, the public
                                            phosphorus. It causes foul tastes and                      productive purposes. For example, these
                                                                                                                                                             health and welfare gains that will result
                                            odors, which require additional                            land reuse projects might include
                                                                                                                                                             from the proposed alternative would
                                            treatment, and commensurate                                industrial redevelopment or
                                                                                                                                                             justify the rule’s costs.
                                            expenditure, to remove.                                    implementation of green energy
                                               The RIA discusses potential impacts                     generation which can utilize the                      VI. Statutory and Executive Order
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                                            on the market for the beneficial use of                    existing electricity grid infrastructure.             Reviews
                                                                                                          Finally, based on the demographic
                                              152 Brandt, Jessica E., et al. ‘‘Beyond selenium:
                                                                                                       composition and environmental                           Additional information about these
                                            coal combustion residuals lead to multielement             conditions of communities within one                  statutes and Executive Orders can be
                                            enrichment in receiving lake food webs.’’
                                            Environmental science & technology 53.8 (2019):            and three miles of legacy CCR surface                 found at https://www.epa.gov/laws-
                                            4119–4127.                                                 impoundments, the final rule will                     regulations/laws-and-executive-orders.


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                                            A. Executive Order 12866: Regulatory                       The final rule requires legacy CCR                 subject to the final rule. The Agency
                                            Planning and Review and Executive                       surface impoundments to comply with                   estimates that the average annual cost to
                                            Order 14904: Modernizing Regulatory                     the reporting and recordkeeping                       a small entity will be approximately
                                            Review                                                  requirements already in place for                     $0.31 million; the vast majority of these
                                                                                                    regulated CCR units. Many of these                    entities do not own legacy CCR surface
                                               This action is a ‘‘significant regulatory            requirements are one-time requirements                impoundments, CCRMU, or OAFUs,
                                            action’’ under section 3(f)(1) of                       that will occur soon after the                        and must only complete the evaluation
                                            Executive Order 12866, as amended by                    promulgation of the rule, while several               report requirements of the final rule.
                                            Executive Order 14094. Accordingly,                     are ongoing. The final rule also requires             EPA has identified 15 small entities
                                            the EPA submitted this action to the                    legacy CCR surface impoundments to                    owning legacy CCR surface
                                            Office of Management and Budget                         submit an applicability report, unique to             impoundments, CCRMU, and/or
                                            (OMB) for review. Any changes made in                   this universe of units, which will                    OAFUs; EPA assumes that small entities
                                            response to recommendations received                    provide stakeholders with essential site              will not be able to pass on any
                                            as part Executive Order 12866 review                    characteristic and contact information                compliance costs to ratepayers. This
                                            have been documented in the docket.                     for the unit.                                         assumption, in EPA’s opinion,
                                            The EPA prepared an analysis of the                        Respondents/affected entities:                     constitutes a high-end scenario. In total,
                                            potential costs and benefits associated                 Inactive electric utility plants with                 these 15 small entities are estimated to
                                            with this action. This analysis,                        inactive CCR surface impoundments                     incur approximately $52.1 million in
                                            Regulatory Impact Analysis: Hazardous                   (legacy CCR surface impoundments),                    annual costs. The Agency has
                                            and Solid Waste Management System:                      electric utility plants with CCRMU,                   determined that five small entities may
                                            Disposal of Coal Combustion Residuals                   electric utility plants with OAFUs, and               experience an impact greater than 3% of
                                            from Electric Utilities; Legacy CCR                     electric utility plants with landfills                annual revenues. Details of this analysis
                                            Surface Impoundments, is available in                   already subject to regulation under the               are presented in the Regulatory Impact
                                            the docket and is briefly summarized in                 2015 final CCR rule, but which have                   Analysis, which can be found in the
                                            Unit V.                                                 waste in contact with groundwater.                    docket for this action.
                                                                                                       Respondent’s obligation to respond:                D. Unfunded Mandates Reform Act
                                            B. Paperwork Reduction Act (PRA)                        The recordkeeping, notification, and                  (UMRA)
                                               The information collection activities                posting are mandatory as part of the
                                                                                                    minimum national criteria promulgated                    This action contains a Federal
                                            in this rule will be submitted for                                                                            mandate under UMRA, 2 U.S.C. 1531–
                                            approval to the Office of Management                    under Sections 1008(a), 2002(a), 4004,
                                                                                                    and 4005(a) and (d) of RCRA.                          1538, that may result in expenditures of
                                            and Budget (OMB) under the PRA. EPA                                                                           $100 million or more for State, local and
                                                                                                       Estimated number of respondents:
                                            submitted the proposed rule ICR to                                                                            Tribal governments, in the aggregate, or
                                                                                                    2,083.
                                            OMB for approval on March 25th, 2024,                      Frequency of response: one-time and                the private sector in any one year.
                                            triggering a 30-day public comment                      annually.                                             Accordingly, the EPA has prepared a
                                            period for this proposed information                       Total estimated burden: 172,909                    written statement required under
                                            collection. EPA anticipates the final ICR               hours (per year). Burden is defined at 5              section 202 of UMRA. The statement is
                                            will be approved by the effective date of               CFR 1320.3(b).                                        included in the docket for this action
                                            this final rule. If EPA receives any new                   Total estimated cost: $11.2 million                and briefly summarized here.
                                            and substantive comments on proposed                    (per year), includes $11.2 million                       The RIA estimates that the proposed
                                            collection, i.e., substantive comments                  annualized capital or operation and                   rule may affect 194 legacy CCR surface
                                            that were not received during the 60 day                maintenance costs.                                    impoundments at 84 facilities, 195
                                            public comment period on the rule                          An agency may not conduct or                       CCRMU at 104 facilities, 15 OAFUs at
                                            (from May 18, 2023–July 17, 2023), EPA                  sponsor, and a person is not required to              six facilities, and 39 landfills already
                                            will address those comments in a                        respond to, a collection of information               regulated under the 2015 final rule. The
                                            revision to the ICR via the standard PRA                unless it displays a currently valid OMB              final rule will extend the existing
                                            approval process. The Information                       control number. The OMB control                       requirements of the 2015 CCR final rule,
                                            Collection Request (ICR) document that                  numbers for the EPA’s regulations in 40               found in 40 CFR part 257, subpart D, to
                                            the EPA prepared has been assigned                      CFR are listed in 40 CFR part 9. When                 these units.
                                            EPA ICR number 2761.01. Due to the                      OMB approves this ICR, the Agency will                   In preparing the 2015 CCR final rule,
                                            concurrent timing of this rulemaking                    announce that approval in the Federal                 and consistent with the
                                            and the timing of the renewal of the                    Register and publish a technical                      intergovernmental consultation
                                            collection of information 2050–0223,                    amendment to 40 CFR part 9 to display                 provisions of section 204 of the UMRA,
                                            Disposal of Coal Combustion Residuals                   the OMB control number for the                        EPA initiated pre-proposal
                                            From Electric Utilities, EPA is                         approved information collection                       consultations with governmental
                                            requesting a temporary OMB control                      activities contained in this final rule.              entities affected by the rule. In
                                            number for this rulemaking collection,                                                                        developing the regulatory options for
                                            which will be assigned upon approval                    C. Regulatory Flexibility Act (RFA)                   the 2015 CCR Rule, EPA consulted with
                                            of the proposed ICR by OMB. EPA will                       I certify that this action will not have           small governments according to EPA’s
                                            submit a request to merge this                          a significant economic impact on a                    UMRA interim small government
                                            rulemaking collection into the existing                 substantial number of small entities                  consultation plan developed pursuant to
                                            ICR for the program, 2050–0223, once                    under the RFA. The small entities                     section 203 of UMRA. The details of this
                                            the final rulemaking ICR and renewal                    subject to the requirements of this                   consultation can be found in the
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                                            for 2050–0223 are approved by OMB.                      action are owners and operators of coal               preamble to the 2015 CCR final rule.
                                            You can find a copy of the ICR in the                   fired electric utility plants in NAICS                Consistent with section 205 of UMRA,
                                            docket for this rule, and it is briefly                 code 221112 and firms that own                        EPA identified and considered a
                                            summarized here. The information                        property on which an inactive/retired                 reasonable number of regulatory
                                            collection requirements are not                         coal fired power plant is located. The                alternatives, and adopted the least-
                                            enforceable until OMB approves them.                    Agency has identified 175 small entities              costly approach (i.e., a modified version


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                                            of the ‘‘D Prime’’ least costly approach                G. Executive Order 13045: Protection of               EPA believes that this rule will be
                                            presented in the 2010 proposed CCR                      Children From Environmental Health                    protective of children’s health.
                                            rule). The final rule merely extends the                Risks and Safety Risks                                   In general, because the pollution
                                            provisions of the 2015 final rule to four                                                                     control requirements under the CCR
                                            additional classes of facilities.                          Executive Order 13045 directs Federal              rule will reduce health and
                                                                                                    agencies to include an evaluation of the              environmental exposure risks at all coal-
                                              This action is not subject to the                     health and safety effects of the planned              fired electric utility plants, the CCR rule
                                            requirements of section 203 of UMRA                     regulation on children in Federal health              is not expected to create additional or
                                            because it contains no regulatory                       and safety standards and explain why                  new risks to children.
                                            requirements that might significantly or                the regulation is preferable to
                                            uniquely affect small governments. The                                                                        H. Executive Order 13211: Actions
                                                                                                    potentially effective and reasonably
                                            threshold amount established for                                                                              Concerning Regulations That
                                                                                                    feasible alternatives. This action is
                                            determining whether regulatory                                                                                Significantly Affect Energy Supply,
                                                                                                    subject to E.O. 13045 (62 FR 19885,
                                            requirements could significantly affect                                                                       Distribution or Use
                                                                                                    April 23, 1997) because it is a
                                            small governments is $100 million                       significant regulatory action under                      This action is not a ‘‘significant
                                            annually. The RIA estimates annual                      section 3(f)(1) of E.O. 12866, and EPA                energy action’’ because it is not likely to
                                            average costs of $7 million total for the               believes that the environmental health                have a significant adverse effect on the
                                            four local governments identified as                    or safety risks addressed by this action              supply, distribution or use of energy.
                                            owning units subject to the final rule.                 may have a disproportionate effect on                 Because the final rule addresses
                                            These estimates are well below the $100                 children. In addition, EPA’s Policy on                management of CCR and pertains
                                            million annual threshold established                    Children’s Health applies. Accordingly,               mainly to inactive CCR units (legacy
                                            under UMRA. There are no known                          EPA evaluated the environmental health                CCR surface impoundments at inactive
                                            Tribal owner entities of facilities that                or safety effects of CCR constituents of              facilities and CCRMU at facilities
                                            would incur substantial direct costs                    potential concern on children. The                    already regulated under the 2015 CCR
                                            under the final rule.                                   results of this evaluation are contained              rule), this final rule will have no effect
                                                                                                    in the Human and Ecological Risk                      on the production of crude oil, coal,
                                            E. Executive Order 13132: Federalism                                                                          fuel, or natural gas. In addition, the final
                                                                                                    Assessment of Coal Combustion Wastes
                                              This action does not have Federalism                  available in the docket for this action.              rule will have no direct effect on
                                            implications. It will not have substantial                                                                    electricity production, generating
                                                                                                       As ordered by E.O. 13045 Section 1–                capacity, or on foreign imports or
                                            direct effects on the States, on the                    101(a), EPA identified and assessed
                                            relationship between the national                                                                             exports of energy.
                                                                                                    environmental health risks and safety                    Electricity price effects on the price of
                                            government and the States, or on the                    risks that may disproportionately affect              energy are only possible because in
                                            distribution of power and                               children in the revised risk assessment.              some cases, utilities may attempt to pass
                                            responsibilities among the various                      Pursuant to U.S. EPA’s Guidance on                    the costs of managing CCR under the
                                            levels of government.                                   Selecting Age Groups for Monitoring                   proposed rule on to ratepayers in the
                                            F. Executive Order 13175: Consultation                  and Assessing Childhood Exposures to                  form of increased electricity rates
                                            and Coordination With Indian Tribal                     Environmental Contaminants, children                  through Public Utility Commissions
                                            Governments                                             are divided into seven distinct age                   (PUCs). As a result, the final rule may
                                                                                                    cohorts: 1 to <2 yr, 2 to <3 yr, 3 to <6              indirectly affect electricity prices within
                                              This action does not have Tribal                      yr, 6 to <11 yr, 11 to <16 yr, 16 to <21              the energy sector. To estimate what the
                                            implications as specified in Executive                  yr, and infants (<1 yr). Using exposure               electricity price effects of this final rule
                                            Order 13175. For the ‘‘Final Rule:                      factors for each of these cohorts, EPA                may be on a national level, EPA
                                            Hazardous and Solid Waste                               calculated cancer and non-cancer risk                 compared the expected costs of this rule
                                            Management System; Disposal of Coal                     results in both the screening and                     to the expected costs and effects
                                            Combustion Residuals from Electric                      probabilistic phases of the assessment.               resulting from three previously
                                            Utilities’’ published April 17, 2015 (80                In general, risks to infants tended to be             conducted IPM runs for three previous
                                            FR 21302), EPA identified three of the                  higher than other childhood cohorts,                  RIAs, the 2015 CCR Rule, the 2015 ELG
                                            414 coal-fired electric utility plants (in              and also higher than risks to adults.                 Rule (which included the costs of the
                                            operation as of 2012) as being located on               However, for drinking water cancer                    2015 CCR Rule in its baseline), and the
                                            Tribal lands. To the extent that these                  risks, the longer exposure periods for                2019 ELG Rule, which was a
                                            plants contain CCRMU subject to the                     adults led to the highest risks over a                deregulatory rule. Extrapolating from
                                            proposed rule, the impacts to Tribes                    standard adult lifetime. Screening risks              these IPM runs, EPA estimates that the
                                            will be limited to document review and                  exceeded EPA’s human health criteria                  effect of the current action on electricity
                                            walking the site. As these are not                      for children exposed to contaminated                  prices will be between 0.060% and
                                            substantial direct costs, this action does              air, soil, and food resulting from fugitive           0.156%. Since these effects fall below
                                            not impose substantial direct                           dust emissions and run-off. Similarly,                the 1% threshold, EPA concludes that
                                            compliance costs or otherwise have a                    90th percentile child cancer and non-                 this rule is not expected to generate
                                            substantial direct effect on one or more                cancer risks exceeded the human health                significant adverse energy effects. The
                                            Indian Tribes, to the best of EPA’s                     criteria for the groundwater to drinking              full energy impacts analysis is available
                                            knowledge. Neither will it have                         water pathway under the full                          in the Regulatory Impact Analysis that
                                            substantial direct effects on the                       probabilistic analysis (Table 5–17 in the             accompanies this action.
                                            relationship between the Federal                        Human and Ecological Risk Assessment
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                                            Government and Indian Tribes, or on                     of Coal Combustion Wastes). The                       I. National Technology Transfer and
                                            the distribution of power and                           closure, groundwater monitoring and                   Advancement Act (NTTAA)
                                            responsibilities between the Federal                    corrective action required by the rule                   This rulemaking involves technical
                                            Government and Indian Tribes. Thus,                     will reduce risks from currently                      standards. The EPA has decided to use
                                            Executive Order 13175 does not apply                    unregulated legacy CCR surface                        technical standards in this rule as the
                                            to this action.                                         impoundments, and CCRMU. Thus,                        existing CCR regulations rely on the


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                                            following: (1) RCRA Subpart D, Section                  within these radii to national and State              accompanied prevalence of morbidities
                                            257.70 liner design criteria for new CCR                averages to assess the extent to which                besides cancer.
                                            landfills and any lateral expansion of a                marginalized groups are                                  EPA also identified lack of internet
                                            CCR landfill includes voluntary                         disproportionately affected by CCR-                   access, which is generally associated
                                            consensus standards developed by                        related contamination in the baseline.                with poverty but also is a distinct factor
                                            ASTM International and EPA test                            To more fully explore the conditions               in ensuring that information about
                                            methods such as SW–846, (2) Section                     in communities and populations                        regulated facilities and units that is
                                            257.71 liner design criteria for existing               surrounding facilities subject to the                 required by the 2024 final rule is
                                            CCR surface impoundments includes                       2024 final rule, EPA expanded the                     accessible to the people in surrounding
                                            voluntary consensus standards                           demographic proximity analysis to                     communities. Half of the facilities with
                                            developed by ASTM International and                     include a suite of metrics that represent             a lack of internet access in surrounding
                                            EPA test methods such as SW–846, (3)                    baseline health and social factors that               communities were also above two times
                                            Section 257.72 liner design criteria for                are likely to be affected by, or interact             the State average for households below
                                            new CCR surface impoundments and                        with, changes in the management of                    the national poverty level, but the other
                                            any lateral expansion of a CCR surface                  facilities as a result of the rule. This              half are not, suggesting that this barrier
                                            impoundment includes voluntary                          analysis also focuses on populations                  to information may be more widespread
                                            consensus standards developed by                        within one mile of legacy CCR surface                 and less predictable in the 2024 rule
                                            ASTM International and EPA test                         impoundments and CCRMU sites, but                     context. In addition to the income-
                                            methods such as SW–846, and (4)                         includes a combination of eight baseline              related implications, lack of internet
                                            Section 257.73 structural stability                     indicators from the CDC Environmental                 access has consequences for information
                                            standards for new and existing surface                  Justice Index (EJI) and EPA’s EJScreen                access that are pertinent to the 2024
                                            impoundments use the ASTM D 698                         that document community conditions                    final rule, which requires facilities to
                                            and 1557 standards for embankment                       that (a) suggest potential environmental              publish information online for public
                                            compaction. In this rulemaking, EPA                     justice concerns and (b) are relevant to              access. Therefore, a lack of internet
                                            expands the application of § 257.73                     actions resulting from the 2024 final                 access is a key barrier for communities
                                            structural stability standards, which as                rule. These include:                                  who may be unable to receive important
                                            noted, rely on the ASTM D 698 and                          • CDC EJI Indicators: Lack of internet             information.
                                            1557 standards for embankment                                                                                    These analyses found that of the
                                                                                                    access, prevalence of disabilities,
                                            compaction, to facilities with legacy                                                                         roughly 182 sites in the regulated
                                                                                                    cancer, poor mental health, high blood
                                            CCR surface impoundments. This                                                                                universe, more than half are located in
                                                                                                    pressure, asthma, and diabetes.
                                            rulemaking does not adopt or otherwise                                                                        areas with environmental justice
                                                                                                       • EJScreen Indicators: PM2.5                       concerns in surrounding communities.
                                            involve any additional technical                        concentrations and low life expectancy.
                                            standards.                                                                                                    These communities are likely to face
                                                                                                       This specific subset of indicators                 existing environmental burdens,
                                            J. Executive Order 12898: Federal                       captures health-related risks,                        economic stressors, and health
                                            Actions To Address Environmental                        environmental burdens, and access to                  conditions that put their residents and
                                            Justice in Minority Populations and                     information that affect a substantial                 ecosystems at greater cumulative risk
                                            Low-Income Populations and Executive                    number of communities living near the                 from the impacts associated with
                                            Order 14096: Revitalizing Our Nation’s                  universe of facilities to provide a clearer           proximity to legacy impoundments.
                                            Commitment to Environmental Justice                     picture of the baseline conditions. To                Because the final rule is designed to
                                            for All                                                 assess the extent to which facilities                 both prevent future contamination and
                                               EPA believes that the human health or                affected by the final rule are located                eliminate existing contamination from
                                            environmental conditions that exist                     within communities with high baseline                 CCR units that are near these already-
                                            prior to this action result in or have the              risks, the analysis specifically identifies,          vulnerable communities, EPA believes
                                            potential to result in disproportionate                 for each indicator, communities that fall             that the rule is likely to incrementally
                                            and adverse human health or                             in the highest (most at risk) 40 percent,             reduce existing disproportionate and
                                            environmental effects on communities                    or top two quintiles of communities                   adverse effects on communities with EJ
                                            with environmental justice concerns.                    nationwide. In other words, the analysis              concerns. EPA believes that the rule is
                                               EPA conducted a demographic                          only identifies instances where a                     particularly likely to reduce
                                            screening analysis for all facilities                   community is more at risk or more                     disproportionate and adverse effects on
                                            subject to the rule to determine the                    burdened than 60 percent of all                       people of color and populations who
                                            composition of populations living                       communities in the U.S. For each                      experience low income. The rule
                                            within one and three miles of facilities                indicator, the analysis calculates the                improves overall environmental quality
                                            with these units. Specifically, EPA                     number of communities within one mile                 for all exposed communities and
                                            looked at the percentages of the relevant               of legacy CCR surface impoundments,                   populations by ensuring protection and
                                            populations that are identified as                      CCRMU, and OAFU facilities that are in                remediation of groundwater, resulting in
                                            minority/people of color, households                    the top two quintiles.                                avoided health effects (including
                                            below the Federal poverty level,                           Many of the health-related indicators              cancer) from drinking water exposures
                                            population with less than high school                   appeared in communities with high                     to arsenic and other contaminants, and
                                            education (among those 25 years and                     percentiles for other health-related                  by reducing releases of CCR from
                                            older), and populations characterized by                indicators, especially combinations of                impoundments into the surface waters,
                                            linguistic isolation. EPA chose to look at              high blood pressure, diabetes, and                    ecosystems, and air surrounding the
                                            radii of one and three miles because                    asthma. Communities with high                         facilities. The final rule is equity-
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                                            they represent the areas most likely to                 populations of people with disabilities               enhancing in that it addresses EJ
                                            be affected by groundwater                              were also likely to have high prevalence              concerns present in the communities
                                            contamination and surface water                         of high blood pressure, asthma,                       and populations near many of the
                                            impacts from legacy CCR surface                         diabetes, poor mental health, and                     facilities by reducing environmental and
                                            impoundments and CCRMU. EPA                             cancer. Additionally, high prevalence of              health burdens that contribute to the
                                            compared the demographic profile                        poor mental health and lack of internet               cumulative impacts experienced by


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                                            these communities, including the often-                 waste, Disposal, Hazardous waste,                     criteria in subpart A of this part do not
                                            costly burdens associated with health                   Landfill, Surface impoundment.                        apply to CCR units, as that term is
                                            effects. Moreover, the rule requires that                                                                     defined in subpart D of this part. CCR
                                                                                                    Michael S. Regan,
                                            facilities make information about their                                                                       units are instead subject to subpart D of
                                                                                                    Administrator.
                                            contamination and remediation actions                                                                         this part.
                                            available on public websites; this                        For the reasons set out in the
                                            provides all interested members of the                  preamble, title 40, chapter I, of the Code            Subpart D [Amended]
                                            public, including communities with EJ                   of Federal Regulations is amended as
                                                                                                    follows:                                              ■ 5. Amend subpart D by removing the
                                            concerns, improved access to                                                                                  phrase ‘‘Web site’’ and adding in its
                                            information related to their environment                PART 9—OMB APPROVALS UNDER                            place the word ‘‘website’’ wherever it
                                            or health, supporting effective                         THE PAPERWORK REDUCTION ACT                           appears.
                                            community involvement.                                                                                        ■ 6. Amend § 257.50 by revising
                                               Overall, EPA found that facilities                   ■ 1. The authority citation for part 9                paragraph (c), (d), and (e) to read as
                                            affected by the rule are often located                  continues to read as follows:                         follows:
                                            near populations of color with higher                      Authority: 7 U.S.C. 135 et seq., 136–136y;
                                                                                                    15 U.S.C. 2001, 2003, 2005, 2006, 2601–2671;          § 257.50   Scope and purpose.
                                            rates of poverty and linguistic isolation,
                                            and lower levels of education. Of the                   21 U.S.C. 331j, 346a, 31 U.S.C. 9701; 33              *  *     *      *     *
                                                                                                    U.S.C. 1251 et seq., 1311, 1313d, 1314, 1318,        (c) This subpart also applies to
                                            roughly 182 sites in the regulated                      1321, 1326, 1330, 1342, 1344, 1345 (d) and
                                            universe, more than half are located in                                                                   inactive CCR surface impoundments at
                                                                                                    (e), 1361; E.O. 11735, 38 FR 21243, 3 CFR,        active electric utilities or independent
                                            areas with environmental justice                        1971–1975 Comp. p. 973; 42 U.S.C. 241,
                                            concerns in surrounding communities.                    242b, 243, 246, 300f, 300g, 300g–1, 300g–2,
                                                                                                                                                      power producers, regardless of how
                                                                                                    300g–3, 300g–4, 300g–5, 300g–6, 300j–1,           electricity is currently being produced
                                            These communities are likely to face
                                                                                                    300j–2, 300j–3, 300j–4, 300j–9, 1857 et seq.,     at the facility.
                                            existing environmental burdens,
                                                                                                    6901–6992k, 7401–7671q, 7542, 9601–9657,             (d) (1) This subpart applies to CCR
                                            economic stressors, and health
                                                                                                    11023, 11048.                                     management units containing 1,000 tons
                                            conditions that put their residents and                                                                   or greater of CCR, located at active
                                            ecosystems at greater cumulative risk                   ■ 2. Amend § 9.1 by adding an
                                                                                                    undesignated center heading and an                facilities or facilities with a legacy CCR
                                            from the impacts associated with                                                                          surface impoundment.
                                            proximity to legacy impoundments.                       entry for ‘‘257.50–257.107’’ in
                                                                                                    numerical order to read as follows:                  (2) CCR management units containing
                                            Because the final rule is designed to                                                                     greater than or equal to 1 ton and less
                                            both prevent future contamination and                   § 9.1 OMB approvals under the Paperwork than 1,000 tons of CCR, located at active
                                            eliminate existing contamination from                   Reduction Act                                     facilities or facilities with a legacy CCR
                                            CCR units that are near these already-                  *      *     *     *        *                     surface impoundment, are subject only
                                            vulnerable communities, EPA believes                                                                      to the requirements of the facility
                                            that the rule is likely to incrementally                        40 CFR citation               OMB control evaluation report in § 257.75 until a
                                            reduce existing disproportionate and                                                             No.      permitting authority determines that
                                            adverse effects on communities with EJ                                                                    regulation of these units, either
                                            concerns. EPA believes that the rule is                          *     *        *           *    *        individually or in the aggregate, is
                                            particularly likely to reduce                                                                             warranted and determines the
                                            disproportionate and adverse effects on                   Disposal of Coal Combustion Residuals           applicable requirements.
                                            people of color and populations who                                 From Electric Utilities                  (e) This subpart applies to electric
                                            experience low income.                                                                                    utilities or independent power
                                                                                                    257.50–257.107 ....................    2050–0223 producers that ceased producing
                                               The information supporting this
                                                                                                                                                      electricity prior to October 19, 2015 and
                                            Executive Order review is contained in                           *     *        *           *    *
                                                                                                                                                      have a legacy CCR surface
                                            the accompanying Regulatory Impact                                                                        impoundment onsite.
                                            Analysis, which can be found in the                     *      *     *     *        *
                                                                                                                                                      *      *     *      *     *
                                            docket for this action.
                                                                                                    PART 257—CRITERIA FOR
                                                                                                                                                      § 257.51 [Removed and Reserved]
                                            K. Congressional Review Act (CRA)                       CLASSIFICATION OF SOLID WASTE
                                                                                                    DISPOSAL FACILITIES AND                           ■ 7. Amend subpart D by removing and
                                              This action is subject to the CRA, and                PRACTICES                                         reserving § 257.51.
                                            the EPA will submit a rule report to                                                                      ■ 8. Revise § 257.52 to read as follows:
                                            each House of the Congress and to the                   ■ 3. The authority citation for part 257
                                            Comptroller General of the United                       is revised to read as follows:                    § 257.52 Applicability of other regulations.
                                            States. This action meets the criteria set                 Authority: 42 U.S.C. 6907(a)(3), 6912(a)(1),      (a) Compliance with the requirements
                                            forth in 5 U.S.C. 804(2).                               6927, 6944, 6945(a) and (d); 33 U.S.C.            of this subpart does not affect the need
                                                                                                    1345(d) and (e).                                  for the owner or operator of a CCR unit
                                            List of Subjects
                                                                                                                                                      to comply with all other applicable
                                            40 CFR Part 9                                           Subpart A [Amended]                               federal, state, tribal, or local laws or
                                                                                                                                                      other requirements.
                                              Environmental protection, Reporting                   ■ 4. Amend § 257.1 by revising
                                                                                                    paragraph (c)(12) to read as follows:                (b) Any CCR unit continues to be
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                                            and recordkeeping requirements.                                                                           subject to the requirements in §§ 257.3–
                                            40 CFR Part 257                                         § 257.1 Scope and purpose.                        1, 257.3–2, and 257.3–3.
                                                                                                    *      *     *     *        *                     ■ 9. Amend § 257.53 by:
                                              Environmental protection, Beneficial                     (c) * * *                                      ■ a. Revising the definition of ‘‘Active
                                            use, Coal combustion products, Coal                        (12) Except as otherwise specifically          facility or active electric utilities or
                                            combustion residuals, Coal combustion                   provided in subpart D of this part, the           independent power producers’’;


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                                            ■ b. Adding in alphabetical order the                   purposes of this subpart, a CCR landfill              after October 19, 2015 and that is not a
                                            definition of ‘‘Closed prior to October                 also includes sand and gravel pits and                surface impoundment, an underground
                                            19, 2015’’;                                             quarries that receive CCR, CCR piles,                 injection well, a salt dome formation, a
                                            ■ c. Revising the definition of ‘‘CCR                   and any practice that does not meet the               salt bed formation, an underground or
                                            landfill or landfill’’;                                 definition of a beneficial use of CCR.                surface coal mine, or a cave. This term
                                            ■ d. Adding in alphabetical order the                      CCR management unit means any                      also includes sand and gravel pits that
                                            definition of ‘‘CCR management unit’’;                  area of land on which any                             contain CCR and CCR piles, which have
                                            ■ e. Revising the definitions of ‘‘CCR                  noncontainerized accumulation of CCR                  not received CCR on or after October 19,
                                            surface impoundment or                                  is received, is placed, or is otherwise               2015, and abandoned or inactive CCR
                                            impoundment’’ and ‘‘CCR unit’’;                         managed, that is not a regulated CCR                  piles.
                                            ■ f. Adding in alphabetical order the                   unit. This includes inactive CCR                         Inactive CCR surface impoundment
                                            definitions of ‘‘Critical infrastructure’’,             landfills and CCR units that closed prior             means a CCR surface impoundment
                                            ‘‘Contains both CCR and liquids’’ and                   to October 19, 2015, but does not                     located at an active facility that no
                                            ‘‘Inactive CCR landfill’’;                              include roadbed and associated                        longer receives CCR on or after October
                                            ■ g. Revising the definition of ‘‘Inactive              embankments in which CCR is used                      19, 2015, and still contains both CCR
                                            CCR surface impoundment’’;                              unless the facility or a permitting                   and liquids on or after October 19, 2015.
                                            ■ h. Adding in alphabetical order the                   authority determines that the roadbed is                 Inactive facility or inactive electric
                                            definitions of ‘‘Inactive facility or                   causing or contributing to a statistically            utility or independent power producer
                                            inactive electric utility or independent                significant level above the groundwater               means any electric utility or
                                            power producer’’, ‘‘Infiltration’’,                     protection standard established under                 independent power producer that
                                            ‘‘Legacy CCR surface impoundment’’,                     § 257.95(h).                                          ceased providing power to electric
                                            and ‘‘Liquids’’;                                        *      *     *     *    *                             power transmission systems or to
                                            ■ i. Revising the definitions of                           CCR surface impoundment or                         electric power distribution systems
                                            ‘‘Operator’’ and ‘‘Owner’’;                             impoundment means a natural                           before October 19, 2015. An off-site
                                            ■ j. Adding in alphabetical order the                   topographic depression, man-made                      disposal facility is inactive if it ceased
                                            definition of ‘‘Regulated CCR unit’’;                   excavation, or diked area, designed to                accepting or managing CCR prior to
                                            ■ k. Revising the definition of ‘‘State                 hold an accumulation of CCR and                       October 19, 2015.
                                            Director’’;                                             liquids, and the unit treats, stores, or              *      *     *     *     *
                                            ■ l. Removing the definitions of                        disposes of CCR.                                         Infiltration means the migration or
                                            ‘‘Technically feasible’’ and ‘‘Technically                 CCR unit means any CCR landfill,                   movement of liquid, such as surface
                                            infeasible’’; and                                       CCR surface impoundment, or lateral                   water or ground water, into or through
                                            ■ m. Adding in alphabetical order the                   expansion of a CCR landfill or CCR                    a CCR unit from any direction,
                                            definitions of ‘‘Technically feasible or                surface impoundment, or a combination                 including from the surface, laterally,
                                            feasible’’ and ‘‘Technically infeasible or              of more than one of these units, based                and through the bottom of the unit.
                                            infeasible’’.                                           on the context of the paragraph(s) in                 *      *     *     *     *
                                               The revisions and additions read as                  which it is used. This term includes                     Legacy CCR surface impoundment
                                            follows:                                                both new and existing units, unless                   means a CCR surface impoundment that
                                                                                                    otherwise specified. This term includes               no longer receives CCR but contained
                                            § 257.53   Definitions.                                                                                       both CCR and liquids on or after
                                                                                                    CCR management units and legacy CCR
                                            *      *     *    *     *                               surface impoundments.                                 October 19, 2015, and that is located at
                                              Active facility or active electric                       Contains both CCR and liquids means                an inactive electric utility or
                                            utilities or independent power                          that both CCR and liquids are present in              independent power producer.
                                            producers means any facility subject to                 a CCR surface impoundment, except                     *      *     *     *     *
                                            the requirements of this subpart that is                where the owner or operator                              Liquids means any fluid (such as
                                            in operation on or after October 19,                    demonstrates that the standard in                     water) that has no independent shape
                                            2015. An electric utility or independent                § 257.102(d)(2)(i) has been met.                      but has a definite volume and does not
                                            power producer is in operation if it is                    Critical infrastructure means physical             expand indefinitely and that is only
                                            generating electricity that is provided to              structures, such as buildings, railways,              slightly compressible. This encompasses
                                            electric power transmission systems or                  bridges, or tunnels, that are not readily             all of the various types of liquids that
                                            to electric power distribution systems                  replaced or relocated and are either:                 may be present in a CCR unit, including
                                            on or after October 19, 2015. An off-site                  (1) Necessary for the continued                    water that was sluiced into an
                                            disposal facility is in operation if it is              generation of power, or                               impoundment along with CCR,
                                            accepting or managing CCR on or after                      (2) Vital to the success or                        precipitation, surface water,
                                            October 19, 2015.                                       continuation of other on-going site                   groundwater, and any other form of
                                            *      *     *    *     *                               activity for the public welfare. Examples             water that has migrated into the
                                              Closed prior to October 19, 2015                      of critical infrastructure include high               impoundment, which may be found as
                                            means the CCR landfill or surface                       power electric transmission towers, air               free water or standing water ponded
                                            impoundment completed closure of the                    pollution control or wastewater                       above CCR or porewater intermingled
                                            unit in accordance with state law prior                 treatment systems, active CCR units,                  with CCR.
                                            to October 19, 2015.                                    buildings, or an electrical substation.               *      *     *     *     *
                                            *      *     *    *     *                               Buildings or other structures that                       Operator means the person(s)
                                              CCR landfill or landfill means an area                exclusively provide commercial or                     responsible for the overall operation of
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                                            of land or an excavation that contains                  financial benefit to private entities are             a CCR unit. This term includes those
                                            CCR and which is not a surface                          not critical infrastructure.                          person(s) or parties responsible for
                                            impoundment, an underground                             *      *     *     *    *                             disposal or otherwise actively engaged
                                            injection well, a salt dome formation, a                   Inactive CCR landfill means an area of             in the solid waste management of CCR.
                                            salt bed formation, an underground or                   land or an excavation that contains CCR               It also includes those responsible for
                                            surface coal mine, or a cave. For                       but that no longer receives CCR on or                 directing or overseeing groundwater


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                                            monitoring, closure or post-closure                        (b) Facility evaluation. The owner or                 (iii) A statement of the purpose(s) for
                                            activities at a CCR unit.                               operator of an active facility or a facility          which each CCR management unit at the
                                            *      *    *     *    *                                with a legacy CCR surface                             facility is or was used.
                                               Owner means the person(s) who owns                   impoundment must conduct a facility                      (iv) A description of the physical and
                                            a CCR unit or part of a CCR unit, or a                  evaluation to identify all CCR                        engineering properties of the foundation
                                            facility, whether in full or in part.                   management units at the facility in                   and abutment materials on which each
                                                                                                    accordance with paragraphs (c) through                CCR management unit is constructed.
                                            *      *    *     *    *                                                                                         (v) A discussion of any known spills
                                               Regulated CCR unit means any new                     (e) of this section. At a minimum, the
                                                                                                    presence or absence of CCR                            or releases of CCR, including any
                                            CCR landfill, existing CCR landfill, new                                                                      associated remediation activities, from
                                            CCR surface impoundment, existing                       management units at the facility must be
                                                                                                    confirmed and documented through a                    each CCR management unit and
                                            CCR surface impoundment, inactive                                                                             whether the spills or releases were
                                            CCR surface impoundment, or legacy                      thorough evaluation of reasonably and
                                                                                                    readily available records that contain                reported to state or federal agencies.
                                            CCR surface impoundment. This term                                                                               (vi) Any record or knowledge of
                                            does not include CCR management                         the information needed to prepare the
                                                                                                    Facility Evaluation Reports Part 1 and                structural instability of each CCR
                                            units.                                                                                                        management unit.
                                                                                                    Part 2 required by paragraphs (c) and (d)
                                            *      *    *     *    *                                of this section. The facility evaluation                 (vii) Any record or knowledge of
                                               State Director means the chief                       must also include a physical inspection               groundwater contamination associated
                                            administrative officer of the lead state                of the facility. Where necessary, the                 or potentially associated with each CCR
                                            agency responsible for implementing                     physical inspection must include field                management unit.
                                            the state program regulating disposal in                investigation activities to fill data gaps,              (viii) The size of each CCR
                                            CCR units.                                              such as conducting exploratory soil                   management unit, including the general
                                            *      *    *     *    *                                borings, geophysical assessments, or any              lateral and vertical dimensions and an
                                               Technically feasible or feasible means               other similar physical investigation                  estimate of the volume of waste
                                            possible to do in a way that would                      activities to establish the location and              contained within the unit.
                                            likely be successful.                                                                                            (ix) Dates when each CCR
                                                                                                    boundaries of potential or likely CCR
                                               Technically infeasible or infeasible                                                                       management unit first received CCR and
                                                                                                    management units, and to affirmatively
                                            means not possible to do in a way that                                                                        when each CCR management unit
                                                                                                    rule out other areas of potential CCR
                                            would likely be successful.                                                                                   ceased receiving CCR.
                                                                                                    placement at the facility that were
                                                                                                                                                             (x) Identification of all types of CCR
                                            *      *    *     *    *                                identified during the information review
                                                                                                                                                          in each CCR management unit at the
                                            ■ 10. Amend § 257.61 by revising the                    or physical inspection. The facility
                                                                                                                                                          facility.
                                            introductory text of paragraph (a) to                   evaluation must identify all CCR                         (xi) A narrative description of any
                                            read as follows:                                        management units at the facility                      closure activities that have occurred,
                                                                                                    regardless of when the CCR                            including any applicable engineering
                                            § 257.61   Wetlands.                                    management unit came into existence.                  drawings or reports.
                                               (a) New CCR landfills, existing and                     (c) Facility Evaluation Report Part 1.                (xii) A narrative that documents the
                                            new CCR surface impoundments, and                       (1) No later than Monday, February 9,                 data reviewed as part of the facility
                                            all lateral expansions of CCR units must                2026, the owner or operator of an active              evaluation process, and that lists all
                                            not be located in wetlands, as defined                  facility or a facility with a legacy CCR              data and information indicating the
                                            in § 230.41(a) of this chapter, unless the              surface impoundment must prepare a                    presence or absence of CCR
                                            owner or operator demonstrates by the                   Facility Evaluation Report Part 1, which              management units at the facility.
                                            dates specified in paragraph (c) of this                shall contain, to the extent reasonably                  (xiii) Any supporting information
                                            section that the CCR unit meets the                     and readily available, the information                used to identify and evaluate CCR
                                            requirements of paragraphs (a)(1)                       specified in paragraphs (c)(1)(i) through             management units at the facility,
                                            through (5) of this section.                            (xiv) of this section. The owner or                   including but not limited to any
                                            *      *     *    *     *                               operator has prepared the Facility                    construction diagrams, engineering
                                            ■ 11. Amend § 257.73 by revising the                    Evaluation Report Part 1 when the                     drawings, permit documents,
                                            introductory text of paragraph (a) to                   report has been placed in the facility’s              wastestream flow diagrams, aerial
                                            read as follows:                                        operating record as required by                       photographs, satellite images, historical
                                                                                                    § 257.105(f)(25).                                     facility maps, any field or analytical
                                            § 257.73 Structural integrity criteria for                 (i) The name and address of the                    data, groundwater monitoring data or
                                            existing CCR surface impoundments.                      person(s) owning and operating the                    reports, inspection reports,
                                               (a) The requirements of paragraphs                   facility; the unit name associated with               documentation of interviews with
                                            (a)(1) through (4) of this section apply                each regulated CCR unit and CCR                       current or former facility workers, and
                                            to all existing CCR surface                             management unit at the facility; and the              other documents used to identify and
                                            impoundments and legacy CCR surface                     identification number of each regulated               evaluate CCR management units at the
                                            impoundments, except for those that are                 CCR unit and CCR management unit if                   facility.
                                            incised CCR surface impoundments.                       any have been assigned by the state or                   (xiv) A narrative description of any
                                            *      *     *    *     *                               by the owner.                                         data gaps for information in paragraphs
                                            ■ 12. Add § 257.75 to read as follows:                     (ii) The location of any CCR                       (c)(i) through (xiii) of this section, not
                                                                                                    management unit identified on the most                available in existing information
                                            § 257.75 Requirements for identifying CCR               recent U.S. Geological Survey (USGS)                  collection records and a plan for
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                                            management units.                                       71⁄2 minute or 15-minute topographic                  remedying identified data gaps through
                                              (a) Applicability. The requirements of                quadrangle map, or a topographic map                  a physical examination of the facility,
                                            this section apply to owners and                        of equivalent scale if a USGS map is not              including any field or laboratory work
                                            operators of active facilities or facilities            available. The location of each regulated             needed to remedy data gaps in the
                                            with a legacy CCR surface                               CCR unit at the facility must also be                 Facility Evaluation Report Part 1 record.
                                            impoundment.                                            identified in the same manner.                        The plan must include the major


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                                            milestones needed to fill the identified                field sampling. The owner or operator                 photographs, satellite images, historical
                                            data gaps (e.g., a physical examination                 has prepared the facility evaluation                  facility maps, any field or analytical
                                            of the facility, sampling of media,                     report part 2 when the report has been                data, groundwater monitoring data or
                                            measurements of CCR concentrations in                   placed in the facility’s operating record             reports, inspection reports, and other
                                            and around the unit or physical                         as required by § 257.105(f)(26).                      documents used to identify and assess
                                            presence, delineation of CCR                               (i) The name and address of the                    CCR management units at the facility.
                                            management unit(s)) and dates to                        person(s) owning and operating the                    Additionally, as necessary and timely,
                                            complete such needed tasks. Also, as                    facility; the unit name associated with               any updates to the part 1 data gap
                                            necessary and timely, any updates to                    each regulated CCR unit and CCR                       remedy plan must be added to the
                                            data gap remedy plans must be added to                  management unit at the facility; and the              record during the facility evaluation
                                            the public record during the Facility                   identification number of each regulated               report part 2 timeframe.
                                            Evaluation Report Part 1.                               CCR unit and CCR management unit if                      (xiii) The Facility Evaluation Report
                                               (2) The owner or operator of any                     any have been assigned by the state or                Part 2 must explain how each data gap
                                            facility regulated under this subpart                   by the owner.                                         identified in Facility Evaluation Report
                                            must obtain a certification from a                         (ii) The location of any CCR                       Part 1 was addressed.
                                            qualified professional engineer stating                 management unit identified on the most                   (xiv) A description of each CCR
                                            that the Facility Evaluation Report Part                recent U.S. Geological Survey (USGS)                  management unit for which regulation
                                            1 meets the requirements of paragraph                   71⁄2 minute or 15-minute topographic                  under this subpart is deferred for
                                            (c)(1) of this section.                                 quadrangle map, or a topographic map                  allowable reasons as specified in
                                               (3) The owner or operator of any                     of equivalent scale if a USGS map is not              § 257.101(g) or (h). The owner or
                                            facility regulated under this subpart                   available. The location of each regulated             operator must provide documentation in
                                            must certify the Facility Evaluation                    CCR unit at the facility must also be                 the Facility Evaluation Report Part 2 to
                                            Report Part 1 required by paragraph                     identified in the same manner.                        substantiate that the requirements
                                            (c)(1) of this section with the following                  (iii) A statement of the purpose(s) for            § 257.101(g) or (h) have been met.
                                            statement signed by the owner or                        which each CCR management unit at the                    (2) The owner or operator of any
                                            operator or an authorized                               facility is or was used.                              facility regulated under this subpart
                                            representative:                                            (iv) A description of the physical and             must obtain a certification from a
                                              I certify under penalty of law that I have
                                                                                                    engineering properties of the foundation              qualified professional engineer stating
                                            personally examined and am familiar with                and abutment materials on which each                  that the Facility Evaluation Report Part
                                            the information submitted in this                       CCR management unit was constructed.                  2 meets the requirements of paragraph
                                            demonstration and all attached documents,                  (v) Any further evidence of known                  (d)(1) of this section.
                                            and that, based on my inquiry of those                  spills or releases, including any                        (3) The owner or operator of any
                                            individuals immediately responsible for                 associated remediation activities, of                 facility regulated under this subpart
                                            obtaining the information, I believe that the           CCR from each CCR management unit                     must certify the Facility Evaluation
                                            submitted information is true, accurate, and            and whether the spills or releases were               Report Part 2 required by paragraph
                                            complete. I am aware that there are                     reported to state or federal agencies.                (d)(1) of this section with the following
                                            significant penalties for submitting false                 (vi) Any further evidence of structural
                                            information, including the possibility of fine
                                                                                                                                                          statement signed by the owner or
                                                                                                    instability of each CCR management                    operator or an authorized
                                            and imprisonment.
                                                                                                    unit.                                                 representative:
                                              (4) No later than Monday, February 9,                    (vii) Any further evidence of
                                            2026, the owner or operator must notify                                                                         I certify under penalty of law that I have
                                                                                                    groundwater contamination associated                  personally examined and am familiar with
                                            the Agency of the establishment of a                    or potentially associated with each CCR               the information submitted in this
                                            CCR website using the procedures in                     management unit.                                      demonstration and all attached documents,
                                            § 257.107(a) via the ‘‘contact us’’ form                   (viii) The size of each CCR                        and that, based on my inquiry of those
                                            on EPA’s CCR website.                                   management unit, including the general                individuals immediately responsible for
                                              (5) The owner or operator of any                      lateral and vertical dimensions and an                obtaining the information, I believe that the
                                            facility regulated under this subpart that              estimate of the volume of CCR                         submitted information is true, accurate, and
                                            does not contain any CCR management                     contained within the unit.                            complete. I am aware that there are
                                            unit must submit Facility Evaluation                       (ix) Identification of the types of CCR            significant penalties for submitting false
                                            Report Part 1 documenting the steps                     in each CCR management unit.                          information, including the possibility of fine
                                            taken during the facility evaluation to                    (x) A narrative description of any                 and imprisonment.
                                            determine the absence of any CCR                        closure activities that have occurred,                  (4) The owner or operator of any
                                            management unit. The Facility                           including any applicable engineering                  facility regulated under this subpart that
                                            Evaluation Report Part 1 must include                   drawings or reports.                                  does not contain any CCR management
                                            the certifications required under                          (xi) A narrative that documents the                unit must submit Facility Evaluation
                                            paragraph (c)(3) of this section.                       nature and extent of field oversight                  Report Part 2 documenting the steps
                                              (d) Facility evaluation report part 2.                activities and data reviewed as part of               taken during the facility evaluation to
                                            (1) No later than Monday, February 8,                   the facility evaluation process, and that             determine the absence of any CCR
                                            2027, the owner or operator of an active                lists all data and information that was               management unit. The Facility
                                            facility or a facility with a legacy CCR                reviewed indicating the presence or                   Evaluation Report Part 2 must include
                                            surface impoundment must prepare a                      absence of CCR management units at the                the certifications required under
                                            facility evaluation report part 2, which                facility.                                             paragraph (d)(3) of this section.
                                            shall contain, to the extent not provided                  (xii) Any additional supporting                      (e) The owner or operator of the
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                                            in the Facility Evaluation Report Part 1                information used to identify and                      facility must comply with the
                                            under paragraph (c) of this section, the                evaluate CCR management units at the                  recordkeeping requirements specified in
                                            information specified in paragraphs                     facility, including but not limited to any            § 257.105(f), the notification
                                            (d)(1)(i) through (xiii) of this section                construction diagrams, engineering                    requirements specified in § 257.106(f),
                                            obtained from a physical evaluation of                  drawings, permit documents,                           and the internet requirements specified
                                            the facility, including where necessary                 wastestream flow diagrams, aerial                     in § 257.107(f).


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                                            ■ 13. Amend § 257.80 by revising                        periodic basis by a qualified                            (ii) Develop the groundwater
                                            paragraphs (a) and (b)(6) to read as                    professional engineer to ensure that the              sampling and analysis program to
                                            follows:                                                design, construction, operation, and                  include selection of the statistical
                                                                                                    maintenance of the CCR unit is                        procedures to be used for evaluating
                                            § 257.80   Air criteria.                                                                                      groundwater monitoring data as
                                                                                                    consistent with recognized and
                                               (a) The owner or operator of a CCR                   generally accepted good engineering                   required by § 257.93.
                                            unit must adopt measures that will                      standards. The inspection must, at a                     (iii) Initiate the detection monitoring
                                            effectively minimize CCR from                           minimum, include:                                     program to include obtaining a
                                            becoming airborne at the facility,                                                                            minimum of eight independent samples
                                                                                                    *     *     *    *    *
                                            including CCR fugitive dust originating                                                                       for each background and downgradient
                                            from CCR units, roads, and other CCR                    ■ 16. Revise and republish § 257.90 to
                                                                                                                                                          well, as required by § 257.94(b).
                                            management and material handling                        read as follows:                                         (iv) Begin evaluating the groundwater
                                            activities.                                             § 257.90   Applicability.                             monitoring data for statistically
                                               (b) * * *                                                                                                  significant increases over background
                                               (6) Amendment of the plan. The                         (a) Applicability. All CCR units are
                                                                                                                                                          levels for the constituents listed in
                                            owner or operator subject to the                        subject to the groundwater monitoring
                                                                                                                                                          appendix III of this part, as required by
                                            requirements of this section may amend                  and corrective action requirements
                                                                                                                                                          § 257.94.
                                            the written CCR fugitive dust control                   under §§ 257.90 through 257.98, except                   (v) Begin evaluating the groundwater
                                            plan at any time provided the revised                   as provided in paragraph (g) of this                  monitoring data for statistically
                                            plan is placed in the facility’s operating              section.                                              significant levels over groundwater
                                            record as required by § 257.105(g)(1).                    (b) Initial timeframes—(1) Existing                 protection standards for the constituents
                                            The owner or operator must amend the                    CCR landfills and existing CCR surface                listed in appendix IV of this part as
                                            written plan no later than 30 days                      impoundments. No later than October                   required by § 257.95.
                                            whenever there is a change in                           17, 2017, the owner or operator of the                   (c) Requirement to conduct
                                            conditions that would substantially                     CCR unit must be in compliance with                   groundwater monitoring and corrective
                                            affect the written plan in effect, such as              the following groundwater monitoring                  action. Once a groundwater monitoring
                                            the construction and operation of a new                 requirements:                                         system and groundwater monitoring
                                            CCR unit.                                                 (i) Install the groundwater monitoring              program has been established at the CCR
                                                                                                    system as required by § 257.91;                       unit as required by this subpart, the
                                            *      *    *     *    *
                                                                                                      (ii) Develop the groundwater                        owner or operator must conduct
                                            ■ 14. Amend § 257.82 by revising the
                                                                                                    sampling and analysis program to                      groundwater monitoring and, if
                                            introductory text of paragraph (a) to                   include selection of the statistical
                                            read as follows:                                                                                              necessary, corrective action throughout
                                                                                                    procedures to be used for evaluating                  the active life and post-closure care
                                            § 257.82 Hydrologic and hydraulic                       groundwater monitoring data as                        period of the CCR unit.
                                            capacity requirements for CCR surface                   required by § 257.93;                                    (d) Responding to a release from a
                                            impoundments.                                             (iii) Initiate the detection monitoring             CCR unit. In the event of a release from
                                              (a) The owner or operator of an                       program to include obtaining a                        a CCR unit, the owner or operator must
                                            existing or new CCR surface                             minimum of eight independent samples                  immediately take all necessary measures
                                            impoundment, legacy CCR surface                         for each background and downgradient                  to control the source(s) of releases so as
                                            impoundment, or any lateral expansion                   well as required by § 257.94(b); and                  to reduce or eliminate, to the maximum
                                            of a CCR surface impoundment must                         (iv) Begin evaluating the groundwater               extent feasible, further releases of
                                            design, construct, operate, and maintain                monitoring data for statistically                     contaminants into the environment. The
                                            an inflow design flood control system as                significant increases over background                 owner or operator of the CCR unit must
                                            specified in paragraphs (a)(1) and (2) of               levels for the constituents listed in                 comply with all applicable requirements
                                            this section.                                           appendix III of this part as required by              in §§ 257.96, 257.97, and 257.98.
                                            *     *     *     *     *                               § 257.94.                                                (e) Annual groundwater monitoring
                                            ■ 15. Amend § 257.83 by revising the
                                                                                                      (2) New CCR landfills, new CCR                      and corrective action report. For
                                            introductory text of paragraphs (a)(1)                  surface impoundments, and all lateral                 existing CCR landfills and existing CCR
                                            and (b)(1) to read as follows:                          expansions of CCR units. Prior to initial             surface impoundments, no later than
                                                                                                    receipt of CCR by the CCR unit, the                   January 31, 2018, and annually
                                            § 257.83 Inspection requirements for CCR                owner or operator must be in                          thereafter, the owner or operator must
                                            surface impoundments.                                   compliance with the groundwater                       prepare an annual groundwater
                                              (a) * * *                                             monitoring requirements specified in                  monitoring and corrective action report.
                                              (1) All CCR surface impoundments,                     paragraph (b)(1)(i) and (ii) of this                  For new CCR landfills, new CCR surface
                                            including legacy CCR surface                            section. In addition, the owner or                    impoundments, and all lateral
                                            impoundments, and any lateral                           operator of the CCR unit must initiate                expansions of CCR units, the owner or
                                            expansion of a CCR surface                              the detection monitoring program to                   operator must prepare the initial annual
                                            impoundment must be examined by a                       include obtaining a minimum of eight                  groundwater monitoring and corrective
                                            qualified person as follows:                            independent samples for each                          action report no later than January 31 of
                                            *     *      *     *     *                              background well as required by                        the year following the calendar year a
                                              (b) * * *                                             § 257.94(b).                                          groundwater monitoring system has
                                              (1) If the existing or new CCR surface                  (3) CCR management units. No later                  been established for such CCR unit as
                                            impoundment or any lateral expansion                    than Monday, May 8, 2028, the owner                   required by this subpart, and annually
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                                            of the CCR surface impoundment or                       or operator of the CCR management unit                thereafter. For CCR management units,
                                            legacy CCR surface impoundments is                      must be in compliance with the                        the owner or operator must prepare the
                                            subject to the periodic structural                      following groundwater monitoring                      initial annual groundwater monitoring
                                            stability assessment requirements under                 requirements:                                         and corrective action report no later
                                            § 257.73(d) or § 257.74(d), the CCR unit                  (i) Install the groundwater monitoring              than January 31, 2029, and annually
                                            must additionally be inspected on a                     system as required by § 257.91.                       thereafter. For the preceding calendar


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                                            year, the annual report must document                      (iii) If it was determined that there              where EPA is the permitting authority,
                                            the status of the groundwater                           was a statistically significant increase              and must be based upon:
                                            monitoring and corrective action                        over background for one or more                          (i) Site-specific field collected
                                            program for the CCR unit, summarize                     constituents listed in appendix III to                measurements, sampling, and analysis
                                            key actions completed, describe any                     this part pursuant to § 257.94(e):                    of physical, chemical, and biological
                                            problems encountered, discuss actions                      (A) Identify those constituents listed             processes affecting contaminant fate and
                                            to resolve the problems, and project key                in appendix III to this part and the                  transport, including at a minimum, the
                                            activities for the upcoming year. For                   names of the monitoring wells                         information necessary to evaluate or
                                            purposes of this section, the owner or                  associated with such an increase; and                 interpret the effects of the following
                                            operator has prepared the annual report                    (B) Provide the date when the                      properties or processes on contaminant
                                            when the report is placed in the                        assessment monitoring program was                     fate and transport:
                                            facility’s operating record as required by              initiated for the CCR unit.                              (A) Aquifer Characteristics, including
                                            § 257.105(h)(1). At a minimum, the                         (iv) If it was determined that there               hydraulic conductivity, hydraulic
                                            annual groundwater monitoring and                       was a statistically significant level above           gradient, effective porosity, aquifer
                                            corrective action report must contain                   the groundwater protection standard for               thickness, degree of saturation,
                                            the following information, to the extent                one or more constituents listed in                    stratigraphy, degree of fracturing and
                                            available:                                              appendix IV to this part pursuant to                  secondary porosity of soils and bedrock,
                                               (1) A map, aerial image, or diagram                  § 257.95(g) include all of the following:             aquifer heterogeneity, groundwater
                                            showing the CCR unit and all                               (A) Identify those constituents listed             discharge, and groundwater recharge
                                            background (or upgradient) and                          in appendix IV to this part and the                   areas;
                                            downgradient monitoring wells, to                       names of the monitoring wells                            (B) Waste Characteristics, including
                                            include the well identification numbers,                associated with such an increase;                     quantity, type, and origin;
                                            that are part of the groundwater                           (B) Provide the date when the                         (C) Climatic Conditions, including
                                            monitoring program for the CCR unit;                    assessment of corrective measures was                 annual precipitation, leachate
                                               (2) Identification of any monitoring                 initiated for the CCR unit;                           generation estimates, and effects on
                                            wells that were installed or                               (C) Provide the date when the public               leachate quality;
                                            decommissioned during the preceding                     meeting was held for the assessment of                   (D) Leachate Characteristics,
                                            year, along with a narrative description                corrective measures for the CCR unit;                 including leachate composition,
                                            of why those actions were taken;                        and                                                   solubility, density, the presence of
                                               (3) In addition to all the monitoring                   (D) Provide the date when the                      immiscible constituents, Eh, and pH;
                                            data obtained under §§ 257.90 through                   assessment of corrective measures was                 and
                                            257.98, a summary including the                         completed for the CCR unit.                              (E) Engineered Controls, including
                                            number of groundwater samples that                         (v) Whether a remedy was selected                  liners, cover systems, and aquifer
                                            were collected for analysis for each                    pursuant to § 257.97 during the current               controls (e.g., lowering the water table).
                                            background and downgradient well, the                   annual reporting period, and if so, the               These must be evaluated under design
                                            dates the samples were collected, and                   date of remedy selection; and                         and failure conditions to estimate their
                                            whether the sample was required by the                     (vi) Whether remedial activities were              long-term residual performance.
                                            detection monitoring or assessment                      initiated or are ongoing pursuant to                     (ii) Contaminant fate and transport
                                            monitoring programs;                                    § 257.98 during the current annual                    predictions that maximize contaminant
                                               (4) A narrative discussion of any                    reporting period.                                     migration and consider impacts on
                                            transition between monitoring programs                     (f) Recordkeeping, notification, and               human health and the environment.
                                            (e.g., the date and circumstances for                   internet requirements. The owner or                      (2) The owner or operator of the CCR
                                            transitioning from detection monitoring                 operator of the CCR unit must comply                  unit may renew this suspension for
                                            to assessment monitoring in addition to                 with the recordkeeping requirements                   additional ten year periods by
                                            identifying the constituent(s) detected at              specified in § 257.105(h), the                        submitting written documentation that
                                            a statistically significant increase over               notification requirements specified in                the site characteristics continue to
                                            background levels); and                                 § 257.106(h), and the internet                        ensure there will be no potential for
                                               (5) Other information required to be                 requirements specified in § 257.107(h).               migration of any of the constituents
                                            included in the annual report as                           (g) Suspension of groundwater                      listed in Appendices III and IV of this
                                            specified in §§ 257.90 through 257.98.                  monitoring requirements.(1) The                       part. The documentation must include,
                                               (6) A section at the beginning of the                Participating State Director or EPA                   at a minimum, the information specified
                                            annual report that provides an overview                 where EPA is the permitting authority                 in paragraphs (g)(1)(i) and (ii) of this
                                            of the current status of groundwater                    may suspend the groundwater                           section and a certification by a qualified
                                            monitoring and corrective action                        monitoring requirements under                         professional engineer and approved by
                                            programs for the CCR unit. At a                         §§ 257.90 through 257.95 for a CCR unit               the State Director or EPA where EPA is
                                            minimum, the summary must specify all                   for a period of up to ten years, if the               the permitting authority. The owner or
                                            of the following:                                       owner or operator provides written                    operator must submit the
                                               (i) At the start of the current annual               documentation that, based on the                      documentation supporting their renewal
                                            reporting period, whether the CCR unit                  characteristics of the site in which the              request for the state’s or EPA’s review
                                            was operating under the detection                       CCR unit is located, there is no potential            and approval of their extension one year
                                            monitoring program in § 257.94 or the                   for migration of any of the constituents              before the groundwater monitoring
                                            assessment monitoring program in                        listed in appendices III and IV to this               suspension is due to expire. If the
                                            § 257.95;                                               part from that CCR unit to the                        existing groundwater monitoring
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                                               (ii) At the end of the current annual                uppermost aquifer during the active life              extension expires or is not approved,
                                            reporting period, whether the CCR unit                  of the CCR unit and the post-closure                  the owner or operator must begin
                                            was operating under the detection                       care period. This demonstration must be               groundwater monitoring according to
                                            monitoring program in § 257.94 or the                   certified by a qualified professional                 paragraph (a) of this section within 90
                                            assessment monitoring program in                        engineer and approved by the                          days. The owner or operator may
                                            § 257.95;                                               Participating State Director or EPA                   continue to renew the suspension for


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                                            ten-year periods, provided the owner or                 which the owner or operator has                       Action Plan as set forth by
                                            operator demonstrate that the standard                  completed the actions by the deadlines                § 257.73(a)(3).
                                            in paragraph (g)(1) of this section                     specified in paragraphs (e)(1)(i) through               (iv) No later than April 17, 2018,
                                            continues to be met for the unit. The                   (iii) of this section is eligible for the             compile a history of construction as set
                                            owner or operator must place each                       alternative timeframes specified in                   forth by § 257.73(b) and (c).
                                            completed demonstration in the                          paragraphs (e)(2) through (6) of this                   (v) No later than April 17, 2018,
                                            facility’s operating record.                            section. The owner or operator of the                 complete the initial hazard potential
                                              (3) The owner or operator of the CCR                  CCR unit must comply with the                         classification, structural stability, and
                                            unit must include in the annual                         applicable recordkeeping, notification,               safety factor assessments as set forth by
                                            groundwater monitoring and corrective                   and internet requirements associated                  § 257.73(a)(2), (b), (d), (e), and (f).
                                            action report required by § 257.90(e) or                with these provisions. For the inactive                 (4) Operating criteria. The owner or
                                            § 257.100(e)(5)(ii) any approved no                     CCR surface impoundment:                              operator of the inactive CCR surface
                                            migration demonstration.                                   (i) The owner or operator must have                impoundment must:
                                            ■ 17. Amend § 257.95 by revising                        prepared and placed in the facility’s                   (i) No later than April 18, 2017,
                                            paragraph (b) to read as follows:                       operating record by December 17, 2015,                prepare the initial CCR fugitive dust
                                                                                                    a notification of intent to initiate closure          control plan as set forth in § 257.80(b).
                                            § 257.95   Assessment monitoring program.               of the inactive CCR surface                             (ii) No later than April 17, 2018,
                                            *      *     *      *    *                              impoundment pursuant to                               prepare the initial inflow design flood
                                              (b) (1) Within 90 days of triggering an               § 257.105(i)(1);                                      control system plan as set forth in
                                            assessment monitoring program, and                         (ii) The owner or operator must have               § 257.82(c).
                                            annually thereafter:                                    provided notification to the State                      (iii) No later than April 18, 2017,
                                              (i) Except as provided by paragraph                   Director and/or appropriate Tribal                    initiate the inspections by a qualified
                                            (b)(1)(ii) of this section, the owner or                authority by January 19, 2016, of the                 person as set forth by § 257.83(a).
                                            operator of the CCR unit must sample                    intent to initiate closure of the inactive              (iv) No later than July 19, 2017,
                                            and analyze the groundwater for all                     CCR surface impoundment pursuant to                   complete the initial annual inspection
                                            constituents listed in appendix IV to                   § 257.106(i)(1); and                                  by a qualified professional engineer as
                                            this part.                                                 (iii) The owner or operator must have              set forth by § 257.83(b).
                                              (ii) The owner or operator of a CCR                   placed on its CCR website by January                    (5) Groundwater monitoring and
                                            management unit must sample and                         19, 2016, the notification of intent to               corrective action. The owner or operator
                                            analyze the groundwater for all                         initiate closure of the inactive CCR                  of the inactive CCR surface
                                            constituents listed in appendix IV to                   surface impoundment pursuant to                       impoundment must:
                                            this part no later than Monday, May 8,                  § 257.107(i)(1).                                        (i) No later than April 17, 2019,
                                            2028.                                                      (2) Location restrictions. (i) No later
                                              (2) The number of samples collected                                                                         comply with groundwater monitoring
                                                                                                    than April 16, 2020, the owner or                     requirements set forth in §§ 257.90(b)
                                            and analyzed for each well during each                  operator of the inactive CCR surface
                                            sampling event must be consistent with                                                                        and 257.94(b); and
                                                                                                    impoundment must:                                       (ii) No later than August 1, 2019,
                                            § 257.93(e), and must account for any                      (A) Complete the demonstration for
                                            unique characteristics of the site, but                                                                       prepare the initial groundwater
                                                                                                    placement above the uppermost aquifer                 monitoring and corrective action report
                                            must be at least one sample from each                   as set forth by § 257.60(a), (b), and (c)(3);
                                            well.                                                                                                         as set forth in § 257.90(e).
                                                                                                       (B) Complete the demonstration for
                                                                                                                                                            (6) Closure and post-closure care. The
                                            *      *     *      *    *                              wetlands as set forth by § 257.61(a), (b),
                                                                                                                                                          owner or operator of the inactive CCR
                                            ■ 18. Revise and republish § 257.100 to                 and (c)(3);
                                                                                                       (C) Complete the demonstration for                 surface impoundment must:
                                            read as follows:                                                                                                 (i) No later than April 17, 2018,
                                                                                                    fault areas as set forth by § 257.62(a), (b),
                                            § 257.100 Inactive CCR surface                          and (c)(3);                                           prepare an initial written closure plan
                                            impoundments and Legacy CCR surface                        (D) Complete the demonstration for                 as set forth in § 257.102(b); and
                                            impoundments.                                           seismic impact zones as set forth by                     (ii) No later than April 17, 2018,
                                              (a) General. (1) Inactive CCR surface                 § 257.63(a), (b), and (c)(3); and                     prepare an initial written post-closure
                                            impoundments are subject to all of the                     (E) Complete the demonstration for                 care plan as set forth in § 257.104(d).
                                            requirements of this subpart applicable                 unstable areas as set forth by § 257.64(a),              (f) Timeframes for legacy CCR surface
                                            to existing CCR surface impoundments,                   (b), (c), and (d)(3).                                 impoundments. Owners and operators
                                            except that an active electric utility or                  (ii) An owner or operator of an                    of legacy CCR surface impoundments
                                            independent power producer that                         inactive CCR surface impoundment who                  are subject to the requirements of
                                            generates electricity without the use of                fails to demonstrate compliance with                  paragraphs (f)(1) through (5) of this
                                            fuel is subject to the compliance                       the requirements of paragraph (e)(2)(i) of            section, except as provided in
                                            deadlines applicable to legacy CCR                      this section is subject to the closure                paragraphs (g) through (i) of this section.
                                            surface impoundments, provided the                      requirements of § 257.101(b)(1).                         (1) Legacy CCR surface impoundment
                                            facility has not generated electricity                     (3) Design criteria. The owner or                  applicability report. (i) Except as
                                            using fuels on or after October 19, 2015.               operator of the inactive CCR surface                  provided in paragraph (f)(1)(iii) of this
                                              (2) Legacy CCR surface                                impoundment must:                                     section, owners and operators of legacy
                                            impoundments are subject to all of the                     (i) No later than April 17, 2018,                  CCR surface impoundments must
                                            requirements of this subpart applicable                 complete the documentation of liner                   prepare a report for each legacy CCR
                                            to existing CCR surface impoundments,                   type as set forth by § 257.71(a) and (b).             surface impoundment no later than
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                                            except for the requirements in §§ 257.60                   (ii) No later than June 16, 2017, place            Friday, November 8, 2024. The owner or
                                            through 257.64 and 257.71.(b) through                   on or immediately adjacent to the CCR                 operator has prepared the applicability
                                            (d) [Reserved]                                          unit the permanent identification                     report when the report has been placed
                                              (e) Timeframes for certain inactive                   marker as set forth by § 257.73(a)(1).                in the facility’s operating record as
                                            CCR surface impoundments. (1) An                           (iii) No later than October 16, 2018,              required by § 257.105(k)(1). At a
                                            inactive CCR surface impoundment for                    prepare and maintain an Emergency                     minimum, the report for each legacy


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                                            CCR surface impoundment must                               (1) The information specified in                   professional engineer stating that the
                                            contain:                                                paragraph (f)(1)(i)(A) through (C) of this            field investigation work plan meets the
                                               (A) The name and address of the                      section;                                              requirements of paragraph
                                            person(s) owning and operating the                         (2) A statement by the owner or                    (f)(1)(iii)(A)(3) of this section.
                                            legacy CCR surface impoundment with                     operator that to the best of their                       (B) The maximum amount of
                                            their business phone number and email                   knowledge or belief, existing and                     additional time that can be secured
                                            address.                                                available information does not provide                under paragraph (f)(1)(iii) of this section
                                               (B) The name associated with the                     a sufficient basis to determine that the              is 18 months, secured in 6-month
                                            legacy CCR surface impoundment.                         unit contained free liquids on or after               increments, provided each 6-month
                                               (C) Information to identify the legacy               October 19, 2015; and                                 increment is supported by an
                                            CCR surface impoundment, including a                       (3) The details of a written field                 applicability extension report.
                                            figure of the facility and where the unit               investigation work plan, including of                    (C) Owners and operator must prepare
                                            is located at the facility, facility address,           the following:                                        the initial applicability extension report
                                            and the latitude and longitude of the                      (i) A detailed description of the                  no later than Friday, November 8, 2024.
                                            facility.                                               approach to characterize the physical,                Subsequent applicability extension
                                               (D) The identification number of the                 topographic, geologic, hydrogeologic,                 reports must be prepared no later than
                                            legacy CCR surface impoundment if one                   and hydraulic properties of the CCR in                6 months after completing the preceding
                                            has been assigned by the state. (E) A                   the unit and native geologic materials                applicability extension report. The
                                            description of the current site                         beneath and surrounding the unit, and                 owner or operator has prepared the
                                            conditions, including the current use of                how those properties will be used to                  applicability extension report when the
                                            the inactive facility.                                  investigate for the presence of free                  report is placed in the facility’s
                                               (ii) (A) The owner or operator of any                liquids in the CCR unit.                              operating record as required by
                                            legacy CCR surface impoundment must                        (ii) A detailed description of the                 § 257.105(k)(2).
                                            certify the applicability report required               methods and tools that will be                           (D) No later than Friday, November 8,
                                            by paragraph (f)(1)(i) of this section with             employed to determine whether the unit                2024, the owner or operator must notify
                                            the following statement signed by the                   contains free liquids, the rationale for              the Agency of the establishment of a
                                            owner or operator or an authorized                      choosing these methods and tools, how                 CCR website using the procedures in
                                            representative:                                         these methods and tools will be                       § 257.107(a) via the ‘‘contact us’’ form
                                                                                                    implemented, and at what level of                     on EPA’s CCR website.
                                              I certify under penalty of law that I have
                                                                                                    spatial resolution at the CCR unit to                    (E) If the owner or operator
                                            personally examined and am familiar with
                                            the information submitted in this                       identify and monitor for the presence of              determines that the unit contains free
                                            demonstration and all attached documents,               free liquids.                                         liquids during implementation of the
                                            and that, based on my inquiry of those                     (iii) A detailed description of how                written field investigation workplan, the
                                            individuals immediately responsible for                 groundwater elevations will be                        owner or operator must cease operating
                                            obtaining the information, I believe that the           determined, and at what level of spatial              under these extension provisions and
                                            submitted information is true, accurate, and            resolution, in relation to the sides and              prepare the applicability report required
                                            complete. I am aware that there are                     bottom of the CCR unit and how any                    by paragraph (f)(1) of this section within
                                            significant penalties for submitting false                                                                    14 days of determining that the unit
                                            information, including the possibility of fine
                                                                                                    intersection of the groundwater table
                                                                                                    with the CCR unit will be evaluated,                  contains free liquids. The owner or
                                            and imprisonment.
                                                                                                    and at what level of spatial resolution.              operator must comply with the
                                               (B) The owner or operator must notify                   (iv) A plan for evaluating stormwater              requirements specified under
                                            the Agency of the establishment of the                  flow over the surface of the unit,                    paragraphs (f)(2) through (5) of this
                                            facility’s CCR website and the                          stormwater drainage from the unit, and                section under new timeframes. The new
                                            applicability of the rule, using the                    stormwater infiltration into the unit and             timeframes are determined by adding
                                            procedures in § 257.107(a) via the                      how those processes may result in the                 the total length of the extension(s)
                                            ‘‘contact us’’ form on EPA’s CCR                        formation of free liquids in the CCR                  justified under paragraph (f)(1)(iii) of
                                            website.                                                unit. This plan must include a current                this section to each of the deadlines
                                               (iii) (A) Notwithstanding the deadline               topographic map showing surface water                 specified under paragraphs (f)(2)
                                            to complete the applicability report                    flow and any pertinent natural or man-                through (5) of this section.
                                            under paragraph (f)(1)(i) of this section,              made features present relevant to                        (F) If the owner or operator
                                            an owner or operator may secure                         stormwater drainage, infiltration and                 determines that the unit does not
                                            additional time to complete the report                  related processes.                                    contain both CCR and liquids during
                                            for the sole reason of determining                         (v) An estimated timeline to complete              implementation of the written field
                                            through a field investigation whether                   the workplan and make a determination                 investigation work plan, the owner or
                                            the unit contains both CCR and liquids.                 if the CCR unit contains free liquids.                operator must prepare a notification
                                            The amount of additional time that can                     (vi) A narrative discussion of how the             stating that the field investigation has
                                            be secured is limited as specified in                   results from implementing the workplan                concluded and that the owner or
                                            paragraph (f)(1)(iii)(B) of this section.               will determine whether the unit                       operator has determined that the unit
                                            For owners and operators following the                  contains free liquids specified.                      does not contain both CCR and liquids
                                            procedures of this paragraph (f)(1)(iii),                  (vii) A narrative discussion describing            and does not meet the definition of a
                                            the compliance timeframes for the                       any anticipated problems that may be                  legacy CCR surface impoundment. The
                                            requirements specified under                            encountered during implementation of                  owner or operator has prepared the
                                            paragraphs (f)(2) through (5) of this                   the workplan and what actions will be                 notification when the report is placed in
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                                            section are adjusted by the length of the               taken to resolve the problems, and                    the facility’s operating record as
                                            extension(s) justified under this                       anticipated timeframes necessary for                  required by § 257.105(k)(3).
                                            paragraph (f)(1)(iii). To qualify for                   such a contingency.                                      (G) If the owner or operator does not
                                            additional time, the owner or operator                     (viii) The owner or operator of the                complete the field investigation work
                                            must prepare an applicability extension                 CCR unit must obtain a written                        within the timeframes specified in
                                            report consisting of the following:                     certification from a qualified                        paragraph (f)(1)(iii)(B) of this section,


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                                            the unit shall be considered a legacy                   dust control report as set forth in                   removed from the unit, including, the
                                            CCR surface impoundment and must                        § 257.80(c).                                          results of any post-removal sampling
                                            comply with the requirements under                         (4) Groundwater monitoring and                     and analysis that was conducted;
                                            paragraphs (f)(2) through (5) of this                   corrective action. No later than Monday,                 (4) The methods used to verify
                                            section pursuant to the timeframes                      May 10, 2027, the owner or operator of                complete decontamination of all areas
                                            specified under paragraph (f)(1)(iii)(E) of             the legacy CCR surface impoundment                    affected by releases from the unit,
                                            this section.                                           must:                                                 including but not limited to post-
                                               (2) Design criteria. The owner or                       (i) Install the groundwater monitoring             decontamination sampling and analysis;
                                            operator of a legacy CCR surface                        system as required by § 257.91.                          (5) Documentation that all areas
                                            impoundment must:                                          (ii) Develop the groundwater                       affected by releases from the unit were
                                               (i) Except for legacy CCR surface                    sampling and analysis program,                        decontaminated and that all
                                            impoundments that are incised, no later                 including the selection of the statistical            groundwater affected by releases has
                                            than Wednesday, January 8, 2025, place                  procedures, that will be used for                     achieved groundwater protection
                                            on or immediately adjacent to the CCR                   evaluating groundwater monitoring data                standards; and
                                            unit the permanent identification                       as required by § 257.93.                                 (6) Document that groundwater
                                            marker as set forth by § 257.73(a)(1).                     (iii) Be in compliance with the                    monitoring concentrations do not
                                               (ii) Except for legacy CCR surface                   following groundwater monitoring                      exceed the groundwater protection
                                            impoundments that do not exceed the                     requirements:                                         standards established pursuant to
                                            height and/or storage volume thresholds                    (A) Initiate the detection monitoring              § 257.95(h) for constituents listed in
                                            under § 257.73(b), no later than                        program to include obtaining a                        appendix IV to this part. The
                                            Monday, February 9, 2026, compile a                     minimum of eight independent samples                  documentation must also include a
                                            history of construction as set forth by                 for each background and downgradient                  demonstration that the groundwater
                                            § 257.73(c).                                            well, as required by § 257.94(b).                     monitoring system has met all of the
                                               (iii) Except for legacy CCR surface                     (B) Begin evaluating the groundwater               following:
                                            impoundments that are incised, no later                 monitoring data for statistically                        (i) Was capable of accurately
                                            than Friday, May 8, 2026, complete the                  significant increases over background                 representing background water quality
                                            initial hazard potential classification                 levels for the constituents listed in                 unaffected by a CCR unit;
                                                                                                    appendix III of this part, as required by                (ii) Was capable of accurately
                                            assessment as set forth by § 257.73(a)(2)
                                                                                                    § 257.94.                                             representing the quality of water passing
                                            and (f).
                                                                                                       (C) Begin evaluating the groundwater               the waste boundary of the unit;
                                               (iv) Except for legacy CCR surface                                                                            (iii) Was capable of detecting
                                                                                                    monitoring data for statistically
                                            impoundments that do not exceed the                                                                           contamination in the uppermost aquifer;
                                                                                                    significant levels over groundwater
                                            height and/or storage volume thresholds                                                                          (iv) Monitored all potential
                                                                                                    protection standards for the constituents
                                            under § 257.73(b), no later than Friday,                                                                      contaminant pathways;
                                                                                                    listed in appendix IV of this part as
                                            May 8, 2026, complete the structural                                                                             (v) Established groundwater
                                                                                                    required by § 257.95.
                                            stability and safety factor assessments as                 (iv) No later than January 31, 2027,               background concentrations for appendix
                                            set forth by § 257.73(d), (e), and (f).                 prepare the initial groundwater                       IV constituents and compared samples
                                               (v) Except for legacy CCR surface                    monitoring and corrective action report               to those background concentrations;
                                            impoundments that are incised, no later                 as set forth in § 257.90(e).                             (vi) Monitoring wells must have been
                                            than Friday, May 8, 2026, prepare and                      (5) Closure and post-closure care.                 cased in a manner that maintains the
                                            maintain an Emergency Action Plan as                    Except as provided in § 257.102(g), the               integrity of the monitoring well
                                            set forth by § 257.73(a)(3).                            owner or operator of the legacy CCR                   borehole. This casing must have been
                                               (3) Operating criteria. The owner or                 surface impoundment must:                             screened or perforated and packed with
                                            operator of the legacy CCR surface                         (i) No later than Monday, November                 gravel or sand, where necessary, to
                                            impoundment must:                                       8, 2027, prepare an initial written                   enable collection of groundwater
                                               (i) No later than Friday, November 8,                closure plan as set forth in § 257.102(b);            samples. The annular space (i.e., the
                                            2024, prepare the initial CCR fugitive                  and                                                   space between the borehole and well
                                            dust control plan as set forth in                          (ii) No later than Monday, November                casing) above the sampling depth must
                                            § 257.80(b).                                            8, 2027, prepare an initial written post-             have been sealed to prevent
                                               (ii) No later than Friday, November 8,               closure care plan as set forth in                     contamination of samples and the
                                            2024, prevent the unknowing entry, and                  § 257.104(d).                                         groundwater; and
                                            minimize the possibility for the                           (g) For owners and operators of legacy                (vii) The last groundwater monitoring
                                            unauthorized entry, of persons or                       CCR surface impoundments that                         sample used to document that the
                                            livestock onto the legacy CCR surface                   completed closure of the CCR unit by                  standard in paragraph (g)(3) of this
                                            impoundment.                                            removal of waste prior to Friday,                     section has been met must have been
                                               (iii) No later than Friday, November 8,              November 8, 2024, no later than Friday,               collected no earlier than one year prior
                                            2024, initiate the inspections by a                     November 8, 2024, complete a closure                  to the initiation of closure.
                                            qualified person as set forth by                        certification that includes the following                (h) If the owner or operator of a legacy
                                            § 257.83(a).                                            supporting information:                               CCR surface impoundment is unable to
                                               (iv) No later than Monday, February                     (1) The type and volume of CCR and                 complete the closure by removal
                                            10, 2025, complete the initial annual                   all other materials in the unit prior to              certification by the date listed in
                                            inspection by a qualified professional                  closure;                                              paragraph (f)(1)(i) of this section, they
                                            engineer as set forth by § 257.83(b).                      (2) The methods used to verify                     may elect to conduct groundwater
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                                               (v) No later than Friday, May 8, 2026,               complete removal of all CCR and other                 monitoring in accordance with
                                            prepare the initial inflow design flood                 contaminated materials from the unit,                 §§ 257.90 through 257.95 to demonstrate
                                            control system plan as set forth in                     including any post-removal sampling                   there are no exceedances of the
                                            § 257.82(c).                                            and analysis;                                         groundwater protection standards. If the
                                               (vi) No later than Thursday, January 8,                 (3) Documentation that all CCR and                 owner or operator meets all the
                                            2026, prepare the initial annual fugitive               other contaminated materials were                     requirements of paragraph (h)(1) of this


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                                            section, no further requirements under                     (vii) The requirement to prepare an                   (C) Begin evaluating the groundwater
                                            this subpart apply. If the owner or                     initial written closure plan for CCR                  monitoring data for statistically
                                            operator does not meet the requirements                 management units consistent with the                  significant levels over groundwater
                                            of paragraph (h)(1) of this section by                  requirements specified in                             protection standards for the constituents
                                            Monday, May 8, 2028 or if one or more                   § 257.102(b)(1) no later than 54 months               listed in appendix IV of this part as
                                            constituents in appendix IV to this part                from the date they became subject to                  required by § 257.95;
                                            are detected at statistically significant               this requirement.                                        (8) Include in the applicability report
                                            levels above the groundwater protection                    (viii) The requirement to prepare an               specified in § 257.100(f)(1) information
                                            standard established under § 257.95(h),                 initial post-closure plan for CCR                     on the completed closure, along with
                                            they must proceed in accordance with                    management units consistent with the                  supporting documentation to
                                            paragraph (h)(2) of this section.                       requirements specified in                             demonstrate that the closure meets the
                                               (1) In order to comply with this                     § 257.104(d)(2)(iii) no later than 54                 performance standards in § 257.102(d)
                                            paragraph (h)(1), the owner or operator                 months from the date they became                      or the standards specified in
                                            must complete all of the following:                     subject to this requirement.                          § 257.101(g);
                                               (i) Prepare a notification of intent to                 (ix) The requirement to initiate the                  (9) Prepare an initial written post-
                                            certify closure no later than Friday,                   closure of CCR management units in                    closure care plan as set forth in
                                            November 8, 2024. The owner or                          accordance with the requirements of                   § 257.104(d);
                                            operator has prepared the notification                  § 257.102 no later than 60 months from                   (10) Conduct post-closure care as set
                                            when the report is placed in the                        the date they became subject to this                  forth in § 257.104(b); and
                                            facility’s operating record as required by              requirement.                                             (11) Comply with applicable
                                            § 257.105(k)(4).                                           (i) Owners and operators of legacy                 recordkeeping, notification, and website
                                               (ii) Conduct groundwater monitoring                  CCR surface impoundments that                         posting requirements as set forth by
                                            in accordance with §§ 257.90–257.95 for                 completed closure of the unit in                      §§ 257.105 through 257.107.
                                            at least two consecutive sampling events                accordance with § 257.102(d) or that                     (j) The owner or operator of the legacy
                                            to demonstrate that all constituents in                 meet the requirements in § 257.101(g)                 CCR surface impoundment must comply
                                            appendix IV of this part have                           prior to Friday, November 8, 2024 must                with the recordkeeping requirements
                                            concentrations that do not exceed the                   only:                                                 specified in § 257.105(k), the
                                            groundwater protection standards listed                    (1) Prepare the applicability report as            notification requirements specified in
                                            in § 257.95(h).                                         set forth by § 257.100(f)(1);                         § 257.106(k), and the internet
                                               (iii) Complete a closure by removal                     (2) Prevent the unknowing entry, and               requirements specified in § 257.107(k).
                                            certification documenting compliance                    minimize the possibility for the                      ■ 19. Amend § 257.101 by adding
                                            with paragraphs (g)(1) through (5) and                  unauthorized entry, of persons or                     paragraphs (e), (f), (g) and (h) to read as
                                            (h)(1)(ii) of this section no later than                livestock onto the legacy CCR surface                 follows:
                                            Monday, May 8, 2028.                                    impoundment as set forth in
                                               (2) If the owner or operator does not                § 257.100(f)(3)(ii);                                  § 257.101   Closure or retrofit of CCR units.
                                            meet the requirements of paragraph                         (3) Place on or immediately adjacent               *      *     *     *     *
                                            (h)(1) of this section (e.g., by the date or            to the unit the permanent identification                 (e) Except as provided in paragraph
                                            they detect an SSL of an appendix IV                    marker as set forth by § 257.73(a)(1);                (g) of this section, the owner or operator
                                            constituent), they must comply with all                    (4) Compile a history of construction              of a legacy CCR surface impoundment is
                                            of the following:                                       as set forth by § 257.73(c);                          subject to the requirements of
                                               (i) If a statistically significant level is             (5) Prepare the initial CCR fugitive               paragraphs (e)(1) and (2) of this section.
                                            detected, the corrective action                         dust control plan as set forth in                        (1) No later than Monday, May 8,
                                            provisions and proceed in accordance                    § 257.80(b);                                          2028, an owner or operator of a legacy
                                            with § 257.102(c)(2).                                      (6) Prepare the initial annual fugitive            CCR surface impoundment must initiate
                                               (ii) The permanent marker                            dust control report as set forth in                   the closure of the legacy CCR surface
                                            requirements in § 257.73(a)(1) no later                 § 257.80(c);                                          impoundment in accordance with the
                                            than 8 months from the date they                           (7) (i) Install the groundwater                    requirements of § 257.102.
                                            became subject to this requirement.                     monitoring system as required by                         (2) An owner or operator of a legacy
                                               (iii) The applicability report                       § 257.91;                                             CCR surface impoundment that closes
                                            requirements of paragraph (f)(1)(i) of                     (ii) Develop the groundwater                       in accordance with paragraph (e)(1) of
                                            this section no later than 6 months from                sampling and analysis program,                        this section must include a statement in
                                            the date they became subject to this                    including the selection of the statistical            the notification required under
                                            requirement.                                            procedures, that will be used for                     § 257.102(g) that the legacy CCR surface
                                               (iv) The facility evaluation provisions              evaluating groundwater monitoring data                impoundment is closing under the
                                            for CCR management units under                          as required by § 257.93;                              requirement of paragraph (e)(1) of this
                                            § 257.75 no later than 33 months from                      (iii) Be in compliance with the                    section.
                                            the date they became subject to this                    following groundwater monitoring                         (f) Except as provided in paragraphs
                                            requirement.                                            requirements:                                         (g) and (h) of this section, the owner or
                                               (v) If any CCR management unit is                       (A) Initiate the detection monitoring              operator of a CCR management unit
                                            discovered after completing the facility                program to include obtaining a                        must comply with the requirements of
                                            evaluation report, the fugitive dust                    minimum of eight independent samples                  paragraphs (f)(1) and (2) of this section.
                                            requirements of § 257.80(b) no later than               for each background and downgradient                     (1) No later than Tuesday, May 8,
                                            6 months from the date of the facility                  well, as required by § 257.94(b);                     2029, an owner or operator of a CCR
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                                            evaluation report.                                         (B) Begin evaluating the groundwater               management unit must initiate the
                                               (vi) The groundwater monitoring                      monitoring data for statistically                     closure of the CCR management unit in
                                            requirements for CCR management units                   significant increases over background                 accordance with the requirements of
                                            under § 257.90(b)(3)(i) through (iv) no                 levels for the constituents listed in                 § 257.102.
                                            later than 48 months from the date they                 appendix III of this part, as required by                (2) An owner or operator of a CCR
                                            became subject to this requirement.                     § 257.94;                                             management unit that closes in


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                                            accordance with paragraph (f)(1) of this                  I certify under penalty of law that I have          § 257.102 Criteria for conducting the
                                            section must include a statement in the                 personally examined and am familiar with              closure or retrofit of CCR units and closure
                                            notification required under § 257.102(g)                the information submitted in this                     of CCR management units.
                                            that the CCR management unit is closing                 demonstration and all attached documents,               (a) General. Closure of a CCR unit
                                            under the requirements of paragraph                     and that, based on my inquiry of those                must be completed either by leaving the
                                            (f)(1) of this section.                                 individuals immediately responsible for               CCR in place and installing a final cover
                                               (g) Deferral to permitting for closures              obtaining the information, I believe that the         system or through removal of the CCR
                                            conducted under substantially                           submitted information is true, accurate, and          and decontamination of the CCR unit, as
                                                                                                    complete. I am aware that there are                   described in paragraphs (b) through (j)
                                            equivalent regulatory authority.
                                                                                                    significant penalties for submitting false            of this section. Retrofit of a CCR surface
                                            Notwithstanding the provisions of
                                                                                                    information, including the possibility of fine        impoundment must be completed in
                                            paragraphs (e) and (f) of this section, the             and imprisonment.
                                            owner or operator of a CCR management                                                                         accordance with the requirements in
                                            unit or a legacy CCR surface                               (6) Closure equivalency determination              paragraph (k) of this section.
                                            impoundment need not demonstrate                        at permitting. The owner or operator                    (b) Written closure plan—(1) Content
                                            compliance with the performance                         must submit the following                             of the plan. The owner or operator of a
                                            standards in § 257.102(c) or (d) provided               documentation to the permit authority.                CCR unit must prepare a written closure
                                            they demonstrate that the closure of the                                                                      plan that describes the steps necessary
                                                                                                       (i) A permit application that contains             to close the CCR unit at any point
                                            CCR unit met the standards specified in
                                                                                                    sufficient information, including data                during the active life of the CCR unit
                                            paragraphs (g)(1) through (g)(6) of this
                                                                                                    on contaminant levels in groundwater,                 consistent with recognized and
                                            section.
                                                                                                    to demonstrate that the applicable                    generally accepted good engineering
                                               (1) The owner or operator of the CCR
                                                                                                    § 257.102 standards have been met.                    practices. The written closure plan must
                                            unit must document that a regulatory
                                            authority played an active role in                         (ii) EPA will review the information               include, at a minimum, the information
                                            overseeing and approving the closure                    to determine whether the ‘‘equivalency’’              specified in paragraphs (b)(1)(i) through
                                            and any necessary corrective action,                    of the closure has been successfully                  (vi) of this section.
                                            pursuant to an enforceable requirement.                 demonstrated. If EPA or a Participating                  (i) A narrative description of how the
                                            This includes a State or Federal permit,                State Director determines that the                    CCR unit will be closed in accordance
                                            an administrative order, or consent                     closure has met the appropriate part 257              with this section.
                                            order issued after 2015 under CERCLA                    closure standard, EPA or a Participating                 (ii) If closure of the CCR unit will be
                                            or by an EPA-approved RCRA State                        State Director will issue a permit to                 accomplished through removal of CCR
                                            program.                                                require compliance with applicable                    from the CCR unit, a description of the
                                               (2) The owner or operator of the CCR                 post-closure requirements. If EPA or a                procedures to remove the CCR and
                                            unit must document that the regulatory                  Participating State Director determines               decontaminate the CCR unit in
                                            authority required or conducted a site-                 that the closure does not meet the part               accordance with paragraph (c) of this
                                            specific risk assessment prior to (or as                257 standards, the owner or operator                  section.
                                            part of) approving the closure and any                  will be required to submit a complete                    (iii) If closure of the CCR unit will be
                                            necessary corrective action.                            permit application and obtain a permit                accomplished by leaving CCR in place,
                                               (3) The owner or operator of the CCR                 that contains the specific requirements               a description of the final cover system,
                                            unit must document that it installed a                  necessary for the closed unit to achieve              designed in accordance with paragraph
                                            groundwater monitoring system and                       compliance with § 257.102.                            (d) of this section, and the methods and
                                            performed groundwater monitoring that                                                                         procedures to be used to install the final
                                                                                                       (h) Deferral for CCR management                    cover. The closure plan must also
                                            meets all of the following:                             units under critical infrastructure.
                                               (i) Was capable of accurately                                                                              discuss how the final cover system will
                                                                                                    Notwithstanding the provisions of                     achieve the performance standards
                                            representing background water quality;                  paragraph (f)(1) of this section, the
                                               (ii) Was capable of accurately                                                                             specified in paragraph (d) of this
                                                                                                    owner or operator of a CCR management                 section.
                                            representing the quality of water passing
                                                                                                    unit located beneath critical                            (iv) An estimate of the maximum
                                            the waste boundary;
                                                                                                    infrastructure need not initiate closure              inventory of CCR ever on-site over the
                                               (iii) Was capable of detecting
                                                                                                    until the infrastructure is no longer                 active life of the CCR unit.
                                            contamination in the uppermost aquifer;
                                                                                                    needed, EPA or a Participating State                     (v) An estimate of the largest area of
                                            and
                                               (iv) Monitored all potential                         Director determines closure is necessary              the CCR unit ever requiring a final cover
                                            contaminant pathways.                                   to ensure that there is no reasonable                 as required by paragraph (d) of this
                                               (4) Must document that the closed                    probability of adverse effects on human               section at any time during the CCR
                                            unit meets either:                                      health or the environment, or the                     unit’s active life.
                                               (i) The performance standard in                      closure or decommissioning of the                        (vi) A schedule for completing all
                                            § 257.60; or                                            facility, whichever occurs first. Owners              activities necessary to satisfy the closure
                                               (ii) The performance standard in                     and operators of CCR management units                 criteria in this section, including an
                                            § 257.102(d)(2)(i).                                     under active disposal units must meet                 estimate of the year in which all closure
                                               (5) The owner or operator must                       either:                                               activities for the CCR unit will be
                                            include the following statement, signed                    (1) Demonstrate that the CCR                       completed. The schedule should
                                            by the owner or operator or an                          management unit complies with the                     provide sufficient information to
                                            authorized representative, in the facility              performance standard in § 257.60; or                  describe the sequential steps that will be
                                            evaluation report for CCR management                                                                          taken to close the CCR unit, including
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                                                                                                       (2) Demonstrate that the CCR
                                            units specified in § 257.75 or                                                                                identification of major milestones such
                                                                                                    management unit complies with the
                                            applicability report for legacy CCR                                                                           as coordinating with and obtaining
                                                                                                    performance standard in
                                            surface impoundments specified in                                                                             necessary approvals and permits from
                                                                                                    § 257.102(d)(2)(i).
                                            § 257.100(f)(1) along with all                                                                                other agencies, the dewatering and
                                            information required by paragraphs                      ■ 20. Revise and republish§ 257.102 to                stabilization phases of CCR surface
                                            (g)(1) through (4) of the section:                      read as follows:                                      impoundment closure, or installation of


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                                            the final cover system, and the                            (ii) The owner or operator must                    the constituents listed in appendix IV to
                                            estimated timeframes to complete each                   amend the written closure plan                        this part must consist of groundwater
                                            step or phase of CCR unit closure. When                 whenever:                                             monitoring results that show no
                                            preparing the written closure plan, if the                 (A) There is a change in the operation             constituents were detected at
                                            owner or operator of a CCR unit                         of the CCR unit that would substantially              statistically significant levels above the
                                            estimates that the time required to                     affect the written closure plan in effect;            groundwater protection standards for
                                            complete closure will exceed the                        or                                                    either:
                                            timeframes specified in paragraph (f)(1)                   (B) Before or after closure activities                (A) Two consecutive monitoring
                                            of this section, the written closure plan               have commenced, unanticipated events                  events; or
                                            must include the site-specific                          necessitate a revision of the written                    (B) Three years, in accordance with
                                            information, factors and considerations                 closure plan.                                         § 257.98(c); and
                                            that would support any time extension                      (iii) The owner or operator must                      (iii) Obtain the completion of closure
                                            sought under paragraph (f)(2) of this                   amend the closure plan at least 60 days               certification or approval required by
                                            section.                                                prior to a planned change in the                      paragraph (f)(3) of this section.
                                              (2) Timeframes for preparing the                      operation of the facility or CCR unit, or                (2) Complete removal and
                                            initial written closure plan—(i) Existing               no later than 60 days after an                        decontamination activities during the
                                            CCR landfills and existing CCR surface                  unanticipated event requires the need to              active life and post-closure care period
                                            impoundments. No later than October                     revise an existing written closure plan.
                                                                                                                                                          of the CCR unit. The owner or operator
                                            17, 2016, the owner or operator of the                  If a written closure plan is revised after
                                                                                                                                                          may close a CCR unit by completing all
                                            CCR unit must prepare an initial written                closure activities have commenced for a
                                                                                                                                                          removal and decontamination activities,
                                            closure plan consistent with the                        CCR unit, the owner or operator must
                                                                                                                                                          except for groundwater corrective
                                            requirements specified in paragraph                     amend the current closure plan no later
                                                                                                                                                          action, during the active life of the CCR
                                            (b)(1) of this section.                                 than 30 days following the triggering
                                                                                                                                                          unit and by completing groundwater
                                                                                                    event.
                                              (ii) New CCR landfills and new CCR                       (4) Certification or approval. The                 corrective action during the post-closure
                                            surface impoundments, and any lateral                   owner or operator of the CCR unit must                care period pursuant to the following
                                            expansion of a CCR unit. No later than                  obtain a written certification from a                 procedures:
                                            the date of the initial receipt of CCR in               qualified professional engineer or                       (i) Within the timeframes specified in
                                            the CCR unit, the owner or operator                     approval from the Participating State                 paragraph (f) of this section, document
                                            must prepare an initial written closure                 Director or approval from EPA where                   that CCR has been removed from the
                                            plan consistent with the requirements                   EPA is the permitting authority that the              unit and any areas affected by releases
                                            specified in paragraph (b)(1) of this                   initial and any amendment of the                      from the CCR unit have been removed
                                            section.                                                written closure plan meets the                        or decontaminated;
                                              (iii) CCR management units. Except as                 requirements of this section.                            (ii) Within the timeframes specified in
                                            provided for in paragraph (b)(2)(v) of                     (c) Closure by removal of CCR. An                  paragraph (f) of this section, begin
                                            this section, no later than November 8,                 owner or operator that elects to close a              implementation of the remedy selected
                                            2028, the owner or operator of the CCR                  CCR unit by-removal of CCR must                       in accordance with § 257.97 such that
                                            management unit must prepare an                         follow the procedures specified in either             all components of the remedy are
                                            initial written closure plan consistent                 paragraph (c)(1) or (2) of this section.              constructed, or otherwise in place, and
                                            with the requirements specified in                      Closure by removal is complete when                   operating as intended unless the owner
                                            paragraph (b)(1) of this section.                       CCR has been removed; any areas                       or operator documents both that:
                                              (iv) Recordkeeping. The owner or                      affected by releases from the CCR unit                   (A) All applicable requirements in
                                            operator has completed the written                      have been removed or decontaminated;                  §§ 257.96 through 257.98 have been
                                            closure plan when the plan, including                   and groundwater monitoring                            met; and
                                            the certification required by paragraph                 concentrations of the constituents listed                (B) The active life of the unit could
                                            (b)(4) of this section, has been placed in              in appendix IV to this part do not                    not be extended until implementation of
                                            the facility’s operating record as                      exceed groundwater protection                         the remedy consistent with § 257.102(f);
                                            required by § 257.105(i)(4).                            standards established pursuant to                        (iii) Complete groundwater corrective
                                              (v) Closure documentation for certain                 § 257.95(h). Removal and                              action as a post-closure care
                                            CCR management units. Owners and                        decontamination activities include                    requirement as specified in § 257.104(g);
                                            operators of a CCR management unit                      removing all CCR from the unit, CCR                      (iv) Amend the written closure plan
                                            that completed closure of the unit in                   mixed with soils, and CCR included in                 required by paragraph (b) of this section
                                            accordance with § 257.102(d) prior to                   berms, liners or other unit structures,               and the written post-closure care plan
                                            Friday, November 8, 2024 or that meet                   and removing or decontaminating all                   required by § 257.104(d);
                                            the requirements in § 257.101(g) must                   areas affected by releases from the CCR                  (v) Within the timeframes specified in
                                            include in the facility evaluation report               unit.                                                 paragraph (f) of this section, obtain the
                                            specified in § 257.75 information on the                   (1) Complete all removal and                       completion of closure certification or
                                            completed closure, along with                           decontamination activities during the                 approval required by paragraph (f)(3) of
                                            supporting documentation to                             active life of the CCR unit. Within the               this section; and
                                            demonstrate that the closure meets the                  timeframes specified in paragraph (f) of                 (vi) Within the timeframes specified
                                            performance standards in § 257.102(d)                   this section the owner or operator must               in paragraph (f) of this section, record
                                            or the standards specified in                           do all of the following:                              the notation on the deed to the property
                                            § 257.101(g).                                              (i) Complete removal of CCR and                    required by paragraph (i) of this section.
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                                              (3) Amendment of a written closure                    decontamination of all areas affected by                 (d) Closure performance standard
                                            plan. (i) The owner or operator may                     releases from the CCR unit;                           when leaving CCR in place—
                                            amend the initial or any subsequent                        (ii) Document that the standards in                   (1) General performance standard.
                                            written closure plan developed                          paragraph (c) of this section have been               The owner or operator of a CCR unit
                                            pursuant to paragraph (b)(1) of this                    met. Documentation that groundwater                   must ensure that, at a minimum, the
                                            section at any time.                                    protection standards have been met for                CCR unit is closed in a manner that will:


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                                               (i) Control, minimize or eliminate, to                  (D) The disruption of the integrity of             additional two years to initiate closure
                                            the maximum extent feasible, post-                      the final cover system must be                        of the idle unit provided the owner or
                                            closure infiltration of liquids into the                minimized through a design that                       operator provides written
                                            waste and releases of CCR, leachate, or                 accommodates settling and subsidence.                 documentation that the CCR unit will
                                            contaminated run-off to the ground or                      (ii) The owner or operator may select              continue to accept wastes or will start
                                            surface waters or to the atmosphere;                    an alternative final cover system design,             removing CCR for the purpose of
                                               (ii) Preclude the probability of future              provided the alternative final cover                  beneficial use. The documentation must
                                            impoundment of water, sediment, or                      system is designed and constructed to                 be supported by, at a minimum, the
                                            slurry;                                                 meet the criteria in paragraphs                       information specified in paragraphs
                                               (iii) Include measures that provide for              (d)(3)(ii)(A) through (C) of this section.            (e)(2)(ii)(A) and (B) of this section. The
                                            major slope stability to prevent the                    The design of the final cover system                  owner or operator may obtain two-year
                                            sloughing or movement of the final                      must be included in the written closure               extensions provided the owner or
                                            cover system during the closure and                     plan required by paragraph (b) of this                operator continues to be able to
                                            post-closure care period;                               section.                                              demonstrate that there is reasonable
                                               (iv) Minimize the need for further                      (A) The design of the final cover                  likelihood that the CCR unit will accept
                                            maintenance of the CCR unit; and                        system must include an infiltration                   wastes in the foreseeable future or will
                                               (v) Be completed in the shortest                     layer that achieves an equivalent                     remove CCR from the unit for the
                                            amount of time consistent with                          reduction in infiltration as the                      purpose of beneficial use. The owner or
                                            recognized and generally accepted good                  infiltration layer specified in paragraphs            operator must place each completed
                                            engineering practices.                                  (d)(3)(i)(A) and (B) of this section.                 demonstration, if more than one time
                                               (2) Drainage and stabilization of CCR                   (B) The design of the final cover                  extension is sought, in the facility’s
                                            units. The owner or operator of any CCR                 system must include an erosion layer                  operating record as required by
                                            unit must meet the requirements of                      that provides equivalent protection from              § 257.105(i)(5) prior to the end of any
                                            paragraphs (d)(2)(i) and (ii) of this                   wind or water erosion as the erosion                  two-year period.
                                            section prior to installing the final cover             layer specified in paragraph (d)(3)(i)(C)                (A) Information documenting that the
                                            system required under paragraph (d)(3)                  of this section.                                      CCR unit has remaining storage or
                                            of this section.                                           (C) The disruption of the integrity of             disposal capacity or that the CCR unit
                                                                                                    the final cover system must be                        can have CCR removed for the purpose
                                               (i) Free liquids must be eliminated by
                                                                                                    minimized through a design that                       of beneficial use; and
                                            removing liquid wastes or solidifying                                                                            (B) Information demonstrating that
                                            the remaining wastes and waste                          accommodates settling and subsidence.
                                                                                                       (iii) The owner or operator of the CCR             that there is a reasonable likelihood that
                                            residues.                                                                                                     the CCR unit will resume receiving CCR
                                                                                                    unit must obtain a written certification
                                               (ii) Remaining wastes must be                                                                              or non-CCR waste streams in the
                                                                                                    from a qualified professional engineer or
                                            stabilized sufficient to support the final                                                                    foreseeable future or that CCR can be
                                                                                                    approval from the Participating State
                                            cover system.                                                                                                 removed for the purpose of beneficial
                                                                                                    Director or approval from EPA where
                                               (3) Final cover system. If a CCR unit                                                                      use. The narrative must include a best
                                                                                                    EPA is the permitting authority that the
                                            is closed by leaving CCR in place, the                                                                        estimate as to when the CCR unit will
                                                                                                    design of the final cover system meets
                                            owner or operator must install a final                                                                        resume receiving CCR or non-CCR waste
                                                                                                    the requirements of this section.
                                            cover system that is designed to                           (e) Initiation of closure activities.              streams. The situations listed in
                                            minimize infiltration and erosion, and                  Except as provided for in paragraph                   paragraphs (e)(2)(ii)(B)(1) through (4) of
                                            at a minimum, meets the requirements                    (e)(4) of this section and § 257.103, the             this section are examples of situations
                                            of paragraph (d)(3)(i) of this section, or              owner or operator of a CCR unit must                  that would support a determination that
                                            the requirements of the alternative final               commence closure of the CCR unit no                   the CCR unit will resume receiving CCR
                                            cover system specified in paragraph                     later than the applicable timeframes                  or non-CCR waste streams in the
                                            (d)(3)(ii) of this section.                             specified in either paragraph (e)(1) or (2)           foreseeable future.
                                               (i) The final cover system must be                   of this section.                                         (1) Normal plant operations include
                                            designed and constructed to meet the                       (1) The owner or operator must                     periods during which the CCR unit does
                                            criteria in paragraphs (d)(3)(i)(A)                     commence closure of the CCR unit no                   not receive CCR or non-CCR waste
                                            through (D) of this section. The design                 later than 30 days after the date on                  streams, such as the alternating use of
                                            of the final cover system must be                       which the CCR unit either:                            two or more CCR units whereby at any
                                            included in the written closure plan                       (i) Receives the known final receipt of            point in time one CCR unit is receiving
                                            required by paragraph (b) of this section.              waste, either CCR or any non-CCR waste                CCR while CCR is being removed from
                                               (A) The permeability of the final cover              stream; or                                            a second CCR unit after its dewatering.
                                            system must be less than or equal to the                   (ii) Removes the known final volume                   (2) The CCR unit is dedicated to a
                                            permeability of any bottom liner system                 of CCR from the CCR unit for the                      coal-fired boiler unit that is temporarily
                                            or natural subsoils present, or a                       purpose of beneficial use of CCR.                     idled (e.g., CCR is not being generated)
                                            permeability no greater than 1 × 10¥5                      (2)(i) Except as provided by paragraph             and there is a reasonable likelihood that
                                            cm/sec, whichever is less.                              (e)(2)(ii) of this section, the owner or              the coal-fired boiler will resume
                                               (B) The infiltration of liquids through              operator must commence closure of a                   operations in the future.
                                            the closed CCR unit must be minimized                   CCR unit that has not received CCR or                    (3) The CCR unit is dedicated to an
                                            by the use of an infiltration layer that                any non-CCR waste stream or is no                     operating coal-fired boiler (i.e., CCR is
                                            contains a minimum of 18 inches of                      longer removing CCR for the purpose of                being generated); however, no CCR are
                                            earthen material.                                       beneficial use within two years of the                being placed in the CCR unit because
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                                               (C) The erosion of the final cover                   last receipt of waste or within two years             the CCR are being entirely diverted to
                                            system must be minimized by the use of                  of the last removal of CCR material for               beneficial uses, but there is a reasonable
                                            an erosion layer that contains a                        the purpose of beneficial use.                        likelihood that the CCR unit will again
                                            minimum of six inches of earthen                           (ii) Notwithstanding paragraph                     be used in the foreseeable future.
                                            material that is capable of sustaining                  (e)(2)(i) of this section, the owner or                  (4) The CCR unit currently receives
                                            native plant growth.                                    operator of the CCR unit may secure an                only non-CCR waste streams and those


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                                            non-CCR waste streams are not                              (i) For existing and new CCR landfills                (C) Except as provided in paragraph
                                            generated for an extended period of                     and any lateral expansion of a CCR                    (f)(2)(ii)(D) of this section, CCR landfills
                                            time, but there is a reasonable                         landfill, within six months of                        may extend the timeframe to complete
                                            likelihood that the CCR unit will again                 commencing closure activities.                        closure of the CCR unit multiple times,
                                            receive non-CCR waste streams in the                       (ii) For existing and new CCR surface              in one-year increments. For each one-
                                            future.                                                 impoundments and any lateral                          year extension sought, the owner or
                                               (iii) In order to obtain additional time             expansion of a CCR surface                            operator must substantiate the factual
                                            extension(s) to initiate closure of a CCR               impoundment, within five years of                     circumstances demonstrating the need
                                            unit beyond the two years provided by                   commencing closure activities.                        for the extension. No more than a total
                                            paragraph (e)(2)(i) of this section, the                   (iii) For CCR management units,                    of two one-year extensions may be
                                            owner or operator of the CCR unit must                  within five years of commencing closure               obtained for any CCR landfill.
                                            include with the demonstration                          activities.                                              (D) CCR landfills that intersect with
                                            required by paragraph (e)(2)(ii) of this                   (2)(i) Extensions of closure                       groundwater are eligible for the time
                                            section the following statement signed                  timeframes. The timeframes for                        extensions available to CCR units in
                                            by the owner or operator or an                          completing closure of a CCR unit                      paragraph (f)(2)(ii)(B) of this section,
                                            authorized representative:                              specified under paragraphs (f)(1) of this             provided the owner or operator
                                                                                                    section may be extended if the owner or               documents that groundwater intersects
                                              I certify under penalty of law that I have
                                                                                                    operator can demonstrate that it was not              the CCR unit in the closure plan.
                                            personally examined and am familiar with
                                            the information submitted in this                       feasible to complete closure of the CCR                  (E) CCR management units of 40 acres
                                            demonstration and all attached documents,               unit within the required timeframes due               or smaller may extend the time to
                                            and that, based on my inquiry of those                  to factors beyond the facility’s control.             complete closure by no longer than two
                                            individuals immediately responsible for                 If the owner or operator is seeking a                 years.
                                            obtaining the information, I believe that the           time extension beyond the time                           (F) CCR management units larger than
                                            submitted information is true, accurate, and            specified in the written closure plan as              40 acres may extend the timeframe to
                                            complete. I am aware that there are                     required by paragraph (b)(1) of this                  complete closure of the CCR
                                            significant penalties for submitting false              section, the demonstration must include               management unit multiple times, in
                                            information, including the possibility of fine
                                                                                                    a narrative discussion providing the                  two-year increments. For each two-year
                                            and imprisonment.
                                                                                                    basis for additional time beyond that                 extension sought, the owner or operator
                                               (3) For purposes of this subpart,                    specified in the closure plan. The owner              must substantiate the factual
                                            closure of the CCR unit has commenced                   or operator must place each completed                 circumstances demonstrating the need
                                            if the owner or operator has ceased                     demonstration, if more than one time                  for the extension. No more than a total
                                            placing waste and completes any of the                  extension is sought, in the facility’s                of five two-year extensions may be
                                            following actions or activities:                        operating record as required by                       obtained for any CCR management unit.
                                               (i) Taken any steps necessary to                     § 257.105(i)(6) prior to the end of any                  (iii) In order to obtain additional time
                                            implement the written closure plan                      two-year period. Factors that may                     extension(s) to complete closure of a
                                            required by paragraph (b) of this section;              support such a demonstration include:                 CCR unit beyond the times provided by
                                               (ii) Submitted a completed                              (A) Complications stemming from the                paragraph (f)(1) of this section, the
                                            application for any required state or                   climate and weather, such as unusual                  owner or operator of the CCR unit must
                                            agency permit or permit modification;                   amounts of precipitation or a                         include with the demonstration
                                            or                                                      significantly shortened construction                  required by paragraph (f)(2)(i) of this
                                               (iii) Taken any steps necessary to                   season;                                               section the following statement signed
                                            comply with any state or other agency                      (B) Time required to dewater a CCR                 by the owner or operator or an
                                            standards that are a prerequisite, or are               unit due to the volume of CCR                         authorized representative:
                                            otherwise applicable, to initiating or                  contained in the CCR unit or the
                                                                                                                                                            I certify under penalty of law that I have
                                            completing the closure of a CCR unit.                   characteristics of the CCR in the unit;               personally examined and am familiar with
                                               (4) The timeframes specified in                         (C) The geology and terrain                        the information submitted in this
                                            paragraphs (e)(1) and (2) of this section               surrounding the CCR unit will affect the              demonstration and all attached documents,
                                            do not apply to any of the following                    amount of material needed to close the                and that, based on my inquiry of those
                                            owners or operators:                                    CCR unit; or                                          individuals immediately responsible for
                                               (i) [Reserved]                                          (D) Time required or delays caused by              obtaining the information, I believe that the
                                               (ii) An owner or operator of an                      the need to coordinate with and obtain                submitted information is true, accurate, and
                                            existing unlined CCR surface                            necessary approvals and permits from a                complete. I am aware that there are
                                            impoundment closing the CCR unit as                     state or other agency.                                significant penalties for submitting false
                                            required by § 257.101(a);                                  (ii) Maximum time extensions. (A)                  information, including the possibility of fine
                                               (iii) An owner or operator of an                     CCR surface impoundments of 40 acres                  and imprisonment.
                                            existing CCR surface impoundment                        or smaller may extend the time to                        (3) Upon completion, the owner or
                                            closing the CCR unit as required by                     complete closure by no longer than two                operator of the CCR unit must obtain a
                                            § 257.101(b);                                           years.                                                certification from a qualified
                                               (iv) An owner or operator of a new                      (B) CCR surface impoundments larger                professional engineer or approval from
                                            CCR surface impoundment closing the                     than 40 acres may extend the timeframe                the Participating State Director or
                                            CCR unit as required by § 257.101(c); or                to complete closure of the CCR unit                   approval from EPA where EPA is the
                                               (v) An owner or operator of an                       multiple times, in two-year increments.               permitting authority verifying that
                                            existing CCR landfill closing the CCR                   For each two-year extension sought, the               closure has been completed in
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                                            unit as required by § 257.101(d).                       owner or operator must substantiate the               accordance with the closure plan
                                               (f) Completion of closure activities.                factual circumstances demonstrating the               specified in paragraph (b) of this section
                                               (1) Except as provided for in                        need for the extension. No more than a                and the requirements of this section.
                                            paragraph (f)(2) of this section, the                   total of five two-year extensions may be                 (g) Notification of intent to close. No
                                            owner or operator must complete                         obtained for any CCR surface                          later than the date the owner or operator
                                            closure of the CCR unit:                                impoundment.                                          initiates closure of a CCR unit, the


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                                            owner or operator must prepare a                           (k) Criteria to retrofit an existing CCR           certification required by paragraph
                                            notification of intent to close a CCR                   surface impoundment. (1) To retrofit an               (k)(2)(iv) of this section, has been placed
                                            unit. The notification must include the                 existing CCR surface impoundment, the                 in the facility’s operating record as
                                            certification by a qualified professional               owner or operator must:                               required by § 257.105(j)(1).
                                            engineer or the approval from the                          (i) First remove all CCR, including                   (iii) Amendment of a written retrofit
                                            Participating State Director or the                     any contaminated soils and sediments                  plan. (A) The owner or operator may
                                            approval from EPA where EPA is the                      from the CCR unit; and                                amend the initial or any subsequent
                                            permitting authority for the design of                     (ii) Comply with the requirements in               written retrofit plan at any time.
                                            the final cover system as required by                   § 257.72.                                                (B) The owner or operator must
                                            § 257.102(d)(3)(iii), if applicable. The                   (iii) A CCR surface impoundment                    amend the written retrofit plan
                                            owner or operator has completed the                     undergoing a retrofit remains subject to              whenever:
                                            notification when it has been placed in                 all other requirements of this subpart,                  (1) There is a change in the operation
                                            the facility’s operating record as                      including the requirement to conduct                  of the CCR unit that would substantially
                                            required by § 257.105(i)(7).                            any necessary corrective action.                      affect the written retrofit plan in effect;
                                              (h) Notification of completion of                        (2) Written retrofit plan—(i) Content              or
                                            closure. Within 30 days of completion                   of the plan. The owner or operator must                  (2) Before or after retrofit activities
                                            of closure of the CCR unit, the owner or                prepare a written retrofit plan that                  have commenced, unanticipated events
                                            operator must prepare a notification of                 describes the steps necessary to retrofit             necessitate a revision of the written
                                            closure of a CCR unit. The notification                 the CCR unit consistent with recognized               retrofit plan.
                                                                                                    and generally accepted good                              (C) The owner or operator must
                                            must include the certification by a
                                                                                                    engineering practices. The written                    amend the retrofit plan at least 60 days
                                            qualified professional engineer or the
                                                                                                    retrofit plan must include, at a                      prior to a planned change in the
                                            approval from the Participating State
                                                                                                    minimum, all of the following                         operation of the facility or CCR unit, or
                                            Director or the approval from EPA
                                                                                                    information:                                          no later than 60 days after an
                                            where EPA is the permitting authority
                                                                                                       (A) A narrative description of the                 unanticipated event requires the
                                            as required by § 257.102(f)(3). The
                                                                                                    specific measures that will be taken to               revision of an existing written retrofit
                                            owner or operator has completed the
                                                                                                    retrofit the CCR unit in accordance with              plan. If a written retrofit plan is revised
                                            notification when it has been placed in
                                                                                                    this section.                                         after retrofit activities have commenced
                                            the facility’s operating record as
                                                                                                       (B) A description of the procedures to             for a CCR unit, the owner or operator
                                            required by § 257.105(i)(8).
                                                                                                    remove all CCR and contaminated soils                 must amend the current retrofit plan no
                                              (i) Deed notations. (1) Except as                                                                           later than 30 days following the
                                            provided by paragraph (i)(4) of this                    and sediments from the CCR unit.
                                                                                                       (C) An estimate of the maximum                     triggering event.
                                            section, following closure of a CCR unit,                                                                        (iv) Certification or approval. The
                                                                                                    amount of CCR that will be removed as
                                            the owner or operator must record a                                                                           owner or operator of the CCR unit must
                                                                                                    part of the retrofit operation.
                                            notation on the deed to the property, or                   (D) An estimate of the largest area of             obtain a written certification from a
                                            some other instrument that is normally                  the CCR unit that will be affected by the             qualified professional engineer or an
                                            examined during title search.                           retrofit operation.                                   approval from the Participating State
                                              (2) The notation on the deed must in                     (E) A schedule for completing all                  Director or an approval from EPA where
                                            perpetuity notify any potential                         activities necessary to satisfy the retrofit          EPA is the permitting authority that the
                                            purchaser of the property that:                         criteria in this section, including an                activities outlined in the written retrofit
                                              (i) The land has been used as a CCR                   estimate of the year in which retrofit                plan, including any amendment of the
                                            unit; and                                               activities of the CCR unit will be                    plan, meet the requirements of this
                                              (ii) Its use is restricted under the post-            completed.                                            section.
                                            closure care requirements as provided                      (ii) Timeframes for preparing the                     (3) Deadline for completion of
                                            by § 257.104(d)(1)(iii).                                initial written retrofit plan. (A) No later           activities related to the retrofit of a CCR
                                              (3) Within 30 days of recording a                     than 60 days prior to date of initiating              unit. Any CCR surface impoundment
                                            notation on the deed to the property, the               retrofit activities, the owner or operator            that is being retrofitted must complete
                                            owner or operator must prepare a                        must prepare an initial written retrofit              all retrofit activities within the same
                                            notification stating that the notation has              plan consistent with the requirements                 time frames and procedures specified
                                            been recorded. The owner or operator                    specified in paragraph (k)(2) of this                 for the closure of a CCR surface
                                            has completed the notification when it                  section. For purposes of this subpart,                impoundment in § 257.102(f) or, where
                                            has been placed in the facility’s                       initiation of retrofit activities has                 applicable, § 257.103.
                                            operating record as required by                         commenced if the owner or operator has                   (4) Certification or approval. Upon
                                            § 257.105(i)(9).                                        ceased placing waste in the unit and                  completion, the owner or operator must
                                              (4) An owner or operator that closes                  completes any of the following actions                obtain a written certification from a
                                            a CCR unit in accordance with                           or activities:                                        qualified professional engineer or an
                                            paragraph (c)(1) of this section is not                    (1) Taken any steps necessary to                   approval from the Participating State
                                            subject to the requirements of                          implement the written retrofit plan;                  Director or an approval from EPA where
                                            paragraphs (i)(1) through (3) of this                      (2) Submitted a completed application              EPA is the permitting authority
                                            section.                                                for any required state or agency permit               verifying that the retrofit activities have
                                              (j) Recordkeeping, notification, and                  or permit modification; or                            been completed in accordance with the
                                            internet requirements. The owner or                        (3) Taken any steps necessary to                   retrofit plan specified in paragraph
                                            operator of the CCR unit must comply                    comply with any state or other agency                 (k)(2) of this section and the
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                                            with the closure recordkeeping                          standards that are a prerequisite, or are             requirements of this section.
                                            requirements specified in § 257.105(i),                 otherwise applicable, to initiating or                   (5) Notification of intent to retrofit. No
                                            the closure notification requirements                   completing the retrofit of a CCR unit.                later than the date the owner or operator
                                            specified in § 257.106(i), and the closure                 (B) The owner or operator has                      initiates the retrofit of a CCR unit, the
                                            internet requirements specified in                      completed the written retrofit plan                   owner or operator must prepare a
                                            § 257.107(i).                                           when the plan, including the                          notification of intent to retrofit a CCR


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                                            unit. The owner or operator has                            (d) * * *                                          than one CCR unit subject to the
                                            completed the notification when it has                     (2) Deadline to prepare the initial                provisions of this subpart may comply
                                            been placed in the facility’s operating                 written post-closure plan—(i) Existing                with the requirements of this section in
                                            record as required by § 257.105(j)(5).                  CCR landfills and existing CCR surface                one recordkeeping system provided the
                                               (6) Notification of completion of                    impoundments. No later than October                   system identifies each file by the name
                                            retrofit activities. Within 30 days of                  17, 2016, the owner or operator of the                of each CCR unit. The files may be
                                            completing the retrofit activities                      CCR unit must prepare an initial written              maintained on microfilm, on a
                                            specified in paragraph (k)(1) of this                   post-closure plan consistent with the                 computer, on computer disks, on a
                                            section, the owner or operator must                     requirements specified in paragraph                   storage system accessible by a computer,
                                            prepare a notification of completion of                 (d)(1) of this section.                               on magnetic tape disks, or on
                                            retrofit activities. The notification must                 (ii) New CCR landfills, new CCR                    microfiche.
                                            include the certification from a qualified              surface impoundments, and any lateral                    (d) State Director and/or appropriate
                                            professional engineer or an approval                    expansion of a CCR unit. No later than                Tribal authority notification. The owner
                                            from the Participating State Director or                the date of the initial receipt of CCR in             or operator of a CCR unit must submit
                                            an approval from EPA where EPA is the                   the CCR unit, the owner or operator                   to the State Director and/or appropriate
                                            permitting authority has is required by                 must prepare an initial written post-                 Tribal authority any demonstration or
                                            paragraph (k)(4) of this section. The                   closure plan consistent with the                      documentation required by this subpart,
                                            owner or operator has completed the                     requirements specified in paragraph                   if requested, when such information is
                                            notification when it has been placed in                 (d)(1) of this section.                               not otherwise available on the owner or
                                            the facility’s operating record as                         (iii) CCR management units. No later               operator’s CCR website.
                                            required by § 257.105(j)(6).                            than Wednesday, November 8, 2028, the                    (e) Location restrictions. The owner or
                                               (7) Cease retrofit and initiation of                 owner or operator of a CCR management                 operator of a CCR unit subject to this
                                            closure. At any time after the initiation               unit must prepare an initial written                  subpart must place the demonstrations
                                            of a CCR unit retrofit, the owner or                    post-closure care plan as set forth in                documenting whether or not the CCR
                                            operator may cease the retrofit and                     paragraph (d)(1) of this section.                     unit is in compliance with the
                                                                                                       (iv) Recordkeeping. The owner or                   requirements under §§ 257.60(a),
                                            initiate closure of the CCR unit in
                                                                                                    operator has completed the written post-              257.61(a), 257.62(a), 257.63(a), and
                                            accordance with the requirements of
                                                                                                    closure plan when the plan, including                 257.64(a), as it becomes available, in the
                                            § 257.102.
                                                                                                    the certification required by paragraph               facility’s operating record, except each
                                               (8) Recordkeeping, notification, and
                                                                                                    (d)(4) of this section, has been placed in            location restrictions demonstration must
                                            internet requirements. The owner or
                                                                                                    the facility’s operating record as                    be maintained for five years after
                                            operator of the CCR unit must comply
                                                                                                    required by § 257.105(i)(4).                          completion of closure by removal in
                                            with the retrofit recordkeeping
                                            requirements specified in § 257.105(j),                 *       *    *     *     *                            accordance with § 257.102(c) or until
                                            the retrofit notification requirements                     (g) Removal of a deed notation. The                completion of post-closure care in
                                            specified in § 257.106(j), and the retrofit             owner or operator of a CCR unit closed                accordance with § 257.104(e) or (g).
                                                                                                    pursuant to §§ 257.102(c)(2) and                         (f) Design criteria. The owner or
                                            internet requirements specified in
                                                                                                    257.104 may remove the notation from                  operator of a CCR unit subject to this
                                            § 257.107(j).
                                                                                                    the deed specified in § 257.102(i) upon:              subpart must place the following
                                            ■ 21. Amend § 257.104 by:                                  (1) Completion of groundwater                      information, as it becomes available, in
                                            ■ a. Revising paragraphs (a) and (c)(1);                corrective action demonstrating that any              the facility’s operating record:
                                            ■ b. Adding paragraph (c)(3);                                                                                    (1) The design and construction
                                                                                                    areas affected by releases from the CCR
                                            ■ c. Revising paragraph (d)(2); and                                                                           certifications as required by § 257.70(e)
                                                                                                    unit do not exceed the groundwater
                                            ■ d. Adding paragraph (g).                                                                                    and (f), except each certification must be
                                                                                                    protection standards established
                                               The additions and revisions read as                  pursuant to § 257.95(h) for constituents              maintained for five years after
                                            follows:                                                listed in appendix IV to this part; and               completion of closure by removal in
                                            § 257.104   Post-closure care requirements.                (2) Completion of the notification of              accordance with § 257.102(c) or until
                                                                                                    completion of post-closure care period                completion of post-closure care in
                                              (a) Applicability. (1) Except as
                                                                                                    required by paragraph (e) of this section.            accordance with § 257.104(e) or (g)
                                            provided by paragraph (a)(2) of this
                                                                                                    *       *    *     *     *                            irrespective of the time requirement
                                            section, § 257.104 applies to the owners
                                                                                                    ■ 22. Revise § 257.105 to read as                     specified in paragraph (b) of this
                                            or operators of CCR units that are
                                                                                                    follows:                                              section.
                                            subject to the closure criteria under                                                                            (2) The documentation of liner type as
                                            § 257.102.                                              § 257.105    Recordkeeping requirements.              required by § 257.71(a), except each
                                               (2) An owner or operator of a CCR                                                                          liner type documentation must be
                                                                                                       (a) Operating Record. Each owner or
                                            unit that elects to close a CCR unit by                                                                       maintained for five years after
                                                                                                    operator of a CCR unit subject to the
                                            removing CCR as provided by                                                                                   completion of closure by removal in
                                                                                                    requirements of this subpart must date
                                            § 257.102(c)(1) is not subject to the post-                                                                   accordance with § 257.102(c) or until
                                                                                                    and maintain files of all information
                                            closure care criteria under this section.                                                                     completion of post-closure care in
                                                                                                    required by this section in a written
                                            *      *    *      *     *                              operating record at their facility. Each              accordance with § 257.104(e) or (g)
                                               (c) * * *                                            file must indicate the date the file was              irrespective of the time requirement
                                               (1) Except as provided by paragraph                  placed in the operating record.                       specified in paragraph (b) of this
                                            (c)(2) and (3) of this section, the owner                  (b) Document Retention. Unless                     section.
                                            or operator of the CCR unit must                        specified otherwise, each file must be                   (3) The design and construction
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                                            conduct post-closure care for 30 years.                 retained for at least five years following            certifications as required by § 257.72(c)
                                            *      *    *      *     *                              the date of each occurrence,                          and (d), except each certification must
                                               (3) An owner or operator closing a                   measurement, maintenance, corrective                  be maintained for five years after
                                            unit pursuant to § 257.102(c)(2) must                   action, report, record, or study.                     completion of closure by removal in
                                            complete groundwater corrective action                     (c) Recordkeeping for multiple CCR                 accordance with § 257.102(c) or until
                                            in accordance with § 257.98(c).                         units. An owner or operator of more                   completion of post-closure care in


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                                            accordance with § 257.104(e) or (g)                     irrespective of the time requirement                  accordance with § 257.102(c)(1) or (2) or
                                            irrespective of the time requirement                    specified in paragraph (b) of this                    until completion of post-closure care in
                                            specified in paragraph (b) of this                      section.                                              accordance with § 257.104(e) or (g)
                                            section.                                                   (9) The history of construction, and               irrespective of the time requirement
                                               (4) Documentation prepared by the                    any revisions of it, as required by                   specified in paragraph (b) of this
                                            owner or operator stating that the                      § 257.73(c), except each history of                   section.
                                            permanent identification marker was                     construction must be maintained for                      (15) The alternative liner
                                            installed as required by §§ 257.73(a)(1)                five years after completion of closure by             demonstration as required by
                                            and 257.74(a)(1), except each document                  removal in accordance with                            § 257.71(d)(1)(ii)(D).
                                            must be maintained for five years after                 § 257.102(c)(1) or (2) or until completion               (16) The alternative liner
                                            completion of closure by removal in                     of post-closure care in accordance with               demonstration extension request as
                                            accordance with § 257.102(c)(1) or until                § 257.104(e) or (g) irrespective of the               required by § 257.71(d)(2)(ii)(D).
                                            completion of post-closure care in                      time requirement specified in paragraph                  (17) The documentation prepared for
                                            accordance with § 257.104(e)                            (b) of this section.                                  the preliminary demonstration as
                                            irrespective of the time requirement                       (10) The initial and periodic                      required by § 257.71(d)(2)(ii)(E).
                                            specified in paragraph (b) of this                      structural stability assessments as                      (18) The notification of an incomplete
                                            section.                                                required by §§ 257.73(d) and 257.74(d),               application as required by
                                               (5) The initial and periodic hazard                  except each structural stability                      § 257.71(d)(2)(iii)(B).
                                            potential classification assessments as                 assessment must be maintained for five                   (19) The decision on the application
                                            required by §§ 257.73(a)(2) and                         years after completion of closure by                  as required by § 257.71(d)(2)(iii)(F),
                                            257.74(a)(2), except each hazard                        removal in accordance with                            except each decision must be
                                            potential classification must be                        § 257.102(c)(1) or (2) or until completion            maintained for five years after
                                            maintained for five years after                         of post-closure care in accordance with               completion of closure by removal in
                                            completion of closure by removal in                     § 257.104(e) or (g) irrespective of the               accordance with § 257.102(c)(1) or (2) or
                                            accordance with § 257.102(c) or until                   time requirement specified in paragraph               until completion of post-closure care in
                                            completion of post-closure care in                      (b) of this section.                                  accordance with § 257.104(e) or (g)
                                            accordance with § 257.104(e) or (g)                        (11) Documentation detailing the                   irrespective of the time requirement
                                            irrespective of the time requirement                    corrective measures taken to remedy the               specified in paragraph (b) of this
                                            specified in paragraph (b) of this                      deficiency or release as required by                  section.
                                            section.                                                §§ 257.73(d)(2) and 257.74(d)(2), except                 (20) The final decision on the
                                               (6) The emergency action plan (EAP),                 each document must be maintained for                  alternative liner demonstration as
                                            and any amendment of the EAP, as                        five years after completion of closure by             required by § 257.71(d)(2)(vii).
                                            required by §§ 257.73(a)(3) and                         removal in accordance with                               (21) The alternative source
                                            257.74(a)(3), except each EAP must be                   § 257.102(c)(1) or (2) or until completion            demonstration as required under
                                            maintained for five years after                         of post-closure care in accordance with               § 257.71(d)(2)(ix)(A)(4).
                                            completion of closure by removal in                     § 257.104(e) or (g) irrespective of the                  (22) The final decision on the
                                            accordance with § 257.102(c) or until                   time requirement specified in paragraph               alternative source demonstration as
                                            completion of post-closure care in                      (b) of this section.                                  required under § 257.71(d)(2)(ix)(A)(5).
                                            accordance with § 257.104(e) or (g)                        (12) The initial and periodic safety                  (23) The final decision on the trend
                                            irrespective of the time requirement                    factor assessments as required by                     analysis as required under
                                            specified in paragraph (b) of this                      §§ 257.73(e) and 257.74(e), except each               § 257.71(d)(2)(ix)(B)(3).
                                            section.                                                safety factor assessment must be                         (24) The decision that the alternative
                                               (7) Documentation prepared by the                    maintained for five years after                       source demonstration has been
                                            owner or operator recording the annual                  completion of closure by removal in                   withdrawn as required under
                                            face-to-face meeting or exercise between                accordance with § 257.102(c)(1) or (2) or             § 257.71(d)(2)(ix)(C).
                                            representatives of the owner or operator                until completion of post-closure care in                 (25) The facility evaluation report part
                                            of the CCR unit and the local emergency                 accordance with § 257.104(e) or (g)                   1 as required by § 257.75(c), except the
                                            responders as required by                               irrespective of the time requirement                  facility evaluation report part 1 must be
                                            §§ 257.73(a)(3)(i)(E) and                               specified in paragraph (b) of this                    maintained for five years after
                                            257.74(a)(3)(i)(E), except each document                section.                                              completion of closure by removal in
                                            must be maintained for five years after                    (13) The design and construction                   accordance with § 257.102(c)(1) or (2) or
                                            completion of closure by removal in                     plans, and any revisions of it, as                    until completion of post-closure care in
                                            accordance with § 257.102(c)(1) or (2) or               required by § 257.74(c), except the                   accordance with § 257.104(e) or (g)
                                            until completion of post-closure care in                design and construction plans must be                 irrespective of the time requirement
                                            accordance with § 257.104(e) or (g)                     maintained for five years after                       specified in paragraph (b) of this
                                            irrespective of the time requirement                    completion of closure by removal in                   section.
                                            specified in paragraph (b) of this                      accordance with § 257.102(c)(1) or (2) or                (26) The facility evaluation report part
                                            section.                                                until completion of post-closure care in              2 as required by § 257.75(d), except the
                                               (8) Documentation prepared by the                    accordance with § 257.104(e) or (g)                   facility evaluation report part 2 must be
                                            owner or operator recording all                         irrespective of the time requirement                  maintained for five years after
                                            activations of the emergency action plan                specified in paragraph (b) of this                    completion of closure by removal in
                                            as required by §§ 257.73(a)(3)(v) and                   section.                                              accordance with § 257.102(c)(1) or (2) or
                                            257.74(a)(3)(v), except each                               (14) The application and any                       until completion of post-closure care in
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                                            documentation of EAP activations must                   supplemental materials submitted in                   accordance with § 257.104(e) or (g)
                                            be maintained for five years after                      support of the application as required                irrespective of the time requirement
                                            completion of closure by removal in                     by § 257.71(d)(1)(i)(E), except each                  specified in paragraph (b) of this
                                            accordance with § 257.102(c)(1) or (2) or               application and supplemental materials                section.
                                            until completion of post-closure care in                must be maintained for five years after                  (g) Operating criteria. The owner or
                                            accordance with § 257.104(e) or (g)                     completion of closure by removal in                   operator of a CCR unit subject to this


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                                            subpart must place the following                        time requirement specified in paragraph               specified in paragraph (b) of this
                                            information, as it becomes available, in                (b) of this section.                                  section.
                                            the facility’s operating record:                           (7) Documentation detailing the                       (3) The groundwater monitoring
                                               (1) The CCR fugitive dust control                    corrective measures taken to remedy the               system certification as required by
                                            plan, and any subsequent amendment of                   deficiency or release as required by                  § 257.91(f), except each certification
                                            the plan, required by § 257.80(b), except               §§ 257.83(b)(5) and 257.84(b)(5), except              must be maintained for five years after
                                            each fugitive dust control plan must be                 each document must be maintained for                  completion of closure by removal in
                                            maintained for five years after closure                 five years after completion of closure by             accordance with § 257.102(c)(1) or
                                            by removal in accordance with                           removal in accordance with                            completion of post-closure care in
                                            § 257.102(c)(1) or (2) or completes post-               § 257.102(c)(1) or (2) or until completion            accordance with § 257.104(e)
                                            closure care in accordance with                         of post-closure care in accordance with               irrespective of the time requirement
                                            § 257.104(e) or (g) is completed at the                 § 257.104(e) or (g) irrespective of the               specified in paragraph (b) of this
                                            last CCR unit at the facility irrespective              time requirement specified in paragraph               section.
                                            of the time requirement specified in                    (b) of this section.                                     (4) The selection of a statistical
                                            paragraph (b) of this section.                             (8) Documentation recording the                    method certification as required by
                                               (2) The annual CCR fugitive dust                     results of the weekly inspection by a                 § 257.93(f)(6), except each certification
                                            control report required by § 257.80(c),                 qualified person as required by                       must be maintained for five years after
                                            except each fugitive dust control report                § 257.84(a), except each inspection                   completion of closure by removal in
                                            must be maintained for five years after                 report must be maintained for five years              accordance with § 257.102(c)(1) or
                                            closure by removal in accordance with                   after completion of closure by removal                completion of post-closure care in
                                            § 257.102(c)(1) or (2) or post-closure                  in accordance with § 257.102(c)(1) or (2)             accordance with § 257.104(e)
                                            care in accordance with § 257.104(e) or                 or until completion of post-closure care              irrespective of the time requirement
                                            (g) is completed at the last CCR unit at                in accordance with § 257.104(e) or (g)                specified in paragraph (b) of this
                                            the facility irrespective of the time                   irrespective of the time requirement                  section.
                                            requirement specified in paragraph (b)                                                                           (5) Within 30 days of establishing an
                                                                                                    specified in paragraph (b) of this
                                            of this section.                                                                                              assessment monitoring program, the
                                                                                                    section.
                                               (3) The initial and periodic run-on                                                                        notification as required by
                                            and run-off control system plans as                        (9) The periodic inspection report as
                                                                                                    required by § 257.84(b)(2), except each               § 257.94(e)(3).
                                            required by § 257.81(c), except each                                                                             (6) The results of appendices III and
                                            plan must be maintained for five years                  inspection report must be maintained
                                                                                                                                                          IV to this part constituent
                                            after completion of closure by removal                  for five years after completion of closure
                                                                                                                                                          concentrations measured as required by
                                            in accordance with § 257.102(c)(1) or (2)               by removal in accordance with
                                                                                                                                                          § 257.95(d)(1).
                                            or until completion of post-closure care                § 257.102(c)(1) or (2) or until completion               (7) Within 30 days of returning to a
                                            in accordance with § 257.104(e) or (g)                  of post-closure care in accordance with               detection monitoring program, the
                                            irrespective of the time requirement                    § 257.104(e) or (g) irrespective of the               notification as required by § 257.95(e).
                                            specified in paragraph (b) of this                      time requirement specified in paragraph                  (8) Within 30 days of detecting one or
                                            section.                                                (b) of this section.                                  more constituents in appendix IV to this
                                               (4) The initial and periodic inflow                     (h) Groundwater monitoring and                     part at statistically significant levels
                                            design flood control system plan as                     corrective action. The owner or operator              above the groundwater protection
                                            required by § 257.82(c), except each                    of a CCR unit subject to this subpart                 standard, the notifications as required
                                            plan must be maintained for five years                  must place the following information, as              by § 257.95(g).
                                            after completion of closure by removal                  it becomes available, in the facility’s                  (9) Within 30 days of initiating the
                                            in accordance with § 257.102(c)(1) or (2)               operating record:                                     assessment of corrective measures
                                            or until completion of post-closure care                   (1) The annual groundwater                         requirements, the notification as
                                            in accordance with § 257.104(e) or (g)                  monitoring and corrective action report               required by § 257.95(g)(5).
                                            irrespective of the time requirement                    as required by § 257.90(e), except each                  (10) The completed assessment of
                                            specified in paragraph (b) of this                      annual groundwater monitoring and                     corrective measures as required by
                                            section.                                                corrective action report must be                      § 257.96(d), except each certification
                                               (5) Documentation recording the                      maintained for five years after the last              must be maintained for five years after
                                            results of each inspection and                          CCR unit at the facility either completes             completion of closure by removal in
                                            instrumentation monitoring by a                         closure by removal in accordance with                 accordance with § 257.102(c)(1) or
                                            qualified person as required by                         § 257.102(c)(1) or completes post-                    completion of post-closure care in
                                            § 257.83(a), except each document must                  closure care in accordance with                       accordance with § 257.104(e)
                                            be maintained for five years after                      § 257.104(e) irrespective of the time                 irrespective of the time requirement
                                            completion of closure by removal in                     requirement specified in paragraph (b)                specified in paragraph (b) of this
                                            accordance with § 257.102(c)(1) or (2) or               of this section.                                      section.
                                            until completion of post-closure care in                   (2) Documentation of the design,                      (11) Documentation prepared by the
                                            accordance with § 257.104(e) or (g)                     installation, development, and                        owner or operator recording the public
                                            irrespective of the time requirement                    decommissioning of any monitoring                     meeting for the corrective measures
                                            specified in paragraph (b) of this                      wells, piezometers and other                          assessment as required by § 257.96(e),
                                            section.                                                measurement, sampling, and analytical                 except each certification must be
                                               (6) The periodic inspection report as                devices as required by § 257.91(e)(1),                maintained for five years after
                                            required by § 257.83(b)(2), except each                 except each document must be                          completion of closure by removal in
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                                            inspection report must be maintained                    maintained for five years after                       accordance with § 257.102(c)(1) or
                                            for five years after completion of closure              completion of closure by removal in                   completion of post-closure care in
                                            by removal in accordance with                           accordance with § 257.102(c)(1) or                    accordance with § 257.104(e)
                                            § 257.102(c)(1) or (2) or until completion              completion of post-closure care in                    irrespective of the time requirement
                                            of post-closure care in accordance with                 accordance with § 257.104(e)                          specified in paragraph (b) of this
                                            § 257.104(e) or (g) irrespective of the                 irrespective of the time requirement                  section.


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                                               (12) The semiannual report describing                accordance with § 257.102(c) or (d)                      (14) The notification of intent to
                                            the progress in selecting and designing                 irrespective of the time requirement                  comply with the site-specific alternative
                                            the remedy and the selection of remedy                  specified in paragraph (b) of this                    to initiation of closure due to
                                            report as required by § 257.97(a), except               section.                                              development of alternative capacity
                                            that the selection of remedy report must                   (7) The notification of intent to close            infeasible as required by
                                            be maintained until the remedy has                      a CCR unit as required by § 257.102(g),               § 257.103(f)(1)(ix)(A), except each
                                            been completed.                                         except each notification must be                      notification must be maintained for five
                                               (13) Within 30 days of completing the                maintained for five years after                       years after completion of closure by
                                            remedy, the notification as required by                 completion of closure in accordance                   removal in accordance with
                                            § 257.98(e), except each notification                   with § 257.102(c) or (d) irrespective of              § 257.102(c)(1) or (2) or until completion
                                            must be maintained for five years after                 the time requirement specified in                     of post-closure care in accordance with
                                            completion of the remedy selected                       paragraph (b) of this section.                        § 257.104(e) or (g) irrespective of the
                                            pursuant to § 257.97 irrespective of the                   (8) The notification of completion of              time requirement specified in paragraph
                                            time requirement specified in paragraph                 closure of a CCR unit as required by                  (b) of this section.
                                            (b) of this section.                                    § 257.102(h), except each notification                   (15) The approved or denied
                                               (14) The demonstration, including                    must be maintained for five years after               demonstration for the site-specific
                                            long-term performance data, supporting                  completion of closure by removal in                   alternative to initiation of closure due to
                                            the suspension of groundwater                           accordance with § 257.102(c)(1) or                    development of alternative capacity
                                            monitoring requirements as required by                  completion of post-closure care in                    infeasible as required by
                                            § 257.90(g), except each document must                  accordance with § 257.104(e)                          § 257.103(f)(1)(ix)(B), except each
                                            be maintained for five years after the                  irrespective of the time requirement                  approval or denial must be maintained
                                            last unit at the facility completes post-               specified in paragraph (b) of this                    for five years after completion of closure
                                            closure care in accordance with                         section.                                              by removal in accordance with
                                            § 257.104(e) irrespective of the time                      (9) The notification recording a
                                                                                                                                                          § 257.102(c)(1) or (2) or until completion
                                            requirement specified in paragraph (b)                  notation on the deed as required by
                                                                                                                                                          of post-closure care in accordance with
                                            of this section.                                        § 257.102(i), except each notification
                                                                                                                                                          § 257.104(e) or (g) irrespective of the
                                               (i) Closure and post-closure care. The               must be maintained for five years after
                                                                                                                                                          time requirement specified in paragraph
                                            owner or operator of a CCR unit subject                 completion of post-closure care in
                                                                                                                                                          (b) of this section.
                                            to this subpart must place the following                accordance with § 257.104(e)
                                                                                                    irrespective of the time requirement                     (16) The notification for requesting
                                            information, as it becomes available, in                                                                      additional time to the alternative cease
                                            the facility’s operating record:                        specified in paragraph (b) of this
                                                                                                    section.                                              receipt of waste deadline as required by
                                               (1) The notification of intent to
                                                                                                       (10) The notification of intent to                 § 257.103(f)(1)(ix)(C), except each
                                            initiate closure of the CCR unit as
                                                                                                    comply with the alternative closure                   notification must be maintained for five
                                            required by § 257.100(c)(1).
                                               (2) The annual progress reports of                   requirements as required by                           years after completion of closure by
                                            closure implementation as required by                   § 257.103(c)(1), except each notification             removal in accordance with
                                            § 257.100(c)(2)(i) and (ii).                            must be maintained for five years after               § 257.102(c)(1) or (2) or until completion
                                               (3) The notification of closure                      completion of closure in accordance                   of post-closure care in accordance with
                                            completion as required by                               with § 257.102(c) or (d) irrespective of              § 257.104(e) or (g) irrespective of the
                                            § 257.100(c)(3).                                        the time requirement specified in                     time requirement specified in paragraph
                                               (4) The written closure plan, and any                paragraph (b) of this section.                        (b) of this section.
                                            amendment of the plan, as required by                      (11) The annual progress reports                      (17) The semi-annual progress reports
                                            § 257.102(b), except that only the most                 under the alternative closure                         for the site-specific alternative to
                                            recent closure plan must be maintained                  requirements as required by                           initiation of closure due to development
                                            for five years after completion of closure              § 257.103(c)(2), except each report must              of alternative capacity being infeasible
                                            by removal in accordance with                           be maintained for five years after                    as required by § 257.103(f)(1)(xi), except
                                            § 257.102(c)(1) or completion of post-                  completion of closure in accordance                   each semi-annual progress report must
                                            closure care in accordance with                         with § 257.102(c) or (d) irrespective of              be maintained for five years after
                                            § 257.104(e) irrespective of the time                   the time requirement specified in                     completion of closure by removal in
                                            requirement specified in paragraph (b)                  paragraph (b) of this section.                        accordance with § 257.102(c)(1) or (2) or
                                            of this section.                                           (12) The written post-closure plan,                until completion of post-closure care in
                                               (5) The written demonstration(s),                    and any amendment of the plan, as                     accordance with § 257.104(e) or (g)
                                            including the certification required by                 required by § 257.104(d), except that                 irrespective of the time requirement
                                            § 257.102(e)(2)(iii), for a time extension              only the most recent post-closure plan                specified in paragraph (b) of this
                                            for initiating closure as required by                   must be maintained for five years after               section.
                                            § 257.102(e)(2)(ii), except each                        completion of post-closure care in                       (18) The notification of intent to
                                            demonstration must be maintained until                  accordance with § 257.104(e)                          comply with the site-specific alternative
                                            notice of completion of closure is placed               irrespective of the time requirement                  to initiation of closure due to permanent
                                            in the operating record in accordance                   specified in paragraph (b) of this                    cessation of a coal-fired boiler(s) by a
                                            with § 257.102(h) irrespective of the                   section.                                              date certain as required by
                                            time requirement specified in paragraph                    (13) The notification of completion of             § 257.103(f)(2)(viii), except each
                                            (b) of this section.                                    post-closure care period as required by               notification must be maintained for five
                                               (6) The written demonstration(s),                    § 257.104(e), except each notification                years after completion of closure by
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                                            including the certification required by                 must be maintained for five years after               removal in accordance with
                                            § 257.102(f)(2)(iii), for a time extension              completion of post-closure care in                    § 257.102(c)(1) or (2) or until completion
                                            for completing closure as required by                   accordance with § 257.104(e)                          of post-closure care in accordance with
                                            § 257.102(f)(2)(i), except each                         irrespective of the time requirement                  § 257.104(e) or (g) irrespective of the
                                            demonstration must be maintained for                    specified in paragraph (b) of this                    time requirement specified in paragraph
                                            five years after completion of closure in               section.                                              (b) of this section.


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                                               (19) The approved or denied                          specified in paragraph (b) of this                    report part 2 as specified by
                                            demonstration for the site-specific                     section.                                              § 257.105(f)(26).
                                            alternative to initiation of closure due to               (4) The notification of intent to certify           *      *    *     *     *
                                            permanent cessation of a coal-fired                     closure required by § 257.100(h)(1)(i),                  (k) Legacy CCR surface
                                            boiler(s) by a date certain as required by              except the notification must be                       impoundments. In addition to the
                                            § 257.103(f)(2)(ix), except each                        maintained for five years after                       information specified in paragraphs (e)
                                            demonstration must be maintained for                    completion of closure by removal in                   through (j) of this section, the owner or
                                            five years after completion of closure by               accordance with § 257.100(h)(1) or                    operator of a legacy CCR surface
                                            removal in accordance with                              § 257.102(c)(2) irrespective of the time              impoundment subject to this subpart
                                            § 257.102(c)(1) or (2) or until completion              requirement specified in paragraph (b)                must notify the State Director and/or
                                            of post-closure care in accordance with                 of this section.                                      appropriate Tribal authority when
                                            § 257.104(e) or (g) irrespective of the                 ■ 23. Amend § 257.106 by:
                                                                                                                                                          information has been placed in the
                                            time requirement specified in paragraph                                                                       operating record and on the owner or
                                                                                                    ■ a. Revising paragraphs (a), (b), (c), and
                                            (b) of this section.                                                                                          operator’s publicly accessible internet
                                                                                                    (d);
                                               (20) The annual progress report for                                                                        site. The owner or operator must:
                                                                                                    ■ b. Adding paragraphs (f)(24) and (25)                  (1) Provide notification of the
                                            the site-specific alternative to initiation
                                                                                                    and (k).                                              availability of the applicability
                                            of closure due to permanent cessation of
                                            a coal-fired boiler(s) by a date certain as               The revisions and additions read as                 documentation as specified under
                                            required by § 257.103(f)(2)(x), except                  follows:                                              § 257.105(k)(1).
                                            each annual progress report must be                                                                              (2) Provide notification of the
                                                                                                    § 257.106    Notification requirements.
                                            maintained for five years after                                                                               availability of the applicability
                                                                                                       (a) Deadline to submit notification to             extension report as specified under
                                            completion of closure by removal in
                                                                                                    the relevant State Director and/or                    § 257.105(k)(2).
                                            accordance with § 257.102(c)(1) or (2) or
                                                                                                    appropriate Tribal authority. The                        (3) Provide notification of the
                                            until completion of post-closure care in
                                                                                                    notifications required under paragraphs               availability of the notification as
                                            accordance with § 257.104(e) or (g)
                                                                                                    (e) through (i) of this section must be               specified under § 257.105(k)(3).
                                            irrespective of the time requirement
                                                                                                    sent to the relevant State Director and/                 (4) Provide notification of the
                                            specified in paragraph (b) of this
                                                                                                    or appropriate Tribal authority before                availability of the intent to certify
                                            section.
                                                                                                    the close of business on the day the                  closure by removal certification as
                                               (k) Legacy CCR surface                               notification is required to be completed.             specified under § 257.105(k)(4).
                                            impoundments. In addition to the                        For purposes of this section, before the              ■ 24. Revise and republish § 257.107 to
                                            information specified in paragraphs (e)                 close of business means the notification
                                            through (j) of this section, the owner or                                                                     read as follows:
                                                                                                    must be postmarked or sent by
                                            operator of a legacy CCR surface                        electronic mail (email). If a notification            § 257.107 Publicly accessible internet site
                                            impoundment subject to this subpart                     deadline falls on a weekend or federal                requirements.
                                            must place the following information, as                holiday, the notification deadline is                    (a) CCR website requirement. Each
                                            it becomes available, in the facility’s                 automatically extended to the next                    owner or operator of a CCR unit subject
                                            operating record:                                       business day.                                         to the requirements of this subpart must
                                               (1) The applicability report required                                                                      maintain a publicly accessible internet
                                                                                                       (b) Notifications to Tribal authority. If
                                            by § 257.100(f)(1), including the                                                                             site (CCR website) containing the
                                                                                                    any CCR unit is located in its entirety
                                            certification required by                                                                                     information specified in this section.
                                                                                                    within Indian Country, the notifications
                                            § 257.100(f)(1)(i), except each report                                                                        The owner or operator’s website must be
                                                                                                    of this section must be sent to the
                                            must be maintained for five years after                                                                       titled ‘‘CCR Rule Compliance Data and
                                                                                                    appropriate Tribal authority. If any CCR
                                            completion of closure by removal in                                                                           Information.’’ The website must ensure
                                                                                                    unit is located in part within Indian
                                            accordance with § 257.102(c) or until                                                                         that all information required to be
                                                                                                    Country, the notifications of this section
                                            completion of post-closure care in                                                                            posted is immediately available to
                                                                                                    must be sent both to the appropriate
                                            accordance with § 257.104(e) or (g)                                                                           anyone visiting the site, without
                                                                                                    State Director and Tribal authority.
                                            irrespective of the time requirement                                                                          requiring any prerequisite, such as
                                            specified in paragraph (b) of this                         (c) Combining notifications.
                                                                                                    Notifications may be combined as long                 registration or a requirement to submit
                                            section.                                                                                                      a document request. All required
                                                                                                    as the deadline requirement for each
                                               (2) The applicability extension reports                                                                    information must be clearly identifiable
                                                                                                    notification is met.
                                            required by § 257.100(f)(1)(iii)(C), except                                                                   and must be able to be immediately
                                            each report must be maintained for five                    (d) Notification deadline after
                                                                                                                                                          printed and downloaded by anyone
                                            years after completion of closure by                    placement in operating record. Unless
                                                                                                                                                          accessing the site. If the owner/operator
                                            removal in accordance with § 257.102(c)                 otherwise required in this section, the
                                                                                                                                                          changes the web address (i.e., Uniform
                                            or until completion of post-closure care                notifications specified in this section
                                                                                                                                                          Resource Locator (URL)) at any point,
                                            in accordance with § 257.104(e) or (g)                  must be sent to the State Director and/
                                                                                                                                                          they must notify EPA via the ‘‘contact
                                            irrespective of the time requirement                    or appropriate Tribal authority within
                                                                                                                                                          us’’ form on EPA’s CCR website and the
                                            specified in paragraph (b) of this                      30 days of placing in the operating
                                                                                                                                                          state director within 14 days of making
                                            section.                                                record the information required by
                                                                                                                                                          the change. The facility’s CCR website
                                               (3) The notification of field                        § 257.105.
                                                                                                                                                          must also have a ‘‘contact us’’ form or
                                            investigation conclusion required by                    *      *     *    *      *                            a specific email address posted on the
                                            § 257.100(f)(1)(iii)(F), except the                        (f) * * *                                          website for the public to use to submit
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                                            notification must be maintained for five                   (24) Provide notification of the                   questions and issues relating to the
                                            years after completion of closure by                    availability of the facility evaluation               availability of information on the
                                            removal in accordance with § 257.102(c)                 report part 1 as specified by                         website.
                                            or until completion of post-closure care                § 257.105(f)(25).                                        (b) CCR website for multiple CCR
                                            in accordance with § 257.104(e) or (g)                     (25) Provide notification of the                   units or combined websites for multiple
                                            irrespective of the time requirement                    availability of the facility evaluation               regulatory programs.


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                                               (1) An owner or operator of more than                certification must be posted for five                 irrespective of the time requirement
                                            one CCR unit subject to the provisions                  years after completion of closure by                  specified in paragraph (c) of this
                                            of this subpart may comply with the                     removal in accordance with § 257.102(c)               section.
                                            requirements of this section by using the               or until completion of post-closure care                 (9) The initial and periodic structural
                                            same internet site for multiple CCR                     in accordance with § 257.104(e) or (g),               stability assessments specified under
                                            units provided the CCR website clearly                  or until the liner is removed irrespective            § 257.105(f)(10), except only the two
                                            delineates information by the name or                   of the time requirement specified in                  most recent structural stability
                                            identification number of each unit.                     paragraph (c) of this section, whichever              assessments must be posted for five
                                               (2) An owner or operator may                         is later.                                             years after completion of closure by
                                            maintain one website combining the                         (3) The documentation of liner type                removal in accordance with § 257.102(c)
                                            postings required under this subpart                    specified under § 257.105(f)(2), except               or until completion of post-closure care
                                            with the postings required by other                     each document must be posted for five                 in accordance with § 257.104(e) or (g)
                                            regulatory programs (e.g., the ‘‘ELG Rule               years after completion of closure by                  irrespective of the time requirement
                                            Compliance Data and Information’’                       removal in accordance with § 257.102(c)               specified in paragraph (c) of this
                                            website required pursuant to § 423.19 of                or until completion of post-closure care              section.
                                            this chapter), provided the postings                    in accordance with § 257.104(e) or (g),                  (10) The documentation detailing the
                                            required for each regulatory program are                or until the liner is removed irrespective            corrective measures taken to remedy the
                                            delineated under a separate heading on                  of the time requirement specified in                  deficiency or release specified under
                                            the website.                                            paragraph (c) of this section, whichever              § 257.105(f)(11), except each document
                                               (c) Document retention on a CCR                      is later.                                             must be posted for five years after
                                            website. Unless otherwise required in                      (4) The initial and periodic hazard                completion of closure by removal in
                                            this section, the information required to               potential classification assessments                  accordance with § 257.102(c) or until
                                            be posted to the CCR website must be                    specified under § 257.105(f)(5), except               completion of post-closure care in
                                            made available to the public for at least               only the two most recent hazard                       accordance with § 257.104(e) or (g)
                                            five years following the date on which                  potential classification assessments                  irrespective of the time requirement
                                            the information was first posted to the                 must be posted for five years after                   specified in paragraph (c) of this
                                            CCR website.                                            completion of closure by removal in
                                                                                                                                                          section.
                                               (d) Website posting deadline after                   accordance with § 257.102(c) or until
                                            placement in operating record. Unless                                                                            (11) The initial and periodic safety
                                                                                                    completion of post-closure care in
                                            otherwise required in this section, the                                                                       factor assessments specified under
                                                                                                    accordance with § 257.104(e) or (g)
                                            information must be posted to the CCR                                                                         § 257.105(f)(12), except only the two
                                                                                                    irrespective of the time requirement
                                            website within 30 days of placing the                                                                         most recent safety factor assessments
                                                                                                    specified in paragraph (c) of this
                                            pertinent information required by                                                                             must be posted for five years after
                                                                                                    section.
                                            § 257.105 in the operating record.                         (5) The emergency action plan (EAP)                completion of closure by removal in
                                               (e) Location restrictions. The owner or              specified under § 257.105(f)(6), except               accordance with § 257.102(c) or until
                                            operator of a CCR unit subject to this                  that only the most recent EAP must be                 completion of post-closure care in
                                            subpart must place each demonstration                   maintained on the CCR website                         accordance with § 257.104(e) or (g)
                                            specified under § 257.105(e) on the                     irrespective of the time requirement                  irrespective of the time requirement
                                            owner or operator’s CCR website except                  specified in paragraph (c) of this                    specified in paragraph (c) of this
                                            each location restrictions demonstration                section.                                              section.
                                            must be posted for five years after                        (6) Documentation prepared by the                     (12) The design and construction
                                            completion of closure by removal in                     owner or operator recording the annual                plans, and any revisions of them,
                                            accordance with § 257.102(c) or until                   face-to-face meeting or exercise between              specified under § 257.105(f)(13), except
                                            completion of post-closure care in                      representatives of the owner or operator              each plan must be posted for five years
                                            accordance with § 257.104(e)                            of the CCR unit and the local emergency               after completion of closure by removal
                                            irrespective of the time requirement                    responders specified under                            in accordance with § 257.102(c) or until
                                            specified in paragraph (c) of this                      § 257.105(f)(7), except only the most                 completion of post-closure care in
                                            section.                                                recent documentation must be posted                   accordance with § 257.104(e) or (g)
                                               (f) Design criteria. The owner or                    on the CCR website irrespective of the                irrespective of the time requirement
                                            operator of a CCR unit subject to this                  time requirement specified in paragraph               specified in paragraph (c) of this
                                            subpart must place the following                        (c) of this section.                                  section.
                                            information on the owner or operator’s                     (7) Documentation prepared by the                     (13) The application and any
                                            CCR website:                                            owner or operator recording any                       supplemental materials submitted in
                                               (1) Within 60 days of commencing                     activation of the emergency action plan               support of the application specified
                                            construction of a new unit, the design                  specified under § 257.105(f)(8); if no                under § 257.105(f)(14), except each
                                            certification specified under                           activation in the last five years,                    application must be posted for five years
                                            § 257.105(f)(1) or (3), except each                     documentation that includes that                      after completion of closure by removal
                                            certification must be posted for five                   information irrespective of the time                  in accordance with § 257.102(c) or until
                                            years after completion of closure by                    requirement specified in paragraph (c)                completion of post-closure care in
                                            removal in accordance with § 257.102(c)                 of this section.                                      accordance with § 257.104(e) or (g)
                                            or until completion of post-closure care                   (8) The history of construction, and               irrespective of the time requirement
                                            in accordance with § 257.104(e) or (g)                  any revisions of it, specified under                  specified in paragraph (c) of this
                                            irrespective of the time requirement                    § 257.105(f)(9), except the history of                section.
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                                            specified in paragraph (c) of this                      constructions, and any revisions of it,                  (14) The alternative liner
                                            section.                                                must be posted for five years after                   demonstration specified under
                                               (2) No later than the date of initial                completion of closure by removal in                   § 257.105(f)(15).
                                            receipt of CCR by a new CCR unit, the                   accordance with § 257.102(c) or until                    (15) The alternative liner
                                            construction certification specified                    completion of post-closure care in                    demonstration specified under
                                            under § 257.105(f)(1) or (3), except each               accordance with § 257.104(e) or (g)                   § 257.105(f)(16).


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                                               (16) The documentation prepared for                  irrespective of the time requirement                  be posted for five years after completion
                                            the preliminary demonstration specified                 specified in paragraph (c) of this                    of closure by removal in accordance
                                            under § 257.105(f)(17).                                 section.                                              with § 257.102(c) or until completion of
                                               (17) The notification of an incomplete                  (2) The annual CCR fugitive dust                   post-closure care in accordance with
                                            application specified under                             control report specified under                        § 257.104(e) or (g) irrespective of the
                                            § 257.105(f)(18).                                       § 257.105(g)(2). Each report must be                  time requirement specified in paragraph
                                               (18) The decision on the application                 posted for the duration specified in                  (c) of this section.
                                            specified under § 257.105(f)(19), except                paragraph (c) of this section, except that               (h) Groundwater monitoring and
                                            each decision must be posted for five                   the final report must be posted for five              corrective action. The owner or operator
                                            years after completion of closure by                    years after completion of closure by                  of a CCR unit subject to this subpart
                                            removal in accordance with § 257.102(c)                 removal in accordance with § 257.102(c)               must place the following information on
                                            or until completion of post-closure care                or until completion of post-closure care              the owner or operator’s CCR website:
                                            in accordance with § 257.104(e) or (g)                  in accordance with § 257.104(e) or (g)                   (1) The annual groundwater
                                            irrespective of the time requirement                    irrespective of the time requirement                  monitoring and corrective action report
                                            specified in paragraph (c) of this                      specified in paragraph (c) of this                    specified under § 257.105(h)(1). Each
                                            section.                                                section.                                              report must be posted for the duration
                                               (19) The final decision on the                          (3) The initial and periodic run-on                specified in paragraph (c) of this
                                            alternative liner demonstration                         and run-off control system plans                      section, except that the final report must
                                            specified under § 257.105(f)(20).                       specified under § 257.105(g)(3), except               be posted for five years after completion
                                               (20) The alternative source                          each plan must be posted for five years               of closure by removal in accordance
                                            demonstration specified under                           after completion of closure by removal                with § 257.102(c) or until completion of
                                            § 257.105(f)(21).                                       in accordance with § 257.102(c) or until              post-closure care in accordance with
                                               (21) The final decision on the                       completion of post-closure care in                    § 257.104(e) or (g) irrespective of the
                                            alternative source demonstration                        accordance with § 257.104(e) or (g)                   time requirement specified in paragraph
                                            specified under § 257.105(f)(22).                       irrespective of the time requirement                  (c) of this section.
                                               (22) The final decision on the trend                 specified in paragraph (c) of this                       (2) The groundwater monitoring
                                            analysis specified under                                section.                                              system certification specified under
                                            § 257.105(f)(23).                                          (4) The initial and periodic inflow                § 257.105(h)(3), except each certification
                                               (23) The decision that the alternative               design flood control system plans                     must be posted for five years after
                                            source demonstration has been                           specified under § 257.105(g)(4), except               completion of closure by removal in
                                            withdrawn specified under                               each plan must be posted for five years               accordance with § 257.102(c) or until
                                            § 257.105(f)(24).                                       after completion of closure by removal                completion of post-closure care in
                                               (24) The facility evaluation report part             in accordance with § 257.102(c) or until              accordance with § 257.104(e) or (g)
                                            1 as specified under § 257.105(f)(25),                  completion of post-closure care in                    irrespective of the time requirement
                                            except each report must be posted for                   accordance with § 257.104(e) or (g)                   specified in paragraph (c) of this
                                            five years after completion of closure by               irrespective of the time requirement                  section.
                                            removal in accordance with § 257.102(c)                 specified in paragraph (c) of this                       (3) The selection of a statistical
                                            or until completion of post-closure care                section.                                              method certification specified under
                                            in accordance with § 257.104(e) or (g)                     (5) The periodic inspection reports                § 257.105(h)(4), except each certification
                                            irrespective of the time requirement                    specified under § 257.105(g)(6). Each                 must be posted for five years after
                                            specified in paragraph (c) of this                      report must be posted for the duration                completion of closure by removal in
                                            section.                                                specified in paragraph (c) of this                    accordance with § 257.102(c) or until
                                               (25) The facility evaluation report part             section, except that the final report must            completion of post-closure care in
                                            2 as specified under § 257.105(f)(26),                  be posted for five years after completion             accordance with § 257.104(e) or (g)
                                            except each report must be posted for                   of closure by removal in accordance                   irrespective of the time requirement
                                            five years after completion of closure by               with § 257.102(c) or until completion of              specified in paragraph (c) of this
                                            removal in accordance with § 257.102(c)                 post-closure care in accordance with                  section.
                                            or until completion of post-closure care                § 257.104(e) or (g) irrespective of the                  (4) The notification that an
                                            in accordance with § 257.104(e) or (g)                  time requirement specified in paragraph               assessment monitoring programs has
                                            irrespective of the time requirement                    (c) of this section.                                  been established specified under
                                            specified in paragraph (c) of this                         (6) The documentation detailing the                § 257.105(h)(5).
                                            section.                                                corrective measures taken to remedy the                  (5) The notification that the CCR unit
                                               (g) Operating criteria. The owner or                 deficiency or release specified under                 is returning to a detection monitoring
                                            operator of a CCR unit subject to this                  § 257.105(g)(7). Each report must be                  program specified under § 257.105(h)(7).
                                            subpart must place the following                        posted for the duration specified in                     (6) The notification that one or more
                                            information on the owner or operator’s                  paragraph (c) of this section, except that            constituents in appendix IV to this part
                                            CCR website:                                            the final documentation must be posted                have been detected at statistically
                                               (1) The CCR fugitive dust control                    for five years after completion of closure            significant levels above the groundwater
                                            plan, or any subsequent amendment of                    by removal in accordance with                         protection standard and the
                                            the plan, specified under § 257.105(g)(1)               § 257.102(c) or until completion of post-             notifications to land owners specified
                                            except that only the most recent plan                   closure care in accordance with                       under § 257.105(h)(8).
                                            must be maintained on the CCR website                   § 257.104(e) or (g) irrespective of the                  (7) The notification that an
                                            irrespective of the time requirement                    time requirement specified in paragraph               assessment of corrective measures has
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                                            specified in paragraph (c) of this section              (c) of this section.                                  been initiated specified under
                                            until the last CCR unit at the facility                    (7) The periodic inspection reports                § 257.105(h)(9).
                                            completes closure by removal in                         specified under § 257.105(g)(9). Each                    (8) The assessment of corrective
                                            accordance with § 257.102(c) or                         report must be posted for the duration                measures specified under
                                            completes post-closure care in                          specified in paragraph (c) of this                    § 257.105(h)(10), except each
                                            accordance with § 257.104(e) or (g)                     section, except that the final report must            assessment must be posted for five years


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                                            after completion of closure by removal                  in the operating record in accordance                    (13) The notification of completion of
                                            in accordance with § 257.102(c) or until                with § 257.102(h) irrespective of the                 post-closure care specified under
                                            completion of post-closure care in                      time requirement specified in paragraph               § 257.105(i)(13), except that only the
                                            accordance with § 257.104(e) or (g)                     (c) of this section.                                  most recent post-closure plan must be
                                            irrespective of the time requirement                       (6) The demonstration(s) for a time                maintained for five years after
                                            specified in paragraph (c) of this                      extension for completing closure                      completion of post-closure care in
                                            section.                                                specified under § 257.105(i)(6), except               accordance with § 257.104(e)
                                               (9) The semiannual reports describing                each demonstration must be posted for                 irrespective of the time requirement
                                            the progress in selecting and designing                 five years after completion of closure in             specified in paragraph (c) of this
                                            remedy and the selection of remedy                      accordance with § 257.102(c) or (d)                   section.
                                            report specified under § 257.105(h)(12),                irrespective of the time requirement                     (14) The notification of intent to
                                            except that the selection of the remedy                 specified in paragraph (c) of this                    comply with the site-specific alternative
                                            report must be maintained until the                     section.                                              to initiation of closure due to
                                            remedy has been completed.                                 (7) The notification of intent to close            development of alternative capacity
                                               (10) The notification that the remedy                a CCR unit specified under                            infeasible as specified under
                                            has been completed specified under                      § 257.105(i)(7), except each notification             § 257.105(i)(14), except each notification
                                            § 257.105(h)(13), except each                           must be posted for five years after                   must be posted for five years after
                                            notification must be posted for five                    completion of closure in accordance                   completion of closure by removal in
                                            years after completion of the remedy                    with § 257.102(c) or (d) irrespective of              accordance with § 257.102(c)(1) or
                                            selected pursuant to in § 257.97                        the time requirement specified in                     completion of post-closure care in
                                            irrespective of the time requirement                    paragraph (c) of this section.                        accordance with § 257.104(e)
                                            specified in paragraph (c) of this                         (8) The notification of completion of              irrespective of the time requirement
                                            section.                                                closure of a CCR unit specified under                 specified in paragraph (c) of this
                                               (11) The demonstration supporting                    § 257.105(i)(8), except each notification             section.
                                            the suspension of groundwater                           must be posted for five years after                      (15) The approved or denied
                                            monitoring requirements specified                       completion of closure by removal in                   demonstration for the site-specific
                                            under § 257.105(h)(14), except each                     accordance with § 257.102(c)(1) or                    alternative to initiation of closure due to
                                            demonstration must be posted for five                   completion of post-closure care in                    development of alternative capacity
                                            years after completion of closure by                    accordance with § 257.104(e)                          infeasible as required by as specified
                                            removal in accordance with § 257.102(c)                 irrespective of the time requirement                  under § 257.105(i)(15), except each
                                            or until completion of post-closure care                specified in paragraph (c) of this                    approval or denial must be maintained
                                            in accordance with § 257.104(e) or (g)                  section.                                              for five years after completion of closure
                                            irrespective of the time requirement                       (9) The notification recording a                   by removal in accordance with
                                            specified in paragraph (c) of this                      notation on the deed as required by                   § 257.102(c) or until completion of post-
                                            section.                                                § 257.105(i)(9), except each notification             closure care in accordance with
                                               (i) Closure and post-closure care. The               must be posted for five years after                   § 257.104(e) or (g) irrespective of the
                                            owner or operator of a CCR unit subject                 completion of post-closure care in                    time requirement specified in paragraph
                                            to this subpart must place the following                accordance with § 257.104(e)                          (c) of this section.
                                            information on the owner or operator’s                  irrespective of the time requirement                     (16) The notification for requesting
                                            CCR website:                                            specified in paragraph (c) of this                    additional time to the alternative cease
                                               (1) The notification of intent to                    section.                                              receipt of waste deadline as required by
                                            initiate closure of the CCR unit specified                 (10) The notification of intent to                 § 257.105(i)(16), except the notification
                                            under § 257.105(i)(1).                                  comply with the alternative closure                   must be maintained for five years after
                                               (2) The annual progress reports of                   requirements as required by                           completion of closure by removal in
                                            closure implementation specified under                  § 257.105(i)(10), except the notification             accordance with § 257.102(c) or until
                                            § 257.105(i)(2).                                        must be posted for five years after                   completion of post-closure care in
                                               (3) The notification of closure                      completion of closure in accordance                   accordance with § 257.104(e) or (g)
                                            completion specified under                              with § 257.102(c) or (d) irrespective of              irrespective of the time requirement
                                            § 257.105(i)(3).                                        the time requirement specified in                     specified in paragraph (c) of this
                                               (4) The written closure plan, and any                paragraph (c) of this section.                        section.
                                            amendment of the plan, specified under                     (11) The annual progress reports                      (17) The semi-annual progress reports
                                            § 257.105(i)(4), except that only the                   under the alternative closure                         for the site-specific alternative to
                                            most recent closure plan must be posted                 requirements as required by                           initiation of closure due to development
                                            on the CCR website irrespective of the                  § 257.105(i)(11), except the notification             of alternative capacity infeasible as
                                            time requirement specified in paragraph                 must be posted for five years after                   specified under § 257.105(i)(17), except
                                            (c) of this section and each closure plan               completion of closure in accordance                   the progress report must be maintained
                                            must be maintained for five years after                 with § 257.102(c) or (d) irrespective of              for five years after completion of closure
                                            completion of closure by removal in                     the time requirement specified in                     by removal in accordance with
                                            accordance with § 257.102(c)(1) or                      paragraph (c) of this section.                        § 257.102(c) or until completion of post-
                                            completion of post-closure care in                         (12) The written post-closure plan,                closure care in accordance with
                                            accordance with § 257.104(e)                            and any amendment of the plan,                        § 257.104(e) or (g) irrespective of the
                                            irrespective of the time requirement                    specified under § 257.105(i)(12), except              time requirement specified in paragraph
                                            specified in paragraph (c) of this                      that only the most recent post-closure                (c) of this section.
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                                            section.                                                plan must be maintained for five years                   (18) The notification of intent to
                                               (5) The demonstration(s) for a time                  after completion of post-closure care in              comply with the site-specific alternative
                                            extension for initiating closure specified              accordance with § 257.104(e)                          to initiation of closure due to permanent
                                            under § 257.105(i)(5), except each                      irrespective of the time requirement                  cessation of a coal-fired boiler(s) by a
                                            demonstration must be posted until                      specified in paragraph (c) of this                    date certain as specified under
                                            notice of completion of closure is placed               section.                                              § 257.105(i)(18), except the notification


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                                            must be maintained for five years after                 subpart must place the following                      specified in paragraph (c) of this
                                            completion of closure by removal in                     information on the owner or operator’s                section.
                                            accordance with § 257.102(c) or until                   CCR website:                                             (2) The applicability extension reports
                                            completion of post-closure care in                         (1) The written retrofit plan, and any             as specified under § 257.105(k)(2),
                                            accordance with § 257.104(e) or (g)                     amendment of the plan, specified under                except each report must be posted for
                                            irrespective of the time requirement                    § 257.105(j)(1).                                      five years after completion of closure by
                                            specified in paragraph (c) of this                         (2) The notification of intent to
                                                                                                                                                          removal in accordance with § 257.102(c)
                                            section.                                                comply with the alternative retrofit
                                                                                                                                                          or until completion of post-closure care
                                               (19) The approved or denied                          requirements as required by
                                                                                                                                                          in accordance with § 257.104(e) or (g)
                                            demonstration for the site-specific                     § 257.105(j)(2).
                                                                                                       (3) The annual progress reports under              irrespective of the time requirement
                                            alternative to initiation of closure due to                                                                   specified in paragraph (c) of this
                                            permanent cessation of a coal-fired                     the alternative retrofit requirements as
                                                                                                    required by § 257.105(j)(3).                          section.
                                            boiler(s) by a date certain as required by
                                                                                                       (4) The demonstration(s) for a time                   (3) The notification of field
                                            § 257.105(i)(19), except the approval or
                                                                                                    extension for completing retrofit                     investigation conclusion as specified
                                            denial must be maintained for five years
                                                                                                    activities specified under § 257.105(j)(4).           under § 257.105(k)(3), except each
                                            after completion of closure by removal                     (5) The notification of intent to retrofit         notification must be posted for five
                                            in accordance with § 257.102(c) or until                a CCR unit specified under                            years after completion of closure by
                                            completion of post-closure care in                      § 257.105(j)(5).                                      removal in accordance with § 257.102(c)
                                            accordance with § 257.104(e) or (g)                        (6) The notification of completion of              or until completion of post-closure care
                                            irrespective of the time requirement                    retrofit activities specified under                   in accordance with § 257.104(e) or (g)
                                            specified in paragraph (c) of this                      § 257.105(j)(6).                                      irrespective of the time requirement
                                            section.                                                   (k) Legacy CCR surface                             specified in paragraph (c) of this
                                               (20) The annual progress report for                  impoundments. In addition to the                      section.
                                            the site-specific alternative to initiation             information specified in paragraphs (e)
                                            of closure due to permanent cessation of                through (j) of this section, the owner or                (4) The notification of intent to certify
                                            a coal-fired boiler(s) by a date certain as             operator of a legacy CCR surface                      closure as specified under
                                            required by § 257.105(i)(20), except the                impoundment subject to this subpart                   § 257.105(k)(4), except each notification
                                            progress reports must be maintained for                 must place the following information on               must be posted for five years after
                                            five years after completion of closure by               the owner or operator’s CCR website:                  completion of closure by removal in
                                            removal in accordance with § 257.102(c)                    (1) The applicability report as                    accordance with § 257.102(c) or until
                                            or until completion of post-closure care                specified under § 257.105(k)(1), except               completion of post-closure care in
                                            in accordance with § 257.104(e) or (g)                  each report must be posted for five years             accordance with § 257.104(e) or (g)
                                            irrespective of the time requirement                    after completion of closure by removal                irrespective of the time requirement
                                            specified in paragraph (c) of this                      in accordance with § 257.102(c) or until              specified in paragraph (c) of this
                                            section.                                                completion of post-closure care in                    section.
                                               (j) Retrofit criteria. The owner or                  accordance with § 257.104(e) or (g)                   [FR Doc. 2024–09157 Filed 5–7–24; 8:45 am]
                                            operator of a CCR unit subject to this                  irrespective of the time requirement                  BILLING CODE 6560–50–P
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